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                        Appeal Nos. 23-1509, 23-1553

 United States Court of Appeals for the Federal Circuit

                               ALIVECOR, INC.
                                                                           Appellant,
                                      v.

                   INTERNATIONAL TRADE COMMISSION
                                                                            Appellee,

                                 APPLE INC.
                                                                           Intervenor.

                                 APPLE INC.
                                                                           Appellant,
                                      v.

                   INTERNATIONAL TRADE COMMISSION
                                                                            Appellee,

                              ALIVECOR, INC.,
                                                                           Intervenor.
     On Appeal from the United States International Trade Commission
                         Inv. No. 337-TA-1266

      CORRECTED NONCONFIDENTIAL OPENING BRIEF OF
               APPELLANT ALIVECOR, INC.

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                           PATENT CLAIMS AT ISSUE

U.S. Patent No. 9,572,499 – Claim 11

11.   A system for determining the presence of an arrhythmia of a first user,
      comprising

      a heart rate sensor coupled to said first user;

      a mobile computing device comprising a processor, wherein said mobile
      computing device is coupled to said heart rate sensor, and wherein said mobile
      computing device is configured to sense an electrocardiogram of said first
      user; and

      a motion sensor

      a non-transitory computer readable medium encoded with a computer
      program including instructions executable by said processor to cause said
      processor to receive a heart rate of said first user from said heart rate sensor,
      sense an activity level of said first user from said motion sensor, determine a
      heart rate variability of said first user based on said heart rate of said first user,
      compare said activity level of said first user to said heart rate variability of
      said first user, and alert said first user to record an electrocardiogram using
      said mobile computing device.

U.S. Patent No. 9,572,499 – Dependent Claim 16

16.   The system of claim 11, wherein said mobile computing device comprises a
      smartwatch.

U.S. Patent No. 9,572,499 – Dependent Claim 17

17.   The system of claim 11, wherein said computer program further causes said
      processor to determine a presence of said arrhythmia using a machine learning
      algorithm.




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U.S. Patent No. 10,638,941 – Claim 12

12.   A smartwatch, comprising

      a processor;

      a first sensor configured to sense an activity level value of a user, wherein the
      first sensor is coupled to the processor;

      a photoplethysmogram (“PPG”) sensor configured to sense a heart rate
      parameter of the user when the activity level value is resting, wherein the PPG
      sensor is coupled to the processor;

      an electrocardiogram (“ECG”) sensor configured to sense electrical signals of
      a heart, wherein the ECG sensor comprises a first electrode and a second
      electrode, and wherein the ECG sensor is coupled to the processor; and

      a non-transitory computer readable storage medium encoded with a computer
      program including instructions executable by the processor to cause the
      processor to:

         determine if a discordance is present between the activity level value of
         the user and the heart rate parameter of the user;

         based on the presence of the discordance, indicate to the user a possibility
         of an arrhythmia being present; and

         receive electric signals of the user from the ECG sensor to confirm the
         presence of the arrhythmia.

U.S. Patent No. 10,595,731 – Claim 1

1.    A smart watch to detect the presence of an arrhythmia of a user, comprising

      a processing device;

      a photoplethysmography (“PPG”) sensor operatively coupled to the
      processing device;



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an ECG sensor, comprising two or more ECG electrodes, the ECG sensor
operatively coupled to the processing device;

a display operatively coupled to the processing device; and

a memory, operatively coupled to the processing device, the memory having
instructions stored thereon that, when executed by the processing device,
cause the processing device to:

   receive PPG data from the PPG sensor;

   detect, based on the PPG data, the presence of an arrhythmia;

   receive ECG data from the ECG sensor; and

   confirm the presence of the arrhythmia based on the ECG data.




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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 23-1509, 23-1553
   Short Case Caption AliveCor, Inc. v. Apple Inc.
   Filing Party/Entity AliveCor, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        07/14/2023
  Date: _________________                   Signature:    /s/ Sean S. Pak

                                            Name:         Sean S. Pak




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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫ ܆‬None/Not Applicable

AliveCor, Inc.                                                        OMROM Corp.




                                  ‫܆‬      Additional pages attached




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FORM 9. Certificate of Interest                                                  Form 9 (p. 3)
                                                                                  March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable               ‫܆‬
                                            ✔      Additional pages attached
Quinn Emanuel Urquhart
& Sullivan, LLP
                                  S. Alex Lasher             Andrew Holmes

Adam B. Wolfson                   Phillip Ducker             Peter Benson

Brian Saunders                    Catherine R. Lacey         John W. McCauley


 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                         ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable               ‫܆‬      Additional pages attached




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                       Attachment to AliveCor’s Certificate of Interest

4. Legal Representatives. List all law firms, partners, and associates that (a) appeared for the
entities in the originating court or agency or (b) are expected to appear in this court for the
entities. Do not include those who have already entered an appearance in this court. Fed. Cir. R.
47.4(a)(4).

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Nicholas Caluda
Lora Green




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Statement Regarding Confidential Material Omitted

         Pursuant to Federal Circuit Rule 25.1(e) and the Protective Order issued in the

International Trade Commission on May 26, 2021, and amended on August 18,

2021, AliveCor, Inc. is filing a confidential version of this brief that highlights the

material marked confidential, and a non-confidential version including appropriate

redactions. In the non-confidential version of this brief, confidential material has

been deleted on pages 16, 18, 19, 20, 21, 25, 30, 31, 59, 60. The general nature of

the deleted material is (1) confidential business information of AliveCor, Inc.

regarding its finances, product information, and agreements with a third party not

involved in this litigation; and (2) confidential business information of Apple Inc.

regarding its internal communications and product information.



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                     STATEMENT OF RELATED CASES

      This consolidated appeal may affect or be affected by AliveCor’s pending

appeal from the Patent Trial and Appeal Board’s decisions involving the same

patents. See AliveCor, Inc. v. Apple Inc., Nos. 23-1512, -1513, -1514.

      In addition, this appeal may affect the pending district-court litigation in

which AliveCor has asserted against Apple the same patents at issue in this appeal.

See AliveCor, Inc. v. Apple Inc., No. 20-cv-1112 (W.D. Tex.). That litigation is

stayed pending resolution of this conslidated appeal from the International Trade

Commission’s decision. See id., Order, Dkt. 26 (May 6, 2021).




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                         PRELIMINARY STATEMENT

      When AliveCor, Inc. released the KardiaBand System in 2017, it

revolutionized the way consumers could monitor their heart health. By combining

photoplethysmography (“PPG”), electrocardiogram (“ECG”), and motion sensors

with sophisticated machine-learning algorithms that ran on the Apple Watch,

AliveCor’s patented invention allowed users to detect and confirm the presence of

arrhythmias like atrial fibrillation (“AFib”)—a condition that kills millions of

Americans each year—with a convenient and accessible device. Yet soon after

AliveCor commercialized its landmark achievement, Apple anticompetively killed

off the KardiaBand System to pave the way for its own competing (and infringing)

Irregular Rhythm Notification (“IRN”) and ECG features, which Apple released in

late 2018.

      AliveCor sought to vindicate its rights before the International Trade

Commission, which correctly found that certain versions of the Apple Watch

infringed valid claims from two of three asserted patents (U.S. Patent No.

10,595,731 (the “’731 patent”) and U.S. Patent No. 10,638,941 (the “’941 patent”))

and issued an exclusion order under section 337 of the Tariff Act of 1930, 19 U.S.C.

§ 1337 (“Section 337”), that is suspended pending a separate, companion appeal

regarding the validity of those claims. The Commission’s determination that claims

of a third AliveCor patent (U.S. Patent No. 9,572,499 (the “’499 patent”)) were


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invalid and not infringed, however, rested on several legal and factual errors that

warrant reversal.

      First, the Commission erred in ruling that certain claims of the ’499 patent are

invalid under 35 U.S.C. § 101. At step one of the § 101 analysis, the Commission

erroneously determined that the claims are directed to abstract ideas, even though

the claim language, the specification, and expert testimony all show that the claims

are directed to specific improvements in cardiac monitoring technology.          The

Commission compounded its error by concluding that the claims lacked inventive

concepts sufficient to render them patent-eligible at step two. In so ruling, the

Commission disregarded evidence that the claimed inventions were unconventional

and instead imposed its own unsupported view of future technologies that the claims

might preempt.

      Second, the Commission erred in ruling that Apple did not infringe those same

claims, relying on a late-breaking claim construction that conflicted with the ALJ’s

prior Markman order. In that order, the ALJ had given the term “alert,” which is

required by all asserted claims of the ’499 patent, its plain and ordinary meaning,

“not limited to a message, ”while also explaining that the claims of the ’499 patent

are directed to “determining whether or not an ECG is appropriate, and then

‘alerting’ a user to that fact.” Appx322-323. But in finding no infringement, the

Commission applied a new construction of the term “alert” that requires a literal,

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text-based “alert” to the user to record an ECG. Had the Commission applied the

original—and correct—construction, it would have found that the alert message

from Apple’s IRN feature, which appears on the face of the Apple Watch (as well

as the paired iPhone), “alerts” the user to an opportune time to take an ECG on the

Apple Watch to capture the presence of an arrythmia, as required by the claim.

Indeed, the undisputed record shows that the sudden nature of the IRN “alert,” which

may surface when the user has experienced no discernible cardiac symptoms and

has no history of AFib, would be so alarming that it would likely cause the user to

take responsive action, including by voluntarily recording an ECG using the Apple

Watch’s ECG App, in accordance with Apple’s own public instructions and designs.

      For these reasons and as more fully explained below, the Court should reverse

the Commission’s erroneous determination with respect to the ’499 patent.

                      JURISDICTIONAL STATEMENT

      The Commission had jurisdiction of the underlying investigation pursuant to

19 U.S.C. § 1337(b)(1). The Commission issued a final determination on December

22, 2022, finding that Apple violated Section 337 through infringement of the ’941

and ’731 patents, but not with respect to the ’499 patent.        Appx1-89.     The

Commission’s determination as to the ’499 patent became final upon issuance, and

AliveCor timely filed a notice of appeal on February 7, 2023. Dkt. 1. This Court

has jurisdiction under 19 U.S.C. § 1337(c) and 28 U.S.C. § 1295(a)(6).


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                        STATEMENT OF THE ISSUES

      1.     Whether the Commission erred in determining that Apple did not

violate Section 337 on the basis that claims 16 and 17 of the ’499 patent are invalid

for lack of patentable subject matter under 35 U.S.C. § 101.

      2.     Whether the Commission erred in determining that Apple did not

violate Section 337 on the basis that AliveCor failed to prove that Apple’s products

infringe claims 16 or 17 of the ’499 patent.

                           STATEMENT OF THE CASE

      A.     AliveCor’s Patents And Domestic Industry Products Practicing
             Those Patents

      AliveCor is a California corporation that is a pioneer in developing life-saving

mobile health devices. Appx30053-30054. Since its inception, AliveCor has pushed

the reach of medical services and technology beyond the doctor’s office.

Appx30053-30054. Its co-founder and Chief Medical Officer, Dr. David Albert,

was inspired to begin his life’s work of improving cardiac monitoring technology

after his father suffered a heart attack and was prescribed a daily exercise regimen

of walking until he maintained a heart rate of 120 beats per minute. Appx30044-

30046. The problem was that, in 1980, heart-rate monitors were nowhere to be

found. Appx30045. AliveCor has since filled that void through commercialized,

clinically validated cardiac monitoring technology packaged in portable, easy-to-use



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devices, ranging from wrist-worn watch bands to credit-card-sized readers.

Appx30053-30054; Appx30100.

             1.    The AFib Problem

      The issue Dr. Albert confronted in 1980 was—and still is—a serious problem:

Heart disease kills millions of Americans each year. Appx30046. Treatment can

prevent many of these deaths, but only if the underlying heart conditions can be

detected and diagnosed. Appx31232-31235. One of the most common forms of

heart disease is cardiac arrhythmia—“a cardiac condition in which the electrical

activity of the heart is irregular or is faster or slower than normal.” Appx318-319;

see Appx126-127.

      There are many kinds of arrhythmias, the most common of which is AFib—a

condition likely affecting over six million Americans.           Appx30049-30050;

Appx31215-31217. This estimate, however, is imprecise because AFib is difficult

to detect and diagnose. Particularly in the early stages of the disease, AFib is often

paroxysmal, meaning that many episodes of “irregular” rhythms come and go

between lengthy periods of normal rhythms. Appx30049-30051. And AFib is

asymptomatic in up to forty percent of cases, even during episodes. Appx30050.

Because AFib is elusive, many patients never know that they have it until the disease

has progressed and serious symptoms surface. Appx30049-30050. Advanced AFib




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results in a fivefold to sixfold increase in the risk of a serious stroke. Appx30049-

30050.

      In clinical settings, doctors diagnose AFib using a 12-lead electrocardiogram,

or “12-lead ECG.” Appx30048-30049. An ECG uses several electrodes attached to

strategic points on the patient that capture the heart’s electrical activity from various

angles. Appx30048-30049. A 12-lead ECG offers twelve different views of the

heart. Appx30048-30049. It is considered the “gold-standard” of AFib diagnostics.

Appx30048-30049; see Appx13934-13935 (news article stating that a “standard

ECG remains the gold standard for detecting AFib”).

      In a patient experiencing an episode of AFib, a 12-lead ECG will produce

ECG waveforms with certain characteristics. Appx30049. In AFib patients, the “P-

wave,” which represents the electrical activation (i.e., depolarization) of the right

and left atria, will be flattened or less pronounced than those in ECG recordings from

healthy patients experiencing “normal sinus rhythm.” Appx30049; Appx30290-

30292.    In addition, the sequencing of QRS complexes, which represent the

activation of the right and left ventricles, will often be more irregular in patients with

AFib. Appx30049. In medical practice, this often manifests as an “irregularly

irregular” heart rhythm, meaning that the timing between successive heartbeats will

vary over a given period. Appx30049. Using conventional diagnostic methods




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(mainly 12-lead ECG recordings), doctors can sometimes successfully diagnose

AFib, and then begin treatment. Appx30048-30050.

      While the 12-lead ECG is effective, not all patients will exhibit signs of AFib

during a medical examination, such as patients with paroxysmal AFib, whose

detectable AFib episodes may come and go. Appx30049-30050; Appx31235-

31236. Worse still, some patients may not notice any symptoms at all during

episodes, such as patients with asymptomatic AFib. Appx30049-30050. In these

circumstances, a 12-lead ECG has limited value. Appx30049-30050; Appx31235-

31236.

             2.    AliveCor’s Patents

      AliveCor recognized this long-standing problem with the traditional, clinical

method of diagnosing AFib and set out to solve it. While a 12-lead ECG device is

the most accurate at detecting AFib when captured during an episode, it cannot

remain attached to a person at all times. Appx31235-31236. AliveCor realized that

another type of sensor—PPG sensors—can be so attached. Appx30292-30293. PPG

sensors shine light at the skin and measure the light reflected back at the sensor to

determine how much light is absorbed by blood volume, which varies as the heart

beats and blood flows. Appx30066. This technique can be used to extract features

like heart rate. Appx30066. PPG sensors fit easily in portable devices, like a

smartwatch, permitting continuous background monitoring of the user’s heart “that


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requires no activity on the part of the user.” Appx30066. PPG monitoring can

reliably measure oxygen saturation and average heart rate, but is less reliable in

detecting arrhythmias, such as AFib. Appx31236-31237. In addition, PPG readings

can be disrupted by, for example, the user’s motion and elevated heart rates caused

by normal exercise. Appx31240-31241. Motion sensors, however, can account for

these degrading effects and reduce false positives. Appx31240-31241. And while

these sensors can provide valuable data indicating the presence of arrhythmias, the

use of sophisticated machine-learning algorithms permits detection and

confirmation of these conditions in real time, without the need for a medical

professional to analyze the sensor data. Appx31201-31202; Appx31243-31245.

AliveCor’s novel solution was to use PPG and ECG—with the assistance of activity

sensors and machine learning algorithms—in combination to cover up the

weaknesses of each one in isolation, thereby better detecting AFib.

      The three AliveCor patents at issue here thus teach detection of an arrhythmia

via the less-intrusive, background-monitoring PPG and motion sensors and

confirmation of the arrhythmia using the more accurate but more burdensome ECG

sensor when the algorithms analyzing data from the PPG and motion sensors

determine that it is appropriate to do so. Appx30292-30293. The ’499 and ’731

patents also teach applying machine learning algorithms to the PPG sensor to train




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and improve its ability to detect arrhythmias, before alerting the user to take a second

measurement using an ECG sensor. Appx30294.

                    (a)    The ’499 And ’731 Patents

      The ’499 and ’731 patents are both titled “Methods and systems for

arrhythmia tracking and scoring,” and share the same specification. Appx10002-

Appx10040 (’499 patent); Appx10042-10073 (’731 patent). The specification notes

that conventional ambulatory ECG devices, such as Holter monitors, “are typically

bulky and difficult for subjects to administer without the aid of a medical

professional.” Appx10026 (1:57-60). The specification teaches that, while using

the claimed invention, “[a]n advisory condition for recording an ECG” can occur

“when a measured heart rate increases rapidly without a corresponding increase in

activity.” Appx10038 (25:19-21). “By comparing measured heart rate changes with

measured activity changes, the presently disclosed software or ‘app’ minimizes false

alarms.” Appx10038 (25:22-24).

      The claims of the ’499 and ’731 patents are similar, but have slight

differences. Unasserted, independent claim 11 of the ’499 patent recites:

11.   A system for determining the presence of an arrhythmia of a first user,
      comprising

      a heart rate sensor coupled to said first user;

      a mobile computing device comprising a processor, wherein said
      mobile computing device is coupled to said heart rate sensor, and


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      wherein said mobile computing device is configured to sense an
      electrocardiogram of said first user; and

      a motion sensor

      a non-transitory computer readable medium encoded with a computer
      program including instructions executable by said processor to cause
      said processor to receive a heart rate of said first user from said heart
      rate sensor, sense an activity level of said first user from said motion
      sensor, determine a heart rate variability of said first user based on said
      heart rate of said first user, compare said activity level of said first user
      to said heart rate variability of said first user, and alert said first user
      to record an electrocardiogram using said mobile computing device.

Appx10039 (emphasis added). Claim 16 recites “[t]he system of claim 11, wherein

said mobile computing device comprises a smartwatch.” Appx10039. Claim 17

recites “[t]he system of claim 11, wherein said computer program further causes said

processor to determine a presence of said arrhythmia using a machine learning

algorithm.” Appx10039.

      Asserted claim 1 of the ’731 patent recites:

1.   A smart watch to detect the presence of an arrhythmia of a user,
comprising:

      a processing device;

      a photoplethysmography (“PPG”) sensor operatively coupled to the
      processing device;

      an ECG sensor, comprising two or more ECG electrodes, the ECG
      sensor operatively coupled to the processing device;

      a display operatively coupled to the processing device; and



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      a memory, operatively coupled to the processing device, the memory
      having instructions stored thereon that, when executed by the
      processing device, cause the processing device to:

      receive PPG data from the PPG sensor;

      detect, based on the PPG data, the presence of an arrhythmia;

      receive ECG data from the ECG sensor; and

      confirm the presence of the arrhythmia based on the ECG data.

Appx10072. Claims 3 and 5 of the ’731 patent, which both depend from independent

claim 1, recite different forms of machine learning algorithms trained to detect

arrhythmias. Appx10072. Claim 3 recites “[t]he smartwatch of claim 2, wherein,

to detect the presence of the arrhythmia, the processing device is configured to input

the PPG data into a machine learning algorithm trained to detect arrhythmias.”

Appx10072. Claim 5 depends from unasserted claim 4, which recites the use of

heart rate variability (“HRV”) from the PPG data to detect the presence of

arrhythmia. Appx10072. Claim 5 recites “[t]he smartwatch of claim 4, wherein to

detect the presence of the arrhythmia, the processing device is configured to input

the HRV data into a machine learning algorithm trained to detect arrhythmias.”

Appx10072.

      Claims 9 and 10 of the ’731 patent recite specific kinds of analysis of PPG-

based HRV data. Each depends from unasserted claim 7, which recites “extract[ing]

one or more features from the PPG data” and “detect[ing], based on the one or more

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features, the presence of the arrhythmia.” Appx10073. Claim 9 recites “[t]he smart

watch of claim 7, wherein the one or more features comprise a nonlinear transform

of R-R ratio or R-R ratio statistics with an adaptive weighting factor.” Appx10073.

Claim 10 recites “[t]he smart watch of claim 7, wherein the one or more features are

features of an HRV signal analyzed geometrically.” Appx10073.

      Finally, claim 15 of the ’731 patent recites “[t]he smart watch of claim 1, the

processing device further configured to display an ECG rhythm strip from the ECG

data.” Appx10073.

                   (b)     The ’941 Patent

      The ’941 patent is titled “Discordance monitoring” and, like the ’499 and ’731

patents, discloses novel cardiac monitoring techniques and devices that improve on

conventional diagnostic methods. Appx10075-10092. The specification notes that

diagnosing paroxysmal arrhythmias was difficult before the disclosed inventions

because it was “not practical” to use conventional arrhythmia-detection methods “at

the exact times that an individual experiences intermittent arrhythmia.” Appx10084

(1:49-53). “This particular difficulty may also be compounded when an individual

is not aware that they are experiencing an intermittent arrhythmia so that they would

not, for example, seek out a health care provider during the intermittent arrhythmia.”

Appx10084 (1:53-57). The specification teaches, however, that “certain parameter

values may be conveniently sensed such as, for example, heart rate and activity level,


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and analyzed to predict or determine the presence of an arrhythmia.” Appx10084

(1:58-61). “In response to the identification of the future onset of or presence of an

arrhythmia an electrocardiogram may be caused to be sensed.” Appx10084 (2:1-3).

      The only asserted independent claim of the ’941 patent, claim 12, recites:

      12. A smartwatch, comprising:

      a processor;

      a first sensor configured to sense an activity level value of a user,
      wherein the first sensor is coupled to the processor;

      a photoplethysmogram (“PPG”) sensor configured to sense a heart rate
      parameter of the user when the activity level value is resting, wherein
      the PPG sensor is coupled to the processor;

      an electrocardiogram (“ECG”) sensor configured to sense electrical
      signals of a heart, wherein the ECG sensor comprises a first electrode
      and a second electrode, and wherein the ECG sensor is coupled to the
      processor; and

      a non-transitory computer readable storage medium encoded with a
      computer program including instructions executable by the processor
      to cause the processor to:

      determine if a discordance is present between the activity level value of
      the user and the heart rate parameter of the user;

      based on the presence of the discordance, indicate to the user a
      possibility of an arrhythmia being present; and

      receive electric signals of the user from the ECG sensor to confirm the
      presence of the arrhythmia.

Appx10092.




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      Like claim 15 of the ’731 patent, claim 21 of the ’941 patent recites displaying

an ECG rhythm strip: “The smartwatch of according to claim 12, the processor

further to: display an ECG rhythm strip from the electrical signals.” Appx10092.

             3.    Domestic Industry Products

      In 2017, AliveCor commercialized products that practiced the patents at issue

by releasing the KardiaBand, which was the first FDA-cleared medical device

accessory for the Apple Watch. Appx11632-11643. The KardiaBand is a watch

band specifically designed for the Apple Watch that includes an ECG sensor

(Appx30101-30102), something the Apple Watch itself did not have until late 2018

(Appx30745; see infra, at pp. 24-25).




Appx16130.



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      Unlike a standalone accessory that the user would have to carry separately,

the KardiaBand integrated with the Apple Watch, allowing the user to quickly and

easily record an ECG on demand and obtain the results using AliveCor’s proprietary

ECG classification algorithms that would determine whether a particular ECG

reading showed signs of AFib or other heart conditions. Appx30385-30386. When

the KardiaBand came out, AliveCor also released its software feature called

SmartRhythm, a PPG-based algorithm that could detect the presence of AFib and

other arrhythmias in the background. Appx30132-30135. SmartRhythm used the

Apple Watch’s PPG and motion sensors to compare the user’s heart rate to step

counts. Appx30070-30071; Appx30101-30102. SmartRhythm would alert the user

if it identified a “discordance” between the user’s heart rate parameters and step

count. Appx30065-30066.

      The KardiaBand, SmartRhythm, and the Apple Watch’s PPG and motion

sensors together comprised the KardiaBand System (“KBS”). This system could

monitor the user’s heart rate, detect episodes of AFib, and then allow the user to

record an ECG. Appx30064-30066. The technology within the KBS built on

decades of technology that AliveCor had developed and implemented in its prior

mobile ECG products. Appx30072. When it was released, the KBS received praise

from researchers, clinicians, and others in the industry.     Appx11629-11651;

Appx11999-12004;       Appx12007-12015;       Appx13667;      Appx15925-15926;

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Appx16279-16281. The KBS generated over $2.3 million in revenue from 2017-

2019. Appx10521-10522; Appx16020-16021; Appx16319-16322.

      AliveCor’s technological innovation (and praise for those innovations,

including from Apple) began well before the KBS was released. In 2010, Dr. Albert

filmed a video highlighting an iPhone case with an integrated ECG sensor on the

back. Appx30055-30056. After that video went viral, Apple’s health group sought

meetings with Dr. Albert and demonstrations of the groundbreaking device.

Appx30057-30059.       Over the next several years, Apple requested additional

meetings with Dr. Albert and other AliveCor representatives to examine AliveCor’s

new products. Appx30082-30083. Behind the scenes, Apple continued to monitor
                                   Third party      confidential business intelligence
AliveCor’s progress in obtaining                   for its          . Appx13695-13700;

Appx13701-13703; Appx13991-15911 (Apple’s six FOIA requests concerning
         Third party                                           confidential business intelligence
AliveCor’s         submission).    Apple also regularly                    those

internally. Appx11521; Appx11524; Appx11485; Appx11652-11653; Appx12007-

12015; Appx13989-13990; Appx16009; Appx16279-16281.

      In 2015, AliveCor received FDA clearance for a new mobile-ECG monitor

called the KardiaMobile, which it still sells globally. Appx30063. This standalone

accessory device records the user’s ECG and transmits those signals to various smart

devices, like the iPhone or the Apple Watch. Appx30063.




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Appx12221.

      Later that same year, in May 2015, Dr. Albert gave a public presentation at

the Heart Rhythm Society where he “introduced the concept of heart rate, heart rate

variability activity discordance, and using a commercial smart watch as a

background AFib and arrhythmia monitor.” Appx30073-30074. Soon afterwards,

Apple again asked AliveCor to demonstrate AliveCor’s products. Appx30073-

30074. This time, AliveCor displayed a prototype of the KardiaBand. Appx30073-

30074. In August 2015, Apple’s then-Vice President of Health asked that Dr. Albert

visit Apple’s campus yet again. Appx30074-30076. On that visit, Dr. Albert met

with Apple’s current Chief Operating Officer. Appx30074-30076.

      The KBS was a marvel, but its success was cut short after its 2017 release. In

fall 2018, Apple changed the algorithm responsible for calculating and reporting
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heart rates in Workout Mode, which AliveCor relied on as an input for its

SmartRhythm feature. Appx30083-30085. This change degraded SmartRhythm’s

functionality such that it could no longer reliably detect the presence of AFib.

Appx30083-30085; Appx30198-30200. AliveCor removed SmartRhythm from the

KBS and discontinued sales of the KardiaBand in 2019 (Appx30085), but AliveCor

continues to provide customer support to those users who purchased the device

before its discontinuation (Appx30201-30202).

       After it was compelled to pull the KBS from the market, AliveCor pivoted to

developing new innovative products.               AliveCor first worked to develop the
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                   , which consists of a smartwatch with PPG, motion, and ECG

sensors to perform similar functions as the KBS. Appx30085-30086. Rather than
                                                                    Confidential product information
rely on Apple’s algorithms to generate heart rates, however, the                             is

intended to capture heart rate data using its own PPG sensors. Appx30085-30086;
                                                          Third party
Appx30200-30201. AliveCor also partnered with                           Corporation to develop
                           Confidential product information
a similar product called the                                      Appx30091-30092. Like
                           Confidential product information
the KBS and the                           the                                   is intended to

include PPG, motion, and ECG sensors. Appx30092.
                          Confidential product information
       Both the                        and                                   will use a version

of AliveCor’s SmartRhythm and ECG classification algorithms to detect and

confirm the presence of AFib and other heart conditions. Appx30085-30086;

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Appx30092-30093; Appx30384-30385; Appx30390-30391; Appx30198.                                In
                  Confidential product information
particular, the                                      will use the “same structure” of the

machine learning algorithms underlying the version of SmartRhythm that AliveCor
                                                                Confidential product information
made available in the KBS (Appx30388-30389), and the                                       will

include “critical pieces” of that same version (Appx30392). All three products, the
              Confidential product information
KBS,                       and                                   , “share the same building

blocks of algorithms, ECG signal processing, AI, analog front ends for ECG, [and]

electrode design and material.” Appx30095. None of these products is currently on

the market.

       B.     AliveCor’s Investments In The Domestic Industry Products

       AliveCor’s team of engineers, designers, data scientists, regulatory experts,

customer service specialists, and others have labored for years in its California

headquarters to develop and commercialize its cardiac monitoring technology and

to ultimately put that technology on consumers’ wrists. Those efforts came to

fruition with the KBS—a “complete solution” to the problem of detecting

arrhythmias that Dr. Albert had identified years earlier. Appx30064-30067.

       Even after Apple took steps to degrade SmartRhythm’s performance and pave

the way for Apple’s competing and infringing features, AliveCor has continued to

pour labor, capital investment, and research into its patented technology, pursuing

new form factors to get around Apple’s anticompetitive conduct. Specifically, after


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Apple dismantled the KBS, AliveCor’s hardware team in California set to work
         Confidential product information
designing the                  , including by developing the software that runs on the

device and refining its ECG classification algorithms.              Appx30205-30211.

AliveCor’s regulatory team supports the development team, including by gaining
                                                               Confidential product information
the necessary approvals for the original KBS and the new                                .

Appx30563-30567. AliveCor also has continued to support KBS users through

updates to the Kardia App running on the device and troubleshooting by customer

service specialists. Appx30227; see Appx12678; Appx16214.

      AliveCor performs these design, engineering, regulatory, and support

activities in the United States. And AliveCor’s domestic investments are increasing.

From April 2016 through April 2021, AliveCor paid millions of dollars in rent and

common area maintenance fees to lease a facility in Mountain View, California.

Appx30192; see Appx12264-12326 (2016 office lease); Appx16012-16013;

Appx16160-16192 (P&L 2016-2020); Appx16190; Appx16214. In 2021, because

of its expanding California-based workforce, AliveCor moved to a larger—over

31,000 square feet—facility that is also in California, ensuring that its domestic

facilities investments will continue increasing through 2026. Appx30192; see

Appx12327-12374 (2021 office lease). The number of employees in AliveCor’s

California headquarters more than doubled between 2016 and 2021, and AliveCor’s




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millions of dollars in labor investments increased in proportion to its workforce.

Appx16015; Appx16190.

      Before the Commission, AliveCor’s fact and expert witnesses provided

detailed testimony explaining how the domestic investments could be allocated to
                                                           Confidential product information
the domestic industry products, that is, the KBS, the                             , and the
Confidential product information
                              . That testimony included discussion of the calculations

that AliveCor’s economic expert performed to determine AliveCor’s investment in

facilities, equipment, and labor related to products that practice the patents at issue

here, including the ’499 patent. See Appx30645-30660; see also Appx16012-16014;

Appx16016-16019; Appx16030; Appx16032; Appx16034; Appx16160-16192;

Appx16205; Appx16214-16215; Appx16291-16314; Appx16340.

      C.      Apple’s Accused Products And Features

      As AliveCor continued to press its technology forward, Apple developed and

refined its Apple Watch. Sixteen models of the Apple Watch (the “Accused

Products”) are relevant here. See Appx9. Each of these models falls within the

Series 4-7 Apple Watch.            See Appx9; see also Appx1975-1978 (Series 4);

Appx2092-2095 (Series 5); Appx2291-2294 (Series 6); and Appx2473-2477 (Series

7). The parties agreed that the Apple Watch Series 6 is representative of the Accused

Products from a hardware standpoint. See Appx9. The parties also agreed that

version 7.6.2 of watchOS (the Apple Watch’s operating system) is representative of


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the versions of watchOS that were at issue in the Commission proceedings. See

Appx9.1

      Since Apple released the first version of the Apple Watch, the device has

contained motion and PPG sensors. Appx13442-13443 (accused watches and other

versions have accelerometer and gyroscope); Appx13477 (watches all have PPG).

The motion sensor is an accelerometer, which measures motion by capturing

acceleration data in three axes: X, Y, and Z. Appx13441; see Appx10771-10772.

The PPG sensor in the underside of the Apple Watch, like all PPG sensors, measures

changes in blood volume to approximate the heart’s activity and derive heart rate.

Appx13472-13474; Appx13477-13478.

      In September 2018, Apple released the Series 4 Apple Watch, which, as with

prior versions of the Apple Watch, included PPG and motion sensors. Appx30745;

Appx30303; Appx30371. For the first time, however, this version additionally

incorporated an ECG sensor with two electrodes on the underside of the watch and

another within the watch’s digital crown. Appx30381. A user seeking to record an

ECG with the native Apple Watch ECG sensor must hold their finger on an electrode

contained in the crown. Appx30381. The ECG sensor on the Apple Watch can




1
    Since the evidentiary hearing, Apple has released new versions of the Apple
Watch. These versions contain hardware and software that would place them within
the scope of representative products.
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measure electrical activity across the user’s heart and generate a common PQRST

waveform. Appx11087-11088.

      In addition to its infringing hardware, the Apple Watch includes software

features that are part of watchOS, the watch’s operating system. AliveCor accused

three features embedded within the software of infringement.

      The first feature is the high Heart Rate Notification (“HHRN”) feature that

Apple released in September 2017. Appx30744. The HHRN uses the Apple

Watch’s PPG and motion sensors to notify users when their heart rate rises above a

preset threshold (the default is 120 beats per minute) while they were inactive (i.e.,

in a resting state) for ten minutes. Appx30307-30308; Appx30310-30311; see

Appx15927.

      The second feature is the IRN feature that Apple released in December 2018.

Appx30745-30746. This feature detects and alerts users when their heart displays

signs of AFib. Appx30756. Like the HHRN, the IRN uses the Apple Watch’s PPG

sensor and accelerometer. Appx30312-30314. The IRN determines whether the

user is sufficiently still before collecting and attempting to classify a “tachogram,”

a sixty-second recording of the heart’s beat-to-beat intervals. Appx30313-30315.

The IRN analyzes a series of these tachograms to detect irregularities in heart

rhythm, and, if enough irregular tachograms are detected, the IRN will alert the user




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that it has detected irregularities suggestive of AFib.   Appx30314-30321; see

Appx13794-13802. The IRN alert (as displayed to the user) is shown below:




Appx11897.

      The third feature is the ECG App that Apple released alongside the IRN in

December 2018. Appx30745-30746. After receiving an HHRN or IRN alert (or at
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any time the user chooses), the user may initiate an on-demand ECG recording by

wearing the Apple Watch, opening the ECG App, and touching the digital crown

with the hand opposite/contralateral to the watch for thirty seconds. Appx11750.

The representative ECG 2.0 App will then attempt to classify the user’s ECG

recording as, among other things, normal sinus rhythm (“NSR”), AFib, AFib with a

high heart rate, or NSR with high heart rate. Appx30322-30323. One way that the
                                                          Confidential product information
ECG App makes these classifications is by calculating the likelihood of a
Confidential product information
being          from the recorded ECG waveform. Appx30324; Appx30343-30344;

Appx13878-13880; see Appx11202-11204; Appx11089; Appx13464. The ECG

App also uses other classification methods, similar to those used by the IRN feature,

like looking at beat-to-beat data. Appx11204-11208; Appx13880-13881. Once the

ECG App classifies the ECG waveform, it notifies the user of the result.

Appx30322-30323; see Appx16070; Appx11068-11069.

        D.    The Commission Proceedings

        In April 2021, AliveCor filed a complaint with the Commission, alleging that

Apple imports or sells Apple Watches incorporating the above features that infringe

the ’499, ’731, and ’941 patents. Appx363-395. Based on this infringement,

AliveCor requested a limited exclusion order against the Accused Products under

Section 337. Appx393-394.




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             1.    The Claim Construction Order

      Early in the proceedings, the Administrative Law Judge (“ALJ”) issued a

claim construction order (the “Claim Construction Order”) addressing several terms

based on briefing from the private parties and the Staff from the Office of Unfair

Import Investigations (“Staff”). As relevant here, the ALJ explained that the claims

of the ’499 patent—all of which incorporate the “alert” limitation in unasserted

independent claim 11—“are directed to determining whether or not an ECG is

appropriate, and then ‘alerting’ the user to that fact.” Appx322. The ALJ then

agreed with AliveCor and the Staff that the term “alert” is entitled to its plain and

ordinary meaning and thus is “not limited to a message.” Appx323. In so ruling,

the ALJ distinguished the meaning of “alert” from other terms that it considered too

narrow, including “inform” (upon which Apple insisted), “instruct,” “indicate,” and

“notify.” Appx322-323.

             2.    The ALJ’s Initial Determination

      After discovery and a hearing, the ALJ issued an initial determination, finding

that Apple violated Section 337 based on the ’731 and ’941 patents, but not the ’499

patent. Appx293-294.

      The ALJ’s decision addressed certain claim-construction disputes at the

outset. AliveCor argued, consistent with the patent specifications, that the term

“confirm the presence of the arrhythmia,” as recited by all asserted claims of the


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’941 and ’731 patents, refers to using the ECG sensor to confirm the condition of

arrhythmia, rather than a particular episode of arrhythmia that the PPG sensor may

have detected previously. See Appx128-129. In response, Apple argued that the

ECG confirmation must be of the particular arrhythmic episode that the PPG sensor

had detected, and that to be confirmatory, the ECG recording must overlap in time

(i.e., be simultaneous) with the PPG recording. See Appx129-130. The ALJ agreed

with AliveCor and found that the term “confirm the presence of the arrhythmia” did

“not mean ECG data must be recorded at the same time as PPG data.” Appx130-

136.

       The ALJ next addressed infringement and validity. As to the ’941 patent, the

ALJ ruled that AliveCor proved infringement of all asserted claims (claims 12, 13,

19, and 20-23) and that Apple failed to show that any of those claims were invalid

under either 35 U.S.C. § 101 or § 103. Appx136-151; Appx166-203. As to § 103,

the ALJ concluded that the evidence of secondary considerations of non-

obviousness, such as industry praise and copying, was sufficient to overcome

Apple’s prima facie showing of obviousness. Appx199-203. As to the ’731 patent,

the ALJ determined that AliveCor proved infringement of all the asserted claims but

that Apple had shown that claims 1, 8, 12, and 16 are invalid as obvious. Appx211-

214; Appx219-233. The ALJ did not consider secondary considerations of non-

obviousness for these claims. Appx232-233. Finally, as to the ’499 patent, the ALJ

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found that AliveCor did not prove infringement of claims 16 and 17 of the ’499

patent—specifically finding that, although the Accused Products met the limitations

of asserted dependent claims 16 and 17, there was no infringement of the “alert”

limitation in unasserted independent claim 11, from which claims 16 and 17 depend.

Appx239-245. The ALJ also concluded that Apple met its burden of proving that

claim 17 (but not claim 16) of the ’499 patent was invalid under § 101. Appx247-

252.

       In finding that AliveCor did not show that Apple infringed the ’499 patent

claims, the ALJ failed to apply—and in fact contravened—the construction of the

term “alert said first user to record an ECG” from unasserted independent claim 11

that the ALJ had adopted in the Claim Construction Order. Appx239-244; see

Appx321-323. Contrary to the earlier construction, the ALJ now required that the

“alert” comprise a literal message telling the user to record an ECG. Appx243-244.

Based on that new construction, the ALJ found that the “alert” limitation was not

shown in the Accused Products. Appx244. The ALJ disregarded all the evidence

that AliveCor identified and instead considered only the “talk to your doctor” text in

the IRN’s alert message, stating that this message is literally only an alert for a user

to see their doctor and does not suggest any further testing such as an ECG. See

Appx243-244. The ALJ also rejected AliveCor’s doctrine-of-equivalents arguments

because, in its view, the “result” of the IRN alert message (users talking to their

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doctors, assuming they follow the literal instruction) is “very different” than

specifically directing a user to record an ECG. Appx244.

      As to the validity of claims 16 and 17 of the ’499 patent, the ALJ found under

step one of the § 101 analysis that those claims are directed to the abstract ideas of

“taking in heart rate data (of any kind), taking in activity level data (of any kind),

calculating heart rate variability, comparing that variability with the activity (by any

means), and then alerting the user to ‘record an electrocardiogram using said mobile

computing device.’”      Appx249-250.      The ALJ reasoned that “[t]he bulk of”

unasserted independent claim 11 “is directed to the data analysis algorithms taking

place within the ‘processor’ and according to the ‘instructions’ saved in memory

(i.e., ineligible subject matter).” Appx249. The ALJ also concluded that the “bit of

apparatus recited (i.e., potentially eligible subject matter) is devoid of specificity,

such that it can only be considered generic computer hardware—‘a heart rate

sensor,’ ‘mobile computing device,’ ‘a processor,’ ‘a motion sensor,’ and ‘non-

transitory computer readable medium.’” Appx249. The ALJ found that dependent

claims 16 and 17 “fare similarly” at step one because claim 16’s recitation of a

smartwatch did not “materially transform the claim as there is no other limitation

that benefits or is affected by the computing device being in this form factor,” and

because claim 17’s recitation of a machine learning algorithm “is literally just

another algorithm” that “only deepens the connection between the claim and

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ineligible subject matter.” Appx250. At step two, the ALJ found that while claims

11 and 17 lacked inventive concepts sufficient to transform the nature of the claim

into patent-eligible subject matter (Appx250-251), claim 16’s recitation of a

“smartwatch” was sufficiently unconventional to qualify as inventive at step two

(Appx251-252).

      The ALJ also found that AliveCor had proven the existence of a domestic

industry that practices the asserted patents. Appx151; Appx214; Appx245. In

particular, the ALJ found that AliveCor met the technical component of the domestic

industry requirement with respect to all relevant claims. That is, the ALJ found that

AliveCor showed that the KBS practices: (a) claims 12, 16, 20, 21, 22, and 23 of

the ’941 patent (Appx151); (b) claims 1, 3, 12, 15, and 16 of the ’731 patent

(Appx214); and (c) claims 16 and 17 of the ’499 patent (Appx245). For each of

these claims, the ALJ further found that AliveCor showed that practice of these
                 Confidential product information
claims by the                  and                              was in the process of

being established. Appx151; Appx218-219; Appx245-246.

      The ALJ also found the economic component of the domestic-industry

requirement satisfied based on AliveCor’s research and development on all patents

asserted in the investigation, including the ’499 patent. Appx259; Appx286-289;

see 19 U.S.C. § 1337(a)(3)(C). Although the ALJ considered only a subset of

AliveCor’s many domestic industry investments, the ALJ concluded that even when

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 limiting the analysis to that subset, AliveCor demonstrated that it has made

 substantial domestic investments in its patented technology. Appx286-289.

        Based on these findings, the ALJ recommended a limited exclusion order and

 a cease and desist order. Appx295-300.

                3.     The Commission’s Final Determination

        Both parties petitioned the Commission to review the ALJ’s initial

 determination. The Commission decided to review the ALJ’s findings on the

 validity of the asserted claims under § 101 and § 103, as well as the economic

 component of the domestic-industry requirement.             See Appx95.       In its final

 determination, the Commission agreed with the ALJ’s conclusion that Apple had

 violated Section 337 with respect to the ’941 and ’731 patents, but not the ’499

 patent. Appx92. The Commission did not address infringement or the technical

 component of the domestic-industry requirement and accordingly adopted the ALJ’s

 findings on those issues. Appx3.

        On the domestic-industry requirement, the Commission agreed with the ALJ’s

 finding that AliveCor satisfied the nexus requirement for both past investments and
                                                   Confidential product information
 continuing investments in the KBS, the                      , and the
Confidential product information
         . Appx16-19. The Commission also agreed with the ALJ’s finding that

 AliveCor’s investments to exploit the asserted patents were “substantial.” Appx19-

 21.


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      The Commission next reversed the ALJ’s finding that claim 12 of the ’941

patent and the asserted claims of the ’731 patent are directed to a patent-ineligible

abstract idea at step one of the § 101 analysis. Appx31; see Appx31 n.25 (noting

that its analysis for the ’941 patent “applies equally to the asserted claims of the ’731

patent”). In so ruling, the Commission reasoned that “the patented invention solves

a concrete problem by implementing a particular configuration of sensors and steps

on a smartwatch.” Appx32.

      On review of claims 16 and 17 of the ’499 patent, the Commission first

affirmed the ALJ’s step one conclusion because the “bulk of the claim[s]” is directed

to “data analysis algorithms” and the claims recite “generic computer hardware.”

Appx35-39. The Commission further affirmed the ALJ’s determination that claim

17 lacks an inventive concept sufficient to transform the claim into patent-eligible

subject matter because it “in essence ‘covers the addition of generic sensors to an

existing ECG machine, and for no particular purpose.’” Appx38 (quoting Appx250).

The Commission, however, reversed the ALJ’s determination that claim 16 contains

an inventive concept at step two because the claim “simply incorporates generic

sensors used in their well-known and conventional manner in a ‘smartwatch.’”

Appx39-40.

      As to obviousness, the Commission first affirmed the ALJ’s findings that

Apple failed to prove that claims 12, 13, 19, and 20-23 of the ’941 patent are invalid

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as obvious. Appx42. The Commission explained that the evidence of industry

praise and copying was sufficient to overcome Apple’s prima facie showing of

obviousness. Appx42-43. The Commission then reversed the ALJ’s findings that

Apple proved that claims 1, 8, 12, and 16 of the ’731 patent are invalid as obvious,

ruling that the ALJ erred in failing to consider secondary-considerations evidence

that, according to the Commission, was sufficient to overcome Apple’s prima facie

showing of obviousness for these claims too. Appx47.

      Finally, the Commission decided to issue a limited exclusion order covering

the Accused Products that infringe “one or more of claims 12, 13, and 19-23 of the

’941 patent; and claims 1, 3, 5, 8-10, 12, 15, and 16 of the ’731 patent.” Appx49-

50. The Commission found that “the public interest factors do not counsel against

issuance of remedial orders, but warrant an exception for servicing, repairing, or

replacing covered articles that were imported prior to the effective date of [the] Order

pursuant to existing service and warranty contracts.” Appx50. The Commission

further determined to issue a cease and desist order. Appx51-52. But upon Apple’s

emergency motion, the Commission suspended enforcement of its remedial orders

pending final resolution of the Patent Trial and Appeal Board’s decisions

invalidating the asserted claims of all three patents. Appx85-88. AliveCor’s appeals

of those decisions were consolidated and made companion cases to the parties’

appeals of the Commission’s final determination. See Dkt. 25.

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                       SUMMARY OF THE ARGUMENT

      The Commission’s determination that Apple did not violate Section 337 based

on claims 16 and 17 of the ’499 patent rests on a series of legal and factual errors.

Contrary to the Commission’s rulings, not only are the claims patent eligible, but

there is no substantial evidence of non-infringement.

      I.     The Commission legally erred in ruling claims 16 and 17 invalid under

§ 101. First, at step one of the § 101 analysis, the Commission erroneously

concluded that unasserted independent claim 11 is directed to the abstract idea of

“taking in heart rate data (of any kind), taking in activity level data (of any kind),

calculating heart rate variability, comparing that variability with the activity (by any

means), and then alerting the user to ‘record an electrocardiogram using said mobile

computing device,’” and that claims 16 and 17 “fare similarly.” The Commission

improperly disregarded this Court’s admonition to consider claims “in their entirety”

to determine whether the claims’ “character as a whole is directed to excluded

subject matter,” McRO, Inc. v. Bandai Namco Hames Am. Inc., 837 F.3d 1299, 1312

(Fed. Cir. 2016), and instead conducted a piecemeal analysis of the separate claim

elements. The Commission also failed to consider the specification’s teachings,

which indicate that the claims are directed to specific implementations of

improvements in cardiac monitoring technology. In addition, the Commission




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wrongly failed to consider that claim 16 survives the step one analysis by reciting a

smartwatch form factor, which in turn requires a single-lead ECG.

      Second, at step two, the Commission erred in failing to consider the record

evidence showing that the claims contain inventive concepts sufficient to render

them patent-eligible under § 101. The claims’ recitation of motion sensors and heart

rate sensors provides more accurate arrhythmia-detection capabilities by reducing

false positives that might be caused by motion or exercise. Moreover, including an

onboard ECG sensor permits users to record ECGs when they are most likely

experiencing an arrhythmic episode. Finally, the Commission overlooked evidence

that claim 16’s recitation of a smartwatch—and the inclusion of a single-lead ECG—

along with claim 17’s recitation of machine learning algorithms trained to detect

arrhythmias was unconventional.

      II.    The Commission’s non-infringement determination should be reversed

for two reasons. First, the Commission failed to adopt the established and well-

reasoned construction of the “alert” limitation in the Claim Construction Order

(Appx305), as required under Markman, and instead applied a new, different

construction that materially deviated from the Claim Construction Order. Further,

and in conflict of this Court’s precedent, the Commission’s new and contrary

construction was tailored to fit the operation of the Accused Products—or, more




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precisely, the way the Accused Products were known not to operate—and to

therefore substantiate the non-infringement conclusion.

      Second, the Commission compounded its error when it disregarded all of

AliveCor’s cited evidence of infringement on the basis that it was inconsistent with

the new claim construction. When the improperly disregarded evidence is fully

considered in view of the correctly construed claim limitation, the Commission’s

noninfringement determination lacks substantial evidence. Apple’s IRN feature

literally “alerts” the user to an opportune time to take an ECG to capture the presence

of a transient and potentially deadly arrhythmia, just as the claims require. And even

if there were no literal infringement, the IRN alert serves a substantially equivalent

purpose to alerting a user to record an ECG.

                            STANDARD OF REVIEW

      This Court reviews the Commission’s final determination under the standards

of the Administrative Procedure Act. Ajinomoto Co. v. Int’l Trade Comm’n, 597

F.3d 1267, 1272 (Fed. Cir. 2010) (citing 19 U.S.C. § 1337(c)). This Court reviews

the Commission’s factual findings for substantial evidence and its legal

determinations de novo. Id. (citing 5 U.S.C. § 706(2)). “A finding is supported by

substantial evidence if a reasonable mind might accept a particular evidentiary

record as adequate to support a conclusion.” Guangdong Alison Hi-Tech Co. v. Int’l

Trade Comm’n, 936 F.3d 1353, 1358 (Fed. Cir. 2019) (quotation omitted).


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“Substantial evidence must be sufficient to justify, if the trial were to a jury, a refusal

to direct a verdict when the conclusion sought to be drawn from it is one of fact for

the jury.” Id. (quotation omitted).

      Patent eligibility under § 101 is an issue of law that this Court reviews de

novo. Berkheimer v. HP Inc., 881 F.3d 1360, 1365 (Fed. Cir. 2018). This includes

whether the claim is “directed to patent-ineligible subject matter.” CardioNet, LLC

v. InfoBionic, Inc., 955 F.3d 1358, 1367 (Fed. Cir. 2020). This Court reviews the

factual findings underlying the Commission’s invalidity determinations for

substantial evidence “by ascertaining whether those findings ‘were established by

evidence that a reasonable person might find clear and convincing,’ and whether

those findings ‘form an adequate predicate for the legal determination of

invalidity.’” Guangdong, 936 F.3d at 1359 (quotation omitted).

      “The first step of the infringement analysis is claim construction, which is an

issue of law that [this Court] review[s] de novo.” Bio-Rad Labs., Inc. v. Int’l Trade

Comm’n, 998 F.3d 1320, 1327 (Fed. Cir. 2021) (internal citation omitted). “The

second step of the infringement analysis involves a comparison of the accused

product to the construed claims, which is an issue of fact that [this Court] review[s]

for substantial evidence.” Id. at 1327-28.




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                                   ARGUMENT

I.    THE COMMISSION ERRED IN DETERMINING THAT CLAIMS 16
      AND 17 OF THE ’499 PATENT ARE INVALID UNDER 35 U.S.C. § 101

      Patent-eligible subject matter includes “any new and useful process, machine,

manufacture, or composition of matter, or any new and useful improvement thereof.”

35 U.S.C. § 101. Subject-matter eligibility is assessed under the familiar two-step

framework from Alice Corp. Pty. v. CLS Bank Int’l, 573 U.S. 208 (2014). First, the

court or tribunal must determine whether the claims at issue are directed to “patent-

ineligible concepts,” such as abstract ideas. Id. at 217. Second, if they are, then the

court or tribunal must determine whether those claims nonetheless add a sufficient

“inventive concept” or “additional elements” that “transform the nature of the claim

into a patent-eligible application.”     Id. at 217-18 (quotation omitted).       This

requirement ensures that the patent does not seek simply to “monopolize the abstract

idea.” Id. at 221 (cleaned up).

      Under this standard, the Commission erroneously determined that Apple met

its burden of showing that unasserted independent claim 11 and dependent claims

16 and 17 of the ’499 patent are subject-matter ineligible under § 101. In so ruling,

the Commission failed to properly consider the claim language, the specification,

and the extrinsic evidence showing that the claims are directed to specific

implementations of improvements in cardiac monitoring technology and contain

inventive concepts.

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      A.     The Claims Are Not Directed To Abstract Ideas

      The Commission erred as a matter of law in determining that the ’499 patent

claims are directed to the abstract idea of “taking in heart rate data (of any kind),

taking in activity level data (of any kind), calculating heart rate variability,

comparing that variability with the activity (by any means), and then alerting the

user to ‘record an electrocardiogram using said mobile computing device.’”

Appx37-38 (quoting Appx249). The claims are drawn to specific improvements in

cardiac monitoring technology—allowing a user of a mobile computing device

having a specific combination of sensors to detect and confirm the presence of an

arrythmia, such as AFib—that, as the Commission found with respect to the ’941

and ’731 patents (Appx31-34), constitute patent-eligible subject matter.

      At step one, this Court considers the claims “in their entirety to ascertain

whether their character as a whole is directed to excluded subject matter.” McRO,

837 F.3d at 1312 (quotation omitted). This Court also considers “the patent’s written

description, as it informs [the Court’s] understanding of the claims.” CardioNet,

955 F.3d at 1368. In doing so, this Court looks to whether the claims “focus on a

specific means or method that improves the relevant technology or are instead

directed to a result or effect that itself is the abstract idea and merely invoke generic

processes and machinery.” McRO, 837 F.3d at 1314.




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       Under these standards, claims 16 and 17 of the ’499 patent, like the claims of

the ’731 and ’941 patents, are directed to specific implementations of improvements

to cardiac monitoring technology—not abstract ideas. This Court’s decision in

CardioNet considered analogous claims and is controlling. In CardioNet, the

independent claim at issue recited:

      A device, comprising:

      a beat detector to identify a beat-to-beat timing of cardiac activity;

      a ventricular beat detector to identify ventricular beats in the cardiac
      activity;

      variability determination logic to determine a variability in the beat-to-
      beat timing of a collection of beats;

      relevance determination logic to identify a relevance of the variability
      in the beat-to-beat timing to at least one of atrial fibrillation and atrial
      flutter; and

      an event generator to generate an event when the variability in the beat-
      to-beat timing is identified as relevant to the at least one of atrial
      fibrillation and atrial flutter in light of the variability in the beat-to-beat
      timing caused by ventricular beats identified by the ventricular beat
      detector.

955 F.3d at 1365. After the district court ruled that the claims were directed to the

abstract idea that atrial fibrillation and atrial flutter “can be distinguished by focusing

on the variability of the irregular heartbeat,” id. at 1366, this Court reversed and held

that the claims were instead directed to an improved cardiac monitoring device, see

id. at 1368.

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       In so holding, this Court first looked to the claim language, which indicated

that the claim was “directed to a device that detects beat-to-beat timing of cardiac

activity, detects premature ventricular beats, and determines the relevance of the

beat-to-beat timing to atrial fibrillation or atrial flutter, taking into account the

variability in the beat-to-beat timing caused by premature ventricular beats identified

by the device’s ventricular beat detector.” Id. This Court also considered the written

description, which “confirm[ed] [its] conclusion.”            Id.    According to the

specification, “the [claimed] device more accurately detects the occurrence of atrial

fibrillation and atrial flutter—as distinct from [ventricular tachycardia] and other

arrhythmias—and allows for more reliable and immediate treatment of these two

medical conditions.” Id. at 1368-69. The specification also stated that “the device

is able to identify sustained episodes of atrial fibrillation and atrial flutter that have

‘increased clinical significance.’” Id. at 1369.

       The ’499 patent claims here are similar, and the Court should hold that they

too are patent-eligible at step one. Indeed, the Commission analogized to CardioNet

in concluding that the asserted claims of the ’941 and ’731 patents are directed to

technological improvements in cardiac monitoring technology, rather than abstract

ideas. Appx33-34. Yet in ruling that the ’499 patent claims are directed to abstract

ideas, the Commission did not even cite this binding authority. Appx37; Appx247-

252.

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      Here, as in CardioNet, the claim language recites a specific combination of

sensors to determine when certain heart rate variability parameters might indicate

that a cardiac event is significant. Appx10039-10040; see supra, at pp. 9-10. Indeed,

the claims here are even more clearly directed to technological improvements than

those at issue in CardioNet because the claims there merely recited broadly-defined

hardware like “a beat detector” and “a ventricular beat detector,” see 955 F.3d at

1365, whereas the claims here recite more specific ECG and motion sensors,

Appx10039-10040. These features indicate that the claims are directed to specific

improvements in cardiac monitoring technology, not simply an abstract idea. See

CardioNet, 955 F.3d at 1368.

      Moreover, like the specification in CardioNet, the ’499 patent specification

further confirms that the claims are directed to improved cardiac monitoring devices

and that the particular choice of sensors (heart rate, motion, and ECG) is the focus

of the claims. First, the specification explains that “continuous monitoring may

allow a subject to be alerted immediately upon an indication of the potential problem

(e.g. an increase in HRV suggestive of a cardiac dysfunction),” which “may allow

the coupling of continuous HR monitoring with ECG recording and analysis for

disease diagnosis and disease management.” Appx10037 (23:2-11). Thus, the

claimed heart rate monitor informs the user when they are most likely experiencing

an arrhythmia and therefore when it is most beneficial to record an ECG.

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Appx31229-31231;       Appx31236-31237;       Appx31240-31241.         Second,    the

specification also explains that “[b]y comparing measured heart rate changes with

measured activity changes, the presently disclosed software of ‘app’ minimizes false

alarms.” Appx10038 (25:22-25). As AliveCor’s expert Dr. Efimov explained, heart

rate signals can be disrupted by motion, which can cause irregular heart rate readings

that appear similar to readings associated with an arrhythmia like AFib.

Appx31240-31241.      Dr. Efimov further testified that motion sensors can also

indicate when elevated heart rates—possible symptoms of arrhythmias like

tachycardia and AFib—are actually caused by normal activities like exercise.

Appx31240-31241. And, third, regarding claim 17, the specification explains how

machine learning algorithms provide further technological improvements over

legacy cardiac monitoring devices. Appx10030 (9:48-51).

      Here, in analyzing unasserted independent claim 11, from which claims 16

and 17 depend, the Commission erred in focusing on individual claim elements

rather than the claim as a whole. See McRO, 837 F.3d at 1312. It concluded that the

“bulk of the claim” is directed to data analysis algorithms and that the “bit of

apparatus recited” was “devoid of specificity, such that it can only be considered

generic computer hardware.” Appx36; Appx249. That reasoning is inconsistent

with the analysis that the Commission undertook in determining that the independent

claims of the ’941 and ’731 patents are not directed to abstract ideas. Appx31-34.

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In deeming that latter set of claims patent-eligible at step one, the Commission

correctly explained that “[t]here is no requirement for the entire focus of the claim

to be directed to non-abstract concepts,” and that “[t]he step-one inquiry is always

whether the character of the claims, considered in light of the specification, is

directed to excluded subject matter.” Appx31 (citing Enfish, LLC v. Microsoft

Corp., 822 F.3d 1327, 1335 (Fed. Cir. 2016)). That principle should apply equally

here, and the Commission failed to provide any convincing reason for treating the

claims of the ’499 patent differently.

      The Commission’s determination that unasserted independent claim 11

merely recites “generic computer hardware” components (Appx36) is incorrect in

any event. The Commission identified no evidence that motion sensors, heart rate

sensors, or ECG sensors are components of generic computers, much less a mobile

computing device. Nor did it identify any evidence showing that the combination

of a motion sensor, a heart rate sensor, and an ECG sensor, along with algorithms

running on the claimed mobile computing devices, are generic. And, as noted, this

Court has previously held that claims reciting even more generic hardware

components, such as “a beat detector” and “a ventricular beat detector,” are patent-

eligible at step one. CardioNet, 955 F.3d at 1365, 1368.

      With respect to claim 16 in particular, the Commission further erred in

determining that the claim’s recitation of “wherein said mobile computing device

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comprises a smartwatch” (Appx10039) “does not materially transform the claim as

there is no other limitation that benefits or is affected by the computing device being

in this form factor” (Appx250; see Appx38). The undisputed evidence shows that

the only kind of ECG sensor that can be incorporated into such a device is a single-

lead ECG that permits only intermittent recording. Dr. Efimov testified, without

contradiction, that:

      [E]ssentially, what is important in this particular discovery in this
      invention that, on the one hand, you need to take an ECG, but you don’t
      know when to take the ECG, because the ECG on the wrist cannot be
      taken continuously. You have to take your finger, you have to bring it
      in contact. You can only do it for a few seconds or tens of second or
      minutes but not more than that.

Appx31236; see Appx31094-31095 (similar testimony by Dr. Stultz).                 This

testimony from both parties’ experts shows that a person of ordinary skill in the art

would have understood that incorporating an ECG sensor into a wrist-worn

smartwatch would require using a specific type of ECG sensor: a single-lead ECG,

which can record an ECG only when the user actively places a finger from their

contralateral hand on one of the electrodes on the smartwatch. Appx31236-31237.

In combination with the other elements of the claim, the single-lead ECG sensor

incorporated into a smartwatch improves cardiac monitoring technology because it

allows users to detect arrhythmias when an episode is occurring. Appx31236-31237.

      Finally, the Commission also erred in its step one analysis of claim 17. It

reasoned that requiring the processor to further “determine a presence of said

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arrhythmia using a machine learning algorithm” was “literally just another

algorithm” that “only deepens the connection between the claim and ineligible

subject matter.” Appx37-38; see Appx250. But the Commission disregarded

testimony from Dr. Efimov, who explained that by employing machine learning

algorithms, the claimed devices can more accurately detect arrhythmias in real time,

without any need for a medical professional. Appx31243-31244. The Commission

also disregarded the specification, which explains how these algorithms can be

trained and used to detect arrhythmias. See, e.g., Appx10027 (3:50-4:7); Appx10028

(5:6-10); Appx10029-10030 (8:65-9:19).

      Because the Commission erred in concluding that the claims are directed to

abstract ideas, this Court should reverse the Commission’s invalidity determination

at step one.

      B.       The Claims Contain Inventive Concepts

      If the Court proceeds to step two, it should hold that the Commission erred in

determining that claims 16 and 17 do not contain inventive concepts sufficient to

transform them into patent-eligible subject matter—whether on their own or through

their dependency from unasserted independent claim 11. An “inventive concept” is

“an element or combination of elements that is sufficient to ensure that the patent in

practice amounts to significantly more than a patent upon the ineligible concept

itself.” Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d 1138, 1151 (Fed. Cir.


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2016) (cleaned up). The Court “consider[s] the elements of each claim both

individually and as ‘an ordered combination’ to determine whether the additional

elements ‘transform the nature of the claim’ into a patent-eligible application.”

Alice, 573 U.S. at 217 (quoting Mayo Collaborative Services v. Prometheus Labs.,

Inc., 566 U.S. 66, 78-79 (2012)). The inventive concept inquiry does not simply

consider whether “each claim element, by itself, was known in the art.” BASCOM

Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir.

2016). In fact, “an inventive concept can be found in the non-conventional and non-

generic arrangement of known, conventional pieces.” Id.

      Unasserted Independent Claim 11.            Claims 16 and 17, through their

dependency from unasserted independent claim 11, recite multiple concepts that are

each sufficiently inventive as to confer patent-eligibility at step two.

      First, the ECG sensor’s presence in the claim language is important to the

technological innovation that the claimed devices present. As Dr. Efimov and Dr.

Stultz both testified, individuals with paroxysmal or asymptomatic AFib often lack

the motivation to see a physician when they are unaware that they have AFib.

Appx31096-31097; Appx31228-31229. For a doctor to render a diagnosis, the

doctor still “needs an electrocardiogram to look at.” Appx31229-31230. Thus, the

claimed devices are inventive because they can alert the user to record an ECG when

doing so is most likely to capture the cardiac information most helpful for a doctor

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to render a diagnosis or order further testing. Appx31229-31232; Appx31235-

31236.

      Second, the claimed devices are further inventive because the unconventional

arrangement of sensors and algorithmic steps allows users to detect paroxysmal

arrhythmias in ambulatory settings without a physician present. Appx31227. The

claims thus recite devices that perform functions that doctors had been incapable of

performing. Appx31252-31254.

      Third, by reciting a comparison of HRV to activity level, the claimed devices

can reduce false positives that might be caused by motion or normal exercise. This,

in turn, allows the claimed devices to more accurately alert users to record an ECG.

Appx31240-31241.

      Claim 16. Though claim 16 recites inventive concepts through its dependency

from unasserted independent claim 11, claim 16 itself recites additional inventive

concepts.

      First, claim 16’s recitation of a smartwatch form factor fundamentally

transforms the nature of the claim and renders it patent-eligible under § 101. There

is no evidence in the record suggesting that smartwatches—let alone smartwatches

with the claimed sensors and algorithmic functionality—were well-known or

conventional devices by the ’499 patent’s priority date of December 12, 2013. The

only reference in the ’499 patent’s specification to a “smartwatch” is to the

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“Samsung Galaxy Gear Smart Watch.” Appx10026 (2:21-26). Even the Apple

Watch, which is now the world’s most popular smartwatch, was not commercially

released until April 2015—sixteen months after the ’499 patent’s priority date.

Appx30744. And, as noted (supra, Part I.A), even though the first-released Apple

Watch included a PPG sensor, Apple did not include ECG functionality in the Apple

Watch until December 2018—five years after the ’499 patent’s priority date.

Appx30745-30746. The smartwatch limitation in claim 16 thus transforms that

claim in such a substantial way as to render inapplicable the general principle that

“[a]n abstract idea does not become nonabstract by limiting the invention to a

particular field of use or technological environment.” Intellectual Ventures I LLC v.

Capital One Bank (USA), 792 F.3d 1363, 1366 (Fed. Cir. 2015) (cited in Appx39);

see id. at 11370-71 (stating principle but not applying it in holding that claims were

“not … limited” to the dynamic presentation of data that was basis of asserted

inventive concept); Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253,

1259 (Fed. Cir. 2016) (cited in Appx39) (holding, at step one, that claims reciting

wireless delivery of regional broadcast content were not rendered less abstract

merely by confining the abstract idea underlying the claims to a particular

technological environment of cellular phones).

      Second, even if the claimed device of claim 16 relies on individual hardware

components that, as a general matter, were known in the art, the specific combination

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of sensors and algorithmic functionality on a smartwatch was inventive and

unconventional. BASCOM, 827 F.3d at 1350. As discussed with respect to step one

(see supra, at pp. 44-45), a person of ordinary skill in the art would have understood

that implementing the claimed advance in a smartwatch requires using a single-lead

ECG sensor, which only records a single view of the heart. Appx30048-30049;

Appx30294-30295. Though it was known in the art at the time, using a single-lead

ECF sensor, rather than the “gold-standard” 12-lead ECG, was unconventional

because it was viewed as too inaccurate to reliably identify instances of AFib and

difficult to integrate into existing products. See, e.g., Appx30790; Appx12026.

Even as recently as 2020, doctors believed that “[a]t this point, consumer wearables

and watches don’t have the accuracy to replace the [12-lead] ECG.” Appx13935.

And a single-lead ECG sensor in a smartwatch is also incapable of continuous

monitoring, a significant downside. Instead, the user must “complete the circuit” by

touching an electrode on the smartwatch with his or her contralateral hand, as

AliveCor’s expert Dr. Jafari explained:

      [B]ut the problem is, even with the on-demand ECG on the watch, I
      can’t have that all the time. I can’t be touching my watch at all times
      …. Somebody has to tell me when to do it …. So the question is, how
      do I find out when I need to take the ECG. And that’s the principal
      question that AliveCor has tried to address.

Appx30291-30292.




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      The Commission nonetheless concluded that claim 16 lacks any inventive

concept because “it would stifle innovation to find that at the relevant time a claim

that describes generic sensors used in a conventional way is patentable when

implemented in a smartwatch.” Appx39. The Commission, however, cited no

evidence for this conclusion.     Instead, it merely recited the Supreme Court’s

admonition that “the underlying functional concern here is a relative one: how much

future innovation is foreclosed relative to the contribution of the inventor.” Appx39

(quoting Mayo, 566 U.S. at 88 (emphasis in original)). But Apple presented no

evidence that speaks to this preemption concern. Its expert, Dr. Stultz, offered no

testimony as to whether the claims preempt conventional methods of arrhythmia

detection, let alone evidence indicating how much future innovation might be

foreclosed relative to AliveCor’s contribution.

      Claim 17. Claim 17 recites inventive concepts through its dependency from

unasserted independent claim 11, and also because the Commission’s determination

(Appx38) that implementing machine learning algorithms to detect arrhythmias was

conventional lacks substantial evidence. Even well after the December 12, 2013

priority date of the ’499 patent, doctors remained skeptical of using machine learning

algorithms to detect medical conditions, such as arrhythmias. For instance, Apple’s

own infringement expert, Dr. Picard, testified that “[d]octors, to believe what you’re

doing … want to have a bit more transparency and insight into where [machine

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learning algorithms] could succeed or fail.” Appx30923. She further testified that

neural networks, which are a subset of machine learning algorithms, “are becoming

increasingly out of favor with doctors because they are not transparent.”

Appx30923. The Commission also disregarded evidence from Apple’s invalidity

expert, Dr. Stultz, who wrote in a 2019 paper that because machine learning

algorithms “provide little insight as to how the model arrives at a given result,” they

are “particularly difficult for a clinician to trust.” Appx15972. Dr. Stultz went on

to write that “[u]nlike problems outside of medicine, poor performance for clinical

models can have deleterious consequences for patients.”           Appx15972.      This

substantial industry skepticism thus shows that Claim 17’s recitation of a machine

learning algorithm trained to detect arrhythmias is another inventive concept that

renders it patent-eligible.

II.   THE COMMISSION ERRED IN DETERMINING THAT THE
      ACCUSED PRODUCTS DO NOT INFRINGE CLAIMS 16 AND 17 OF
      THE ’499 PATENT

      Every patent infringement analysis proceeds through two steps: First, the

court or tribunal “determin[es] the meaning and scope of the patent claims asserted

to be infringed” as a matter of law, and then, second, the finder of fact “compar[es]

the properly construed claims to the device accused of infringing.” Markman v.

Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995). Failing to apply

Markman’s two-step infringement inquiry constitutes legal error. See, e.g., Graco,


                                          52
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Inc. v. Binks Mfg. Co., 60 F.3d 785, 791 (Fed. Cir. 1995) (reversing district court’s

infringement finding after bench trial for failing to perform both Markman steps).

      Here, the Commission legally erred in departing from the initial, correct

construction of the “alert” limitation in unasserted independent claim 11 and then

disregarding all of AliveCor’s evidence showing that the Accused Products meet

that limitation, as properly construed.

      A.     The Commission’s Late-Breaking Construction Of The “Alert”
             Limitation Was Erroneous

      The Commission erred as a matter of law in adopting and applying a

construction of the “alert” limitation that substantially deviated from the

construction in the initial Claim Construction Order. That order had construed

“alert” as not limited to a message and further required that the claimed alert be

provided in a manner “alerting the user to [the] fact” that “an ECG is appropriate”

in response to the arrhythmia detected by PPG. Appx322-323. As that order

recognized, the claimed “alert” issued to the user serves as a trigger for determining,

based on background PPG monitoring, an opportune moment for the user to take an

ECG that was most likely to confirm the presence of AFib, including the transient

and episodic occurrences of paroxysmal AFib. See Appx322-323; Appx30288;

Appx30292-30293; Appx30378-30379.

      This construction of “alert” was consistent with the disclosed invention in the

’499 patent, which served the same purpose: as a trigger. Appx10039 (5:10-14)

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(“[T]riggers or alerts may be provided to the user in response to the measured

physiological signals and/or parameters” to “notify the user to take corrective

steps.”); Appx10039 (24:65-25:4) (“Processor executable code is stored on the one

or more memories and when executed by the one or more processors causes the one

or more processors to determine if heart rate and activity measurements represent an

advisory condition for recording an ECG, and generate and send notification signals

through the output device 1408 when an advisory condition for recording an ECG

is determined.”) (emphasis added).

      Instead of following the Claim Construction Order’s construction that “alert”

does not require a message, the Commission applied a contrary construction

requiring that the “alert” by the processor of the mobile computing device comprise

a literal message containing words that instruct the user to record an ECG. Appx243-

244. The Commission also disregarded that order’s conclusion that the ’499 claims

are directed to determining whether an ECG is appropriate and then “alerting” a user

to that fact. Appx243-244.

      Although the Commission can consider many kinds of evidence when

adopting and revising a claim construction, such as the claim language’s ordinary

meaning, dictionaries, the surrounding claims, the specification, the prosecution

history, and even treatises and testimony on the relevant art and background

technology, see Phillips v. AWH Corp., 415 F.3d 1303, 1314-19 (Fed. Cir. 2005) (en

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banc), the Commission may not adopt a new and much narrower claim construction

“with reference to the accused device.” Wilson Sporting Goods Co. v. Hillerich &

Bradsby Co., 442 F.3d 1322, 1330 (Fed. Cir. 2006) (quotation omitted). Yet that is

exactly what the Commission did here. See Appx243-244.

      The Commission made the final construction of “alert” only with relation to

functionality not present on the accused Apple Watches themselves—i.e., the lack

of a message specifically stating that the user should “take an ECG” (Appx322-

323)—leading to an unavoidable non-infringement determination.               Thus, the

Commission effectively rewrote the earlier claim construction and narrowed the

claim scope for the “alert” limitation to require a message with text that includes a

specific instruction that was absent from the Accused Products. This Court’s

precedent “forbids a court from tailoring a claim construction to fit the dimensions

of the accused product or process and to reach a preconceived judgment of

infringement or noninfringement.” Wilson Sporting Goods, 442 F.3d at 1331.

      Not only was the departure from the Claim Construction Order substantively

erroneous, it was also unexpected. In contrast to its treatment of other claim

construction issues (see Appx31310-31311), the ALJ never invited the parties to

address any issues regarding reconstruction of the “alert” limitation in their post-

hearing written submissions. And, indeed, the parties did not brief construction of

the “alert” limitation to the ALJ following the Claim Construction Order, which

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itself followed extensive briefing. “It is difficult to imagine either party anticipating

that already-interpreted terms [are] actually moving targets.” SAS Inst., Inc. v.

ComplementSoft, LLC, 825 F.3d 1341, 1351 (Fed. Cir. 2016), rev’d on other

grounds, 138 S. Ct. 1348 (2018).

      Thus, the Commission erred by failing to apply the prior and well-reasoned

construction of the “alert” limitation, and instead imposing a new, unexpected and

contrary construction informed only by the Accused Products themselves.

      B.     The Commission’s Noninfringement Finding Is Not Supported By
             Substantial Evidence

      The Commission further erred by disregarding all of AliveCor’s evidence of

infringement as “irrelevant” in view of its new construction of the “alert” limitation

that runs contrary to the Claim Construction Order.              Applying the proper

construction of “alert,” as required under Markman, the Commission’s

noninfringement finding lacks substantial evidence.

      As explained above, the plain language of the “alert” limitation does not

require that users be explicitly told or instructed to take an ECG, but merely that they

be triggered to take that action by way of the claimed “alert.” Apple’s IRN alert

meets this limitation because it is literally (or at the very least, equivalently) an

“alert” for users to record an ECG on their Apple Watch.




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             1.    The Accused Products Literally Infringe

      The record shows that the IRN alert serves as a call to action directed to users,

alerting or triggering them to an opportune time to take an ECG to capture—with a

confirmatory measurement—the presence of a transient and potentially deadly

arrhythmia. This evidence includes both public-facing materials from Apple or third

parties and Apple’s internal confidential information concerning design and

operation of the IRN feature. See Appx1025-1030 (AliveCor’s initial post-hearing

brief, collecting and detailing evidence). Collectively, this evidence shows that

Apple deliberately designed an unexpected IRN alert to inform a user that an ECG

is situationally appropriate at that precise moment and also encouraged users to take

an ECG directly on the Apple Watch upon receiving such an alert. It thus crystallizes

Apple’s purposeful shaping of its users’ actions taken in response to receiving an

IRN alert. In deviating from the original, proper claim construction, and focusing

solely on the “talk to your doctor” text of the IRN’s alert message, however, the

Commission did not address any of this evidence and instead dismissed it all as

“irrelevant.” See Appx243-244.

      First, the Commission disregarded that Apple publicly endorses and

encourages users to take an ECG upon receiving the IRN alert message—in line with

the claim limitation.     These endorsements and encouragements—much like

instruction manuals accompanying accused products—are circumstantial evidence


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of direct infringement that the Commission should have considered. See, e.g.,

Tinnus Enterprises, LLC v. Telebrands Corp., 846 F.3d 1190, 1204 (Fed. Cir. 2017)

(rejecting argument “that each claim limitation must be found in the accused product

itself” and holding that instruction manuals are “at least circumstantial evidence of

infringement”).

      For example, Apple’s website instructs users to take an ECG “at any time …

or when you receive an irregular rhythm notification.” Appx13903-13904;2 see

Appx15932 (Apple December 2018 press release suggesting to users that IRN and

ECG should be used sequentially by taking an ECG “following an irregular rhythm

notification”); Appx30354-30355 (testimony regarding Apple’s ECG usage

website).

      As AliveCor’s expert Dr. Jafari testified, these Apple materials “clearly

teach[] the users to take—to use irregular rhythm notification as a trigger for ECG.”

Appx30381-30382;      see    Appx30468        (same);    Appx30473-30474      (same);

Appx30354-30355 (same).3 Apple is also aware that users encourage one another



2
   This instruction remains unchanged since December 2018. See Taking an ECG
with the ECG app on Apple Watch Series 4, APPLE, (Dec. 18, 2018),
https://web.archive.org/web/20181218032238/https://support.apple.com/en-
us/HT208955.
3
   The Commission erroneously relied on Dr. Jafari’s testimony that the desire to
take an ECG would need to come from the user asking themselves “what else could
be done and consulting additional resources.” Appx243-244. That testimony does

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                       CONFIDENTIAL MATERIAL OMITTED




                                   Confidential product information

                                                                           Confidential product information

Confidential product information                Confidential product information

                                                                       Confidential product information




      Confidential product information                   Confidential product information

                                                                             Confidential product information
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                       CONFIDENTIAL MATERIAL OMITTED

Confidential product information
as a            for            was “Done”); see also Appx13291 (Apple’s code names
       Confidential product information
for      and       ). This “         ” resulted from Apple’s years-long investment and

planning. Appx13704-13705; Appx13883-13902; Appx13909-13932; Appx15980-

16008; Appx15976-15979; see Appx1027-1030 (AliveCor initial post-hearing brief

collecting above exhibits and additional, related trial and witness testimony).4

       Third, the Commission disregarded highly relevant evidence showing that the

IRN feature’s immediate, in-the-moment pop-up “alert” that the user’s “heart has

shown signs of an irregular rhythm suggestive of atrial fibrillation” (Appx11897)

would be particularly alarming and impactful to the receiving user, leading them to

take an ECG using Apple’s ECG App. The IRN feature is explicitly restricted by

the FDA to users not previously diagnosed with AFib,5 and all IRN users must first

“onboard” the feature and learn (from modules) about the deadly and elusive nature

of AFib     Appx13909-13917 (IRN FDA clearance); Appx13714 (IRN Design

Specification); Appx13723 (detailing AFib’s risks and symptoms); see Appx30288;



4
    Apple has argued that the current IRN feature does not infringe, in part, by
                                                           Confidential product information
contrasting it with    an  abandoned
          Confidential product information
                                          prototype that provided   a software-based        to
the       upon generation of an AFib warning. This comparison is premised on an
overly narrow reading of the claim. Just because Apple’s prototype would have
clearly infringed the ’499 patent does not mean that the current IRN does not
infringe. The “alert” limitation, as properly construed in the Claim Construction
Order, is broad enough to encompass both the prototype and the current IRN feature.
5
   In fact, the IRN feature “restricts a user from proceeding with onboarding if user
indicates a prior diagnosis of atrial fibrillation.” Appx13717.
                                             60
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Appx30292-30293.       The onboarding instills in the user the level of certainty

underpinning the IRN feature’s AFib alert, noting prominently that “[i]f you receive

a notification [i.e., “alert”], the irregular rhythm notification feature on your Apple

Watch identified an irregular rhythm suggestive of AFib and confirmed it with

multiple readings.” Appx13726 (emphasis added). The previously-undiagnosed

IRN user is thus educated by the onboarding that the IRN alert is not a one-off

detection to be ignored.

      Moreover, when the AFib condition is detected, the “alert” is delivered

immediately and prominently—both on the Apple Watch’s face and the paired

iPhone—in the same manner as other pressing system alerts, which may comprise a

chime, vibration, or other audible or haptic notifications.         See Appx13637;

Appx16323-16339 (Apple white paper, “Using Apple Watch for Arrhythmia

Detection,” explaining on Appx16326 that “[i]f five out of six sequential

tachograms—including the initial one—are classified as irregular within a 48-hour

period, the user is notified of the potential arrhythmia”). And IRN users have no

control over whether the feature is actively scanning (in the background) for the

presence of AFib, and “there is no way for a user to initiate analysis” via the feature




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(Appx13910-13911)6—heightening their surprise and alarm upon receiving an

“alert.”

       Thus, when the user is confronted with an unexpected alert expressly warning

that the IRN feature has detected AFib, the user will likely be alarmed and induced

to take the most logical next step: a voluntary, on-demand ECG using the Apple

ECG app to see if AFib is indeed present, as the IRN suggested. Appx30375-30382

(AliveCor’s expert Dr. Jafari testifying regarding the user’s contextual response

upon receiving the IRN alert).7

       In light of all this evidence, the IRN feature satisfies the “alert” limitation, and

thus the Accused Products literally infringe asserted dependent claims 16 and 17.

              2.     The Accused Products Infringe Under The Doctrine Of
                     Equivalents

       The foregoing evidence literally satisfies the established parameters of the

properly-construed “alert” limitation. Nevertheless, infringement of the “alert”




6
   Apple publicly admitted as much in a white paper published on its website: The
IRN “algorithm isn’t always monitoring the user, but rather is doing so
opportunistically when adequate signal is available for collection and analysis.”
Appx16326; see Appx13910-13911 (The IRN “is not constantly looking for AFib
and should not be relied upon as a continuous monitor.” IRN “is a background
screening tool and there is no way for a user to initiate analysis of pulse rate data.”).
7
   When the later-occurring ECG measurement happens close-in-time to the PPG-
based detection, the ECG is most likely to confirm the condition of AFib, ideally by
observing the same underlying episode that gave rise to the prior detection.
Appx30447-30448.
                                            62
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limitation is met, at a minimum, under the doctrine of equivalents (“DOE”) because

the IRN alert serves a substantially equivalent purpose to “alert[ing] a user to record

an [ECG].” See, e.g., Warner-Jenkinson Co. v. Hilton Davis Chemical Co., 520 U.S.

17, 24-25 (1997) (“What constitutes equivalency must be determined against the

context of the patent, the prior art, and the particular circumstances of the case ….

Consideration must be given to the purpose for which an ingredient is used in a

patent, the qualities it has when combined with the other ingredients, and the

function which it is intended to perform.”) (quotation omitted).

      The Commission wrongly ruled that the DOE did not apply on the basis that

the “result” of the IRN alert message is “very different” than specifically directing a

user to record an ECG, because the IRN alert message literally says the user “should

talk to [their] doctor.” Appx244. In doing so, the Commission improperly assumed

that the user will only follow the literal written suggestion of the IRN alert message,

rather than taking other appropriate or logical action considering the context of the

sudden delivery of the alert, including taking an ECG on the only voluntary, on-

demand AFib-sensing app on the Apple Watch: Apple’s ECG App. The operative

and correct DOE inquiry is whether the Accused Products “contain elements

identical or equivalent to each claimed element of the patented invention.” Warner-

Jenkinson, 520 U.S. at 39-40.




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      As explained above, evidence regarding the timing, delivery, and receipt of

the IRN alert message—critical context evidence that the Commission wrongly

failed to consider in its DOE analysis—shows that an Apple Watch user would be

triggered to take an ECG when they receive the IRN alert, given the in-the-moment

immediacy of that alert and its delivery to a population that has not previously been

diagnosed with AFib but that has been warned of its seriousness through Apple’s

“onboarding” process as a prerequisite to using the IRN feature. See Appx30375-

30377 (AliveCor’s expert Dr. Jafari testifying that the IRN alert satisfies the triple-

identity test, a/k/a the function-way-result test); see also supra, Part II.B.1. Thus, to

the extent the IRN alert is not literally an alert for the user to record an ECG using

the Apple Watch, it is at a minimum the substantial equivalent of the claimed “alert”

for at least the foregoing reasons. The Commission’s contrary determination lacks

substantial evidence.

                                   CONCLUSION

      The Commission’s determination of no Section 337 violation as to the ’499

patent should be reversed.




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Dated: July 14, 2023                     Respectfully submitted,

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                     UNITED STATES INTERNATIONAL TRADE COMMISSION
                                    Washington, D.C.



In the Matter of

CERTAIN WEARABLE ELECTRONIC
                                                                                       Investigation No. 337-TA-1266
DEVICES WITH ECG FUNCTIONALITY
AND COMPONENTS THEREOF



                                              COMMISSION OPINION

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I.     INTRODUCTION

       On September 22, 2022, the Commission determined to review in part the final initial

determination (“ID”) issued by the presiding administrative law judge (“ALJ”) on June 27, 2022.

87 Fed. Reg. 58819-21 (Sept. 28, 2022). On review, the Commission has determined to affirm,

with modifications, the ID’s finding that there has been a violation of section 337 of the Tariff

Act of 1930, as amended, 19 U.S.C. § 1337. Having found a violation of section 337, the

Commission has determined to issue a limited exclusion order and a cease and desist order as set

forth below. The Commission finds that the public interest does not preclude the issuance of

remedial orders. The Commission has determined that a bond in the amount of $2 per imported

article is required for infringing products imported during the period of Presidential review. 1

The Commission, however, has determined to suspend enforcement of the orders, including the

bond provision, pending final resolution of the U.S. Patent and Trademark Office, Patent Trial

and Appeal Board’s (“PTAB”) Final Written Decisions finding all asserted patent claims

unpatentable. See Apple, Inc. v. AliveCor, Inc., IPR2021-00970, Patent 9,572,499, Final Written

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AliveCor, Inc., IPR2021-00971, Patent 10,595,731, Final Written Decision Determining All

Challenged Claims Unpatentable (Dec. 6, 2022); Apple, Inc. v. AliveCor, Inc., IPR2021-00972,

Patent 10,638,941, Final Written Decision Determining All Challenged Claims Unpatentable

(Dec. 6, 2022) (collectively, “Final Written Decisions” or “FWDs”).

       This opinion sets forth the Commission’s reasoning in support of that determination. The

Commission adopts the remainder of the ID that is not inconsistent with this opinion.


       1
         Commissioners Schmidtlein and Stayin disagree with the Commission’s determination
regarding the amount of the bond required for infringing products imported during the period of
Presidential review as provided in section (V)(D) of the Commission’s Opinion concerning
bond. See infra note 41.
                                                 3


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II.    BACKGROUND

       A.       Procedural History

       On May 26, 2021, the Commission instituted this investigation based on a complaint filed

by AliveCor, Inc. of Mountain View, California (“AliveCor” or “ALC”). 86 Fed. Reg. 28382

(May 26, 2021). The complaint, as supplemented, alleged violations of section 337 of the Tariff

Act of 1930, as amended, 19 U.S.C. § 1337, in the importation into the United States, the sale for

importation, or the sale within the United States after importation of certain wearable electronic

devices with ECG 2 functionality and components thereof by reason of infringement of one or

more of claims 1-30 of U.S. Patent No. 10,595,731 (“the ’731 patent”); claims 1-23 of U.S.

Patent No. 10,638,941 (“the ’941 patent”); and claims 1-4, 6-14, 16-20 of U.S. Patent No.

9,572,499 (“the ’499 patent”). Id. The Commission’s notice of investigation named Apple Inc.

of Cupertino, California (“Apple”) as the sole respondent. The Office of Unfair Import

Investigations (“OUII”) is named as a party in this investigation. Id.

       On February 23, 2022, the ALJ issued an initial determination granting AliveCor’s

motion to terminate the investigation as to (1) claims 1-4, 6-14, and 18-20 of the ’499 patent;

(2) claims 2, 4, 6, 7, 11, 13, 14, and 17-30 of the ’731 patent; and (3) claims 1-11, 14, 15, 17, and

18 of the ’941 patent based upon withdrawal of allegations from the complaint as to those

claims. Order No. 16 (Feb. 23, 2022), unreviewed by Notice (Mar. 18, 2022).

       The ALJ held an evidentiary hearing from March 28-April 1, 2022, and received post-

hearing briefs thereafter.




       2
           ECG stands for electrocardiogram.


                                                 4


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       On June 27, 2022, the ALJ issued the final initial determination (“ID”), finding a

violation of section 337 as to the ’941 and ’731 patents, and no violation as to the ’499 patent. 3

The ID found that the parties do not contest personal jurisdiction, and that the Commission has in

rem jurisdiction over the accused products. ID at 18. The ID further found that the importation

requirement under 19 U.S.C. § 1337(a)(1)(B) is satisfied. Id. (citing CX-0904C (Apple stipulating

that it imports the accused products into the United States)). Regarding the ’941 patent, the ID

found that AliveCor has proven infringement of the asserted claims, claims 12, 13, 19, and 20-

23, and that Apple failed to show that any of the asserted claims are invalid. Id. at 30-45, 60-98,

187-88. For the ’731 patent, the ID found that AliveCor has proven infringement of the asserted

claims, claims 1, 3, 5, 8-10, 12, 15, and 16, but that Apple has proven that claims 1, 8, 12, and 16

are invalid for obviousness. Id. at 105-108, 113-127, 188. For the ’499 patent, the ID found that

AliveCor failed to prove infringement of the asserted claims, claims 16 and 17, and that claim 17

is invalid for lack of patentable subject matter under 35 U.S.C. § 101. Id. at 129-138, 140-152,

188. Finally, the ID found that AliveCor has proven the existence of a domestic industry that

practices the asserted patents as required by 19 U.S.C. § 1337(a)(2). Id. at 152-180, 188. The ID

included the ALJ’s recommended determination on remedy and bonding (“RD”). The RD

recommended that, should the Commission find a violation, issuance of a limited exclusion order

and a cease and desist order would be appropriate. ID/RD at 190-193. The RD also

recommended imposing no bond for covered products imported during the period of Presidential

review. Id. at 194-95.

       On July 11, 2022, Apple filed a petition for review of the final ID and AliveCor filed a




       3
           The ALJ issued a corrected final ID on July 26, 2022, correcting the table of contents.


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combined petition and contingent petition for review. 4 On July 19, 2022, the private parties and

OUII’s investigative attorney filed responses to the petitions. 5

       On September 22, 2022, the Commission determined to review the final ID in part. 87

Fed. Reg. 58819-21 (Sept. 28, 2022). Specifically, the Commission determined to review the

final ID’s invalidity findings, including patent eligibility under 35 U.S.C. § 101 and obviousness

under 35 U.S.C. § 103, and the economic prong of the domestic industry requirement for all

three patents. Id. The Commission requested briefing on certain issues under review and on

remedy, the public interest, and bonding. Id.

       On October 6, 2022, the parties filed initial submissions in response to the Commission’s

request for briefing. 6 On October 14, 2022, 7 the parties filed reply submissions. 8 On October



       4
         See Respondent Apple Inc’s Petition for Review of the Initial Determination on
Violation of Section 337 (“Apple Pet.”); Complainant AliveCor, Inc.’s Combined Petition for
Review and Contingent Petition for Review of the Initial Determination (“AliveCor Pet.”).

       5
          See Respondent Apple Inc.’s Response to the Complainant’s Petition for Review of the
Initial Determination (“Apple Rep.”); Complainant AliveCor Inc.’s Response to Respondent
Apple Inc.’s Petition for Review of the Initial Determination on Violation of Section 337
(“AliveCor Rep.”); Combined Response of the Office of Unfair Import Investigations Response
to the Private Parties’ Petitions for Review of the Final Initial Determination on Violation
(“OUII Rep.”).
       6
         See Respondent Apple Inc.’s Opening Brief in Response to the Commission’s Request
for Written Submissions on the Issues Under Review and on Remedy, the Public Interest, and
Bonding (“Apple Sub.”); Complainant AliveCor, Inc.’s Submission in Response to the
Commission’s September 22, 2022 Notice of a Commission Determination to Review in Part
(“AliveCor Sub.”); Brief of the Office of Unfair Import Investigations on the Issues Under
Review and on Remedy, the Public Interest, and Bonding (“OUII Sub.”).
       7
          On October 12, 2022, the Chair granted the parties’ request to extend the due date for
their reply briefs by one day. See Commission Letter Granting Request for Extension of Time to
File Replies to the Commission’s Request for Written Submissions; Certain Wearable Electronic
Devices with ECG Functionality and Components Thereof, Inv. 337-TA-1266 (Oct. 12, 2022).
       8
      See Respondent Apple Inc.’s Reply Brief to AliveCor and OUII’s Response to the
Commission’s Request for Written Submissions on the Issues Under Review and on Remedy, the
                                                  6


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21, 2022, Apple moved for leave to file a sur-reply to AliveCor’s reply submission. 9 On October

24, 2022, AliveCor filed an opposition. 10 OUII filed a response in opposition on November 2,

2022. 11 The Commission has determined to reject Apple’s motion for leave to file a sur-reply to

AliveCor’s reply submission. The Commission finds that Apple has not shown AliveCor’s reply

submission contains errors that warrant a sur-reply.

       On December 7, 2022, Apple filed an emergency motion, asking “the Commission to

suspend any remedial orders or, in the alternative, extend the December 12, 2022 Target Date of

its Final Determination and stay all proceedings prior to issuance of any Final Determination

pending final resolution of any appeal of the PTAB’s decisions.” 12 Apple Emergency Motion at




Public Interest, and Bonding (“Apple R.Sub.”); Complainant AliveCor, Inc.’s Reply Submission
in Response to the Commission’s September 22, 2022 Notice of a Commission Determination to
Review in Part (“AliveCor R.Sub.”); Reply Brief of the Office of Unfair Import Investigations
on the Issues Under Review and on Remedy, the Public Interest, and Bonding (“OUII R.Sub.”).
       9
         See Respondent Apple Inc.’s Motion for Leave to File Sur-Reply Brief to AliveCor’s
Reply to the Commission’s Request for Written Submissions on the Issues Under Review and on
Remedy, the Public Interest, and Bonding.
       10
         See AliveCor’s Opposition to Apple’s Motion for Leave to File Sur-Reply to
AliveCor’s Reply to the Commission’s Request for Written Submissions on the Issues Under
Review and on Remedy, the Public Interest, and Bonding.
       11
         See Response of the Unfair Import Investigations to Respondent Apple Inc.’s Motion
for Leave to file Sur-Reply Brief to AliveCor’s Reply to the Commission’s Request for Written
Submissions on the Issues Under Review and on Remedy, the Public Interest, and Bonding.
       12
          See Respondent Apple Inc.’s Emergency Motion to Suspend any Remedy or Extend
the Target Date and Stay Proceedings Pending Resolution of any Appeal of the Patent Office’s
Decision that United States Patent Nos. 10,638,941, 10,595,731, and 9,572,499 Are
Unpatentable (“Apple Emergency Motion”).

                                                7


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1. On December 9, 2022, AliveCor filed an opposition to Apple’s motion.13 On December 16,

2022, OUII filed a response to the motion. 14

       B.      Overview of the Technology

       The technology at issue generally relates to systems, devices, and methods for monitoring

cardiac health and managing cardiac disease. ID at 3.

       The ’941 patent entitled, “Discordance Monitoring,” issued on May 5, 2020. ’941 patent

(JX-0003). The patent describes systems, devices, and methods that can be used to

“conveniently sense the presence of an intermittent arrhythmia in an individual.” ’941 patent,

Abstract. The systems, devices, and methods can also “be configured to sense an

electrocardiogram.” Id.

       The ’731 patent entitled, “Methods and Systems for Arrhythmia Tracking and Scoring,”

issued on March 24, 2020. ’731 patent (JX-0002). The patent describes “a dashboard centered

around arrhythmia or atrial fibrillation.” ’731 patent, Abstract. “The dashboard includes a heart

or cardiac health score that can be calculated in response to data from the user such as their ECG

and other personal information and cardiac health influencing factors.” Id. “The dashboard also

provides to the user recommendations or goals, such as daily goals, for the user to meet and

thereby improve their heart or cardiac health score.” Id.

       The ’449 patent, also entitled, “Methods and Systems for Arrhythmia Tracking and

Scoring,” issued on February 21, 2017. ’449 patent (JX-0001). The patent also describes “a



       13
         See AliveCor’s Opposition to Apple’s Emergency Motion to Suspend any Remedy or
Extend the Target Date and Stay Proceedings (“AliveCor Opposition”).
       14
         See Response of the Office of Unfair Import Investigations to Respondent Apple Inc.’s
Emergency Motion to Suspend any Remedy or Extend the Target Date and Stay Proceedings
Pending Resolution of any Appeal of the Patent Office’s Decision that United State Patent Nos.
10,638,941, and 9,572,499 Are Unpatentable (“OUII Reply to Emergency Motion”).
                                                  8


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dashboard centered around arrhythmia or atrial fibrillation.” ’449 patent, Abstract. “The

dashboard includes a heart or cardiac health score that can be calculated in response to data from

the user such as their ECG and other personal information and cardiac health influencing

factors.” Id.

       C.        The Accused Products

       The accused products consist of four generations of Apple smartwatches:

                             Apple Model(s)                           Category

             A1975, A1976, A1977, A1978                         Series 4

             A2092, A2093, A2094, A2095                         Series 5

             A2291, A2292, A2293, A2294                         Series 6

             A2473, A2474, A2475, A2477                         Series 7



ID at 6. The parties explained that the “Apple Watch Series 6 is sufficiently representative from

a hardware standpoint of all other Accused Products” and they describe the “salient features of

the Accused Products via the Series 6 as ‘a motion/activity sensor known as an accelerometer, a

photoplethysmography (‘PPG’) 15 sensor, an electrocardiogram (‘ECG’) sensor, a display screen,

a processor, and memory.’” ID at 6 (citing Hr’g Tr. (Jafari) at 303:19-24; JX-0221C (Waydo) at

207:10-14, 208:14-209:11; CX-0107). The ID further found that the “software running on these

devices is also important, taking the form of Apple’s operating system, WatchOS” and that “[a]s

with hardware, the parties have agreed that version 7.6.2 of WatchOS is representative of all

other versions that contain the diagnostic tools implicated by the Asserted Claims.” Id.




       15
            PPG is used to sense the amount of oxygen in the blood.
                                                 9


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       D.      Domestic Industry Products

       The domestic industry products include “wearable electronic devices, being developed,

manufactured, and/or sold by AliveCor under the tradenames KardiaBand System, [[

                                                          ]].” ID at 4. “Each product includes,

‘among other things, a smartwatch, activity sensor, PPG sensor, and ECG sensor.’” Id. at 4-5.

“The KardiaBand System (‘KBS’) comprises the KardiaBand watch band, and an Apple Watch

(Series 1, 2, 3) with Watch OS 5.0 or earlier running a program called KardiaApp.” Id. at 5

(citing Hr’g Tr. (Jafari) at 385:16-386:15). Complainant relies on its KBS product for its

domestic industry that exists and relies on its [[              ]] products for its domestic industry in

the process of being established.

III.   COMMISSION REVIEW OF THE ID

       When the Commission reviews an initial determination, in whole or in part, it reviews the

determination de novo. Certain Soft-Edged Trampolines and Components Thereof, Inv. No. 337-

TA-908, Comm’n Op. at 4 (May 1, 2015). Upon review, the “Commission has ‘all the powers

which it would have in making the initial determination,’ except where the issues are limited on

notice or by rule.” Certain Flash Memory Circuits & Prods. Containing Same, Inv. No. 337-

TA-382, USITC Pub. No. 3046, Comm’n Op. at 9-10 (July 1997) (quoting Certain Acid-Washed

Denim Garments & Accessories, Inv. No. 337-TA-324, Comm’n Op. at 5 (Nov. 1992)). With

respect to the issues under review, “the Commission may affirm, reverse, modify, set aside or

remand for further proceedings, in whole or in part, the initial determination of the administrative

law judge.” 19 C.F.R. § 210.45(c). The Commission also “may take no position on specific

issues or portions of the initial determination,” and “may make any finding or conclusions that in

its judgment are proper based on the record in the proceeding.” Id.; see also Beloit Corp. v.

Valmet Oy, 742 F.2d 1421, 1423 (Fed. Cir. 1984).

                                                     10


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IV.     ANALYSIS

        A.      Economic Prong of the Domestic Industry Requirement

        The Commission determined to review the economic prong of the domestic industry

requirement for all three patents and asked the parties for briefing. 87 Fed. Reg. 58819-20 (Sept.

28, 2022).

        On review, the Commission has determined to affirm the ID’s findings that AliveCor

failed to establish the economic prong of the domestic industry requirement as to a domestic

industry in the process of being established, and an existing industry under subsections (A) and

(B), but proved the existence of a domestic industry under subsection (C). With respect to the

industry in the process of being established and an existing industry under subsection (A), the

Commission affirms the ID for the reasons stated therein. Regarding subsections (B) and (C),

the Commission affirms the ID as modified below.

                1.      Legal Standard

        In patent-based proceedings under section 337, a complainant must establish that a

domestic industry “relating to the articles protected by the patent . . . exists or is in the process of

being established.” 19 U.S.C. § 1337(a)(2). Under Commission precedent, this domestic

industry requirement consists of an “economic prong” and a “technical prong.” See Alloc, Inc. v.

Intl Trade Comm’n, 342 F.3d 1361, 1375 (Fed. Cir. 2003). To satisfy the “technical prong,” the

complainant must establish that it practices at least one claim of each of the asserted patents.

Certain Point of Sale Terminals and Components Thereof, Inv. No. 337-TA-524, Order No. 40 at

17-18 (Apr. 11, 2005). To satisfy the “economic prong,” paragraph (3) of section 337(a)

provides:

        For purposes of paragraph (2), an industry in the United States shall be considered
        to exist if there is in the United States, with respect to the articles protected by the
        patent, copyright, trademark, mask work, or design concerned –

                                                  11


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               (A) significant investment in plant and equipment;

               (B) significant employment of labor or capital; or

               (C) substantial investment in its exploitation, including engineering,
                   research and development, or licensing.

19 U.S.C. § 1337(a)(3). Expenditures in each of the above three categories under section

337(a)(3) must “pertain to the complainant’s industry with respect to the articles protected by the

asserted IP rights.” See, e.g., Certain Television Sets, Television Receivers, Television Tuners,

and Components Thereof, Inv. No. 337-TA-910, Comm’n Op. at 68 (Oct. 30, 2015); Certain

Marine Sonar Imaging Devices, Including Downscan and Sidescan Devices, Prods. Containing

the Same, and Components Thereof, Inv. No. 337-TA-921, Comm’n Op. at 40 (Jan. 6, 2016).

       Under subsection (C), a domestic industry will be found to exist if, “with respect to the

articles protected by the patent,” a complainant can show “substantial investment in its

exploitation, including engineering, research and development, or licensing.” 19 U.S.C.

§ 1337(a)(3)(C) (emphasis added). For this provision, the Federal Circuit has interpreted “its” to

mean the patent (or other enumerated IP right in subsections 337(a)(1)(B)-(E)), so there must be

a nexus between the domestic investments and the exploitation of the asserted patents, beyond

showing that those investments relate to the protected domestic industry (“DI”) articles.

InterDigital Communications, LLC v. Int’l Trade Comm’n, 707 F.3d 1295, 1297-1301 (Fed. Cir.

2013). 16 To establish the nexus, the complainant must show the connection between its



       16
           The ID states that “[u]nlike subsections (A) and (B), where a connection is made
between an alleged investment and a patent-practicing product, a subsection (C) analysis requires
a connection between the R&D investment and the asserted patents (i.e., nexus).” ID at 170
(citation omitted). We clarify that while subsection (C) requires a nexus between the claimed
investments and the asserted patents, the requirement that investments be “with respect to articles
protected by the patent” applies with respect to subsections (A), (B), and (C). See 19 U.S.C.
§ 1337(a)(3); see also InterDigital, 707 F.3d at 1298 (“Thus, just as the ‘plant or equipment’
                                                12


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investments and the patented aspect(s) of the invention that it is exploiting. See Certain

Integrated Circuit Chips and Products Containing the Same, Inv. No. 337-TA-859, Comm’n Op.

at 49-50 (Aug. 2014) (“As a matter of statutory construction, an investment in the article is not

automatically an investment in the asserted patent.”). It is not enough for a complainant to assert

that it generally conducts research and development, or that its R&D relates to non-patented

features incorporated into articles that also practice the patent at issue. Id.

       Depending on the particular facts of a case, a complainant’s domestic industry with

respect to articles protected by the asserted IP rights may extend beyond the protected article, to

include those additional parts or components that are necessary to use or exploit the patented

invention. See Motorola Mobility, LLC v. Int’l Trade Comm’n, 737 F.3d 1345, 1351 (Fed. Cir.

2013) (explaining that “nothing in § 337 precludes a complainant from relying on investments or

employment directed to significant components, specifically tailored for use in an article

protected by the patent”). However, there may be investments that are too far removed from the

articles protected by the asserted intellectual property rights to be considered part of the

complainant’s domestic industry. See Certain Video Game Systems and Wireless Controllers

and Components Thereof, Inv. No. 337-TA-770, Comm’n Op. at 66 (Oct. 28, 2013) (“[W]e

agree with the ALJ that the language of the patent is directed to the toy wand and not the toy

wand plus the entire MagiQuest attraction.”). Nevertheless, for subsection (C), the focus

remains on whether the claimed investments are related to the exploitation of the patent and

whether those investments in the exploitation of the patent are substantial.




referred to in subparagraph (A) must exist with respect to articles protected by the patent, such as
by producing protected goods, the research and development or licensing activities referred to in
subparagraph (C) must also exist with respect to articles protected by the patent, such as by
licensing protected products.”).
                                                  13


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       Whether a complainant satisfies the economic prong is not analyzed according to a rigid

mathematical formula. Certain Male Prophylactic Devices, Inv. No. 337-TA-546, Comm’n Op.

at 39 (Aug. 1, 2007). The Commission decides the domestic industry requirement has been

established in each investigation based on “an examination of the facts in each investigation, the

article of commerce, and the realities of the marketplace.” Id. A complainant does not need to

show any “minimum monetary expenditure,” and does not “need to define or quantify the

industry itself in absolute mathematical terms.” Stringed Musical Instruments, Inv. No. 337-TA-

586, Comm’n Op. at 16-17 (May 16, 2008) (“A precise accounting [of the complainant’s

domestic investments] is not necessary, as most people do not document their daily affairs in

contemplation of possible litigation.”). The burden is on the complainant to show by a

preponderance of the evidence that the domestic industry requirement is satisfied. See Certain

Multimedia Display and Navigation Devices and Systems, Components Thereof, and Products

Containing Same, Inv. No. 337-TA-694, Comm’n Op. at 5 (July 22, 2011).

       To satisfy the domestic industry requirement, section 337(a)(3) requires that a

complainant’s asserted investments must be “significant” or “substantial.” The Federal Circuit

has held that “qualitative factors alone are insufficient” to show that domestic industry

investments are significant or substantial. Lelo Inc. v. Int’l Trade Comm’n, 786 F.3d 879, 885

(Fed. Cir. 2015). The statute “requires a quantitative analysis to determine whether there is a

‘significant’ [or ‘substantial’] increase or attribution by virtue of the claimant’s asserted

commercial activity in the United States.” Id. at 883. “[T]he terms ‘significant’ and ‘substantial’

refer to an increase in quantity, or to a benchmark in numbers.” Id. at 885; see also Certain

Carburetors & Prods. Containing Such Carburetors, Inv. No. 337-TA-1123, Comm’n Op. at 15-

16 (Oct. 28, 2019). While significance may not be established on qualitative evidence alone,



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“qualitative evidence may still be relied upon to support a finding that a complainant’s

investments are significant.” Carburetors, Comm’n Op. at 24; see also id. at 23 (“There may be

facts and circumstances where, based on an assessment of quantitative information, it remains

unclear whether a complainant’s investments are significant or not. In such cases, resorting to

qualitative factors that may indicate significance could be relevant to the evaluation.”). In this

regard, the Commission considers the “nature and significance” of a complainant’s activities

with respect to the protected articles. Certain Printing and Imaging Devices, Inv. No. 337-TA-

690, Comm’n Op. at 30 (Feb. 17, 2011). The Commission may consider, inter alia, whether the

“activities were important to the articles protected by the asserted patents in the context of the

company’s operations, the marketplace, or the industry in question, or whether complainant’s

undertakings had a direct bearing on the practice of the patent” or “whether and to what extent []

domestic activities added value to the imported products.” Id.

            2.    Economic Prong of the Domestic Industry Requirement Under Subsection
                  (C)

                       a)      Background

       AliveCor is a U.S. company based in California that designs and develops wearable

electronic devices to help diagnose heart conditions. See Compl. at ¶ 11; CDX-005C.13; Tr.

(Albert) at 53:22-54:20; CDX-005C.29; Tr. (Albert) at 77:24-78:14. AliveCor developed the

inventions claimed in the Asserted Patents in the United States and introduced the “technology to

consumers through the KBS, a system that included an app and watchband accessory for the

Apple Watch,” clearing the KBS with the U.S. Food and Drug Administration (“FDA”) for use

in connection with the Apple Watch. ID at 4-5; Tr. (Albert) 83:8-85:19; 199:3-201:21; CDX-

0005C.34-36. There is no dispute that the KBS domestic industry product was developed in the

United States and the [[             ]] products are also being developed in the United States.


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       Although AliveCor ceased to manufacture and sell the KBS product in 2018, AliveCor

continued to invest in the technology of the patents through the date of the complaint filing.

Under Commission precedent, past expenditures in R&D can be counted towards establishing a

domestic industry in a product that exists but has been discontinued, like the KBS, if there are

continuing investments. See, e.g., Certain Marine Sonar Imaging Devices, Inv. No. 337-TA-

921, Comm’n Op., at 59 (Jan. 6, 2016) (crediting “labor and capital expenditures related to . . .

software updates” used in a discontinued but practicing product), affirmed, Hyosung TNS Inc. v.

Int’l Trade Comm’n, 926 F.3d 1353, 1361-2 (Fed. Cir. 2019) (“[P]ast expenditures may be

considered to support a domestic industry claim so long as those investments pertain to the

complainant’s industry with respect to the articles protected by the asserted [intellectual

property] rights and the complainant is continuing to make qualifying investments at the time the

complaint is filed.”).

                         b)     AliveCor Established the Nexus Requirement for Both Past
                         Investments and Continuing Investments

       AliveCor has established both (1) that its past investments in R&D were directed to each

of the asserted patents to develop the KBS and to use the technology of the patents to develop

[[               ]]; and (2) that after AliveCor ceased manufacture and sales of the KBS in 2018,

AliveCor continued to make on-going R&D domestic investments directed to exploiting the

asserted patents and these continuing investments benefit current users of the KBS. Moreover,

the evidence shows that, since 2018, AliveCor has continued to incur ongoing expenditures to

address customers’ concerns for the KardiaBand through its customer service contractor iQor

which benefits current KBS users. See RX-0484C.48.

       AliveCor proffered evidence of its internal costs as well as contractor costs to support its

claim that DI was met under subsection (C). The ALJ did not credit the majority of AliveCor’s

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internal labor R&D expenditures because they were not sufficiently reliable to determine the

quantitative amount that could be properly allocated to the domestic industry products. ID at

170-75. The ID found the evidence of payments to outside contractors to be reliable and

sufficient to show AliveCor’s investments in R&D of [[            ]] from 2017 through 2020. The

Commission agrees with these findings.

        The evidence of record establishes that these payments were directed to exploitation of

the patents. See, e.g., CPX-0048; CX-09236C; ID at 175-76; Tr. (Albert) at 176:22-177:3 (“We

didn’t just stop KardiaBand. [[




                                           ]]; AliveCor Rep. at 3-6. Accordingly, AliveCor’s past

R&D expenditures to exploit the patents in the KBS, together with continuing R&D investments

in the [[            ]] that benefit KBS users support AliveCor’s claim that it has established the

requisite nexus exists for purposes of a domestic industry under subsection (C). Further, as

noted AliveCor has made continuing investments in the KBS through its customer service

contractor iQor.

        Apple persists in its argument that the ID erred in finding that AliveCor established a

nexus between the alleged R&D contractor expenditures and the Asserted Patents for purposes of

subsection (C). Apple Pet. at 19; Apple Sub. at 24-26. We disagree. In finding the nexus



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requirement for these contractor investments met, the ID stated, with respect to a physical exhibit

recording these contractor expenditures, that “CPX-0048C [on its face] provides at least some

description of the activity behind each cost that suggests a nexus to sensors, circuitry, and

housing structure.” ID at 175-76 (citing CX-09236C (presenting totals for “DI Contractor R&D

Labor”). Under Commission precedent, the nexus requirement can be inferred under these facts.

See, e.g., Certain Integrated Circuit Chips and Products Containing the Same, Inv. No. 337-TA-

859, Comm’n Op. at 42 (Aug. 22, 2014) (“[A] complainant’s evidence of its investment in a

protected article that practices the patent ordinarily also can support the inference that the

investment was itself an exploitation of the patent.”).

        The record evidence shows that “the core part of the invention” claimed in the Asserted

Patents is “technology that measures heart rate and heart rate parameters in the background,” that

“use[s] … AI [artificial intelligence] and machine learning algorithms to mine that data and”

when it “identif[ies] irregularities that are suggestive of atrial fibrillation, provide[s] a trigger to

the user to take an ECG” and allows “the user [to] take on-demand ECG on the wrist.” Tr.

(Jafari) at 292:17-293:2; AliveCor Rep. at 11. As the ID found, the evidence shows that the

contractor expenditures are directed to the sensors, circuitry, and the housing structure of the

AliveCor wristbands, i.e., the KardiaBands. CPX-0048; CX-09236C; ID at 175-76. Further, as

AliveCor explained, this “development work for the SmartRhythm algorithms, described above,

is directed to the technology in the KBS that identif[ies] irregularities that are suggestive of atrial

fibrillation, provide[s] a trigger to the user to take an ECG.” AliveCor Rep. at 11 (citing Tr.

(Somayajula) at 198:13-227:20). Moreover, the “development work for KardiaAI is directed to

technology that allows [existing] KBS users to take an on-demand ECG.” Id.; Tr. (Albert) at

64:1-67:8. That is, the record evidence shows that the development work undertaken by the



                                                   18


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contractors pertains to the patented features of the domestic industry products for the benefit of

current users of the KBS. As the Commission has held, ‘“[e]xploitation’ is a generally broad

term that encompasses activities such as efforts to improve, develop, or otherwise take advantage

of the asserted patent.” Certain Integrated Circuit Chips and Products Containing the Same,

Inv. No. 337-TA-859, Comm’n Op., 2014 WL 12796437, at *21 (Aug. 22, 2014).

                       c)     AliveCor’s Investment in Exploiting the Patents is Substantial

       Having found the relevant nexus between the investments and the Asserted Patents, the

ALJ found that the investments, totaling [[          ]] for the technology of each of the three

patents, were “substantial” under subsection (C). 17 ID at 180-83. We agree for the reasons

stated in the ID, as supplemented below.

       As stated above, we agree with the ID’s finding that payment to outside contractors show

R&D investments of [[           ]] from 2017 through 2020. Beyond these contractors’

investments, the ID found with respect to continuing investments in exploiting the asserted

patents that the “record certainly evidences a qualitative effort on the part of ALC to refine and

improve the KBS features like SmartRhythm and KardiaAI—which have a clear nexus to the

heart rate and ECG analysis limitations recited in the Asserted Claims of the 941, 731, and 499

patents.” ID at 170-171. The quantitative evidence also shows that, since 2018, AliveCor has

continued to incur ongoing expenditures to address customers’ concerns for the KardiaBand

through its customer service contractor iQor, which as discussed above, has a nexus to exploiting

the asserted patents. The table below shows the labor costs related to iQor tickets for

KardiaBand or AliveCor’s Kardia app:



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          We note that DI product for each of the three asserted patents is the KBS and thus there
is no need to allocate the investments among the three patents. That is, the DI product for each
patent standing alone is the KBS.
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                                                       Total Tickets                    Percentage
                                                                           Cost to
      Year                             Hardware            With                          of KB +
                   KardiaBand                                           AliveCor for
                                       Unknown          Sufficient                       Software
                     Tickets                                                KB +
                                       Tickets         Information                        Tickets
                                                                         Software
                                                         to Code
      2018               [[
     2019
     2020
   Jan-Sept
                                                                                            ]]
  2021 (Sept)

RX-0484C.48.

       Apple separately argues that the [[            ]] expenditures for R&D contractor expenses

includes foreign expenditure. Apple Sub. at 27, Apple R.Sub. at 18. The record, however, does

not support Apple’s argument. As AliveCor explains, its Chief Financial Officer Clyde Hosein

testified at his deposition that “he had reviewed the information underlying his declaration and

thought it best to remove some expenses paid to one vendor, [[                  ]], because it was

‘not clear whether those costs were incurred in United States or all of it was incurred in the

United States.’” AliveCor Sub. at 24 (citing JX-0229C (Hosein Depo.) at 90:18-92:11). Mr.

Hosein submitted the declaration in question with AliveCor’s complaint enumerating “expenses

related to United States-based consultants and contractors preforming hardware engineering,

testing, development, and support work for AliveCor’s DI Products from 2016 through 2020.”

Id. (citing Compl. Ex. 20, Hosen Decl. ¶ 14 (EDIS No. 740374); CPX-048C at tabs 2017 QB &

NS 2018-2020). AliveCor states that “[i]n accordance with Mr. Hosein’s declaration and

testimony, [its] economic expert, Dr. Akemann, removed all payments to [[                    ]] from

his calculations” and that “[w]ith those payments removed, Dr. Akemann determined that

AliveCor incurred [[          ]] in qualifying investments to domestic R&D contractors.” Id. at 25

(citing CX-0925C (“Excludes expenses with Vendor Name of [[                       ]] . . . .”)). Apple



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points to the ID’s statement that “ALC’s record of R&D contractor payments do suggest a

material amount of foreign payments towards the DI Products in 2016-2020 that have otherwise

gone unaddressed in ALC’s briefing (see CPX-0048C (Tabs [[



                                        ]]” and that “they only add up to [[

                            ]].” ID at 182. Apple misapprehends the ID’s statement. The ID was

contrasting AliveCor’s domestic contractor expenditure to its foreign contractor expenditure.

The evidence shows that the ID did not find that the credited [[               ]] in domestic R&D

contractor payments included the [[        ]] of payments to foreign contractors as Apple contends.

Id. Indeed, there is no evidence to support Apple’s assertion.

       As mentioned above, the ID correctly found that the [[               ]] expenditures for R&D

contractor expenses is substantial. As an initial matter, the evidence supports the ID’s finding that

AliveCor’s “R&D labor expenses overall, including for the DI Products, are mostly domestic.”

ID at 181. The ID pointed to Dr. Akemann’s opinion that “over the entire DI period [[          ]] of

ALC’s total headcount was domestic” and that “[a]fter comparing domestic and foreign R&D

headcount, especially for the period 2016-19, it is likely that ALC’s internal R&D labor expenses

for KBS were overwhelmingly domestic, even without allocation.” Id. (citing CX-0937C). In

addition, the ID observed that of the total R&D contractor payments incurred in the development

of the KBS, the foreign payments towards the KBS DI Products in 2016-2020 “only add up to

[[                                                 ]]” and that “[i]f this is the true extent of

foreign R&D payments over this time and dedicated to the DI Products, then it only further

supports the substantiality of the [[        ]] domestic spend.” Id. at 181-82 (citing CX-0935C).

In other words, a comparison of the domestic contractor expenses to the foreign contractor



                                                 21


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expenses shows that the domestic expenditure is substantial. The Commission agrees with the

ALJ’s reasoning.

       We note the ID’s statement that the “overall analysis here is troubling, to be sure”

because “[i]t is no secret that a domestic-to-foreign comparison is at least the preferred method

of proving economic prong” and that “[t]he parties were even warned at the end of the

evidentiary hearing that ‘you need to compare foreign and domestic investments.’” Id. at 182

(citing Carburetors, Inv. No. 337-TA-1123, Comm’n Op at 17-19); Hr’g Tr. at 1312:17-18. The

Commission, however, has made clear that a domestic-to-foreign comparison is not a

requirement, nor is it “preferred” as a general matter to show significance. See Carburetors,

Comm’n Op at 8-9, 17-19. 18 The appropriate context for evaluating significance may vary

depending upon the facts of a particular investigation. For example, significance may be shown,

inter alia, by demonstrating the value added by domestic activities, by comparing domestic

investments to costs or revenues for DI products, or other contextual evidence of significance to

the company's operations, the marketplace, or the industry in question. See id. Here, the

Commission finds that the ID’s reliance on the comparison of the domestic contractor expenses

to the foreign contractor expenses and Dr. Akemann’s “sufficiently detailed and pertinent

headcount comparison showing it more likely than not that DI-related R&D labor expenses were

substantially domestic” is sufficient to show that AliveCor’s domestic expenditure in the

exploitation of its patents is substantial under subsection (C) for a domestic industry relating to




       18
          In the view of Commissioner Kearns, a proper contextual analysis for “significance”
requires some comparison of domestic and foreign activities or investments where the domestic
industry products benefit from both. This comparison can be through, for example, a comparison
of domestic to foreign expenditures or a value-added analysis. See Certain Electronic Candle
Products and Components Thereof, Inv No. 337-TA-1195, Comm’n Op. at 38 n.22 (Kearns
footnote) (July 14, 2022).
                                                 22


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the KBS products that “exists.” See ID at 183. Moreover, AliveCor’s continued activities after

the KBS products ceased to be manufactured and sold are sufficient to show an industry that

exists as of the date AliveCor filed its complaint.

            3.    Economic Prong of the Domestic Industry Requirement Under Subsection
                  (B)

       The Commission has determined to affirm the ID’s finding that AliveCor failed to

establish the economic prong of the domestic industry requirement under subsection (B) relating

to the KBS products. In support of its assertion that its [[          ]] investments in R&D labor

allocated to the KBS products were significant, AliveCor offered a comparison of these

investments to its company-wide labor and capital expenditures, as well as a comparison of KBS

sales revenue to its company-wide hardware and total sales revenues. ID at 178. Having found

AliveCor’s evidence of internal R&D labor expenditures to be unreliable, the ID considered

instead AliveCor’s domestic R&D contractor, customer support, and regulatory expenditures of

[[          ]] to evaluate significance and compared that figure to AliveCor’s proffered company-

wide labor and capital expenditures. 19 The ID found that these investments by AliveCor totaling

[[          ]] from 2016 to 2021 were “closer to [[     ]] of its total labor and capital investments

from 2016 to 2020, instead of [AliveCor]’s calculated [[ ]].” 20 Id. at 178. Although the ID had

misgivings about the relevance of comparing domestic industry investments to total company-

wide investments to show significance, the ID, nonetheless, considered it and found that “[t]his

is not a significant percentage on its own.” Id. at 178-79. With respect to the comparison of


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         The Commission agrees with the ID’s findings relating to the unreliability of
AliveCor’s evidence of its internal labor allocations.
       20
          It appears that AliveCor expected the ID to credit all of its allocated labor expenses,
which would have resulted in a contextual expenditure of [[ ]] of its total labor and capital
investments as opposed to the [[ ]] that the ALJ found based on those expenditures supported
by reliable evidence.
                                                 23


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KBS sales revenue to company-wide hardware and total sales revenues from 2018 to 2019, the

ID observed that this proffered contextual analysis “is not material because it does not involve

investments at all, and is for a limited range of years.” Id. at 180.

       We find that the contextual analysis relied on by AliveCor fails to support a finding that

its domestic industry investments are quantitatively significant. Specifically, AliveCor failed to

show how or why its comparison of its domestic labor expenses in the DI product to its overall

company-wide labor and capital expenditure showed that its domestic investment was

significant. The ID correctly reasoned that “[a] large company with many products may have a

domestic industry based on one such product, even though it only accounts for a tiny percentage

of the company’s expenses; conversely, a small company with a single qualifying product may

not have a domestic industry if the bulk of its investments are overseas” based upon the location

of its investment. ID at 179. Because of this, while we do not preclude that a complainant may

rely on a comparison of its domestic industry investments to company-wide investments in

establishing significance given the facts and circumstances of a particular investigation,




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AliveCor has failed to explain or substantiate why such a comparison in the context of this

investigation nonetheless demonstrates the significance of its domestic industry investments. 21, 22

       Regarding AliveCor’s second proffered basis for showing quantitative significance, we

agree with the ID that this also falls short. The ID found this basis – a comparison of KBS sales

from 2018 to 2019 to its hardware revenues and its total revenues – inapt as “the percentage of



       21
           While Commissioner Schmidtlein agrees that AliveCor has failed to demonstrate that
the investments as credited by the ID are significant, she does not join the majority’s analysis on
this point. This is because the majority is applying a recently established additional threshold
requirement that complainants must “explain or substantiate” why certain contextual analysis is
appropriate before the majority will consider whether that analysis shows the investments are
significant. It is a subtle difference, but Commissioner Schmidtlein’s decision in this case is
based on the failure of AliveCor to demonstrate that its credited investments of approximately
[[ ]] percent of company-wide labor and capital investments are significant. In contrast, the
majority does not reach whether these investments are significant because AliveCor did not
“explain or substantiate” why a comparison of the domestic industry investments to company-
wide investments is the appropriate comparison. See infra note 22. The majority cites the recent
case Certain Electronic Candle Products and Components Thereof, Inv. No. 337-TA-1195,
Comm’n Op. (Oct. 4, 2022) (Comm’r Schmidtlein dissenting) (Pub. Vers.) as precedent for the
Commission requiring a complainant to explain or substantiate the contextual benchmark upon
which it relies. There, under its analysis of complainants’ investments in plant and equipment,
the majority in that case rejected one of complainants’ sub-arguments “that their investments as a
percent of gross profits show that their investments are significant” because the complainants did
not explain the relevance of that particular benchmark. Id. at 37- 38. Commissioner Schmidtlein
dissented finding the domestic industry requirement to be satisfied. In considering the
complainant’s proffer of an alternative contextual analysis, she noted that she saw no reason to
discount the comparison using gross profit. See id., Dissenting Views of Commissioner
Schmidtlein at 18 n.7. Similarly, in this case, Commissioner Schmidtlein declines to join the
majority in requiring the complainants to “explain or substantiate” why a certain contextual
analysis is appropriate.
       22
           In response to footnote 21, the Commission is not establishing a new requirement, or
affirming a previously established one, for all domestic industry analyses but instead observes
the concerns noted by the ALJ with the particular contextual analysis offered by Complainant
here and that Complainant has not, in light of those concerns, explained or substantiated why its
proposed contextual analysis establishes that its claimed investments are significant. See, e.g.,
Certain Electronic Candle Products and Components Thereof, Inv. No. 337-TA-1195, Comm’n
Op. at 38 (July 14, 2022) (declining to find complainants’ proffered comparison of domestic
industry investments to gross profits as a relevant benchmark to assess significance absent an
explanation as to how or why that proffered metric is meaningful in relation to the protected
articles).
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ALC total revenue provided by KBS, is not material because it does not involve investment at

all, and is for a limited range of years. See CIB at 160 (highlighting that in 2018-2019, KBS

supplied “[[ ]] of AliveCor’s hardware revenues and [[ ]] of AliveCor’s total revenues.”).”

Id. at 180.

        Given that these data are the only contextual framework that AliveCor relied on before

the ALJ, it has failed to show a domestic industry exists under subsection (B). The headcount

and regulatory comparisons that AliveCor now presents in its submission to the Commission

were never presented to the ALJ and the Commission declines to consider them because they are

waived. Broadcom Corp. v. Int’l Trade Comm’n, 542 F.3d 894, 901 (Fed. Cir. 2008).

        As discussed above with respect to subsection (C), the Commission notes that certain

statements in the ID pertaining to subsection (B) suggest that the Commission prefers foreign

comparisons in determining domestic significance of an investment. See ID at 179-180. 23 The

Commission once again makes clear that it does not require a domestic-to-foreign comparison,

nor does it express a general preference for such a comparison to establish significance.

Carburetors, Inv. No. 337-TA-1123, Comm’n Op at 8-9, 17-19. Thus, the fact that AliveCor did

not offer one is not fatal to its efforts to support its claims of significance under subsection (B).

However, as discussed above, AliveCor failed to offer a meaningful contextual analysis by

which to evaluate the quantitative significance of its investments and thus failed to establish that

a domestic industry exists by virtue of significant investments in labor or capital under

subsection (B).




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         Even though the ID contemplated a similar result if AliveCor’s investments were
compared to its foreign manufacturing costs, the ID did not require such an analysis nor reach its
conclusion on that basis. ID at 178.
                                                  26


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       B.      The ID’s Patent Eligibility Findings Under 35 U.S.C § 101

       The Commission determined to review the final ID’s invalidity findings, including patent

eligibility under 35 U.S.C. § 101. 87 Fed. Reg. 58819-20 (Sept. 28, 2022).

               1.      Legal Standard

       Section 101 limits patent-eligible subject matter to “any new and useful process,

machine, manufacture, or composition of matter, or any new and useful improvement thereof.”

35 U.S.C. § 101. The Supreme Court has held that the statute excludes laws of nature, natural

phenomena, and abstract ideas from patentability. Mayo Collaborative Services v. Prometheus

Labs., Inc., 132 S. Ct. 1289, 1293 (2012). The statute renders these categories unpatentable

because “they are the basic tools of scientific and technological work” and “monopolization of

those tools through the grant of a patent might tend to impede innovation more than it would

tend to promote it.” Mayo, 132 S. Ct. at 1293 (quoting Gottschalk v. Benson, 409 U.S. 63, 67

(1972)).

       Under Supreme Court precedent, “applications of abstract concepts ‘to a new and useful

end remain patent eligible.” Alice Corp. Pty. v. CLS Bank Intern., 573 U.S. 208, 217-18, 221

(2014). A tribunal, however, must determine whether the claims transform the abstract idea into

patent-eligible subject matter. To make this determination, Alice prescribes a two-step inquiry:

a court must first “determine whether the claims at issue are directed to” a “patent-ineligible

concept[]”; if they are, the court must then “determine whether [any] additional elements

‘transform the nature of the claim’ into a patent-eligible application,” requiring an “inventive

concept” or “additional features” to “ensure that the patent does not seek simply to monopolize

the abstract idea.” Id. The Federal Circuit has explained that “[t]he ‘directed to’ inquiry applies

a stage-one filter to claims, considered in light of the specification, based on whether ‘their

character as a whole is directed to excluded subject matter.’” Enfish, LLC v. Microsoft Corp.,

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822 F.3d 1327, 1335 (Fed. Cir. 2016). To save a patent at the second step, the inventive concept

or additional features must be evident in the claims themselves. Synopsys, Inc. v. Mentor

Graphics Corp., 839 F.3d 1138, 1151-52 (Fed. Cir. 2016).

                  2.     Whether the ID Erred in Finding Claim 12 of the ’941 Patent
                  Patentable Under Alice

                         a)      The ID

        The ID found that “claim 12 of the ’941 24 patent is not invalid under 35 U.S.C. § 101,

although it is directed to an ineligible concept under Alice step one.” ID at 66. The ID explained

that claim 12 consists of a first portion reciting “the structure of a smartwatch (found to be

limiting, above) loaded with a processor and particular sensors” and a second portion that “refers

to instructions causing analysis of the sensors’ data and indicating (by any means) at least one

result to the user.” Id. at 67. The ID stated that “[t]he first portion alone typically would be



        24
             Claim 12 of the ’941 patent recites:

        A smartwatch, comprising:
                a processor;
                a first sensor configured to sense an activity level value of a user, wherein the first
        sensor is coupled to the processor;
                a photoplethysmogram (“PPG”) sensor configured to sense a heart rate parameter
        of the user when the activity level value is resting, wherein the PPG sensor is coupled to
        the processor;
                an electrocardiogram (“ECG”) sensor configured to sense electrical signals of a
        heart, wherein the ECG sensor comprises a first electrode and a second electrode, and
        wherein the ECG sensor is coupled to the processor; and
                a non-transitory computer readable storage medium encoded with a computer
        program including instructions executable by the processor to cause the processor to:
                         determine if a discordance is present between the activity level value of
                the user and the heart rate parameter of the user;
                         based on the presence of the discordance, indicate to the user a possibility
                of an arrhythmia being present; and
                         receive electric signals of the user from the ECG sensor to confirm the
        presence of the arrhythmia.

’941 patent, col. 17, l. 53-col. 18, l. 19.
                                                    28


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considered patent-eligible subject matter (as an apparatus), but the second portion alone typically

would be questionable (as a set of algorithms).” Id. The ID defined the issue as “whether the

claim, in view of the specification, is directed primarily to the apparatus or to the instructions”

and found that “[t]he intrinsic evidence supports the latter.” Id. For support, the ID observed

that “[t]he majority of ’941 patent claims focus on data analysis and returning results of that

analysis to a user (941 patent at cls. 2-9, 13-21), while only a handful recite non-algorithmic

features (id. at cls. 10, 11, 22, 23).” Id. The ID further observed that “[t]he specification

similarly speaks at length to diagnostic techniques for arrhythmias, and the benefits of a

discordance determination preceding an ECG measurement.” Id. at 67-68 (citing ’941 patent,

Title, 1:66-2:3, 2:10-3:12, 12:55-65, 12:66-13:7, 13:67-14:8, 14:8, 14:36-42, Fig. 7). The ID

surmised that “it is fair to say that claim 12 is directed to the abstract idea of analyzing a

combination of heart rate and activity, and then measuring and analyzing ECG electric signals

for medical diagnosis, as medical practitioners have routinely done for years” and thus is

“directed to non-patent eligible subject matter.” Id. at 68 (citing Intellectual Ventures I LLC v.

Symantec Corp., 838 F.3d 1307, 1314 (Fed. Cir. 2016) (“The Supreme Court has held that

‘fundamental . . . practice[s] long prevalent’ are abstract ideas.”)).

       The ID found that “[t]he structural elements within claim 12, however, are sufficient to

transform the claim into patent eligible subject matter under Alice step two.” Id. The ID

explained that “[t]he claim’s recitation of a smartwatch comprising ‘a photoplethysmogram

(‘PPG’) sensor configured to sense a heart rate parameter of the user when the activity level

value is resting, wherein the PPG sensor is coupled to the processor,’ is particularly specific and

structural.” Id. The ID added that “a PPG sensor on a smartwatch is specific and innovative.”

Id. at 69 (citing Hr’g Tr. (Albert) at 66:2-11; Hr’g Tr. (Jafari) at 513:12-15; Hr’g Tr. (Waydo) at



                                                  29


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823:12-824:1). The ID reasoned that the “recitation of a PPG sensor within a smartwatch, while

not the entire focus of the claim, does move it away from the ineligible concept of data

collection/analysis and towards a specific electro-mechanical apparatus.” Id. (citing Alice, 573

U.S. at 217-18 (asking whether the additional elements “transform the nature of the claim” into

patent-eligible subject matter)).

       The ID stated that “[t]he claim’s ‘electrocardiogram (‘ECG’) sensor configured to sense

electrical signals of a heart, wherein the ECG sensor comprises a first electrode and a second

electrode, and wherein the ECG sensor is coupled to the processor’ on the smartwatch adds to

this finding.” Id. The ID pointed to record evidence showing that “ECG sensors collect data in a

certain way and provide a very particular waveform.” Id. at 69-70 (citing Hr’g Tr. (Albert) at

48:6-49:24; Hr’g Tr. (Jafari) at 291:4-13; Hr’g Tr. (Stultz) at 1058:16-1059:13, 0195:1-10; ’941

patent at Fig. 1, 8:l- 9:23). The ID concluded that “[a]n ECG sensor, in combination with a

smartwatch that also includes a PPG sensor, as well as an activity level sensor, amounts to

significantly more than a patent on the ineligible concept of analyzing a heart rate and activity,

and then measuring and analyzing ECG electric signals for medical diagnosis.” Id. The ID

acknowledged that “[t]aken individually, each separate component may be conventional,” but

that “combining all the various sensors on a smartwatch, for a specific function that is not

traditional for smartwatches, is sufficiently ‘unconventional’ to satisfy Section 101 under Alice

step two.” Id. at 70.

       The ID found unpersuasive Apple’s main argument that “it is not enough to implement an

abstract idea with ‘well-understood,’ ‘routine,’ or ‘conventional’ technology” and that the

combined use of PPG sensor data and ECG sensor data for arrhythmia detection was “well-

known and not inventive as of 2013.” Id. at 70 (citing RIB at 57; RRB at 34-35). The test, the



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ID stated, “is whether a smartwatch with integrated processor, activity sensor, PPG sensor, and

ECG sensor (with at least two electrodes) adds something more than carrying out heart rate

discordance determination, user indication of arrhythmia, and arrhythmia confirmation on

generic hardware,” which, as noted above, the ID found it does. Id. at 71.

                    b)    Analysis

       The Commission finds that the ID erred in concluding that claim 12 of the ’941 patent is

directed to an abstract idea under Alice step one. 25 As the ID observed, the claim recites “the

structure of a smartwatch loaded with a processor and particular sensors.” ID at 67. The second

portion, referring to instructions, supports the technological advancement of using a smartwatch

to detect possible heart defects. Id. Indeed, the ID found that the “recitation of a PPG sensor

within a smartwatch, while not the entire focus of the claim, does move it away from the

ineligible concept of data collection/analysis and towards a specific electro-mechanical

apparatus.” ID at 68. This finding reflects that the claimed invention passes muster under Alice

step one. There is no requirement for the entire focus of the claim to be directed to non-abstract

concepts. The step-one inquiry is always whether the character of the claims, considered in light

of the specification, is directed to excluded subject matter. Enfish, 822 F.3d at 1335.

       Put differently, the issue is whether claim 12 of the ’941 patent is “directed to the abstract

idea of analyzing a combination of heart rate and activity, and then measuring and analyzing

ECG electric signals for medical diagnosis, as medical practitioners have routinely done for




       25
          The ID found that “[t]here is no principled distinction between the claims of the ’731
patent and those of the ’941 patent under Section 101.” ID at 114. The Commission notes that
claims 1, 12, and 16 of the ’731 patent are similar in substance to claims 12, 13, and 16 of the
’941 patent, in that each of the claims are directed to a smart watch with a particular arrangement
of sensors to detect the presence of an arrhythmia. Thus, the Commission’s analysis applies
equally to the asserted claims of the ’731 patent.
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years,” as the ID found (ID at 68); or whether the claim is directed to technological

improvements in cardiac monitoring technology, as AliveCor contends. AliveCor Pet. at 16-17;

AliveCor Rep. at 41-46. In our judgment, the claim as a whole, considered in light of the

specification, supports AliveCor’s argument.

       The specification of the ’941 patent discloses that diagnosing intermittent arrhythmias

using conventional methods was “difficult, because, for example, it is not practical to be

prepared to apply one of the aforementioned diagnostic modalities at the exact time that an

individual experiences an intermittent arrhythmia.” ’941 patent col. 1, ll. 49-53. The

specification explains that by sensing heart rate parameters and activity level, the smartwatch can

“determine the future onset of or the presence of an arrhythmia by identifying discordance

between these two parameter values” and “[i]n response to the identification of the future onset

of or presence of an arrhythmia an electrocardiogram may be caused to be sensed.” Id. at col.1

ll.61-66, col.2 ll.1-3. That is, the patented invention solves a concrete problem by implementing

a particular configuration of sensors and steps on a smartwatch. As AliveCor’s expert, Dr.

Efimov, testified, by monitoring the user’s heart rate parameter in the background and indicating

to the user when an arrhythmia may be present, the claimed device allows users to record an

ECG outside clinical settings and “confirm” arrhythmias that a doctor would have otherwise

missed. Tr. (Efimov) at 1229:24-1231:6. Contrary to the ID’s findings, the claimed invention

does not simply analyze a combination of heart rate and activity, and then measure and analyze

ECG electric signals for medical diagnosis, as medical practitioners have routinely done for

years. ID at 68. Rather, the claims recite a specific system that uses a first sensor to sense an

activity level value of a user, and a photoplethysmogram (“PPG”) sensor configured to sense a

heart rate parameter of the user so as to alert the user of the possibility of an arrhythmia and to



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enable the capture of an ECG. ’941 patent col.1 ll.49-57, claim 12. This technological

advancement enables the capture of ephemeral cardiac events in a way not possible using prior

cardiac monitoring technology. Tr. (Efimov) at 1252:15-1254:18; CDX-002C.45; IA Rep. 22-

23.

        We agree with AliveCor that the asserted claims are akin to the claims the Federal Circuit

found pass muster under Alice step one in CardioNet, LLC v. InfoBionic, Inc, 955 F.3d 1358

(Fed. Cir. 2020). In CardioNet, the patent “describe[d] cardiac monitoring systems and

techniques for detecting and distinguishing atrial fibrillation and atrial flutter from other various

forms of cardiac arrhythmia.” 26 Id. at 1362. In reversing the district court, the Federal Circuit

stated that “the language of claim 1 indicates that it is directed to a device that detects beat-to-

beat timing of cardiac activity, detects premature ventricular beats, and determines the relevance

of the beat-to-beat timing to atrial fibrillation or atrial flutter, taking into account the variability

in the beat-to-beat-timing caused by premature ventricular beats identified by the device’s

ventricular beat detector.” Id. at 1368. The Court pointed to the specification’s disclosure that

the claimed device “more accurately detects the occurrence of atrial fibrillation and atrial

flutter—as distinct from [ventricular tachycardia] and other arrhythmias—and allows for more




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           As the Court stated in CardioNet, 955 F.3d at 1365, claim 1 recited:
        A device, comprising:
        a beat detector to identify a beat-to-beat timing of cardiac activity;
        a ventricular beat detector to identify ventricular beats in the cardiac activity;
        variability determination logic to determine a variability in the beat-to-beat timing of a
        collection of beats;
        relevance determination logic to identify a relevance of the variability in the beat-to-beat
        timing to at least one of atrial fibrillation and atrial flutter;
        and an event generator to generate an event when the variability in the beat-to-beat timing
        is identified as relevant to the at least one of atrial fibrillation and atrial flutter in light of
        the variability in the beat-to-beat timing caused by ventricular beats identified by the
        ventricular beat detector.
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reliable and immediate treatment of these two medical conditions” and “achieves multiple

technological improvements.” Id. at 1368-69. Here too, the evidence shows that claimed device

(smartwatch in claim 12) monitors the user’s heart rate parameter in the background and

indicates to the user when an arrhythmia may be present, allowing users to record an ECG

outside clinical settings to “confirm” arrhythmias that a doctor would have otherwise missed. Tr.

(Efimov) at 1229:24-1231:6. That is, the claim is directed to technological improvements in

cardiac monitoring.

       In any event, even if the claims are directed to an abstract idea under Alice step one as the

ID found, the Commission agrees with the ID that the claims would be patentable under Alice

step two. Under Alice step two, the asserted claims do not merely claim a “generic environment

in which to carry out the abstract idea.” ID at 70. Rather, the claimed configuration of sensors

and other hardware components implemented in a smartwatch is inventive. Id. (“Taken

individually, each separate component may be conventional, but combining all the various

sensors on a smartwatch, for a specific function that is not traditional for smartwatches, is

sufficiently ‘unconventional’ to satisfy Section 101 under Alice step two.”). As the ID added,

“[t]here may come a time when every smartwatch includes the various claimed sensors, and runs

the needed algorithms to practice claim 12, but as of the date of the invention the ‘ordered

combination’ of the claim’s elements was sufficiently ‘transform[ative].’” Id. (citing Berkheimer

v. HP Inc., 881 F.3d 1360, 1369 (Fed. Cir. 2018) (“The mere fact that something was disclosed

in a piece of prior art, for example, does not mean it was well-understood, routine, and

conventional.”)).




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                 3.    Whether Claims 16 and 17 of the ’499 Patent Are Patentable Under
                 Alice

                        a)       The ID

       The ID concluded that independent claim 11, 27 from which claims 16 and 17 depend, is

directed to the abstract idea of “taking in heart rate data (of any kind), taking in activity level

data (of any kind), calculating heart rate variability, comparing that variability with the activity

(by any means), and then alerting the user to ‘record an electrocardiogram using said mobile

computing device.’” 28 ID at 143. In making that determination, the ID observed that the “bulk

of the claim is directed to the data analysis algorithms taking place within the ‘processor’ and


       27
          While independent claim 11 itself has not been asserted in this investigation, we
analyze it because asserted claims 16 and 17 necessarily include the limitations of claim 11, from
which they depend.
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            The claims recite:

       11. A system for determining the presence of an arrhythmia of a first user,
       comprising a heart rate sensor coupled to said first user;
                a mobile computing device comprising a processor, wherein said mobile
       computing device is coupled to said heart rate sensor, and wherein said mobile
       computing device is configured to sense an electrocardiogram of said first user;
       and
                a motion sensor
                a non-transitory computer readable medium encoded with a computer
       program including instructions executable by said processor to cause said
       processor to receive a heart rate of said first user from said heart rate sensor, sense
       an activity level of said first user from said motion sensor, determine a heart rate
       variability of said first user based on said heart rate of said first user, compare and
       activity level of said first user to said heart rate variability of said first user, and
       alert said first user to record an electrocardiogram using said mobile computing
       device.

       16. The system of claim 11, wherein said mobile computing device comprises a
       Smartwatch.

       17. The system of claim 11, wherein said computer program further causes said
       processor to determine a presence of said arrhythmia using a machine learning
       algorithm.

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according to the ‘instructions’ saved in memory (i.e., ineligible subject matter)” and that the “bit

of apparatus recited (i.e., potentially eligible subject matter) is devoid of specificity, such that it

can only be considered generic computer hardware—‘a heart rate sensor,’ ‘mobile computing

device,’ ‘a processor,’ ‘a motion sensor,’ and ‘non-transitory computer readable medium.’” Id.

The ID also pointed to the testimony of Dr. Stultz, who testified that “carrying out these steps is

common in medical practice.” Id. (citing Hr’g Tr. (Stultz) at 1058:13-1059:19, 1077:21-

1078:15, 1085:15-22). The ID thus found that “claim 11 is directed to ineligible subject matter

under Alice step one.” Id.

        The ID then considered claims 16 and 17 and found that they “fare similarly” under Alice

step one. Id. at 144. The ID explained that claim 16 recites that the “mobile computing device”

is a “smartwatch” and that “does not materially transform the claim as there is no other limitation

that benefits or is affected by the computing device being in this form factor.” Id. (comparing

’499 patent at cl. 16 with ’941 patent at cl. 22 (“wherein the PPG sensor is located on a back of

the smartwatch”)). Regarding claim 17, the ID noted that it requires the processor to further

“determine a presence of said arrhythmia using a machine learning algorithm” but that “[t]his is

literally just another algorithm and only deepens the connection between the claim and ineligible

subject matter.” Id.

        Turning to Alice step two, the ID concluded that “claim 11’s non-ineligible elements,

either individually or as an ordered combination, do not transform the nature of the claim into

something more than a patent on the abstract concept.” Id. (citing Alice, 573 U.S. at 217-18).

The ID explained that “there are sensors recited (‘heart rate,’ ‘electrocardiogram,’ ‘motion’), but

they are unrestricted as to structure, arrangement, or data output so long as they relate to ‘heart

rate,’ electrical activity of the heart, or ‘activity level,’ respectively.” Id. The ID stated that “an



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ECG sensor is rather specific; but unlike claim 12 of the ’941 patent, claim 11 of the ’499 patent

does not recite the number of leads to further specify the type of ECG sensor, nor does it

expressly recite any use for the ECG data—it simply exists within the ‘mobile computing

device.’” Id. The ID added that “[i]n essence the claim covers the addition of generic sensors to

an existing ECG machine, and for no particular purpose” and that “[a]lone or as an ordered

combination, all this is equivalent to the basic idea of using such sensors.” Id. The ID found that

“[t]he remaining hardware limitations (‘mobile computing device,’ ‘processor,’ and ‘computer

readable medium’) are equally generic, if not more so, and perform their generic functions (be

configurable, contain and execute instructions)” and that “there is nothing recited that could be

viewed as improving the operation of any of these computing elements (e.g., faster, fewer errors,

less power consumption, etc.).” Id.

       With respect to claim 16, however, the ID found the recitation of a “smartwatch” was

sufficient to pass muster under Alice step two. Id. The ID stated that “[u]ndoubtedly claim 16 is

more abstract than the claims of the ’941 and ’731 patents, because no particular kind of heart

rate sensor or motion sensor is required” but found that “incorporating even any kind of heart

rate sensor into a smartwatch, especially when combined with an ECG sensor, lifts that

smartwatch out of the realm of ‘well-understood, routine, and conventional.’” Id. Regarding

claim 17, however, the ID found it failed Alice step two because the recited “machine learning

algorithm” is an unspecified “algorithmic step.” Id. at 145.

                       a)      Analysis

       The Commission agrees with the ID that the claims are directed to the abstract idea of

“taking in heart rate data (of any kind), taking in activity level data (of any kind), calculating

heart rate variability, comparing that variability with the activity (by any means), and then



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alerting the user to ‘record an electrocardiogram using said mobile computing device.’” ID at

143. We also agree with the ID that claims 16 and 17 fare no better under Alice step one for the

reasons provided in the ID. Id. at 144.

       The Commission affirms the ID’s finding as to claim 17. After finding that claim 11

recited an abstract idea, the ID correctly concluded that “claim 11’s non-ineligible elements,

either individually or as an ordered combination, do not transform the nature of the claim into

something more than a patent on the abstract concept.” Id. at 144. The ID reasoned that “there

are sensors recited (‘heart rate,’ ‘electrocardiogram,’ ‘motion’), but they are unrestricted as to

structure, arrangement, or data output so long as they relate to ‘heart rate,’ electrical activity of

the heart, or ‘activity level,’ respectively.” Id. That is, the claims are broad enough to cover any

generic and conventional sensor that can carry out those functions. Even when the claims recite

a specific sensor, ECG sensor, as the ID observed, “unlike claim 12 of the ’941 patent, claim 11

of the ’499 patent does not recite the number of leads to further specify the type of ECG sensor,

nor does it expressly recite any use for the ECG data—it simply exists within the ‘mobile

computing device.’” ID at 144.

       Under Alice step two, the Commission looks for an “inventive concept” or “additional

features” to ensure that the patent does not seek simply to “monopolize the abstract idea.” Alice,

573 U.S. at 221. As the ID found, claim 17 in essence “covers the addition of generic sensors to

an existing ECG machine, and for no particular purpose.” ID at 144. We adopt the ID’s finding

that “[a]lone or as an ordered combination, all this is equivalent to the basic idea of using such

sensors” in their well-known and conventional manner. See id. We further agree with the ID

that the “hardware limitations (‘mobile computing device,’ ‘processor,’ and ‘computer readable

medium’) are equally generic, if not more so, and perform their generic functions (be



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configurable, contain and execute instructions).” Id. Indeed, “there is nothing recited that could

be viewed as improving the operation of any of these computing elements (e.g., faster, fewer

errors, less power consumption, etc.).” Id.

       As to claim 16, however, the Commission disagrees with the ID that simply reciting a

“smartwatch” imbues the recited abstract idea with patentable subject matter. As the ID

acknowledged, “[u]ndoubtedly claim 16 is more abstract than the claims of the 941 and 731

patents, because no particular kind of heart rate sensor or motion sensor is required.” ID at 145.

That is, unlike the asserted claims of the ’941 and ’731 patents that require specific sensors

arranged in a specific configuration, claim 16 simply incorporates generic sensors used in their

well-known and conventional manner in a “smartwatch.” We disagree with the ID that

“incorporating even any kind of heart rate sensor into a smartwatch, especially when combined

with an ECG sensor, lifts that smartwatch out of the realm of ‘well-understood, routine, and

conventional.’” Id. The only difference between claims 16 and 17 is the environment in which

the abstract idea is carried out. Under Federal Circuit precedent, this is insufficient to confer

patentability on claim 16. See Intellectual Ventures v. Capital One Bank, 792 F.3d at 1366 (“An

abstract idea does not become nonabstract by limiting the invention to a particular field of use or

technological environment, such as the Internet.”); Affinity Labs, 838 F.3d at 1259 (“[M]erely

limiting the field of use of the abstract idea to a particular existing technological environment

does not render the claims any less abstract.”). Moreover, it would stifle innovation to find that

at the relevant time a claim that describes generic sensors used in a conventional way is

patentable when implemented in a smartwatch. As the Supreme Court has explained, “the

underlying functional concern here is a relative one: how much future innovation is foreclosed

relative to the contribution of the inventor.” Mayo Collaborative Servs. v. Prometheus Labs.,



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Inc., 566 U.S. 66, 88 (2012) (emphasis in original) (citation omitted). Accordingly, the

Commission reverses the ID’s finding as to claim 16 and finds it patent ineligible under section

101.

        C.      The ID’s Findings with Respect to Obviousness Under 35 U.S.C § 103

        The ID found that Apple failed to show that the asserted claims of the ’941 patent are

invalid for obviousness. ID at 60-98. For the ’731 patent, the ID found that Apple failed to

prove that asserted claims 3, 5, 9, 10, and 15 are invalid for obviousness, but proved that asserted

claims 1, 8, 12, and 16 are invalid for obviousness. Id. at 113-127. The Commission determined

to review the final ID’s invalidity findings, including obviousness under 35 U.S.C. § 103, and

asked for briefing. 87 Fed. Reg. 58819-20 (Sept. 28, 2022). On review, the Commission has

determined to affirm the ID’s invalidity findings with the modification below as to secondary

considerations.

                1.      Legal Standard

        “Obviousness is a question of law based on underlying questions of fact.” Scanner

Techs. Corp. v. ICOS Vision Sys. Corp. N.V., 528 F.3d 1365, 1379 (Fed. Cir. 2008). The

underlying factual determinations include the so-called “Graham factors”: “(1) the scope and

content of the prior art, (2) the level of ordinary skill in the art, (3) the differences between the

claimed invention and the prior art, and (4) objective indicia of non-obviousness.” Graham v.

John Deere Co. of Kansas City, 383 U.S. 1, 17-18 (1966). The U.S. Supreme Court has held that

the critical inquiry in determining the differences between the claimed invention and the prior art

is whether there is a reason to combine the prior art references. KSR Int’l Co. v. Teleflex Inc.,

550 U.S. 398, 418-21 (2007). While specific teachings, suggestions, or motivations to combine

prior art may provide helpful insights into the state of the art at the time of the alleged invention,

“an obviousness analysis cannot be confined by a formalistic conception of the words teaching,
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suggestion, and motivation, or by overemphasis on the importance of published articles and the

explicit content of issued patents.” Id. at 420.

       An obviousness determination should also include a consideration of “secondary

considerations,” that is, “commercial success, long felt but unsolved needs, failure of others, etc.,

might be utilized to give light to the circumstances surrounding the origin of the subject matter

sought to be patented.” Graham, 338 U.S. at 17-18; see Merck & Cie v. Gnosis S.P.A., 808 F.3d

829, 837 (Fed. Cir. 2015). “[I]n order to accord substantial weight to secondary considerations

of nonobviousness, the evidence of secondary considerations must have a ‘nexus’ to the

claims, i.e., there must be ‘a legally and factually sufficient connection’ between the evidence

and the patented invention.” Henny Penny Corp. v. Frymaster LLC, 938 F.3d 1324, 1332 (Fed.

Cir. 2019) (internal citations omitted).

       Under established Federal Circuit precedent, “a patentee is entitled to a rebuttable

presumption of nexus between the asserted evidence of secondary considerations and a patent

claim if the patentee shows that the asserted evidence is tied to a specific product and that the

product ‘is the invention disclosed and claimed.’” Teva Pharms. Int’l GmBH v. Eli Lilly & Co.,

8 F.4th 1349, 1360 (Fed. Cir. 2021) (citing Fox Factory, Inc. v. SRAM, LLC, 944 F.3d 1366

(Fed. Cir. 2019)). This presumption applies “when the patentee shows that the asserted objective

evidence is tied to a specific product and that product ‘embodies the claimed features, and is

coextensive with them.’” Id. (internal citations omitted). “Conversely, ‘[w]hen the thing that is

commercially successful is not coextensive with the patented invention—for example, if the

patented invention is only a component of a commercially successful machine or process,’ the

patentee is not entitled to a presumption of nexus.” Id. (internal citations omitted). The Court

stated that it has “rejected attempts ‘to reduce the coextensiveness requirement to an inquiry into



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whether the patent claims broadly cover the product that is the subject of the evidence of

secondary considerations.’” Id. at 1360-61. As the Court explained, rather, “the degree of

correspondence between a product and a patent claim falls along a spectrum. At one end of the

spectrum lies ‘perfect or near perfect correspondence,’ and at the other end lies ‘no or very little

correspondence.’” Id. at 1361 (internal citations omitted). “Although we do not require the

patentee to prove perfect correspondence to meet the coextensiveness requirement, what we do

require is that the patentee demonstrate that the product is essentially the claimed invention.” Id.

“Whether a product is coextensive with the patented invention, and therefore whether a

presumption of nexus is appropriate in a given case, is a question of fact.” Id.

               2.      Analysis

       For the reasons stated herein, the Commission has determined to affirm the ID’s findings

that Apple failed to prove that claims 12, 13, 19, and 20-23 of the ’941 patent are invalid for

obviousness. The Commission has also determined to affirm the ID’s findings that Apple failed

to prove that claims 3, 5, 9, 10, and 15 of the ’731 patent are invalid for obviousness for the

reasons stated in the ID. The Commission, however, has determined to reverse the ID’s findings

that Apple proved that claims 1, 8, 12, and 16 of the ’731 patent are invalid for obviousness as

explained below. In sum, the Commission finds that none of the asserted claims has been shown

to be invalid for obviousness.

                       a)    Record Evidence of Industry Praise and Copying Is Sufficient to
                       Overcome the Prima Facie Showing of Obviousness with Respect to
                       Claims 12, 16, 20, 22, and 23 of the ’941 Patent

       The ID found that because KBS practices claims 12, 16, 20, 22, and 23 of the ’941 patent,

AliveCor was entitled to a presumption of nexus where the secondary consideration evidence

pertains to KBS. ID at 93. The ID found that AliveCor’s evidence and argument as to



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commercial success, copying, and industry praise were sufficient to overcome Apple’s prima

facie showing of obviousness.

       With respect to commercial success, the ID found that AliveCor’s evidence of [[

       ]] in funding it received did not have a clear connection to the KBS. ID at 95. AliveCor

does not challenge this finding. The ID credited certain evidence “show[ing] that KBS ‘was

selling very successfully,’ as ALC’s chief financial officer testified.” ID at 95 (citing RX-0384C

(Hosein Deposition) at 77:24-78:11; CX-0934C; CX-0935C (showing that KBS revenues for

calendar years 2017, 2018, and 2019 totaled over [[          ]]”). Id. But the ID found that

“KBS’ profitability is not clear, though, so the evidence of commercial success is not as

persuasive as the evidence of industry praise.”

       Apple challenged the ID’s nexus presumption as to commercial success based on the

KBS sales revenues because that evidence pertained solely to the KardiaBand, which lacks the

PPG and activity sensors required by the asserted claims. Apple Pet. at 86-87. AliveCor

acknowledges that “the KardiaBand is but one element of the KBS” and can be used without

SmartRhythm. AliveCor Rep. at 67. AliveCor explains that “because each product was sold by

separate manufacturers, AliveCor could not produce evidence of the KBS’s commercial success

as a whole.” Id. AliveCor, however, contends that “it is equally true that the KardiaBand could

not be used without the Apple Watch” and that “Apple produced no evidence suggesting that

consumers who purchased the KardiaBand did not use that accessory with the Apple Watch.” Id.

AliveCor points to its former chief technology officer, Mr. Somayajula, who testified that for

“whoever was buying [the KardiaBand], it was obvious that it required the KardiaBand System,

which comprised of the Apple Watch, for it to be functional” and that “[o]therwise that hardware

would be of no use to the customer.” Id. (citing JX-0226C (Somayajula Dep.) at 43:12-23).



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AliveCor also argues that its commercial success evidence as to KardiaBand undervalues the

commercial success of KBS as a whole because it does not account for Apple Watch sales that

were made to take advantage of the KBS’s features, id. at 68; however, AliveCor cites no proof

as to revenues or profits associated with its theory of additional Apple Watch sales. Id. The

Commission finds, based on this record, that AliveCor’s evidence of commercial success

regarding the ’941 patent claims is weak and gives it little weight in determining whether the

evidence of secondary consideration is sufficient to overcome the prima facie evidence of

obviousness. Specifically, the Commission agrees with the ID that KBS’ profitability is not clear

and AliveCor’s evidence of [[           ]] in funding it received did not have a clear connection to

the KBS. ID at 95.

       The Commission, however, finds that the evidence of “industry praise” and “copying”

together, even without commercial success, is sufficient to overcome the prima facie showing of

obviousness. 29 Apple argues that the ID’s findings on “industry praise” and “copying” are in

error and that even if they were not, the evidence is insufficient to overcome its prima facie

obviousness showing. Apple Sub. at 4-7. The ID’s findings as to copying and industry praise,

however, are amply supported by the record evidence. ID at 93-96. Moreover, the cases that



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            Chairman Johanson would not find that the secondary indicia of nonobviousness
outweigh the prima facie case of obviousness. The ALJ found that “the prima facie case is
strong.” FID at 97. With respect to claims 12, 16, 20, 22, and 23 of the ‘941 patent, he found that
“except for one element of independent claim 12, every element of every claim is found in
AMON.” FID at 97. With respect to that one missing limitation (“based on the presence of the
discordance, indicate to the user a possibility of an arrhythmia being present”) the ALJ finds that
“[i]n essence, AMON discloses a genus (inform the user of the sensed condition in an
appropriate form) of which the ‘indicate’ limitation is a species . . . . AMON itself implies
multiple possibilities, but it surely would have been obvious to that skilled artisan to just
program the device to display a plain language description of the detected discordance . . . in
fact, it likely would have been the simplest implementation.” FID at 76. Given the strength of
these findings, Chairman Johanson would not find the evidence of obviousness outweighed by
the cited evidence of nonobviousness.
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Apple relies on predate the Court’s Graham 1966 decision. See Apple Sub. at 4 (citing Dow

Chem. Co. v. Halliburton Oil Well Cementing Co., 324 U.S. 320, 330 (1945); Jungersen v. Ostby

& Barton Co., 335 U.S. 560, 567 (1949)). Graham and its progeny make clear “[t]hat evidence

is ‘secondary’ in time does not mean that it is secondary in importance.” Truswal Sys. Corp. v.

Hydro–Air Eng’g, Inc., 813 F.2d 1207, 1212 (Fed. Cir. 1987). The Federal Circuit has explained

that the requirement that courts always consider secondary considerations “is in recognition of

the fact that each of the Graham factors helps to inform the ultimate obviousness determination.”

See WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1328 (Fed. Cir. 2016).

                          b)     Secondary Considerations for Claims 1, 12, and 16 of the ’731
                          Patent

           The ID stated that the elements of claims 1, 12, and 16 of the ’731 patent are disclosed in

AMON and that “[b]ecause anticipation is ‘the epitome of obviousness’ [(Realtime Data, LLC v.

Iancu, 912 F.3d 1368, 1373 (Fed. Cir. 2019)], claims 1, 12, and 16 are invalid, without regard to

secondary considerations of non-obviousness.” ID at 126.

           In its petition for review, AliveCor asserted that the ID’s finding is legal error. AliveCor

Pet. at 27-29. Specifically, AliveCor argued that the Federal Circuit “has consistently

pronounced that all evidence pertaining to the objective indicia of nonobviousness must be

considered before reaching an obviousness conclusion.” Id. at 28 (citing Plantronics, Inc. v.

Aliph, Inc., 724 F.3d 1343, 1355 (Fed. Cir. 2013); Stratoflex, Inc. v. Aeroquip Cor., 713 F.2d

1530, 1538-39 (Fed. Cir. 1983) (“[Evidence of secondary considerations] is to be considered as

part of all the evidence, not just when the decisionmaker remains in doubt after reviewing the

art.”)).

           The Federal Circuit has emphasized that “[t]he significance of this fourth Graham factor

cannot be overlooked or be relegated to ‘secondary status.’” Plantronics, 724 F.3d at 1355. The

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mere fact that anticipation is the “epitome of obviousness” does not make anticipation and

obviousness the same. These are two distinct legal doctrines with distinct bodies of law. While

secondary considerations remain relevant in an obviousness inquiry, such considerations are

absent from anticipation. Thus, the issue is whether the ID was considering obviousness or

anticipation when analyzing Apple’s invalidity case as to the ’731 patent. As AliveCor points

out, Apple did not assert anticipation as a defense at the hearing or in its pre- or post-hearing

briefing. AliveCor Pet. at 29 (citing Respondent’s Initial Post-HB at 95-104 (asserting only

obviousness); Respondent’s Reply Post-HB at 55-61 (same)). OUII stated that “to the extent that

the ID found that each limitation of claims 1, 12, and 16 is found in AMON, those claims are

anticipated and secondary considerations of obviousness do not apply,” even though OUII did

not assert anticipation before the ALJ. OUII Rep. at 42. But relying on a single reference to

show obviousness, as here, does not convert the obviousness inquiry into an anticipation inquiry.

Indeed, none of the parties made an anticipation argument.

       Apple asserts that the “ID did not commit legal error when it determined that Apple’s

prima facie case of obviousness was so strong that it was equivalent to anticipation, and

therefore secondary considerations need not be considered.” Apple Rep. at 24. We disagree.

Apple cites Planet Bingo, LLC v. GameTech Int’l, Inc., 472 F.3d 1338, 1346 (Fed. Cir. 2006), as

holding that “if an accused infringer makes a non-frivolous argument that ‘each and every

limitation of a claim is found, expressly or inherently, in [a] single prior art reference,’ the

accused infringer generally is entitled to have anticipation decided by the finder of fact.” Planet

Bingo, however, is an anticipation case, and says nothing about obviousness. In any event, the

Supreme Court’s precedent, Graham, is clear that a tribunal must consider secondary




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considerations of nonobviousness in determining whether an invention would have been obvious

to a person of ordinary skill in the art at the time of the invention. Graham, 383 U.S. at 17.

       We therefore agree with AliveCor that the ID erred in failing to consider the evidence of

secondary considerations before concluding the relevant claims of the ’731 patent are invalid as

obvious. The Commission finds that the ID’s secondary consideration findings as to the ’941

patent applies to claims 1, 12, and 16 of the ’731 patent as well. 30 The Commission thus finds

that the secondary considerations of “industry praise” and “copying” are sufficient to overcome

the prima facie showing of obviousness for claims 1, 12, and 16 of the ’731 patent. 31

V.     REMEDY

       Where a violation of section 337 has been found, the Commission must consider the

issues of remedy, the public interest, and bonding. Section 337(d)(1) provides that:

       If the Commission determines, as a result of an investigation under this section,
       that there is a violation of this section, it shall direct that the articles concerned,
       imported by any person violating the provision of this section, be excluded from
       entry into the United States, unless, after considering the effect of such exclusion
       upon the public health and welfare, competitive conditions in the United
       States economy, the production of like or directly competitive articles in
       the United States, and United States consumers, it finds that such articles should
       not be excluded from entry

19 U.S.C. § 1337(d)(1); see also Spansion, Inc. v. Int’l Trade Comm’n, 629 F.3d 1331, 1358

(Fed. Cir. 2010) (“[T]he Commission is required to issue an exclusion order upon the finding of



       30
          Chairman Johanson would not find that the secondary indicia of nonobviousness
outweigh the prima facie case of obviousness as to claims 1, 12, and 16 of the ‘731 patent. The
ALJ found that “claims 1, 12, and 16 are disclosed in AMON” in a manner that is tantamount to
anticipation. FID at 126. Commissioner Johanson agrees that the Commission must consider
evidence of nonobviousness as to these claims but would not find the strong showing of
obviousness to be outweighed by the evidence of nonobviousness.
       31
          We note that claims 1, 12, and 16 of the ’731 patent are similar in substance to claims
12, 13, and 16 of the ’941 patent, in that each of the claims are directed to a smart watch with a
particular arrangement of sensors to detect the presence of an arrhythmia.
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a Section 337 violation absent a finding that the effects of one of the statutorily-enumerated

public interest factors counsel otherwise.”). The Commission has “broad discretion in selecting

the form, scope, and extent of the remedy.” Viscofan, S.A. v. U.S. Int’l Trade Comm’n, 787 F.2d

544, 548 (Fed. Cir. 1986). The Commission may issue an exclusion order excluding the goods

of the person(s) found in violation (i.e., a limited exclusion order) or, if certain criteria are met,

against all infringing goods regardless of the source (i.e., a general exclusion order).

        In conjunction with (or in lieu of) an exclusion order, the Commission may also issue

orders directing persons found in violation of section 337 “to cease and desist from engaging in

the unfair methods or acts involved.” 19 U.S.C. § 1337(f). The Commission generally issues a

cease and desist order (“CDO”) when the evidence shows that the respondent maintains a

“commercially significant” inventory of imported infringing products in the United States or has

significant domestic operations that could undercut the remedy provided by an exclusion order. 32

See, e.g., Certain Elec. Skin Care Devices, Brushes & Chargers Therefor, & Kits Containing the

Same, Inv. No. 337-TA-959, Comm’n Op. at 26 (Feb. 13, 2017).

        A.      Limited Exclusion Order

        As noted above, the ID included the ALJ’s Recommended Determination (“RD”) on

remedy and bonding. ID/RD at 189-195. In the RD on remedy and bonding, the ALJ

recommended that, in the event the Commission finds a violation of section 337, “there is no



        32
           When the presence of infringing domestic inventory or domestic operations is asserted
as the basis for a CDO under section 337(f)(1), Commissioner Schmidtlein does not adopt the
view that the inventory or domestic operations need(s) to be “commercially significant” in order
to issue the CDO. See, e.g., Certain Magnetic Tape Cartridges & Components Thereof, Inv. No.
337-TA-1058, Comm’n Op. at 65 n.24 (Apr. 9, 2019); Certain Table Saws Incorporating Active
Injury Mitigation Tech. & Components Thereof, Inv. No. 337-TA-965, Comm’n Op. at 6 n.2
(Feb. 1, 2017). In Commissioner Schmidtlein’s view, the presence of some infringing domestic
inventory or domestic operations, regardless of its commercial significance, provides a basis to
issue a CDO.
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dispute that a limited exclusion order (‘LEO’) should issue against Apple that covers all

infringing products imported by or on behalf of Apple or its agents.” ID/RD at 190. The ALJ

recommended that the LEO include the Commission’s standard certification as “it has been

Commission practice for the past several years to include certification provisions in its exclusion

orders to aid CBP [Customs and Border Protection].” Id. at 92.

       AliveCor and OUII agree with the ID’s recommendation. AliveCor Sub. at 35; OUII

Sub. at 8-9. Apple argues that no remedial orders should issue because it would have an adverse

effect on the public interest. Apple Sub. at 37-64. Apple also argues that should the

Commission issue an LEO, it should “suspend enforcement thereof for at least two years to allow

for sufficient production of adequate replacements to Apple Watch and, at a minimum, until final

resolution of the Patent Office’s Final Written Decisions on AliveCor’s Asserted Patents” and

“tailor its remedy to allow for support of Apple Watch users, clinical use, certain personal

imports, governmental use, and standard certification.” Id. at 67; Apple Pet. at 98 (citing

Apple’s Notice of Institution of Petitions for Inter Partes Review and noting that “[t]he PTAB’s

FWDs on each asserted claim is expected December 8, 2022”). We discuss these issues below.

       The Commission has determined to issue a limited exclusion order covering the

unlicensed importation of wearable electronic devices with ECG functionality and components

thereof that infringe one or more of claims 12, 13, and 19-23 of the ’941 patent; and claims 1, 3,

5, 8-10, 12, 15, and 16 of the ’731 patent that are manufactured abroad by or on behalf of, or

imported by or on behalf of, Respondent or any of its affiliated companies, parents, subsidiaries,

or other related business entities, or their successors or assigns, are excluded from entry for

consumption into the United States, entry for consumption from a foreign trade zone, or

withdrawal from a warehouse for consumption, for the remaining terms of the patents, except



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under license of the patent owner or as provided by law, and except for articles or components

imported for use in servicing, repairing, or replacing covered articles that were imported prior to

the effective date of this Order pursuant to existing service and warranty contracts. 33

       The Commission agrees that the LEO should include the standard certification provision

under which, at the discretion of CBP and pursuant to the procedures it establishes, persons

seeking to import articles that are potentially subject to the LEO may be required to certify that

they are familiar with the terms of the LEO, that they have made appropriate inquiry, and

thereupon state that, to the best of their knowledge and belief, the products being imported are

not excluded from entry under the LEO. Certification is only acceptable for those articles that

were previously determined not to infringe. See Automated Teller Machines, ATM Modules,

Components Thereof, & Prods. Containing the Same, Inv. No. 337-TA-972, Comm’n Op. at 27

(June 12, 2017) (“The standard certification language does not apply to redesigns that have not

been adjudicated as non-infringing.”). As discussed below, the Commission finds that the public

interest factors do not counsel against issuance of remedial orders, but warrant an exception for

servicing, repairing, or replacing covered articles that were imported prior to the effective date of

this Order pursuant to existing service and warranty contracts.




       33
           Apple also requested an exemption for software updates and personal imports. Apple
Sub. at 70-73. Commission exclusion orders, however, do not extend to electronic
transmissions. See ClearCorrect, Inc. v. Int’l. Trade Comm’n, 810 F.3d 1283 (Fed. Cir. 2015).
As to personal imports, the exclusion order here is directed to infringing articles “that are
manufactured abroad by or on behalf of, or imported by or on behalf of, Respondent or any of its
affiliated companies, parents, subsidiaries, or other related business entities, or their successors
or assigns.” LEO ⁋ 1. Apple has not shown why an exemption for personal imports is
warranted.
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          B.     Cease and Desist Order

          The ALJ noted that Apple stipulated that it “‘will not dispute that it currently maintains a

commercially significant inventory of the Accused Apple Products in the United States at the

time hearing evidence is submitted in this Investigation.’” ID/RD at 192 (citing CX-0904C.3).

The ALJ found that, “[p]er that stipulation, ALC reports ‘a domestic inventory of [[             ]]

that cumulatively value at over [[          ]]’ and argues it is ‘commercially significant’ as well as

an underestimation.” Id. The ALJ stated that “[g]iven the stipulation referenced above, this

inventory requirement is certainly met for Apple, and it is my recommendation that a cease and

desist order (“CDO”) issue against this respondent.” Id. at 193 (citing CX-0904C.3).

          AliveCor and OUII agree with the ALJ that a CDO is warranted in this investigation.

AliveCor Sub. at 39-40; OUII Sub. at 9. Specifically, OUII notes that “Apple has stipulated that

it has an inventory of at least [[         ]] of the Accused Products in the United States valued at

over [[           ]]” and that “[t]his inventory is used to support Apple’s commercial operations in

the United States, and Apple does not dispute that it is commercially significant.” OUII Sub. at 9

(citing CX-904C (Import Stip.)).

          In light of the undisputed evidence of commercially significant domestic inventory, the

Commission has determined to issue a CDO against Apple. 34 The CDO directs Apple to cease

and desist from conducting any of the following activities in the United States: importing,

selling, offering for sale, marketing, advertising, distributing, transferring (except for

exportation), soliciting United States agents or distributors, and aiding or abetting other entities

in the importation, sale for importation, sale after importation, transfer (except for exportation),



          34
         In light of the undisputed evidence of domestic inventory, Commissioner Schmidtlein
agrees with issuing a CDO as to Apple in this case. See supra note 32.


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or distribution of wearable electronic devices with ECG functionality and components thereof

that infringe one or more of claims 12, 13, and 19-23 of the ’941 patent, and claims 1, 3, 5, 8-10,

12, 15, and 16 of the ’731 patent.

       C.        The Public Interest

       Prior to issuing remedial orders under section 337, the Commission must weigh the effect

the orders would have on four public interest factors: (1) the public health and welfare;

(2) competitive conditions in the United States economy; (3) the production of like or directly

competitive articles in the United States; and (4) United States consumers. 19 U.S.C.

§§ 1337(d), (f). In connection with the statutory public interest requirement and based upon

statements on the public interest received from the parties and various third parties, the

Commission asked for briefing in its Notice of Review. 87 Fed. Reg. 58819-20 (Sept. 28, 2022).

       The private parties and numerous third parties filed public interest statements. Apple

argues that the public interest favors suspension of any exclusion order in particular to avoid any

adverse impact on public health and welfare for U.S. consumers and researchers that use the

Apple Watch with ECG and IRN 35 for early identification of AFib and other health conditions.

See Respondent Apple Inc’s Public Interest Statement at 4; Apple Pet. at 99. According to

Apple, there are insufficient substitutes for its accused Apple watches.

       The following entities submitted public interest statements in support of Apple’s position

and presented essentially the same arguments as Apple:

   •   Statement of Third Parties Computer & Communications Industry Association and
       Netchoice in Response to the Commission’s July 15, 2022, Notice of Request for
       Statements on the Public Interest (July 26, 2022)

   •   Dr. Marco Perez, Associate Professor in Cardiovascular Medicine, Stanford School of
       Medicine


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            “IRN” stands for Irregular Rhythm Notification.
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   •   Dr. Calkins, Professor of Cardiology, Johns Hopkins School of Medicine

   •   Dr. Richard Milani, Chief Clinical Transformation Officer, Ochsner Health System

   •   Mellanie True Hills CEO and Founder of StopAfib.org, an atrial fibrillation patient
       advocacy organization and patient-to-patient resource

   •   Members of Congress: Representatives Eric Swalwell, Zoe Lofgren, Donald Beyer, Anna
       Eshoo, Jimmy Panetta, Linda Sanchez, and J Luis Correa expressed concern that issuing
       an exclusion order against Apple’s wearable devices would present a significant
       detriment to American consumers

       The American Heart Association (“AHA”) submitted a statement “not in support of any

party,” but their position is consistent with Apple. See Statement of Non-Party American Heart

Association on the Public Interest of the Recommended Remedial Orders But Not in Support of

Any Party (July 26, 2022). The AHA stated that the “recommended remedial orders would harm

scientific research, healthcare consumers, and healthcare providers and in the United States.

Accordingly, the AHA urges the Commission to tailor any remedial orders to allow researchers

adequate time to complete ongoing research projects and transition to new research protocols

with devices that are not subject to any exclusion order.”

       AliveCor asserts that its requests for an LEO and a CDO will benefit the public in that

they “will promote intellectual property rights and continued innovation, and prevent a powerful

company from holding health technology hostage simply because it is a large company that has

successfully excluded competition.” Complainant AliveCor, Inc.’s Statement on the Public

Interest at 1-2. According to AliveCor, there is a “diverse field of suppliers” of alternative

products that offer the health monitoring technologies of the accused Apple watches. Id.

       The following entities submitted public interest statements in support of AliveCor’s

position and presented essentially the same arguments as AliveCor:

   •   Dr. Swerdlow, Professor of Medicine, Cedars Sinai Clinical Professor of Medicine,
       UCLA Cedars-Sinai Heart Institute


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   •   Dr. Topol, Executive VP, Scripps Research and Director, Scripps Research Translational
       Institute

   •   Dr. Reynolds, Chief of Cardiovasular Section, the University of Oklahoma Health
       Sciences Center

   •   Cardiovascular Research Foundation of Southern California (“The answer could not be
       more transparent and clear that excluding infringing Apple Watches does not harm the
       public interest.”)

   •   Medical Device Manufactures Association (The recommended relief is in the public
       interest given the need to protect the patent rights of medical device innovators from the
       threat of companies such as Apple who can afford to engage in “efficient infringement”
       as a business strategy.)

   •   Members of Congress: Representatives Henry “Hank” Johnson, Jr. and Lucy McBath
       expressed sentiment that the public interest is best served when the Commission takes
       action to protect intellectual property, enforce our nation’s patent laws, and promote fair
       and robust competition


               1.      Apple Submission

                       a)     Public Health and Welfare

       Apple asserts that the recommended remedy “will seriously harm the public health and

welfare” in three ways: (1) it will “reduce early detection of AFib, a prevalent and life-

threatening disease that often goes undetected until a patient experiences serious or fatal

complications, and may reduce detection of other cardiac conditions”; (2) it will “irreparably

disrupt ongoing research into AFib, depriving the American public of potentially ‘breakthrough’

treatments for this disease and wasting millions of dollars in public and private investment

already devoted to medical research using Apple Watch”; and (3) it will “deprive consumers of

Apple Watch’s numerous other invaluable health, wellness, and safety functions and disrupt

ongoing research on these unaccused features.” Apple Sub. at 40.

       With respect to the first reason, Apple states that it “recognized the potential for Apple

Watch to help detect AFib early, before a user experiences a stroke or other major medical


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event” and that after years development, “followed by extensive clinical trials establishing the

safety and efficacy of each of ECG app and IRN, Apple received de novo FDA authorizations for

each separate feature in September 2018.” Id. at 41 (citing Tr. (Waydo) at 738:6-9). Apple

contends that its “ECG app and IRN each help facilitate ‘diagnoses that otherwise would have

either been diagnosed much later or missed altogether without an Apple Watch.’” Id. Apple

explains that the “ECG app enables users to record an electrocardiogram on demand using two

electrodes on Apple Watch” that “record the electrical activity of the user’s heart for a 30-second

period.” Id. at 41-42. The ECG app on Apple Watch then “rapidly analyzes the heart’s electrical

signals to detect whether signs of AFib are present.” Id. at 42. Apple points to the FDA’s

statement in approving its ECG app that “having this ‘convenient and readily accessible means to

record’ an ECG on demand ‘is especially valuable for users with recurrent, transient but

infrequent symptoms, which can be difficult to catch with traditional cardiac monitors.’” Id.

Apple further explains that upon activation, the IRN “operates in the background, periodically

measuring and analyzing the user’s pulse rate using PPG sensors located on the back of Apple

Watch to identify irregular heart rhythms” and that “[i]f IRN identifies and confirms heart

rhythms suggestive of AFib, IRN will notify the user and prompt them to ‘talk to [their] doctor.’”

Id. at 42 (citing ID at136 (quoting IRN notification)). Once again, Apple notes the FDA’s

statement that this feature “is an effective device for identifying abnormal pulse rates that may

suggest the presence of [AFib].” Id. Apple “estimates that there are [[                  ]] Apple

Watch users in the United States who have activated IRN on their Apple Watch, and a similar

number who have activated ECG app.” Id. at 43.

       Regarding the second reason, Apple asserts that remedial orders “will jeopardize ongoing

and planned AFib research, depriving the public of critical advances in medical knowledge.” Id.



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at 47. According to Apple, there are numerous ongoing studies related to heart diseases using

the Apple Watch. Id. As an example, Apple points to the “American Heart Association’s

collaboration with Northwestern University and researchers from Johns Hopkins University,

Stanford University, and the University of California at San Francisco on the REACT-AF study,

a seven-year, 5,400-patient research trial that will study the potential of Apple Watch to

minimize the amount of time that a patient with AFib needs to take blood thinning medications.”

Id. (citing Kristin Samuelson, Can Apple Watch reduce patients’ reliance on blood thinners,

Northwestern University (Aug. 29, 2022), https://tinyurl.com/bddd9evk). Apple asserts that

“[t]he NIH already awarded researchers $37 million to conduct the study” and that ‘“government

support’ for research is an important factor “in determining the importance of a public

interest.” 36 Id. (citing Certain Microfluidic Devices, Inv. No. 337-TA-1068, Comm’n Op. at 16

(Jan. 10, 2020)). Apple asserts that for ongoing studies using the accused Apple Watches, “the

recommended remedial orders could jeopardize their scientific merit and cause waste of

resources spent for the studies.” Id. at 48.

       As to the third reason, Apple contends that a remedial order “would deprive consumers of

numerous other important life-saving features wholly unrelated to AliveCor’s Asserted Patents

[and not accused by AliveCor], and disrupt dozens of ongoing medical studies involving these

features. Id. at 49. As examples Apple asserts that (1) “Apple Watch Series 4 and later offer fall

detection, which connects wearers with emergency services after detecting a hard fall that has

rendered the wearer immobile”; (2) “Apple Watch Series 6 and later include a blood oxygen

monitoring feature that allows users to take on-demand measurements of their blood oxygen

saturation—the amount of oxygen the red blood cells carry from the lungs to the rest of the



       36
            “NIH” refers to National Institute of Health.
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body—providing users with insight into their overall wellness; and (3) both Apple Watch Series

8 and Ultra “offer industry-leading crash detection technology,” which “can automatically

connect the wearer with emergency services, provide dispatchers with the location of the crash,

and notify the wearer’s emergency contacts.” Id. at 50.

                       b)     U.S. Consumers

       Apple asserts that the recommended remedy will harm U.S. consumers directly by risking

serious harm to consumers’ health and welfare as discussed above. Id. at 52. Apple argues that

remedial orders will also harm U.S. consumers “indirectly by disrupting crucial research and

hampering the efficacy of the health care available to them.” Id. Apple further argues that

remedial orders will result in a lack of competition that will further harm U.S. consumers. Id.

                       c)     Suitable Alternatives

       Apple asserts that “there are not alternative smartwatches capable of counteracting the

grave damage to public health and welfare and to consumers described above that would result

from exclusion of the accused Apple Watches” and that “no new or upgraded product could

redress that harm in a commercially reasonable time, because development, regulatory clearance,

and production of such a product takes years.” Id. at 53-54. According to Apple, “[t]he only

suitable alternatives, for purposes of remedying the harm from exclusion, are wearable devices

with both FDA-cleared ECG and IRN functions.” Id. at 54. Apple argues that there are only

“two options that meet those criteria currently available in the United States, but neither would

ameliorate the harm to public health from an exclusion order.” Id. Apple identifies “Fitbit,

maker of the Charge 5 and Sense,” as the only other company in the United States that “currently

offers wearable products with HHRN and both an FDA-cleared ECG and IRN feature.” Id. at

55. Apple, however, contends that “neither Charge 5 nor Sense could sufficiently compensate



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for the wide-ranging harms to consumer and public health and welfare in the event of exclusion

of Apple Watch from the U.S.” Id. Apple adds that “[e]ven if Fitbit could ramp up

manufacturing to fully meet consumer demand in the event of the sudden shortfall that would

occur—which it cannot—the Sense and Charge 5 are markedly inferior to Apple Watch in their

functionality, breadth of features, and ability to deliver life-saving cardiac and other benefits.”

Id. Apple further argues that “no other product could take the place of Apple Watch in the

groundbreaking research” and that “Apple Watch’s prevalence is the actual subject of some

research, which looks to better understand and measure the public health benefits of a device

with such widespread adoption.” Id. at 57.

       Apple observes that “[b]efore issuing an exclusion order, the Commission also considers

the ability of AliveCor, its licensees, and third parties to satisfy demand for Apple Watch in the

event the recommended remedy issues.” Id. (citing 19 C.F.R. § 210.8(b)(3)). Apple states that

“[n]o one, alone or in combination, can substantially replace the sudden supply shortfall that will

arise if Apple Watch is excluded.” Id. Apple explains that “[g]iven the complexities of

engineering new electronic wearables, obtaining FDA clearance, and navigating the fragile and

intricate procurement and manufacturing process, companies necessarily plan product launch and

output years in advance” and that “[h]ere, where the massive shortfall would result from an

external market shock, those companies would be caught flat-footed, unable to meet the

enormous demand gap within a commercially reasonable time frame.” Id. at 57-58.

                       d)      Competitive Conditions in the United States

       Apple contends that remedial orders “will also harm competitive conditions in the United

States by harming third-parties reliant on the accused products and reducing market pressure on

Apple Watch’s competitors to cut costs and deliver innovative new products” and that “[t]hese



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competitive harms will not be offset by any benefit to domestic ‘production of like or directly

competitive articles,’ 19 U.S.C. § 1337(d)(1), because neither AliveCor nor any of Apple’s

primary competitors manufactures their competitive products in the United States.” Id. at 61.

Apple explains that “various U.S.-based components suppliers for Apple Watch ‘have invested

heavily in manufacturing to Apple specifications, … as Apple represents a large percentage of

their business’” and that “[t]hese companies ‘will likely experience negative impacts due to an

exclusion order.’” Id. at 62. Apple adds that “numerous ‘healthcare companies, hospitals,

medical researchers and research institutions … have all made investments to work on projects

… that rely on and sync with the Apple Watch.’” Id. Apple states that “removing a product as

popular as Apple Watch, with as many sales as Apple Watch has, would ‘weaken a primary force

that underlies the current competitive environment’—vigorous competition between Apple and

others.” Id. at 63.

       According to Apple, “[t]he substantial competitive harms caused by an exclusion order

will not be offset by any benefit to ‘the production of like or directly competitive articles in the

United States’” because “the handheld ECG products that AliveCor does sell are not produced in

the United States.” Id. (citing 19 U.S.C. § 1337(d)(1), (f)(1)). Apple adds that to its knowledge,

“Apple Watch’s competitors, such as Samsung, Fitbit, and Garmin, do not produce their products

in the United States either” and that it “is not aware of any company that manufactures full-

featured smartwatches in the United States.” Id. at 64.

                       e)      Apple’s Position

       Against this backdrop, Apple asserts that the Commission should exercise its discretion

and decline to issue an exclusion order. Apple Sub. at 65-67. Apple states that “[s]hould the

Commission choose to issue a remedy despite the fact that doing so will place American lives at



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risk, it should: (A) suspend enforcement thereof for at least two years to allow for sufficient

production of adequate replacements to Apple Watch and, at a minimum, until final resolution of

the Patent Office’s Final Written Decisions on AliveCor’s Asserted Patents” and “(B) tailor its

remedy to allow for support of Apple Watch users, clinical use, certain personal imports,

governmental use, and standard certification.” Id. at 67.

       Apple argues that “Fitbit, which is currently the only company with FDA-clearances for

an ECG app and an IRN feature,” “would have to increase its current production of ECG and

IRN-enabled products ‘many times over’ to replace the excluded Apple Watches.” Id. at 68.

Apple states that “given the existing supply chain issues, chip and neon gas shortages, logistics

obstacles, and other issues, there is no reasonable likelihood Fitbit could increase its production

to meet that demand in less than two years.” Id. Apple adds that “[f]or any other company that

does not have a current smartwatch with both of the two FDA authorized features in

development, releasing such a smartwatch in the United States would require developing a

working prototype, receiving FDA authorization, and overcoming the substantial supply chain

hurdles currently roiling the global economy.” Id. Apple states that “just receiving the

necessary FDA clearance for any replacement product will likely require at least two years—

assuming the product qualifies for the most straightforward FDA clearance pathway, which is no

guarantee.” Id. (citing Ex. 2 (Lietzan Decl.) ¶¶ 24-25). Apple thus asserts that “[d]elaying

enforcement by two years is therefore the minimum time necessary for suitable alternative

products to become available for sale on a scale sufficient to replace excluded Apple Watches.”

Id.

       Apple contends that “[r]egardless of whether the Commission chooses to suspend

enforcement of any remedial order until alternatives are ready, it should suspend enforcement



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until final resolution of the Patent Office’s Final Written Decisions for each of the Asserted

Patents.” Id. at 69. Apple states that it “filed petitions for inter partes review alleging that all of

the claims asserted in this Investigation are unpatentable and should be cancelled” and that a

final decision is expected by December 8, 2022, “before the Commission’s target date to issue its

Final Decision.” Id. (citing Certain Unmanned Aerial Vehicles, Inv. No. 337-TA-1133, Comm’n

Op., 2020 WL 5407477, at *21 (Sept. 8, 2020) (“Suspension of [any] remedial orders pending

resolution of the PTAB’s Final Written Decision[s]” is fully “consistent with the Commission’s

past practice on this issue.”).

        Apple also argues that the Commission should “tailor its remedy to allow for support of

Apple Watch users, clinical use, certain personal imports, governmental use, and standard

certification.” Id. at 67. Apple explains that “[[               ]] Americans have activated EGC

and IRN on their Apple Watches” and that millions more own Apple Watches but have not yet

activated these features. Id. at 70. Apple states that “[a]n exception permitting software

maintenance releases and updates for all Apple Watches, including units with the Accused

Features installed” because “[s]uch updates for Apple Watches are important ‘[t]o make sure that

… Apple devices have the latest bug fixes and security enhancements.’” Id. (citing RX-644.1).

Apple further argues that “[a]ny remedial order should permit Apple to honor all service and

repair obligations—including obligations under applicable warranties and law, and other

applicable service and repair obligations—by providing technical support, service, repair, and

replacement for all permissibly obtained Apple Watches, including models with the Accused

Features installed.” Id. at 71. Apple explains that “[t]he Accused Products are subject to a

manufacturer’s warranty that requires Apple to repair or replace products for one or two years,

depending on the model.” Id. (citing CX-60C; CX-6; Certain Liquid Crystal Display Modules,



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Inv. No. 337-TA-634, Comm’n Op., 2009 WL 4087135, at *2 (Nov. 24, 2009) (exempting

infringing repair parts from remedial orders and allowing importation of service and replacement

parts)).

           Apple asserts that it “should also be permitted to continue the sale, replacement, or

exchange of bands for the Apple Watches at issue” as well as “charging accessories like charging

pucks and compatible adapters.” Id. at 71-72. Apple asserts that “AliveCor’s accusations have

nothing to do with watch bands, and the bands are articles in commerce which users may choose

to purchase or seek to have replaced.” Id. Apple further contends that “[a]ny remedy should

also include an exemption permitting continued sale of new AppleCare service and repair plans.”

Id. at 72.

           Apple states that “[a]ny prohibition on ‘marketing’ or other customer facing

communications in the Commission’s Cease and Desist Order should expressly permit Apple to

continue to provide and update informational and support materials for users of all Apple

Watches on its website, including information specifically on ECG app, IRN, and HHRN.” Id. at

72. Apple explains that “[i]n some instances, such as instructions for use, Apple is obligated by

FDA to keep these materials accessible” and that “[i]n other instances, these materials help

educate doctors and others about how to use Apple Watch to achieve better health results.” Id.

           Apple asserts that “[s]eparate from permitting support for existing end users, any remedy

should also include an exception for products made, marketed, used, or sold solely for uses

reasonably related to the development and submission of information under the FDCA.” Id. at

73. Apple argues that “[a]n exclusion order should also include a personal importation

exemption that would cover (i) American Apple Watch users who travel abroad with an accused

Apple Watch and then return with that device; (ii) foreign visitors who enter and then depart the



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United States with a personal Apple Watch; and (iii) U.S. travelers who buy an Apple Watch

abroad, or have a watch replaced abroad under warranty.” Id. According to Apple, “[t]hese

exceptions are necessary to avoid harming unwitting consumers who are merely traveling with

their Apple Watch products or choose to make a purchase decision abroad.” Id.

               2.      AliveCor Submission

                       a)     Public Health and Welfare

       AliveCor contends that “the requested remedial orders do not raise any public health,

safety, or welfare concerns” because there are numerous substitutes (discussed below) available

that “will allow consumers to access wearable monitoring devices that can record ECGs and

monitor cardiac events.” AliveCor Sub. at 48. For support, AliveCor points to the public

interest statements submitted by third parties. Specifically, AliveCor points to Dr. Topol’s

submission that ‘“[p]ublic health is far more served by encouraging and protecting those who

innovate to make better medical technology’ rather than by making an exception for large

companies like Apple ‘because that would be protecting those who use without authorization,

simply because they are large.’” Id. AliveCor also points to Dr. Reynolds’ statement in

contemplation of Apple’s intended argument that ‘“as a major seller of smartwatches in the U.S.

[that] the public would somehow suffer if the Commission excluded its infringing Apple

Watches’ is actually ‘a situation of Apple’s own making’” in that “Apple created this situation

by using its power and influence to ‘exclude AliveCor and other competitors while Apple

simultaneously introduced its infringing Apple Watches.’” Id.

       In response to Apple’s argument, AliveCor asserts that remedial orders will not apply to

unaccused watches, including watches from Apple itself. AliveCor R.Sub. at 36. Specifically,

AliveCor identifies the Apple Watch SE as a suitable substitute because it “has IRN, HHRN,

Low Cardio Fitness Notifications, sleep stages, fall detection, crash detection, cycle tracking,

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emergency SOS, noise monitoring, and backtrack.” Id. Regarding Apple’s assertion about the

ECG, AliveCor states that “the majority of the testimonials that Apple attached to its brief—over

250 of them, see Apple Br., Ex. 8—do not appear to mention ECG functionality at all,” and “[s]o

there is no reason to think an exclusion order would affect the functionalities being touted.” Id.

AliveCor adds that “the nearly 30 million people who already own infringing devices would not

be affected by any remedy in this case” and that “all of these Apple Watches—those unaccused,

and those already in the stream of commerce—could be paired with relevant accessories, like

AliveCor’s KBS, to add functionalities.” Id. at 36-37. AliveCor states that “[i]f Apple would

stop its anticompetitive actions and restore access to the raw PPG data and APIs, AliveCor could

make updated versions of KBS for the unaccused Apple Watches.” Id. at 37.

                       b)      Suitable Alternatives

       AliveCor states that “numerous major electronic suppliers market reasonable substitutes

for Apple’s infringing functionalities.” AliveCor Sub. at 44. According to AliveCor, “Apple

itself sells and markets the Apple Watch SE series, which, although it provides IRN and HHRN,

does not contain an ECG sensor and therefore has not been accused.” Id. AliveCor adds that

“[t]hose unaccused Apple Watches can, moreover, be combined with the KBS to provide ECG

functionality” and that “[a]ll Apple needs to do is reverse its anticompetitive changes to watchOS

that prevent SmartRhythm from working.” Id. AliveCor also identifies certain third parties as

offering reasonable substitutes. Id. Specifically, AliveCor argues that Samsung watches,

including Galaxy Watch 5, Galaxy Watch 4, Galaxy Watch 3, and Galaxy Watch Active 2,

“provide the capability of an on-demand 30-second ECG that can detect the presence of Afib”

and that “[t]hese watches also provide continuous heartrate monitoring using an optical heart rate

sensor (i.e., PPG) that detects and keeps track of heart rate and heart rate changes in the



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background.” Id. AliveCor further argues that “Fitbit offers numerous products, cleared by the

FDA, that provide AFib detection capabilities using an ECG app13 and a PPG-based background

detection algorithm,” including the Fitbit Sense, the Fitbit Versa, the Fitbit Versa Lite, the Fitbit

Charge 4, and the Fitbit Inspire 2.” Id. at 45. According to AliveCor, “[t]he substitute Fitbit

devices are also capable of tracking elevated heart rates (similar to Apple’s HHRN) as well as

tracking heart rate variability (‘HRV’), which is a measure of the time variances in between

heartbeats that can indicate whether the heart is beating irregularly.” Id. AliveCor also identifies

other “wearable smartwatches on the market that have received FDA clearance and have heart-

rate monitoring capabilities.” Id. at 46. These include the “Oppowatch, which contains an

optical heartrate sensor and monitors the user’s heartrate” and the “Withings Scanwatch, which

not only uses ECG and PPG for Afib detection, but specifically highlights those detection

capabilities to consumers on its website.” Id.

       AliveCor emphasizes that “[t]he infringing Apple Watches that would be subject to the

recommended exclusion order comprise only a subset of Apple’s watch offerings; those products

that include both (1) PPG-based arrhythmia detection features (i.e., the Irregular Rhythm

Notification feature (“IRN”) and the High Heart Rate Notification (“HHRN”) feature) and (2)

the ECG App.” Id. at 46. AliveCor states that “Apple offers numerous unaccused Apple Watch

products that lack ECG hardware (and thus do not accommodate the ECG App), but which

nevertheless offer both the IRN and HHRN features” and that “[t]hese unaccused models would

not be subject to the recommended exclusion order.” Id.

                       c)      Competitive Conditions in the United States

       AliveCor asserts that “the requested remedial orders will not, in fact, remove any

competitor from the market.” AliveCor R.Sub at 45. AliveCor contends that “Apple can



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continue offering unaccused watches” and that “Samsung, Fitbit, and others can continue

competing with Apple.” Id. at 46. AliveCor contends that “it is Apple that is engaging in

anticompetitive behavior.” Id. AliveCor explains that “Apple’s unfair acts of competition” “are

substantial and ongoing: Apple met with, considered acquiring, stole technology from AliveCor

and is continuing to infringe AliveCor’s patents and exclude AliveCor’s products.” Id. (citing

AliveCor Sub at 10-14; OUII Sub at 17 (“This effectively excluded AliveCor from the Apple

Watch market,” so “[i]t appears likely that the effect of the requested remedial orders would

benefit competitive conditions by opening up markets.”).

                       d)     AliveCor Position

       AliveCor states that the remedial orders should issue immediately and without carveouts.

AliveCor R.Sub. at 48. AliveCor asserts that “[t]here is no need for any exception for software

updates” as “[t]he investigation Apple itself cites confirms that Customs does ‘not [ ] regulate

electronic transmissions.’” Id. at 49 (citing Certain Systems for Detecting and Removing Viruses

or Worms, Inv. No. 337-TA-510, Comm’n Op., 2005 WL 8153587, at *3 (Aug. 23, 2005)).

Regarding an exception for service and repair, AliveCor asserts that “Apple’s corporate designee

confirmed under oath that, under its warranty, it can provide a refund in lieu of repairing a

broken watch” and that “[i]n such circumstances, a service and repair exemption is not

warranted.” Id. (citing JX-220C (Rollins) at 162:21-163:3, 167:1-9; CX-0060C; CX-0061;

Certain Light-Emitting Diode Products, Fixtures, and Components Thereof, 337-TA-1213,

Comm’n Op. at 13 (Jan. 14, 2022). Finally, AliveCor argues that “Apple’s request that any

remedy be suspended for two years is based on a claim that ‘there are no suitable alternatives to

Apple Watch” but that “[t]he record shows otherwise.” Id. (pointing to immediately available,

FDA-cleared alternatives from Fitbit, Samsung, and even Apple itself).



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       With respect to suspending remedial orders until final resolution of the IPRs, AliveCor

states that “[i]n every case Apple cites, the Commission has acted only after a FWD decision

issues, and only with respect to patent claims actually deemed invalid” and thus “[a] suspension

of the remedial orders should therefore not even be under consideration unless every patent claim

on which a violation is found has been held invalid in a FWD.” Id. at 50.

               3.      OUII Submission

                       a)     Public Health and Welfare

       OUII states that on balance, “the requested remedial orders will not adversely affect the

public health and welfare” because “[s]imilar irregular rhythm notification and ECG features are

available on a variety of other devices.” OUII Sub. at 13. OUII asserts that “consumers may

purchase existing alternative devices including the Samsung Galaxy 4 smartwatch, the Samsung

Galaxy 3 smartwatch, and the FitBit Charge 5 smartwatch.” Id. OUII explains that the

“Samsung Galaxy Watch 4 allows users to monitor for abnormal or irregular heart rhythm and to

take electrocardiograms (‘ECG’) in real time.” Id. OUII adds that “ECG technology is likely to

be introduced in various existing and future products” and that “Garmin has completed clinical

trials for its smartwatch ECG technology and is expected to enable such functionality in certain

devices (including the Garmin Venu smartwatches) once it has secured necessary FDA

clearance.” Id. OUII states that “various alternative devices are available on the market to

monitor heart health, including AliveCor KardiaMobile Card personal ECG device, Oura Ring

Gen 3 smart ring, and Prevention Circul+ smart ring with ECG and blood pressure monitoring

capabilities.” Id. at 14. According to OUII, “[g]iven the wide availability of alternatives, it does

not appear to OUII that the public health and welfare would be adversely impacted by the

requested remedial orders.” Id.



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       OUII states that “[w]hile the Apple Watch has certainly been used in various on-going

research projects, at this time it has not been shown that alternative products cannot be used in its

place.” Id. OUII contends that “remedial orders would not impact the function of the existing

Apple Watch installed base, and would thus appear unlikely to affect on-going research projects

in any meaningful way.” OUII R.Sub. at 16. OUII observes that “the non-accused Apple Watch

SE provides the IRN and HHRN features that work in the background to detect irregular heart

rhythms” and that “it appears that all of the research projects identified in public interest

comments and briefing could be performed by an Apple Watch SE alone, or in combination with

an external ECG device such as AliveCor’s KardiaMobile Card.” Id.

                       b)      Competitive Conditions in the United States Economy

       OUII argues that “remedial orders will promote competitive conditions in the United

States economy.” OUII Sub. at 16. OUII explains that “[i]n 2013, Apple tried unsuccessfully to

design a smartwatch with the accused functionality” and that “when AliveCor successfully

introduced its technology to the Apple Watch platform, Apple took steps to copy that technology

by seeking information from the FDA, by commissioning research on AliveCor’s technology,

and by requesting meetings and live demonstrations to obtain information from AliveCor.” Id. at

16-17. According to OUII, “once Apple had successfully implemented the patented technology,

Apple revised its watchOS API in a manner such that AliveCor’s KardiaBand System was no

longer functional,” which “effectively excluded AliveCor from the Apple Watch market, leaving

consumers with fewer and less effective options.” Id. at 17 (citing Tr. (Albert) at 83:20-85:19).

OUII states that thus “[i]t appears likely that the effect of the requested remedial orders would

benefit competitive conditions by opening up markets, allowing wider access to superior




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technology, and encouraging innovation.” Id. OUII also notes the availability of alternatives.

Id. at 16.

                       c)     Production of Like or Directly Competitive Products in the
                       United States

        OUII states that it is not aware of any evidence of record regarding the impact of the

requested remedial orders on the production of like or directly competitive articles in the United

States. Id. at 17.

                       d)      United States Consumers

        OUII states that on balance, remedial orders will not adversely impact U.S. consumers,

pointing to the availability of alternatives for support. Id. at 18-19.

                       e)      OUII Position

        OUII asserts that based on the evidence provided in Apple’s initial written submission,

“any remedial order should be tailored to allow support of existing Apple Watch users.” OUII

R.Sub at 20. OUII also agrees with Apple’s request that any remedial orders be tailored to

permit Apple “to provide (1) ‘software maintenance releases and updates for all Apple Watches,

including units with Accused Features installed’ and (2) to honor its service and repair

obligations.” Id. at 21. According to OUII, “Apple has demonstrated that ‘Consumers who

purchased an Accused Product reasonably expected to get the full scope of the accompanying

warranty or insurance contract.’” Id. (citing JX-220C (Rollins Dep. Tr.) at 79:1-9; 160:9-

168:21). OUII proposes an exception to the remedial orders as follows: “except for service or

repair of wearable electronic devices with ECG functionality that were imported prior to the

Commission’s determination becoming final within the meaning of 19 U.S.C. § 1337(j)(4).” Id.

OUII states that the evidence of record does not support any additional tailoring of the requested

remedial orders. Id.

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                4.      Analysis

        Under Federal Circuit precedent, “the Commission is required to issue an exclusion order

upon the finding of a Section 337 violation absent a finding that the effects of one of the

statutorily-enumerated public interest factors counsel otherwise.” Spansion, 629 F.3d at 1358;

19 U.S.C. § 1337(d)(1) (“If the Commission determines, as a result of an investigation under this

section, that there is a violation of this section, it shall direct that the articles concerned, imported

by any person violating the provision of this section, be excluded from entry into the United

States …”). The Commission finds that issuance of remedial orders in this investigation will not

have such an adverse effect on the public interest factors that would warrant denying a remedy.

Thus, the Commission declines Apple’s invitation to exercise its discretion and deny a remedy.

                        a)      Public Health and Welfare

        The Commission agrees with AliveCor and OUII that remedial orders in this

investigation would not raise significant public health or welfare concerns. See AliveCor Sub. at

48; OUII Sub. at 13.

        Apple identifies three public health and welfare concerns that it contends would be

affected by the remedial orders here: (1) the ability of current users to continue to enjoy the

health, wellness, and safety features of the infringing Apple watch; (2) the disruption of ongoing

research projects into Afib that utilize the infringing watches (no new studies were identified);

and (3) curtailing consumer access to unaccused features of the infringing Apple watches and

ongoing research projects pertaining to those unaccused features.

        With respect to the first concern, the potential impact on existing owners of infringing

Apple watches, the Commission finds, consistent with AliveCor’s representation, that remedial

relief against the infringing Apple watches would not affect current users of Apple’s infringing

watches as nothing in the relevant remedial orders would prevent them from being able to
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continue using all of the features without interruption, which would include software updates and

the like to maintain the functional status of the watches that are in the hands of U.S. consumers. 37

See AliveCor R.Sub. at 36 (“the nearly 30 million people who already own infringing devices

would not be affected by any remedy in this case”). Moreover, the Commission has determined

that the evidence of record supports an exemption for service, repair, and replacement of those

infringing watches pursuant to Apple’s warranty obligations described below. This exemption

would enable consumers who possess infringing watches to continue to benefit from the health,

wellness, safety and other features that they have accessed since those watches were purchased

prior to the orders becoming final.

       With respect to the second concern, the effect on ongoing research projects, the Apple

infringing watches used in those ongoing projects would likewise be unaffected by the remedial

orders. Apple contends that remedial orders will “irreparably disrupt ongoing research into

AFib, depriving the American public of potentially ‘breakthrough’ treatments for this disease

and wasting millions of dollars in public and private investment already devoted to medical

research using Apple Watch.” Apple Sub. at 40. According to Apple, there are numerous

ongoing studies related to heart diseases using the Apple Watch. Id. Apple does not identify any

new studies that would be impacted by the remedial orders here, but rather the issue pertains

solely to studies already underway. Remedial orders will not take Apple Watches away from

existing study participants, and Apple does not contend that these studies need additional Apple

Watches for additional participants, much less quantify that need. Therefore, infringing Apple

watches supplied to research subjects at the commencement of those projects would remain



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         Apple requests an exemption from the orders to account for software maintenance and
updates and technical support for current Apple watch owners. Apple Sub. at 70-71. No
exemption is necessary as these are not covered by the remedial orders.
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available to the persons participating in those studies given that current users can continue to

utilize all of the features without interruption as noted above. Moreover, to the extent that study

participants’ watches malfunction or break, Apple can continue to provide service and repair

under its warranty obligations under the Commission’s exemption. The service and warranty

exception will allow Apple to repair or replace malfunctioning watches for existing participants,

and any new studies can utilize any of the numerous alternatives discussed below, including the

Apple Watch SE paired with ECG functionality.

       As to the third concern, the curtailment of consumer access to non-accused features of

infringing watches and ongoing research into those unaccused features, persons who already

possess these infringing watches whether for their own use or ongoing research, their continued

access is unaffected as explained above. To the extent that Apple’s concerns relate to potential

new customers of infringing watches, Apple has failed to substantiate or detail its concerns.

       With respect to persons who seek to purchase new watches after the orders become final,

the parties dispute whether there are suitable substitutes available to address public health,

safety, and welfare concerns that may arise due to exclusion of the infringing Apple watches.

Apple contends that “suitable alternatives for purposes of remedying the harm from exclusion

must (1) include ECG, IRN, and HHRN features; (2) be a wearable; and (3) be FDA-cleared.”

Apple Sub. at 54. AliveCor responds that “the majority of the testimonials that Apple attached to

its brief—over 250 of them, see Apple Br., Ex. 8—do not appear to mention ECG functionality

at all.” AliveCor R.Sub. at 36. OUII states that due to a “wide availability of alternatives, it

does not appear to OUII that the public health and welfare would be adversely impacted by the

requested remedial orders.” OUII Sub. at 14.




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       The Commission finds that suitable alternatives are available to meet the public health

concerns raised by Apple’s comments. As to Apple’s first and second points regarding suitable

alternatives, Apple explains that for substitutability with Apple’s infringing watches, portability

is key because a device offering IRN functionality without a readily available ECG app “would

mean that wearers concerned about their heart health—either because of an IRN alert or because

of how they are feeling—would need to go to the hospital or acquire an inconvenient and

separate at-home ECG device to accurately detect AFib, by which time their fleeting symptoms

may have passed.” Apple Sub. at 44. Thus, in Apple’s view, wearable devices that have an IRN

function and a means by which the user can quickly take an ECG would provide a suitable

alternative. In contrast to IRN, Apple explains that HHRN “cannot itself detect any heart

conditions, [but] it provides valuable information to users that can encourage them to seek

medical care, which can in turn lead to the identification of a range of cardiac conditions that

might otherwise have gone undiagnosed. Id. AliveCor and OUII concur that a combination of

portable devices can readily replace the infringing Apple watches. AliveCor Sub. at 44-47; OUII

Sub. at 12-16. In view of these comments, the Commission finds that wearable devices that have

IRN and HHRN functionality along with portable ECG devices represent a reasonable alternative

to the Apple watches to be excluded under our remedial orders. As discussed in detail below,

various portable devices are currently available on the market to provide these functionalities.

       With regard to Apple’s third point regarding substitutability, FDA clearance, Apple

contends that FDA-clearance provides a “rigorous authorization process for software as a

medical device (SaMD) [which] requires high-quality validated sensor inputs that have clinical-

level accuracy.” Apple Sub. at 54. Apple argues that “[no]n-cleared devices that purport to

measure cardiac activity through PPG sensors have not been determined to accurately identify



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potential AFib” and that decisions as to medications and treatments based on these data would be

“ill-advised.” Id. at 55 (citing StopAfib.org Sub. at 3). Apple’s assertion, however, is based

exclusively upon the conclusory statement that “non-FDA cleared devices are often inaccurate

and may lead to ill-advised decisions about medications and treatment.” StopAfib.org Sub. at 3.

Aside from this general admonition, Apple provides no evidence showing that particular non-

FDA cleared portable devices are, in fact, inaccurate or that doctors or patients have made

medical decisions on medications and treatments for AFib based solely on data generated by

non-FDA cleared software. Absent such factual basis, the Commission does not credit Apple’s

conclusory assertion that FDA-clearance is mandatory in order for alternative devices to serve as

suitable substitutes for the infringing devices.

       Even if suitable alternatives were restricted to the three-part definition that Apple

advocates, Apple concedes that Fitbit’s Charge 5 and Sense are alternatives currently available in

the United States. Apple Sub. at 55-56. According to AliveCor, Fitbit offers “numerous

products, cleared by the FDA, that provide AFib detection capabilities using an ECG app13 and

a PPG-based background detection algorithm,” including the Fitbit Sense, the Fitbit Versa, the

Fitbit Versa Lite, the Fitbit Charge 4, and the Fitbit Inspire 2” that “are also capable of tracking

elevated heart rates (similar to Apple’s HHRN) as well as tracking heart rate variability (‘HRV’),

which is a measure of the time variances in between heartbeats that can indicate whether the

heart is beating irregularly.” AliveCor Sub. at 45. Apple, however, asserts that Fitbit cannot

ramp up manufacturing to fully meet consumer demand in the event of the sudden shortfall that

would occur. Id. at 55, 68. Specifically, Apple states that “given the existing supply chain

issues, chip and neon gas shortages, logistics obstacles, and other issues, there is no reasonable

likelihood Fitbit could increase its production to meet that demand in less than two years.” Id. at



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68 (citing Exh. 6 (Davies Decl.) ¶¶ 17, 22, 37, 53, 90)). 38 Again, Apple (including the cited

paragraphs of the declaration), provides no evidence to substantiate its assertions that Fitbit

presently lacks the manufacturing capability to produce new products that include FDA-cleared

ECG, IRN, and HHRN features in a single wearable device to meet the narrow band of consumer

demand for products so defined, and Apple’s assumption that consumers would forego all other

portable devices that provide some or all these features, which are widely available in the U.S.

market as discussed below. In any event, as noted above, the Commission is suspending the

remedial orders pending final resolution of the PTAB’s final written decisions which will give

adequate time for alternatives to be readily available.

       Under the Commission’s understanding of reasonable alternatives, the record evidence

shows that, in addition to Fitbit, there are substitutes that offer a wide range of health, safety, and

wellness features including some that “will allow consumers to access wearable monitoring

devices that can record ECGs and monitor cardiac events.” AliveCor R.Sub. at 36. As AliveCor

notes, “Apple itself sells and markets the Apple Watch SE series, which, although it provides

IRN and HHRN, does not contain an ECG sensor and therefore has not been accused.” Id. at 44.

The evidence shows that the Apple Watch SE series can be combined with ECG devices, such as

the KBS, to serve as an adequate substitute. See AliveCor Sub. at 44. 39



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         Apple filed a motion for leave to file “further corrected Exhibits 5 and 6” on October
11, 2022, after omitting these exhibits from its October 6, 2022 opening submission, obtaining
leave from the Commission to file these omitted exhibits, then served a first corrected version on
October 7, 2022, followed by this second set of corrected exhibits filed and served on October
11, 2022. See Apple Mot. at 1-2 (Oct. 11, 2022). The Commission has determined to grant
Apple’s motion.
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         We note that the KBS was previously pared with the Apple watch series 1-3 to provide
ECG functionality in a single device. That situation ended around December of 2018 when
Apple changed its software to no longer support the KBS. AliveCor Sub. at 41 (citing RX-
0047C; Somayajula Tr. at 84:1-84:3, 199:18-200:20). Apple has not provided evidence that
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       AliveCor also identifies other third parties as offering reasonable substitutes that carry

out the same functions, specifically Samsung watches including the Galaxy Watch 5, Galaxy

Watch 4, Galaxy Watch 3, and Galaxy Watch Active 2. The Samsung watches provide “the

capability of an on-demand 30-second [FDA cleared] ECG that can detect the presence of Afib”

and also “provide continuous heartrate monitoring using an optical heart rate sensor (i.e., PPG)

that detects and keeps track of heart rate and heart rate changes in the background.” Id. Apple

does not disagree with AliveCor’s statement, nor does it contend that Samsung’s products are not

competitive with its own smartwatches. Apple R.Sub. at 26. Rather, Apple responds that

Samsung products are not “FDA-cleared to continuously monitor for irregular heart rhythms

suggesting potential AFib,” albeit Apple concedes that Samsung offers a feature comparable to

HHRN. Id. As discussed above, Apple has failed to substantiate its contention that suitable

substitutes must have FDA clearance. Apple also raises the same high level general supply

constraints observations as it raises with respect to Fitbit relating to global supply of

semiconductor chips in 2021. Apple Sub. at 61.

       OUII also points out that “ECG technology is likely to be introduced in various existing

and future products,” noting that “Garmin has completed clinical trials for its smartwatch ECG

technology and is expected to enable such functionality in certain devices (including the Garmin

Venu smartwatches) once it has secured necessary FDA clearance.” OUII Sub. at 13. Apple

responds that it is unaware of the status of Garmin’s FDA application, clinical trials, or IRN-type

feature under development. Apple R.Sub. at 30.




changing its software to again allow compatibility with the KBS would require a substantial
ramp up period, including in light of the suspension of enforcement of the orders.
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       OUII points to other alternative devices “available on the market to monitor heart health,

including AliveCor KardiaMobile Card personal ECG device, Oura Ring Gen 3 smart ring, and

Prevention Circul+ smart ring with ECG and blood pressure monitoring capabilities” and states

that “[g]iven the wide availability of alternatives, it does not appear to OUII that the public

health and welfare would be adversely impacted by the requested remedial orders.” Id. at 13-14.

The table below, submitted by AliveCor, identifies devices that are suitable alternatives:




AliveCor R.Sub. at 37.

       Apple contends that AliveCor and third parties cannot meet demand within a

commercially reasonable time if its infringing watches were to be excluded. Apple Sub. at 57

(“No one, alone or in combination, can substantially replace the sudden supply shortfall that will

arise if Apple Watch is excluded.”). Apple submitted the following IDC data for imports by U.S.

retailers of Apple watches (with and without the infringing functionalities) as well as other

smartwatch and fitness trackers for the period 2015 through 2021:[[




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]] Apple Sub., Exh. 5 (Dippon Decl.) ¶ 11. The infringing Apple watches comprise [[

     ]] of the total Apple shipments listed above in 2021, amounting to [[          ]] infringing

Apple watches. Id. ¶ 25.

       As relevant to Apple’s public health and welfare arguments focused on U.S. consumers

with Afib, Apple states that of the total number of infringing units sold in the United States, [[

         ]] users have activated IRN and ECG on their infringing watches. Apple Sub. at 70.

Afib affects up to 6 million people in the United States. Apple Sub., Exh. 5 (Dippon Decl.) ¶ 49.

These data indicate that consumers, and particularly those affected by Afib, who need portable

devices offering health and safety features discussed above have already purchased and activated

IRN and ECG on their Apple watches, Fitbit, or other devices or if they are new purchasers, they

would be able to obtain devices that meet their needs from third party suppliers.

       Moreover, as noted above, nothing in the remedial orders prevents current users and

researchers from continuing to use their Apple watches. We also find Apple’s argument that

remedial orders “would deprive consumers of numerous other important life-saving features,”

and “disrupt dozens of ongoing medical studies involving these features” unpersuasive and

unsubstantiated. Apple Sub. at 49. Moreover, the available substitutes for the infringing

watches can be used for new studies.



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                        b)      Competitive Conditions in the United States Economy

          In our judgment, the evidence of record shows that the remedial orders would not have

any adverse impact on competitive conditions in the United States economy. Apple’s argument

to the contrary depends entirely on its view that there are no suitable alternatives other than

Fitbit. As discussed above, the record evidence shows an abundance of suppliers that offer

competing products. With respect to market shares of these competitors, Apple offers the

following data from IDC regarding U.S. smartwatch and fitness tracker shipment shares in

2021:[[




]] See Apple Sub., Exh. 5 (Dippon Decl.) ¶ 24. As shown in the table above, these suppliers of

competitive products include Samsung, Garmin, Fitbit, Fossil, and Zepp, among others. Apple

itself can remain a competitor in the U.S. market with products that do not infringe such as the

Apple Watch SE.

          Apple argues that remedial orders will “harm competitive conditions in the United States

by harming third-parties reliant on the accused products and reducing market pressure on Apple



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Watch’s competitors to cut costs and deliver innovative new products.” Apple Sub. at 62. This

argument, however, is wholly unsubstantiated.

                       c)     The Production of Like or Directly Competitive Articles in the
                       United States

       The record contains no evidence that remedial orders will adversely impact the

production of like of directly competitive articles in the United States. We note that neither the

infringing products nor the reasonable alternatives are manufactured in the United States.

                       d)     United States Consumers

       As to potential effects on consumers, Apple argues public health considerations relating

to consumers that the Commission has discussed above. Apple Sub. at 52. Apple further argues

that exclusion would likely result in higher prices and poorer quality alternatives diminishing

consumer choice. Id. Apple’s argument, however, is unsubstantiated. Indeed, Apple does not

present evidence of a direct price comparison between and among the competing products to

support its allegation. See Certain Audio Players & Controllers, Inv. No. 337-TA-1191,

Comm’n Op. at 32 (Jan. 6, 2022).

       The record evidence indicates that [[                        ]] own infringing Apple

Watches. As discussed above, current owners of the infringing Apple watches will be unaffected

by the remedial orders here thus alleviating any concerns regarding current users of these

products.

       While these consumers will not be affected by any remedy in this case, they bought their

watches reasonably expecting to get the full scope of the accompanying warranty and insurance

contract. JX-220C (Rollins Dep. Tr.) at 79:1-9; 160:9-168:21. For this reason, as well as to

allow individuals using the Apple Watch to participate in ongoing studies as discussed above, the




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Commission has determined to tailor the remedial orders to allow Apple “to honor its service,

repair, and replacement obligations.” See OUII R.Sub. at 21.

       AliveCor suggests that a refund would suffice. AliveCor R.Sub. at 48. However,

AliveCor and OUII have not shown that a refund will be adequate to compensate consumers who

are seeking to maintain their Apple Watches or to participate in ongoing health-related studies

using the Apple Watch. Accordingly, based upon the reasonable expectations of those

consumers who purchased infringing Apple Watches and in consideration of ongoing research

projects involving infringing Apple Watches that may malfunction or break, the Commission’s

remedial orders include the following exemption: “except under license of the patent owner or as

provided by law, and except for articles or components imported for use in servicing, repairing,

or replacing covered articles that were imported prior to the effective date of this Order pursuant

to existing service and warranty contracts.” 40

                       e)      Summary

       In sum, the public interest factors do not compel the Commission to decline to issue

remedial orders in this investigation. The Commission, however, has determined to include an

exemption to allow Apple to honor its service, repair, and replacement obligations. The orders




       40
          Commissioner Stayin does not believe that a warranty or service exception is justified
merely because consumers expect the full scope of their bargain, as this would justify such an
exception in every case involving a product sold with a warranty or service agreement.
Moreover, in his view, it was Apple’s burden to show an exception is necessary, and not
AliveCor’s burden to show a refund was sufficient. See Certain Audio Players & Controllers,
Components Thereof, & Prods. Containing the Same, Inv. No. 337-TA-1191, Comm’n Op. at 25
(Feb. 1, 2022) (finding respondent failed to show a warranty exception was appropriate,
including because respondent could provide a refund in lieu of repair). Nonetheless, given the
specific health-related functionality at issue in this case, Commissioner Stayin believes a
warranty and service exception is appropriate so that existing consumers do not bear the burden
of switching to a new device for monitoring purposes in the event an issue arises with their
previously purchased device after the remedial orders go into effect.
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also include an exemption for articles imported by or for U.S. Government use, as usual, and

include the Commission’s standard certification provision.

       D.      Bond

       If the Commission enters an exclusion order and/or cease and desist order, a respondent

may continue to import and sell its products during the 60-day period of Presidential review

subject to posting a bond. 19 U.S.C. § 1337(j)(3). The amount of the bond is specified by the

Commission and must be sufficient to protect a complainant from any injury. Id.; 19 C.F.R.

§§ 210.50(a)(3), 210.42(a)(1)(ii). “The Commission typically sets the bond based on the price

differential between the imported infringing product and the domestic industry article or based

on a reasonable royalty. However, where the available pricing or royalty information is

inadequate, the bond may be set at one hundred (100%) percent of the entered value of the

infringing product.” Loom Kits, Comm’n Op. at 18 (citations omitted). A complainant bears the

burden of establishing its requested bond amount. See, e.g., Certain Liquid Crystal Display Devices,

Inv. No. 337-TA-631, Comm’n Op. at 28 (July 10, 2009). Should a complainant fail to meet its

burden, the Commission may determine to impose no bond for products imported during the period

of Presidential review period. Id.

       The ALJ recommended that the Commission set no bond for entry of infringing products

during the period of Presidential review. ID/RD at 194. The ALJ stated that “[i]t is entirely

unclear what competitive harm ALC will face during this time as the KBS product has not been sold

for some time (Hr’g Tr. (Albert) at 135:14-136:22) and [[           ]] are, at best, in development.”

Id. OUII and Apple agree with the ID’s recommendation. OUII Sub. at 74; Apple Sub. at 21.

       AliveCor asserts that “[t]he Commission should impose a bond of $13 per imported

article.” AliveCor Sub. at 40. According to AliveCor, “[t]he amount of bond to be posted

during the sixty-day period for Presidential review must be at least sufficient to ‘offset any

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competitive advantages resulting from the unfair method of competition or unfair act enjoyed by

persons benefitting from the importation.’” Id. (citing S. Rep. No. 1298, 93 Cong., 2d Sess. 198

(1974); 19 U.S.C. § 1337(e)(1), (j)(3); see also Certain Semiconductor Chips with Minimized

Chip Package Size and Products Containing Same, Inv. No. 337-TA-432, RD at 7 (Oct. 1,

2001)). AliveCor argues that “Apple’s continued patent infringement and unfair competition are

harming AliveCor” and that “[t]hrough its unfair acts, Apple excluded AliveCor’s KBS from the

market.” Id. AliveCor asserts that the record evidence contains [[

                                                                                               ]].

Id. at 42 (citing Tr. (Akemann) 638:18-639:24; JX-007C; JX-008C; JX-010C; CX-0872C).

AliveCor points to [[



                                               ]].” Id. (citing Tr. (Akemann) 638:18-639:24; JX-

008C.4). Thus, AliveCor argues that the Commission should set the bond at $13 per imported

article. Id.

        The Commission finds that the record evidence supports a bond in this investigation.

Apple argues that “AliveCor does not compete with the accused Apple Watches, and has failed

to prove that it would be injured by the importation of the accused Apple Watches, or that Apple

enjoys a competitive advantage resulting from its alleged infringement,” and therefore the

Commission should not impose a bond for importation of infringing products during the period

of Presidential review. ID at 193. However, Apple is [[

                                       ]]. See AliveCor Sub. at 40. Thus, the Commission finds

Apple’s argument self-serving and unpersuasive.




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       Regarding the appropriate bond rate, AliveCor asserts that “a bond—$13 infringing

import—is consistent with [[

                               ]].’” AliveCor R.Sub. at 50. As OUII notes, however, the [[



                                                                                         ]]. OUII

Sub. at 22; See JX-008C.4; Tr. (Vander Veen) at 1048:25-1051:4. The ID also observed that

“[w]ith Apple using its own software, the $13 rate is demonstrably too high,” and concluded that

because AliveCor “has not offered alternative proposals reflecting this reality, it has not met its

burden.” ID at 194-95. The record evidence, however, includes [[



              ]].” AliveCor R. Sub. at 50 (citing CX-0872C.16). Accordingly, the Commission

has determined to set a bond in the amount of $2.00 per unit article for infringing products

imported during the period of Presidential review. 41



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          Commissioners Schmidtlein and Stayin agree the record evidence supports a bond in
this investigation, but they disagree with the Commission’s determination to set that bond in the
amount of $2.00 per unit article. While various licenses were cited by AliveCor in its briefing
before both the ALJ and the Commission as evidence available for considering a reasonable
royalty rate, AliveCor has consistently indicated that “[t]he most straight forward and applicable
[[                                                        ]] See, e.g., AliveCor Sub. at 42. And as
noted by the Commission, AliveCor also contends [[

                                             ]] Id. (citations omitted). In Commissioner
Schmidtlein and Commissioner Stayin’s view, rather than requiring absolute precision, the
purpose of the bond determination under the statute and the Commission’s Rules is to protect the
complainant from harm. See 19 U.S.C. § 1337(j)(3) (“. . . bond prescribed by the Secretary in an
amount determined by the Commission to be sufficient to protect the complainant from any
injury.”); 19 C.F.R. §§ 210.50(a)(3) (“. . . [d]etermine the amount of the bond to be posted by a
respondent . . . taking into account the requirement of section 337(e) and (j)(3) that the amount of
the bond be sufficient to protect the complainant from any injury.”). Here, while the cited
royalty rate may cover [[                                                          ]], on this record
they find the $13.00 [[                                             ]] sufficient to protect the
complainant from any injury. See, e.g., Certain Audio Digital-to-Analog Converters and
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       E.      Suspension of Remedial Orders

       As noted above, Apple, on December 7, 2022, filed an emergency motion, asking “the

Commission to suspend any remedial orders or, in the alternative, extend the December 12, 2022

Target Date of its Final Determination and stay all proceedings prior to issuance of any Final

Determination pending final resolution of any appeal of the PTAB’s decisions.” Apple

Emergency Motion at 1. Apple contends that “suspension is consistent with the Commission’s

routine past practice” and that “[a] stay will simplify the issues and conserve agency and party

resources—by avoiding issuance of a merits determination that is likely to be mooted by an

affirmance of the PTAB’s Final Written Decisions—without causing any harm to Complainant.”

Id. Apple states that “either a suspension or a stay accords due deference to the Patent Office’s

role as the lead agency in assessing patentability and honors Congress’s intent that invalid

patents should not be enforced.” Id.

       AliveCor filed an opposition to Apple’s motion on December 9, 2022. AliveCor asserts

that “[g]ranting the requested stay would be unprecedented” and that “[t]he Commission has

never stayed an investigation that is in this posture pending the appeal of a FWD when the

complainant opposes, and Apple cites no authority to the contrary.” AliveCor Opposition at 1.

According to AliveCor, “[a]t most, the Commission could exercise its discretion to suspend

enforcement of any remedial orders” but that “Apple’s argument for the Commission to do so is

weaker than in any past investigation when the Commission has implemented a suspension.” Id.

at 9. AliveCor explains that “Apple did not file IPRs on those patents until June 2021, six

months” after institution of the investigation and that due to “Apple’s delay, the FWDs were


Products Containing Same, Inv. No. 337-TA-499, Comm’n Op. at 28 (Mar. 3, 2005) (Public
Version) (“adopt[ing] the ALJ’s finding that a bond of 5 percent is adequate to protect the
complainant from injury during the 60-day Presidential review period” where “[t]ypical royalty
rates in the semiconductor industry range from 0.75 percent - 5 percent.”).
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expected to issue after the Commission’s Final Determination,” which was expected on

September 28, 2022, before “the Commission extended the Target Date.” Id.

       On December 16, 2022, OUII filed a response. OUII “supports Apple’s motion to the

extent that it requests that any remedy that issued by the Commission be suspended pending

appeal of the PTAB decisions.” Otherwise, OUII “opposes Apple’s motion.” See OUII Reply to

Emergency Motion at 4.

       The Commission has found a violation and determined that issuance of an LEO and CDO

is warranted. The Commission agrees with AliveCor and OUII that granting a stay would not be

consistent with Commission practice nor has Apple established the requisite showing to justify a

stay of the proceedings. See Certain Magnetic Tape Cartridges and Tape Components Thereof,

Inv. No. 337-TA-1058, Comm’n Op. at 61 (Apr. 9, 2019); Certain Semiconductor Chips with

Minimized Chip Package Size and Products Containing Same, Inv. No. 337-TA-605, Comm’n

Op. at 3 (July 29, 2009).

       However, the Commission has determined to exercise its discretion to suspend

enforcement of those remedial orders pending final resolution of the PTAB’s Final Written

Decisions finding all the asserted claims to be unpatentable. See Viscofan, 787 F.2d at 548

(finding that the Commission has “broad discretion in selecting the form, scope, and extent of the

remedy”). Suspension of the remedial orders pending resolution of the PTAB’s Final Written

Decisions is consistent with the Commission’s past practice on this issue. See, e.g., Certain

Unmanned Aerial Vehicles and Components Thereof (“Unmanned Aerial Vehicles”), 337-TA-

1133, Comm’n Op. at 35 (Sep. 8, 2020); Certain Magnetic Tape Cartridges and Tape

Components Thereof, Inv. No. 337-TA-1058, Comm’n Op. at 62-63 (Apr. 9, 2019); Certain

Three-Dimensional Cinema Systems and Components Thereof, Inv. No. 337-TA-939, Comm’n



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Op. at 60 (July 21, 2016). As the Commission explained at length under similar circumstances

in Unmanned Aerial Vehicles, suspension of remedial orders is within the Commission’s

discretion over the form, scope, and extent of its remedy and may be appropriate where, as here,

the PTAB issues final written decisions of unpatentability concerning certain claims before the

Commission issues remedial orders based on those same claims. Unmanned Aerial Vehicles,

Comm’n Op. at 35-38. The Commission has determined that it is appropriate under the facts in

this investigation to suspend enforcement of the limited exclusion order and cease and desist

order, including the bond provision, pending final resolution of the PTAB’s Final Written

Decisions finding the asserted claims of the ’941, ’731, and ’499 patents unpatentable.

AliveCor’s contention that Apple delayed in filing its case at the Patent Office is not sufficient to

overcome the other considerations warranting suspension of the remedial orders in this case.

VI.    CONCLUSION

       For the reasons detailed above, the Commission has determined to affirm the ID’s finding

of a violation of section 337. Regarding the issues under review, the Commission has

determined to affirm the ID’s economic prong of the domestic industry findings with the

modifications described herein. Concerning invalidity, the Commission has determined to affirm

the ID’s patent eligibility findings under 35 U.S.C. § 101 as modified, but reverse as to one

claim; and reverse the ID’s decision not to consider objective indicia of non-obviousness for

certain asserted claims. For remedy, the Commission has determined to: (1) issue a limited

exclusion order prohibiting the unlicensed importation of wearable electronic devices with ECG

functionality and components thereof that infringe one or more of claims 12, 13, and 19-23 of the

’941 patent and claims 1, 3, 5, 8-10, 12, 15, and 16 of the ’731 patent that are manufactured

abroad by or on behalf of, or imported by or on behalf of, Respondent or any of its affiliated



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companies, parents, subsidiaries, or other related business entities, or their successors or assigns,

and stating that they are excluded from entry for consumption into the United States, entry for

consumption from a foreign trade zone, or withdrawal from a warehouse for consumption, for

the remaining terms of the patents, except under license of the patent owner or as provided by

law, and except for articles or components imported for use in servicing, repairing, or replacing

covered articles that were imported prior to the effective date of this Order pursuant to existing

service and warranty contracts; (2) issue a cease and desist order directing that respondent Apple,

cease and desist from conducting any of the following activities in the United States: importing,

selling, offering for sale, marketing, advertising, distributing, transferring (except for

exportation), soliciting United States agents or distributors, and aiding or abetting other entities

in the importation, sale for importation, sale after importation, transfer (except for exportation),

or distribution of wearable electronic devices with ECG functionality and components thereof

that infringe one or more of claims 12, 13, and 19-23 of the ’941 patent; and claims 1, 3, 5, 8-10,

12, 15, and 16 of the ’731 patent; (3) find that the public interest factors do not preclude the

issuance of the proposed remedial orders; and (4) set a bond in the amount of $2 per unit of

article for infringing products imported during the period of Presidential review. The

Commission, however, has determined to suspend enforcement of the orders, including the bond

provision, pending final resolution of the PTAB’s Final Written Decisions finding the asserted

claims of the ’941, ’731, and ’499 patents unpatentable.

       By order of the Commission.




                                                  Katherine M. Hiner
                                                  Acting Secretary to the Commission
       Issued: January 20, 2023

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              UNITED STATES INTERNATIONAL TRADE COMMISSION
                               Washington, D.C.



  In the Matter of

  CERTAIN WEARABLE ELECTRONIC                               Investigation No. 337-TA-1266
  DEVICES WITH ECG FUNCTIONALITY
  AND COMPONENTS THEREOF


    NOTICE OF THE COMMISSION’S FINAL DETERMINATION FINDING A
  VIOLATION OF SECTION 337; ISSUANCE AND SUSPENSION OF A LIMITED
EXCLUSION ORDER AND A CEASE AND DESIST ORDER; TERMINATION OF THE
                          INVESTIGATION


AGENCY:        U.S. International Trade Commission.

ACTION:        Notice.

SUMMARY: Notice is hereby given that the U.S. International Trade Commission
(“Commission”) has determined that there is a violation of section 337 in the above-captioned
investigation. The Commission has further determined to issue a limited exclusion order and a
cease and desist order and to set a bond in the amount of $2 per unit of covered articles imported
or sold during the period of Presidential review. The enforcement of these orders, including the
bond provision, is suspended pending final resolution of the U.S. Patent and Trademark Office,
Patent Trial and Appeal Board’s (“PTAB”) Final Written Decisions finding the asserted patent
claims unpatentable.

FOR FURTHER INFORMATION CONTACT: Panyin A. Hughes, Office of the General
Counsel, U.S. International Trade Commission, 500 E Street, S.W., Washington, D.C. 20436,
telephone (202) 205-3042. Copies of non-confidential documents filed in connection with this
investigation may be viewed on the Commission’s electronic docket (EDIS) at
https://edis.usitc.gov. For help accessing EDIS, please email EDIS3Help@usitc.gov. General
information concerning the Commission may also be obtained by accessing its Internet server at
https://www.usitc.gov. Hearing-impaired persons are advised that information on this matter can
be obtained by contacting the Commission’s TDD terminal, telephone (202) 205-1810.

SUPPLEMENTARY INFORMATION: On May 26, 2021, the Commission instituted this
investigation based on a complaint filed by AliveCor, Inc. of Mountain View, California
(“AliveCor”). 86 FR 28382 (May 26, 2021). The complaint alleged violations of section 337
based on the importation into the United States, the sale for importation, or the sale within the
United States after importation of certain wearable electronic devices with ECG functionality
and components thereof by reason of infringement of one or more of claims 1-30 of U.S. Patent
No. 10,595,731 (“the ’731 patent”); claims 1-23 of U.S. Patent No. 10,638,941 (“the ’941
patent”); and claims 1-4, 6-14, 16-20 of U.S. Patent No. 9,572,499 (“the ’499 patent”). Id. The




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Commission’s notice of investigation named Apple Inc. of Cupertino, California (“Apple”) as
the sole respondent. The Office of Unfair Import Investigations (“OUII”) is named as a party in
this investigation. Id.

        On February 23, 2022, the ALJ issued an initial determination granting AliveCor’s
motion to terminate the investigation as to (1) claims 1-4, 6-14, and 18-20 of the ’499 patent; (2)
claims 2, 4, 6, 7, 11, 13, 14, and 17-30 of the ’731 patent; and (3) claims 1-11, 14, 15, 17, and 18
of the ’941 patent based upon withdrawal of allegations from the complaint as to those claims.
Order No. 16 (Feb. 23, 2022), unreviewed by Notice (Mar. 18, 2022).

        On June 27, 2022, the ALJ issued the final initial determination (“ID”) finding a violation
of section 337 as to the ’941 and ’731 patents, and no violation of section 337 as to the ’499
patent. The ID found that the parties do not contest personal jurisdiction and that the
Commission has in rem jurisdiction over the accused products. ID at 18. The ID further found
that the importation requirement under 19 U.S.C. 1337(a)(1)(B) is satisfied. Id. (citing CX-
0904C (Apple stipulating that it imports the accused products into the United States)).
Regarding the ’941 patent, the ID found that AliveCor has proven infringement of the asserted
claims, claims 12, 13, 19, and 20-23, and that Apple failed to show that any of the asserted
claims are invalid. Id. at 30-45, 60-98. For the ’731 patent, the ID found that AliveCor has
proven infringement of the asserted claims, claims 1, 3, 5, 8-10, 12, 15, and 16, but that Apple
has proven that claims 1, 8, 12, and 16 are invalid for obviousness. Id. at 105-108, 113-127. For
the ’499 patent, the ID found that AliveCor failed to prove infringement of the asserted claims,
claims 16 and 17, and that claim 17 is invalid for lack of patentable subject matter under 35
U.S.C. 101. Id. at 129-138, 140-152. Finally, the ID found that AliveCor has proven the
existence of a domestic industry that practices the asserted patents as required by 19 U.S.C.
1337(a)(2). Id. at 152-183. The ID included the ALJ’s recommended determination on remedy
and bonding (“RD”). The RD recommended that, should the Commission find a violation,
issuance of a limited exclusion order and a cease and desist order would be appropriate. ID/RD
at 190-193. The RD also recommended imposing no bond for covered products imported during
the period of Presidential review. ID at 193-95.

        On July 11, 2022, Apple filed a petition for review of the ID, and AliveCor filed a
combined petition and contingent petition for review of the ID. On July 19, 2022, the private
parties and OUII’s investigative attorney filed responses to the petitions.

        On September 22, 2022, the Commission determined to review the final ID in part. 87
Fed. Reg. 58819-21 (Sept. 28, 2022). Specifically, the Commission determined to review the
final ID’s invalidity findings, including patent eligibility under 35 U.S.C. 101 and obviousness
under 35 U.S.C. 103, and the economic prong of the domestic industry requirement for all three
patents. Id. The Commission requested briefing from the parties on certain issues under review.
The Commission requested briefing from the parties, interested government agencies, and
interested persons on remedy, the public interest, and bonding. Id.

       On October 6, 2022, the parties filed initial submissions in response to the Commission’s
request for briefing. On October 14, 2022, the parties filed reply submissions. On October 21,



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2022, Apple moved for leave to file a sur-reply to AliveCor’s reply submission. On October 24,
2022, AliveCor filed an opposition. OUII filed a response in opposition on November 2, 2022.

      The Commission has determined to deny Apple’s motion for leave to file a sur-reply to
AliveCor’s reply submission.

        On December 7, 2022, Apple filed an emergency motion, asking “the Commission to
suspend any remedial orders or, in the alternative, extend the December 12, 2022 Target Date of
its Final Determination and stay all proceedings prior to issuance of any Final Determination
pending final resolution of any appeal of the PTAB’s decisions” finding the asserted patent
claims unpatentable. Apple Emergency Motion at 1. On December 9, 2022, AliveCor filed an
opposition to Apple’s motion. On December 16, 2022, OUII filed a response in support of
Apple’s motion, but only to the extent that any remedy the Commission issues be suspended
pending appeal of the PTAB decisions. OUII Reply to Emergency Motion at 4.

        Upon review of the parties’ submissions, the ID, the RD, evidence of record, and public
interest filings, the Commission has determined that Apple violated section 337 by reason of
importation and sale of articles that infringe asserted claims 12, 13, and 19-23 of the ’941 patent;
and claims 1, 3, 5, 8-10, 12, 15, and 16 of the ’731 patent. Regarding the issues under review,
the Commission has determined to affirm the ID’s economic prong of the domestic industry
findings with the modifications described in the accompanying Commission opinion.
Concerning invalidity, the Commission has determined to affirm the ID’s patent eligibility
findings under 35 U.S.C. 101 as to one claim with modifications explained in the Commission
opinion and reverse as to another; and to correct the ID for not considering objective indicia of
non-obviousness for certain asserted claims. For remedy, the Commission has determined to
issue a limited exclusion order prohibiting further importation of infringing products and a cease
and desist order against Apple. The Commission has determined that the public interest factors
do not counsel against issuing remedial orders. The Commission has determined that a bond in
the amount of $2 per unit of covered articles is required for covered products imported or sold
during the period of Presidential review.

        The enforcement of these orders, including the bond provision, is suspended pending
final resolution of the PTAB’s Final Written Decisions finding the asserted patent claims
unpatentable. See 35 U.S.C. 318(b); Apple, Inc. v. AliveCor, Inc., IPR2021-00971, Patent
10,595,731, Final Written Decision Determining All Challenged Claims Unpatentable (Dec. 6,
2022); Apple, Inc. v. AliveCor, Inc., IPR2021-00972, Patent 10,638,941, Final Written Decision
Determining All Challenged Claims Unpatentable (Dec. 6, 2022).

       The Commission’s vote on this determination took place on December 22, 2022.

        The authority for the Commission’s determination is contained in section 337 of the
Tariff Act of 1930, as amended (19 U.S.C. 1337), and in part 210 of the Commission’s Rules of




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Practice and Procedure (19 CFR 210).


       By order of the Commission.




                                             Katherine M. Hiner
                                             Acting Secretary to the Commission
     Issued: December 22, 2022




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              UNITED STATES INTERNATIONAL TRADE COMMISSION
                               Washington, D.C.



  In the Matter of

  CERTAIN WEARABLE ELECTRONIC                               Investigation No. 337-TA-1266
  DEVICES WITH ECG FUNCTIONALITY
  AND COMPONENTS THEREOF


  NOTICE OF A COMMISSION DETERMINATION TO REVIEW IN PART A FINAL
 INITIAL DETERMINATION FINDING A VIOLATION OF SECTION 337; REQUEST
    FOR WRITTEN SUBMISSIONS ON THE ISSUES UNDER REVIEW AND ON
    REMEDY, THE PUBLIC INTEREST, AND BONDING; EXTENSION OF THE
                           TARGET DATE


AGENCY:        U.S. International Trade Commission.

ACTION:        Notice.

SUMMARY: Notice is hereby given that the U.S. International Trade Commission
(“Commission”) has determined to review in part a final initial determination (“ID”) of the
presiding administrative law judge (“ALJ”), finding a violation of section 337 as to two of the
three asserted patents. The Commission requests written submissions from the parties on the
issues under review and from the parties, interested government agencies, and other interested
persons on the issues of remedy, the public interest, and bonding, under the schedule set forth
below.

FOR FURTHER INFORMATION CONTACT: Panyin A. Hughes, Office of the General
Counsel, U.S. International Trade Commission, 500 E Street, S.W., Washington, D.C. 20436,
telephone (202) 205-3042. Copies of non-confidential documents filed in connection with this
investigation may be viewed on the Commission’s electronic docket (EDIS) at
https://edis.usitc.gov. For help accessing EDIS, please email EDIS3Help@usitc.gov. General
information concerning the Commission may also be obtained by accessing its Internet server at
https://www.usitc.gov. Hearing-impaired persons are advised that information on this matter can
be obtained by contacting the Commission’s TDD terminal, telephone (202) 205-1810.

SUPPLEMENTARY INFORMATION: On May 26, 2021, the Commission instituted this
investigation based on a complaint filed by AliveCor, Inc. of Mountain View, California
(“AliveCor”). 86 FR 28382 (May 26, 2021). The complaint alleged violations of section 337
based on the importation into the United States, the sale for importation, or the sale within the
United States after importation of certain wearable electronic devices with ECG functionality
and components thereof by reason of infringement of one or more of claims 1-30 of U.S. Patent
No. 10,595,731 (“the ’731 patent”); claims 1-23 of U.S. Patent No. 10,638,941 (“the ’941
patent”); and claims 1-4, 6-14, 16-20 of U.S. Patent No. 9,572,499 (“the ’499 patent”). Id. The




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 Commission’s notice of investigation named Apple Inc. of Cupertino, California (“Apple”) as
 the sole respondent. The Office of Unfair Import Investigations (“OUII”) is named as a party in
 this investigation. Id.

         On February 23, 2022, the ALJ issued an initial determination granting AliveCor’s
 motion to terminate the investigation as to (1) claims 1-4, 6-14, and 18-20 of the ’499 patent;
 (2) claims 2, 4, 6, 7, 11, 13, 14, and 17-30 of the ’731 patent; and (3) claims 1-11, 14, 15, 17, and
 18 of the ’941 patent based upon withdrawal of allegations from the complaint as to those
 claims. Order No. 16 (Feb. 23, 2022), unreviewed by Notice (Mar. 18, 2022).

          On June 27, 2022, the ALJ issued the final initial determination (“ID”) finding a violation
 of section 337 as to the ’941 and ’731 patents, and no violation of section 337 as to the ’499
 patent. 1 The ID found that the parties do not contest personal jurisdiction, and that the
 Commission has in rem jurisdiction over the accused products. ID at 18. The ID further found
 that the importation requirement under 19 U.S.C. 1337(a)(1)(B) is satisfied. Id. (citing CX-
 0904C (Apple stipulating that it imports the accused products into the United States)).
 Regarding the ’941 patent, the ID found that AliveCor has proven infringement of the asserted
 claims, claims 12, 13, 19, and 20-23, and that Apple failed to show that any of the asserted
 claims are invalid. Id. at 30-45, 60-98. For the ’731 patent, the ID found that AliveCor has
 proven infringement of the asserted claims, claims 1, 3, 5, 8-10, 12, 15, and 16, but that Apple
 has proven that claims 1, 8, 12, and 16 are invalid for obviousness. Id. at 105-108, 113-127. For
 the ’499 patent, the ID found that AliveCor failed to prove infringement of the asserted claims,
 claims 16 and 17, and that claim 17 is invalid for lack of patentable subject matter under 35
 U.S.C. 101. Id. at 129-138, 140-152. Finally, the ID found that AliveCor has proven the
 existence of a domestic industry that practices the asserted patents as required by 19 U.S.C.
 1337(a)(2). Id. at 152-183. The ID included the ALJ’s recommended determination on remedy
 and bonding (“RD”). The RD recommended that, should the Commission find a violation,
 issuance of a limited exclusion order and cease and desist orders would be appropriate. ID/RD at
 190-193. The RD also recommended imposing no bond for covered products imported during
 the period of Presidential review. ID at 193-95.

         On July 11, 2022, Apple filed a petition for review of the ID, and AliveCor filed a
 combined petition and contingent petition for review of the ID. On July 19, 2022, the private
 parties and OUII’s investigative attorney filed responses to the petitions.

         Having reviewed the record of the investigation, including the final ID, the parties’
submissions to the ALJ, the petitions for review, and the responses thereto, the Commission has
determined to review the ID in part. Specifically, the Commission has determined to review the
final ID’s invalidity findings, including patent eligibility under 35 U.S.C. 101 and obviousness
under 35 U.S.C. 103, and the economic prong of the domestic industry requirement.

        In connection with its review, the Commission requests responses from the parties to the
following questions. The parties are requested to brief their positions with reference to the
applicable law and the existing evidentiary record.


 1
     The ALJ issued a corrected final ID on July 26, 2022, correcting the table of contents.

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       (1) Discuss whether the record evidence of “industry praise” and “copying” is sufficient
           to establish the requisite objective indicia of non-obviousness. See Graham v. John
           Deere Co. of Kansas City, 383 U.S. 1, 17-18 (1966).
       (2) Please explain whether and how the Complainant’s investments credited by the ID
           under subsection 337(a)(3)(B) are quantitatively and qualitatively significant.
       (3) Please explain whether and how the Complainant’s employment of labor in research
           and development in the exploitation of the patents under subsection 337(a)(3)(C) are
           quantitatively and qualitatively substantial. Please state whether the R&D contract
           labor amount credited by the ID under subsection 337(a)(3)(C) includes foreign
           contract labor and, if so, please quantify such included amounts.
       (4) What is the factual and legal basis for crediting Complainant’s investments in the
           KBP and PRD products toward satisfaction of the domestic industry requirement
           under subsection (C)?

The parties are invited to brief only these discrete questions. The parties are not to brief other
issues on review, which are adequately presented in the parties’ existing filings.

        In connection with the final disposition of this investigation, the statute authorizes
issuance of, inter alia, (1) an exclusion order that could result in the exclusion of the subject
articles from entry into the United States; and/or (2) cease and desist orders that could result in
the respondent being required to cease and desist from engaging in unfair acts in the importation
and sale of such articles. Accordingly, the Commission is interested in receiving written
submissions that address the form of remedy, if any, that should be ordered. If a party seeks
exclusion of an article from entry into the United States for purposes other than entry for
consumption, the party should so indicate and provide information establishing that activities
involving other types of entry either are adversely affecting it or likely to do so. For background,
see Certain Devices for Connecting Computers via Telephone Lines, Inv. No. 337-TA-360,
USITC Pub. No. 2843, Comm’n Op. at 7-10 (Dec. 1994).

        The statute requires the Commission to consider the effects of that remedy upon the
public interest. The public interest factors the Commission will consider include the effect that
an exclusion order and cease and desist orders would have on: (1) the public health and welfare,
(2) competitive conditions in the U.S. economy, (3) U.S. production of articles that are like or
directly competitive with those that are subject to investigation, and (4) U.S. consumers. The
Commission is therefore interested in receiving written submissions that address the
aforementioned public interest factors in the context of this investigation. In particular, the
Commission requests that the parties, interested government agencies, and interested persons
respond to the following:

       (1) Please provide information and argument that responds to the statements on the
           public interest submitted on the public record by the parties and the various third
           parties.
       (2) Please provide data and factual information that specifically addresses whether and to
           what extent each of the four public interest factors would be adversely impacted by
           the remedial orders recommended in the RD, including details regarding the extent to
           which alternatives to the infringing products would be available to replace the
           infringing products and address the public health and welfare concerns raised.

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        If the Commission orders some form of remedy, the U.S. Trade Representative, as
delegated by the President, has 60 days to approve, disapprove, or take no action on the
Commission’s determination. See Presidential Memorandum of July 21, 2005, 70 FR 43251
(July 26, 2005). During this period, the subject articles would be entitled to enter the United
States under bond, in an amount determined by the Commission and prescribed by the Secretary
of the Treasury. The Commission is therefore interested in receiving submissions concerning the
amount of the bond that should be imposed if a remedy is ordered.

WRITTEN SUBMISSIONS: The parties to the investigation are requested to file written
submissions on the questions identified in this notice. Parties to the investigation, interested
government agencies, and any other interested parties are encouraged to file written submissions
on the issues of remedy, the public interest, and bonding and to provide factual information and
data requested above with respect to the public interest, including responding to the submissions
of the parties and third parties that are in the record of this investigation. Such submissions
should address the recommended determination by the ALJ on remedy and bonding.

        In its initial submission, Complainant is also requested to identify the remedy sought and
Complainant and OUII are requested to submit proposed remedial orders for the Commission’s
consideration. Complainant is further requested to provide the HTSUS subheadings under which
the accused products are imported, and to supply the identification information for all known
importers of the products at issue in this investigation. The initial written submissions and
proposed remedial orders must be filed no later than close of business on October 6, 2022.
Reply submissions must be filed no later than the close of business on October 13, 2022. No
further submissions on these issues will be permitted unless otherwise ordered by the
Commission. Opening submissions are limited to 75 pages. Reply submissions are limited to 50
pages. No further submissions on any of these issues will be permitted unless otherwise ordered
by the Commission.

        Persons filing written submissions must file the original document electronically on or
before the deadlines stated above. The Commission’s paper filing requirements in 19 CFR
210.4(f) are currently waived. 85 FR 15798 (March 19, 2020). Submissions should refer to the
investigation number (Inv. No. 337-TA-1266) in a prominent place on the cover page and/or the
first page. (See Handbook for Electronic Filing Procedures,
https://www.usitc.gov/documents/handbook_on_filing_procedures.pdf). Persons with questions
regarding filing should contact the Secretary, (202) 205-2000.

        Any person desiring to submit a document to the Commission in confidence must request
confidential treatment by marking each document with a header indicating that the document
contains confidential information. This marking will be deemed to satisfy the request procedure
set forth in Rules 201.6(b) and 210.5(e)(2) (19 CFR 201.6(b) & 210.5(e)(2)). Documents for
which confidential treatment by the Commission is properly sought will be treated accordingly.
Any non-party wishing to submit comments containing confidential information must serve
those comments on the parties to the investigation pursuant to the applicable Administrative
Protective Order. A redacted non-confidential version of the document must also be filed with
the Commission and served on any parties to the investigation within two business days of any
confidential filing. All information, including confidential business information and documents


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for which confidential treatment is properly sought, submitted to the Commission for purposes of
this investigation may be disclosed to and used: (i) by the Commission, its employees and
Offices, and contract personnel (a) for developing or maintaining the records of this or a related
proceeding, or (b) in internal investigations, audits, reviews, and evaluations relating to the
programs, personnel, and operations of the Commission including under 5 U.S.C. Appendix 3; or
(ii) by U.S. government employees and contract personnel, solely for cybersecurity purposes.
All contract personnel will sign appropriate nondisclosure agreements. All nonconfidential
written submissions will be available for public inspection on EDIS.

       The Commission has determined to extend the target date to December 12, 2022.

       The Commission vote for this determination took place on September 22, 2022.

        The authority for the Commission’s determination is contained in section 337 of the
Tariff Act of 1930, as amended (19 U.S.C. 1337), and in Part 210 of the Commission’s Rules of
Practice and Procedure (19 CFR Part 210).

       By order of the Commission.




                                             Katherine M. Hiner
                                             Acting Secretary to the Commission


Issued: September 22, 2022




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             UNITED STATES INTERNATIONAL TRADE COMMISSION

                                      Washington, D.C.



  In the Matter of

  CERTAIN WEARABLE ELECTRONIC                               Inv. No. 337-TA-1266
  DEVICES WITH ECG FUNCTIONALITY
  AND COMPONENTS THEREOF




[CORRECTED] INITIAL DETERMINATION ON VIOLATION OF SECTION 337 AND
       RECOMMENDED DETERMINATION ON REMEDY AND BOND

                          Administrative Law Judge Cameron Elliot

                                       (June 27, 2022)



       Pursuant to the Notice of Investigation and Rule 210.42(a) of the Rules of Practice and

Procedure of the United States International Trade Commission, this is my Initial Determination

in the matter of Certain Wearable Electronic Devices with ECG Functionality and Components

Thereof, Investigation No. 337-TA-1266.




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                           TABLE OF ABBREVIATIONS


CDX               Complainant’s Demonstrative Exhibit

CIB               Complainant’s Revised Initial Post-Hearing Brief

CPB               Complainant’s Pre-Hearing Brief

CPX               Complainant’s Physical Exhibit

CRB               Complainant’s Reply Post-Hearing Brief

CX                Complainant’s Exhibit

Hr’g Tr.          Hearing Transcript

JX                Joint Exhibit

RDX               Respondents’ Demonstrative Exhibit

RIB               Respondents’ Initial Post-Hearing Brief

RPB               Respondents’ Pre-Hearing Brief

RPX               Respondents’ Physical Exhibit

RRB               Respondents’ Reply Post-Hearing Brief

RX                Respondents’ Exhibit

SDX               Staff’s Demonstrative Exhibit

SIB               Staff’s Initial Post-Hearing Brief

SPB               Staff’s Pre-Hearing Brief

SRB               Staff’s Reply Post-Hearing Brief

SX                Staff’s Exhibit




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I.     INTRODUCTION

       A.      Procedural Background

       Complainant AliveCor, Inc. (“AliveCor,” “ALC,” or “Complainant”) filed the complaint

underlying this investigation on April 20, 2021. The complaint alleged respondent Apple Inc.

(“Apple” or “Respondent”) imports or sells in connection with an importation certain wearable

electronic devices with electrocardiogram (“ECG”) functionality that infringe one or more claims

of U.S. Patent Nos. 10,595,731 (“the 731 patent”), 10,638,941 (“the 941 patent”), and 9,572,499

(“the 499 patent”) (together, the “Asserted Patents”).

       By publication of a notice in the Federal Register on May 26, 2021, the U.S. International

Trade Commission ordered that:

       Pursuant to subsection (b) of section 337 of the Tariff Act of 1930, as amended, an
       investigation be instituted to determine whether there is a violation of subsection
       (a)(1)(B) of section 337 in the importation into the United States, the sale for
       importation, or the sale within the United States after importation of products
       identified in paragraph (2) by reason of infringement of one or more of claims 1-30
       of the ’731 patent; claims 1-23 of the ’941 patent; claims 1-4, 6-14, 16-20 of the
       ’499 patent, and whether an industry in the United States exists or is in the process
       of being established as required by subsection (a)(2) of section 337[.]

86 Fed. Reg. 28382 (May 26, 2021). In addition to Apple, the Commission named the Office of

Unfair Import Investigations as a party (hereafter, “Commission Investigative Staff” or “Staff”).

Id.

       On June 10, 2021, I set a target date of October 26, 2022 for completion of this investigation

via initial determination. Order No. 4. Also on June 10, 2021, I set a Markman hearing date of

October 26-27, 2021 and the evidentiary hearing for March 28 through April 1, 2022. Order No.

5. On October 15, 2021, the Markman hearing was cancelled (Order No. 11), with the parties’

disputes resolved on the papers on November 4, 2021 (Order No. 12).




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       With respect to the asserted claims, on February 22, 2022, ALC moved (1266-010) to

terminate claims 1-4, 6-14, and 18-20 of the 499 patent; claims 2, 4, 6, 7, 11, 13, 14, and 17-30 of

the 731 patent; and claims 1-11, 14, 15, 17, and 18 of the 941 patent, all by reason of withdrawal.

This motion was granted via initial determination on February 23, 2022. Order No. 16. On March

18, 2022, the Commission determined not to review Order No. 16. EDIS Doc. ID 765832.

       Finally, a virtual evidentiary hearing using the Commission’s videoconference software

took place on March 28 through April 1, 2022. At the pre-hearing conference, Apple’s motion to

amend its witness list as contained within its pre-hearing statement (1266-028) was denied. Hr’g

Tr. at 15:19-21. Pursuant to the procedural schedule, the parties submitted initial and reply post-

hearing briefs on April 15, 2022 and April 29, 2022, respectively. On April 27, 2022, ALC moved

(1266-30) for leave to file a corrected version of its initial post-hearing brief, which was granted

on April 28, 2022. Order No. 30. As of the date of this initial determination, no motions remain

pending.

       B.      The Parties

       Complainant ALC is a U.S. corporation organized in Delaware and with a principal place

of business in Mountain View, CA. CIB at 4. ALC was founded in 2011 and develops

computerized devices for mobile health monitoring. Id.

       Respondent Apple is a U.S. corporation organized in California and with a principal place

of business in Cupertino, CA. RIB at 2. “Apple designs, manufactures, and markets smartphones,

personal computers, tablets, wearables and accessories—including the Apple Watch Series 1-7

and SE.” Id. at 2-3.




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       C.      The Asserted Patents and Claims

       The 941 patent, entitled “Discordance Monitoring,” issued on May 5, 2020 to David Albert,

Omar Dawood, and Ravi Gopalakrishnan. JX-0003 (cited as “941 patent”). The 941 patent reports

an assignment on its face to AliveCor, and claims priority to a provisional application filed on May

13, 2015.

       The 731 patent, entitled “Methods and Systems for Arrhythmia Tracking and Scoring,”

issued on March 24, 2020 to Ravi Gopalakrishnan, Lev Korzinov, Fei Wang, Euan Thomson,

Nupur Srivastava, Omar Dawood, Iman Abuzeid, and David Albert. JX-0002 (cited as “731

patent”). The 731 patent reports an assignment on its face to AliveCor, and claims priority to a

provisional application filed on December 12, 2013.

       The 499 patent, also entitled “Methods and Systems for Arrhythmia Tracking and

Scoring,” issued on February 21, 2017 to Ravi Gopalakrishnan, Lev Korzinov, Fei Wang, Euan

Thomson, Nupur Srivastava, Omar Dawood, Iman Abuzeid, and David Albert. JX-0001 (cited as

“499 patent”). The 499 patent reports an assignment on its face to AliveCor, and claims priority

to a provisional application filed on June 19, 2014.

       The three patents in suit relate to systems, devices, and methods for monitoring cardiac

health and managing cardiac disease. See 941 patent at 1:26-33; 731 patent at 1:29-33. The

specific cardiac condition addressed by all the asserted claims is arrhythmia, or abnormal heart

rhythm. See 941 patent at 4:9-10; 499 patent at cl. 1 (preamble). The devices recited in the claims,

including in the method claims, are either a smartwatch (for the 941 and 731 patents) or a mobile

computing device (for the 499 patent). The smartwatch claims require an electrocardiogram

(ECG) sensor and at least one other sensor. See, e.g., 941 patent at cl. 1; 731 patent at cl. 25. For

most asserted smartwatch claims one of the other sensors is a photoplethysmogram (PPG) sensor,




                                                 3

                                            Appx109
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ECG sensor.” Id. The KardiaBand System (“KBS”) comprises the KardiaBand watch band, and

an Apple Watch (Series 1, 2, 3) with Watch OS 5.0 or earlier running a program called KardiaApp.

Id. (citing Hr’g Tr. (Jafari) at 385:16-386:15). There are two important features to KardiaApp—

KardiaAI and SmartRhythm (versions 1 and 2).             KardiaAI represents ALC’s proprietary

algorithms to classify ECG recordings. Id. at 16 (citing Hr’g Tr. (Somayajula) at 196:17-197:14;

CX-0271C at 1, 3, 5; CPX-0021C).




               2.      Accused Products

       The accused products consist of four generations of Apple smartwatches. CIB at 7. ALC

references a joint stipulation filed earlier in the investigation which collects the particular model

numbers. These are reproduced below:


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        been sedentary for a period of at least 10 minutes. Tr. (Jafari) 306:19-307:15; JX-
        221C (Waydo) at 289:24-290:20.

        (b) The IRN Feature monitors a user’s heart activity in the background using the
        PPG sensor—initiating measurement opportunities approximately every 2 hours
        when the user is sedentary—and determines whether the user’s heart rate variability
        (i.e., the instantaneous beat-to-beat variance in the user’s heart rate) (hereafter
        “HRV”) shows signs of an irregular rhythm suggestive of AFib. Tr. (Jafari) at
        311:11-21; JX-218C (Framhein) at 97:22-98:23; CX-0048C.8-10, 87 (IRN Design
        Specification); CX-0619 (Using Apple Watch of Arrhythmia Detection); CX-0080
        (IRN FDA Clearance)

        (c) The ECG App records a 30-second ECG from the user when the user wears the
        watch and initiates contact with the digital crown using the opposing hand, and the
        representative ECG 2.0 App will attempt to classify the user’s ECG as (inter alia)
        normal sinus rhythm, AFib, AFib with high heart rate, or high heart rate. Tr. (Jafari)
        at 321:20-322:11; CX-51C.5, 8, 65 (ECG 2.0 Specification); CX-0619; CX-0640C
        (ECG 2.0 510(k) clearance).

CIB at 9. Apple adds that HHRN uses a feature called Background Heart Rate (“BGHR”) “to

monitor whether the user’s heart rate is above or below the user-set threshold.” RIB at 10 (citing

Hr’g Tr. (Waydo) at 751:12-24). According to Apple, IRN also uses BGHR to collect heart rate

data,                                                   , and ECG is unlike either HHRN or IRN in

that it is not continuously running, but “requires the user to affirmatively open the ECG App.” See

id. at 11-13.

II.     STANDARDS OF LAW

        A.      Standing

        Commission Rule 210.12 states in relevant part “[f]or every intellectual property based

complaint (regardless of the type of intellectual property involved), [the complaint must] include

a showing that at least one complainant is the owner or exclusive licensee of the subject intellectual

property.” 19 C.F.R. § 210.12(a)(7). In determining whether this rule is met, the Commission

looks to the standing requirement used by courts in patent infringement cases. Certain Audio




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Processing Hardware, Software, and Products Containing the Same, Inv. No. 337-TA-1026,

Comm’n Op. at 9 (April 18, 2018) (citations omitted).

          B.       Claim Construction

          “The construction of claims is simply a way of elaborating the normally terse claim

language in order to understand and explain, but not to change, the scope of the claims.” Embrex,

Inc. v. Serv. Eng'g Corp., 216 F.3d 1343, 1347 (Fed. Cir. 2000). Although most of the disputed

claim terms were construed in an earlier order, some of the issues presented below are only

resolvable with additional claim construction.

          Claim construction focuses on the intrinsic evidence, which consists of the claims

themselves, the specification, and the prosecution history. See Phillips v. AWH Corp., 415 F.3d

1303, 1314 (Fed. Cir. 2005) (en banc); see also Markman v. Westview Instr., Inc., 52 F.3d 967,

979 (Fed. Cir. 1995) (en banc). As the Federal Circuit in Phillips explained, courts must analyze

each of these components to determine the “ordinary and customary meaning of a claim term” as

understood by a person of ordinary skill in art at the time of the invention. 415 F.3d at 1313.

“Such intrinsic evidence is the most significant source of the legally operative meaning of disputed

claim language.” Bell Atl. Network Servs., Inc. v. Covad Commc'ns Grp., Inc., 262 F.3d 1258,

1267 (Fed. Cir. 2001).

          “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

which the patentee is entitled the right to exclude.”’          Phillips, 415 F.3d at 1312 (quoting

Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed. Cir.

2004)).        “Quite apart from the written description and the prosecution history, the claims

themselves provide substantial guidance as to the meaning” of particular claim terms. Id. at 1314;

see Interactive Gift Express, Inc. v. Compuserve Inc., 256 F.3d 1323, 1331 (Fed. Cir. 2001) (“In




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construing claims, the analytical focus must begin and remain centered on the language of the

claims themselves, for it is that language that the patentee chose to use to ‘particularly point [ ] out

and distinctly claim [ ] the subject matter which the patentee regards as his invention.”). The

context in which a term is used in an asserted claim can be “highly instructive.” Phillips, 415 F.3d

at 1314. Additionally, other claims in the same patent, asserted or unasserted, may also provide

guidance as to the meaning of a claim term. Id. “Courts do not rewrite claims; instead, we give

effect to the terms chosen by the patentee.” K-2 Corp. v. Salomon S.A., 191 F.3d 1356, 1364 (Fed.

Cir. 1999). “[T]he specification ‘is always highly relevant to the claim construction analysis.

Usually it is dispositive; it is the single best guide to the meaning of a disputed term.’” Phillips,

415 F.3d at 1315 (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir.

1996)). “[T]he specification may reveal a special definition given to a claim term by the patentee

that differs from the meaning it would otherwise possess. In such cases, the inventor’s

lexicography governs.” Id. at 1316.

        In addition to the claims and the specification, the prosecution history should be examined,

if in evidence. Phillips, 415 F.3d at 1317; see Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898,

913 (Fed. Cir. 2004). The prosecution history can “often inform the meaning of the claim language

by demonstrating how the inventor understood the invention and whether the inventor limited the

invention in the course of prosecution, making the claim scope narrower than it would otherwise

be.” Phillips, 415 F.3d at 1317; see Chimie v. PPG Indus. Inc., 402 F.3d 1371, 1384 (Fed. Cir.

2005) (“The purpose of consulting the prosecution history in construing a claim is to exclude any

interpretation that was disclaimed during prosecution.”).

        When the intrinsic evidence does not establish the meaning of a claim, then extrinsic

evidence (i.e., all evidence external to the patent and the prosecution history, including




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dictionaries, inventor testimony, expert testimony, and learned treatises) may be considered.

Phillips, 415 F.3d at 1317. Extrinsic evidence is generally viewed as less reliable than the patent

itself and its prosecution history in determining how to define claim terms. Id. “The court may

receive extrinsic evidence to educate itself about the invention and the relevant technology, but the

court may not use extrinsic evidence to arrive at a claim construction that is clearly at odds with

the construction mandated by the intrinsic evidence.” Elkay Mfg. Co. v. Ebco Mfg. Co., 192 F.3d

973, 977 (Fed. Cir. 1999).

       The construction of a claim term is generally guided by its ordinary meaning. However,

courts may deviate from the ordinary meaning when: (1) “the intrinsic evidence shows that the

patentee distinguished that term from prior art on the basis of a particular embodiment, expressly

disclaimed subject matter, or described a particular embodiment as important to the invention;” or

(2) “the patentee acted as his own lexicographer and clearly set forth a definition of the disputed

claim term in either the specification or prosecution history.” Edwards Lifesciences LLC v. Cook

Inc., 582 F.3d 1322, 1329 (Fed. Cir. 2009); see GE Lighting Sols., LLC v. AgiLight, Inc., 750 F.3d

1304, 1309 (Fed. Cir. 2014) (“the specification and prosecution history only compel departure

from the plain meaning in two instances: lexicography and disavowal.”); Omega Eng’g, Inc, v.

Raytek Corp., 334 F.3d 1314, 1324 (Fed. Cir. 2003) (“[W]here the patentee has unequivocally

disavowed a certain meaning to obtain his patent, the doctrine of prosecution disclaimer attaches

and narrows the ordinary meaning of the claim congruent with the scope of the surrender.”); Rheox,

Inc. v. Entact, Inc., 276 F.3d 1319, 1325 (Fed. Cir. 2002) (“The prosecution history limits the

interpretation of claim terms so as to exclude any interpretation that was disclaimed during

prosecution.”). Nevertheless, there is a “heavy presumption that a claim term carries its ordinary

and customary meaning.” CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359, 1366 (Fed. Cir.




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2002) (citations omitted). The standard for deviating from the plain and ordinary meaning is

“exacting” and requires “a clear and unmistakable disclaimer.” Thorner v. Sony Computer Entm’t

Am. LLC, 669 F.3d 1362, 1366-67 (Fed. Cir. 2012); see Epistar Corp. v. Int’l Trade Comm’n, 566

F.3d 1321, 1334 (Fed. Cir. 2009) (requiring “expressions of manifest exclusion or restriction,

representing a clear disavowal of claim scope” to deviate from the ordinary meaning) (citation

omitted).

       C.      Infringement

       “An infringement analysis entails two steps. The first step is determining the meaning and

scope of the patent claims asserted to be infringed. The second step is comparing the properly

construed claims to the device accused of infringing.” Markman, 52 F.3d at 976. A patentee may

prove infringement either literally or under the doctrine of equivalents. Infringement of either sort

must be proven by a preponderance of the evidence. SmithKline Diagnostics, Inc. v. Helena Labs.

Corp., 859 F.2d 878, 889 (Fed. Cir. 1988). A preponderance of the evidence standard “requires

proving that infringement was more likely than not to have occurred.” Warner-Lambert Co. v.

Teva Pharm. USA, Inc., 418 F.3d 1326, 1341 n.15 (Fed. Cir. 2005).

       Literal infringement is a question of fact. Finisar Corp. v. DirecTV Group, Inc., 523 F.3d

1323, 1332 (Fed. Cir. 2008). “To establish literal infringement, every limitation set forth in a claim

must be found in an accused product, exactly.” Microsoft Corp. v. GeoTag, Inc., 817 F.3d 1305,

1313 (Fed. Cir. 2016) (quoting Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d 1570, 1575

(Fed. Cir. 1995). If any claim limitation is absent, there is no literal infringement of that claim as

a matter of law. Bayer AG v. Elan Pharm. Research Corp., 212 F.3d 1241, 1247 (Fed. Cir. 2000).

       Doctrine of equivalents is also a form of infringement. One rubric for evaluating if a

claimed feature is not literally, but nonetheless equivalent to, a claimed feature is known as the




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function-way-result test. Under this test, the accused feature is equivalent to the claim limitation

when “it performs substantially the same function in substantially the same way to obtain the same

result.” Duncan Parking Techs., Inc. v. IPS Grp., Inc., 914 F.3d 1347, 1362 (Fed. Cir. 2019)

(quoting Graver Tank & Mfg. Co. v. Linde Air Prods. Co., 339 U.S. 605, 608 (1950)). Another is

known as the insubstantial differences test, where “[a]n element in the accused device is equivalent

to a claim limitation if the only differences between the two are insubstantial.” Voda v. Gordia

Corp., 536 F.3d 1311, 1326 (Fed. Cir. 2008) (citing Honeywell Int’l Inc. v. Hamilton Sundstrand

Corp., 370 F.3d 1131, 1139 (Fed. Cir. 2004)). The Supreme Court has further instructed, “the

proper time for evaluating equivalency . . . is at the time of infringement, not at the time the patent

was issued.” Warner-Jenkinson Co., Inc. v. Hilton Davis Chem. Co., 520 U.S. 17, 37 (1997).

       D.      Domestic Industry

       In an investigation based on a claim of patent infringement, section 337 requires that an

industry in the United States, relating to the articles protected by the patent, exist or be in the

process of being established. 19 U.S.C. § 1337(a)(2). Under Commission precedent, the domestic

industry requirement has been divided into (i) a “technical prong” (which requires articles covered

by the asserted patent) and (ii) an “economic prong” (which requires certain levels of activity with

respect to the protected articles or patent itself). See Certain Video Game Systems and Controllers,

Inv. No. 337-TA-743, Comm’n Op. at 6-7 (April 14, 2011) (“Video Game Systems”).

               1.      Technical Prong

       The technical prong of the domestic industry requirement is satisfied when the complainant

in a patent-based section 337 investigation establishes that it is practicing or exploiting the patents

at issue. See 19 U.S.C. §§ 1337 (a)(2), (3); Certain Microsphere Adhesives, Process for Making

Same and Prods. Containing Same, Including Self-Stick Repositionable Notes, Inv. No. 337-TA-

366, Comm’n Op. at 8 (U.S.I.T.C. Jan. 16, 1996). “In order to satisfy the technical prong of the


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domestic industry requirement, it is sufficient to show that the domestic industry practices any

claim of that patent, not necessarily an asserted claim of that patent.” Certain Ammonium

Octamolybdate Isomers, Inv. No. 337-TA-477, Comm’n Op. at 55 (U.S.I.T.C. Aug. 28, 2003).

Historically, the Commission permits the complainant’s products, and those of its licensees, to be

considered for technical prong purposes. See Certain Magnetic Tape Cartridges and Components

Thereof, Inv. No. 337-TA-1058, Comm’n Op. at 28-29 (April 9, 2019).

       The test for claim coverage for the purposes of the technical prong of the domestic industry

requirement is the same as that for infringement. See Certain Doxorubicin and Preparations

Containing Same, Inv. No. 337-TA-300, Initial Determination at 109 (U.S.I.T.C. May 21, 1990),

aff’d, Views of the Commission at 22 (U.S.I.T.C. Oct. 31, 1990); Alloc, Inc. v. Int’l Trade Comm’n,

342 F.3d 1361, 1375 (Fed. Cir. 2003). “First, the claims of the patent are construed. Second, the

complainant’s article or process is examined to determine whether it falls within the scope of the

claims.” Certain Doxorubicin and Preparations Containing Same, Inv. No. 337-TA-300, Initial

Determination at 109. As with infringement, the technical prong of the domestic industry can be

satisfied either literally or under the doctrine of equivalents. Certain Dynamic Sequential Gradient

Devices and Component Parts Thereof, Inv. No. 337-TA-335, ID at 44, Pub. No. 2575 (U.S.I.T.C.

May 15, 1992). In short, the patentee must establish by a preponderance of the evidence that the

domestic product practices one or more claims of the patent.

               2.      Economic Prong

       The “economic prong” of the domestic industry requirement is satisfied when there exists

in the United States, in connection with products practicing at least one claim of the patent at issue:

(A) significant investment in plant and equipment; (B) significant employment of labor or capital;

or (C) substantial investment in its exploitation, including engineering, research and development,

and licensing. 19 U.S.C. § 1337(a)(3). Establishment of the “economic prong” is not dependent


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on any “minimum monetary expenditure” and there is no need for complainant “to define the

industry itself in absolute mathematical terms.” Certain Stringed Musical Instruments and

Components Thereof, Inv. No. 337-TA-586, Comm’n Op. at 25-26 (May 16, 2008) (“Stringed

Instruments”).

       However, a complainant must substantiate the significance of its activities with respect to

the articles protected by the patent. Certain Printing and Imaging Devices and Components

Thereof, Inv. No. 337-TA-690, Comm’n Op. at 30 (Feb. 17, 2011) (“Imaging Devices”). A

complainant can show that its activities are significant by showing how those activities are

important to the articles protected by the patent in the context of the company’s operations, the

marketplace, or the industry in question. Id. at 27-28. That significance, however, must be shown

in a quantitative context. Lelo Inc. v. Int’l Trade Comm’n, 786 F.3d 879, 886 (Fed. Cir. 2015).

The Federal Circuit noted that when the ITC first addressed this requirement, it found the word

“‘significant’ denoted ‘an assessment of the relative importance of the domestic activities.’” Id.

at 883-4 (internal citation omitted) (emphasis added). In general, “[t]he purpose of the domestic

industry requirement is to prevent the ITC from becoming a forum for resolving disputes brought

by foreign complainants whose only connection with the United States is ownership of a U.S.

patent.” Certain Battery-Powered Ride-On Toy Vehicles, Inv. No. 337-TA-314, USITC Pub. No.

2420, Initial Determination at 21 (Aug. 1991); see Certain Vacuum Insulated Flasks and

Components Thereof, Inv. No. 337-TA-1216, Notice at 3-4 (Oct. 21, 2021) (“Given the nature and

extent of [complainant’s] investments in plant and equipment as a whole, [complainant] is not a

mere importer.”).

       Moreover, otherwise qualifying investments must not be aggregated across products that

practice different patents, or practice no asserted patents at all. Certain Electronic Stud Finders,




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Metal Detectors and Electrical Scanners, Inv. No. 337-TA-1221, Comm’n Op. at 48 (Mar. 14,

2022). Aggregating investments across domestic industry products that practice different asserted

patents “fail[s] to provide the Commission with an adequate basis to evaluate the investments and

the significance of those investments with respect to each asserted patent.” Id.; see id. at 50-54

(collecting cases).

       E.      Invalidity

               1.      35 U.S.C. § 101

       Section 101 states:

       Whoever invents or discovers any new and useful process, machine, manufacture,
       or composition of matter, or any new and useful improvement thereof, may obtain
       a patent therefor, subject to the conditions and requirements of this title.

35 U.S.C. § 101. To determine patent eligibility under § 101, courts apply the two-step Alice test

and first, “determine whether the claims at issue are directed to a patent-ineligible concept” and

then if so, “examine the elements of the claim to determine whether it contains an ‘inventive

concept’ sufficient to ‘transform’ the claimed abstract idea into a patent-eligible application.” Alice

Corp. Pty. v. CLS Bank Intern., 573 U.S. 208, 217-18, 221 (2014). “The ‘directed to’ inquiry

applies a stage-one filter to claims, considered in light of the specification, based on whether ‘their

character as a whole is directed to excluded subject matter.’” Enfish, LLC v. Microsoft Corp., 822

F.3d 1327, 1335 (Fed. Cir. 2016) (citing Internet Patents Corp. v. Active Network, Inc., 790 F.3d

1343, 1346 (Fed. Cir. 2015); Genetic Techs. Ltd. v. Merial L.L.C., 818 F.3d 1369, 1375 (Fed. Cir.

2016)). To save a patent at the second step, an inventive concept must be evident in the claims.

Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d 1138, 1151-52 (Fed. Cir. 2016).

               2.      35 U.S.C. § 102

       Pursuant to 35 U.S.C. § 102, a patent claim is invalid as anticipated if:




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       (1) the claimed invention was patented, described in a printed publication, or in
       public use, on sale, or otherwise available to the public before the effective filing
       date of the claimed invention; or

       (2) the claimed invention was described in a patent issued under section 151, or in
       an application for patent published or deemed published under section 122(b), in
       which the patent or application, as the case may be, names another inventor and
       was effectively filed before the effective filing date of the claimed invention.

35 U.S.C. § 102 (post-AIA). “A patent is invalid for anticipation if a single prior art reference

discloses each and every limitation of the claimed invention. Moreover, a prior art reference may

anticipate without disclosing a feature of the claimed invention if that missing characteristic is

necessarily present, or inherent, in the single anticipating reference.” Schering Corp. v. Geneva

Pharm., Inc., 339 F.3d 1373, 1377 (Fed. Cir. 2003) (citations omitted); see Santarus, Inc. v. Par

Pharm., Inc., 694 F.3d 1344, 1354 (Fed. Cir. 2012). “A century-old axiom of patent law holds

that a product ‘which would literally infringe if later in time anticipates if earlier.’” Upsher-Smith

Labs., Inc. v. Pamlab, L.L.C., 412 F.3d 1319, 1322 (Fed. Cir. 2005) (citing Schering Corp., 339

F.3d at 1322). Anticipation, and all other grounds of patent invalidity, must be proved by clear

and convincing evidence. Microsoft Corp. v. i4i Ltd. P'ship, 564 U.S. 91, 95, (2011).

               3.      35 U.S.C. § 103

       Section 103 of the Patent Act states:

       A patent for a claimed invention may not be obtained, notwithstanding that the
       claimed invention is not identically disclosed as set forth in section 102, if the
       differences between the claimed invention and the prior art are such that the claimed
       invention as a whole would have been obvious before the effective filing date of
       the claimed invention to a person having ordinary skill in the art to which the
       claimed invention pertains. Patentability shall not be negated by the manner in
       which the invention was made.

35 U.S.C. § 103(a) (post-AIA). “Obviousness is a question of law based on underlying questions

of fact.” Scanner Techs. Corp. v. ICOS Vision Sys. Corp. N.V., 528 F.3d 1365, 1379 (Fed. Cir.

2008). The underlying factual determinations include: “(1) the scope and content of the prior art,



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(2) the level of ordinary skill in the art, (3) the differences between the claimed invention and the

prior art, and (4) objective indicia of non-obviousness.” Id. (citing Graham v. John Deere Co. of

Kansas City, 383 U.S. 1, 17-18 (1966)). These factual determinations are often referred to as the

“Graham factors.”

       The critical inquiry in determining the differences between the claimed invention and the

prior art is whether there is a reason to combine the prior art references. KSR Int’l Co. v. Teleflex

Inc., 550 U.S. 398, 418-21 (2007). In KSR, the Supreme Court rejected the Federal Circuit’s rigid

application of the teaching-suggestion-motivation test. While the Court stated that “it can be

important to identify a reason that would have prompted a person of ordinary skill in the relevant

field to combine the elements in the way the claimed new invention does,” it described a more

flexible analysis:

       Often, it will be necessary for a court to look to interrelated teachings of multiple
       patents; the effects of demands known to the design community or present in the
       marketplace; and the background knowledge possessed by a person having ordinary
       skill in the art, all in order to determine whether there was an apparent reason to
       combine the known elements in the fashion claimed by the patent at issue . . . . As
       our precedents make clear, however, the analysis need not seek out precise
       teachings directed to the specific subject matter of the challenged claim, for a court
       can take account of the inferences and creative steps that a person of ordinary skill
       in the art would employ.

Id. at 418. Since KSR, the Federal Circuit has announced that, where a patent challenger contends

that a patent is invalid for obviousness based on a combination of prior art references, “the burden

falls on the patent challenger to show by clear and convincing evidence that a person of ordinary

skill in the art would have had reason to attempt to make the composition or device . . . and would

have had a reasonable expectation of success in doing so.” PharmaStem Therapeutics, Inc. v.

ViaCell, Inc., 491 F.3d 1342, 1360 (Fed. Cir. 2007); see KSR, 550 U.S. at 399 (“The proper

question was whether a pedal designer of ordinary skill in the art, facing the wide range of needs

created by developments in the field, would have seen an obvious benefit to upgrading Asano with


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a sensor.”). In addition to demonstrating that a reason exists to combine prior art references, the

challenger must demonstrate that the combination of prior art references discloses all of the

limitations of the claims. Velander v. Garner, 348 F.3d 1359, 1363 (Fed. Cir. 2003) (explaining

that a requirement for a finding of obviousness is that “all the elements of an invention are found

in a combination of prior art references”).

       An obviousness determination must also include a consideration of “secondary

considerations,” because “commercial success, long felt but unsolved needs, failure of others, etc.,

might be utilized to give light to the circumstances surrounding the origin of the subject matter

sought to be patented.” Graham, 338 U.S. at 17-18. “For [such] objective evidence to be accorded

substantial weight, its proponent must establish a nexus between the evidence and the merits of

the claimed invention.” In re GPAC Inc., 57 F.3d 1573, 1580 (Fed. Cir. 1995); see Merck & Cie

v. Gnosis S.P.A., 808 F.3d 829, 837 (Fed. Cir. 2015). “Where the offered secondary consideration

actually results from something other than what is both claimed and novel in the claim, there is no

nexus to the merits of the claimed invention.” In re Huai-Hung Kao, 639 F.3d 1057, 1068 (Fed.

Cir. 2011); see Apple Inc. v. Samsung Elecs. Co., Ltd., 839 F.3d 1034, 1054-1056 (Fed. Cir. 2016).

III.   IMPORTATION AND JURISDICTION

       In its initial post-hearing brief, ALC explains that, “Apple stipulated that it imports accused

products into the United States” such that the importation requirement of 19 U.S.C. § 1337 is

satisfied. CIB at 20-21 (citing CX-0904C). Apple confirms in its brief that it “do[es] not dispute

that the Commission has jurisdiction to adjudicate this Investigation.” RIB at 15. The Staff

similarly finds the importation requirement met, citing the stipulation entered into by Apple. SIB

at 11 (citing CX-0904C).

       Accordingly, the importation requirement under 19 U.S.C. § 1337(a)(1)(B) is satisfied, and

the Commission has in rem jurisdiction over the Accused Products.


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IV.    U.S. PATENT NO. 10,638,941

       A.      Level of Ordinary Skill in the Art

       A person having ordinary skill in the art of the 941 patent at the time of invention:

       would have had either (1) a bachelor of science degree in electrical engineering,
       mechanical engineering, biomedical engineering, computer science, or a related
       discipline, with at least two years of relevant work experience designing wearable
       devices and/or sensors for measuring physiological signals or parameters of
       mammals, or (2) a medical degree and at least five years of relevant work
       experience designing wearable devices and/or sensors for measuring physiological
       signals or parameters of mammals. Also, relevant experience could substitute for
       education and vice versa for both categories of skilled artisan

Order No. 12 at 8. The parties do not challenge this definition and it is applied throughout this

initial determination.

       B.      Claims-at-Issue

       Claims 12, 13, 16, and 19-23 of the 941 patent are at issue in this investigation, either

through allegations of infringement or domestic industry technical prong. See generally CIB at

30, 43. They are reproduced below, along with intervening claim 18:

       12. A smartwatch, comprising:

       a processor;

       a first sensor configured to sense an activity level value of a user, wherein the first
       sensor is coupled to the processor;

       a photoplethysmogram (“PPG”) sensor configured to sense a heart rate parameter
       of the user when the activity level value is resting, wherein the PPG sensor is
       coupled to the processor;

       an electrocardiogram (“ECG”) sensor configured to sense electrical signals of a
       heart, wherein the ECG sensor comprises a first electrode and a second electrode,
       and wherein the ECG sensor is coupled to the processor; and

       a non-transitory computer readable storage medium encoded with a computer
       program including instructions executable by the processor to cause the processor
       to:




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       determine if a discordance is present between the activity level value of the user
       and the heart rate parameter of the user;

       based on the presence of the discordance, indicate to the user a possibility of an
       arrhythmia being present; and

       receive electric signals of the user from the ECG sensor to confirm the presence of
       the arrhythmia.

       13. The smartwatch or wristlet according to claim 12, wherein the heart rate
       parameter comprises an indication of a heart rate variability, and wherein the
       arrhythmia is atrial fibrillation.

                                                ....

       16. The smartwatch or wristlet according to claim 12, wherein indicating to the user
       further comprises: instructing the user to record an ECG using the ECG sensor.

                                                ....

       18. The smartwatch according to claim 12, wherein the heart rate parameter is a
       PPG signal.

       19. The smartwatch according to claim 18, wherein the heart rate parameter is a
       heartrate variability (“HRV”) value, wherein the HRV value is derived from the
       PPG signal.

       20. The smartwatch according to claim 18, wherein the heart rate parameter is a
       heartrate, wherein the heartrate is derived from the PPG signal.

       21. The smartwatch according to claim 12, the processor further to: display an ECG
       rhythm strip from the electric signals.

       22. The smartwatch according to claim 12, wherein the PPG sensor is located on a
       back of the smartwatch.

       23. The smartwatch according to claim 12, wherein the first electrode is located on
       the smartwatch where the first electrode contacts a first side of the user's body while
       the user wears the smartwatch, and the second electrode is located on the
       smartwatch where the user must actively contact the second electrode with a second
       side of the user's body opposite from the first side.

941 patent at cls. 12, 13, 16, 18-23.

       C.      Claim Construction

       As part of the Markman process, the following claim terms of the 941 patent were



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limiting for the associated independent claim, because a dependent claim possesses all the

elements of the claim from which it depends.” Order No. 12 at 15; CIB at 24; RRB at 4.

       Within a discussion of invalidity, the Staff takes the opposite position and argues the

preamble is not limiting. SIB at 36. The Staff contends, “the preamble recites no necessary

structure, and the preamble could be deleted without affecting the claimed invention.” Id. (citing,

inter alia, Catalina, 289 F.3d at 809).

       ALC and Apple have the more persuasive position. Dependent claim 22’s recitation of

“wherein the PPG sensor is located on the back of the smartwatch,” and the recitation of “the

smartwatch” in claim 23, both require an antecedent basis as alleged, and under the rationale

provided in the Markman order, the preamble of claim 12 is determined to be limiting.

               2.      “confirm the presence of arrhythmia”

       ALC also identifies “confirm the presence of arrhythmia” as needing construction. CIB at

24. ALC contends it means to confirm the “condition” of arrhythmia, as opposed to confirming

the particular episode of arrhythmia which may have been previously sensed by the PPG sensor.

See id. at 24-25 (citing, inter alia, Hr’g Tr. (Jafari) at 342:21-343:11, 346:18-348:5, 455:16-

456:17, 458:7-11, 461:1-15), 26 (citing, inter alia, 941 patent at 3:63-4:15, 1:43-57). ALC argues

there is no intrinsic support for requiring the PPG data to overlap with the ECG, as Apple contends.

Id. at 25-26. ALC further observes that Apple’s experts, Dr. Picard and Dr. Stultz, appear to take

contradicting positions on the topic. Id. at 25 (citing H’r Tr. (Picard) at 887:16-888:13, 890:10-

891:1; Hr’g Tr. (Stultz) at 1154:21-1156:3), 27-28 (stating, “it is ‘axiomatic that claims are

construed the same way for both invalidity and infringement.’”); CRB at 13-14. ALC summarizes,

“the ‘941 and ‘731 patents provide solutions where a PPG device may opportunistically measure

heart parameters in the background, identify irregularities suggestive of arrhythmia, and provide a

trigger to the user to take an ECG that can be analyzed on the device to confirm the presence of


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the detected arrhythmia.” CIB at 26 (citing 941 patent at Fig. 7, 4:65-15:16, 15:27-32, 15:35-43,

15:52-59). ALC also claims Apple’s expert eventually admitted that flowcharts showing the

sequential, not parallel, testing in the patent are embodiments of the claim. See id. at 27 (citing

Hr’g Tr. (Picard) at 948:6-25, 952:21-953:3); see 941 patent at Fig. 7.

       In its reply brief, ALC views Apple as relying entirely on Figure 1 of the 941 patent for its

“simultaneous ECG/PPG” construction.         CRB at 11.      ALC notes, however, that the word

“confirmed” does not appear anywhere in the discussion of Figure 1. Id. at 11-12 (citing Hr’g Tr.

(Picard) at 977:5-979:4). Rather, as ALC argues above, “Figure 7 of the ’941 patent (and

accompanying disclosures) support numerous embodiments where an ECG is taken after a

discordance determination that, itself, may indicate the presence of an arrhythmia . . . teaching that

the arrhythmia ‘should be confirmed with the ECG.’” Id. at 12 (citing 941 patent at Fig. 7, 14:65-

15:16, 15:27-32, 15:35-43, 15:52-59) (emphasis by ALC). ALC also disputes the idea that the

“confirm” limitation represents testing or establishing what those in the art call a “ground truth.”

See id. at 12-13. ALC summarizes, “as a POSITA would readily understand, [] the user indeed

has a detectable arrhythmia condition—the same condition which triggered the system to indicate

the presence of such condition, first detected by the PPG sensor, to the user’s attention.” Id. at 13.

       Apple presents its preferred meaning as “the ECG confirmation must be as to the particular

arrhythmic event detected by the PPG sensor.” RIB at 26 (citing Hr’g Tr. (Picard) at 886:6-

887:15); RRB at 10. Practically, it explains, this “requires the ECG sensor to record and analyze

data significantly overlapping in time with the data collected by the PPG sensor.” RIB at 26-27

(citing Hr’g Tr. (Picard) at 887:16-22). Apple looks to Figure 1 of the 941 patent for support,

which allegedly shows a PPG with an ECG trace “sensed from the same individual, over the same

period of time” (id. at 27; RRB at 11) along with that portion of the specification which states “a




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prediction of arrhythmia is more accurate when two or more physiologic parameters are

concurrently sensed and analyzed with respect to one another” (id. at 11 (citing 941 patent at 10:21-

23)). Despite ALC’s suggestion to the contrary, Apple claims its experts are in agreement on this

issue. Id. at 28 (citing Hr’g Tr. (Picard) at 890:8-891:1; Hr’g Tr. (Stultz) at 1121:23-1123, 1177:4-

1178:9).

        Apple also views ALC’s and the Staff’s construction as introducing intolerable ambiguity

to the claim; specifically, ambiguity over how long the program can wait to take the ECG

measurement and still “confirm” the earlier PPG diagnosis. RIB at 32-33; RRB at 14-16. Even if

ALC’s construction is adopted, Apple contends the claimed system must have “some algorithm

that brings together the PPG-based discordance with the ECG measurement result to conduct the

‘confirmation’ analysis.” Id. at 14.

        The Staff agrees with ALC: “the ’941 patent discloses preferred embodiments that take

ECGs (steps 712A-D) after sensing heart rate and activity level values (step 700).” SIB at 18

(citing 941 patent at Fig. 7); SRB at 6 (citing 941 patent at 14:47-16:53). The Staff also cites the

patent teaching that arrhythmias “may occur continuously or may occur intermittently” (SIB at 18

(citing 941 patent at 1:34-35)), and reasons, “[a]n arrhythmia can logically be confirmed at any

time that it is still present” (id.).

        ALC’s and the Staff’s interpretation of “confirm” is more persuasive, as there is scant

intrinsic evidence to support Apple’s simultaneous-measurement theory. Apple cites Figure 1 and

10:21-23 from the specification. Yet the patent is clear that Figure 1 (and associated discussion at

4:33-38) is essentially a background explanation of the cardiac monitoring arts.           It shows

concurrent ECG and heart rate tracings to demonstrate how heart rate variability (HRV) can serve

as an indicator of atrial fibrillation. See 941 patent at 4:33-46 (explaining how ECG shows an




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AFib episode, and during that episode, heart rate rapidly increased). This, accordingly, is used to

justify the patent’s teaching of continuously monitoring HRV to report or predict cardiac events.

See, e.g., id. at 4:44-46 (“HRV changes are therefore associated with atrial fibrillation, wherein

increased HRV is found during periods of intermittent atrial fibrillation.”); 5:11-14 (“For example,

a user wearing a smartwatch having a heart rate sensor is alerted by the smartwatch to record an

ECG when the HRV of the user increases.”), 15:22-27 (“If, as shown in step 704, an increased

heart rate is sensed together with an increased heart rate variability, and a normal or resting activity

level is sensed. The increased heart rate and HRV are in discordance with the normal or resting

activity level, and a presence of a discordance is determined by the device or system processor.”).

The figure does not, and is not intended to, reflect any embodiment of the invention.

        Lines 10:21-23 from the specification fare no better. The excerpt states, “[a] prediction of

arrhythmia is more accurate when two or more physiologic parameters are concurrently sensed

and analyzed with respect to one another.” 941 patent at 10:21-23. Not only does this sentence

not mention ECG as one of those parameters “concurrently sensed,” but the discussion in which it

appears relates to predicting the onset of arrhythmia (i.e., before it happens).

        In some embodiments, the devices described herein are configured to predict an
        onset of an arrhythmia in an individual. The onset of an arrhythmia is, for example,
        predicted due to a sudden and significant shift in the value of a sensed physiologic
        parameter such as heart rate. A prediction of arrhythmia is more accurate when two
        or more physiologic parameters are concurrently sensed and analyzed with respect
        to one another. For example, sensing of heart rate changes with respect to a sensed
        activity level provides contextual information for the sensed heart rate.

See id. at 10:16-25. There is no fair reading of claim 12, however, which covers predicting the

onset of arrhythmia. By its plain language, the recited invention is reactive to arrhythmias—not

predictive of them:

        a non-transitory computer readable storage medium encoded with a computer
        program including instructions executable by the processor to cause the processor
        to:


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       determine if a discordance is present between the activity level value of the user
       and the heart rate parameter of the user;

       based on the presence of the discordance, indicate to the user a possibility of an
       arrhythmia being present; and

       receive electric signals of the user from the ECG sensor to confirm the presence of
       the arrhythmia.

Id. at cl. 12 (emphasis added).

       ALC’s and the Staff’s construction, on the other hand, enjoys plentiful support. The patent

repeatedly describes a process where ECG is initiated or sensed in response to (i.e., later in time

than) other physiological measured parameters:

       For example, discordance between two sensed values may indicate the future onset
       of or the presence of an arrhythmia. In response to the identification of the future
       onset of or presence of an arrhythmia an electrocardiogram may be caused to be
       sensed.

941 patent at 1:67-2:3;

       Described herein is a method for cardiac monitoring . . . and indicating to said
       individual with said wearable device to record an electrocardiogram when said
       discordance is determined to be present.

id. at 2:10-21;

       determine if a discordance is present between said activity level value of said
       individual and said heart rate value of said individual; and indicate that said
       electrocardiogram be recorded when said discordance is determined to be present.

id. at 2:52-56;

       Many arrhythmias occur intermittently and relatively infrequently. Thus, in order
       to monitor and capture an intermittent arrhythmia, continuous monitoring is
       typically required. ECGs can be measured continuously in the ambulatory patient
       using holter monitoring, but this type of monitoring is cumbersome for the patient
       and is thus not widely used. A device or system configured to take an intermittent
       ECG is much more convenient for users. Such devices or systems comprise a
       mobile computing device that includes one or more electrodes that sense an ECG
       when contacted by a skin surface of the patient. Such devices are light and portable
       and don't necessarily require the user to be in continuous physical contact with one
       or more electrodes as they would with a holter type monitor. Intermittent




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        arrhythmias can be recorded with these devices and systems when a user is given
        an indication that an intermittent arrhythmia is occurring.

id. at 4:14-30 (emphasis added);

        The one or more continuously sensed parameters of the user of such a technology
        as, for example, shown in FIG. 4, are then used to indicate to the user to use a device
        or system to sense an ECG. For example, a user wearing a smartwatch having a
        heart rate sensor is alerted by the smartwatch to record an ECG when the HRV of
        the user increases.

id. at 5:8-14;

        An accelerated heart rate of an individual sensed by the device in addition to, for
        example, a low blood pressure of the individual concurrently sensed by the device,
        triggers the processor of the device to indicate to the individual to engage with the
        electrodes of the device in order to sense an electrocardiogram.

id. at 9:32-37;

        In some embodiments, an electrocardiogram of an individual may be sensed in
        response to one or more sensed parameters. For example, an electrocardiogram may
        be caused to be sensed in response to a heart rate value.

id. at 11:18-21;

        The identified discordance may indicate the presence of an arrhythmia. As such, an
        ECG is caused to be sensed in a step 712A.

id. at 14:65-67;

        Once the discordance is determined, an ECG is caused to be sensed in a step 712B
        as, for example, described herein with respect to step 712A. As shown, in step 716,
        this particular discordance may be indicative of the presence of atrial fibrillation
        and it should be confirmed with the ECG 712B.

id. at 15:27-32.

        The ECG sensing device may be the device or part of the system used to sense the
        heart rate and activity level or may be a separate device. For example, a user
        wearing a smartwatch with heart rate and activity level monitoring receives an
        audible and/or visual indication from the smartwatch to sense an ECG when a
        discordance is present between a sensed heart rate value and a sensed activity level
        value.

id. at 15:4-11.




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        The flowchart of Figure 7 is perhaps the most illustrative. Unlike Figure 1, it reflects

possible embodiments of the invention, and teaches the recording of an ECG after the sensing of

heart rate and activity level:




Id. at Fig. 7.

        One other specification passage, in particular, uses the term “confirm” and concerns the

training of the machine learning algorithm which evaluates for discordances. See 941 patent at

13:52-14:42. In this training, sensed electrocardiogram data may be “compared back” to other

parameter values. Even then, however, the patent explains that the electrocardiogram data is taken

at a later point in time:


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       For example, in some embodiments, sensed electrocardiogram data may be
       compared back to parameter values such as, for example, sensed heart rates and
       activity levels that triggered the sensing of said electrocardiograms. When, for
       example, sensed electrocardiograms confirm the presence of an arrhythmia, the
       presence of which was indicated by, for example, a discordance between other
       parameter values, the machine algorithm causes the device or system described
       herein to learn from that data. Similarly, when, for example, sensed
       electrocardiograms do not confirm the presence of an arrhythmia, the presence of
       which was indicated by, for example, a discordance between other parameter
       values, the machine algorithm causes the device or system described herein to learn
       from that data as well. That is, in some embodiments, the machine learning
       algorithm correlates the sensed electrocardiogram with the discordance between
       parameter values that caused it (i.e. the electrocardiogram) to be sensed.

Id. at 13:63-14:14; see Order No. 12 at 26. Altogether, the above passages and figure are more

than enough support for reading “confirm the presence of the arrhythmia” to encompass later-in-

time ECG measurements.

       Admittedly, one passage describes an embodiment where an ECG may be taken

simultaneously with another measured parameter, such as heart rate:

       In some embodiments, one or more continuous sensors may sense one or more
       parameters that cause the initiation of intermittent cardiac monitoring by one or
       more sensors. . . In some embodiments, an intermittently sensed electrocardiogram
       is caused to be sensed in response to a continuously measured heart rate of an
       individual. . . . In some embodiments, an intermittently sensed electrocardiogram
       is caused to be sensed in response to both a continuously measured heart rate and a
       continuously measured activity level. In some embodiments, an intermittently
       sensed electrocardiogram is caused to be sensed in response to a continuously
       sensed heart rate, a continuously sensed activity level, and a continuously sensed
       heart rate variability.

941 patent at 11:22-42. The recitation here of an “intermittent” ECG (i.e., sometimes) and a

“continuous” sensed heart rate (i.e., always) would logically result in occasional overlap between

ECG and heart rate measurements. But there is otherwise no suggestion that this is part of a

“confirm[ation]” process for arrhythmias. Thus, this passage, weighed against the other passages

listed above, is not enough to limit claim 12 to Apple’s interpretation. The proper path is to give

the limitation its full plain and ordinary meaning which, covers simultaneous or sequential data



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readings. Epistar, 566 F.3d at 1334 (holding there is “a heavy presumption that claim terms carry

their full ordinary and customary meaning, unless it can show the patentee expressly relinquished

claim scope.”); Eon Corp. IP Holdings v. Silver Spring Networks, 815 F.3d 1314, 1320 (Fed. Cir.

2016) (holding claims must be interpreted in full view of the specification) (citations omitted).

       Accordingly, “confirm the presence of the arrhythmia” does not mean ECG data must be

recorded at the same time as PPG data.

       D.      Infringement

       ALC contends, “Apple directly infringes claims 12, 13, 19, 20, 21, 22, and 23 of the ’941

patent.” CIB at 30. Of these, claim 12 is independent and the rest depend from it. For the reasons

discussed below, ALC has shown infringement of claims 12, 13, 19, 20, 21, 22, and 23.

               1.      Claim 12

       For reference, claim 12 of the 941 patent requires:

       12. [12(a)] A smartwatch, comprising:

       [12(b)] a processor;

       [12(c)] a first sensor configured to sense an activity level value of a user, wherein
       the first sensor is coupled to the processor;

       [12(d)] a photoplethysmogram (“PPG”) sensor configured to sense a heart rate
       parameter of the user when the activity level value is resting, wherein the PPG
       sensor is coupled to the processor;

       [12€] an electrocardiogram (“ECG”) sensor configured to sense electrical signals
       of a heart, wherein the ECG sensor comprises a first electrode and a second
       electrode, and wherein the ECG sensor is coupled to the processor; and

       [12(f)] a non-transitory computer readable storage medium encoded with a
       computer program including instructions executable by the processor to cause the
       processor to:

       [12(f)(i)] determine if a discordance is present between the activity level value of
       the user and the heart rate parameter of the user;

       [12(f)(ii)] based on the presence of the discordance, indicate to the user a possibility
       of an arrhythmia being present; and


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         [12(f)(iii)] receive electric signals of the user from the ECG sensor to confirm the
         presence of the arrhythmia.

941 patent at cl. 12 (annotated).

         As it concerns the Accused Products, only a few limitations are in dispute. ALC explains

its view that, “Apple only contests infringement with respect to claim element 12(f)(i) (specifically

for the IRN feature) and claim element 12(f)(iii) as to all accused features.” CIB at 30 (citing Hr’g

Tr. (Jafari) at 327:25-328:19). ALC thus reasons that any other disputes from Apple have been

waived pursuant to Ground Rules 9.2 and 13.1. Id. And while ALC acknowledges that Apple did

present an additional dispute for limitation 12(f)(ii) in its pre-hearing brief with respect to the

HHRN feature, it notes that Apple presented no evidence or expert testimony at the hearing on the

issue.   Id. at 38 n.10. ALC argues Apple has thus waived the issue. Id.

         The Staff contends that claim 12 is infringed. See SIB at 14. Apple does not concede the

point, and it only addresses the elements of limitation 12(f) in its post-hearing briefs, but it does

argue specifically that element 12(f)(ii) is not met. See RRB at 4-20.

         ALC’s position on limitation 12(f)(ii) is not persuasive. It is undisputed that Apple

presented the argument in its pre-hearing brief. Thus, no violation of the ground rules occurred,

the contention is not waived, and the limitation is discussed below. As to the remaining,

undisputed, limitations of claim 12, they are found to be present in the Accused Products in light

of the evidence and testimony provided by Dr. Jafari. CIB at 30-32 (citing Hr’g Tr. (Jafari) at

328:22-330:19, 340:16-22). In particular, the representative Apple Watch 6 is a smartwatch

having an accelerometer, PPG sensor, ECG sensor, and memory, all coupled to a processor. See

CDX-0003C.16.




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                         a.     [12(f)(i)] “determine if a discordance is present between the
                                activity level value of the user and the heart rate parameter of
                                the user”

        As for “determine if a discordance is present between the activity level value of the user

and the heart rate parameter of the user,” ALC represents that there is no dispute it is met by

Apple’s HHRN feature—only IRN is contested. CIB at 32.

        For HHRN, ALC argues it meets the limitation by running the                             , which

finds discordances “when the user is confidently determined to be in a resting state (as determined

by                   . . . ) for a period of 10 minutes, but where his heart rate is above the high heart

rate threshold (default is 120 bpm).” CIB at 33 (citing Hr’g Tr. (Jafari) at 309:13-210:19). Neither

Apple nor the Staff contests this point, and the limitation is practiced by HHRN. See RIB at 17-

21 (discussing only IRN); RRB at 4-9 (same); SIB at 14-16 (same).

        For IRN, ALC argues it also meets the limitation through a combination of the

          , and

                                                                                   CIB at 33.      More

specifically, it argues, “the                    for the IRN feature




                  ” Id. at 34 (citing JX-0281C (Framhein) at 97:22-98:23; JX-0221C (Waydo) at

242:2-16) (emphasis in original). Thus, according to ALC, the “future/continued resting condition

is used on an ongoing basis to determine a discordance as the heart parameter continues to be

collected by the green LEDs of the PPG sensor” (id. (citing Hr’g Tr. (Jafari) at 314:12-315:7,

334:24-335:25)) and “the user of the IRN feature ‘

                                                                                                        ,




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matters not, according to Apple, that these functions serve only IRN—the bottom line is they “

                                                Id. at 8. As for its expert’s, Dr. Stultz’s, testimony

on existing “at rest” clinical procedures for diagnosing arrhythmia (id. at 8 (citing Hr’g Tr. (Stultz)

at 1091:1-14)), Apple claims IRN “operates entirely differently” because

                                                           A hypothetical doctor, on the other hand,

“is mentally comparing the patent’s activity level to the heart rate to determine if there is a

discordance that might indicate a possible arrhythmia.” Id.

       The limitation is met. The accuracy of the algorithm shown in RX-0835C is not in dispute:




RX-0835C.3. Apple’s technical witness, Dr. Waydo, testified that the process evaluates captured

PPG data for “                                                        .” Hr’g Tr. (Waydo) at 758:7-

15. It is beyond dispute that the “irregular rhythm” is only “irregular” because of the

                                                                                                 Id. at

754:1-7, 763:2-4. In this way, the product is                                                      , or

“discordance,” of low activity but high heartrate (or high HRV). RIB at 19 (


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                     ). This meets the claim limitation. Even Apple’s expert, Dr. Picard, opines

that what is required is simply “a heart parameter and an activity are brought together, and there’s

a clear determination of a discordance.” Hr’g Tr. (Picard) at 876:12-877:15.

        Whether or not this process takes place entirely within IRN, or involves IRN plus another

algorithm, is immaterial. Apple’s internal nomenclature does not control whether an accused

product includes executable instructions to “determine if a discordance is present between the

activity level value of the user and the heart rate parameter of the user.” See, e.g., Ferring Pharms.

Inc. v. Par Pharm., Inc., 267 F.Supp.3d 501, 507-9 (D. Del. 2017) (refusing to credit defendant’s

ANDA characterization of a “spray-coating” process as “wet granulation” to avoid a “spray-

coating” claim limitation); Oliver W. Holmes, Law in Science and Science in Law, in Collected

Legal Papers, 12 Harv. L. Rev. 443, 460 (1899) (“We must think things not words, or at least we

must constantly translate our words into the facts for which they stand, if we are to keep to the real

and the true.”).

        And ALC is correct that Apple’s invalidity case contradicts its non-infringement position.

Apple seeks to differentiate its products from typical medical practice because the former “

                                                                                  ” RRB at 8. Yet Dr.

Stultz persuasively testified that the typical medical practice is also to “ensure the patient is at rest

before an exam is done”:

        Receiving heart rate data, we obtain vital signs when the patient comes into the
        room. Sensing activity level, we ensure the patient is at rest before an exam is done.
        While the patient is at rest, we look at -- we do this assessment, as I've already
        mentioned, of the rate and the qualitative assessment of heart rate variability. And
        then we assess these findings in the setting of the patient being at rest.

Hr’g Tr. (Stultz) at 1079:14-20.

        Accordingly, the limitation is met in the Accused Products, through both the HHRN and

IRN features.


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                       b.      [12(f)(ii)] “based on the presence of the discordance, indicate to
                               the user a possibility of an arrhythmia being present”

       For “based on the presence of the discordance, indicate to the user a possibility of an

arrhythmia being present,” ALC contends it is met by both the HHRN and IRN features. CIB at

37. For IRN, ALC argues it “is configured to surface an indication of alert to the user (after

satisfying the requirements of the algorithm) that specifies that an irregular rhythm has been

detected suggestive of AFib.” Id. Apple does not dispute this, and the evidence supports it. See

RIB at 23; CX-0611.1; CX-0048C.39, 71-72. For HHRN, ALC contends it “similarly indicates

the possibility of an arrhythmia to the user, which may include an abnormal tachycardia . . . or an

underlying arrhythmia like AFib manifesting as a discordant high heart rate.” Id. at 37-38 (citing

CX-0624.2; Hr’g Tr. (Jafari) at 339:5-340:9, 240:10-22, 241:18-242:10).

       In its reply brief, for HHRN specifically, ALC considers it “undisputed that the HHRN

feature of the Accused Products detects a tachycardia, which is a cardiac condition where the heart

is beating faster than normally.” CRB at 10. ALC also argues that the

                   makes it “more likely to determine an abnormal or unexpected tachycardia” as

opposed to high heart rates due to exercise. Id. ALC highlights the claim’s recitation of

“possibility” in “indicate to the user a possibility of an arrhythmia being present” and argues it is

met simply because some of the detected high heart rates “indisputably are arrhythmia.” Id. at 11

(citing Hr’g Tr. (Jafari) at 339:5-340:9). Overall, ALC views it as irrelevant the actual message

generated by Apple’s HHRN does not include the words “tachycardia” or “arrhythmia.” Id.

       Apple disputes the limitation is met. For background, Apple suggests that tachycardia is

simply an elevated heart rate, due to any number of causes, and therefore not necessarily indicative

of arrhythmia. See generally RIB at 22-24; RRB at 9-10. Thus, Apple contends the “simple

statement of fact” coming out of HHRN, that “the user is experiencing an elevated hear rate while



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the user appears to be inactive during a ten-minute period,” cannot meet the limitation. Apple

contrasts this with the more detailed message coming out of the IRN and ECG apps. RIB at 23

(citing Hr’g Tr. (Jafari) at 442:19-443:6), 24 (citing Hr’g Tr. (Waydo) at 753:2-4; RX-

0046C.0001). Apple notes that the heartrate threshold which HHRN measures against is set by

the user, and as a consequence, “Apple deliberately chose not to provide the user a message about

any possible arrythmia.” Id. at 24. Apple summarizes:

       Thus, the HHRN’s factual notification (i.e., that the user’s heart rate is above a
       threshold while the user seemed to be inactive for ten minutes), and the
       interpretation of this statement is dependent on the user and their own unique
       medical history or circumstances. In other words, not all high heart rates detected
       by HHRN are indicative of an underlying arrhythmia—many are not. Under these
       circumstances, the statement provided by HHRN does not “indicat[e] to the user,
       using the smartwatch, a possibility of an arrhythmia” as required by claim 12.

Id. at 24. Apple also offers a rebuttal to a doctrine of equivalence infringement theory (RIB at 25-

26), but no such theory is present in ALC’s briefing for this limitation (CIB at 37-38), so it need

not be discussed.

       In rebuttal, Apple addresses the Staff’s reliance on an Apple website support page for

HHRN which includes “a link to the American Heart Association (AHA) website.” RRB at 10.

Apple argues that AHA webpage “simply lists the multiple reasons why a user’s heart rate may be

high, many of which are not cardiac conditions” and otherwise are not displayed on the watch. Id.

(citing Hr’g Tr. (Stultz) at 1070:24-1072:10; Hr’g Tr. (Jafari) at 439:18-440:23, 524:10-525:7).

Thus, according to Apple, “they are not evidence that the accused system has instructions” as

claimed. Id. (citing RPX-0004C at -118).

       The Staff agrees with ALC, and views Apple’s argument as inconsistent with the ordered

construction for “arrhythmia.” SIB at 17; SRB at 4-5. The Staff points specifically to the patent’s

statement that tachycardia is a type of arrhythmia and Apple’s apparent concession that any heart

rate above 100 bpm in a healthy adult is tachycardia. SIB at 17 (citing RPB at 45); SRB at 5 (citing


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same). The Staff also finds Apple’s support website, with links to AHA content, as further

supporting infringement. SIB at 17 (citing Hr’g Tr. (Waydo) at 855:12-24); SRB at 5.

       The limitation is met in the Accused Products. The parties’ agreed construction for

“arrhythmia” is very broad—“a cardiac condition in which the electrical activity of the heart is

irregular or is faster or slower than normal.” And the topic of the claimed notification is similarly

broad—“the possibility of an arrhythmia.”          Put together, the limitation simply requires a

notification of the possibility of faster or slower than normal heart rate or irregularity of any type.

       With this in mind, the HHRN notification reads, “[y]our heart rate rose above 120 BPM

while you seemed to be inactive for 10 minutes starting at 9:58 AM”:




RX-0046C.1. The words “rose above” along with a quantitative heart rate value equates to a

notification of a high heart rate. And when combined with the statement of inactivity (which

anyone would understand to be associated with a low heart rate), this becomes a notification of an

abnormal high heart rate (i.e., arrhythmia) or, at least, the possibility of one.

       Accordingly, the limitation is met through both IRN and HHRN in the Accused Products.




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                      c.      [12(f)(iii)] “receive electric signals of the user from the ECG
                              sensor to confirm the presence of the arrhythmia”

       For “receive electric signals of the user from the ECG sensor to confirm the presence of

the arrhythmia,” ALC remarks that it is undisputed the Accused Products include an ECG app such

that “the only remaining dispute is whether the accused ECG App is capable of confirming the

presence of arrhythmia.” CIB at 38. Under the proper construction, in which the PPG and ECG

need not be captured simultaneously, ALC argues it is so capable. Id.

       ALC first explains why ECG “was and remains a superior measurement technique for

arrhythmias such as AFib.” See generally id. at 39-40 (discussing P wave detection); CRB at 15-

16. ALC then argues why Apple’s ECG feature is “highly accurate in the detection of AFib” (CIB

at 40-41) and points to evidence showing

                                           (see id. at 41; CRB at 17-18 (citing CX-0054C; CX-

0370C)). ALC also refers to an Apple support webpage which teaches customers they can “take

an ECG at any time” including “when they receive an irregular rhythm notification.” CIB at 41

(citing CX-0073). ALC argues this messaging, in particular, “is intended to convey to its users

that there is obvious clinical value in a user taking an ECG after receiving an IRN alert regarding

irregular heart rhythms, and that value is because ECG is uniquely capable among the two

technologies of confirming the underlying AFib.” Id. at 42; see CRB at 18.

       In rebuttal, ALC warrants, “to confirm the presence of the arrhythmia” means to confirm

the presence of the condition, not an event. CRB at 15 (citing Hr’g Tr. (Jafari) at 343:3-11). ALC

disputes there is any requirement for PPG sensor output to act as an input to an ECG sensor

algorithm because “[t]he ’941 patent specification says nothing about data or data output from the

PPG sensor serving as ‘input’ into the ECG-based confirmation analysis.” CRB at 14-15. ALC

similarly disputes a need for a link between the two programs, and states that in the Accused



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Products “the normal and ordinary operation of the ECG App inherently provides arrhythmia

confirmation capability when the App is operated in the customary manner following the prior

receipt of a PPG-based indication regarding the ‘possibility’ of an arrhythmia from either HHRN

or IRN.” Id. at 15. ALC also contends that leaving open the time between PPG and ECG data

collection does not create indefiniteness problems. See CRB at 16-17.

       Apple’s opposition to this limitation is first rooted in a construction that requires

simultaneous or overlapping PPG and ECG data capture. See RIB at 26-29 (“PPG and ECG

sensors running at the same time”); RRB at 16-17 (“when ECG App is activated, the PPG sensors

are deactivated”). As determined above, the limitation is not so limited.

       Beyond this, Apple contends “there are no inputs from IRN to the ECG App such that there

could be confirmation of the detected arrhythmia.” RIB at 30 (citing Hr’g Tr. (Jafari) at 464:13-

15, 462:10-14). Put another way, “there is no separate algorithm that combines the data or analysis

from the IRN feature with the ECG App algorithms.” Id. (citing Hr’g Tr. (Jafari) at 462:22-463:7,

463:11-24). Apple states it is the same situation for HHRN and ECG—they are not connected in

any way. Id. (citing Hr’g Tr. (Jafari) at 463:25-464:4; Hr’g Tr. (Picard) at 892:19-24); see id. at

31-32 (“the ECG App was intentionally designed to not be used in conjunction with other medical

devices, medicines, or other medical technologies, including [HHRN]. . . . The same is true of

IRN, including use with ECG App.”); RRB at 17, 19.

       Apple then argues that ALC has, critically, made no showing of any “instructions” that

accomplish the supposed confirmation—an alleged break with the claim language (RIB at 35

(citing Hr’g Tr. (Jafari) at 462:10-463:7))—and discounts the relevance of Apple’s internal emails

and data gathering (id. at 36-39 (citing, inter alia, CX-0054C; CX-0370C; CX-0073; RX-0183C;

CX-0022C; CX-0051C)). Even if relevant, Apple alleges that they show “[t]he concept of linking




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IRN app and ECG App, such as with a message or button alerting a user to take an ECG following

an IRN, was never implemented.” Id. at 37 (emphasis in original) (citing, inter alia, JX-0235C

(Brittain) at 244:6-248:1; RX-0181C.11; Hr’g Tr. (Waydo) at 859:18-860:18); RRB at 17, 19. As

for its support website, Apple notes, “Dr. Jafari admitted that there are no computer instructions

on the Apple Watch that launch the website, or that direct the user to the website, or that provide

any of the information on the website.” RIB at 38 (citing Hr’g Tr. (Jafari) at 475:11-16, 476:18-

477:3); RRB at 20. And as for FDA submissions, Apple contends “AliveCor simply cites to the

appearance of the word ‘confirm,’ and hopes the Court will read no further. However, missing in

these documents are any descriptions, instructions, or functions describing how Apple Watch

confirms the arrhythmia first detected by the PPG sensor, as required by the ’941 patent.” RIB at

39 (emphasis in original). Rather, according to Apple, “AliveCor is forced to rely on the user—

and not the system—to mentally confirm the arrhythmia.” RRB at 18-19 (citing Hr’g Tr. (Jafari)

at 377:2-8, 448:11-17).

       The Staff finds the limitation met in the Accused Products on the ground that “confirm”

does not mean simultaneous capture of PPG and ECG data. See SIB at 18-19 (discussing why

Apple’s construction is incorrect); SRB at 6-7. The Staff does not address whether there must

otherwise be a link or connection between PPG and ECG analyses.

       The limitation is met in the Accused Products. The present dispute is essentially the

parties’ second over the meaning of “confirm.” Inasmuch as claim construction is implicated in

this dispute, the intrinsic evidence does not support a requirement that PPG data or analytical

outcome be involved in the “confirm[ation]” of an arrhythmia.




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       To begin, “confirm” is used infrequently in the specification. As reproduced above (and a

second time below), it appears in the one context of training machine learning algorithms, where

ECG data is “compared back” to sensed heart rates and activity levels:

       For example, in some embodiments, sensed electrocardiogram data may be
       compared back to parameter values such as, for example, sensed heart rates and
       activity levels that triggered the sensing of said electrocardiograms. When, for
       example, sensed electrocardiograms confirm the presence of an arrhythmia, the
       presence of which was indicated by, for example, a discordance between other
       parameter values, the machine algorithm causes the device or system described
       herein to learn from that data. Similarly, when, for example, sensed
       electrocardiograms do not confirm the presence of an arrhythmia, the presence of
       which was indicated by, for example, a discordance between other parameter
       values, the machine algorithm causes the device or system described herein to learn
       from that data as well.

941 patent at 13:63-14:10 (emphasis added). While this is a kind of link between PPG and ECG,

it is clear that the comparing-back step only occurs after the arrhythmia has been confirmed or not

confirmed by ECG data. In other words, the ECG “confirms” arrhythmia on its own, and the

discordance algorithm is then cross-checked and trained. This is consistent with the only other

usages of “confirm,” where after a discordance is found, the conditions of “atrial fibrillation” or

“supraventricular tachycardia” “should be confirmed with the ECG” without mention of earlier

PPG events. 941 patent at 15:27-59, Fig. 7. Perhaps tellingly, Apple’s briefing is devoid of

examples in which “the output of the PPG sensor [is used as] an input to the ECG confirmation

analysis”—either from the patent specification or real world. See RIB at 27-39; RRB at 10-14;

Order No. 12 at 26 (“the disclosed embodiments associated with Figure 7 (a decision tree

describing various combinations of measurements and their associated diagnoses) say nothing

about such a comparison.”).

       Thus, what is required for this element, as relevant here, is simply a smartwatch with a

“non-transitory computer readable storage medium” loaded with instructions “executable by the

processor to cause the processor” to receive ECG signals, analyze those signals, and conclude (i.e.,


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confirm) that “the arrhythmia” is present from those signals. This is the same process, as

Respondents put it, as “what medical practitioners have been doing for decades.” RIB at 32 (citing

Hr’g Tr. (Stultz) at 1090:8-25); see Hr’g Tr. (Stultz) at 1079:3-23; Hr’g Tr. (Albert) at 48:2-49:5,

52:20-53:21, 212:7-21; Hr’g Tr. (Efimov) at 1307:15-1308:3. The claim does not require the

processor to actually confirm the presence of the arrhythmia every time an ECG is measured, so

long as the processor is programmed to so confirm the presence of the arrhythmia.

       Apple’s concern over the amount of time which may elapse between the PPG and ECG

data collection (RIB at 33-35; RRB at 15-16) is not persuasive, and also beside the point.

Infringement may be momentary or occasional (Omega Patents, LLC v. CalAmp Corp., 920 F.3d

1337, 1344 (Fed. Cir. 2019) (upholding jury verdict of infringement when evidence showed

occasional direct infringement “at least under some circumstances”)) and it is far more likely than

not that at least one user of each Accused Product has, at least one time, taken an ECG just

moments after receiving either an HHRN or IRN notification. Dr. Waydo confirmed as much.

Hr’g Tr. (Waydo) at 851:23-852:2 (“Q.



                                                                                           .”). The

evidence further shows the ECG program classifies the result (i.e., “confirm the arrhythmia”) and

returns that classification to the user. CX-0050C.5 (“The ECG Apple Watch App analyzes ECG

signals and determines the presence of atrial fibrillation (AFib) or sinus rhythm on a classifiable

waveform in adults aged 22 and over.”); CX-0022.5 (FDA 510(k) clearance). And again, the claim

requires that the smartwatch be programmed to receive ECG signals “to confirm the presence of

the arrhythmia,” not that it actually do so in every instance.

       Accordingly, the limitation is met in the Accused Products.




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                  2.     Other claims

        Apple does not contest dependent claims 13 and 19-23 in the Accused Products apart from

their dependency on independent claim 12. RIB at 39; RRB at 20. Neither does the Staff. SIB at

20-22. These claims are also met by the Accused Products based on the evidence and testimony

cited by ALC. CIB at 42-43. In particular, Dr. Jafari testified that all elements of each claim are

met, except for intervening claim 18. See Hr’g Tr. (Jafari) at 328:4-19. And for claim 18, Dr.

Jafari testified that its dependent claims are met, so it, too, is necessarily met. See id.

        E.        Domestic Industry – Technical Prong

        ALC contends, “KBS,                         each practice claims 12, 16, 20, 21, 22, and 23 of

the ’941 patent literally and at least under the doctrine of equivalents.” CIB at 43. Of these, claim

12 is independent and the rest depend therefrom. For the reasons discussed below, ALC has shown

practice of claims 12, 16, 20, 21, 22, and 23 by the KBS DI Product. ALC has also shown practice

of these claims is “in the process of being established” via the                   products.

                  1.     Claim 12

        Claim 12 of the 941 patent is presented above in connection with infringement. Apple’s

initial post-hearing brief discusses limitations 12(f)(ii) and 12(f)(iii) for the KBS and           DI

Products, and does not expressly dispute any other limitation for those products, although it does

dispute whether the         is properly an “article” for DI purposes. RIB at 42-48.

        For the        , Apple’s position is more expansive:

        The        does not practice the ’941 patent because: (1) it is not a smartwatch (as
        AliveCor admits); (2) does not have a first sensor configured to sense an activity
        level of a user; (3) does not have a functioning PPG sensor; (4) cannot determine a
        discordance; (5) does not have instructions to indicate to the user a possibility of an
        arrhythmia based on a discordance calculation; and (6) does not receive electric
        signals of the user from an ECG to confirm the presence of the arrhythmia. Thus,
        the       does not practice all the limitations required of claim 12, either literally or
        under the doctrine of equivalents.



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RIB at 53. This position perhaps stems from Apple’s overall contention that




       A threshold issue, then, is whether the                 DI Products qualify as “articles” for

DI purposes. The Commission is adamant that domestic industry is to be assessed at the filing of

the complaint absent “very specific circumstances, i.e., ‘when a significant and unusual

development has occurred after the complaint has been filed.’”              Certain Thermoplastic-

Encapsulated Electric Motors, Components Thereof, and Products and Vehicles Containing Same

II, Inv. No. 337-TA-1073, Comm’n Op. at 7 (Aug. 12, 2019) (“Thermoplastic Motors”) (citing

Certain Collapsible Sockets for Mobile Electronic Devices and Components Thereof, Inv. No.

337-TA-1056, Comm’n Op. at 15 n.10 (July 9, 2018)). In its reply brief, ALC appears to suggest

that such an unusual development has occurred to justify a post-complaint analysis for a domestic

industry that “exists.” CRB at 82 n.20. But this one-off footnote, on its own, is not sufficient to

deviate from the well-accepted standard.

       Moreover, the law is clear that an actual article protected by the patent must exist to show

that a domestic industry “exists”:

       Both Federal Circuit law and Commission precedent require the existence of actual
       “articles protected by the patent” in order to find that a domestic industry exists. In
       Microsoft Corp. v. International Trade Commission, the Federal Circuit held:

               Section 337, though not requiring that an article protected by
               the patent be produced in the United States, unmistakably
               requires that the domestic company’s substantial


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                investments relate to actual “articles protected by the
                patent.” 19 U.S.C. § 1337(a)(2), (3). A company seeking
                section 337 protection must therefore provide evidence that
                its substantial domestic investment—e.g., in research and
                development—relates to an actual article that practices the
                patent, regardless of whether or not that article is
                manufactured domestically or abroad.           InterDigital
                Commc’ns v. Int’l Trade Comm’n, 707 F.3d 1295, 1299,
                1304 (Fed. Cir. 2013).

        731 F.3d 1354, 1361-62 (Fed. Cir. 2013) (emphasis added). In view of both
        Microsoft and InterDigital (cited in the block quotation above), the Commission
        has held that “a complainant alleging the existence of a domestic industry under 19
        U.S.C. § 1337(a)(3)(C) must show the existence of articles.” Certain Computers
        and Computer Peripheral Devices, and Components Thereof, and Products
        Containing Same (“Certain Computers and Computer Peripheral Devices”), Inv.
        No. 337-TA-841, Comm’n Op. at 40 (Jan. 9, 2014). Thus, to demonstrate that a
        domestic industry exists, the “existence of articles” requires a physical embodiment
        of the patented invention. We have clarified that this articles requirement is not
        “limited to commercial goods.” Certain Non-Volatile Memory Devices and
        Products Containing the Same, Inv. No. 337-TA-1046, Comm’n Op. [at] 41 (Oct.
        26, 2018) (public version).

Thermoplastic Motors, Inv. No. 337-TA-1073, Comm’n Op. at 9; see id. at 10 (“Without the

existence of an article protected by the patent, i.e., a physical embodiment of the patented

invention, the Commission finds that IV cannot establish that a domestic industry ‘exists’ relating

to the articles protected by the patent.”).

        It is essentially undisputed that the                                               at the time of

the complaint. See Hr’g Tr. (Jafari) at 490:13-16, 491:21-492:4; Hr’g Tr. (Akemann) at 702:25-

703:4; Hr’g Tr. (Somayajula) at 252:23-253:5                                                          see

generally CIB at 18-20 (discussing what           “will” do), 55 (failing to dispute that

                                    CRB at 19 (using present tense with               is developed to a

point where it has been tested to show it practices the Asserted Patents”), 28 (failing to refute

Apple’s factual assertion that “

82 n. 19 (failing to rebut that                     at complaint filing, but arguing that is irrelevant



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given its current status); SIB at 22-26; SRB at 8 (viewing dispute as whether there were “fully

functional prototypes” at time of the complaint), 11 (same).




                                                                                 Accordingly,

cannot be deemed to practice claim 12 of the 941 patent (or any claim of any Asserted Patent) so

as to support a domestic industry that “exists” under the statute. Whether practice of this and other

claims by the        is “in the process of being established,” however, is a separate matter and is

addressed below.

       Whether the         DI Product existed at the filing of the complaint to support a domestic

industry that “exists” is more complicated. As discussed above,                                 have

been introduced in this investigation,                             . Testimony from ALC witness

Mr. Somayajula indicates that

                                                   before the April 20, 2021 filing of the complaint.

See Hr’g Tr. (Somayajula) at 243:11-245:25; RX-0488C (Somayajula Decl.) at ¶ 9. That same

witness and ALC’s expert, Dr. Jafari, both testified that




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to the filing of the complaint. Hr’g Tr. (Jafari) at 482:3-14, 486:21-25

                    Hr’g Tr. (Somayajula) at 244:15-18.

        Apple contends, however, that ALC’s domestic industry theory relies on

             RIB at 128 (“The        that AliveCor relies upon for domestic industry is the

                                This would be important for determining whether or not the

        can support a domestic industry that “exists”—                                    But ALC’s

initial brief makes no mention of the

               See generally CIB. And what discussion there is only further clouds the issue. ALC

refers to core features the       “includes” but also “will have” or “will be able to” do. Id. at 18.

Obviously, features that a product “will have” is not terribly supportive of a claim that a product

already practices the patent. This is contrasted with its discussion of technical prong, specifically,

where ALC describes a              that “practices” the 941 patent claims. See id. at 50-54. This

implies the product has all necessary features.

        ALC’s reply brief seems to acknowledge different

                       CRB at 25. The discussion then shifts to an evaluation of an industry in the

process of being established (i.e. not one that “exists”), and refutes the idea that any DI article

must be commercialized or FDA-approved. See id. at 25-27. What the section does not do is make

clear that                                    at the time of the complaint, is alleged to practice all

limitations of claim 12 of the 941 patent. See id. at 25-27. Even ALC’s economic prong arguments

fail to present this basic contention, and instead emphasize ongoing and future development work

on the product. See CRB at 82 (arguing an economic prong “at the time of the complaint” standard

is satisfied “regardless                                              82 n.19 (arguing that because

the articles were produced during the investigation, “Apple’s various arguments about when




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prototypes first existed and which prototypes are currently be[ing] worked on are irrelevant”), 83

(arguing investments in                                      which is what existed at the time the

complaint was filed). In fact, in an explicit discussion of economic prong “in the process of being

established,” ALC emphasizes that it is not necessary that completed                       “exist”:

       If AliveCor does not have an existing domestic industry, an industry related to the
                        is in the process of being established. AliveCor Post-HB at 164-
       69. Here, Apple’s arguments about                                    bear even less
       weight. The Commission has never squarely held that an article needs exist to
       establish that an industry is in the process of being established. See Certain
       Thermoplastic-Encapsulated Electric Motors, Inv. No. 337-TA-1073, Comm’n
       Op., at 11 & n.14 (Aug. 12, 2019). And the Commission has found the domestic
       industry requirement satisfied based on an article that the ALJ characterized as “at
       most a precursor of what may someday be a prototype or an actual article.” Non-
       Volatile Memory Devices, Comm’n Op., 2018 WL 6012622, at *20, *25-27.

Id. at 90-91.

       Other record evidence additionally shows it unlikely ALC alleges

that practices the claims of the 941 patent. As one example, ALC’s technology officer, Mr.

Somayajula, mentioned only                                                          at the hearing.

Hr’g Tr. (Somayajula) at 213:17-214:9, 216:14-217:2. Even then, he testified that



                          Id. at 217:13-15, 219:6-11, 222:4-8; see Hr’g Tr. (Albert) at 158:21-24



                                                                  but see RX-0488C (Somayajula

Decl.) at ¶ 9 (“AliveCor’s ECG technology and



       In another example, Mr. Somayajula testified that



        Hr’g Tr. (Somayajula) at 244:9-14. He mentioned the



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Id. (citing RPX-0016C). Apple contends, “[t]his alert did not indicate to the user the possibility

of an arrhythmia. Rather, it merely alerted the user that the system had identified an ‘unexpected

heart rate’ that may be caused by many different factors, including normal factors that are not

‘cardiac conditions.’” Id. at 42 (citing Hr’g Tr. (Stultz) at 1071:7-20; RX-0128C.12); RRB at 21.

       The Staff finds the limitation met. The Staff reasons, “[i]f the system were able to

determine with certainty that the detected discordance was or was not an arrhythmia, then there

[would] be no reason to confirm that determination with an ECG . . . the message displayed by the

KBS when a discordance is detected is a notification of the possibility of an arrhythmia.” SIB at

24 (emphasis in original); SRB at 9.

       The limitation is met in the KBS product.            The parties’ agreed construction for

“arrhythmia” is very broad—“a cardiac condition in which the electrical activity of the heart is

irregular or is faster or slower than normal.” And the topic of the claimed notification is similarly

broad—“the possibility of an arrhythmia.”        Put together, the limitation simply requires a

notification of the possibility of a faster, slower, or in any way irregular heart rate. The word



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“unexpected” in “Unexpected Heart Rate[.] Would you like to take an EKG?” (RPX-0016C) fairly

communicates a heart rate that is unexpectedly faster or slower than normal.

       Accordingly, the KBS DI Product practices this limitation.

                       b.     [12(f)(iii)] “receive electric signals of the user from the ECG
                              sensor to confirm the presence of the arrhythmia”

       ALC contends the KBS “has instructions stored in memory that, when executed by the

processing device, cause the processing device to confirm the presence of the arrhythmia based on

the ECG data.” CIB at 48. More specifically, it explains, “‘[a]fter an ECG recording is complete,

the ECG is analyzed to determine



ALC concludes, “[w]hen the ECG is classified as Normal or shows the presence of Atrial

Fibrillation, the KardiaBand System has confirmed the presence of the arrhythmia.” Id. (citing

CPX-0021; CX-0110). ALC adds the limitation is practiced under the doctrine of equivalents as

well, with the function-way-result test. See id. at 48-49.

       Apple contests the limitation, again on claim construction grounds, that is, the limitation

requires overlapping ECG and PPG data capture, and some means for the discordance

determination to be “brought together” with ECG data. See RIB at 43. The Staff contends that

the limitation is met. See SIB at 24-25.

       The limitation is met. As discussed above in connection with claim construction, there is

no requirement for overlapping PPG and ECG data capture. Nor is there a requirement that the

discordance determination be “brought together” with the ECG data for “confirm[ation].” The

record evidence shows it is more likely than not that at least one user of the KBS has, at least one

time, taken an ECG just moments after receiving either a SmartRhythm notification. See, e.g.,

CPX-0021C at 00:34-45; Hr’g Tr. (Albert) at 64:11-25 (detailing clinical studies); JX-0009C.17



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                                                                                             , 27. The

evidence further shows the ECG program classifies the result (i.e., “confirm the arrhythmia”) and

returns that classification to the user. CPX-0021C at 00:29 (displaying “Possible AF”); JX-0011C

at (“After an ECG recording is complete, the ECG is analyzed to determine if it is at least 30

seconds long, if it is Normal, Unclassified, if Atrial Fibrillation is present, or if it is too noisy to

interpret. . . Presence of Atrial Fibrillation (AF) in you ECG results may present only potential

findings. If you are experiencing any symptoms or have concerns, contact your physician.”).

Thus, the KBS DI Product has a processor programmed to “receive electrical signals . . . to confirm

the presence of the arrhythmia.”

        Accordingly, the KBS DI Product practices this limitation, and therefore practices all the

limitations of claim 12.

                2.      Other Claims

        Apple does not contest practice of claims 16, 20, 21, 22, and 23 by the DI Products apart

from their dependency on independent claim 12. See RIB at 40-53. Neither does the Staff. SIB

at 25. As ALC has shown practice of independent claim 12, discussed above, the dependent claims

are found to be met in the KBS based on the undisputed evidence and testimony provided by ALC,

particularly the testimony of Dr. Jafari. CIB at 50; see Hr’g Tr. (Jafari) at 393:11-401:12. As

noted, the      and        have not been shown to practice any claim at the time of the filing of the

complaint.

                3.      Whether technical prong is “in the process of being established”

        As to whether practice of the 941 patent by the          and       products is “in the process

of being established,” the record supports finding in the affirmative.

        Technical prong domestic industry is a nearly identical analysis to infringement. Alloc, 342

F.3d at 1375. In the more common domestic industry “exists” cases, the analysis involves a


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comparison between claim language and an existing product. It follows that in “in the process of

being established” cases, the analysis should remain as a comparison between claim language and

a future product. The Commission has explicitly not foreclosed this approach to establishing

technical prong domestic industry (Thermoplastic Motors, Inv. No. 337-TA-1073, Comm’n Op.

at 11) even though it acknowledges possible problems with “domestic industry analysis as a

moving target” (id. at 8-9 n.11). Nevertheless, the Commission has confirmed the complaint filing

date standard applies to “in the process of being established” cases as well as “exists” cases, ruling

out post-complaint evidence even when the complainant’s future likelihood of success is

challenged by a respondent. See Certain Pouch-Type Battery Cells, Battery Modules, and Battery

Packs, Components Thereof, and Products Containing the Same, Inv. No. 337-TA-1179, Notice

at 2 (Jan. 14, 2021); see also Thermoplastic Motors, Inv. No. 337-TA-1073, Comm’n Op. at 13

(“The testimony of IV’s domestic industry expert, Ms. Kobe, shows that all of those activities

occurred after IV filed the complaint in September 2017. . . . As discussed above, however, the

Commission finds that the appropriate date here for determining whether a domestic industry was

in the process of being established is September 5, 2017”).

       ALC makes only cursory references to “significant and unusual developments” that might

shift the analysis away from the complaint filing date. See CRB at 82 n.20. Thus, later constructed

      and        prototypes, or any other post-complaint developments, are not available for

consideration as to whether the practice of the 941 patent is “in the process of being established.”

       Nevertheless, it is still more likely than not that, at the time of the complaint, ALC was

taking the necessary and tangible steps to practice claims 12, 16, 20, 21, 22, and 23 of the 941

patent via the      and       products. Dr. Jafari testified that the      and        as planned will

practice each element of claims 12, 16, 20, 21, 22, and 23, and his opinion is supported by




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descriptions of the planned products. See Hr’g Tr. (Jafari) at 393:11-399:13; JX-0025C; JX-

0095C; JX-0096C; CX-0251C; CX-0252C. For the                     Apple only expressly disputes elements

12(f)(ii) and 12(f)(iii), the “indicate” and “confirm” elements, but it is undisputed that the

will display a notification when a high heart rate is detected and that an ECG is then available

using the         , so the        will be programmed to confirm the arrythmia the same way the KBS

was. See RIB at 47-48; see also JX-0025C (showing ECG sensors on the                    ). For the

Apple disputes virtually every element of claim 12. See RIB at 53. But the                       will be

implemented on a smartwatch (see CX-0252C.5), it will monitor activity level with an

accelerometer (see JX-0096C.1), it will have PPG and ECG sensors (see CX-0252C.5), it will

identify a discordance and notify the user to take an ECG (see id. at *7), and will “alert” the user

when a discordant heart rate is determined (JX-0096C.5). So the technical documentation shows

that the         and         will actually practice the asserted claims, if produced.

           Moreover, there is a significant likelihood that the        and        will actually work. As

determined above, ALC’s previous product, KBS, has been shown to practice all of these claims.

ALC’s expert, Dr. Jafari, supplies persuasive testimony on the transferability of the SmartRhythm

(PPG analysis) and KardiaApp (ECG collection and analysis) features—primary software features

behind the KBS’ practice of the claims—to other portable heart monitors in development. See

Hr’g Tr. (Jafari) at 389:1-7, 389:21-25, 390:6-15, 392:3-393:10. ALC’s technical witnesses

testified to the same effect. Hr’g Tr. (Somayajula) at 198:13-19, 202:11-21, 203:19-205:8, 210:19-

212:2; 217:13-15, 218:22-219:20, 221:2-222:8; Hr’g Tr. (Raghavan) at 565:4-22, 596:7-599:22

(discussing predicate devices). And the prior art in this investigation, discussed below, shows that

wrist-worn computerized devices containing both PPG and ECG sensors were achievable well




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before the invention of the 941 patent. See RX-0419. So the hardware and software features of

12, 16, 20, 21, 22, and 23 are plainly achievable.

       Apple offers two points of opposition here. The first is that the     and       are unlikely

to become viable commercialized products.




                                                      But practice of an asserted patent claim for

technical prong purposes does not depend on commercialization status. Prototypes are acceptable

and do not depend, for instance, on FDA approval. Non-Volatile Memory, Inv. No. 337-TA-1046,

Comm’n Op. at 41.

       The second, particular to        , is that “AliveCor’s contention that SmartRhythm can

simply be repurposed from KBS to           ignores the significant technical challenges in applying

old source code to new hardware.” RIB at 52; RRB at 27. Apple emphasizes, “AliveCor must

develop and test its hardware and software, run clinical studies, and re-develop its hardware and

software to have SmartRhythm functional on AliveCor’s new devices.” RIB at 52 (citing Hr’g Tr.

(Picard) at 918:21-924:13; JX-0096C at 4; Hr’g Tr. (Somayajula) at 255:2-16). Apple then refers

to the intensive efforts involved with clinical studies and FDA submissions “to demonstrate




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sensitivity and specificity.” Id. at 52-53 (citing Hr’g Tr. (Picard) at 922:8-923:24). Apple

concludes, “it may take years of further development.” Id. at 53.

        Apple’s points are well-taken, as discussed below in connection with economic prong, but

they do little to show that ALC is not taking the necessary and practical steps to practice a claim,

or not likely to succeed at it. For instance, in contrast to the     product, there is no assertion

that ALC has abandoned the            .



                                                       And although the journey towards an FDA-

cleared consumer medical device is long, the record indisputably shows it is familiar to ALC. See

generally Hr’g Tr. (Albert) at 59:21-83:7; Hr’g Tr. (Raghavan) at 558:13-602:9. Moreover, to

meet the technical prong, the sensors and algorithms need to work, but they do not need to work

well.

        Relatedly, and in rebuttal, Apple seems to challenge not just the feasibility but the intent

of ALC to “repurpose” SmartRhythm for            and       . RRB at 27 (arguing the only evidence

comprises “uncorroborated and conclusory testimony”). But the testimony from Dr. Albert, Mr.

Somayajula, and Mr. Raghavan on this point was corroborated by internal planning documents.

JX-0096C; JX-0090C; CX-0252C.5                 will “leverage AliveCor algorithms”), 16




CX-0250C.6, 11; JX-0008C

                                                            JX-0095C (press release mentioning

“AliveCor’s ECG recording and AI technology” for




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       Accordingly, each of AMON, Almen, and Kotzin are determined to qualify as prior art to

the 941 patent at least under 35 U.S.C. § 102(a).

               1.      Ineligible Subject Matter

       Apple contends claims 12, 13, 16, and 19-23 of the 941 patent are invalid under 35 U.S.C.

§ 101 for failure to claim patentable subject matter. To this end, Apple applies the two-step

analysis from Alice.

       Under Alice step one, regarding that which the claim is directed to (Alice, 573 U.S. at 217),

Apple argues “[c]laim 12 is directed to nothing more than the abstract idea of recording patient

data, analyzing the data to identify a possible cardiac irregularity, and then confirming that

irregularity.” RIB at 54 (citing Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed.

Cir. 2016)). Apple refers to the testimony of its expert, Dr. Stultz, to explain that the claim

represents the routine steps medical doctors have manually preformed for some time:

       Dr. Stultz—who is the only medical doctor in this case, and is the only expert who
       has ever diagnosed patients with arrhythmias—testified that in a routine cardiac
       exam, a patient comes into the office for assessment, has their pulse measured (e.g.
       by PPG, manual palpation, auscultatory exam), and then an assessment of regular
       rate and rhythm is done mentally by the physician, i.e. considering HRV while the
       patient is confirmed to be at rest. Tr. (Stultz) at 1076:12-1077:15; id. at 1079:11-
       23; id. at 1084:14-17; id. at 1090:17-1091:14; RDX-3.21; RDX-3.23; RDX-3.33-
       3.34. If an irregular arrhythmia is detected, an ECG is ordered and analyzed, usually
       within minutes, to arrive at a diagnosis. Tr. (Stultz) at 1076:12-1077:15. Dr. Stultz
       testified in detail that this is the same process he used when he “began [his] training
       as a physician/scientist over 30 years ago.” Id. at 1077:16-20.

Id. at 54-55 (emphasis in original); see RRB at 29. Apple views ALC’s expert, Dr. Efimov, and

founder, Dr. Albert, as conceding this point. RIB at 55 (citing Hr’g Tr. (Efimov) at 1295:4-

1296:21; Hr’g Tr. (Albert) at 17:1-18:5, 38:4-42:3); RRB at 29-30, 33. Apple also disputes that

claim 12 represents any improvement to the monitoring devices themselves (RIB at 55-56) and

argues that it is instead similar to those claims found ineligible in CardioNet, LLC v. InfoBionic,

Inc., 816 F. App’x 471, 472 (Fed. Cir. 2020) (“CardioNet II”) (id. at 56-57). In short, Apple


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contends, “[c]laim 12 is thus directed at nothing more than automating long-standing clinical

practices, which the Federal Circuit has repeatedly found invalid.” Id. at 56-57 (citations omitted).

       If found to be directed to an ineligible idea, Apple argues the remaining claim elements do

not significantly add to the invention apart from conventional, routine, or well-understood

technology. RIB at 57 (citing Alice, 573 U.S. at 221-26; SAP Am., Inc. v. InvestPic, LLC, 898 F.3d

1161, 1163 (Fed. Cir. 2018)). It contends the combination of PPG and motion sensors, and the

subsequent use of an ECG, were well-known and not inventive as of 2013. Id. (citing Hr’g Tr.

(Stultz) at 1091:6-1092:8; Hr’g Tr. (Efimov) at 1295:21-1296:18). Apple also reasons that because

ALC’s expert “admitted that only a doctor can diagnose atrial fibrillation—[] the ’941 patent’s

device is not an advancement in ambulatory identification and diagnosis of arrhythmias at all.” Id.

at 57-58 (citing Hr’g Tr. (Efimov) at 1294:5-12, 1295:4-6), 58 (citing Hr’g Tr. (Efimov) at

1298:11-19, 1295:21-23, 1296:16-17), 59.        Apple warrants, “‘it is not enough’ to point to

conventional activities and mental processes ‘and say ‘do it on a computer.’’” Id. (citing Apple,

Inc. v. Ameranth, Inc., 842 F.3d 1229, 1243 (Fed. Cir. 2016); see id. (“[T]here is nothing specific

about the claimed smartwatch that makes it anything but an off-the shelf computer.”); RRB at 34.

As for dependent claims 13, 16, and 19-23, Apple argues they are directed to the same abstract

idea as claim 12, represent common medical practice, recite only generic components, and are

generally not inventive. See RIB at 59-60; RRB at 33, 36.

       In response to ALC, Apple contends claim 12 is nothing like those at issue in CardioNet,

LLC v. InfoBionic, Inc., 955 F.3d 1358 (Fed. Cir. 2020) (“CardioNet I”) or Exergen Corp. v. Kaz

USA, Inc., 725 Fed. App’x 959, 964 (Fed. Cir. 2018). RRB at 29-30, 32, 34. Apple rejects ALC’s

position that claim 12 is directed to a “‘particular combination of sensors and algorithmic

instructions’” because, in part, the “‘algorithms’ merely apply generic functional language that




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doctors have long used as part of [the] diagnostic process.” Id. at 30-31 (citing CIB at 59), 35-36

(“neither the Asserted Claims nor the specification say anything substantive about signal

processing, development of the sensors, or perfection of algorithms that make the claims patent

eligible”).

        Similarly rejected is ALC and the Staff’s position that claim 12 “‘more accurately detected

arrhythmias in ambulatory patients than conventional devices could.’” Id. at 31. Apple explains

“[t]here is nothing in claim 12 (or the ’941 patent’s specification) that limits the device to use in

only ambulatory patients” and “patients could already record ECGs in an outpatient setting (via

ECG patches and Holter monitors), as well as continuously monitor heart rate and activity level

via the Apple Watch.” Id. (citing 941 patent at 4:59-62); see id. at 31-32 (discussing Holter

monitor deficiencies).

        ALC contends the claims are directed to patentable subject matter, and even if not, they

recite inventive concepts sufficient to render them patentable under 35 U.S.C. § 101. As to Alice

step one, ALC argues claim 12 “is directed to a particular combination of sensors and algorithmic

instructions” and its limitations show it can more accurately detect paroxysmal or asymptomatic

arrhythmias than traditional medical practice. CIB at 59-60 (citing Hr’g Tr. (Efimov) at 1221:3-

1236:1; Hr’g Tr. (Stultz) at 1096:22-1097:18). ALC compares claim 12 to the claim at issue in

CardioNet I, mentioned above, where the improvements “over existing diagnostic methods”

showed direction towards a non-abstract idea. Id. at 60-61; CRB at 30. ALC adds:

        Indeed, claim 12 is even more clearly directed to an improvement in cardiac
        monitoring technology than the claims asserted in CardioNet I because it adds
        further specific components and algorithmic instructions to more accurately detect
        arrhythmias. Whereas the device in CardioNet I merely generated “an event” when
        it detected AFib or atrial flutter, it did not perform any additional steps to “confirm”
        the presence of those conditions, as does the device of claim 12. See JX-003.19, cl.
        12. And rather than claiming a “beat detector” and a “ventricular beat detector,”




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       without specifying which type of sensor should be used, claim 12 requires a
       processor, a PPG sensor, an ECG sensor, and a motion sensor. Id.

CIB at 62.

       ALC also disputes that the claim is simply “automating known techniques that doctors

routinely used to diagnose arrhythmias such as atrial fibrillation.” CIB at 63. The difference, it

says, is that traditionally a doctor would have used a 12-lead ECG and even then “could not detect

the asymptomatic episodes.” Id. (citing Hr’g Tr. (Efimov) at 1235:6-1236:1, 1229:24-1230:20).

In fact, ALC takes it one step further and reasons, “[b]ecause the claimed device is intended to

detect arrhythmias when a doctor is not present, Dr. Stultz’s testimony about steps doctors

performed in clinical settings is irrelevant.” Id. (emphasis in original); CRB at 33.

       As for the dependent claims, ALC contends they “disclose additional limitations that place

the claimed inventions even further outside the realm of abstract ideas.” CIB at 63. In particular,

ALC highlights HRV assessments (claims 13 and 19) which it asserts were previously done

qualitatively and thus there is no evidence that “doctors routinely used wearable devices or

algorithms running on them to determine HRV from PPG data.” Id. at 64 (citing Hr’g Tr. (Stultz)

at 1077:25-1078:11, 1085:11-22; McRO Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299,

1314 (Fed. Cir. 2016)).

       As for Alice step two, ALC points to the “discordance” determination as “innovative”

because “it can filter out abnormal PPG readings that are caused by normal activities such as

exercise.” CIB at 65 (citing Hr’g Tr. (Efimov) at 1240:6-1241:12). This feature, according to

ALC, makes the claim similar to that in Exergen. See id. at 65-66. ALC repeats, “[t]he claimed

device is inventive because it can detect arrhythmias when a doctor is not present.” Id. at 66

(emphasis in original). Even then, ALC suggests doctors “did not routinely use PPG sensors” for

arrhythmia diagnosis such that “even if PPG sensors were known in the art, they were not used for



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the specific purpose of detecting arrhythmias.” Id. (citing Hr’g Tr. (Efimov) at 1236:2-16;

Exergen, 725 F. App’x at 964-66); CRB at 31-33. ALC draws a sharp distinction between typical

clinical practice and claim 12:

        Moreover, Dr. Stultz testified that doctors would qualitatively assess a patient’s
        heart rate while the patient was at rest, which is a different concept than comparing
        the user’s activity level from a motion sensor with a heart rate parameter from a
        PPG sensor to determine if there is a discordance between the two. Tr. (Stultz) at
        1077:25-1078:11; 1085:11-22. Dr. Stultz opined that doctors “assess these findings
        in the setting of the patient being at rest,” but he never testified that doctors
        compared heart rate parameters with an activity level achieved during normal
        exercise. Tr. (Stultz) at 1079:11-23.

CRB at 33.

        Turning to hardware, ALC contends “the claimed device is not merely a generic computer.

It is a unique combination of a processor, a PPG sensor, an ECG sensor, and a motion sensor that

is capable of detecting and confirming the presence of arrhythmias . . .” CIB at 66-67 (citing, inter

alia, Hr’g Tr. (Efimov) at 1238:4-14); CRB at 34. And for the dependent claims ALC argues they

“provide further inventive concepts” and refers to the benefits these claims provide. See id. at 68-

69; CRB at 35.

        In response to Apple, ALC suggests the 941 patent is nothing like the invalid claims in

CardioNet II. CRB at 31. Specifically, ALC argues “[c]laim 12 is different because it recites a

specific implementation of an improvement over conventional cardiac monitoring devices.” Id.

ALC adds, “[t]his process of identifying a discordance, indicating to the user that an arrhythmia is

present, and confirming the arrhythmia with ECG data is a specific implementation of a

technological improvement to cardiac monitoring devices.”           Id.   ALC contrasts this with

CardioNet II’s claims which recited “‘conventional processes.’” Id. (citing 816 Fed. App’x at

475).




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       The Staff agrees with ALC on each issue. The Staff describes Alice step one as “‘asking

what the patent asserts to be the focus of the claimed advance over the prior art.’” SIB at 27 (citing

TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1292 (Fed. Cir. 2020); SRB at 13. To this question,

Staff answers:

       The claims recite specific technical improvements that overcome deficiencies of
       conventional cardiac monitoring systems by sensing a user’s activity level and a
       heart rate parameter to determine when to alert a user of the possibility of an
       arrhythmia being present, while also enabling the user to record an ECG to confirm
       the presence of the arrhythmia.

SIB at 27. The Staff views claim 12 as a specific “‘means or method that improves cardiac

monitoring technology.’” SIB at 28 (citing CardioNet I, 955 F.3d at 1368).

       As for step two, the Staff contends:

       The evidence shows that the combination of limitations of the asserted claims
       supply an inventive concept that is sufficient to transform the nature of the claim to
       patent-eligible subject matter. See Tr. (Efimov) at 1252:15-1254:18; CDX-
       002C.45. Specifically, those claims recite a specific system that uses a first sensor
       to sense an activity level value of a user, and a photoplethysmogram (“PPG”) sensor
       configured to sense a heart rate parameter of the user so as to alert the user of the
       possibility of an arrhythmia and to enable the capture of an ECG. See JX-003 (’941
       patent) at cl. 12, col. 1:49-57. This technical advance enables the capture of
       ephemeral cardiac events in a way not possible using prior cardiac monitoring
       technology. See JX-003 (’499 patent) at col. 1:49-57; see also Tr. (Efimov) at
       1252:15-1254:18; CDX-002C.45.

Id. at 28-29.

       Claim 12 is not invalid under 35 U.S.C. § 101, although it is directed to an ineligible

concept under Alice step one. For background, claim 12 recites:

       12. [12(a)] A smartwatch, comprising:

       [12(b)] a processor;

       [12(c)] a first sensor configured to sense an activity level value of a user, wherein
       the first sensor is coupled to the processor;




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       [12(d)] a photoplethysmogram (“PPG”) sensor configured to sense a heart rate
       parameter of the user when the activity level value is resting, wherein the PPG
       sensor is coupled to the processor;

       [12(e)] an electrocardiogram (“ECG”) sensor configured to sense electrical signals
       of a heart, wherein the ECG sensor comprises a first electrode and a second
       electrode, and wherein the ECG sensor is coupled to the processor; and

       [12(f)] a non-transitory computer readable storage medium encoded with a
       computer program including instructions executable by the processor to cause the
       processor to:

       [12(f)(i)] determine if a discordance is present between the activity level value of
       the user and the heart rate parameter of the user;

       [12(f)(ii)] based on the presence of the discordance, indicate to the user a possibility
       of an arrhythmia being present; and

       [12(f)(iii)] receive electric signals of the user from the ECG sensor to confirm the
       presence of the arrhythmia.

941 patent at cl. 12 (annotated). There are essentially two portions to this claim. The first recites

the structure of a smartwatch (found to be limiting, above) loaded with a processor and particular

sensors (limitations 12(a)-12(e)). The second portion refers to instructions causing analysis of the

sensors’ data and indicating (by any means) at least one result to the user (limitations 12(f)-

12(f)(iii)). The first portion alone typically would be considered patent-eligible subject matter (as

an apparatus), but the second portion alone typically would be questionable (as a set of algorithms).

See Yu v. Apple Inc., 1 F.4th 1040, 1043 (Fed. Cir. 2021) (in a claim for a digital camera, comparing

limitations on lenses, sensors, and circuitry against limitations on image data enhancement).

       The issue is then whether the claim, in view of the specification, is directed primarily to

the apparatus or to the instructions. Alice, 573 U.S. at 217; Yu, 1 F.4th at 1043-45. The intrinsic

evidence supports the latter. The majority of 941 patent claims focus on data analysis and returning

results of that analysis to a user (941 patent at cls. 2-9, 13-21), while only a handful recite non-

algorithmic features (id. at cls. 10, 11, 22, 23). The specification similarly speaks at length to




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diagnostic techniques for arrhythmias, and the benefits of a discordance determination preceding

an ECG measurement. Id. at Title, 1:66-2:3, 2:10-3:12, 12:55-65, 12:66-13:7, 13:67-14:18, 14:36-

42, Fig. 7. On the other hand, the concept of a smartwatch embedded with all three of an activity

sensor, a heart rate sensor, and an ECG sensor is discussed sparingly and in generalities (see id. at

2:42-3:12, 4:14-32; see generally id. at 5:33-9:37) and, importantly, is not presented as the main

contribution to the art (see id. at 4:59-5:16 (discussing Apple Watch as an existing device)).

       Accordingly, it is fair to say that claim 12 is directed to the abstract idea of analyzing a

combination of heart rate and activity, and then measuring and analyzing ECG electric signals for

medical diagnosis, as medical practitioners have routinely done for years. “The Supreme Court

has held that ‘fundamental . . . practice[s] long prevalent’ are abstract ideas . . .. The Supreme

Court and we have held that a wide variety of well-known and other activities constitute abstract

ideas.” Intellectual Ventures I LLC v. Symantec Corp., 838 F.3d 1307, 1314 (Fed. Cir. 2016)

(citing Alice, 134 S.Ct. at 2356). Claim 12 is thus directed to non-patent eligible subject matter.

       The structural elements within claim 12, however, are sufficient to transform the claim into

patent eligible subject matter under Alice step two. The claim’s recitation of a smartwatch

comprising “a photoplethysmogram (“PPG”) sensor configured to sense a heart rate parameter of

the user when the activity level value is resting, wherein the PPG sensor is coupled to the

processor,” is particularly specific and structural. As the 941 patent notes, “numerous sensors are

known for measuring heart rate”:

       Electronic devices suitable for use with the system 601 include mobile electronic
       devices such as smartphones, smartwatches, tablets, and laptops. The electronic
       device 601 comprises one or more sensors configured to sense a physiologic
       parameter. Numerous sensors are known for measuring heart rate. Non-limiting
       examples of suitable sensors include light based sensors such as, for example,
       infrared sensor/emitter, ultrasound sensors, and tactile sensors. Sensors for
       measuring rhythm include electrodes for measuring electrocardiograms (ECG) and
       light based sensors for measuring photoplethysmograms.



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941 patent at 5:41-51.

       The claim could have left it at “a sensor” for collecting heart rate, similar to what it did for

“[a] sensor configured to sense an activity level.” But a PPG sensor on a smartwatch is specific

and innovative. ALC’s founder, Dr. Albert, described it as “us[ing] a green wavelength. What

they do is they shine light into the skin, and that light is modulated by the blood flow in the skin.

Then they look at the reflected light, again, that’s been modulated by the blood flow, and they get

that pulse waveform you see.” Hr’g Tr. (Albert) at 66:2-11. Dr. Jafari described it as “light going

through the tissue and you get the reflection of it back through the photodiode.” Hr’g Tr. (Jafari)

at 513:12-15. Apple’s engineering witness, Dr. Waydo, also testified to particular technical

considerations that influence PPG data collection. Hr’g Tr. (Waydo) at 823:12-824:1 (describing

PPG sensor’s sensitivity to ambient light). And the 941 patent describes PPG as “provid[ing]

cardiac cycle information and may, for example, be analyzed by a processor of a device described

herein to determine a presence of a premature ventricular contraction.” 941 patent at 9:54-57.

Thus, recitation of a PPG sensor within a smartwatch, while not the entire focus of the claim, does

move it away from the ineligible concept of data collection/analysis and towards a specific electro-

mechanical apparatus.     Alice, 573 U.S. at 217-18 (asking whether the additional elements

“transform the nature of the claim” into patent-eligible subject matter).

       The claim’s “electrocardiogram (‘ECG’) sensor configured to sense electrical signals of a

heart, wherein the ECG sensor comprises a first electrode and a second electrode, and wherein the

ECG sensor is coupled to the processor” on the smartwatch adds to this finding. The claim did not

recite any means for collection of any sort of “electrical signals of a heart,” but rather an ECG, and

one which includes first and second electrodes. The record shows that ECG sensors collect data

in a certain way and provide a very particular waveform. See, e.g., Hr’g Tr. (Albert) at 48:6-49:24;




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Hr’g Tr. (Jafari) at 291:4-13; Hr’g Tr. (Stultz) at 1058:16-1059:13, 0195:1-10; 941 patent at Fig.

1, 8:1-9:23.

       An ECG sensor, in combination with a smartwatch that also includes a PPG sensor, as well

as an activity level sensor, amounts to significantly more than a patent on the ineligible concept of

analyzing a heart rate and activity, and then measuring and analyzing ECG electric signals for

medical diagnosis. Alice, 573 U.S. at 217-18. Taken individually, each separate component may

be conventional, but combining all the various sensors on a smartwatch, for a specific function

that is not traditional for smartwatches, is sufficiently “unconventional” to satisfy Section 101

under Alice step two. BSG Tech LLC v. BuySeasons, Inc., 899 F.3d 1281, 1291 (Fed. Cir. 2018).

There may come a time when every smartwatch includes the various claimed sensors, and runs the

needed algorithms to practice claim 12, but as of the date of the invention the “ordered

combination” of the claim’s elements was sufficiently “transform[ative].” Id. at 1289; see

Berkheimer v. HP Inc., 881 F.3d 1360, 1369 (Fed. Cir. 2018) (“The mere fact that something was

disclosed in a piece of prior art, for example, does not mean it was well-understood, routine, and

conventional.”).

       Apple’s argument to the contrary is not clear and convincing. i4i, 564 U.S. at 95. Apple

principally argues “it is not enough to implement an abstract idea with ‘well-understood,’ ‘routine,’

or ‘conventional’ technology” and the combined use of PPG sensor data and ECG sensor data for

arrhythmia detection was “well-known and not inventive as of 2013.” RIB at 57 (citing, inter alia,

Alice, 573 U.S. at 221-226); RRB at 34-35 (looking for “innovative advancement” and comparing

to prior art). But the test is not whether what stands apart from the ineligible subject matter is

inventive in the sense of being novel or non-obvious. Synopsys, Inc. v. Mentor Graphics Corp.,

839 F.3d 1138, 1151 (Fed. Cir. 2016) (distinguishing § 101 inventive concept from § 102 novelty




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and § 103 obviousness). The test is whether a smartwatch with integrated processor, activity

sensor, PPG sensor, and ECG sensor (with at least two electrodes) adds something more than

carrying out heart rate discordance determination, user indication of arrhythmia, and arrhythmia

confirmation on generic hardware. Alice, 573 U.S. at 225-226; see RRB (arguing claim 12

“exemplifies a fundamentally abstract idea implemented on generic computer hardware using

generic functional language”). And the answer is that it does, as discussed above.

       Even if claim 12 was clearly and convincingly shown to be invalid under 35 U.S.C. § 101,

Apple has not met its burden for the dependent claims that add further specificity to the smartwatch

structure. Claim 22 recites “wherein the PPG sensor is located on a back of the smartwatch” and

claim 23 recites:

       [W]herein the first electrode is located on the smartwatch where the first electrode
       contacts a first side of the user's body while the user wears the smartwatch, and the
       second electrode is located on the smartwatch where the user must actively contact
       the second electrode with a second side of the user's body opposite from the first
       side.

941 patent at cls. 22, 23. Again, Apple offers little here beyond an assertion that such features

would have been obvious, stating, “Dr. Stultz testified that these are effectively the only places

that PPG and ECG sensors could be placed on a user’s wrist to work effectively—there is nothing

inventive about doing so.” RIB at 60; see RRB at 36. Obviousness is not the test for an inventive

concept, however.

       Accordingly, none of the asserted claims of the 941 patent have been shown to be invalid

for lack of patentable subject matter.

               2.      AMON in Combination with Almen and/or Kotzin

       Apple contends AMON “alone or in combination with two others for minor limitations—

renders obvious all of the ’941 patent’s Asserted Claims in this Investigation, including claims 12-

13, 16, and 19-23.” RIB at 60. Apple posits that four limitations within claim 12 are in dispute


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under this theory (id. at 61) although ALC’s briefs discuss only three (CIB at 74-77; CRB at 40-

42). In addition, ALC presents disputes for claims 13 and 21. CIB at 77-80; CRB at 42-45.

       There is a preliminary matter concerning claim 13. In its opening brief, Apple reasons that

“[a]lthough AliveCor contests that heart rate variability is disclosed in AMON, it does not contest

limitation 11[f] of the ’499 patent . . . in its Pre-Hearing Brief. Therefore, AliveCor has waived

its argument that AMON does not disclose heart rate variability across all three Asserted Patents.”

RIB at 72 n.32. This is not persuasive. A generalized discussion of claim 13 was contained in

ALC’s pre-hearing brief. CRB at 42 n.12; see CPB at 84 (citing other pre-hearing brief sections

that attack combination of references). Thus, ALC’s position on claim 13 was not waived.

                       a.         Claim 12

       As noted, three limitations are in dispute for claim 12. As to the remaining, undisputed,

limitations, they are found to be disclosed in AMON as alleged. RIB at 67-69 (citing Hr’g Tr.

(Stultz) at 1117:9-1118:7). In particular, AMON teaches a “wrist-worn device” that tells time,

containing “processing devices,” an “acceleration sensor . . . capable of detecting the level of user

activity,” an ECG with one electrode inside the device cuff and a second electrode on top, and

flash and random access memory. RX-0419 at 1-2, 4, 6-7. Although AMON does not appear to

use the term “PPG,” it describes such a sensor located on “the top of the wrist,” as well as its use

for measuring pulse rate. See id. at 3-5.

                             i.      [12(f)(i)] “determine if a discordance is present between the
                                     activity level value of the user and the heart rate parameter
                                     of the user”

       Apple contends AMON discloses “determine if a discordance is present between the

activity level value of the user and the heart rate parameter of the user.” RIB at 69-70. In

particular, Apple argues:




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          As Dr. Stultz testified, AMON discloses “identifying high-risk zones given
          observations of patient data . . . [which] include[s] the pulse rate, and it tries to
          determine a high-risk zone based on settings.” Tr. (Stultz) at 1118:8-1119:25. As
          Dr. Stultz explained, “[t]he key point here is that the settings are determined by the
          activity level” as set forth in Table I. Id. Effectively, AMON detects the level of
          user activity (walking, running, or resting) and correlates it to vital signs, where
          “the high risk areas . . . signify when the parameters are inconsistent with activity
          level.” Id.

Id. As compared to the Accused Products, Apple avers AMON discloses this limitation “much

more than the accused Apple Watch given that it has a specific table correlating activity to pulse

rate.” Id. at 70 (citing Hr’g Tr. (Stultz) at 1118:8-1119:25). Apple rejects the pre-set nature of the

values as irrelevant because “[t]he critical point is that AMON detects user activity and correlates

it with vital signs, where pulse limits are set according to the activity level.” RRB at 39 (citing

Hr’g Tr. (Stultz) at 1119:3-20; Hr’g Tr. (Efimov) at 1282:9-17).

          The limitation is disclosed in AMON as alleged. AMON discloses two sets of risk

thresholds for a patient’s measured pulse, one for nonaerobic user activity and one for aerobic.

RX-0419 at 6, Table I. AMON also discloses an acceleration sensor for determining which activity

state a user is in. Id. at 3 (“AMON monitors pulse . . . and activity via acceleration continuously.”),

5 (“Acceleration sensors provide information on the activities of the wearer.”) 6 (“The selection

of the active state is performed by user command or automatically by the wrist device when activity

is detected.”), Fig. 6. Thus, AMON teaches an evaluation for inordinately high or low pulse rates

given one of two activity levels; i.e., “a discordance is present between the activity level value of

the user and the heart rate parameter of the user.” And that heart rate can be provided by an optical,

or “PPG,” sensor. Id. at 6, 7 (explaining that an optical sensor runs and measures pulse for 30

seconds every 2 minutes, while other sensors are turned off most of the time). Thus, the limitation

is met.




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       ALC argues that “the AMON device does not directly compare that activity level with the

user’s measured vital signs (including any heart rate parameter).” CIB at 75 (citing Hr’g Tr.

(Efimov) at 1282:4-7); see CRB at 40. But the claims do not require a “comparison,” they require

“determin[ation]” of a “discordance,” and that is clearly what AMON does.

       Accordingly, the limitation is disclosed in AMON.

                            ii.    [12(f)(ii)] “based on the presence of the discordance, indicate
                                   to the user a possibility of an arrhythmia being present”

       Apple contends “based on the presence of the discordance, indicate to the user a possibility

of an arrhythmia being present” is disclosed in AMON, “expressly or inherently”; and if not, it

would have been obvious to modify AMON to arrive at this limitation of claim 12. RIB at 70-71.

For support, Apple explains, “[t]he clinical algorithm disclosed in AMON also notes that if the

pulse is outside the normal range, the user is asked to take an ECG measurement.” Id. at 70 (citing

RX-0419 at 6). Apple continues, “it would have been obvious to a POSITA with their knowledge

as of May 2015 to modify the disclosure in AMON to meet this limitation (to the extent it’s not

expressly or inherently disclosed).” Id. (citing Hr’g Tr. (Stultz) at 1120:1-12)). Apple views ALC

as admitting that AMON “‘informs the user that one of the pre-set parameters may be outside of a

normal range’” (RRB at 39 (citing CIB at 75)) and that “a heart rate outside of the normal range

based on activity is inherently indicative of possible arrhythmia under AliveCor’s and Dr. Jafari’s

application of the claims for infringement” (id. (citing Hr’g Tr. (Stultz) at 1120:1-12)). Apple

emphasizes there is no need for the word “arrhythmia” to be displayed explicitly. Id.

       The limitation is not disclosed, either expressly or inherently. AMON teaches, “[t]he initial

analysis starts with a comparison of the pulse and oxygen saturation with predefined patient-

specific values.” RX-0419 at 3. AMON continues, “[b]ased on the results of this analysis, three

different scenarios are possible,” with one of those scenarios being, “Parameter out of range: A



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remeasurement is performed. If the outcome is the same as before, the user is informed and

additional measurements are required.” Id. Another scenario is that more than one parameter is

out of range, but “[i]n all cases, the patient is informed as to their own status and that of the device.”

Id. AMON also teaches that one of its “unique” features is “Online Analysis and Emergency

Detection” which includes “an analysis of all measurements online, presenting them in appropriate

form to both wearer and remote [telemedicine center, or TMC].” Id. at 2 (emphasis added).

        The clear import of these statements is that when pulse is measured and found to be out of

range (i.e., too fast or too slow, the agreed construction of “arrhythmia”), the “user is informed”

of that fact. But AMON does not specify exactly how this is done. ALC cites to the testimony of

Dr. Efimov: “the alerts are only understood in the sense that the device can send a signal

automatically to a hospital or a 9-1-1 call but not to the user.” Hr’g Tr. (Efimov) at 1283:5-18; see

CIB at 75. But this is not a reasonable reading of AMON, which states that the “patient is

informed” in “all cases,” including “[i]n the event of a failure to initiate communication with the

[telemedicine center].” RX-0419 at 3. That is, direct communication to the user, as well as

communication to a health professional at the telemedicine center, are both clearly contemplated

by AMON. No particular method of “inform[ing]” is specified, however.

        Nor does AMON expressly disclose the content of the information. But again, it discloses

direct conveyance of information, including when a doctor at the telemedicine center cannot be

reached, so it is not limited to a “human being mak[ing] medical judgments,” and then expressing

a diagnosis, “based on data transmitted” from the device. CIB at 75. Instead, the information is

described as presented “in appropriate form” to the wearer. RX-0419 at 2. “Appropriate form”

encompasses a range of possible messages, including messages that do not specifically “indicate”

a “possibility of an arrhythmia,” such as a directive to simply contact a cardiologist.




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       So this limitation is not expressly disclosed in AMON. It is also not inherently disclosed,

because it is not “necessarily present.” Schering Corp., 339 F.3d at 1377. It is, however, an

obvious manner of carrying out what AMON teaches. In essence, AMON discloses a genus

(inform the user of the sensed condition in an appropriate form) of which the “indicate” limitation

is a species (indicate to the user the possibility of an arrythmia). Any skilled artisan presented

with AMON would need to fill in certain gaps to construct the device disclosed, including what

method to use to inform the user that heart rate is discordant and exactly what information to

convey. As noted, AMON itself implies multiple possibilities, but it surely would have been

obvious to that skilled artisan to just program the device to display a plain language description of

the detected discordance (in this case high heart rate) on AMON’s screen—in fact, it likely would

have been the simplest implementation. See RX-0419 at 6 (“[o]n each step, a result is displayed”).

The testimony of Dr. Stultz, to the effect that it would have been obvious in 2015 to modify AMON

to indicate an arrhythmia, is entirely consistent with this. See Hr’g Tr. (Stultz) at 1120:13-1121:1.

If anything, Dr. Stultz’s opinion understates the obviousness of this element, because AMON

would not need to be “modified,” just specified such that the relevant information would actually

be conveyed in a particular, appropriate form. As noted, to a POSITA the most straightforward

way of doing that would have been to display “high heart rate” or the like on AMON’s screen.

And that satisfies the claim element.

       ALC agrees that “[t]o the extent the AMON device provides any ‘indication,’ it informs

the user that one of the pre-set parameters may be outside of a normal range,” but otherwise

disputes this finding. CIB at 75. As explained, however, it would have been obvious to a POSITA

to be precise about the out-of-range parameter, and to display that fact on AMON’s screen. ALC

also argues that AMON’s algorithms are for signal processing, not for condition-specific detection.




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Id. This, however, ignores AMON’s explicit teaching of a risk threshold lookup table (including

faster and slower heart rate ranges) and the parties’ agreed construction of “arrhythmia” (faster or

slower heart rate than normal). See RX-0419 at 6.

        The Staff also argues the limitation is not taught. SIB at 33-34. But the Staff’s contention

that the limitation is not “suggest[ed]” by AMON is conclusory. Id. at 33 (stating only “AMON

does not disclose or suggest alerting the user of a possibility of an arrhythmia.”); SRB at 15 (same).

        Accordingly, it would have been obvious to implement AMON in a manner that satisfies

this limitation.

                            iii.    [12(f)(iii)] “receive electric signals of the user from the ECG
                                    sensor to confirm the presence of the arrhythmia”

        For “receive electric signals of the user from the ECG sensor to confirm the presence of

the arrhythmia,” Apple contends, “the 5-step algorithm in AMON describes taking an ECG in step

4 as a confirmatory measurement.” RIB at 71 (citing RX-0419 at 6). Apple acknowledges that

AMON does not mention arrhythmia by name, and does not dispute that diagnosis of a condition

is “done by a clinician, even in AMON,” but nonetheless relies on its expert to explain “arrhythmia

is certainly a condition a POSITA would have looked for in high-risk cardiac patients, even though

it is not expressly stated.” Id. at 72 (citing Hr’g Tr. (Stultz) at 1120:1-1121:1); RRB at 40. Apple

does not view AMON’s reporting of its own ECG working poorly as preventing obviousness

because AMON also discloses “‘[i]mprovements [to] hardware and algorithm-wise are foreseen

and should improve the measurements significantly.’” RIB at 72 (citing RX-0419 at 10). Apple

further argues “a POSITA would have been motivated to confirm the arrhythmia with ECG data

because Kotzin discloses sensing a different characteristic via a different biosensor (such as ECG)

to indicate whether the condition is indeed present.” Id. (citing Hr’g Tr. (Stultz) at 1121:11-22;

RX-0401 at 18:10-24); RRB at 40.



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       The limitation is expressly disclosed in AMON. As determined above, there need be no

link between the programming for evaluating discordances and receiving ECG signals for

arrhythmia confirmation. And AMON discloses that ECG signals are both received and evaluated

against a lookup table for confirmation of an abnormal, out of range, heart rate and QRS duration:




See RX-0419 at 4, Table I; RX-0419 at 6 (discussing “Fourth Step”). As disclosed, and shown

above, AMON “detect[s] and measure[s] a number of medical parameters from the ECG

waveform, in particular, QRS complex width,” and even employs a sort of machine learning

algorithm to improve its detection:

       For QRS detection, a threshold set is computed during an initial learning stage
       (lasting 8 s): the upper threshold is calculated from 0.4 times the average maximum
       on the integrated signal; from this, a lower threshold is calculated by another factor
       of 0.4. During the detection process, the current integrated moving window value
       is compared with the upper threshold. If this threshold is exceeded, an R wave onset
       is assumed; QRS is confirmed by scanning backward (up to 100 ms) for a dip below
       the lower threshold. These threshold values are continually adjusted with each new
       QRS so as to compensate for variations in ECG baseline.

Id. at 4. Whether this is an accurate or medically reliable determination of an arrhythmia from a

given ECG reading is immaterial; it is an evaluation and confirmation of a faster or slower than

normal heart rate—i.e., the parties’ agreed construction for the condition. Order No. 12 at 12-13.

Kotzin’s relevant disclosures are redundant with AMON and need not be discussed. Compare

RX-0401 at 6:14, 18:21-24 (discussing use of second sensor after particular result with first,

including EKG) with RX-0419 at 6 (same).



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       In addition, the fifth step of the medical algorithm begins, “[p]attern recognition of the

medical data for clinical diagnosis,” and ends with “[o]n each step, a result is displayed and, if

appropriate, sent to the TMC for further processing.” RX-0419 at 6. Thus, AMON does not simply

teach reporting back ECG data, but suggests applying pattern recognition to it with the result of

that process displayed. If the result is an arrhythmia, then the device has “confirm[ed] the presence

of the arrhythmia” as required. And as claim 12’s “confirmation of the arrhythmia” is not limited

to any particular process or algorithm, it is convincingly disclosed by AMON.

       ALC’s argument to the contrary is not persuasive. ALC contends, “AMON never discloses

a ‘confirmation’ step performed on the device” and its five step process “never discloses any

analysis performed by the device that could ‘confirm’ whether an arrhythmia is present.” CIB at

76; CRB at 41. But in a plain and ordinary sense, comparing measured ECG values to a lookup

table and concluding “high risk” is an analysis “to confirm” the presence of arrhythmia. Similarly,

ALC claims, “[a]t best, AMON and Kotzin disclose recording an ECG after a different sensor

detects an abnormality.” CRB at 41. Again, and setting Kotzin aside, AMON’s use of a lookup

table after ECG signal recording proves this statement false.

       ALC also argues AMON is a non-enabling reference, to the extent it is part of an

obviousness analysis. CIB at 74. ALC explains, “‘if an obviousness case is based on a non-self-

enabled reference, and no other prior art reference or evidence would have enabled a skilled artisan

to make the claimed invention, then the invention cannot be said to have been obvious.’” CRB at

36 (citing Raytheon Techs. Corp. v. Gen. Elec. Co., 993 F.3d 1374, 1377 (Fed. Cir. 2021)). ALC

refers specifically to the ECG functionality disclosed in AMON:

       Here, AMON itself states that the ECG sensor and algorithms could not reliably
       calculate heart rate or QRS wave lengths. RX-419.10. AMON’s ECG algorithm did
       not even attempt to identify P-waves, which Dr. Stultz testified are important for




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       detecting arrhythmias. Tr. (Stultz) at 1159:13-15. Accordingly, AMON is simply
       not capable of detecting arrhythmias using ECG sensing, as required by the claims.

Id. ALC views Apple’s experts, Dr. Picard and Dr. Stultz, as agreeing that the types of sensor

design and signal processing changes needed for AMON’s ECG are long-term projects, indicating

its status as non-enabling. Id. at 37 (citing Hr’g Tr. (Picard) at 919:3-920:4; Hr’g Tr. (Stultz) at

1153:8-25).

        ALC’s position is not persuasive for at least two reasons. First, it depends entirely on

AMON’s disclosure about its own ECG efficacy. ALC’s expert offers none of his own opinions

on the matter. See generally Hr’g Tr. (Efimov) at 1181:1-1310:10; Raytheon, 993 F.3d at 1382

(emphasizing independent expert testimony in enablement). And when AMON’s disclosure is

taken as a whole, the overall thrust is that reliable heart rate and QRS wavelength will be achieved

in due course, that is, without undue experimentation:

       B. Conclusion

       1) Measurement Results

                                               ....

       ECG provides poor or no results. Calculation of reliable heart rate and length of
       the QRS wave was not made possible. Noise was a problem for all measurements.
       Improvements hardware and algorithm-wise are foreseen and should improve the
       measurements significantly.

       The results are close to what we expected but the device needs some improvements.
       What can be stated is that the use of several sensors in the same device is possible.

                                               ....

       VI. Conclusion

       We have developed a wearable medical monitoring and alert system aimed at
       people at risk from heart and respiratory disease. The system combines
       multiparameter measurement of vital signs, online analysis and emergency
       detection, activity analysis, and cellular link to a TMC in an unobtrusive wrist-worn
       device. A prototype of both the wrist device and the medical center software has
       been implemented. Medical trials were performed on 33 patients. While first
       prototypes had problems with achieving the required medical accuracy on all the


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       measurement, the tests have provided a clear indication of the feasibility of the
       concepts and validity of the solutions adapted by the project.

RX-0419.10; see RIB at 63-64.

       It is only natural that if AMON’s statements on its ECG reliability are to be believed, then

so must its statements on the foreseeability of achieving improved reliability. And if it is true that

there was difficulty in designing wearable deices with reliable ECG measurement, even at the time

of the 941 patent (see Hr’g Tr. (Efimov) at 1259:16-24), the 941 patent offers essentially no

information on how to achieve this (see 941 patent at Figs. 4, 5, 5:32-7:62 (discussing hardware in

generalities and only at a high level)). In other words, the 941 patent effectively assumes such

devices are ordinary:

       FIG. 4 shows available technologies 400 for continuously sensing a heart rate or an
       activity level. Shown are smartwatches made available by manufactures such as,
       for example, Apple. A wearer of one of the shown smartwatch technologies 400
       may conveniently and continuously wear one or more sensors that are either
       coupled to or integrated with the watch throughout the day, thus, effectively
       continuously monitoring one or more parameter values via the one or more sensors
       that are either coupled to or integrated with the smartwatch. Thus, one of the
       smartwatch technologies 400 are an example of a type of device in the form of a
       wearable that conveniently provides continuous monitoring of one or more
       parameters of a user. Non-limiting examples of wearable devices that may have one
       or more sensors either coupled to them or integrated with them include watches
       (e.g. smartwatches), eyeglasses, wristbands, necklaces, and clothing.

Id. at 4:59-5:8.

       Second, the actual claim limitation at issue for AMON’s enablement is “receive electric

signals of the user from the ECG sensor to confirm the presence of the arrhythmia.” There is no

required degree of performance (e.g., reliability) for the “confirmation.” All that is required is

reception of ECG sensor signals and an evaluation of a faster or slower than normal heartbeat. On

this point, Dr. Stultz offered unrebutted testimony that AMON’s disclosure was “workable” as

demonstrated by AMON’s Figure 4 showing an ECG signal which “one could calculate heart rates




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from.” Hr’g Tr. (Stultz) at 1176:13-20. Therefore, AMON’s own disclosure, in combination with

the only expert testimony on the issue, supports an enabling disclosure.

       Accordingly, the balance of the evidence shows AMON’s disclosure is enabling for

“receive electric signals of the user from the ECG sensor to confirm the presence of the

arrhythmia.” And the limitation is disclosed in AMON as alleged.

                       b.      Claims 16, 18, 20, 22, and 23

       Apple contends that dependent claims 16, 20, 22, and 23, and intervening claim 18, are

either disclosed in AMON or constitute an obvious modification of it. See RIB at 74-76. ALC

does not contest Apple’s theory on these claims apart from their dependency from claim 12. CIB

at 79-81; CRB at 43-45. Neither does the Staff. SIB at 29-39. As Apple has shown the

obviousness of claim 12 these claims are also obvious based on AMON’s teaching and on the

testimony provided by Apple’s expert, Dr. Stultz. RIB at 74-76 (citing Hr’g Tr. (Stultz) at

1126:23-1130:9).    Specifically, the features added by these dependent claims are expressly

disclosed in AMON, so no further obviousness analysis is needed: instructing the user to record

an ECG as in claim 16 (RX-0419 at 3 (“additional measurements are required” and are “initiate[d]”

by the device, including ECG)); the heart rate parameter is a heart rate derived from a PPG signal

as in claims 18 and 20 (id. at 3-4 (“pulse” is compared with preset parameters, and is measured

using an optical device matching the description of a PPG)); the PPG sensor is located on the back

of the smartwatch as in claim 22 (id. at 3 (the optical sensor is placed “on the top of the wrist”));

and the ECG electrode configuration of claim 23 (id. at 4 (describing “Left arm” and “right arm”

electrodes)).

                       c.      Claims 13 and 19

       The most hotly contested obviousness issue, for all three Asserted Patents, is heart rate

variability. AMON does not expressly disclose measurement of that parameter, so Apple’s


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obviousness case for claims encompassing HRV relies on multiple references. See Hr’g Tr.

(Efimov) at 1284:16-1285:1. The 941 patent has two asserted claims covering it: claim 13 recites,

“[t]he smartwatch or wristlet according to claim 12, wherein the heart rate parameter comprises an

indication of a heart rate variability, and wherein the arrhythmia is atrial fibrillation”; and claim

19 recites, “[t]he smartwatch according to claim 18, wherein the heart rate parameter is a heartrate

variability (“HRV”) value, wherein the HRV value is derived from the PPG signal.” 941 patent at

cls. 13, 19.

        Apple contends “Dr. Stultz testified that AMON specifically discloses the measurement of

R-R distances, which is the equivalent of the instantaneous heart rate. Calculating HRV would

have been a ‘knee-jerk reaction’ to a POSITA from R-R distances.” RIB at 72-73 (citing Hr’g Tr.

(Stultz) at 1123:17-1124:3). And while these distances were discussed in the context of ECG

signals, Apple argues it would have been obvious to a person of ordinary skill to calculate “heart

rate data via an optical sensor, also disclosed by AMON.” Id. at 73 (citing Hr’g Tr. (Stultz) at

1124:7-14); RRB at 41. Overall, according to Apple, “Dr. Stultz testified that most of the

published work regarding calculating HRV from PPG data using the R-R interval ‘happened a

little after 2004 . . . but certainly by 2013 and 2015 this was well-known.’” RIB at 73 (citing Hr’g

Tr. (Stultz) at 1125:8-15). To the extent these points are contested, Apple then refers to prior art

reference Almen to disclose a “‘wrist worn heart rate variability monitor’ and ‘a heart rate

variability test.’” Id. (citing RX-0400 at Abstract, 1:18-24, 10:28-35; Hr’g Tr. (Stultz) at 1126:6-

16).

        In light of the first three Graham factors, Apple has demonstrated a prima facie case that

claim 13 would have been obvious over AMON in light of Almen. As discussed above, although

there is no dispute AMON discloses a PPG sensor that detects heart rate, it fails to disclose




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detecting or calculating heart rate variability. It also fails to “specifically mention[]” atrial

fibrillation. Hr’g Tr. (Stultz) at 1158:22-1159:2. Almen, however, is focused on heart rate

variability measurements, within the context of a smartwatch. See RX-0400 at Abstract. Almen

also teaches the definition of heart rate variability and why it is valuable to measure:

       BACKGROUND OF THE PRESENT INVENTION

       Heart rate variability refers to the variability of the time interval between heartbeats
       and may be mathematically defined as the one-sigma standard deviation of the heart
       rate about the mean heart rate value. A heart rate variability test is a reflection of a
       person's current health status. By taking heart rate variability tests over time, an
       individual is able to gauge improvement or deterioration in their health status. Such
       improvements or deterioration of health may result from a number of sources
       including, e.g., changes in lifestyle such as smoking cessation, starting an exercise
       program, surgery recovery, stressor additions or removals, diet changes. Thus, in
       this context, the HRV test may be used as a medical motivator. The HRV test may
       also be used as an early indicator diagnostic tool. For example, the HRV test has
       been demonstrated to have prognostic associations with future coronary disease and
       events.

                                                ....

       In addition, utilization of heart rate, heart rate variability, sleep stage patterns and
       pattern identification may be used to determine if the user is at risk of suffering
       from a wide variety of maladies or conditions relating in general to cardiovascular
       diseases or conditions and sleep breathing disorders or conditions. It would be
       highly desirable to have a device and method to identify certain maladies,
       conditions or related events (1) before they occur, (2) during the occurrence of the
       malady, event or condition, and/or (3) after the malady, event and/or condition has
       occurred to allow the user and/or health care professional to examine the data,
       identify the particular malady, event and/or condition, and take appropriate action
       to correct the problem.

       The present invention addresses these concerns.

RX-0400 at 1:18-2:7. The 941 patent makes no claim to the discovery of the utility of monitoring

heart rate variability, and it would appear from both the 941 patent’s and Almen’s definitions that

the metric can be derived from the typical heart rate data logged by AMON. See 941 patent at

3:63-4:3 (“Heart rate may vary between . . . bradycardia . . . , normal resting heart rate . . . , and

tachycardia . . .. Variance of heart rate over a period of time may be referred to as Heart Rate


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Variability (HRV).”); RX-0400 at 1:18-21 (“Heart rate variability refers to the variability of the

time interval between heartbeats and may be mathematically defined as the one-sigma standard

deviation of the heart rate about the mean heart rate value”). Dr. Stultz agreed. Hr’g Tr. (Stultz)

at 1058:13-1059:19, 1077:21-1078:15 (clinicians look for “irregularly irregular” heart rate),

1085:19-22 (“using heart rate variability from pulse rate sensing to determine the presence of an

arrhythmia is something qualitatively that clinicians do and have done.”).

       Thus, the required modification to AMON to sense HRV would have been nothing more

than calculation of “the standard deviation of heart beat intervals.” RX-0400 at 1:44. As shown

in the heart rate chart from the 941 patent, the data needed to perform this calculation is seemingly

readily available from processing “heart rate 202” measurements:




941 patent at 4:47-53, Fig. 2.




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        Ironically, the Staff makes a convincing case of this (see, e.g., SIB at 34-35 (providing

hypothetical average heart rate and heart rate variability example)) as does ALC’s expert, Dr.

Efimov (Hr’g Tr. (Efimov) at 1308:4-1309:7 (explaining mathematical operations to obtain HRV).

Calculating HRV is certainly within the level of ordinary skill defined above (e.g., heart rate first

derivative). And both AMON and Almen disclose the use of an optical sensor within a wrist-worn

device to capture heart rate, making these references analogous art. See RX-0400 at 6:3-4 (“an

infra-red sensor may be used to obtain or measure the heart rate”).

       In contrast to claim 12, however, where Apple’s prima facie case for obviousness is based

on a single reference, multiple references require both a reasonable expectation of success, which

is discussed above, and a motivation to combine. See Certain Infotainment Systems, Components

Thereof, and Automobiles Containing the Same, Inv. No. 337-TA-1119, Comm’n Op. at 36 (May

28, 2020) (public version) (citing Realtime Data, LLC v. Iancu, 912 F.3d 1368, 1373-76 (Fed. Cir.

2019)). Apple’s substantive argument for such a motivation is terse: “Dr. Stultz explained that a

POSITA would have been motivated to use HRV derived from heart rate data because Almen

expressly teaches a ‘wrist worn heart variability monitor’ and ‘[a] heart rate variability test is a

reflection of a person’s current health status,’” and Almen expressly discloses that AFib is an

arrhythmia. RIB at 73 (citing Hr’g Tr. (Stultz) 1126:6-16). To be sure, Dr. Stultz testified that

because of their similarities, combining AMON and Almen “would have been natural to any

person of ordinary skill in the art at the time.” Hr’g Tr. (Stultz) at 1131:10-17. But Dr. Efimov

testified that Almen lacked a teaching for modifying AMON. See Hr’g Tr. (Efimov) at 1285:8-

21.

       Nonetheless, Almen discloses that heart rate variability data “may be capable of detecting

and/or assisting in diagnosing various heart maladies and/or conditions. Exemplary conditions




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that may be detected or diagnosed comprise inter alia, cardiovascular disease such as . . .

Arrhythmias [and] Atrial Fibrillation.” RX-0400 at 7:26-33. And Dr. Stultz testified that a person

of ordinary skill would understand that a rapid increase in heart rate (i.e., high variability) is

consistent with atrial fibrillation. Hr’g Tr. (Stultz) at 1125:16-1126:16. Thus, to the extent

“indicate to the user a possibility of an arrhythmia being present” is an obvious design specification

in implementing AMON (discussed above), it would have further been obvious to indicate atrial

fibrillation as the type of that arrhythmia, and to detect it by determining HRV, because Almen

explicitly says so. And once the processor is made to evaluate PPG data for the possibility of atrial

fibrillation, it would have been natural for the processor to evaluate ECG data for the same purpose

(i.e., “receive electric signals of the user from the ECG sensor to confirm the presence of the [atrial

fibrillation].”). Almen therefore provides an explicit “reason” to modify AMON to detect atrial

fibrillation by determining heart rate variability. KSR, 550 U.S. at 418.

       Thus, the first three Graham factors support obviousness. Graham, 383 U.S. at 17-18

(holding factual determinations include: “(1) the scope and content of the prior art, (2) the level of

ordinary skill in the art, (3) the differences between the claimed invention and the prior art . . .”).

In opposition, ALC argues that ECG detection of AFib requires identification of P-waves, and this

is so difficult that even the AMON authors explicitly left it out of their device:

       The [AMON] algorithm does not, however, even attempt to identify P-waves. The
       AMON authors acknowledged, and Dr. Stultz agreed, that the PR interval was “left
       out for this work due to the nontriviality of P wave detection.” CX-0664.4; Tr.
       (Stultz) at 1159:7-1160:1. This is significant because, as Dr. Stultz testified, the
       presence or absence of P-waves is an important indicator of whether the user has
       AFib. Tr. (Stultz) at 1159:13-15.

CIB at 78; see CRB at 36. But Dr. Stultz testified only that “the presence or absence of a P wave

can be informative in diagnosing arrhythmias” (Hr’g Tr. (Stultz) at 1159:13-15), Almen teaches

that heart rate variability can be measured by analyzing heart rate without consideration of P-



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waves, and ALC offers no other evidence to support the alleged criticality (see CIB at 78 (citing

only Dr. Stultz); CRB at 36 (same)). Thus, the record shows that derivation of heart rate variability

from more typical heart rate data was a routine and appreciated determination by those of ordinary

skill in the art. See, e.g., 941 patent at Figs. 1, 2, 4:33-53 (discussing artifacts in ECG data showing

atrial fibrillation).

        ALC also contends, “Dr. Stultz fails to explain why a POSITA would have been motivated

to refine the SpO2 algorithm in AMON to do so, particularly given that the AMON device only

uses the SpO2 sensor to detect heart rate and blood oxygenation.” CIB at 78; see SIB at 35. But

as explained, refining AMON’s algorithm would have been straightforward—simply calculate the

first derivative of the heart rate (i.e., rate of change of heart rate)—and Almen discloses use of an

optical sensor (like the SpO2 sensor in AMON) to measure heart rate and thereafter process it for

determining heart rate variability. See RX-0400 at 6:3-6, 13:33-40. And Almen refutes ALC’s

assertion that prior to the 941 patent, it was not known to use PPG sensors for arrhythmia detection.

See id. at 7:26-53; CRB at 39 (citing Hr’g Tr. (Efimov) at 1236:2-1237:7). This is all in addition

to Dr. Stultz making a similar point:

        Q. We've also heard a fair amount about atrial fibrillation. Is there a common way
        doctors refer to atrial fibrillation with respect to the rate and rhythm of the heart
        measured during a physical exam?

        A. Yes, there is.

        Q. And how is that referred to by doctors?

        A. So on the physical exam we are taught to make qualitative assessments of the
        heart rhythm. This is learned in medical school. And I think this also echoes what
        Dr. Albert said earlier this week. Irregularly irregular is a description of the heart
        rhythm, and it's very irregular and it is very suggestive of atrial fibrillation.

                                                 ....




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        And on osculatory exam we are taught to assess the heart rate and the heart rhythm.
        So we report whether the rate is normal or whether it is elevated, tachycardic or
        bradycardic, and we also report on the regularity of the rhythm.

        So in medical school you learn a normal exam is regular, rate, and rhythm. Exams
        can be described as tachycardic and irregular, or it can be irregularly irregular
        where the latter clause is suggestive of atrial fibrillation.

        If an irregularity is suspected, an ECG is obtained. And this is done -- this is what
        I learned and what I did as an internal medicine resident. And then, of course, the
        ECG is analyzed to determine a diagnosis.

                                                 ....

        This is what I learned – this is when I began my training as a physician/scientist
        approximately 30 years ago.

Hr’g Tr. 1073:9-21 (emphasis added).

        ALC also seems to make the argument that AMON is non-analogous art to both Almen

and the 941 patent itself. CIB at 70-71. ALC argues AMON is meant for patients that have already

been diagnosed with heart disease while the 941 patent is meant for “users to detect arrhythmias

without the aid of a medical professional.” Id. at 70 (citing RX-0419 at 1; Hr’g Tr. (Efimov) at

1229:24-1230:20; 1231:7-1232:5; 1235:6-1236:1). This is far from persuasive. Each of AMON,

Almen, and the 941 patent involve wrist-worn heart rate monitoring devices—i.e., analogous art.

Even then, ALC’s supposed dichotomy is no such thing. ALC presents AMON as directed to

“people currently confined to the hospital or their homes” (id. (citing RX-0419.1), but AMON is

envisioned to allow users to escape those places—“[t]he idea is that by using an unobtrusive wrist-

worn device, monitoring can be performed without interfering with the patients’ everyday

activities and without restricting their mobility” (RX-0419 at 1; see RX-0419 at 5 (detailing pulse

limits set to activity levels of walking, running, or resting)).

        ALC additionally suggests that AMON’s admission that its ECG sensors as-constructed

yielded poor or no results equates to a teaching-away of “wrist-worn device[s] used to capture



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signals from multiple sensors.” CIB at 71-72. This is not a true teaching away, though, because

it does not teach away from the combination of AMON with sensing HRV data to detect and

confirm atrial fibrillation. AMON’s honesty over its system’s drawbacks should not be confused

with its overall positive outlook on the technology and the concept of wrist-worn medial

monitoring. See RX-0419 at 9-10 (detailing sensor testing and patient feedback). The final

conclusion stands out:

        We have developed a wearable medical monitoring and alert system aimed at
        people at risk from heart and respiratory disease. The system combines
        multiparameter measurement of vital signs, online analysis and emergency
        detection, activity analysis, and cellular link to a TMC in an unobtrusive wrist-worn
        device. A prototype of both the wrist device and the medical center software has
        been implemented. Medical trials were performed on 33 patients. While first
        prototypes had problems with achieving the required medical accuracy on all the
        measurement, the tests have provided a clear indication of the feasibility of the
        concepts and validity of the solutions adapted by the project.

RX-0419 at 10; see id. at 2 (“for the envisioned target group and application, such ‘all-in-one

design’ is essential [because] the system must be worn on a daily basis and be put on without

assistance.”). This is a far cry from a “suggest[ion] that the line of development flowing from the

reference’s disclosure is unlikely to be productive of the result sought by the applicant.” Santarus,

Inc. v. Par Pharm., Inc., 694 F.3d 1344, 1354 (Fed. Cir. 2012) (internal citation omitted); CIB at

72. And again, to the extent there are practical difficulties in a wrist-worn device conducting ECG

and other data measurement (CIB at 73-74 (citing RX-0560.2)), the 941 patent offers no solutions

of its own (see 941 patent at Figs. 4, 5, 5:32-7:62 (discussing hardware in generalities and at a high

level)) and claims no particular manner of ECG sensor construction (see id. at cls. 1-23). So the

941 patent cannot be said to have solved the “multi-sensor on a wrist-worn platform” problem, if

it is alleged to exist.

        Accordingly, Apple has made out a prima facie case that the limitations of claim 13 would

have been obvious over AMON in view of Almen.


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       Claim 19 is similar to claim 13, reciting, “[t]he smartwatch according to claim 18, wherein

the heart rate parameter is a heartrate variability (“HRV”) value, wherein the HRV value is derived

from the PPG signal.” 941 patent at cls. 19. Because claim 13 already requires the heart rate

parameter to be “sense[d]” by the PPG sensor, the combination of AMON and Almen satisfies

claim 19 for the same reasons as claim 13. 941 patent at cl. 12. ALC and Apple generally discuss

the two together. See RIB at 74-75; CIB at 79. And the Staff does not mention claim 19 at all.

SIB at 29-39; SRB at 15-17.

       Accordingly, Apple has made out a prima facie case that the limitations of claim 19 would

have been obvious over AMON in view of Almen.

                       d.      Claim 21

       Claim 21 recites, “[t]he smartwatch according to claim 12, the processor further to: display

an ECG rhythm strip from the electric signals.” 941 patent at cl. 12. Apple argues first, as a matter

of claim construction, that claim 21 does not require that “the display of the ECG rhythm strip

must be on the device itself.” RIB at 75; RRB at 42. Nevertheless, Apple continues, “AMON

discloses a display on which the ECG rhythm is displayed.” RIB at 75 (citing RX-0419.6, Fig. 4).

Apple reasons, “Dr. Efimov conceded that as early as 2013, any standard ECG taken would

produce a digital cardiac rhythm strip, thus AMON as part of taking a user’s ECG, was doing the

same.” Id. (citing Hr’g Tr. (Efimov) at 1296:22-1297:1); RRB at 42-43.

       In rebuttal, however, Apple changes tack and states only that “AMON discloses both an

ECG rhythm strip in Figure 4, as well as a display” before complaining of a lack of evidence “to

say that the rhythm strip of Figure 4 was not ‘displayed’ on the AMON device.” RRB at 42

(emphasis added). Apple then notes the disclosure of AMON that “‘the distances RR, QRS, and

QT are stored for every discovered QRS wave . . . for an overall result—as displayed to the user.’”

Id. (citing RX-0419 at 4).


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       The limitation is not disclosed in AMON, nor does Apple demonstrate that it would have

been obvious. As with claim 12, Apple’s obviousness case is based on a single reference, AMON,

and AMON does not teach or show an ECG rhythm strip on the display of the wrist-worn device.

Indeed, AMON fails to teach or suggest the processor of the wrist-worn device driving any display

to show an ECG rhythm strip (internal or external to the smartwatch). AMON’s Figure 4,

reproduced below, is as ALC describes it, a rhythm strip created for publication to demonstrate

the efficacy of the single lead ECG sensor (“QT interval and QRS duration can be detected”):




RX-0419 at Fig. 4. There is no disclosure in AMON that the rhythm strip illustrated was ever on

a device driven by AMON’s processor. Apple’s assertion that there is a “lack of evidence . . . that

the rhythm strip of Figure 4 was not ‘displayed’ on the AMON device” is incorrect. RRB at 42.

What AMON does teach as being displayed to a user are average RR, QRS, and QT distance

values: “[t]he distances RR, QRS, and QT are stored for every discovered QRS wave. For an

overall result—as displayed to the user—averages are taken over all the valid QRS. Heart rate is


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calculated directly from RR.” RX-0419 at 4; see id. at 6 (discussing a fourth algorithm step

calculating pulse rate, and “[o]n each step, a result is displayed”). Average distance values,

however, need not be communicated with an ECG rhythm strip.

         In addition to non-disclosure in AMON, Apple has not presented any reason why a

POSITA would modify AMON’s processor to drive a display (internal or external) to show an

ECG rhythm strip. As it stands, AMON uses ECG data simply to determine heart rate and QRS

durations. RX-0419 at 4, 6 (disclosing five step algorithm and threshold lookup table). These

calculations do not require a visual presentation of an ECG rhythm strip, and neither Apple nor

Dr. Stultz identifies a benefit for the processor to drive a display with that particular graphic. See

RIB at 75; RRB at 42-43; Hr’g Tr. (Stultz) at 1129:7-14. It is not otherwise clear on its own why

a layperson (as the user of the processor) would ever need to see their ECG rhythm strip as opposed

to its post-analysis results—other than that it is attractive imagery.

         Accordingly, the limitation of claim 21 is not disclosed in AMON, and has not been shown

to have been obvious in view of AMON combined with the knowledge of a skilled artisan.

                        e.     Secondary Considerations of Non-Obviousness

         ALC points to secondary considerations including: industry praise, commercial success,

copying, long-fled but unmet need, and failure of others. CIB at 81-87. ALC presents evidence

that would support the non-obviousness of a single device which uses PPG and ECG data to

monitor health (e.g., the KBS and Accused Products). This, however, is not the issue at hand as

AMON already discloses this PPG/ECG sensor combination. And Apple has not made out a prima

facie case of obviousness of claim 21, so secondary considerations need not be analyzed for that

claim.

         ALC has shown that KBS practices claims 12, 16, 20, 22, and 23, and it is therefore entitled

to a presumption of nexus where the secondary consideration pertains to KBS. See Immunex Corp.


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v. Sandoz, Inc., 964 F.3d 1049, 1067 (Fed. Cir. 2020). But KBS does not practice claims 13 or 19,

which involve HRV, so there is no presumption of a nexus. See Apple Inc. v. Samsung Elecs. Co.,

Ltd., 839 F.3d 1034, 1053-4 (Fed. Cir. 2016) (summarizing evidence of praise directed at slide-to-

unlock feature in contravention of argument that praise was merely generic). And ALC’s

arguments are not presented in the context of any particular claim or claim limitation. See CIB at

74-81 (claims 12-23 analysis), 81-87 (secondary considerations analysis); CRB at 40-45 (claims

12-23 analysis), 45-49 (secondary considerations analysis); see also SIB at 29-36, 36-39; SRB at

15-16, 16-17. This makes the secondary consideration analysis more difficult. Stratoflex, Inc. v.

Aeroquip Corp., 713 F.2d 1530, 1538-9 (Fed. Cir. 1983).

       Nonetheless, ALC offers persuasive evidence of industry praise for, and the commercial

success of, the KBS, and (by presumption) the claims it practices. The industry praise is notably

favorable (see RX-0564; CX-0470; CX-0471) and includes a positive technical analysis published

in the Journal of the American College of Cardiology (see CX-0472), a peer-reviewed journal

which Dr. Efimov views as the “topmost, high, impactful journal” in cardiology (Hr’g Tr. (Efimov)

at 1198:21-1199:10). Admittedly, the cited exhibits do not offer unqualified praise and generally

focus on the ECG function rather than the PPG function, as Apple explains. See RIB at 84-85.

But each exhibit praises the “KardiaBand” as implemented on the Apple Watch, that is, the KBS,

and the mere fact that a peer-reviewed medical journal published a laudatory article on the product

is impressive, even if the article’s specific focus was on only one of its functions. Taken as a

whole, this is strong evidence of industry praise, and the presumption of nexus has not been

rebutted. The Staff generally agrees. See SIB at 38.

       There is also evidence of commercial success. ALC principally relies on funding it

received, as opposed to revenues or profits derived from KBS, and on the fact that the Apple Watch




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was commercially successful. See CIB at 82-83. But as Apple and the Staff point out, there is no

clear nexus between the funding and KBS, especially because KBS was never ALC’s biggest

selling product, and the Apple Watch’s commercial success is likely attributable to any number of

factors unrelated to KBS. See CX-0469 (citing KardiaMobile but not KBS); CX-0935C (showing

KardiaMobile as ALC’s biggest revenue producer); SIB at 39; RIB at 81-83. Other evidence,

however, shows that KBS “was selling very successfully,” as ALC’s chief financial officer

testified. RX-0384C (Hosein Deposition) at 77:24-78:11. Specifically, KBS revenues for calendar

years 2017, 2018, and 2019 totaled over                    . See CX-0934C; CX-0935C. KBS’

profitability is not clear, though, so the evidence of commercial success is not as persuasive as the

evidence of industry praise.

       ALC further argues that failure by others and a long-felt need weigh against obviousness.

See CIB at 86-87. There is evidence of such considerations as they relate to detection of atrial

fibrillation, but there is no clear nexus to the KBS, because the KBS does not practice claim 13.

See id. (citing CX-0443; CX-0444; CX-0445; CX-0453; CX-0454). So to the extent the KBS is

capable of detecting and confirming AFib, it is not clear that the long-felt need and failure by

others relates to the claimed invention, as opposed to some other feature of the KBS, and the nexus

presumption does not apply. These secondary considerations therefore do not weigh in favor of

obviousness. The Staff agrees. See SIB at 39.

       Lastly, ALC argues that Apple “copied AliveCor’s technology.” CIB at 83-86. The Staff

concurs. See SIB at 37-38. Evidence ALC cites in favor of copying includes the fact that Apple

had access to ALC’s technology (necessarily so to some extent, because it was eventually

incorporated into the Apple Watch), had multiple meetings with ALC personnel about KBS prior

to KBS receiving FDA approval, and obtained KBS-related FDA submissions via Freedom of




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Information Act requests. See generally CIB at 83-86. Apple is correct that taken individually

such evidence is not especially probative. See RIB at 77-80.

         But “multiple internal [Apple] presentations” and similar evidence do provide probative

evidence of copying. Apple, 839 at 1054.

                                                                . JX-0219C (Klaassen Deposition)

at 45:14-48:14. In March 2016 an Apple presentation characterized the                           ”

as a “                  ” for its own ECG “                   .” CX-0375C.22. In an internal April

2016 email,

                                                                                            . CX-

0911C. In an email chain in April 2017 Apple personnel discussed



                                                              which was Apple’s internal name for

what became part of the Accused Products. CX-0909C. In September 2017, shortly before KBS

received FDA clearance, an Apple presentation described its method of mitigating problems with

the Apple Watch as “                       ” (although the problems and solutions seemingly do not

pertain to the claim limitations), and

                  CX-0370C.7, .14. And in Apple’s own FDA submissions, it described



                                                      CX-0393C.27, .53; see also CX-0439C.11.

         Taken as a whole, such evidence is not exactly a smoking gun, but it does point

circumstantially to copying by Apple. So like industry praise and commercial success, copying

weighs against a finding of obviousness.




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                      f.      Summary

       In summary, there are three categories of claims: claims 12, 16, 20, 22, and 23, as to which

Apple has shown a prima facie case of obviousness over a single reference and which are embodied

by the KBS DI product; claims 13 and 19, as to which Apple has shown a prima facie case of

obviousness over two references and which are not embodied by any DI product; and claim 21, as

to which Apple has not shown a prima facie case of obviousness. For the first category, although

the prima facie case is strong—except for one element of independent claim 12, every element of

every claim is found in AMON—the secondary considerations are also strong. The nature and

volume of industry praise is unusual, particularly the praise published in a respected medical

journal, and although the evidence of copying is not especially impressive, some degree of

commercial success is evident from the KBS sales data and the testimony of ALC’s chief financial

officer. On balance, the secondary considerations are sufficient to rebut the prima facie case, and

have not been “dispelled” by Apple. Certain Electronic Device, Including Streaming Players,

Televisions, Set Top Boxes, Remote Controllers, and Components Thereof, Inv. No. 337-TA-1200,

Comm’n Op. at 29 (Dec. 3, 2021) (public version).

       For claims 13 and 19, the claim from which they depend would not have been obvious, so

they would not have been obvious, either, notwithstanding the lack of nexus to secondary

considerations. See Ortho-McNeil Pharm., Inc. v. Mylan Labs., Inc., 520 F.3d 1358, 1365 (Fed.

Cir. 2008) (“But if claim 1 is not obvious [based on secondary considerations] then claims 6–8

also cannot be obvious because they all depend from a nonobvious claim.”); In re Fritch, 972 F.2d

1260, 1266 (Fed.Cir.1992) (“[D]ependent claims are nonobvious if the independent claims from

which they depend are nonobvious.”). And the lack of prima facie obviousness for claim 21

necessarily renders it non-obvious.

       Therefore, Apple has shown no claim of the 941 patent to have been obvious.


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                3.       Unenforceability as to Experimental Use

        Apple presents a third defense pursuant to the experimental use exception of 35 U.S.C. §

271(e)(1). RIB at 86. Apple contends “the use of any Apple Watch products, including the IRN

and/or ECG App, that were or part of research in one or more clinical trials related to the possible

identification of AFib ‘reasonably relates’ to obtaining FDA regulatory classification or clearance,

and is exempt under § 271(e)(1).” Id.; RRB at 72.

        Apple’s understanding of the law may be correct, but it is irrelevant. Apple offers no

suggestion that, should a violation be found in this investigation, it would be based on exempt

experimental uses of the Accused Products. See RIB at 86; RRB at 72 (“to the extent AliveCor

attempts to rely on any subsequent studies or clinical trials”). Indeed, “AliveCor does not accuse

Apple of any acts that fall under the experimental use exception.” CIB at 49. Staff helpfully adds:

        As discussed in the Staff’s initial post-hearing brief, the products at issue have
        already received FDA clearance, and are now being manufactured, imported, and
        sold as commercial products. See CX-904C (Import Stipulation) at ¶¶ 3-6; Resp.
        Br. at 10. Clearly, the mass production and commercialization of the accused
        products is not necessary to obtain regulatory approval and thus does not qualify
        for the experimental use exception of § 271(e)(1). See Eli Lilly and Company v.
        Medtronic, Inc., 496 U.S. 661, 671 (1990). Apple’s defense should thus be rejected.

SIB at 17.

        Accordingly, experimental use has not been shown to preclude any finding of infringement

in this investigation.

V.      U.S. PATENT NO. 10,595,731

        A.      Level of Ordinary Skill in the Art

        A person having ordinary skill in the art of the 731 patent at the time of invention:

        would have had either (1) a bachelor of science degree in electrical engineering,
        mechanical engineering, biomedical engineering, computer science, or a related
        discipline, with at least two years of relevant work experience designing wearable
        devices and/or sensors for measuring physiological signals or parameters of
        mammals, or (2) a medical degree and at least five years of relevant work


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       experience designing wearable devices and/or sensors for measuring physiological
       signals or parameters of mammals. Also, relevant experience could substitute for
       education and vice versa for both categories of skilled artisan

Order No. 12 at 8. The parties do not challenge this definition and it is applied throughout this

initial determination.

       B.      Claims-at-Issue

       Claims 1-5, 7-10, 12, 15, and 16 of the 731 patent are at issue in this investigation, either

through allegations of infringement or domestic industry technical prong, with claims 2, 4, and 7

intervening and unasserted. See generally CIB at 89, 95. They are reproduced below:

       1. A smart watch to detect the presence of an arrhythmia of a user, comprising:

       a processing device;

       a photoplethysmography (“PPG”) sensor operatively coupled to the processing
       device;

       an ECG sensor, comprising two or more ECG electrodes, the ECG sensor
       operatively coupled to the processing device;

       a display operatively coupled to the processing device; and

       a memory, operatively coupled to the processing device, the memory having
       instructions stored thereon that, when executed by the processing device, cause the
       processing device to:

       receive PPG data from the PPG sensor;

       detect, based on the PPG data, the presence of an arrhythmia;

       receive ECG data from the ECG sensor; and

       confirm the presence of the arrhythmia based on the ECG data.

       2. The smart watch of claim 1, further comprising a motion sensor operatively
       coupled to the processing device, wherein to detect the presence of the arrhythmia,
       the processing device is configured to:

       receive motion sensor data from the motion sensor; and

       determine, from motion sensor data, that the user is at rest.



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       3. The smart watch of claim 2, wherein to detect the presence of the arrhythmia, the
       processing device is configured to input the PPG data into a machine learning
       algorithm trained to detect arrhythmias.

       4. The smart watch of claim 2, wherein to detect the presence of the arrhythmia, the
       processing device is configured to:

       determine heartrate variability (“HRV”) data from the PPG data; and

       detect, based on the HRV data, the presence of the arrhythmia.

       5. The smart watch of claim 4, wherein to detect the presence of the arrhythmia, the
       processing device is configured to input the HRV data into a machine learning
       algorithm trained to detect arrhythmias.

                                              ....

       7. The smart watch of claim 1, wherein the processing device is further configured
       to:

       extract one or more features from the PPG data; and

       detect, based on the one or more features, the presence of the arrhythmia.

       8. The smart watch of claim 7, wherein the one or more features correspond to an
       HRV signal analyzed in a time domain.

       9. The smart watch of claim 7, wherein the one or more features comprise a
       nonlinear transform of R-R ratio or R-R ratio statistics with an adaptive weighting
       factor.

       10. The smart watch of claim 7, wherein the one or more features are features of an
       HRV signal analyzed geometrically.

                                              ....

       12. The smart watch of claim 1, wherein the processing device is further configured
       to generate a notification of the detected arrhythmia.

                                              ....

       15. The smart watch of claim 1, the processing device further configured to display
       an ECG rhythm strip from the ECG data.

       16. The smart watch of claim 1, the processing device further to receive the ECG
       data from the ECG sensor in response to receiving an indication of a user action.

731 patent at cls. 1-5, 7-10, 12, 15, 16.



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4.

       ALC and the Staff have the more persuasive position. Claim 1 recites a complete structure,

with the preamble simply repeating the requirement that the PPG sensor “detect . . . the presence

of an arrhythmia.” No limitation within the body of claim 1 refers or depends on the structure or

attributes that “smart watch” in the preamble confers. This is in stark contrast to claims 12, 22,

and 23 of the 941 patent, discussed above, where sensors were required to be in particular locations

within the physical smartwatch structure. 941 patent at cls. 22, 23. Thus, antecedent basis was

needed for “the smartwatch” appearing in the body of those claims, and it could come only from

the preamble of claim 12. Cochlear Bone Anchored Solutions AB v. Oticon Medical AB, 958 F.3d

1348, 1355 (Fed. Cir. 2020); Eaton Corp. v. Rockwell Intern. Corp., 323 F.3d 1332, 1339 (Fed.

Cir. 2003) (“When limitations in the body of the claim rely upon and derive antecedent basis from

the preamble, then the preamble may act as a necessary component of the claimed invention.”).

The term “the smart watch” appearing in the dependent claims of the 731 patent is simply an

introductory phrase to make a connection back to independent claim 1 (i.e., not a claim body

limitation), and could just as easily be replaced with the term “the apparatus” throughout the claims

with no loss of structure or meaning.

       Accordingly, the preamble of claim 1 of the 731 patent is not limiting.

               2.      “confirm the presence of the arrhythmia”

       ALC identifies the limitation “confirm the presence of the arrhythmia” as in claim 1 of the

731 patent as needing construction. CIB at 88. ALC “incorporates by reference its arguments

regarding claim construction for this term from [941 patent discussion] as if the same were fully

set forth herein.” Id. ALC further notes that the 731 patent specification, albeit different from the

941 patent’s, continues to include no embodiments with “simultaneous ECG and PPG recordings.”

CRB at 50. Rather, “[the] embodiments contemplate ECG being captured at a later time than the


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PPG data that identified the possible arrhythmia, and that the indication to the user of the possible

arrhythmia would ‘trigger’ the user to take a confirmatory ECG.” Id. (citing Hr’g Tr. (Jafari) at

365:10-366:12). Thus, “confirm the presence of the arrhythmia” includes no requirement that

“ECG and PPG be captured at simultaneous or substantially overlapping periods of time”

according to ALC. Id. at 51. The Staff concurs. SIB at 47; SRB at 18-19. Apple does not provide

an independent discussion of this construction issue, but similarly to ALC, “incorporates by

reference the testimony, evidence, and analysis from [941 patent discussion].” RIB at 88; see RRB

at 55.

         “[C]onfirm the presence of the arrhythmia” in the 731 patent does not require simultaneous

measurement of ECG and PPG data. The full claim language in which it appears does require that

PPG or ECG data be “receive[d],” but otherwise places no restriction on when or how. See 731

patent at cl. 1 (“receive PPG data . . . detect . . . the presence of an arrhythmia . . . receive ECG

data . . . confirm the presence of the arrhythmia.”). With that said, the specification does teach

ECG and PPG measurement “over substantially the same time scale or length,” which is then used

in “feature ranking” and “detection of atrial fibrillation.” Id. at 19:65-20:1, 20:18-20, Fig. 6; see

also id. at 22:3-19. But it also discloses “a person of ordinary skill in the art will recognize many

variations based on the teaching described herein. The steps may be completed in a different order”

(id. at 20:31-37; see also 22:50).     Importantly, the 731 patent also discloses the two-step

measurement technique featured prominently in the 941 patent—i.e., the taking of ECG data

pursuant to user prompt following another sensor’s detection of a cardiac event:




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Id. at Fig. 10; see id. at 23:3-34. The patent explains that the ECG serves to provide “a more

detailed view of the heart” towards “disease diagnosis.”         Id. at 23:5-19.   Clearly, in this

embodiment the PPG and ECG data are both “receive[d],” but not simultaneously. This is

consistent with the specification’s sole use of the word “confirm”—“[f]or example, the ECG data

can be classified as normal, low risk, moderate risk, high risk, and/or abnormal. The normal and

abnormal designation may require health care professional evaluation, diagnosis, and/or

confirmation.” 731 patent at 15:56:60 (emphasis added).

       Thus, the intrinsic evidence supports a broad reading of “confirm the presence of the

arrhythmia” allowing for simultaneous and non-simultaneous reception of PPG and ECG data;

there is no need to consider extrinsic evidence. Helmsderfer v. Bobrick Washroom Equip., Inc.,

527 F.3d 1379, 1382 (Fed. Cir. 2008) (“A court may look to extrinsic evidence so long as the

extrinsic evidence does not contradict the meaning otherwise apparent from the intrinsic record.”).

Accordingly, “confirm the presence of the arrhythmia” does not mean ECG sensor signals must



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be recorded at the same time as PPG signals.

       D.      Infringement

       ALC contends, “Apple directly infringes claims 1, 3, 5, 8, 9, 10, 12, 15, and 16 of the ‘731

patent.” CIB at 89. Of these, claim 1 is independent and the rest depend therefrom. For the

reasons discussed below, ALC has shown infringement of claims 1, 3, 5, 8, 9, 10, 12, 15, and 16.

               1.      Claim 1

       For reference, claim 1 of the 731 patent requires:

       1. [1a] A smart watch to detect the presence of an arrhythmia of a user, comprising:

       [1b] a processing device;

       [1c] a photoplethysmography (“PPG”) sensor operatively coupled to the processing
       device;

       [1d] an ECG sensor, comprising two or more ECG electrodes, the ECG sensor
       operatively coupled to the processing device;

       [1e] a display operatively coupled to the processing device; and

       [1f] a memory, operatively coupled to the processing device, the memory having
       instructions stored thereon that, when executed by the processing device, cause the
       processing device to:

       [1f(i)] receive PPG data from the PPG sensor;

       [1f(ii)] detect, based on the PPG data, the presence of an arrhythmia;

       [1f(iii)] receive ECG data from the ECG sensor; and

       [1f(iv)] confirm the presence of the arrhythmia based on the ECG data.

731 patent at cl. 1 (annotated).

       The infringement disputes surrounding claim 1 of the 731 patent are similar to those for

claim 12 of the 941 patent. ALC perceives Apple as only contesting “infringement with respect

to claim element 1(f)(iv). Apple does not contest infringement as to the remaining elements of

independent claim 1.” CIB at 89. Again, ALC reasons that any other disputes from Apple have



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been waived pursuant to Ground Rules 9.2 and 13.1. Id. And while ALC acknowledges that Apple

did present an additional dispute for limitation 1f(ii) in its pre-hearing brief with respect to the

HHRN feature, it argues that Apple’s failure to present evidence or expert testimony at the hearing

creates waiver of the issue. Id. at 91 n.10.

       ALC’s position on limitation 1f(ii) is not persuasive. It is undisputed that the argument

was contained in Apple’s pre-hearing brief. Thus, no violation of the ground rules occurred, the

contention is not waived, and the limitation is discussed below. As to the remaining, undisputed,

limitations of claim 1, they are found to be present in the Accused Products in light of the evidence

and testimony provided by Dr. Jafari. CIB at 90-91 (citing Hr’g Tr. (Jafari) at 328:22-330:19,

361:5-364:5). In particular, the representative Apple Watch 6 has a PPG sensor, ECG sensor,

display, and memory, all coupled to a processing device, and it is undisputed that the PPG sensor

and ECG sensor send their data to the processing device. See CDX-0003C.16; RIB at 10-13.

                       a.      [1f(ii)] “detect, based on the PPG data, the presence of an
                               arrhythmia”

       For this limitation, ALC contends, “the Accused Products contain instructions executable

by the processor to cause the processor to detect the presence of an arrhythmia based on the PPG

data.” CIB at 91 (citing Hr’g Tr. (Jafari) at 362:22-364:5). In rebuttal, ALC remarks that Apple

has only incorporated by reference its arguments for limitation 1(f)(ii) of the 941 patent and its

own corresponding arguments should be viewed as referenced as well. See CRB at 49.

       As noted, Apple does incorporate by reference its arguments from the 941 patent into this

limitation. See RIB at 87; RRB at 53-54. To be clear, Apple repeats its position that “not all high

heart rates, much less all high heart rates detected by HHRN, are indicative of an underlying

arrhythmia, i.e., they are not all caused by a ‘cardiac condition.’” Id. at 54 (citing Hr’g Tr. (Waydo)

at 753:2-4; 754:20-755:7; Hr’g Tr. (Stultz) at 1070:7-1072:20).



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          The Staff first remarks that the limitation is not disputed for Apple’s IRN feature, only

HHRN, similar to claim 12 of the 941 patent. SIB at 45. As with that patent, the Staff finds HHRN

meets the limitation, stating, “[d]etecting a high heart rate while a user is at rest is detecting the

presence of an arrhythmia.” Id. (citing Hr’g Tr. (Jafari) at 363:6-364:5) (emphasis in original).

More specifically, the Staff explains, “HHRN determines when a user’s heart rate is unexpectedly

high when the user is at rest.” Id. at 45-46. According to the Staff, an unexpected high heart rate

is properly considered arrhythmia under the ordered construction. Id. at 46 (citing Order No. 12

at 12).

          The limitation is met in the Accused Products. There is no dispute that Apple’s IRN feature

meets the limitation, and the only difference between IRN and HHRN—as far as this limitation is

concerned—is the algorithm applied to observed heart rate. When the user is at rest, IRN applies

a more complicated algorithm to detect episodes of irregular rhythm (RIB at 11-12; RX-0004C.1)

while HHRN simply compares heart rate to a pre-set threshold over a 10-minute period of time

(RIB at 10). Apple’s argument that not every 10-minute interval of an above-threshold heart rate

is indicative of an arrhythmia or cardiac condition (e.g., caffeine or anxiety) is irrelevant because

when the condition exists the device contains the instructions in memory to detect it. Omega

Patents, 920 F.3d at 1344.

          Accordingly, the limitation is met in the Accused Products.

                         b.     [1f(iv)] “confirm the presence of the arrhythmia based on the
                                ECG data”

          For this limitation, ALC “incorporates by reference the entirety of its argument and

evidence presented in connection with the ’941 patent limitation 12(f)(iii).” CIB at 92; CRB at

50-51. Apple makes similar incorporation by reference (RIB at 88; RRB at 55), and the Staff

repeats its own points on the topic (SIB at 46-47; SRB at 20-21).



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       There is effectively no difference between this limitation and that discussed in connection

with claim 12 of the 941 patent. Accordingly, and for the reasons presented above, the limitation

is met in the Accused Products.

               2.      Other Claims

       In its brief, ALC represents, “nor does Apple contest infringement as to asserted dependent

claims 3, 5, 8, 9, 10, 12, 15, and 16 (except because they incorporate contested elements of

independent claim 1 by virtue of their dependency).” CIB at 89. Apple does in fact not contest

claims 3, 5, 8, 9, 10, 12, 15, and 16 apart from their dependency on independent claim 1. RIB at

88. Neither does the Staff. SIB at 48-51. As ALC has shown infringement of independent claim

1, discussed above, these claims are also found to be met in the Accused Products based on the

undisputed evidence and testimony provided by ALC and Dr. Jafari. CIB at 92-95. In particular,

Dr. Jafari testified that all elements of each claim are met, except for intervening claims 2, 4, and

7, the additional elements of which are met because their dependent claims are infringed. See Hr’g

Tr. (Jafari) at 300:6-301:19, 318:5-319:11.

       E.      Domestic Industry – Technical Prong

       ALC contends, “KBS,          , and         products each practice claims 1, 3, 12, 15, and 16

of the ’731 patent both literally and under the doctrine of equivalents.” CIB at 95. Of these, claim

1 is independent and the rest depend therefrom. For the reasons discussed below, ALC has shown

practice of claims 1, 3, 12, 15, and 16 by the KBS.

       As a reminder, it is essentially undisputed that the

at the time of the complaint. Accordingly, it cannot support a domestic industry that “exists.”

Thermoplastic Motors, Inv. No. 337-TA-1073, Comm’n Op. at 10. And, as with the 941 patent,

ALC has not adequately alleged that

                                                                              Thus it too cannot be


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considered to support a domestic industry that “exists.” Whether practice of the claims by the

                 is “in the process of being established,” however, is a separate matter addressed

below.

                1.     Claim 1

         Claim 1 of the 731 patent is presented above in connection with infringement. ALC

identifies limitations 1(f)(ii) and 1(f)(iv) as in dispute. CIB at 95-108. Apple’s initial post-hearing

brief confirms that it disputes these limitations for the KBS product (RIB at 89, 90) and they are

discussed below. For the remaining, undisputed limitations, they are found to be present in KBS

in light of the evidence and testimony provided by Dr. Jafari. CIB at 95-96, 98. In particular, Dr.

Jafari testified that each element of claim 1 is practiced by the KBS. See Hr’g Tr. (Jafari) at

400:16-406:13.

                       a.      [1f(ii)] “detect, based on the PPG data, the presence of an
                               arrhythmia”

         ALC contends, “[t]he evidence shows that KBS contains instructions executable by the

processor to cause the processor to detect the presence of an arrhythmia based on the PPG data.”

CIB at 96 (citing, inter alia, Hr’g Tr. (Jafari) at 400:16-406:13; CX-0266C). ALC refers to the

parties’ dispute over the similar limitation in claim 12 of the 941 patent (id. at 97; CRB at 51) and

explains, “KBS uses SmartRhythm running on an Apple Watch SiP to output a ‘record ECG’

notification to the user (i.e., indicated to the user a possibility of an arrhythmia) based on the PPG

data from the PPG sensor” (CIB at 97 (citing Hr’g Tr. (Jafari) at 401:16-22, 404:5-405:9)). In

response to Apple, ALC argues, “[i]f the system were able to determine with certainty that the

detected discordance was or was not an arrhythmia, then there would be no reason to confirm that

determination with an ECG” and “Apple’s argument also relies on a misapplication of the law,

which requires capability of accused devices to infringe device claims.” Id. (citing, inter alia, Hr’g



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Tr. (Jafari) at 404:14-405:9; CX-0266C at 910-911; Finjan, 626 F.3d at 1197). ALC also contends

the limitation is met under the doctrine of equivalents, using the function-way-result test. Id. at

97-98 (citing Hr’g Tr. (Jafari) at 401:16-404:4).

       As with infringement, Apple incorporates its argument from the 941 patent. RIB at 88.

Apple specifies, however, “KBS’s notification does not ‘detect the presence of an arrhythmia,’ as

required by claim 1(f)(ii), but rather alerts the user that the system has identified an ‘unexpected

heart rate’ that may be caused by many factors, including factors that are not ‘cardiac conditions,’

such as medication or infection.” Id. at 89 (citing Hr’g Tr. (Stoltz) at 1070:7-23); RRB at 56.

Apple adds its view that simultaneously recorded PPG and ECG data are required as well. See

RIB at 89.

       The Staff, too, largely addresses this limitation with argument taken from claim 12 of the

941 patent. SIB at 51. The Staff repeats its reasoning that “[i]f the system were able to determine

with certainty that the detected discordance was or was not an arrhythmia, then there [would] be

no reason to confirm that determination with an ECG” and “[t]he message displayed by the KBS

when a discordance is detected is a notification of the possibility of an arrhythmia.” Id. at 51-52

(emphasis in original); SRB at 19-20.

       The limitation is practiced by KBS. The output of SmartRhythm is “Unexpected Heart

Rate[.] Would you like to take an EKG?” RPX-0016C. As determined in connection with the 941

patent, the word “unexpected” in this context communicates a heart rate that is unexpectedly faster

or slower than normal, which is a defining feature of a heart rate. This meets the agreed

construction for arrhythmia. And it is largely irrelevant that not every 10-minute interval of an

above-threshold heart rate is indicative of an arrhythmia or cardiac condition (e.g., medication or




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infection), because when the condition exists the device contains the instructions in memory to

detect it. Omega Patents, 920 F.3d at 1344.

        Accordingly, the limitation is practiced by the KBS DI Product.

                        b.      [1f(iv)] “confirm the presence of the arrhythmia based on the
                                ECG data”

        ALC contends “confirm the presence of the arrhythmia based on the ECG data” is met in

the Accused Products. It specifically states, “[a]fter an ECG recording is complete, the ECG is

analyzed to determine if it is at least 30 seconds long, if it is Normal, Unclassified, if Atrial

Fibrillation is present, or if it is too noisy to interpret. . . When the ECG is classified as Normal or

shows the presence of Atrial Fibrillation, the KardiaBand System has confirmed the presence of

the arrhythmia.” CIB at 98 (citing JX-0011; CX-0266C). ALC adds that the limitation is also met

under the doctrine of equivalents, using the function-way-result test. Id. at 99 (citing Hr’g Tr.

(Jafari) at 401:16-22, 405:10-406:13); CRB at 52.

        Apple opposes this on familiar grounds; namely, that simultaneous PPG and ECG data

capture is required and the “results from the PPG sensor [must be] an input [] to [sic] the ECG

algorithm for analysis.” RIB at 89; RRB at 56. And the Staff finds the limitation met by the KBS

on the same grounds as in the 941 patent, that “the [DI Products] confirm the presence of the

arrhythmia by taking an analyzing an ECG to determine if the arrhythmia is present.” SIB at 52;

see SRB at 20-21.

        There is effectively no difference between this limitation and that discussed in connection

with claim 12 of the 941 patent. Accordingly, and for the reasons presented above, the limitation

is practiced by the KBS DI Product.




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               2.      Other Claims

       Apple does not contest practice of claims 3, 12, 15, and 16 by the KBS apart from their

dependency on independent claim 1. See RIB at 90-91. Neither does the Staff. SIB at 53. As

ALC has shown practice of independent claim 1, discussed above, these claims are also practiced

by the KBS DI Product based on the evidence, and particularly on the testimony of Dr. Jafari, with

intervening claim 2 practiced based on Dr. Jafari’s demonstratives. CIB at 99-100 (citing Hr’g Tr.

(Jafari) at 401:13-406:13); see CDX-0003C.108. As noted, the                          have not been

shown to practice any claim at the time of the filing of the complaint.

               3.      Whether technical prong is “in the process of being established”

       As to whether practice of the 731 patent by the                    products is “in the process

of being established,” the record supports finding in the affirmative. Like with the 941 patent, the

evidence shows that at the time of the complaint, ALC was taking necessary and tangible steps to

practice claims 1, 3, 12, 15, and 16 of the 731 patent via the                      products with a

significant likelihood of success. E.g., JX-025C; JX-096C; CX-0252C. As determined above,

ALC’s previous product, KBS, has been shown to practice all of these claims. ALC’s expert, Dr.

Jafari, has given persuasive testimony on the transferability of the SmartRhythm (PPG analysis)

and KardiaApp (ECG collection and analysis) features—primary software features behind the

KBS’s practice of the claims—to other portable heart monitors in development. See Hr’g Tr.

(Jafari) at 389:1-7, 389:21-25, 390:6-15, 392:3-393:10. ALC’s technical witnesses testified to the

same effect. Hr’g Tr. (Somayajula) at 198:13-19, 202:11-21, 203:19-205:8, 210:19-212:2; 217:13-

15, 218:22-219:20, 221:2-222:8; Hr’g Tr. (Raghavan) at 565:4-22, 596:7-599:22 (discussing

predicate devices). And the prior art in this investigation, discussed below, shows that wrist-worn

computerized devices containing both PPG and ECG sensors were achievable well before the

invention of the 941 patent. See RX-0419. There is little else in claims 1, 3, 12, 15, and 16 outside


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irregularity.” RIB at 91. In Apple’s view, the claim “recites nothing more than what medical

doctors have routinely done for decades to diagnose arrhythmias.” Id.; see RRB at 58-59.

        As for Alice step two, Apple views the recited “smartwatch,” “processing device,” “a

display,” and “memory” as “all generic components that are part of a smartwatch, which itself is

akin to a ‘generic computer’ in this context.” RIB at 92. Apple adds “a PPG sensor and an ECG

sensor with two or more electrodes—are conventional components known to doctors well before

the ’731 application existed . . . and used for arrhythmia detection before 2013.” Id. at 93. Apple

reasons, “[t]hus, independent claim 1 is directed to patent ineligible subject matter and provides

no inventive concept at all.” Id.

        Apple takes a similar position on the abstract nature and/or conventional status for each of

the features recited in dependent claims 3, 5, 8, 10, 12, 15, and 16. See RIB at 93-95; RRB at 59-

61.

        Apple has not met its clear and convincing burden here. There is no principled distinction

between the claims of the 731 patent and those of the 941 patent under Section 101. So claim 1 is

directed to ineligible subject matter through the executable instruction limitations (i.e., “receive . .

“detect . . . receive . . . and confirm . . . .”), but at Alice step two its recitations of “a

photoplethysmography (“PPG”) sensor,” “an ECG sensor, comprising two or more ECG

electrodes,” and “a display,” as an ordered combination all in a single apparatus, represent

hardware that is non-generic and make the overall claim more than a patent on the abstract idea

itself, as discussed in connection with the 941 patent. Alice, 573 U.S. at 225-26. That these

features may otherwise be an obvious combination is irrelevant to the Section 101 inquiry, and the

additional limitations of the dependent claims only reinforce the conclusion that Section 101 is

satisfied.




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       Accordingly, none of the asserted claims of the 731 patent have been shown to be invalid

for lack of patentable subject matter.

               2.      AMON in Combination with Almen and/or Kotzin

       As with the 941 patent, Apple contends AMON “alone or in combination with Almen

and/or Kotzin for minor limitations—renders obvious all of the ’731 patent’s Asserted Claims,

including claims 1, 3, 5, 8-10, 12, [and] 15-16.” RIB at 95. Apple argues again that ALC has

waived the argument that AMON does not disclose heart rate variability across all three patents

because of its failure to be discussed in the context of the 499 patent. RIB at 100 n.35. As before,

ALC did contest claim 4, where heart rate variability first appears, in its pre-hearing brief. CPB

at 134-135. Thus, no violation of the ground rules occurred, the contention is not waived, and the

claim is discussed below.

                       a.      Claim 1

       Apple contends, “AMON alone or in combination with Almen and/or Kotzin discloses or

at least renders obvious claim 1.” RIB at 96. ALC contests only limitations 1(f)(ii) and 1(f)(iv)

(CIB at 114-117; CRB at 56 (using alternate identifiers)) and Staff only discusses the latter (SIB

at 58; SRB at 26). These are addressed below. As to the remaining, undisputed, limitations of

claim 1, they are disclosed, as Dr. Stultz explains. RIB at 96-98 (citing Hr’g Tr. (Stultz) at

1132:21-1132:20). Specifically, AMON teaches a “wrist-worn device” that tells time, containing

“processing devices,” a display, an ECG with one electrode inside the device cuff and a second

electrode on top, flash and random access memory, and “evaluation software.” RX-0419 at 1-2,

4, 6-7, Fig. 1. Again, although AMON does not appear to use the term “PPG,” it describes such a

sensor located on “the top of the wrist,” as well as its use for measuring pulse rate. See id. at 3, 5.




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                            iv.    [1(f)(ii)] “detect, based on the PPG data, the presence of an
                                   arrhythmia”

       Apple argues “detect, based on the PPG data, the presence of an arrhythmia” is disclosed

in AMON. RIB at 98 (citing Hr’g Tr. (Stultz) at 1115:5-21, 1134:8-21). Specifically, Apple states

“an elevated heart rate detected by PPG data without a corresponding activity level increase is

inherently indicative of a possible arrhythmia under AliveCor’s and Dr. Jafari’s application of the

claims for infringement. . . . There is no basis to claim that AMON’s comparison of activity level

to heart rate data is not inherently indicative of ‘detecting’ an arrhythmia.” RRB at 61-62.

       In response to ALC’s argument that there need be a separation between PPG detection and

ECG confirmation, Apple states, “the clinical algorithm specifically contemplates at Steps 3 and

4, that when previous steps indicate a risk or high risk zone, a ‘new measurement set is required,’

which could include an ECG measurement.” RIB at 98 (citing RX-0419 at 6). Apple adds, “any

POSITA would have known that the use of such sensors for high-risk cardiac patients would

necessarily include arrhythmia detection.” Id. (citing Hr’g Tr. (Stultz) at 1120:1-1121:1).

       The limitation is expressly disclosed in AMON. As discussed in connection with the 941

patent, heart rate can be provided by an optical, or PPG, sensor. RX-0419 at 6, 7. And AMON’s

optical sensor runs and measures pulse for 30 seconds every two minutes, whereas temperature,

blood pressure, and ECG measurement (i.e., not the optical sensor) are turned off most of the time.

See id. at 7. According to the five step algorithm, as Apple alleges, that pulse value is compared

to a lookup table to determine if it is out of range. Id. at 6. This satisfies the ordered construction

for an arrhythmia, which is simply “a cardiac condition in which the electrical activity of the heart

is irregular or is faster or slower than normal.” Order No. 12.

       Despite this evidence, ALC claims AMON “makes no mention of . . . any particular

condition the system is designed to detect.” CIB at 114-115. This is untenable in light of AMON’s



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use of threshold lookup tables for pulse (bpm) and the broad construction of “arrhythmia.” RX-

0419 at Table I. ALC also views Dr. Stultz as admitting that AMON does not “perform[] any

detection of any medical condition on its own.” Id. at 115 (citing Hr’g Tr. (Stultz) at 1161:6-9);

CRB at 56. While the quotation is accurate—“Q. Okay. The AMON paper also doesn’t disclose

a wrist monitoring device that performs any detection of any medical condition on its own, right?

A. I agree with that statement.”—it does not overcome the clear disclosure in AMON that an

optical sensor measures pulse and evaluates if it is faster or slower than expected via a lookup

table.

         Accordingly, the limitation is disclosed in AMON.

                             v.      [1(f)(iv)] “confirm the presence of the arrhythmia based on
                                     the ECG data”

         For “confirm the presence of the arrhythmia based on the ECG data,” Apple largely refers

to its discussion of the same limitation in claim 12 of the 941 patent. RIB at 99.; RRB at 62. ALC

does not explicitly incorporate its previous discussion, but restates the same points. CIB at 115-

117. The Staff offers no new rationales either. SIB at 58; SRB at 26.

         Accordingly, for the reasons discussed in connection with claim 12 of the 941 patent, this

limitation is disclosed in AMON.

                        b.        Claims 2, 7, and 16

         With respect to intervening claims 2 and 7 and claim 16, Apple contends that AMON

discloses the limitations of each. RIB at 99-101, 104. In support of claims 2 and 16, Apple refers

to its discussions of claims 12 and 16 of the 941 patent (see id. at 99, 104), and for claim 7, Apple

relies on the testimony of Dr. Stultz and AMON’s detection of out-of-range parameters (see id. at

101). ALC does not address or contest Apple’s theory for claims 2 and 7, and disputes claim 16




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only on the ground that it depends from claim 1. See CIB at 114-122; CRB at 55-61. The Staff

does not challenge claims 2, 7, or 16. SIB at 59-60.

       Apple has shown that all the elements of claim 1 are disclosed in AMON, and the elements

added by claims 2, 7, and 16 are also disclosed based on the evidence and by the testimony

provided by Dr. Stultz. RIB at 99-101, 104 (citing Hr’g Tr. (Stultz) at 1135:2-1136:1, 1139:9-25,

1142:10-19). In particular, AMON discloses a motion sensor coupled to a processing device,

where the processing device receives motion sensor data to determine that the user is at rest, as in

claim 2 (RX-0419 at 5, Fig. 7 (“acceleration sensor” transmitting data to the processing devices

for determining a “resting” activity level)), detects arrhythmia by extraction of pulse rate from

PPG data, as in claim 7 (id. at 3 (describing measurement of pulse rate by “comparing the changes

of each wavelength during one pulsation”)), and receives ECG data from the ECG sensor in

response to receiving an indication of a user action, as in claim 16 (id. at 4 (“the patient must touch

the [right arm electrode]” for the ECG to be measured)).

                       c.      Claim 3

       Claim 3 recites, “[t]he smart watch of claim 2, wherein to detect the presence of the

arrhythmia, the processing device is configured to input the PPG data into a machine learning

algorithm trained to detect arrhythmias.” 731 patent at cl. 3. Apple argues the limitation is

disclosed through, as Dr. Stultz characterized them, threshold “learning stages,” while also

emphasizing that the claim allows for any kind of learning algorithm, simple or otherwise. RIB at

99 (citing Hr’g Tr. (Stultz) at 1136:8-1137:22; RX-0419 at 3-4); RRB at 62-63. Apple cites no

other reference in support of its obviousness case. See RIB at 99.

       The limitation is not disclosed in AMON. The “simple” learning algorithm referenced by

Apple corresponds to the ECG sensor and its ability to recognize QRS widths, RR distances, and

QT intervals. RX-0419 at 4. Not only is this not the PPG sensor, but it is not an algorithm for


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detecting arrhythmias. It is an algorithm for determining characteristics of the wave (because ECG

rhythm strips are complicated), with those characteristics then needing subsequent analysis to

detect the cardiac condition (e.g., compared to a lookup table (RX-0419 at Table I)). In other

words, there is a difference between determining what the signals are and determining whether the

signals are a problem. This example in AMON is directed to the former. Claim 3 is directed to

the latter.

        For AMON’s light sensor (i.e., the “PPG data” of claim 3) all that is disclosed is that “[t]he

pulse oximeter probe and signal processing algorithms have been developed and manufactured

exclusively for the AMON project by SPO Medical Equipment Ltd., Israel based on a specification

by MDirect.” RX-0419 at 4. Again, not only is machine learning not disclosed for those custom-

made algorithms, but even if present they would not be for the purpose of detecting arrhythmia.

That is, again, left to AMON’s lookup table (RX-0419 at Table I) which is loaded with two sets

of pre-set values (a.k.a. risk thresholds):




        [M]easurement results are assigned to one of five zones—normal, deviant
        (abnormal values), risk, high risk, and error.

                                                ....

        The wrist device has two customizable sets of parameters, which are set by the
        health-care provider when handing the device over to the patient. The parameter
        values can be changed by the user’s physician, the care provider, or in real time by
        the medical operator in the TMC via the cellular link.




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       The two sets represent a nonaerobic state and an aerobic state corresponding to the
       level of user activity. The parameters are set according to age, gender, fitness, and
       medical history. The selection of the active set is performed by user command or
       automatically by the wrist device when activity is detected.

RX-0419 at 6. There is no disclosure here of automated adjustment to the parameter sets (i.e.,

thresholds), which is the underpinning of any machine learning algorithm. Thus, the limitation is

not disclosed, and Apple does not argue it would have otherwise been obvious, in view of any

other reference or the knowledge of a skilled artisan. See RIB at 99.

       Accordingly, claim 3 is not disclosed by AMON, nor would it have been an obvious

modification of it.

                       d.     Claims 4 and 5

       Intervening claim 4 recites, “[t]he smart watch of claim 2, wherein to detect the presence

of the arrhythmia, the processing device is configured to: determine heartrate variability (‘HRV’)

data from the PPG data; and detect, based on the HRV data, the presence of the arrhythmia.” 731

patent at cl. 4. For this claim, Apple argues it is disclosed in AMON for the same reasons explained

in connection with claim 13 of the 941 patent. RIB at 100. Claim 5 recites, “[t]he smart watch of

claim 4, wherein to detect the presence of the arrhythmia, the processing device is configured to

input the HRV data into a machine learning algorithm trained to detect arrhythmias.” 731 patent

at cl. 5. Apple contends the limitation is disclosed by AMON (RIB at 100 (“As Dr. Stultz testified,

AMON discloses claim 5.”)), and refers back to its perceived disclosure of a machine learning

algorithm in “whether the detected vital signs (e.g., the PPG data from the SpO2 sensor) are

irregular by using data about activity level, age, gender, fitness, and medical history to set high

risk and normal thresholds.” RIB at 100 (citing RX-0419 at 3, 6).

       As determined above, the concept of determining heart rate variability data, although not

disclosed in AMON, would have been obvious in view of Almen and its motivation to combine.



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But also as determined above, AMON does not disclose adjusting its own risk thresholds or any

other machine learning algorithm. Adjusting risk thresholds is instead done “by the health-care

provider when handing the device over to the patient. The parameter values can be changed by the

user’s physician, the care provider, or in real time by the medical operator in the TMC via the

cellular link.” RX-0419 at 6.

       Apple continues, “AMON also discloses a machine learning algorithm for detecting the R-

R distances . . . for use in determining if vital signs are irregular.” RIB at 100. To be sure, AMON

discloses continuous threshold adjustment (i.e., machine learning) for identification of the QRS

wave. It states, “[d]uring the detection process, the current integrated moving window is compared

with the upper threshold. If this threshold is exceeded, an R wave onset is assumed. . . These

threshold values are continually adjusted with each new QRS so as to compensate for variations

in ECG baseline.” RX-0419 at 4. But once determined, that QRS width is, again, compared to a

simple lookup table of pre-set values. Id. at Table I (“QRS duration (s)”). So the actual detection

of arrhythmia by “inputting” or otherwise processing HRV data does not involve machine learning,

and the limitation is not disclosed. Dr. Stultz’s opinion that AMON discloses a machine learning

algorithm is therefore beside the point. See Hr’g Tr. (Stultz) at 1136:8-1137:22. And although

Apple contends that “AMON discloses or renders obvious all the additional limitations of claim 5

of the ’731 patent” (RIB at 100), it offers no discussion of obviousness in either of its briefs (see

id.; RRB at 62-63).

       Accordingly, claim 5 has not been shown to be disclosed or rendered obvious.

                       e.       Claim 8

       Claim 8 recites, “[t]he smart watch of claim 7, wherein the one or more features correspond

to an HRV signal analyzed in a time domain.” 731 patent at cl. 8. Here, Apple contends, “Dr.

Stultz testified that the additional limitation of claim 8, an ‘HRV signal analyzed in a time domain,’


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was simply a well-known method of analyzing heart rate variability in 2013.” RIB at 101 (citing

Hr’g Tr. (Stultz) at 1140:1-25; 731 patent at 8:64-9:2); RRB at 63 (citing Hr’g Tr. (Stultz) at

1139:3-1141:7). Apple also suggests that analysis of heart rate variability is disclosed in AMON

(incorrectly, as determined above), and that it would have been obvious through Almen’s teaching:

“‘analysis of 24-hour HRV typically shows a nocturnal increase in the standard deviation of

heartbeat intervals.”” RIB at 102 (citing RX-0400 at 12:66-13:10; Hr’g Tr. (Stultz) at 1141:1-7).

       Apple has presented a prima facie case that claim 8 would have been obvious. Claim 1

and intervening claim 7 are fully disclosed by AMON, the heart rate variability element added by

claim 8 would have been obvious in view of Almen, as discussed above in connection with claim

13 of the 941 patent, and Dr. Efimov seems to admit that Almen discloses analyzing heart rate

variability with respect to time.     Hr’g Tr. (Efimov) at 1275:9-24 (“What [Almen] states,

essentially, is that measurements are done during sleep as shown on the right is heart rate, as you

see in the beginning the heart rate is high in the awake state, and then goes down when you sleep.

And then during sleep apnea, you have those large oscillations of heart rate . . .. So essentially,

this device measures different time intervals.”).

       In opposition, ALC repeats its argument that AMON, Almen, and the 941 patent

(impliedly, the 731 patent as well) are non-analogous. CIB at 120. As determined above, this is

not persuasive; they are all wrist-worn heart-monitoring devices. ALC also claims that whatever

modifications to AMON’s device and its SpO2 sensor would be necessary, they constitute “more

complicated analysis” and would not be done on the wrist-worn device but at AMON’s remote

TMC. CRB at 58-59. This is not persuasive, either. Once AMON is modified to calculate heart

rate variability from the SpO2 sensor’s pulse rate (as taught by Almen and discussed in connection

with claim 13 of the 941 patent), a comparison to thresholds would likely occur on the device




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itself—essentially another line in AMON’s Table I. And Dr. Stultz offers unrebutted testimony

that an HRV signal analyzed in the time domain was a routine and ordinary option. Hr’g Tr.

(Stultz) at 1140:1-9; see Hr’g Tr. (Efimov) at 1274:17-1275:24.

       Accordingly, Apple has made out a prima facie case that claim 8 would have been obvious

over AMON in view of Almen.

                       f.      Claim 9

       Claim 9 recites, “[t]he smart watch of claim 7, wherein the one or more features comprise

a nonlinear transform of R-R ratio or R-R ratio statistics with an adaptive weighting factor.” 731

patent at cl. 9. Apple states, “Dr. Stultz also testified that the additional limitation of claim 9, a

‘non-linear transform of RR ratio or R-R ratio statistics with an adaptive weighting factor,’ was

simply a well-known method of analyzing heart rate variability in 2013.” RIB at 102 (citing Hr’g

Tr. (Stultz) at 1140:1-25; RX-0551 at 2-3).

       Apple argues that “AMON, alone or in combination with Almen,” renders claim 9 obvious.

RIB at 102. Claim 7, from which claim 9 depends, is not limited to heart rate variability, and

AMON does not disclose measuring that parameter. So AMON alone does not disclose this

element. And although Almen discloses measurement of HRV, it does not disclose doing so using

a non-linear transform with an adaptive weighting factor. Even accepting Dr. Stultz’s opinion that

the claimed technique was well-known, the one reference Apple cites as disclosing the transform

discusses it as applying to ECG data, not PPG data, as the claim requires. See RIB at 102 (citing

RX-0551. 3 (describing measurement using “electrocardiography”)). And although that reference

arguably provides a motivation to combine, that motivation applies to ECG data, not PPG data.

See RX-0551.0007 (characterizing the technique as “computationally less difficult” and “a good

and reliable surrogate” for the technique to which it is compared). In essence, Apple’s case for




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the obviousness of claim 9 relies on three references, with no identified disclosure of the added

element applied to PPG data.

       Accordingly, claim 9 has not been shown to be disclosed or rendered obvious.

                       g.      Claim 10

       Claim 10 recites, “[t]he smart watch of claim 7, wherein the one or more features are

features of an HRV signal analyzed geometrically.” 731 patent at cl. 10. Apple states, “Dr. Stultz

further testified that the additional limitation of claim 10, ‘features of an HRV signal analyzed

geometrically,’ was simply a well-known method of analyzing heart rate variability in 2013.” RIB

at 102-103 (citing Hr’g Tr. (Stultz) at 1140:1-25; RX-0563 at 1-3, 5). Apple adds that Table IV

within AMON “discloses a sample density distribution of pulse rates . . . which could easily be

HRV as disclosed in Almen. . .. For example, a density distribution of 64% of the heart rates

calculated from the SpO2 sensor were distributed within 5 beats/min, 83% were within 10

beats/min, and 89% were within 15 beats/min.” Id. at 103 (citing RX-0419 at Table IV; RX-0400

at 1:21-24, 7:26-35, 2:52-58, 8:43-61).

       Claim 10 has not been shown to have been obvious. Claim 7, from which claim 10

depends, is not limited to heart rate variability, and AMON does not disclose measuring that

parameter. Almen does, with a motivation to combine with AMON, as noted, and Apple cites a

third reference disclosing Poincaré plots for HRV detection. See RIB at 103 (citing RX-0563).

As with claim 9, however, the disclosed Poincaré plots are generated from ECG data. See RX-

0563.1. Moreover, Apple’s contention that Table IV in AMON “discloses a sample density

distribution of pulse rates” is irrelevant, because the data is not analyzed geometrically, it is simply

a summary of pulse measurements. RIB at 103; RX-0419 at Table IV. Like with claim 9, Apple’s

case for the obviousness of claim 10 relies on three references, with no identified disclosure of the

added element applied to PPG data.


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       Accordingly, claim 10 has not been shown to be disclosed or rendered obvious.

                       h.      Claim 12

       Claim 12 recites, “[t]he smart watch of claim 1, wherein the processing device is further

configured to generate a notification of the detected arrhythmia.” 731 patent at cl. 12. Apple

contends, as in claim 12 of the 941 patent, that AMON discloses a message or notification to users

when their measured levels are out of range:

       Dr. Stultz testified that AMON discloses that if a vital parameter like pulse is
       irregular (outside the normal range), then a notification is generated. Tr. (Stultz) at
       1141:8-20. Specifically, AMON’s clinical algorithm also notes that in steps 1 and
       3 that if the pulse is irregular, then a notification is generated to take more
       measurements. RX-419.3, 6, 10, Abstract (AMON). And “it specifically states in
       all cases that the patient is informed as to their own status and that of the device.”
       Tr. (Stultz) at 1141:8-20. Dr. Efimov provided no testimony that this claim was not
       met by AMON at the hearing.

RIB at 103. According to Apple, Dr. Stultz considers the limitation inherent in AMON’s

disclosures, even without the word “arrhythmia.” RRB at 63 (citing Hr’g Tr. (Stultz) at 1120-1-

2).

       Largely for the same reasons presented above in connection with claim 12 of the 941 patent,

claim 12 of the 731 patent would have been obvious as a way of actually implementing the device

disclosed in AMON. The optical (PPG) sensor operates every two minutes (RX-0419 at 7) to

measure pulse (id. at 3), and the measurements are compared to a range of values to “determine if

and what new measurement set,” including ECG, “is required” (id. at 6). At “each step, a result is

displayed,” although AMON provides no guidance on the specific content of the displayed

“result.” Id. at 6. It surely would have been an obvious method of implementation to display the

result of the pulse measurement, which (if in a “risk or high-risk zone”) qualifies as a notification

of a detected arrhythmia.




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       ALC argues “AMON does not discuss arrhythmias at all.” CIB at 121. But as explained

above, an abnormal heart parameter, identified by use of AMON’s risk threshold lookup table,

meets the parties’ agreed construction of the term. ALC also argues that a POSITA would not

have considered modifying the device to detect arrhythmias because the ECG signal was too poor.

See id. But the arrhythmia is “detected” (as opposed to “confirmed”) by the PPG sensor combined

with a look-up table, not by the ECG sensor. See RX-0419 at 6. The Staff states the limitation is

not met but offers no explanation. SIB at 59.

       Accordingly, claim 12 is disclosed in AMON.

                       i.     Claim 15

       Claim 15 recites, “[t]he smart watch of claim 1, the processing device further configured

to display an ECG rhythm strip from the ECG data.” 731 patent at cl. 15. For this claim, Apple

largely refers to its discussion of claim 21 in the 941 patent. See RIB at 104; RRB at 64. ALC

follows suit. See CIB at 121; CRB at 61. The Staff avers that the limitation is absent, without

elaboration. See SIB at 59-60.

       For the same reasons presented above in connection with claim 21 of the 941 patent, claim

15 of the 731 patent is neither disclosed in AMON nor an obvious modification to it.

                       j.     Summary

       To summarize, asserted claims 1, 12, and 16 are disclosed in AMON, Apple has shown a

prima facie case of obviousness of claim 8 over AMON in view of Almen, and Apple has not

shown either disclosure or a prima facie case of obviousness of claims 3, 5, 9, 10, and 15. Because

anticipation is “the epitome of obviousness” (Realtime Data, 912 F.3d at 1373), claims 1, 12, and

16 are invalid, without regard to secondary considerations of non-obviousness. And because

claims 3, 5, 9, 10, and 15 have not been shown to be prima facie obvious, they are not invalid, also

without regard to secondary considerations. As to claim 8, it is not embodied in any DI Product,


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so ALC is not entitled to a presumption of nexus between the claim and secondary considerations,

and it otherwise makes only a cursory effort to prove such a nexus. See CIB at 122. Therefore,

no secondary considerations weigh against that claim’s obviousness, and it depends from claims

1 and 7, which are invalid for obviousness.

       Accordingly, claims 1, 8, 12, and 16 have been shown to have been obvious in view of

AMON alone or AMON in combination with Almen.

               3.        Unenforceability as to Experimental Use

       As with the 941 patent, ALC’s infringement theory does not implicate any Apple

experimental activity. See RIB at 104. Accordingly, experimental use has not been shown to

preclude any finding of infringement in this investigation.

VI.    U.S. PATENT NO. 9,572,499

       A.      Level of Ordinary Skill in the Art

       A person having ordinary skill in the art of the 499 patent at the time of invention:

       would have had either (1) a bachelor of science degree in electrical engineering,
       mechanical engineering, biomedical engineering, computer science, or a related
       discipline, with at least two years of relevant work experience designing wearable
       devices and/or sensors for measuring physiological signals or parameters of
       mammals, or (2) a medical degree and at least five years of relevant work
       experience designing wearable devices and/or sensors for measuring physiological
       signals or parameters of mammals. Also, relevant experience could substitute for
       education and vice versa for both categories of skilled artisan

Order No. 12 at 8. The parties do not challenge this definition, and it is applied throughout this

initial determination.

       B.      Claims-at-Issue

       Claims 16 and 17 of the 499 patent are at issue in this investigation, either through

allegations of infringement or domestic industry technical prong, as well as claim 11, from which

claims 16 and 17 depend. See generally CIB at 122, 134. These claims are reproduced below:



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 “heart rate sensor”                             Plain and ordinary meaning; heart rate sensors
                                                 that sense heart rate both directly and indirectly

 Order of method steps                           the step of “sensing an activity level of said first
                                                 user with a motion sensor” need not be performed
                                                 after the step of “determining, using said mobile
                                                 device, a heart rate variability of said first user
                                                 based on said heart rate of said first user.”


See Order No. 12 at 12, 15, 17, 18, 20. Although there is at least one claim construction dispute

within the parties’ discussions of infringement and domestic industry (see, e.g., CIB at 127) the

issue is already addressed above.

       D.      Infringement

       ALC contends, “Apple directly infringes claims 16 and 17 of the ‘499 Patent.” CIB at 122.

Again, claim 11 is independent and claims 16 and 17 depend from it, so if claim 11 is not infringed,

neither are claims 16 or 17. For the reasons discussed below, ALC has not shown infringement of

claims 16 or 17.

               1.      Claim 11

       For reference, claim 11 of the 499 patent requires:

       11. [11(a)] A system for determining the presence of an arrhythmia of a first user,
       comprising

       [11(b)] a heart rate sensor coupled to said first user;

       [11(c)] a mobile computing device comprising a processor, wherein said mobile
       computing device is coupled to said heart rate sensor, and wherein said mobile
       computing device is configured to sense an electrocardiogram of said first user; and

       [11(d)] a motion sensor

       [11(e)] a non-transitory computer readable medium encoded with a computer
       program including instructions executable by said processor to cause said processor
       to

       [11(e)(i)] receive a heart rate of said first user from said heart rate sensor,


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       [11(e)(ii)] sense an activity level of said first user from said motion sensor,

       [11(e)(iii)] determine a heart rate variability of said first user based on said heart
       rate of said first user,

       [11(e)(iv)] compare said activity level of said first user to said heart rate variability
       of said first user,

       [11(e)(v)] and alert said first user to record an electrocardiogram using said mobile
       computing device.

499 patent at cl. 11 (annotated); see JX-0001.40 (certificate of correction).

       Only a few limitations are disputed in the Accused Products. ALC understands that,

“Apple only contests infringement with respect to claim elements 11(e)(iv) and 11(e)(v) from the

independent claim.” CIB at 123. So ALC reasons that any other disputes from Apple have been

waived pursuant to Ground Rules 9.2 and 13.1. Id. ALC’s representations are consistent with the

disputes identified in Apple’s post-hearing brief. RIB at 105-112. The Staff, similarly, addresses

no limitations in claim 11 other than 11(e)(iv) and 11(e)(v). SIB at 63-65. For those remaining

limitations which are not in dispute, the Accused Products have been shown to meet them as

alleged. See CIB at 123-125. In particular, Dr. Jafari testified that all elements of each claim are

met. See Hr’g Tr. (Jafari) at 371:4-372:21.

                       a.      [11e(iv)] “compare [said] activity level of said first user to said
                               heart rate variability of said first user”

       For this limitation, ALC incorporates its arguments from claim 12 of the 941 patent. CIB

at 125, 127. ALC further explains, “the IRN feature analyzes HRV in determining whether or not

there are irregular rhythms suggestive of AFib” by




            ” Id. at 126 (citing Hr’g Tr. (Jafari) at 374:11-24). ALC concludes that the IRN feature

satisfies the limitation “because a processor literally


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                                                                           .” Id. at 127 (citing Hr’g

Tr. (Jafari) at 374:21-24).

       ALC views Apple’s non-infringement argument as identical to that offered against claim

12 of the 941 patent. See CIB at 126-127; CRB at 62. Accordingly, ALC counters, “[t]here is no

requirement in the claim that motion sensor data be sensed at the same time as HRV is determined

from the PPG data, nor is there any requirement in the claim that motion sensor data inform the

basis for a determination regarding the detection of an arrhythmia (such as by way of input into

the IRN classification algorithm).” CIB at 127. ALC adds, “[b]y contrast, the ‘499 patent’s

specification provides that the aim of ‘comparing measured heart rate changes with measured

activity changes’ is to ‘minimize[] false alarms’. JX-001 at 25:22-25. Nothing more is required,

and Dr. Picard’s insistence to the contrary is unsupported by the ‘499 patent.” Id.

       Apple argues, “

                                                                                 .” RIB at 105-106.

Apple then incorporates its discussion of claim 12 of the 941 patent to explain why this results in

non-infringement. Id. at 106; see RRB at 65. Apple adds, “Apple’s source code substantiates that



        ” and “[a]s Dr. Picard confirmed, there are ‘

                                                        .’” RRB at 65 (citing JX-0237C at 253:1-

256:23; Hr’g Tr. (Picard) at 881:7-11).

       The Staff finds the limitation met. Staff refers to the 499 patent’s teaching that the activity

level and heart rate variability comparison is simply used to minimize false alarms (SIB at 63-64

(citing 499 patent at 25:17-25)) and finds the products “




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   ” (id. at 64 (citing Hr’g Tr. (Jafari) at 372:22-374:24)).

       The limitation is met in the Accused Products. Apple readily acknowledges that IRN will

only monitor heart rate, compute HRV, and employ its AFib screening algorithms when the

                                                                .” See RIB at 12.

                                                           . Hr’g Tr. (Waydo) at 762:25-763:4



      ). Thus, at least some of the time, the motion sensor is associating measured heart rate and

HRV values with a particular period of low activity. This association is exactly as the 499 patent

describes the “compar[ing]” process, in an excerpt cited by both ALC and Apple:

       An advisory condition for recording an ECG may occur due to, for example, large
       continuing fluctuations in heart rate. An advisory condition for recording an ECG
       can also occur when a measured heart rate increases rapidly without a
       corresponding increase in activity monitored by, for example, an accelerometer. By
       comparing measured heart rate changes with measured activity changes, the
       presently disclosed software or “app” minimizes false alarms . . ..

499 patent at 25:17-25; see CIB at 126 (citing 499 patent at 25:17-25); RIB at 105 (citing 499

patent at 25:19-25).

       It is true that the comparison is simplistic.



                                                                                      . See CX-

0048C.87, .93 (                                            ). But even such a binary comparison

qualifies as a comparison. Apple’s contention that “there are ‘no instructions that bring together

the heart rate or heart rate variability parameter and the motion’” (RRB at 65 (citing Hr’g Tr.

(Picard) at 881:7-11) is plainly contradicted by Apple’s graphical summary of IRN’s

“instructions,” which show motion and heart rate variability considered together:



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specification.” Id. (citing 499 patent at 25:17-25; JX-0221C (Waydo) at 286:3-14); id. at 65

(referring to “advisory condition”). ALC continues:

       However, telling a user to talk to [his or her] doctor is not mutually exclusive from
       taking an ECG upon receipt of an IRN alert, nor has Apple identified any evidence
       that the IRN alert message (or anything else for that matter) discourages or
       dissuades a user from taking an ECG upon receipt of an IRN alert. Indeed, the
       evidence overwhelmingly demonstrates that Apple itself directly encourages users
       to take an ECG following receipt of an IRN alert.

Id. at 64. Overall, ALC posits, “[t]here is no question that the IRN alert itself alerts the user that

‘an ECG is appropriate,’ which the ALJ’s claim construction order provides is what the ’499 patent

claims are directed to” and “Apple’s instructions regarding the ‘triggering’ nature of the IRN alert

message have been not only received but well understood by Apple’s user base.” Id. at 64-65

(citing CX-0692.16; CX-0623; CX-0626).

       Apple opposes. Apple views the limitation as requiring, under a plain and ordinary

meaning, two distinct features: “that the system provides a ‘trigger message’ or somehow prompts

the user—e.g., by displaying a ‘Take ECG’ message—to record an ECG by the Apple Watch”;

and “an alert to the user to record an ECG each time there is a comparison of activity level to heart

rate variability, and regardless of whether the comparison identifies an ‘irregularity.’” RIB at 106-

107 (citing Hr’g Tr. (Picard) at 904:1-17; JX-0223C (Albert) at 42:6-43:20, 44:7-21, 45:1-8).

       As to the first requirement, Apple cautions that its support website, press releases, and

specifications are not instructions on the Apple Watch itself. SIB at 107, 109 (citing, inter alia,

Hr’g Tr. (Jafari) at 476:18-477:3); see id. at 110-111 (arguing                                      ,

112 (tracked usage statistics have nothing to do with operation of the Apps); RRB at 66-67. And,

if considered, it argues its Instructions for Use (IFU) “fail to instruct users to take an ECG right

after receiving an IRN,” and none of its “onboarding materials, press releases, or support web

pages” claim that potential arrhythmias are confirmable by the ECG app. RIB at 109-110 (citing



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RX-0051C). According to Apple’s technical witness, its confidence in the accuracy of its IRN

notification is so high that if it triggers, “we would really like their next step to be to discuss that

with their physician”                                                                          See RIB

at 111 (citing Hr’g Tr. (Waydo) at 859:18-860:18). As for the specific support page relied on by

ALC, Apple highlights its express text that a user can take an ECG “at any time, including

randomly during the day, when they feel unwell or symptomatic, or when their doctor recommends

it” (id. at 110 (citing Hr’g Tr. (Waydo) at 846:1-15)). Apple also reminds that within the actual

message displayed, “[y]our heart has shown signs of an irregular rhythm suggestive of atrial

fibrillation . . . if you have not been diagnosed with AFib by a physician, you should talk to your

doctor,” there is no mention of ECG at all. See id. at 108 (citing Hr’g Tr. (Picard) at 9[0]5:2-16);

RRB at 67.

        Regarding the second requirement, Apple simply contends it is not met because there is no

comparison whatsoever between activity level and HRV, as described in the previous limitation.

RIB at 108. And regarding doctrine of equivalents, Apple argues there is a substantial difference

between “take an ECG” and “talk to your doctor” messaging. Id. at 112; RRB at 67.

        The Staff also finds the limitation not met. Staff argues there is no literal infringement,

based simply on the text of the IRN alert message, which refers to talking with a doctor as opposed

to taking an ECG. SIB at 64 (citing, inter alia, RX-0179C.72); SRB at 28. As for doctrine of

equivalents, Staff agrees that alerting a user to talk with a doctor is “very different than alerting

the user to capture an ECG” and “likely to achieve a substantially different result than alerting the

user to take an ECG.” SIB at 65.




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       The limitation is not met literally in the Accused Products. ALC does not cite the actual

language of the message displayed to the user after an arrhythmia has been detected by IRN. See

CIB at 127-129. That message, in its entirety, is below:




RX-0179C.0072. This is not an alert for the user to take an ECG; it is an alert for the user to see

their doctor. No further testing of any kind is suggested, and ALC’s “externally facing” and

“internally facing” evidence is irrelevant in light of this plain language. ALC’s expert, Dr. Jafari,

acknowledged that this message would send a user to the doctor, and that the desire to take an

ECG would need to come from the user asking themselves what else could be done and consulting

additional resources:


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        The second part of the message says, consult with a doctor. I'm sitting here
        testifying, or it might be at nighttime. I will consult with a doctor, I will try to find
        my cardiologist. Tomorrow I have to make a few phone calls, make an appointment,
        go see a doctor. I will do that. But is there anything else I can do.

        I might try to look up, you know, IRN notification, and it takes me to the Apple
        website and it says take an ECG. What do I have to lose by taking an ECG. I will
        take an ECG. And that, effectively, connects also to the example that I provided
        earlier with the alarm system and how we are going to react to it.

Hr’g Tr. (Jafari) at 380:2-13. Lastly, contrary to ALC’s suggestion, Order No. 12’s determination

that an “alert” is not limited to a message is not implicated here. See CRB at 62-63 (alleging this

determination is “a crucial framework under which the claims should be interpreted”). ALC

identifies nothing other than the message itself that might qualify as such an “alert.” See id.

        As for doctrine of equivalents, ALC’s position is not persuasive, either. IRN’s message to

see your doctor is certainly provided in the same way as a message to take an ECG; that is, text

displayed on the watch’s screen. And the function could be viewed the same as well; that is, the

function of both alerts is to urge the user to take additional action. Yet the results are very different.

The intended result of “alert said first user to record an electrocardiogram using said mobile

computing device” is for an ECG to be taken using the mobile device’s sensors. The intended

result of “you should talk to you doctor” is a doctor’s office visit where any number of procedures

could occur. Thus, infringement under the doctrine of equivalents has not been shown.

        Accordingly, the limitation has not been shown in the Accused Products.

                2.      Other Claims

        Apple does not contest dependent claims 16 and 17 in the Accused Products apart from

their dependency on independent claim 11. RIB at 112. Neither does the Staff. SIB at 66. While

ALC has not shown infringement of independent claim 11, discussed above, the limitations of

claims 16 and 17 are determined to be met in the Accused Products based on the undisputed

evidence and testimony provided by ALC. CIB at 123, 133-134. In particular, the Accused


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Products are smartwatches (claim 16) that employ a machine learning algorithm to determine the

presence of arrhythmia (claim 17). See Hr’g Tr. (Jafari) at 312:18-314:11, 320:13-321:19.

       E.       Domestic Industry – Technical Prong

       ALC contends, “AliveCor’s KBS,                        products each practice claims 16 and

17 of the ’499 patent literally and under the doctrine of equivalents.” CIB at 134. Technical prong

for the 499 patent differs from the 941 and 731 patents in that Apple does not dispute practice of

any of claims 11, 16, and 17 by the KBS product. See CIB at 134 (citing Hr’g Tr. (Jafari) at

406:14-409:25); RIB at 112-113; RRB at 67-68. Neither does the Staff. SIB at 66-68. Thus, in

light of the undisputed testimony and evidence provided by Dr. Jafari (Hr’g Tr. (Jafari) at 406:14-

409:25), the KBS is determined to practice asserted claims 16 and 17.

       For                , again, the      did not exist in any hardware-sense at the time of the

complaint. Accordingly, it cannot support a domestic industry that “exists.” Thermoplastic

Motors, Inv. No. 337-TA-1073, Comm’n Op. at 10. And, as with the 941 and 731 patents, ALC

has not adequately alleged that

             practices any claim of the 499 patent. See CIB at 134-137. Thus it too cannot be

considered to support a domestic industry that “exists.”

       Nevertheless, the practice of the 499 patent by the              products is “in the process

of being established,” for the same reasons as with the 941 and 731 patents. The evidence shows

that at the time of the complaint, ALC was taking the necessary and tangible steps to practice

claims 11, 16, and 17 via the                   products with a significant likelihood of success.

ALC’s previous product, KBS, indisputably practices all of these claims. ALC’s expert, Dr. Jafari,

has given persuasive testimony on the transferability of the SmartRhythm (PPG analysis) and

KardiaApp (ECG collection and analysis) features—primary software features behind this




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CIB at 144-146; CRB at 70-72; SIB at 71) so AMON, Almen, and Kotzin are prior art to the 499

patent at least under 35 U.S.C. § 102(a).

               1.      Ineligible Subject Matter

       As with the 941 and 731 patents, Apple contends “[c]laims 16 and 17—which depend from

non-asserted claim 11—are all directed at patent ineligible subject matter.” RIB at 113. As for

Alice step one, Apple argues independent claim 11 is “directed fundamentally at the abstract idea

of sensing heart rate and activity data, processing the data, comparing the data, and then alerting a

user to take more data.” Id. at 114. Apple claims the steps are “fundamentally the steps clinicians

have done historically as part of a routine cardiac exam, and merely automating such a basic human

activity is insufficient to convey patentability under § 101.” Id. Apple argues claims 16 and 17

are directed similarly. Id.

       As for Alice step two, Apple views the recited hardware “a hear rate sensor, a processor, a

motion sensor, a non-transistory computer readable medium, an ECG sensor, and a [] mobile

computing device” as generic. RIB at 114. Apple adds, “the ’499’s inventors did not invent or in

any way advance these generic hardware components.” Id. Apple contends the “smartwatch” of

claim 16 is effectively a generic computing device and “conventional as of 2013.” Id. For claim

17, reciting, “determine a presence of said arrhythmia using a machine learning algorithm,” Apple

argues “a machine learning algorithm without specifics is nothing more than generic, functional

language” and “[c]laim 17 recites nothing about how the algorithm is trained.” Id. at 115.

       ALC, on the other hand, contends the claims are subject matter eligible as “[c]laims 16 and

17 both require a specific combination of heart rate, motion, and ECG sensors.” CIB at 142; CRB

at 68 (“Apple ignores the specific configuration of sensors and computer-readable instructions

executed on the device recited by the claims.”). ALC, in a discussion of Alice step one, emphasizes

the invention’s advantages in early stage disease detection (CIB at 142) and notes the patent’s


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statement “that ‘by comparing measured heart rate changes with measured activity changes, the

presently disclosed software or ‘app’ minimizes false alarms.’” Id. (citing 499 patent at 25:22-

25). Otherwise, ALC views the claims as similar enough to those in the 941 and 731 patents so as

to incorporate its previous Alice step one discussions by reference. Id. at 143.

       Continuing under Alice step two, ALC argues “the claimed devices of claims 16 and 17 are

inventive because they perform functions that doctors or other medical professionals could not do

before [so that by] comparing HRV to activity level, the claimed devices can more accurately alert

users to take an ECG.” CIB at 143; CRB at 68-69 (arguing doctors do not “alert” the user to take

ECG, they would order it themselves). Additionally, according to ALC, the claims include

inventive concepts because “they can alert the user to record an ECG when an arrhythmia is

detected and thus enable users to capture this information even without a doctor present.” CIB at

143; CRB at 69 (arguing the invention “allows users to record ECGs in the periods of greatest

diagnostic value.”). ALC again views the claims as similar enough to those in the 941 and 731

patents so as to incorporate those Alice step two discussions by reference. CIB at 144.

       The Staff agrees with ALC on both steps of the Alice test, and repeats its commentary from

the other patent discussions. SIB at 68-71; SRB at 30-33.

       Unlike the claims of the 941 and 731 patents, claim 11 of the 499 patent is invalid for lack

of patentable subject matter. For background, claim 11 recites:

       11. [11(a)] A system for determining the presence of an arrhythmia of a first user,
       comprising

       [11(b)] a heart rate sensor coupled to said first user;

       [11(c)] a mobile computing device comprising a processor, wherein said mobile
       computing device is coupled to said heart rate sensor, and wherein said mobile
       computing device is configured to sense an electrocardiogram of said first user; and

       [11(d)] a motion sensor



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        [11(e)] a non-transitory computer readable medium encoded with a computer
        program including instructions executable by said processor to cause said processor
        to

        [11(e)(i)] receive a heart rate of said first user from said heart rate sensor,

        [11(e)(ii)] sense an activity level of said first user from said motion sensor,

        [11(e)(iii)] determine a heart rate variability of said first user based on said heart
        rate of said first user,

        [11(e)(iv)] compare and [sic] activity level of said first user to said heart rate
        variability of said first user,

        [11(e)(v)] and alert said first user to record an electrocardiogram using said mobile
        computing device.

499 patent at cl. 11 (annotated). The bulk of the claim is directed to the data analysis algorithms

taking place within the “processor” and according to the “instructions” saved in memory (i.e.,

ineligible subject matter). The bit of apparatus recited (i.e., potentially eligible subject matter) is

devoid of specificity, such that it can only be considered generic computer hardware—“a heart

rate sensor,” “mobile computing device,” “a processor,” “a motion sensor,” and “non-transitory

computer readable medium.” The fact that the preamble describes this as a “system” demonstrates

that no particular form factor is envisioned or required. Thus, the claim is clearly directed to the

idea of taking in heart rate data (of any kind), taking in activity level data (of any kind), calculating

heart rate variability, comparing that variability with the activity (by any means), and then alerting

the user to “record an electrocardiogram using said mobile computing device.”

        Dr. Stultz persuasively testified that carrying out these steps is common in medical practice.

Hr’g Tr. (Stultz) at 1058:13-1059:19, 1077:21-1078:15, 1085:15-22. They are also ineligible

mental processes. Accordingly, claim 11 is directed to ineligible subject matter under Alice step

one. Mayo Collaborative Servs. v. Prometheus Lab'ys, Inc., 566 U.S. 66, 71, (2012); Intellectual




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Ventures I, 838 F.3d at 1314 (“The Supreme Court has held that ‘fundamental . . . practices long

prevalent’ are abstract ideas.”) (citing Alice, 134 S.Ct. at 2356).

        Claims 16 and 17 fare similarly. Claim 16 specifies that the “mobile computing device” is

a “smartwatch.” But this does not materially transform the claim as there is no other limitation

that benefits or is affected by the computing device being in this form factor. Compare 499 patent

at cl. 16 with 941 patent at cl. 22 (“wherein the PPG sensor is located on a back of the smartwatch”).

Claim 17 requires the processor to further “determine a presence of said arrhythmia using a

machine learning algorithm.” 499 patent at cl. 17. This is literally just another algorithm and only

deepens the connection between the claim and ineligible subject matter.

        Turning to Alice step two, claim 11’s non-ineligible elements, either individually or as an

ordered combination, do not transform the nature of the claim into something more than a patent

on the abstract concept. See Alice, 573 U.S. at 217-18. As noted, there are sensors recited (“heart

rate,” “electrocardiogram,” “motion”), but they are unrestricted as to structure, arrangement, or

data output so long as they relate to “heart rate,” electrical activity of the heart, or “activity level,”

respectively. 499 patent at cl. 11. Admittedly, an ECG sensor is rather specific; but unlike claim

12 of the 941 patent, claim 11 of the 499 patent does not recite the number of leads to further

specify the type of ECG sensor, nor does it expressly recite any use for the ECG data—it simply

exists within the “mobile computing device.” 499 patent at cl. 11. In essence the claim covers the

addition of generic sensors to an existing ECG machine, and for no particular purpose.

        Alone or as an ordered combination, all this is equivalent to the basic idea of using such

sensors. The remaining hardware limitations (“mobile computing device,” “processor,” and

“computer readable medium”) are equally generic, if not more so, and perform their generic

functions (be configurable, contain and execute instructions). Moreover, there is nothing recited




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that could be viewed as improving the operation of any of these computing elements (e.g., faster,

fewer errors, less power consumption, etc.). See, e.g., Enfish, 822 F.3d at 1336 (“In this case,

however, the plain focus of the claims is on an improvement to computer functionality itself, not

on economic or other tasks for which a computer is used in its ordinary capacity.”). Nor does the

addition of a machine learning algorithm, as in claim 17, remove that claim from the category of

“well-understood, routine, and conventional.” Berkheimer, 881 F.3d at 1369.

       ALC’s arguments to the contrary are unpersuasive. The feature of claim 11 heralded to

result in “improved cardiac monitoring technology” is an “algorithmic step,” as is the (unspecified)

“machine learning algorithm” of claim 17. CIB at 142 (discussing comparison of HRV to activity

level). And the concept of alerting a user to take an ECG (by any means) may result in improved

early detection of cardiac conditions (id. at 142-143), but it is still an algorithm contained in

memory and executed by a processor (499 patent at cl. 11). On that point, processors do not “alert”

a user themselves; additional, unrecited hardware is necessary (e.g., speaker, LED, vibrating

motor, display, etc.). ALC also contends, “the claimed devices of claims 16 and 17 are inventive

because they perform functions that doctors or other medical professionals could not do before.”

CIB at 143; see SIB at 70-71. What has been done before, or not, is a novelty or non-obviousness

argument, however, distinct from § 101. Synopsys, 839 F.3d at 1151.

       Accordingly, claim 17 of the 499 patent has been shown to be invalid for lack of patentable

subject matter. The same cannot be said of claim 16, however, for the same reason as discussed

above for the 941 and 731 patents: it requires a “smartwatch” as at least part of the mobile

computing device. Undoubtedly claim 16 is more abstract than the claims of the 941 and 731

patents, because no particular kind of heart rate sensor or motion sensor is required. But

incorporating even any kind of heart rate sensor into a smartwatch, especially when combined with




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an ECG sensor, lifts that smartwatch out of the realm of “well-understood, routine, and

conventional.” Berkheimer, 881 F.3d at 1369. Overall, the system of claim 16 is sufficiently

unconventional that it qualifies as inventive at step two of Alice. Claim 16 therefore is not invalid

for lack of patentable subject matter.

               2.      AMON in Combination with Almen and/or Kotzin

       Apple states, “[j]ust like the ’941 and ’731 patents, AMON—alone or in combination with

Almen and Kotzin for minor limitations—renders obvious all of the ’499 patent’s Asserted Claims

in this Investigation, including claims 11, 16 and 17.” RIB at 115-116.

                       a.          Claim 11

       For independent and intervening claim 11, Apple identifies several limitations it views as

disputed, but are otherwise disclosed or obvious in light of AMON. See generally RIB at 116-

120. In its briefing, ALC identifies limitations 11(e)(iii), 11(e)(iv), and 11(e)(v) as in dispute (CIB

at 144-145; CRB at 70-71); and while Staff opposes limitations 11(e)(iii) and 11(e)(iv) it does so

on essentially identical grounds to ALC (SIB at 72-75; SRB at 33-35). These are discussed below.

As to the remaining, undisputed, limitations of claim 11, they are found to be obvious as alleged

by Apple in light of the evidence and testimony provided by Dr. Stultz. RIB at 116-119 (citing

Hr’g Tr. (Stultz) at 1142:20-1143:6).

                              i.      [11(e)(iv)] “compare said activity level of said first user to
                                      said heart rate variability of said first user”

       As noted above, AMON does not disclose element 11(e)(iii), “determine a heart rate

variability of said first user based on said heart rate of said first user,” but the combination of

AMON and Almen renders that element obvious, so the following discussion pertains to that

combination. As to “compare said activity level of said first user to said heart rate variability of

said first user,” Apple contends it also would have been obvious. See RIB at 119 (citing Hr’g Tr.



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(Stultz) at 1119:3-25, 1142:20-1143:3). In reply, Apple asserts that the device in Almen monitors

HRV even while a user is at rest. Id. (citing RX-0400 at Abstract; Hr’g Tr. (Stultz) at 1118:8-

1126:16, 1142:20-1144:21).

       The limitation would have been obvious over AMON in light of Almen. As determined

above in connection with the 941 and 731 patents, AMON discloses the concept of comparing

heart rate data (i.e., pulse) against one of two pre-set thresholds depending on the user’s activity

level (aerobic or anaerobic). RX-0419 at 6, Table I. As further determined above, a person of

ordinary skill would have had reason to calculate heart rate variability as a parameter to aid in

evaluating arrhythmia, given the teachings of Almen. See RX-0400 at 1:61-66, 2:12-20, 7:26-53;

see also Hr’g Tr. (Stultz) at 1058:13-1059:19, 1077:21-1078:15, 1085:15-22. It is logical to

conclude that the device of AMON, once modified, would evaluate heart rate variability in the

same manner as its other characteristics—i.e., compare it to one of two pre-set thresholds

depending on the user’s activity level. After all, detecting when activity is “strenuous” (i.e.,

aerobic) is the whole point of AMON’s acceleration sensor:

       D. Acceleration Sensor

       Acceleration sensors provide information on the activities of the wearer. Three uses
       of this information are made: First, the pulse limits are set according to the activity
       level—e.g., walking, running, or resting.

                                                ....

       1) Activity Detection: The AMON system requires only very simple activity
       analysis compared to other wearable activity detection applications, e.g., [24].
       What we are interested in is the level of physical activity without being able to
       distinguish specific actions. The main problem that our analysis has to deal with is
       the fact that intensive arm motion by itself is by no means an indication of strenuous
       physical activity. Thus, for example eating, drinking, or just talking and
       gesticulating involves arm motions that are not particularly strenuous. Our analysis
       is based on the fact that strenuous activity is mostly associated with (fast) walking
       or running. This in turn has a characteristic periodic acceleration signature with the
       frequency indicating the walking speed (see Fig. 6). This periodic signature can be



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       detected even if the arms do not follow the walking motion directly through
       swinging and are engaged in some other activity.

RX-0419 at 5.

       ALC’s points in opposition are not persuasive. Beyond those made (and rejected) in

connection with claim 13 of the 941 patent, ALC argues “because Almen is targeted toward

analysis during sleep cycles of the wearer, it would not be necessary for Almen to even consider

the user’s motion or activity level, let alone compare it to HRV.” CIB at 144. Staff makes a

similar argument. SIB at 74-75. Yet, the combination is to add HRV evaluation to AMON’s

device, not physical activity evaluation to Almen, and as detailed above, AMON recognizes the

importance of noting activity level when determining if heart-centric thresholds have been crossed.

       Accordingly, this limitation would have been obvious over AMON in light of Almen as

alleged.

                            ii.    [11(e)(v)] “alert said first user to record an
                                   electrocardiogram using said mobile computing device”

       As to “alert said first user to record an electrocardiogram using said mobile computing

device,” Apple argues it is both disclosed and obvious. RIB at 119. Within AMON, Apple points

to statements regarding out of range parameters:

       Dr. Stultz made clear that AMON discloses alerting a user to record an ECG,
       because “if a parameter is out of range, the user is informed and additional
       measurements are required, and one of those measurements can be an ECG, and the
       user is informed to their own status and that of the device.” Tr. (Stultz) at 1143:7-
       14; RDX-3.99. AMON’s clinical algorithm also notes in steps 1 and 3 that if the
       pulse is irregular (outside the normal range), then the user is asked to take an ECG
       measurement. Id. at 420. The user has to actively record the ECG because AMON
       states “the patient must touch the RA with his left hand” and the RL lead to the
       abdomen. Id. [at] 418; RDX-3.99.

Id. Apple also reminds of AMON’s disclosure that “‘each step [of the algorithm], the result is

displayed . . .’ to the user.” RRB at 71 (citing RX-0419 at 6). If not disclosed, it is obvious,

according to Apple, in combination with Kotzin:


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       To the extent that AMON does not expressly disclose an alert, a POSITA would
       have been motivated to create an alert based on the disclosures in Kotzin that if a
       preliminary event (e.g., a pulse or HRV signal) occurred outside the normal range
       thresholds, then it would be beneficial to alert the user to sense an ECG to indicate
       if the pulse or HRV is a dangerous condition. Tr. (Stultz) at 1143:15-19. RX-401
       (Kotzin) 18:10-24; RDX-3.100.

RRB at 120.

       The limitation is at least inherently disclosed in AMON. As noted by Dr. Stultz, AMON

discloses a five step algorithm, where in the first step, measured values (e.g., pulse) are compared

to risk threshold limits in a look-up table. RX-0419 at 6. The third and fourth steps include:

       Third Step: When previous steps indicate a risk or high-risk zone, determine if and
       what new measurement set is required.

       Fourth Step: Calculate pulse based on two or three different measurements (SpO2,
       blood pressure, and ECG). Each measurement is weighted according to its
       reliability.

Id. In the “System Overview,” AMON further explains that when a parameter is out of range, as

in the third step, an ECG is called for when appropriate:

       Parameter out of range: A remeasurement is performed. If the outcome is the same
       as before, the user is informed and additional measurements are required. The wrist-
       worn device determines the type and initiates the measurement. The type of
       measurement includes SpO2, blood pressure, and ECG. Taking into account
       combined results of all measurements, the system then decides whether to alert the
       TMC or not.

Id. at 3. If the device determines that an ECG is called for, the device necessarily must do as the

present claim limitation recites—that is, alert the user to take an ECG. As AMON notes, the device

cannot do this itself because ECGs require users to actively position their body to the sensor pads:

       [D]uring a measurement, the patient must touch the RA with his left hand. The right
       leg (RL) electrode is placed on top pointing to the wearer; during measurement,
       this electrode must be in contact with the abdomen. In order to reduce common
       mode interference, a right leg drive circuit has been chosen with gain set to 39.

Id.




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         And the device would determine that an ECG is appropriate when the out of range

parameter is one that an ECG will measure, as opposed to one that an ECG cannot measure, such

as blood oxygen concentration (SpO2) or blood pressure. So although AMON does not expressly

disclose “alert[ing] said first user to record an [ECG],” that step is necessarily present when

AMON analyzes HRV as the out of range parameter.

         In opposition, ALC first argues that because the preamble of claim 11 is limiting, “any alert

would necessarily require some connection to the limitation of ‘detecting the presence of an

arrhythmia.’” CIB at 145 (citing Eli Lilly & Co. v. Teva Pharms. Int’l GmbH, 8 F.4th 1331, 1345

(Fed. Cir. 2021)). And because AMON does not use the word “arrhythmia,” it cannot meet this

limitation either, according to ALC. Id.; CRB at 71. But the broad construction of “arrhythmia”

which encompasses any irregularity in electrical activity of the heart, including HRV. Order No.

12 at 12.

         Accordingly, Apple has shown independent and intervening claim 11 would have been

obvious over AMON in view of Almen; Kotzin need not be considered.

                        b.      Claim 16

         Claim 16 recites, “[t]he system of claim 11, wherein said mobile computing device

comprises a smartwatch.” 499 patent at cl. 16. For this claim, Apple refers to its discussion of

preambles in both claim 12 of the 941 patent and claim 1 of the 731 patent. RIB at 120 (citing

Hr’g Tr. (Stultz) at 1143:23-1144:1). ALC only contests claim 16 to the extent it depends on claim

11. See CIB at 145; CRB at 71. Staff finds the limitation disclosed in AMON. SIB at 75.

         Accordingly, claim 16 would have been prima facie obvious over AMON in view of

Almen.




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                      c.      Claim 17

       Claim 17 recites, “[t]he system of claim 11, wherein said computer program further causes

said processor to determine a presence of said arrhythmia using a machine learning algorithm.”

499 patent at cl. 17. For this claim, Apple contends AMON discloses it and refers to its discussion

of claim 5 of the 731 patent. RIB at 120 (citing Hr’g Tr. (Stultz) at 1143:23-1144:1). ALC

similarly contests claim 17 on the same ground as claims 3 and 5 of the 731 patent. CRB at 71.

The Staff finds the limitation is not disclosed in AMON and not otherwise obvious based on

Kotzin. SIB at 76 (“It is not clear that Kotzin even describes a machine learning algorithm, but

even if it did, Kotzin fails to teach or suggest using any such algorithm for the detection of

arrhythmia.”).

       As determined in connection with claims 3 and 5 of the 731 patent, the machine learning

limitation is not disclosed in either AMON or Almen, and Apple does not identify any teaching in

Kotzin of a machine learning algorithm, or of any motivation to combine Kotzin, AMON, and

Almen. See RIB at 120.

       Accordingly, claim 17 is not disclosed by AMON, and no prima facie case of obviousness

has been shown.

                      d.      Summary

       Apple has not made out a prima facie case of obviousness as to claim 17, so it is not invalid

on that basis. The KBS embodies claim 16, so ALC is entitled to a presumption of nexus to the

secondary considerations of non-obviousness, and Apple offers no evidence to rebut that

presumption. See RIB at 120. Essentially for the same reasons as discussed above for claims 12,

16, 20, 22, and 23 of the 941 patent, the secondary considerations here also outweigh the other

Graham factors, such that claim 16 would not have been obvious over AMON in view of Almen.

       Accordingly, Apple has not proven claim 16 or 17 to have been obvious.


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                3.      Enforceability as to Experimental Use

        As with the 941 and 731 patents, Apple argues that “[its] experimental use does not give

rise to infringement liability under the ‘499 patent.” RIB at 120. As determined above, ALC’s

infringement theory does not implicate any Apple experimental activity.                   Accordingly,

experimental use has not been shown to preclude any finding of infringement in this investigation.

VII.    DOMESTIC INDUSTRY - ECONOMIC PRONG

        In a patent-based complaint, a violation of Section 337 can be found “only if an industry

in the United States, relating to the articles protected by the patent ... concerned, exists or is in the

process of being established.” 19 U.S.C. § 1337(a)(2). Under Commission precedent, this

“domestic industry requirement” of Section 337 consists of an economic prong and a technical

prong. Stringed Instruments, Inv. No. 337-TA-586, Comm’n Op. at 12-14. The complainant bears

the burden of establishing that the domestic industry requirement is satisfied. See Certain Set-Top

Boxes and Components Thereof, Inv. No. 337-TA-454, Initial Determination at 294 (June 21,

2002) (not reviewed in relevant part).

        The economic prong of the domestic industry requirement is defined in subsection (a)(3)

of Section 337 as follows:

        (3) For purposes of paragraph (2), an industry in the United States shall be
        considered to exist if there is in the United States, with respect to the articles
        protected by the patent, copyright, trademark or mask work concerned --

        (A) Significant investment in plant and equipment;

        (B) Significant employment of labor or capital; or

        (C) Substantial investment in its exploitation, including engineering, research and
        development, or licensing.

19 U.S.C. § 1337(a)(3). The economic prong of the domestic industry requirement is satisfied by

meeting the criteria of any one of the three factors listed above. Importantly, the Commission has




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clarified that investments in plant and equipment, labor, and capital that may fairly be considered

investments in research and development are eligible for consideration under subsections (A) and

(B), in addition to subsection (C). See Certain Solid State Storage Drives, Stacked Electronics

Components, and Products Containing Same, Inv. No. 337-TA-1097, Comm’n Op. at 14 (June 29,

2018) (“Solid State Storage”).

       In this investigation, ALC contends economic prong is met under each of subsections (A),

(B), and (C) for each Asserted Patent through its investments in “design, development, regulatory,

and customer support work.” CIB at 146. More specifically, ALC contends a domestic industry

“exists” through the KBS,                    products; and there is also a domestic industry “in the

process of being established” through the                  products. Id. at 149, 164.

       Overall, ALC has shown a domestic industry “exists” for the 941, 731, and 499 patents

under subsection (C). ALC has not shown a domestic industry “exists” under subsections (A) or

(B). ALC has not shown a domestic industry is “in the process of being established” for any of

subsections (A), (B), or (C).

       A.       Domestic Industry in Existence

                1.      Qualifying Expenditures

       As noted above, ALC claims economic prong is met through subsections (A), (B), and (C).

The appropriate amount of investment to be considered under each subsection is discussed below.

                        a.      Subsection (A) – Plant and Equipment

       Considering subsection (A), “significant investment in plant and equipment,” ALC first

presents company-wide investment amounts from April 2016 to the filing of the complaint, April

2021. CIB at 153-154. ALC reports:                      in rent for a Mountain View, CA facility;

            in additional repairs, utilities, and maintenance;             in equipment expenses,

including software, hardware, and office equipment (and, in addition “regulatory, and customer


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support teams”); and            in tooling expenses from “U.S.-based contractors related to KBS.”

Id. ALC argues its “engineers, regulatory specialists, and customer support specialists work on

the DI Products” at this facility. See id. at 153.

       To arrive at investment figures specifically directed to the DI Products, as opposed to

others, ALC identified all employees at the facility and the amount of time each worked on the DI

Products. See CIB at 154-156. This information is sourced from the knowledge and testimony of

ALC’s founder, Dr. Albert, ALC’s current Chief Technology Officer, Mr. Somayajula, ALC’s

then regulatory manager, Mr. Raghavan, and ALC’s Director of Customer Care, Mr. White. See

id. To support the reliability of these estimates, ALC contends:

       All of these estimates were prepared carefully and diligently. Tr. (Albert) at 96:9-
       97:24; Tr. (Somayajula) at 222:25-226:8; Tr. (Raghavan) at 574:3-576:22. Mr.
       Somayajula is AliveCor’s current Chief Technology Officer, and he oversees
       AliveCor’s current development work. Tr. (Somayajula) at 193:6-18. Dr. Albert is
       a company founder, who is familiar with all of AliveCor’s development projects
       going back to 2016. JX-223C (Albert) at 237:7-238:21. Mr. Raghavan is
       AliveCor’s former Vice President of Regulatory and current regulatory consultant,
       and he personally oversaw or consulted on the applications at issue in his allocation.
       Tr. (Raghavan) at 571:22-574:11. . . . Even Apple’s expert agreed that Mr.
       Somayajula and Dr. Albert are knowledgeable about AliveCor’s R&D activities
       and that Mr. Raghavan is knowledgeable about AliveCor’s regulatory activities. Tr.
       (Vander Veen) at 1035:12-20.

Id. at 154-155. For customer support, ALC asserts it “maintains data showing the products to

which each incoming customer support ticket relates.” Id. at 155 (citing CPX-053C). Thus,

uniquely for this activity, ALC relies on “how many tickets within a time frame it had for that

specific thing, based on our coding.” Id. (citing JX-0227C (White) at 141:6-12).

       The end result, as calculated by ALC’s expert, Dr. Akemann, is “a relative headcount of

AliveCor employees who work on DI Products at AliveCor’s California Headquarters each year.”

CIB at 155 (citing Hr’g Tr. (Akemann) at 647:13-657:14). The tabulated results are below:




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undisputed or unrebutted evidence of continuing, qualify[ing] investments in the KBS.”). ALC

states in summary, “[t]he KBS is a DI Product. The KBS did not exist before AliveCor developed

it. And that last point alone establishes nexus.” Id. at 75 (citing Certain Non-Volatile Memory

Devices and Products Containing the Same, Inv. No. 337-TA-1046, Comm’n Op., 2018 WL

6012622, at *25 n.11 (Oct. 26, 2018) (“Non-Volatile Memory”); Certain Electronic Digital Media

Devices and Components Thereof, Inv. No. 337-TA-796, Initial Determination at 454 (Sept. 14,

2012)).

          ALC also takes issue with ignoring, or setting aside, investments in the

when determining if an industry “exists.” ALC repeats its view that “the                         are

articles for which the technical prong of domestic industry requirement can be evaluated.” CRB

at 82 n. 19. It matters not, according to ALC, that the products are not ready for commercialization.

Id. (citing Non-Volatile Memory, Inv. No. 337-TA-1046, Comm’n Op., 2018 WL 6012622, at

*20). All that matters, allegedly, is that the articles “exist”:

          The physical embodiments of the                     that were produced during this
          investigation qualify as protected articles under the Commission’s reasoning in
          Non-Volatile Memory Devices. Because the articles exist, and because AliveCor is
          relying on investments that had been made at the time the complaint was filed,
          Apple’s various arguments about when prototypes first existed and which
          prototypes are currently be worked on are irrelevant. See id. at *27 (“Simply
          because Macronix has not yet arrived at the final stages of commercializing the
          [article] does not mean that Macronix does not have a domestic industry in the
          process of being established with respect to [an article] protected by the asserted
          patents.”).

Id. (emphasis added).      Similar to the discussion of past investment, ALC contends, “these

investments relate to technology that was implemented in the KBS, which existed at the time the

complaint was filed.” Id. at 83; see id. (“But as every AliveCor fact witness explained, the work

on            was continuing development work on the same technologies implemented in the




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KBS.”). ALC summarizes, “[t]he work does not erase the practicing article that indisputably

existed at the time of the complaint.” Id.

       Additionally, ALC disputes that its allocations are unreasonable to the extent Apple has

made that argument for subsection (A). ALC asserts, “time estimates from knowledgeable

individuals” has been successfully relied upon in prior investigations” (CRB at 85 (citing Certain

Light-Emitting Diode Products, Systems, and Components Thereof (III), Inv. No. 337-TA-1168,

ID at 121-22 (June 26, 2020))) and also that a precise accounting is not necessary as “most people

do not document their daily affairs in contemplation of possible litigation” (id. (citing Stringed

Instruments, Inv. No. 337-TA-586, Comm’n Op. at 26)). ALC then addresses those specific

indicia of allocation unreliability proffered by Apple. See generally id. at 85-89.

       The Staff agrees with ALC. SIB at 81-82; SRB at 39-42. “With respect to allocations,”

the Staff explains, “AliveCor’s allocations appear reasonable . . . and it is not clear that there is a

better approach that AliveCor could have taken.” SIB at 81. The Staff views Apple’s “primary

criticism” as that the                 products are not “presently on the market” (SRB at 38) and,

for the same reasons as ALC, argues commercialization is not a necessity (id. (citing, inter alia,

Non-Volatile Memory, Inv. No. 337-TA-1046, Comm’n Op. at 41-42)). More specifically, the

Staff argues the                 hardware status at the time of the complaint was “sufficient”:

       As explained above, the designs of the                      products were sufficient
       before the filing of the Complaint to determine that those designs would implement
       the next generation SmartRhythm software based on what was originally included
       as part of the KardiaBand System that worked with the Apple watch. At the time
       of the filing of the Complaint, implementation of the design had begun but working
       prototypes in the intended form factor were not yet developed. With respect to the
       technical prong, the Staff relies on the Complainant’s expert’s analysis of products
       in which the hardware aspects were improved in the course of the investigation.
       While not all design work had been completed, sufficient design work had been
       completed such that the Commission can determine that those designs practice the
       claimed invention, i.e., that the hardware would include PPG and ECG sensors, and
       a processor to run SmartRhythm. With respect to the economic prong, the Staff



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       relies on Complainant’s expert’s analysis of investments made relating to these
       products up to the time the Complaint was filed. Accordingly, references to
       investments made in 2021 herein are to investments made in 2021 through the date
       of the filing of the Complaint.

Id. at 39 n.3. Thus, according to the Staff, “[a]s there is substantial overlap in the investments of

KBS,                    , all of AliveCor’s claimed investments should be considered as a whole,”

and that subsection (A) figure is               Id.

       ALC’s investment figures for subsection (A), plant and equipment, are not reliable.

Despite its assertion that technology, efforts, and investment are shared between the KBS on the

one hand, and                  on the other, the fact remains that the                  have not been

shown to practice any of the asserted patents at the time of the complaint. Thus, any investment

directed to these articles under subsection (A) must be allocated out, just as with any other non-

practicing products. Stud Finders, Inv. No. 337-TA-1221, Comm’n Op. at 48, 50-51 (“[T]his is

not the first time that [the Commission] has explained that aggregating investments in articles that

are protected by a particular patent with investments in articles that are not protected by that patent

may preclude meaningful consideration of those investments under the statutory framework

required by section 337.”) (emphasis in original); Certain Earpiece Devices and Components

Thereof, Inv. No. 337-TA-1121, Comm’n Op. at 17-18 (Nov. 8, 2019); Certain High-Density

Fiber Optic Equipment and Components Thereof, Inv. No. 337-TA-1194, Comm’n Op. at 61 (Aug.

23, 2021).

       The Staff’s rationale for keeping                 in the calculus is far from persuasive. They

suggest technical prong may be somehow established by product design materials, without actual

practice, so long as there has been “sufficient” work completed. SRB at 39 n.3 (“While not all

design work had been completed, sufficient design work had been completed such that the

Commission can determine that those designs practice the claimed invention.”). There is no



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precedent for this, and it would defeat the purpose of the statute, which is to ensure “an industry . . .

relating to the articles protected by the patent . . . exists.” 19 U.S.C. § 1337 (emphasis added).

         Turning back to ALC’s subsection (A) investments, they are the combination of KBS,

                  activity. See CIB at 154 (citing Hr’g Tr. (Albert) at 96:9-97:24; Hr’g Tr.

(Somayajula) at 222:25-226:8); Hr’g Tr. (Akemann) at 644:2-657:14; CDX-0001C.5; CDX-

0005C.48. Yet ALC does not provide any means to alternatively subtract out activities spent on

               . See CIB at 154; RX-0484C at 112-114, 138-140; CDX-0001C.5. This is a problem

according to Commission precedent and may preclude further analysis. With that said, Apple’s

expert, Dr. Vander Veen, does make an attempt at isolating KBS plant and equipment (RIB at 140

(citing RX-0314C; RX-0323C)) but he acknowledges that the largest year, 2018, cannot reliably

be parsed between KBS and             (Hr’g Tr. (Vander Veen) at 997:11-18). Even then, there is

strong evidence that some 2017 investment should be given to            , which Dr. Vander Veen does

not do (see CIB at 19

                             ; CX-0250C.2 (

     )), and evidence that some 2018 must be given to            , which he also does not do. As Dr.

Albert explains, “I went to one engineer, Miguel Kirsch, who, as you see, came in 2018 and worked

on the                            at that time . . . [and] Miguel said, where I said he was

percent committed, he said I was          percent committed to                       during those time

periods. He said I definitely underestimated him.” Hr’g Tr. (Albert) at 97:6-20. Thus, it is

reasonable to eliminate the years 2018-2021 from ALC’s plant and equipment investments as

having an unreliable connection to KBS, leaving only 2016-2017.

         The testimony of Dr. Albert raises a separate hurdle that ALC has not overcome. Apple

contends the alleged subsection (A) investment (and subsections (B) and (C), as well) is ultimately




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Dr. Albert or, if truly taken from memory, an odd deviation from the expected rounding (i.e., it is

not reasonable to recall, from five years ago, a person’s quarter of a percentage point of time).

        It is also not clear how seriously Dr. Albert took the estimation process, because he was

seemingly surprised that his estimations would be used for purposes of this investigation’s record.

Hr’g Tr. at 96:20-97:2 (“I just came up with what I thought, because I know what these people

were working on . . .. And I guess it's become part of the record.”). Additionally, 2018 is listed

as the most intense for purposes of KBS and               activity. Yet, it appears very little was

accomplished for                  between this time and 2020. Compare CX-0250C

project concept document) with CX-0252C                    concept document, with similar level of

detail). And in a discussion of 2019, Dr. Albert could not recall when the “pivot” from KBS to

      occurred as between 2018 or 2019—even though this is exactly the knowledge needed to

provide reliable time estimations. Hr’g Tr. (Albert) at 137:11-140:16.

        There was also no confirmation, analysis, or any kind of evaluation of ALC personnel

activities by ALC’s expert, Dr. Akemann, for any of these times. Hr’g Tr. (Akemann) at 720:8-

21 (“Q. And you provided no opinion with respect to nexus, correct? A. That’s correct. I assumed

AliveCor will be able to demonstrate that here, but I view that largely as a technical issue and I’m

not offering any opinions on it. I’m making an assumption that that part of the requirement will

be met.”). And ALC may have also included the contributions of executives towards the DI

Products without also figuring them into total personnel, although it is admittedly unclear if this

makes a material difference. See RIB at 135. Taken altogether, there is simply more reason to

doubt than to trust this critical allocation.

        Accordingly, ALC has not presented sufficiently reliable subsection (A) investment

amounts.




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         Nevertheless, one of Apple’s primary arguments should be addressed. Apple contends no

investment behind the KBS should be counted at all due to its being abandoned in 2019, with only

minimal customer support at the time of the complaint. RIB at 130. Apple highlights ALC’s

modest         plant and equipment investment in 2021 as an example of this de minimis activity.

See id. (citing RX-0314C). Apple also cites Certain Television Sets, Television Receivers,

Television Tuners, & Components Thereof, Inv. No. 337-TA-910, 2015 WL 6755093, at *38-46

(Oct. 30, 2015) (“Television Sets”), where the complainant’s business surrounding the article no

longer existed and domestic industry was denied. Apple reasons, “[t]hus, any domestic industry

with respect to KBS ceased to exist after KBS was discontinued.” RIB at 131.

         Apple is incorrect. The Federal Circuit confirmed the standard in Television Sets, which

is “‘past expenditures may be considered to support a domestic industry claim so long as those

investments pertain to the complainant's industry with respect to the articles protected by the

asserted [intellectual property] rights and the complainant is continuing to make qualifying

investments at the time the complaint is filed.’” Hyosung TNS Inc. v. Int’l Trade Comm’n, 926

F.3d 1353, 1361-2 (Fed. Cir. 2019) (citing Television Sets, Inv. No. 337-TA-910, 2015 WL

6755093, at *36). There, the complainant had five-to-ten year old research and development

investment it wanted to count based on a connection to present-day field service and repair costs.

Id. The Federal Circuit agreed with the Commission that: (1) this was possible; and (2) appropriate

given the sufficient nexus between the old research and new service activities. Id.

         The situation here is very similar. For the year 2020, the last full calendar preceding the

filing of the complaint, Apple acknowledges             in KBS customer service labor and

in associated plant and equipment. RIB at 139-140. In the year prior, it was higher still. That the

first four months of 2021 saw                                is not all that surprising or dispositive.




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And there is substantial evidence that some amount of R&D was also occurring at the time of the

complaint, including research into, for example, ECG sensors and algorithms (KardiaAI) that has

an obvious nexus to the ECG limitations of the asserted claims. CRB at 83 (citing Hr’g Tr.

(Raghavan) at 567:10-569:12; Hr’g Tr. (Somayajula) at 198:13-19, 202:3-21; JX-0228C at 45:12-

46:3); see RIB at 142-143 (denying R&D had nexus to the KBS product, not to asserted patent

claims); JX-0096C.5-6; but see RRB at 75-76 (complaining that KardiaAI had little discovery and

is not mentioned by name and thus cannot be “a key piece of patented technology” to supply

nexus). Altogether, this is sufficient activity in April 2021 to justify looking back to 2016 in

support of an industry that “exists” even though ALC’s exact figures are not particularly reliable.

As ALC phrases it, “[t]here is no question that, at the time the complaint was filed, AliveCor was

engaged in ‘some type of current activities related to the domestic industry.’” CRB at 81; Hyosung,

926 F.3d at 1361-2.

                      b.      Subsection (B) – Labor and Capital

       Considering subsection (B), “significant employment of labor or capital,” ALC contends

it “invests in labor and capital in the United States to develop, support, and obtain regulatory

clearances related to the DI Products.” CIB at 158. ALC first tallies its own company-wide

investments in software, hardware, regulatory, and customer support teams from 2016 to 2021, as

in the subsection (A) analysis, above. Id. (citing Hr’g Tr. (Akemann) at 657:15-660:2). To this

amount, it adds costs related to “domestic contractors who performed development work, . . .

prepared FDA applications, . . .and performed customer support work . . . related to the DI

Products.” Id. at 158-159. Then ALC applies the same per-employee time allocation used in

conjunction with subsection (A) against these company-wide expenditures to arrive at the

following labor amounts in support of the DI Products:




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submission was filed, and KardiaAI is used in the KBS. CIB at 147; RRB at 74; Hr’g Tr.

(Raghavan) at 575:19-23. Yet it is unclear what that portion should be. Mr. Raghavan estimated

                                                                           which must be excluded.

So to be conservative, 2018 is excluded entirely. And while Apple suggests that 2016-2017 is not

reliable because “AliveCor was also working on regulatory submissions for

                                                      ” (RIB at 136), the cited testimony only refers

generally to “regulatory activities” (JX-0225C (Raghavan) at 92:12-23).            Mr. Raghavan’s

testimony likely referred to the group’s quality function (                                    ) and

not FDA submission function. Hr’g Tr. (Raghavan) at 573:16-22 (two functions, regulatory and

quality), 575:1-3 (                                                                            ); see

CRB at 86. ALC’s figures, and allocation percentages, of 2016-2017 are otherwise reliable.

       In reply, ALC contends the full set of 2016-2021 is appropriate because “[Apple] never

disputes—or even mentions—

                                                                       CRB at 86 (citing Hr’g Tr.

(Raghavan) at 568:19-569:12). Yet it is undisputed the KBS production was cancelled in 2019,

such that this FDA submission cannot possibly be in support of it as a product.

       As for the final row, customer support, there is no dispute that the cancellation of the KBS

in 2019 does not affect these amounts, because previous purchasers continued to have service

issues. And, since                  have not been released, no amounts tied to these two products

need be removed. Apple continues to contend the investment figures are overstated and unreliable,

however. RIB at 137. Specifically, Apple argues the

                                                                                     and should not

be credited to KBS. Id. (citing JX-0227C (White) at 148:24-149:11, 150:3-6, 151:9-12, 148:24-




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149:11; Hr’g Tr. (Vander Veen) at 1001:8-22). Apple also complains that very few of the tickets

appear to concern SmartRhythm, which is a necessary feature to practice the claims, and suggests

ALC’s customer service contractor,       , must be considered differently than ALC’s internal team.

See id. at 137-138.

       Apple is partially persuasive. Its expert, Dr. Vander Veen, does more to explain why the

hardware unknown tickets should not be counted than ALC’s expert, Dr. Akemann, explains why

they should. Hr’g Tr. (Vander Veen) at 1000:18-1001:22 (“the hardware unknown tickets do not

appear to tie to the KardiaBand specifically”); Hr’g Tr. (Akemann) at 652:21-25 (“in some cases

they don’t know the product type and they record that too”).          So they are removed from

consideration, but as ALC notes, this makes little difference. CRB at 87 (removal changes

allocation from               ). Apple’s other points are not accepted. It is not clear why

contractor costs require an allocation distinct from the one used for ALC’s internal personnel; once

KBS is shown to practice a claim of an asserted patent (above), customer support activities related

to any part of that article can be counted—not just those associated with SmartRhythm. The

following customer support costs are therefore included in ALC’s subsection (B) calculus:




       Accordingly, the total amounts to be considered for significance, for an industry that

“exists” under subsection (B), are as follows, with 2021 removed because data for just Q1 (up to

the filing of the complaint) does not appear to be available, and with allocation percentages

involving “Unknown Hardware” removed:




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CIB at 163 (citing, inter alia, Hr’g Tr. (Akemann) at 659:25-660:18; CX-0918C; CX-0920C; CX-

0924C; CX-0925C). Dr. Akemann explains how these figures are simply the sums of previously

calculated subsection (A) and (B) values:

       This shows the allocated R&D expenses in each year. It shows the derivation of the
                      figure in the far right corner, which maps to the first slide of numbers
       that I put on the screen. So this shows the plant and equipment and labor expenses
       that just relate to the R&D group post-allocation, focusing in on a fraction of those
       expenses that I think are reasonably related to the three DI products at issue in this
       investigation.

Hr’g Tr. (Akemann) at 660:10-18.

       In opposition, and on subsection (C) specifically, Apple argues all 2019-2021 figures must

be eliminated because of testimony from Dr. Albert that “there was no investment in KBS after

2018.” RIB at 141 (citing JX-0223 (Albert) at 249:16-20, 254:15-18, 255:21-24), 142-143. Apple

also argues that ALC has failed to show sufficient nexus between the alleged investments and the

asserted patents. Id. at 142 (citing Certain Integrated Circuit Chips and Products Containing

Same, Inv. No. 337-TA-859, Comm’n Op., 2014 WL 12796437, at *22 (Aug. 22, 2014)). Apple

highlights Dr. Akemann’s admission that he has no opinion on the matter, and simply assumed

nexus existed. Id. (citing Hr’g Tr. (Akemann) at 720:15-21).

       ALC has not shown that a majority of its alleged investments for subsection (C) are

sufficiently reliable. Unlike subsections (A) and (B), where a connection is made between an

alleged investment and a patent-practicing product, a subsection (C) analysis requires a connection

between the R&D investment and the asserted patents (i.e., nexus). See Electronic Candles, Inv.

No. 337-TA-1195, Comm’n Op. at 15-17 (“On remand, Complainants must show a nexus between

the investments and the patented features of its candles specifically if they seek to show a domestic

industry under subsection 337(a)(3)(C).”)). The record certainly evidences a qualitative effort on

the part of ALC to refine and improve features like SmartRhythm and KardiaAI—which have a



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               2.      “Significant” or “Substantial”

       The next step in the evaluation of domestic industry is to determine if the investment

amounts identified above are “significant,” as in subsections (A) and (B), or “substantial,” as in

subsection (C). The most recent precedential decision by the Court of Appeals for the Federal

Circuit addressing this determination is Lelo, which restated law applicable to a number of issues

surrounding the economic prong of domestic industry. See 786 F.3d at 883-85. In particular, the

Federal Circuit held that the statutory terms “‘significant’ and ‘substantial’ refer to an increase in

quantity, or to a benchmark in numbers,” and “[a]n ‘investment in plant and equipment’ therefore

is characterized quantitatively, i.e., by the amount of money invested in the plant and equipment.”

Lelo, 786 F.3d at 883. Continuing, the Federal Circuit held “[a]ll of the foregoing requires a

quantitative analysis in order to determine whether there is a ‘significant’ increase or attribution

by virtue of the claimant’s asserted commercial activity in the United States.” Id. In short,

“[q]ualitative factors cannot compensate for quantitative data that indicate insignificant investment

and employment.” Id. at 885. The Commission has since made clear that some sort of comparative

analysis must be made before significant or substantial can be found. See, e.g., Gas Spring Nailers,

Inv. No. 337-TA-1082, Notice of Comm’n Determination at 3 (Dec. 12, 2019); Certain

Carburetors and Products Containing Such Carburetors, Inv. No. 337-TA-1123, Comm’n Op. at

17-19 (Oct. 28, 2019) (“Carburetors”).

       As determined above, ALC has not presented sufficiently reliable figures for subsection

(A) such that no determination need be made on significance. Stud Finders, Inv. No. 337-TA-

1221, Comm’n Op. at 48, 50-51. The amounts established for subsections (B) and (C) above,

however, are considered.




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                      a.      Subsection (B) – Labor and Capital

       ALC argues its labor and capital expenditures in “a hardware development team, software

development team, AI team, regulatory team, and customer support team” are qualitatively and

quantitatively significant. CIB at 159-160. ALC presents its                     figure from 2016 to

2021 as “approximately         of the total AliveCor labor and capital investments from 2016 to

2020” and refers to the testimony of Dr. Akemann to explain why this is “a significant percentage.”

Id. at 160 (citing, inter alia, Hr’g Tr. (Akemann) at 663:7-664:5). Alternatively, ALC argues for

significance based on sales of KBS which “[f]rom 2018 to 2019 . . . accounted for                   of

AliveCor’s hardware revenues and            of AliveCor’s total revenues” and as compared to

            in payments to           for development of the         . See id. at 160-161. With that

said, ALC disputes that foreign development/manufacturing costs even need to be considered since

“AliveCor’s operations do not include manufacturing.” CIB at 148 (citing Certain Movable

Barrier Operator Systems and Components Thereof, Inv. No. 337-TA-1118, Comm’n Op. at 26

(Jan. 12, 2021) (“Movable Barriers”), 161 n.18 (same); see CRB at 90. And in reply, ALC points

to the year 2018 “which, according to charts in Apple’s brief, amounted to over        of AliveCor’s

overall labor and capital spend that year and over        of overall plant and equipment spend that

year.” CRB at 77.

       Using the same quantitative contexts provided by ALC, significance has not been shown

under subsection (B). ALC’s labor of                 of 2016-2021 is closer to       of its total labor

and capital investments from 2016 to 2020, instead of ALC’s calculated            . See CIB at 160.

This is not a significant percentage on its own. And even though there is bound to be some

additional domestic labor from currently uncounted ALC personnel due to Dr. Albert’s otherwise-

discounted estimation, it would not have made a material difference. ALC would have an internal

labor investment (hardware and software) of              from 2016-2017. CIB at 159. Adding this


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to ALC’s accepted labor of                creates             n, which is still only     of ALC’s total

labor and capital investment for 2016-2020.

        More importantly, ALC’s comparative approach is barely even relevant, because the fact

that “a complainant may have substantial sales of other products is not pertinent to this analysis.”

Carburetors, Inv. No. 337-TA-1123, Comm’n Op at 28. A large company with many products

may have a domestic industry based on one such product, even though it only accounts for a tiny

percentage of the company’s expenses; conversely, a small company with a single qualifying

product may not have a domestic industry if the bulk of its investments are overseas. And in both

cases, the most commonly accepted approach to proving a domestic industry is by substantiating

either “the value added to the article in the United States by the domestic activities,” or “the relative

domestic contribution to the protected article by comparing complainant’s product-related

domestic activities to its product-related foreign activities.” Id. at 19. Comparing DI labor and

capital expenses to total ALC labor and capital expenses addresses neither of these metrics.

        That the thousands of KBS products sold were likely manufactured overseas (see Hr’g Tr.

(Akemann) at 646:6-12) makes ALC’s comparison especially inapt, because it raises the

possibility that ALC was a “mere importer[].” Electronic Candles, Inv. No. 337-TA-1195,

Comm’n Op. at 8, 19; Movable Barriers, Inv. No. 337-TA-1118, Comm’n Op., Separate Views of

Chair Kearns Regarding Economic Prong Issues at 2 (Jan. 12, 2021). This is so despite ALC’s

argument that manufacturing costs need not be considered. CIB at 161 n.18. Its cited case,

Movable Barriers, merely held that a complainant’s economic prong case does not automatically

fail if the complainant fails to include foreign manufacturing costs:

        [W]hile foreign manufacturing costs may be relevant to proving that a
        complainant’s investments are significant or substantial, Nortek has provided no
        authority that compels a finding that domestic investments cannot satisfy the




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       domestic industry requirement in the absence of presenting a comparison of foreign
       manufacturing costs to a complainant’s U.S. investments.

Inv. No. 337-TA-1118, Comm’n Op. at 24. Yet the Commission also made clear that when

manufacturing is entirely overseas (as with KBS) foreign investment is certainly relevant. Id. at

24, 26 n.10 (“This is not to say that foreign manufacturing data is irrelevant. Such evidence may

be useful in evaluating the significance of a complainant’s domestic activities where, [[ ]], the DI

products are manufactured primarily (or exclusively) overseas.”). In view of the payments

                                              , the foreign manufacturing expenses for KBS may

have been in                        . See CIB at 161; JPX-0012C. Equally relevant are any foreign

labor expenditures for development of the product, which in this case have not been called out

clearly. See, e.g., CPX-0048C (

                    )); CX-0925 (                                                                    ).

       On the whole, then, it is fair to infer that foreign labor investment, if proven, would weigh

against a finding of significance. ALC’s remaining quantitative context, the percentage of ALC

total revenue provided by KBS, is not material because it does not involve investment at all, and

is for a limited range of years. See CIB at 160 (highlighting that in 2018-2019, KBS supplied

“      of AliveCor’s hardware revenues and            of AliveCor’s total revenues.”).

       Accordingly, it has not been shown that ALC’s investment in domestic labor in support of

the KBS (and, therefore, the Asserted Patents) is “significant.”

                       b.     Subsection (C) – Licensing and Research and Development

       For the related question of a “substantial” domestic industry through its R&D activities,

ALC contends its 2016 – Q1 2021 total is closer to                  , and that this is substantial “for

many of the same reasons the investments are significant under subprongs (A) and (B).” CIB at

164. ALC also offers that the amount is “approximately             of total AliveCor R&D expenses



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hardware teams for 2016-19 totaled                        . See CX-0937C. As for 2020 - Q1 2021,

although “international” headcount jumped dramatically, domestic R&D headcount also

increased, and in 2020 remained larger even than total international headcount (

                              ). See id. And contractor costs for 2020 – Q1 2021 were negligible.

See CX-0925C. Moreover, while ALC’s record of R&D contractor payments do suggest a material

amount of foreign payments towards the DI Products in 2016-2020 that have otherwise gone

unaddressed in ALC’s briefing (see CPX-0048C (Tabs “2016 PCH,” “2017 QB, “NS 2018-2020

(see payments to PCH International)); CX-0935C (note: “Excludes expenses with Vendor Name

of PCH International”), they only add up to                                                        ).

If this is the true extent of foreign R&D payments over this time and dedicated to the DI Products,

then it only further supports the substantiality of the            domestic spend.

       On balance, therefore, ALC has demonstrated economic prong under subsection (C) by a

preponderance of the evidence. Apple’s argument in opposition largely rests on accepting the

near-zero research and development costs in the KBS after 2018 as dispositive, as opposed to

addressing whether or not the ALC’s quantitative evidence is “substantial.” See RIB at 141-143;

Hr’g Tr. (Vander Veen) at 1012:2-22. Because ALC likely had a substantial domestic headcount

relative to its foreign R&D labor expenses, Apple’s argument is not persuasive.

       The overall analysis here is troubling, to be sure. It is no secret that a domestic-to-foreign

comparison is at least the preferred method of proving economic prong. See Carburetors, Inv. No.

337-TA-1123, Comm’n Op at 17-19. The parties were even warned at the end of the evidentiary

hearing that “you need to compare foreign and domestic investments.” Hr’g Tr. at 1312:17-18.

For whatever reason, however, ALC has seemingly taken the position that no such comparison is

needed. Fortunately for ALC, Dr. Akemann assembled a sufficiently detailed and pertinent




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headcount comparison showing it more likely than not that DI-related R&D labor expenses were

substantially domestic.

        Accordingly, ALC has met the economic prong under subsection (C) for a domestic

industry that “exists.”

        B.     Domestic Industry in the Process of Being Established

        ALC contends, “if AliveCor does not have an ongoing domestic industry, its investments

related to                     demonstrate an industry in the process of being established.” CIB

at 164. ALC continues:

       A domestic industry is in the process of being established when the complainant
       “demonstrate[s] that [it] is taking the necessary tangible steps to establish an
       industry” and that there is a “significant likelihood that the industry requirement
       will be satisfied in the future.” Certain Stringed Musical Instruments, Inv. No. 337-
       TA-586, Comm’n Op., at 13 (May 16, 2008) (quotation marks omitted). The
       complainant need not establish that its practicing article is a product that has been
       or will be commercialized. See Certain Non-Volatile Memory Devices, Inv. No.
       337-TA-1046, Comm’n Op., at 40-44 (Oct. 26, 2018). Past research and
       development investments combined with evidence of “further planned work to be
       undertaken in order to bring [an] industry to fruition within the foreseeable future”
       is sufficient. Id. at 44.

Id. at 164-165. ALC concentrates on investments from 2018-2021 to demonstrate the work that

has already been done for the domestic industry in the process of being established. Id. at 165,

167-169 (broken out per subsection (A), (B), (C)). ALC adds that the 2018-2021 amounts are

“significant” or “substantial” for generally the same reasons as the previous 2016-2021 amounts.

See id. CIB at 167-169.

       Referring back to the standard, ALC points to the “tangible steps” it presently takes to

achieve prototype                       that run the KardiaApp (with KardiaAI), and those

arrangements it has made for future FDA submissions. See CIB at 165-166; CRB at 91 (“all of

the components on the                                                            .”), 93. As for a

likelihood of success, ALC points to its timelines for moving from


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                                                             , among other documentary evidence.

See CIB at 166.

         In response to Apple, ALC disputes that it has provided no “‘financial forecast, sales

projection, budget, planned investment, marketing plan, or manufacturing agreement for the

         ’” and points to the press release frequently asked questions (PRFAQ) document it created,

a development plan, “a plan specific to                                          ” and a purchase

order for EVT and PVT work                     CRB at 92 (citing, inter alia, JX-0095C; JX-0090C;

JX-0096C; CX-0485C). ALC rejects any contention that its materials amount to one or two CAD

drawings, as the Commission has found insufficient in the past. Id. at 93 (citing Thermoplastic

Motors, 2019 WL 9596564, at *8). ALC concludes that even if the                       projects take

years to commercialize, those years will be filled with relevant, recognizable investment. See id.

at 94.

         ALC has not shown a domestic industry is “in the process of being established.” Much

like its approach to a domestic industry that “exists,” ALC pins its case on investments in support

of certain patent-practicing products—in this case, the               —as opposed to investments

in research and development work with direct nexus to the Asserted Patents—e.g., KardiaAI or

SmartRhythm. This is problematic, because the evidence as of the complaint filing (April 20,

2021) does not convincingly demonstrate “a significant likelihood that the industry requirement

will be satisfied in the future” for either product. Thermoplastic Motors, Inv. No. 337-TA-1073,

Comm’n Op. at 11 (citing Stringed Instruments, Inv. No. 337-TA-1073, Comm’n Op. at 13).

         This can be seen by examining ALC’s contentions. For subsection (A) it refers to an

amount of             spent from 2018 up to the complaint and argues, “it is reasonable to expect

plant and equipment investments in the                          to continue in the future given the




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concrete plans to continue product development and regulatory submission work.” CIB at 167.

Even if this number were reliable, which it is not per Dr. Albert’s estimations, it is not clear that

the amount would constitute a significant value-add to the                  products. Both of these

products, if commercialized, are expected to be manufactured overseas. Hr’g Tr. (Akemann) at

686:22-4 (     ), 700:2-12 (     ); JX-0095C.1. If, for example, $4.5 million is spent in facilities

and equipment to produce these products over three years, then ALC’s domestic contribution

comes to approximately          This value-add is of questionable significance.

       Even then, it is not clear the efforts of ALC personnel (leading to time estimations, which

provide facility and equipment values) will continue as alleged. ALC’s plan for       , in particular,



                                        —the equivalent of a license. See JX-0095C (PRFAQ

document). Such activities shortly before filing the complaint (JX-0008) certainly constitute a

“necessary tangible” step, but it cannot be said there is a “significant likelihood” that economic

prong will be satisfied given ALC’s current plans.

       ALC witness testimony, contractor invoices, and project summary reports overwhelmingly

show that “necessary tangible” steps to developing the          were taken across 2018 - Q1 2021.

See, e.g., Hr’g Tr. (Somayajula) at 2015:9-206:7; Hr’g Tr. (Raghavan) at 568:16-570:15; CPX-

0048C (Tabs “2017 QB,” “NS 2018-2020”); JX-0152C; JX-096C. Yet, at the time of the

complaint, the product did not even                          . Thus, a substantial, further, amount

of research and development is needed before          can be entered into a study, qualified by the

FDA, or marketed, among other things. See RIB at 147 (citing Hr’g Tr. (Albert) at 185:7-23,

158:8-15; Hr’g Tr. (Somayajula) at 252:18-22), 149.




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These documents would have been the exact “concrete plans” ALC alleges exist. CIB at 167. The

more reasonable inference, then, is that        is in more of an exploration phase as opposed to a

planned commitment. See JX-0152C

defining “product definition, feature expectations, and product risks”). Thus, ALC has not

shown—at the time of the complaint—a “significant likelihood” economic prong will be met

through      .

       Accordingly, it has not been shown that a domestic industry under subsection (A) is “in the

process of being established” through the

       The same determination is warranted for subsection (B). Here, ALC refers to

in labor that it spent from 2018 – Q1 2021, and reasons, again, that it “expect[s] these investments

to continue in the future given the concrete plans to continue product development and regulatory

submission work.” CIB at 168. Not only is this amount not reliable as built upon Dr. Albert’s

time estimations, but it does not overcome the overall plan for



       Similarly, for subsection (C), ALC points to                it spent on R&D from 2018 – Q1

2021. CIB at 169. Although not stated, it is assumed ALC contends a similar amount can be

expected to be further invested as in subsections (A) and (B). Again, this number is not particularly

reliable, and in any event it is not clear that the amount previously spent will be spent again going

forward, within the United States by ALC, or overseas by ALC or by a contractor.

       Accordingly, it has not been shown that a domestic industry under subsections (A), (B), or

(C) is “in the process of being established” through the                   .

VIII. CONCLUSIONS OF LAW

       1.        ALC has proven infringement of claims 12, 13, 19, 20, 21, 22, and 23 of U.S. Patent
                 No. 10,683,941 by the Accused Products.



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2.      ALC has proven infringement of claims 1, 3, 5, 8, 9, 10, 12, 15, and 16 of U.S.
        Patent No. 10,595,731 by the Accused Products.

3.      ALC has not proven infringement of claims 16 or 17 of U.S. Patent No. 9,572,499
        by the Accused Products.

4.      Apple has not proven any claim of U.S. Patent No. 10,683,941 invalid.

5.      Apple has proven claims 1, 8, 12, and 16 of U.S. Patent No. 10,595,731 are invalid
        as obvious under 35 U.S.C. § 103, and otherwise has not proven any claim invalid.

6.      Apple has proven claim 17 of U.S. Patent No. 9,572,499 is invalid for lack of
        patentable subject matter under 35 U.S.C. § 101, and otherwise has not proven any
        claim invalid.

7.      ALC has proven the existence of a domestic industry as required by 19 U.S.C. §
        1337(a)(2) for U.S. Patent Nos. 10,683,941, 10,595,731, and 9,572,499, in that it
        has proven that a domestic industry exists that practices at least one valid claim of
        each patent.

8.      There is a violation of section 337 with respect to U.S. Patent No. 10,683,941.

9.      There is a violation of section 337 with respect to U.S. Patent No. 10,595,731.

10.     There is no violation of section 337 with respect to U.S. Patent No. 9,572,499.




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IX.    RECOMMENDED DETERMINATION ON REMEDY AND BOND

       The Commission’s Rules provide that subsequent to an initial determination on the

question of violation of section 337 of the Tariff Act of 1930, as amended, 19 U.S.C. § 1337, the

administrative law judge shall issue a recommended determination concerning the appropriate

remedy in the event that the Commission finds a violation of section 337, and the amount of bond

to be posted by respondent during Presidential review of the Commission action under section

337(j). See 19 C.F.R. § 210.42(a)(1)(ii).

       The Commission has broad discretion in selecting the form, scope, and extent of the

remedy in a section 337 proceeding. Viscofan, S.A. v. Int’l Trade Comm’n, 787 F.2d 544, 548

(Fed. Cir. 1986). Under Section 337(d)(1), if the Commission determines as a result of an

investigation that there is a violation of section 337, the Commission is authorized to enter either

a limited or a general exclusion order. 19 U.S.C. § 1337(d)(1). A limited exclusion order instructs

the U.S. Customs and Border Protection (“CBP”) to exclude from entry all articles that are covered

by the patent at issue and that originate from a named respondent in the investigation. A general

exclusion order instructs the CBP to exclude from entry all articles that are covered by the patent

at issue, without regard to source. Certain Purple Protective Gloves, Inv. No. 337-TA-500,

Comm’n Op. at 5 (Dec. 22, 2004). Under section 337(f)(1), the Commission may issue a cease

and desist order in addition to, or instead of, an exclusion order. 19 U.S.C. § 1337(f)(1). The

Commission generally issues a cease and desist order directed to a domestic respondent when there

is a “commercially significant” amount of infringing, imported product in the United States that

could be sold, thereby undercutting the remedy provided by an exclusion order. See Certain

Crystalline Cefadroxil Monohydrate, Inv. No. 337-TA-293, USITC Pub. 2391, Comm’n Op. on

Remedy, the Public Interest and Bonding at 37-42 (June 1991); Certain Condensers, Parts Thereof




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and Prods. Containing Same, Including Air Conditioners for Automobiles, Inv. No. 337-TA-334

(Remand), Comm’n Op. at 26-28 (Sept. 10, 1997).

        Additionally, during the 60-day period of Presidential review under 19 U.S.C. § 1337(j),

“articles directed to be excluded from entry under subsection (d) . . . shall . . . be entitled to entry

under bond prescribed by the Secretary in an amount determined by the Commission to be

sufficient to protect the complainant from any injury.” See 19 U.S.C. § 1337(j)(3). “The

Commission typically sets the bond based on the price differential between the imported infringing

product and the domestic industry article or based on a reasonable royalty. However, where the

available pricing or royalty information is inadequate, the bond may be set at one hundred (100)

percent of the entered value of the infringing product.” Certain Industrial Automation Systems

and Components Thereof Including Control Systems, Controllers, Visualization Hardware,

Motion and Motor Control Systems, Networking Equipment, Safety Devices, and Power Supplies,

Inv. No. 337-TA-1074, Comm’n Op. at 13 (Apr. 23, 2019) (“Automation Systems”) (public

version) (citation omitted).

        A.      Limited Exclusion Order

        Should a violation be found, there is no dispute that a limited exclusion order (“LEO”)

should issue against Apple. See CIB at 171 (“cover[ing] all infringing products imported by or on

behalf of Apple or its agents”); see generally RIB at 167-169, 173-175; RRB at 95-98, 99-100;

SIB at 88. Apple argues the order should, however, include a standard certification provision (RIB

at 169) and a number of other modifications.

        First, Apple seeks a stay of any remedial order until two conditions are met:

        (1) the PTAB has issued its final written decision in the now-instituted IPRs Apple
        filed on the Asserted Patents, and (2) AliveCor submits evidence that it has a
        protectable domestic industry product that has been FDA cleared and has
        commercially launched in the U.S. so as to avoid harming consumers.



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RIB at 167-168, 173-175; RRB at 99-100. This request is denied. Apple’s cited case, Certain

Laparoscopic Surgical Staplers, Reload Cartridges, and Components Thereof, concerned an

issued final written decision, not the mere institution of an IPR as is the present situation. Inv. No.

337-TA-1167, Comm’n Op. at 64 (Dec. 20, 2021). And the proposed domestic industry/FDA

restriction goes well beyond a more typical reporting requirement and is otherwise vague. To the

extent it is justified by public interest considerations (RIB at 174-175 (“it is U.S. consumers who

will suffer . . .”)), those have not been delegated to this proceeding and are reserved for

Commission review. See 86 Fed. Reg. 28382 (May 26, 2021).

       Second, Apple seeks an exception for repair, replacement, and warranty, with mention of

additional public interest considerations. RIB at 168; RRB at 95-97; see RIB at 169-170. This too

is reserved for Commission review. See 86 Fed. Reg. 28382 (May 26, 2021).

       Third, Apple seeks an exemption “where the ECG app is either not used in or removed

from the accused products because such products would be noninfringing products.” RIB at 168.

Apple also proposes any use or purchase by persons under 22 be exempt because the ECG feature

is not meant for that group. Id. at 168-169. All of these requests are denied. Apple has not even

attempted to show why a product which has not been used—or used, but by persons under the age

of 22, or purchasers under 22—would not continue to infringe the asserted claims. Very likely,

they would. Even then, once-infringing products modified to avoid infringement are intended for

full fact gathering under section 337 modification proceedings. 19 C.F.R. § 210.76; Certain

Laparoscopic Surgical Staplers, Reload Cartridges, and Components Thereof, Inv. No. 337-TA-

1167, Comm’n Op. at 60 (Dec. 20, 2021).

       Fourth, Apple seeks a standard certification provision without opposition. RIB at 169; see

SIB at 92; see generally CIB; CRB. Certification provisions are known to “aid U.S. Customs and




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Border Protection (‘CBP’) in enforcing Commission orders but ‘do not mandate that CBP accept

certification as proof that the articles in question are not covered’ by the limited exclusion order.”

Certain Robotic Vacuum Cleaning Devices and Components Thereof Such as Spare Parts, Inv.

No. 337-TA-1057, Comm’n Op. at 55 (Feb. 1, 2019). As “it has been Commission practice for

the past several years to include certification provisions in its exclusion orders to aid CBP” (see

Certain Road Milling Machines and Components Thereof, Inv. No. 337-TA-1067, Comm’n Op.

at 15, 15 n. 5 (July 18, 2019) (citations omitted)), it is therefore recommended that in the event a

limited exclusion order issues, it should include the Commission’s standard certification provision.

       B.      Cease and Desist Order

       Should a violation be found, ALC argues a cease and desist order (“CDO”) should issue.

CIB at 172. ALC references a stipulation from Apple that it “‘will not dispute that it currently

maintains a commercially significant inventory of the Accused Apple Products in the United States

at the time hearing evidence is submitted in this Investigation.’” Id. at 173 (citing CX-0904C.3).

Per that stipulation, ALC reports “a domestic inventory of           units that cumulatively value at

over             ” and argues it is “commercially significant” as well as an underestimation. See

id. at 173. As with the LEO, ALC contends Apple’s requested modifications to the CDO are

inappropriate. See CRB at 94-95. The Staff agrees with ALC. SIB at 88; SRB at 89. Apple does

not contest the issuance of a CDO but urges its list of LEO modifications should apply. See RIB

at 167-170, 173-175; RRB at 95-98, 99-100.

       Complainants bear the burden on the issue of cease and desist orders. Certain Microfluidic

Devices, Inv. No. 337-TA-1068, Comm’n Op. at 23 (Jan. 10, 2020). Such orders “are generally

issued when, with respect to the imported infringing products, respondents maintain commercially

significant inventories in the United States or have significant domestic operations that could




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undercut the remedy provided by an exclusion order.” Id. at 22-23 (citations omitted).     Given

the stipulation referenced above, this inventory requirement is certainly met for Apple, and it is

my recommendation that a cease and desist order issue against this respondent. See CX-0904C.3.

       C.      Bond

       The Commission has held that “[t]he complainant bears the burden of establishing the need

for a bond” during the Presidential Review period. See Robotic Vacuums, Inv. No. 337-TA-1057,

Comm’n Op. at 68. The amount of the bond is, generally, set “to be sufficient to protect the

complainant from any injury.” 19 U.S.C. § 1337(e)(1), (j3).

       ALC argues a bond is necessary. CIB at 173. ALC refers to Apple internal documents

showing Apple believes ALC’s products are competitive with Apple Watches and reasons, “[t]he

injury to AliveCor is plain.” Id. at 173-174; see CRB at 96. ALC explains, however, that a direct

price comparison is impractical due to the nature of the KBS product being an accessory to

unaccused Apple Watch models, with the accused products being whole Apple Watch products

themselves. See CIB at 174 (citing Hr’g Tr. (Akemann) at 638:18-639:15). Thus, ALC looks to

licensing evidence—in particular, the                 —which it alleges supports an           $13

per-unit bond. Id.; CRB at 96.

       Apple rejects any bond. RIB at 170. Apple argues that a bond is not meant as punishment

or a deterrent to importation, but solely to offset any competitive advantage the respondent may

have by virtue of the offending imports. See id. at 170-171 (collecting cases); RRB at 98. Apple

continues:

       Should the Commission issue a bond, it should be set at zero because AliveCor
       does not compete with the accused Apple Watches, and has failed to prove that it
       would be injured by the importation of the accused Apple Watches, or that Apple
       enjoys a competitive advantage resulting from its alleged infringement.




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RIB at 171 (citing Hr’g Tr. (Vander Veen) at 1021:6-14, 1050:21-1051:4). Like ALC, Apple cites

to ALC internal documents suggesting ALC and Apple are not competitors in this space (id. at

172; RRB at 98), and otherwise argues ALC’s $13 royalty is inappropriate based on the terms of

the



        The Staff agrees with Apple, finding the evidence fails to support a $13 bond rate due, in

part, to

                                                       SIB at 94 (citing JX-0008C.4; Hr’g Tr. (Vander

Veen) at 1049:11-25); SRB at 52 (“AliveCor has not offered any evidence or set forth any arguments

as to what portion of the            is attributable                         as opposed to the asserted

patents.”). Thus, according to the Staff, the bond rate should be zero. SIB at 94; SRB at 52.

        ALC has not met its burden for a bond requirement. The presidential review period is short

(60 days), compared to the possible lifetime of an LEO or CDO (years). It is entirely unclear what

competitive harm ALC will face during this time as the KBS product has not been sold for some

time (Hr’g Tr. (Albert) at 135:14-136:22) and                     are, at best, in development. And as

for a reasonable royalty, Staff persuasively argues that the

                                                            (JX-0008C.1-3 (“2.1

                            )) in addition to a right to use the asserted patents. In fact, if ALC’s

contentions surrounding its contributions to the art are to be believed, then                 must be

of significant value. See, e.g., CIB at 67 (referring to ALC’s ground breaking and unconventional

“configuration of sensors and algorithmic instructions”); CRB at 47 (alleging copying through

                                                            ). With Apple using its own software, the

$13 rate is demonstrably too high. As ALC has not offered alternative proposals reflecting this




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reality, it has not met its burden. It is therefore recommended no bond should issue in the event

of a violation.

X.      INITIAL DETERMINATION AND ORDER

        Based on the foregoing, 1 it is my Initial Determination that there is a violation of Section

337 of the Tariff Act of 1930, as amended, 19 U.S.C. § 1337, in the importation into the United

States, the sale for importation, or the sale within the United States after importation of certain

wearable electronic devices with ECG functionality and components thereof in connection with

the asserted claims of U.S. Patent Nos. 10,638,941 and 10,595,731. There has been no violation

of U.S. Patent No. 9,572,499.

        The undersigned hereby certifies to the Commission this Initial Determination, together

with the Record of the hearing in this investigation consisting of the following: the transcript of

the evidentiary hearing, with appropriate corrections as may hereafter be ordered; and the exhibits

accepted into evidence in this investigation.2

        Pursuant to 19 C.F.R. § 210.42(h), this Initial Determination shall become the

determination of the Commission sixty (60) days after the date of service of the Initial

Determination, unless a party files a petition for review of the Initial Determination within twelve

(12) days after service of the Initial Determination pursuant to 19 C.F.R. § 210.43(a) or the

Commission, pursuant to 19 C.F.R. § 210.44, orders on its own motion, a review of the Initial

Determination or certain issues therein. Any issue or argument not raised in a petition for review,



1
        The failure to discuss any matter raised by the parties or any portion of the Record herein
does not indicate that said matter was not considered. Rather, any such matter(s) or portion(s) of
the Record has/have been determined to be irrelevant, immaterial or meritless. Arguments made
on brief which were otherwise unsupported by Record evidence or legal precedent have been
accorded no weight.
2
        The pleadings of the parties filed with the Secretary need not be certified as they are already
in the Commission’s possession in accordance with Commission rules.


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or response thereto, will be deemed to have been abandoned and may be disregarded by the

Commission in reviewing the Initial Determination pursuant to 19 C.F.R. § 210.43(b) and (c).




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Confidentiality Notice:

        This Initial Determination is being issued as confidential, and a public version will be

issued pursuant to Commission Rule 210.5(f). Within seven (7) days of the date of this Initial

Determination, the parties shall jointly submit: (1) a proposed public version of this opinion with

any proposed redactions bracketed in red; and (2) a written justification for any proposed

redactions specifically explaining why the piece of information sought to be redacted is

confidential and why disclosure of the information would be likely to cause substantial harm or

likely to have the effect of impairing the Commission’s ability to obtain such information as is

necessary to perform its statutory functions. 3

SO ORDERED.




                                                        ________________________________
                                                        Cameron Elliot
                                                        Administrative Law Judge




3
        Under Commission Rules 210.5 and 201.6(a), confidential business information includes:
information which concerns or relates to the trade secrets, processes, operations, style of works, or
apparatus, or to the production, sales, shipments, purchases, transfers, identification of customers,
inventories, or amount or source of any income, profits, losses, or expenditures of any person,
firm, partnership, corporation, or other organization, or other information of commercial value, the
disclosure of which is likely to have the effect of either impairing the Commission’s ability to
obtain such information as is necessary to perform its statutory functions, or causing substantial
harm to the competitive position of the person, firm, partnership, corporation, or other organization
from which the information was obtained, unless the Commission is required by law to disclose
such information. See 19 C.F.R. § 201.6(a). Thus, to constitute confidential business information
the disclosure of the information sought to be designated confidential must likely have the effect
of either: (1) impairing the Commission’s ability to obtain such information as is necessary to
perform its statutory functions; or (2) causing substantial harm to the competitive position of the
person, firm, partnership, corporation, or other organization from which the information was
obtained.


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            UNITED STATES INTERNATIONAL TRADE COMMISSION

                              Washington, D.C.


In the Matter of

CERTAIN WEARABLE ELECTRONIC                         Inv. No. 337-TA-1266
DEVICES WITH ECG FUNCTIONALITY
AND COMPONENTS THEREOF


ORDER NO. 12:      CONSTRUING THE TERMS OF THE ASSERTED CLAIMS OF
                   THE PATENTS AT ISSUE

                              (November 4, 2021)




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I.        INTRODUCTION

          This investigation was instituted by the Commission on May 20, 2021 to determine whether

there is a violation of subsection (a)(1)(B) of section 337 in the importation into the United States,

the sale for importation, or the sale within the United States after importation of certain wearable

electronic devices with ECG functionality and components thereof by reason of infringement of one

or more of claims 1-23 of U.S. Patent No. 10,638,941 (“the 941 patent”), claims 1-30 of U.S. Patent

No. 10,595,731 (“the 731 patent”), and claims 1-4, 6-14, and 16-20 of U.S. Patent No. 9,572,499

(“the 499 patent”). See 86 Fed. Reg. 28382 (May 26, 2021). The Complainant is AliveCor, Inc.

(“AliveCor”), the Respondent is Apple Inc. (“Apple”), and the Office of Unfair Import

Investigations (“Staff”) is a party. See id.

          No Markman hearing was held. However, the parties filed joint proposed claim construction

charts setting forth a limited set of terms to be construed, and also filed claim construction briefs. 1

II.       IN GENERAL

          The claim terms addressed below are construed for the purposes of this investigation, and

those terms not in dispute need not be construed. See Vanderlande Indus. Nederland BV v. Int’l

Trade Comm’n, 366 F.3d 1311, 1323 (Fed. Cir. 2004) (noting that the administrative law judge need

only construe disputed claim terms). The meaning of any claim terms not presently disputed will

be addressed in connection with the evidentiary hearing.


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    For convenience, the briefs and chart submitted by the parties are referred to as:
    CIMB                  Complainant’s Initial Markman Brief
    CRMB                  Complainant’s Reply Markman Brief
    RIMB                  Respondent’s Initial Markman Brief
    RRMB                  Respondent’s Reply Markman Brief
    SIMB                  Staff’s Initial Markman Brief
    JC                    Joint Disclosure of Proposed Claim Constructions

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III.   RELEVANT LAW

       “An infringement analysis entails two steps. The first step is determining the meaning and

scope of the patent claims asserted to be infringed. The second step is comparing the properly

construed claims to the device accused of infringing.” Markman v. Westview Instruments, Inc., 52

F.3d 967, 976 (Fed. Cir. 1995) (en banc) (internal citations omitted), aff'd, 517 U.S. 370 (1996).

Claim construction is a “matter of law exclusively for the court.” Id. at 970-71. “The construction

of claims is simply a way of elaborating the normally terse claim language in order to understand

and explain, but not to change, the scope of the claims.” Embrex, Inc. v. Serv. Eng'g Corp., 216

F.3d 1343, 1347 (Fed. Cir. 2000).

       Claim construction focuses on the intrinsic evidence, which consists of the claims

themselves, the specification, and the prosecution history. See Phillips v. AWH Corp., 415 F.3d

1303, 1314 (Fed. Cir. 2005) (en banc); see also Markman, 52 F.3d at 979. As the Federal Circuit

in Phillips explained, courts must analyze each of these components to determine the “ordinary and

customary meaning of a claim term” as understood by a person of ordinary skill in art at the time of

the invention. 415 F.3d at 1313. “Such intrinsic evidence is the most significant source of the

legally operative meaning of disputed claim language.” Bell Atl. Network Servs., Inc. v. Covad

Commc'ns Grp., Inc., 262 F.3d 1258, 1267 (Fed. Cir. 2001).

       “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

which the patentee is entitled the right to exclude.”’ Phillips, 415 F.3d at 1312 (quoting Innova/Pure

Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)); see

Interactive Gift Express, Inc. v. Compuserve Inc., 256 F.3d 1323, 1331 (Fed. Cir. 2001) (“In

construing claims, the analytical focus must begin and remain centered on the language of the claims

themselves, for it is that language that the patentee chose to use to ‘particularly point [ ] out and
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distinctly claim [ ] the subject matter which the patentee regards as his invention.”). The context in

which a term is used in an asserted claim can be “highly instructive.” Phillips, 415 F.3d at 1314.

Additionally, other claims in the same patent, asserted or unasserted, may also provide guidance as

to the meaning of a claim term. Id. “Courts do not rewrite claims; instead, we give effect to the

terms chosen by the patentee.” K-2 Corp. v. Salomon S.A., 191 F.3d 1356, 1364 (Fed. Cir. 1999).

         The specification “is always highly relevant to the claim construction analysis. Usually it is

dispositive; it is the single best guide to the meaning of a disputed term.” K-2 Corp., 191 F.3d at

1315 (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)). “[T]he

specification may reveal a special definition given to a claim term by the patentee that differs from

the meaning it would otherwise possess. In such cases, the inventor’s lexicography governs.” 191

F.3d at 1316. “In other cases, the specification may reveal an intentional disclaimer, or disavowal,

of claim scope by the inventor.” Id. As a general rule, however, the particular examples or

embodiments discussed in the specification are not to be read into the claims as limitations. Id. at

1323. In the end, “[t]he construction that stays true to the claim language and most naturally aligns

with the patent’s description of the invention will be . . . the correct construction.” Id. at 1316

(quoting Renishaw PLC v. Marposs Societa' per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998)).

         In addition to the claims and the specification, the prosecution history should be examined,

if in evidence. Id. at 1317; see Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 913 (Fed. Cir.

2004).    The prosecution history can “often inform the meaning of the claim language by

demonstrating how the inventor understood the invention and whether the inventor limited the

invention in the course of prosecution, making the claim scope narrower than it would otherwise

be.” Phillips, 415 F.3d at 1317; see Chimie v. PPG Indus. Inc., 402 F.3d 1371, 1384 (Fed. Cir.



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2005) (“The purpose of consulting the prosecution history in construing a claim is to exclude any

interpretation that was disclaimed during prosecution.”).

         When the intrinsic evidence does not establish the meaning of a claim, then extrinsic

evidence (i.e., all evidence external to the patent and the prosecution history, including dictionaries,

inventor testimony, expert testimony, and learned treatises) may be considered. Phillips, 415 F.3d

at 1317. Extrinsic evidence is generally viewed as less reliable than the patent itself and its

prosecution history in determining how to define claim terms. Id. “The court may receive extrinsic

evidence to educate itself about the invention and the relevant technology, but the court may not use

extrinsic evidence to arrive at a claim construction that is clearly at odds with the construction

mandated by the intrinsic evidence.” Elkay Mfg. Co. v. Ebco Mfg. Co., 192 F.3d 973, 977 (Fed. Cir.

1999).

         The construction of a claim term is generally guided by its ordinary meaning. However,

courts may deviate from the ordinary meaning when: (1) “the intrinsic evidence shows that the

patentee distinguished that term from prior art on the basis of a particular embodiment, expressly

disclaimed subject matter, or described a particular embodiment as important to the invention;” or

(2) “the patentee acted as his own lexicographer and clearly set forth a definition of the disputed

claim term in either the specification or prosecution history.” Edwards Lifesciences LLC v. Cook

Inc., 582 F.3d 1322, 1329 (Fed. Cir. 2009); see also GE Lighting Sols., LLC v. AgiLight, Inc., 750

F.3d 1304, 1309 (Fed. Cir. 2014) (“the specification and prosecution history only compel departure

from the plain meaning in two instances: lexicography and disavowal.”); Omega Eng’g, Inc, v.

Raytek Corp., 334 F.3d 1314, 1324 (Fed. Cir. 2003) (“[W]here the patentee has unequivocally

disavowed a certain meaning to obtain his patent, the doctrine of prosecution disclaimer attaches

and narrows the ordinary meaning of the claim congruent with the scope of the surrender.”); Rheox,
                                                   4




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Inc. v. Entact, Inc., 276 F.3d 1319, 1325 (Fed. Cir. 2002) (“The prosecution history limits the

interpretation of claim terms so as to exclude any interpretation that was disclaimed during

prosecution.”). Nevertheless, there is a “heavy presumption that a claim term carries its ordinary

and customary meaning.” CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359, 1366 (Fed. Cir.

2002) (citations omitted). The standard for deviating from the plain and ordinary meaning is

“exacting” and requires “a clear and unmistakable disclaimer.” Thorner v. Sony Computer Entm’t

Am. LLC, 669 F.3d 1362, 1366-67 (Fed. Cir. 2012); see Epistar Corp. v. Int’l Trade Comm’n, 566

F.3d 1321, 1334 (Fed. Cir. 2009) (requiring “expressions of manifest exclusion or restriction,

representing a clear disavowal of claim scope” to deviate from the ordinary meaning) (citation

omitted). As the Federal Circuit has explained, “[w]e do not read limitations from the specification

into claims; we do not redefine words. Only the patentee can do that.” Thorner, 669 F.3d at 1366.

       Courts are not required to construe every claim limitation of an asserted patent. See O2

Micro Intern. Ltd. v. Beyond Innovation Technology Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008)

(citations omitted). Rather, “claim construction is a matter of resolution of disputed meanings and

technical scope, to clarify and when necessary to explain what the patentee covered by the claims,

for use in the determination of infringement.” Id. at 1362 (quoting U.S. Surgical Corp. v. Ethicon,

Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997)); see also Embrex, 216 F.3d at 1347 (“The construction

of claims is simply a way of elaborating the normally terse claim language in order to understand

and explain, but not to change, the scope of the claims.”) (citation omitted). In addition, “[a]

determination that a claim term ‘needs no construction’ or has the ‘plain and ordinary meaning’ may

be inadequate when a term has more than one ‘ordinary’ meaning or when reliance on a term's

‘ordinary’ meaning does not resolve the parties’ dispute.” O2 Micro, 521 F.3d at 1361. Claim

construction, however, is not an “obligatory exercise in redundancy.” U.S. Surgical Corp., 103 F.3d
                                                 5




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at 1568. “[M]erely rephrasing or paraphrasing the plain language of a claim by substituting

synonyms does not represent genuine claim construction.” C.R. Bard, Inc. v. U.S. Surgical Corp.,

388 F.3d 858, 863 (Fed. Cir. 2004).

       A claim must also be definite. Pursuant to pre-AIA 35 U.S.C. § 112, second paragraph:

“The specification shall conclude with one or more claims particularly pointing out and distinctly

claiming the subject matter which the applicant regards as his invention.” 35 U.S.C. § 112, ¶ 2. In

Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120 (2014), the Supreme Court held that §

112, ¶ 2 requires “that a patent’s claims, viewed in light of the specification and prosecution history,

inform those skilled in the art about the scope of the invention with reasonable certainty.” Id. at

2129. A claim is required to “provide objective boundaries for those of skill in the art,” and a claim

term is indefinite if it “might mean several different things and no informed and confident choice is

among the contending definitions.” Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1371 (Fed.

Cir. 2014). A patent claim that is indefinite is invalid. 35 U.S.C. § 282(b)(3)(A).

       If, after a review of the intrinsic and extrinsic evidence, a claim term remains ambiguous,

the claim should be construed so as to maintain its validity. Phillips, 415 F.3d at 1327. Claims,

however, cannot be judicially rewritten in order to fulfill the axiom of preserving their validity. See

Rhine v. Casio, Inc., 183 F.3d 1342, 1345 (Fed. Cir. 1999). Thus, “if the only claim construction

that is consistent with the claim’s language and the written description renders the claim invalid,

then the axiom does not apply and the claim is simply invalid.” Id.

IV.    OVERVIEW OF THE ART AND THE LEVEL OF ORDINARY SKILL

       The three patents in suit relate to systems, devices, and methods for monitoring cardiac

health and managing cardiac disease. See 941 patent at 1:26-33; 731 patent at 1:29-33. The specific

cardiac condition addressed by all the asserted claims is arrhythmia, or abnormal heart rhythm. See
                                                   6




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941 patent at 4:9-10; 499 patent at cl. 1 (preamble). The devices recited in the claims, including in

the method claims, are either a smartwatch (for the 941 and 731 patents) or a mobile computing

device (for the 499 patent). The smartwatch claims require an electrocardiogram (ECG) sensor and

at least one other sensor. E.g., 941 patent at cl. 1; 731 patent at cl. 25. For most asserted smartwatch

claims one of the other sensors is a photoplethysmogram (PPG) sensor, which detects heart rate

optically. See 731 patent at 8:51-55. The mobile computing device claims require an ECG sensor,

a heart rate sensor, and a motion sensor. E.g., 499 patent at cls. 1, 11. Whether reciting a method

or apparatus, the asserted independent claims generally involve monitoring heart rate (e.g., “sensing

a heart rate” (499 patent at cl. 1)), detecting or determining possible arrhythmia or irregularity in

heart rate variability (e.g., “detect, based on the PPG data, the presence of an arrythmia” (731 patent

at cl. 1)), and either performing an ECG or alerting the user that an ECG is called for (e.g., “receive

electric signals of the user from the ECG sensor to confirm the presence of the arrythmia” (941

patent at cl. 12)).

        A person of ordinary skill in such art would likely have an engineering education and

experience with cardiac-related equipment, diagnostics, and signal processing. And the parties

agree that a skilled artisan at the time of the invention would have had a “bachelor of science degree

in electrical engineering, mechanical engineering, biomedical engineering, computer science, or a

related discipline, with at least two years of relevant work experience designing wearable devices

and/or sensors for measuring physiological signals or parameters of mammals.” SIMB at 6; see

CIMB at 5; RIMB at 3. This is reasonable and is adopted.

        Respondent additionally proposes that a skilled artisan at the time of the invention could

have had a medical degree (M.D. or D.O.) and at least two years of work experience using

biomedical sensors and/or analyzing their data, including in clinical practice treating patients. See
                                                   7




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RIMB at 3. But it is not enough for a skilled artisan to be able to use the claimed invention; the

skilled artisan must also be able to make it. See Amgen Inc. v. Sanofi, Aventisub LLC, 987 F.3d

1080, 1084 (Fed. Cir. 2021). A physician might know how to use the claimed inventions, but there

is no reason to expect that a physician in clinical practice would be able to make them without

substantially more experience and training than two years using biomedical sensors or analyzing

their data.

        Therefore, a person of ordinary skill in the art at the time of the invention would have had

either (1) a bachelor of science degree in electrical engineering, mechanical engineering, biomedical

engineering, computer science, or a related discipline, with at least two years of relevant work

experience designing wearable devices and/or sensors for measuring physiological signals or

parameters of mammals, or (2) a medical degree and at least five years of relevant work experience

designing wearable devices and/or sensors for measuring physiological signals or parameters of

mammals.      Also, relevant experience could substitute for education and vice versa for both

categories of skilled artisan.

V.      THE ASSERTED PATENTS

        Although various dependent claims have been asserted, the parties’ claim construction

disputes all pertain to terms found in the independent claims, as well as to some preambles and the

order of method steps. See JC at 2-4. Therefore, only the independent claims are reproduced below.

                The 499 Patent

        The 499 patent, entitled “Methods and Systems for Arrhythmia Tracking and Scoring,”

issued February 21, 2017, to Gopalakrishnan, et al., and is assigned on its face to Complainant. It

claims priority to provisional application No. 61/915,113, filed on December 12, 2013. See

generally 499 patent.
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       The 499 patent has 20 claims, of which claims 1-4, 6-14, and 16-20 are asserted. Claims 1

and 11 are independent, and the disputed terms are highlighted in bold.

       1.      A method of determining a presence of an arrhythmia of a first user, said
               method comprising

       sensing a heart rate of said first user with a heart rate sensor coupled to said first
       user;

       transmitting said heart rate of said first user to a mobile computing device, wherein
       said mobile computing device is configured to sense an electrocardiogram;

       determining, using said mobile computing device, a heart rate variability of said first
       user based on said heart rate of said first user;

       sensing an activity level of said first user with a motion sensor;

       comparing, using said mobile computing device, said heart rate variability of said
       first user to said activity level of said first user; and

       alerting said first user to sense an electrocardiogram of said first user, using said
       mobile computing device, in response to an irregularity in said heart rate variability
       of said first user.

       11.     A system for determining the presence of an arrhythmia of a first user,
               comprising

       a heart rate sensor coupled to said first user;

       a mobile computing device comprising a processor, wherein said mobile computing
       device is coupled to said heart rate sensor, and wherein said mobile computing
       device is configured to sense an electrocardiogram of said first user; and

       a motion sensor

       a non-transitory computer readable medium encoded with a computer program
       including instructions executable by said processor to cause said processor to receive
       a heart rate of said first user from said heart rate sensor, sense an activity level of
       said first user from said motion sensor, determine a heart rate variability of said first
       user based on said heart rate of said first user, compare and activity level of said first
       user to said heart rate variability of said first user, and alert said first user to record
       an electrocardiogram using said mobile computing device.



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               The 731 Patent

       The 731 patent, entitled “Methods and Systems for Arrhythmia Tracking and Scoring,”

issued March 24, 2020, to Gopalakrishnan, et al., and is assigned on its face to Complainant. It

derives from a series of continuation applications, one of which issued as the 499 patent, and claims

priority to the same provisional application as the 499 patent. As a result, it appears to have

substantially the same specification as the 499 patent. See generally 731 patent.

       The 731 patent has 30 claims, all of which are asserted. Claims 1, 17 and 25 are independent,

and the disputed term are highlighted in bold:

       1.      A smart watch to detect the presence of an arrhythmia of a user, comprising:

       a processing device;

       a photoplethysmography (“PPG”) sensor operatively coupled to the processing
       device;

       an ECG sensor, comprising two or more ECG electrodes, the ECG sensor operatively
       coupled to the processing device;

       a display operatively coupled to the processing device; and

       a memory, operatively coupled to the processing device, the memory having
       instructions stored thereon that, when executed by the processing device, cause the
       processing device to:

               receive PPG data from the PPG sensor;

               detect, based on the PPG data, the presence of an arrhythmia;

               receive ECG data from the ECG sensor; and

               confirm the presence of the arrhythmia based on the ECG data.

       17.     A method to detect the presence of an arrhythmia of a user on a smart watch,
               comprising:

       receiving PPG data from a PPG sensor of the smartwatch;

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       detecting by a processing device, based on the PPG data, the presence of an
       arrhythmia;

       receiving ECG data from an ECG sensor of the smartwatch; and

       confirming the presence of the arrhythmia based on the ECG data.

       25.     A non-transitory computer-readable storage medium including instructions
               that, when executed by a processing device, cause the processing device to:

       receive PPG data from a PPG sensor of the smartwatch;

       detect by the processing device, based on the PPG data, the presence of an
       arrhythmia;

       receive ECG data from an ECG sensor of the smartwatch; and

       confirm the presence of the arrhythmia based on the ECG data.

               The 941 Patent

       The 941 patent, entitled “Discordance Monitoring,” issued May 5, 2020, to Albert, et al.,

and is assigned on its face to Complainant. It claims priority to provisional application No.

62/161,092, filed on May 13, 2015. See generally 941 patent.

       The 941 patent has 23 claims, all of which are asserted. Claims 1 and 12 are independent,

and the disputed terms are highlighted in bold.

       1.      A method of cardiac monitoring, comprising:

       sensing an activity level of a user with a first sensor on a smartwatch worn by the
       user;

       when the activity level is resting, sensing a heart rate parameter of the user with a
       second sensor on the smartwatch;

       determining, by a processing device, that a discordance is present between the
       activity level value and the heart rate parameter;

       based on the presence of the discordance, indicating to the user, using the
       smartwatch, a possibility of an arrhythmia being present; and


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        receiving electric signals of the user from an electrocardiogram sensor (“ECG”) on
        the smartwatch to confirm a presence of the arrhythmia, wherein the ECG sensor
        comprises a first electrode and a second electrode.

        12.     A smartwatch, comprising:

        a processor;

        a first sensor configured to sense an activity level value of a user, wherein the first
        sensor is coupled to the processor;

        a photoplethysmogram (“PPG”) sensor configured to sense a heart rate parameter of
        the user when the activity level value is resting, wherein the PPG sensor is coupled
        to the processor;

        an electrocardiogram (“ECG”) sensor configured to sense electrical signals of a
        heart, wherein the ECG sensor comprises a first electrode and a second electrode,
        and wherein the ECG sensor is coupled to the processor; and

        a non-transitory computer readable storage medium encoded with a computer
        program including instructions executable by the processor to cause the processor to:

                determine if a discordance is present between the activity level value of the
                user and the heart rate parameter of the user;

                based on the presence of the discordance, indicate to the user a possibility of
                an arrhythmia being present; and

                receive electric signals of the user from the ECG sensor to confirm the
                presence of the arrhythmia.

VI.     CLAIM CONSTRUCTION

                Construction of the Agreed-Upon Claim Term

        The parties agree that the term “arrhythmia,” which appears in all independent claims, means

“a cardiac condition in which the electrical activity of the heart is irregular or is faster or slower than

normal.” JC at 4. This construction is consistent with the plain and ordinary meaning of the term

and with the intrinsic evidence. See 731 patent at 1:40-42 (“Arrhythmia is a cardiac condition in

which the electrical activity of the heart is irregular or is faster (tachycardia) or slower (bradycardia)


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than normal.”); 941 patent at 4:9-10 (arrhythmia is “an abnormality of rhythm”). It is therefore

adopted.

        B.      Construction of the Disputed Claim Terms

        The disputed claim terms are summarized in the parties’ Joint Disclosure of Proposed Claim

Constructions. See generally JC.

                        499 Patent – Preambles

 Claims            AliveCor’s Proposed          Staff’s Proposed             Apple’s Proposed
                   Construction                 Construction                 Construction
 499 patent:       The preambles are not        The preambles of the         The preambles of claims
 preambles         limiting.                    asserted claims are          1 and 11 are limiting.
                                                limiting.
JC at 2.

        The only place in the independent claims of the 499 patent that the term “arrhythmia”

appears is in the preambles. See 499 patent at cls. 1 (“an arrhythmia of a first user”), 11 (same).

Claim 7, which depends from claim 1, and claim 17, which depends from claim 11, further recites

the step of “determining a presence of said arrhythmia” and the operation of “determine a presence

of said arrhythmia,” respectively. See id. at cls. 7, 17. Respondent argues, among other points, that

the preambles are limiting because they provide an antecedent basis for “said arrhythmia.” RIMB

at 10-13. Staff agrees. See SIMB at 8. Complainant, relying principally on examples from District

Court cases, argues that “the fact that the antecedent basis for a term in the body of some dependent

claims is found in the preamble of the independent claims does not require a preamble to be

limiting.” CIMB at 7.

        In one respect, at least, the preambles are undoubtedly limiting. The body of claim 1 does

not describe a structurally complete method for “alerting said first user to sense an

electrocardiogram . . . in response to an irregularity of said heart rate variability of said first user.”


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See 499 patent at 26:36-39. This is because the antecedent basis for “said first user” appears in the

preamble. See id. at 26:27-28. Claim 11 similarly fails to describe a structurally complete

invention, albeit a system rather than a method. See id. at 27:19-24 (“determine a heart rate

variability of said first user . . . and alert said first user to record an electrocardiogram”). So the

preambles are limiting to the extent they provide antecedent bases for “said first user.”

        Whether they are limiting with respect to “arrhythmia,” however, is a different question. See

TomTom, Inc. v. Adolph, 790 F.3d 1315, 1323 (Fed. Cir. 2015) (finding one part of a preamble

limiting but not another part). Nothing in the body of claims 1 or 11 requires “determining [a/the]

presence of an arrhythmia,” because the recited methods stop at alerting the user to “sense” or

“record” an ECG. 499 patent at cls. 1, 11. So on the surface, determining the presence of arrhythmia

is just the “purpose or intended use for the invention.”           Catalina Marketing Int’l, Inc. v.

Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002).

        Claims 7 and 17, however, use the term “said arrhythmia,” which would be expected to

require an antecedent basis. See Catalina Marketing, 289 F.3d at 808. Moreover, claims 7 and 17

reiterate an entire clause of the relevant preamble, almost verbatim, before adding one limitation.

Specifically, claim 1 recites “using a machine learning algorithm” for “determining a presence of

an arrhythmia,” while claim 7 recites the same for “determining a presence of said arrhythmia,” and

claim 11 recites “using a machine learning algorithm” for “determining the presence of an

arrhythmia,” while claim 17 recites the same to “determine a presence of said arrhythmia.” 499

patent at cls. 1, 7, 11, 17.

        Such repetition of the preamble, combined with the use of the term “said,” indicates that the

“arrhythmia” portion of each preamble is limiting, and is not just the purpose or intended use of

each claimed invention. Admittedly, there are instances in the case law where a preamble has been
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found limiting for a dependent claim and not limiting for the associated independent claim. See

CIMB at 7-9 (collecting cases); CRMB at 1-2 (same); see also Energizer Holdings, Inc. v. ITC, 435

F.3d 1366, 1370 (Fed. Cir. 2006) (an antecedent basis need be express if it is “present by

implication”). But the weight of authority is that if a preamble is limiting for a dependent claim, it

is also limiting for the associated independent claim, because a dependent claim possesses all the

elements of the claim from which it depends. See Catalina Marketing, 289 F.3d at 808; Monsanto

Co. v. Syngenta Seeds, Inc., 503 F.3d 1352, 1359 (Fed. Cir. 2007) (“claims in dependent form

include all the limitations of the claim” from which they depend). And it may be true that if claims

7 and 17 had been drafted without using “said” and without repeating the language of the preambles

of claims 1 and 11 (and the bodies of claims 1 and 11 had not used the term “said first user”), then

the preambles would not be limiting. See CRMB at 3. But the claims were not so drafted, and the

claim language must instead be considered as it is actually written.

       On balance, therefore, the preambles of claims 1 and 11 of the 499 patent are limiting.



                       499 Patent – “alerting said first user to sense an electrocardiogram”/
                       “alert”

 Claims                AliveCor’s Proposed        Staff’s Proposed          Apple’s Proposed
                       Construction               Construction              Construction
 499 patent:           No construction            No construction           “informing the first
 “alerting said first  required.                  necessary.                user to take an
 user to sense an                                                           electrocardiogram”/
 electrocardiogram” Alternatively,                If construed,             “inform”
 [cl. 1]; “alert” [cl. “notifying said first      “informing the first
 11]                   user to sense an           user to take an
                       electrocardiogram”/        electrocardiogram”/
                       “notify”                   “inform”
JC at 2.




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       Respondent most clearly explains the nature of the dispute in its reply brief. See RRMB at

5-8. Respondent argues that: (1) its proposed construction will “aid . . . in understanding the term

as it is used in the claimed invention”; (2) references to performing an ECG in the specification use

the term “take” or some variation of it; (3) the claim language suggests an affirmative act by the

user (as in “taking” an ECG) rather than mere passive sensing of a parameter (as in “sensing a heart

rate”); and (4) the specification contemplates a “trigger message to inform the user” to get an ECG,

rather than some less informative “alert.” Id.

       These points offer insufficient reason to deviate from the plain and ordinary meaning of the

claim language. First, the prosecution history does not appear to be relevant. See RIMB at 16-17.

As for the specification, the term “sense” in reference to obtaining an ECG clearly has a broad

meaning, including “take” (e.g., 499 patent at 6:64), “record” (id. at cl. 11), and “measure” (id. at

Table 1). Construing “sense” to mean just one of these actions is not warranted, and does not clarify

anything about the claim language.       And to the extent the term “sense” is ambiguous, the

specification explains what it means: “the ECG device includes an electrode assembly configured

to sense heart-related signals upon contact with a user’s skin, and to convert the sensed heart-related

signals to an ECG electric signal.” Id. at 25:29-33. Moreover, the claims are directed to determining

whether or not an ECG is appropriate, and then “alerting” the user to that fact; substituting “to take”

for “to sense” does not clarify anything about whether “to sense” the ECG requires an affirmative

act by the user.

       As for “alert” and “alerting,” the plain and ordinary meaning is similarly broad, and includes

“notify” (499 patent at 5:12), “instruct” (id. at 20:59), “indicate” (id. at 23:21), and “generate and

send notification signals” (id. at 25:2-3). In fact, one purpose of the disclosed invention is to

“minimize[] false alarms,” suggesting that an “alarm” (i.e., an audible tone) may qualify as an
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“alert.” Id. at 25:24. The proposed term “inform,” by contrast, appears nowhere in the specification,

and the term “informing” appears only once, in disclosing the optional feature of “informing the

patient” of “behaviors, habits . . . and the like” associated with abnormal ECG readings, instead of

“informing the patient” of the need for an ECG. Compare id. at 16:42-46 with id. at cl. 11. So

inasmuch as “inform” implies a message of some sort, and excludes a non-linguistic method of

alerting, it is clearly too narrow.

        Therefore, the terms “alerting said first user to sense an electrocardiogram” and “alert” are

accorded their plain and ordinary meaning, the “alert” is not limited to a message, and the terms

need not otherwise be construed.

                        499 Patent – “heart rate sensor”

 Claims            AliveCor’s Proposed          Staff’s Proposed            Apple’s Proposed
                   Construction                 Construction                Construction
 499 patent:       No construction              No construction             “A sensor that directly
 “heart rate       necessary.                   necessary.                  measures heart rate”
 sensor”
 [cls. 1, 11]      Alternatively: “a sensor     If construed: “a sensor
                   for measuring heart          for measuring heart
                   rate”                        rate”
JC at 2.

        Claims 1 and 11 of the 499 patent require a “heart rate sensor coupled to [a] first user.” 499

patent at cls. 1, 11. In method claim 1, the heart rate is “sens[ed],” and the heart rate variability is

then “determine[ed] . . . based on said heart rate.” Id. at cl. 1. In system claim 11, a processor

“receive[s] a heart rate . . . from said heart rate sensor,” and the processor then determines the heart

rate variability “based on said heart rate.” Id. at cl. 11.

        The specification does not limit the nature of the heart rate sensor. It may be a “portable

computing device” executing an “application,” an “accessory usable with the portable computing

device,” an “accessory device” including “Garmin’s Vivofit Fitness Band, Fitbit, Polar Heart Rate
                                                     17




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Monitors . . . and the like,” an “[ECG] in communication with the portable computing device or

accessory,” an “on-board heart rate sensor of the portable computing device,” or “[PPG]

implemented by an imaging source and a light source of the portable computing device.” 499 patent

at 8:28-53; see also id. at 25:13-16 (“an optical sensor to detect the fluctuation of blood flow”),

25:38-39 (“[t]he ECG can be further processed using algorithms to calculate heart rate”). In fact,

although the specification incorporates by reference the application resulting in U.S. Patent No.

9,649,042, which discloses a stethoscope, a device which Respondent argues “measure[s] heart rate

directly,” the 499 patent’s specification does not expressly teach this well-known “heart rate sensor.”

RIMB at 18 & Ex. 3.

       Therefore, Respondent’s argument that the specification distinguishes between different

kinds of heart rate sensors, and in particular between “heart rate sensors” on the one hand and PPG

and ECG sensors on the other, is not supported by the specification. See RIMB at 17-18. Nor is the

prosecution history Apple cites especially relevant. See id. at 1819. If there was disavowal, at most

it was of using “ECG data only” and “determining [heart rate variability] from peak to peak interval

data taken from a sensed ECG,” as opposed to “use of a heart rate sensor” and then computing heart

rate variability. See id., Ex. 4 at 6-7 (emphasis omitted). Lastly, Respondent’s expert opined that a

skilled artisan would understand “heart rate sensor” narrowly, but his opinion was based on

arguments that duplicate Respondent’s legal arguments; it is accordingly inconsistent with the

intrinsic evidence and is accorded no weight. See RIMB, Ex. 1 (Stultz Decl.) at ¶¶ 67-69.

       Therefore, the term “heart rate sensor” is accorded its plain and ordinary meaning, and in

particular is construed to mean heart rate sensors that sense heart rate both directly and indirectly,

and is not otherwise construed.



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                        499 Patent – Order of Method Steps

 Claims            AliveCor’s Proposed          Staff’s Proposed             Apple’s Proposed
                   Construction                 Construction                 Construction
 499 patent:       While some ordering is       While some ordering is       Should be performed in
 order of steps    dictated by logic, the       dictated by logic, the       the order listed.
 [cl. 1]           limitations of the claim     limitations of the claim
                   may be performed in          may be performed in
                   different order than         different order than
                   recited.                     recited.
JC at 2.

        Claim 1 covers a method with six basic steps: (1) sensing the user’s heart rate; (2)

transmitting the heart rate to a mobile computing device; (3) determining heart rate variability; (4)

sensing the user’s activity level; (5) comparing the heart rate variability to the activity level; and (6)

alerting the user to sense an ECG in response to an irregularity in heart rate variability. See 499

patent at cl. 1. The parties’ disagreement is over whether step (4), sensing an activity level, may be

performed before or simultaneously with steps (1), (2), or (3), or whether it must be performed only

after step (3). See RIMB at 21-22; SIMB at 19; CIMB at 18-19.

        Generally, “[u]nless the steps of a method actually recite an order, the steps are not ordinarily

construed to require one.” Interactive Gift Express, Inc. v. Compuserve Inc., 256 F.3d 1323, 1342

(Fed. Cir. 2001). Claim 1 does not expressly recite any particular order of steps, so presumptively

there is none. See 499 patent at cl. 1. Contrary to Respondent’s suggestion, the fact that in step (5)

the heart rate variability is compared to the activity level, rather than the other way around, does not

grammatically or logically require that one parameter be measured before the other, because what

the step requires is simply a comparison. See RRMB at 10.

        Nor does anything in the specification require a particular order. Respondent’s assertion that

“in all the disclosed examples, heart rate and [heart rate variability] are always analyzed first” is

incorrect, because the cited examples do not even disclose measuring activity level. RIMB at 22
                                                   19




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(citing 499 patent at 22:56-65, 23:12-26); see RRMB at 10-11 (citing 499 patent at 19:42-46 & Fig.

6). In short, “[t]he only order mandated by the claim language” – and in this case the specification,

as well – “is the conditional language in several of the steps,” and that conditional language does

not logically mandate that step (4) be performed only after steps (1), (2), and (3). Altiris, Inc. v.

Symantec Corp., 318 F.3d 1363, 1370 (Fed. Cir. 2003).

        Therefore, claim 1 of the 499 patent is construed such that the step of “sensing an activity

level of said first user with a motion sensor” need not be performed after the step of “determining,

using said mobile device, a heart rate variability of said first user based on said heart rate of said

first user.”

                        731 Patent – “confirm the presence of the arrhythmia based on the
                        ECG data” / “confirming the presence of the arrhythmia based on the
                        ECG data”

 Claims             AliveCor’s Proposed        Staff’s Proposed           Apple’s Proposed
                    Construction               Construction               Construction
 731 patent:        No construction            No construction            “verify[ing] the
 “confirm[ing]      required.                  necessary.                 arrhythmia by comparing
 the presence                                                             the ECG sensor data to
 of the             Alternatively:             These claims do not        the PPG sensor data”
 arrhythmia         “identify[ing] the         require verifying the
 based on the       occurrence of the          arrhythmia by
 ECG data”          arrhythmia based on the    comparing the ECG
 [cls. 1, 17, 25]   ECG data”                  sensor data to the PPG
                                               sensor data.

                                               If construed:
                                               “verify[ing] the
                                               occurrence of the
                                               arrhythmia based on the
                                               ECG data”
JC at 3.

        Claims 1, 17, and 25 of the 731 patent cover, respectively, a “smart watch” comprising a

processing device that executes instructions to perform certain operations, a method of using a

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smartwatch, and a “non-transitory computer-readable storage medium including instructions that . . .

cause [a] processing device to” perform certain operations based on smartwatch data. See 731 patent

at cls. 1, 17, 25. The method of claim 17 and the operations of claims 1 and 25 are in substance the

same:    (1) receive PPG data from the smartwatch’s PPG sensor; (2) detect the presence of an

arrhythmia based on the PPG data; (3) receive ECG data from the smartwatch’s ECG sensor; and

(4) confirm the presence of the arrhythmia based on the ECG data. See id.

        There are two disputes over the last element of the claim. First, Respondent argues that

“confirm” (cls. 1 and 25) and “confirming” (cl. 17) should be construed as “verify” and “verifying.”

See RIMB at 23-25. It is true that the specification sometimes uses the synonymous term “verify,”

but it also uses the term “identify.” 731 patent at 15:19, 21:7, 25:47. Respondent offers no reason

to prefer one of these terms over any other, and in any event “confirm” and “confirming” have plain

and ordinary meanings even to a layperson. See RIMB at 23-25.

        Second, Respondent argues that “there must necessarily be a comparison of the ECG data to

the PPG data to verify that [the arrhythmia] is indeed the same condition.” RIMB at 26. But the

claims do not say “detect a type of arrhythmia,” or otherwise require detecting or confirming a

particular species of arrhythmia; they instead merely require “detecting . . . the presence of an

arrhythmia” and “confirming the presence of the arrhythmia.” 731 patent at cl. 17. It is not clear

that detecting, say, atrial fibrillation, followed by confirming, say, tachycardia, would fall outside

the scope of the claims, because both conditions are arrhythmias. See id. at 1:40-45. Even assuming

as a matter of construction that the two arrhythmias must be the same condition – an interpretation

the parties have not squarely briefed or addressed – Respondent offers no intrinsic evidence that the

only way to confirm that fact is by comparing ECG sensor data to PPG sensor data. See RIMB at

26. The specification says nothing about such a comparison. Indeed, a skilled artisan could
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seemingly practice the claims by programming a smartwatch to apply a machine learning algorithm

to the heart rate data from the PPG, output a “recognize[d]” species of “detected” arrhythmia, and

then send only that species identification, without the underlying data, to the smartwatch processor

as an input to the ECG “confirmation” analysis. See 731 patent at 4:6-9 (“the machine learning

algorithm may recognize atrial fibrillation from the continuously measured heart rate data of a new

user who has not yet been identified as having atrial fibrillation”). Finally, Respondent’s expert’s

opinion on this point is either conclusory or relies on statements in the specification that do not even

reference PPG. See id., Ex. 1 at ¶¶ 75-79.

       Therefore, the terms “confirm the presence of the arrhythmia based on the ECG data” and

“confirming the presence of the arrhythmia based on the ECG data” are accorded their plain and

ordinary meaning, with no requirement of a comparison of the ECG data to the PPG data.

                       731 Patent – Order of Method Steps

 Claims           AliveCor’s Proposed          Staff’s Proposed             Apple’s Proposed
                  Construction                 Construction                 Construction
 731 patent:      While some ordering is       While some ordering is       Should be performed in
 order of steps   dictated by logic, the       dictated by logic, the       the order listed.
 [cl. 17]         limitations of the claim     limitations of the claim
                  may be performed in          may be performed in
                  different order than         different order than
                  recited.                     recited.
JC at 3.

       Again, claim 17 covers a method with four basic steps: (1) receiving PPG data from the

smartwatch’s PPG sensor; (2) detecting the presence of an arrhythmia based on the PPG data; (3)

receiving ECG data from the smartwatch’s ECG sensor; and (4) confirming the presence of the

arrhythmia based on the ECG data. See 731 patent at cl. 17. The parties’ disagreement is over

whether steps (3) and (4) (which the parties agree must be consecutive) may be performed before



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or simultaneously with steps (1) and (2) (which the parties agree must be consecutive). See RIMB

at 26-27; SIMB at 24-25; CIMB at 24-25.

       Claim 17 does not expressly recite any particular order of steps, so presumptively there is

none. Interactive Gift Express, 256 F.3d at 1342. The specification discloses continuous ECG

monitoring. See 731 at 14:14 (“[t]he ECG signal data can be continuously recorded”), 16:16-19

(“[a]nalysis of the time before the abnormality . . . may allow the system to identify patterns or

correlations of various ECG features that precede the occurrence of the abnormality”). Similarly,

the specification discloses continuous PPG monitoring. See id. at 2:42-57 (“heart rate may be

measured by . . . imaging and lighting sources”), 8:54-55 (PPG is “implemented by an imaging

source and a light source”). Nothing in the specification rules out commencing PPG monitoring

after commencing ECG monitoring, so Respondent’s assertion that “there is no disclosure that ECG

data can be taken prior to a PPG measurement” is unpersuasive. RRMB at 15. At minimum,

therefore, step (3) (receiving the ECG data) may occur before or simultaneously with steps (1) and

(2).

       Respondent advances two additional points. First, it argues that “the arrhythmia” confirmed

by the ECG must be the same arrhythmia detected by the PPG. See RIMB at 27. Again, this issue

is not squarely addressed by the parties, but even assuming that the two arrhythmias must be the

same condition, “an arrhythmia” in the PPG “detecting” step merely provides antecedent basis for

“the arrythmia” in the ECG “confirming” step, it does not necessarily imply a temporal order.

       Second, Respondent argues that “one must first detect . . . before one can confirm” the

arrhythmia’s presence. RRMB at 15. To be sure, the specification discloses an embodiment where

“continuous monitoring may allow a subject to be alerted immediately upon an indication of the

potential problem,” which suggests that the “indication,” or detection, triggers the measurement of
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an ECG.     731 patent at 23:13-15.         But that same embodiment then discloses simultaneous

monitoring: “This may allow the coupling of continuous HR monitoring with ECG recording and

analysis.” Id. at 23:16-18. Moreover, it is undisputed that an ECG (as opposed to a PPG) is “the

required standard of care for use in diagnosing cardiac arrhythmias,” because it can “confirm or

refute the suspected irregularity.” RIMB, Ex. 1 (Stultz Decl.) at ¶¶ 59-60. So “confirming,” as

relevant here, means “obtaining sufficient data for a diagnosis,” rather than simply “confirming what

was previously detected” or “double-checking.”               And although such a confirmation would

seemingly render subsequent detection by PPG monitoring superfluous, continuous ECG

monitoring is plainly taught by the specification. In short, Respondent points to nothing in the

intrinsic evidence that requires detection before confirmation, or otherwise bars practicing the

“confirming” step before the “detecting” step.

       Therefore, claim 17 of the 731 patent is construed such that the step of “receiving PPG data

from a PPG sensor of the smartwatch” must be performed before the step of “detecting by a

processing device, based on the PPG data, the presence of an arrhythmia,” and the step of “receiving

ECG data from an ECG sensor of the smartwatch” must be performed before the step of “confirming

the presence of the arrhythmia based on the ECG data,” but there is otherwise no restriction on the

order of the steps.

                          941 Patent – “to confirm a presence of the arrhythmia” / “to confirm
                          the presence of the arrhythmia”

 Claims               AliveCor’s Proposed       Staff’s Proposed             Apple’s Proposed
                      Construction              Construction                 Construction
 941 patent:          No construction           No construction              “to verify the arrhythmia
 “to confirm a        required.                 necessary.                   by comparing the ECG
 presence of                                                                 sensor results to the
 the                  Alternatively:            These claims do not          discordance
 arrhythmia” /                                  require verifying the        determination”
 “to confirm                                    arrhythmia by
                                                      24




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 the presence      “to identify an             comparing the ECG
 of the            occurrence of the           sensor data to the PPG
 arrhythmia”       arrhythmia”                 sensor data.
 [cls. 1, 12]
                                               If construed:
                                               “to verify a presence of
                                               the arrhythmia” (claim
                                               1) / “to verify the
                                               presence of the
                                               arrhythmia” (claim 12)
JC at 4; CIMB at 25; RIMB at 28.

       Independent claim 1 of the 941 patent covers a method where the final step, in pertinent part,

is “receiving electric signals of the user from [a smartwatch ECG sensor] to confirm a presence of

the arrhythmia.” 941 patent at cl. 1. Independent claim 12 covers a smartwatch comprising a

processor programmed to “receive electric signals of the user from the ECG sensor to confirm the

presence of the arrhythmia.” Id. at cl. 12. As with the corresponding limitation of the independent

claims of the 731 patent, Respondent argues that “confirm” should be construed as “verify.” See

RIMB at 29. In contrast to the 731 patent, however, the term “verify” appears nowhere in the 941

patent. See SIMB at 27 (collecting specification citations where only “confirm” is used). And again,

“confirm” has a plain and ordinary meaning even to a layperson.

       Respondent’s other argument varies somewhat from the corresponding one advanced

regarding the 731 patent. Unlike the 731 patent, the independent claims of the 941 patent require

“sensing an activity level,” “sensing a heart rate parameter” when the activity level is resting, and

then “determining . . . that a discordance is present between the activity level value and the heart

rate parameter.” 941 patent at cl. 1; see id. at cl. 12. The claims then require “based on the presence

of the discordance, indicate to the user a possibility of an arrhythmia being present,” followed by

the ECG confirmation step. Id. at cl. 12; see id. at cl. 1.



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       Respondent argues that the claimed invention “must necessarily compare the results of the

ECG sensor to the results of the previous discordance determination.” RIMB at 29. Certainly one

embodiment disclosed in the specification works that way. See 941 patent at 13:60-14:18. But the

disclosed embodiments associated with Figure 7 (a decision tree describing various combinations

of measurements and their associated diagnoses) say nothing about such a comparison. See id. at

14:59-15:59 & Fig. 7. In fact, the most natural reading of the claim language is that the only use for

“determin[ing] . . . a discordance” is to “indicate . . . a possibility of an arrhythmia being present.”

Id. at cl. 12. Respondent’s prosecution history evidence has no clear relevance to this issue, and its

expert evidence merely repeats the arguments made in its brief without substantial elaboration. See

RIMB at 30 (citing RIMB, Ex. 1 (Stultz Decl.) at ¶¶ 84-86; Ex. 5 at 5). Lastly, to the extent “the

arrhythmia” must be the same “an arrhythmia” previously found to be “a possibility,” the

discordance determination itself does not necessarily result in any diagnostic conclusions, because

such conclusions may instead result from a machine learning algorithm. See 941 patent at 13:60-

14:18; RIMB at 29. Similarly to the 731 patent, then, it stands to reason that a skilled artisan could

practice the claimed inventions without using any discordance data as a direct input to the ECG

analysis.

       Therefore, the terms “to confirm a presence of the arrhythmia” and “to confirm the presence

of the arrhythmia” are accorded their plain and ordinary meaning, with no requirement of a

comparison of the ECG sensor results to the discordance determination.




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                        941 Patent – “when the activity level is resting” / “when the activity
                        level value is resting”

 Claims                            AliveCor’s                Staff’s Proposed        Apple’s Proposed
                                   Proposed                  Construction            Construction
                                   Construction
 941 patent: “when the             Not indefinite.           Not indefinite.         Indefinite.
 activity level is resting” /
 “when the activity level
 value is resting”
 [cls. 1, 12]
JC at 4.

        Independent claim 1 of the 941 patent covers a method comprising “sensing an activity level

of a user,” and then, “when the activity level is resting, sensing a heart rate parameter of the user.”

941 patent at cl. 1. If there is a discordance between the sensed data, “a possibility of an arrhythmia

being present” is “indicat[ed] to the user.” Id. Independent claim 12 covers a smartwatch

comprising a processor programmed to perform substantially the same method, including sensing a

heart rate parameter “when the activity level value is resting.” Id. at cl. 12.

        Respondent argues that a skilled artisan cannot adequately discern the scope of the terms

“activity level is resting” and “activity level value is resting,” and the claims are therefore indefinite.

See RIMB at 31-34. It is true that the specification seemingly equates “resting” with “normal.”

E.g., 941 patent at 16:6. It is also true that “what is considered resting for one person, is not

necessarily resting for another person.” RIMB, Ex. 1 (Stultz Decl.) at ¶ 93. The specification

acknowledges this: “an activity level [that] is determined to be increased in a 70 year old user []

would not be increased in a 7 year old user.” 941 patent at 16:10-12. Respondent’s expert

accordingly opines that the 941 patent “provides no guidance on what would be considered a resting

activity level other than to say that it would be determined for each individual separately.” RIMB,

Ex. 1 (Stultz Decl.) at ¶ 93.

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       Respondent has not met its burden of proving indefiniteness. Three teachings of the patent

are especially pertinent. First, “resting” and “normal” have different plain and ordinary meanings,

and the claims use the term “resting.” In the absence of lexicography (and the cited passages fall

short of it) the meaning of “resting” controls. Moreover, nothing in the claims requires measuring

the degree of activity level; instead, the user’s activity level must be “sense[d],” and “when the

activity level value is resting” a heart rate parameter is sensed. 941 patent at cl. 12. So the trigger

for heart rate parameter sensing is binary – resting or not resting – and the example of “increased”

activity varying between persons of different ages is therefore not especially relevant. Id. at 16:10-

12.

       Second, the only “activity level” sensors disclosed are an accelerometer and a gyroscope,

that is, motion sensors. See 941 patent at 2:57-58. The specification makes clear that a “resting”

activity level measured by such devices corresponds to a lack of motion. See id. at 15:64-65

(“resting activity level as sensed by an accelerometer which measures that the individual is traveling

at 0 miles/hr”). And again, the activity level does not have to be measured or quantified, it just has

to be “sense[d]” as resting, and presumably both an accelerometer and a gyroscope sense a resting

state by sensing a lack of motion. Id. at cl. 12. In other words, the user does not actually have to be

resting, the sensor just has to detect the user as resting, or “simply not moving.” RIMB, Ex. 1 (Stultz

Decl.) at ¶ 95.

       Third, if the sensor detects motion, the sensed activity level is “not resting,” and the claims

are not practiced. As the specification explains, if “an increased heart rate is sensed together with

an increased activity level . . . no discordance is present, and an ECG is not recorded as the individual

is probably exercising.” 941 patent at 15:44-48. By extension, the claims are also not practiced in

the situation Respondent hypothesizes, because it involves a false positive discordance: “a user can
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be ‘motionless’ – e.g., traveling at 0 miles/hour – and yet not resting, if they are exercising (on a

stationary bike) or agitated.” RIMB at 34. In such a case, there may be a discordance but there is

no arrhythmia, so the claimed invention may “indicate . . . a possibility of an arrhythmia being

present,” but any ECG will not confirm the arrhythmia (and the user may even not initiate the ECG).

        In view of these disclosures, “when the activity level is resting” is not fatally ambiguous to

a skilled artisan. If the activity level sensor detects “not resting,” that is, the sensor detects motion,

the processor does not determine that a discordance is present and the claims are not practiced. If

the activity level sensor detects “resting,” that is, no motion, but the user is not actually resting and

one or more heart rate parameters are discordant with “resting,” a possible arrhythmia is

(erroneously) indicated but the ECG measurement either does not occur or cannot confirm the

arrhythmia, and the claims are not practiced. If the activity level sensor detects “resting,” the user

is actually resting, and the sensed heart rate parameter is not discordant with resting, the discordance

is not determined and a possible arrhythmia is not indicated, so the claims are not practiced. Lastly,

if the activity level sensor detects “resting,” the user is actually resting, and the sensed heart rate

parameter is discordant with resting, a possible arrhythmia is indicated and the ECG is taken to

confirm the arrhythmia; only in this last case are the claims practiced.

        So a skilled artisan should be able to discern when the claim limitations are satisfied and

when they are not. The specification and claims do, therefore, sufficiently define the metes and

bounds of the claimed inventions, and claims 1 and 12 are not indefinite because of the “activity

level [value] is resting” language.




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                       941 Patent – “discordance”

 Claims           AliveCor’s Proposed         Staff’s Proposed            Apple’s Proposed
                  Construction                Construction                Construction
 941 patent:      No construction             “inconsistency”             “inconsistency”
 “discordance”    required.
 [cls. 1, 12]
JC at 4.

       The parties’ dispute regarding the term “discordance” is mystifying. The term is admittedly

uncommon, but it has a customary meaning, and neither Staff nor Apple offer any reason why

substituting “inconsistency” clarifies anything. See SIMB at 32-33; RIMB at 35-38. To the extent

any doubt exists about its meaning, it is used in numerous passages of the specification without any

apparent lexicography, so it should not be difficult to ascertain the scope of the claims in practice.

E.g., 941 patent at 1:61-2:1, 12:47-65. Therefore, the term “discordance” is accorded its plain and

ordinary meaning.

                       941 Patent – Order of Method Steps

 Claims           AliveCor’s Proposed         Staff’s Proposed            Apple’s Proposed
                  Construction                Construction                Construction
 941 patent:      While some ordering is      While some ordering is      Should be performed in
 order of steps   dictated by logic, the      dictated by logic, the      the order listed.
 [cl. 1]          limitations of the claim    limitations of the claim
                  may be performed in         may be performed in
                  different order than        different order than
                  recited.                    recited.
JC at 4.

       Independent claim 1 covers a method with five basic steps: (1) sensing an activity level; (2)

sensing a heart rate parameter when the activity level is resting; (3) determining the presence of a

discordance between the activity level and the heart rate parameter; (4) indicating the possibility of

an arrhythmia based on the presence of the discordance; and (5) confirming the presence of the

arrhythmia using an ECG. See 941 patent at cl. 1. As with the other asserted method claims, claim

                                                 30




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1 of the 941 patent does not expressly recite any particular order of steps, so presumptively there is

none. Interactive Gift Express, 256 F.3d at 1342. The parties nonetheless have two disagreements

over order.

       First, Respondent argues that step (2) must be performed only after step (1), while

Complainant and Staff argue that the two steps may be performed simultaneously. See RRMB at

22-23; CIMB at 36-37; SIMB at 34-35. As Respondent acknowledges, the specification discloses

an embodiment in which both activity level and heart rate are “continuously and simultaneously

sensed.” See RRMB at 22 n.11 (citing 941 patent at 5:27-31). In such an embodiment, whenever

the activity level is sensed as resting, the heart rate (which qualifies as a heart rate parameter) is

necessarily sensed simultaneously. So step (2) may be performed simultaneously with step (1).

       Second, Respondent contends that step (5), the ECG measurement, must occur last. See

RIMB at 38-39.       Here, too, the specification refutes Respondent’s contention:           “In some

embodiments, an intermittently sensed [ECG] is caused to be sensed in response to both a

continuously measured heart rate and a continuously measured activity level.” 941 patent at 11:35-

38; see generally id. at 11:22-42. In such an embodiment the ECG “electric signals” could easily

be “receiv[ed]” before both the discordance is determined and the possible arrhythmia is indicated;

certainly nothing in the specification rules out the possibility. See id. at cl. 1. So step (5) need not

be performed last.

       Therefore, method claim 1 of the 941 patent is construed such that the step of “when the

activity level is resting, sensing a heat rate parameter of the user with a second sensor on the

smartwatch” may be performed after or simultaneously with the step of “sensing an activity level of

a user with a first sensor on a smartwatch worn by the user,” and the step of “receiving electric



                                                  31




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signals of the user from an [ECG] on the smartwatch to confirm a presence of the arrhythmia” need

not be performed last.

SO ORDERED.




                                                    _____________________________
                                                    Cameron Elliot
                                                    Administrative Law Judge




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               United States Patent and Trademark Office

                                     February 25, 2021

TffiS IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM
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U.S. PATENT: 9,572,499
ISSUE DATE: February 21, 2017




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                 Under Secretary of Commerce for Intellectual Property
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c12)   United States Patent                                              (IO) Patent No.:                  US 9,572,499 B2
       Gopalakrishnan et al.                                             (45) Date of Patent:                      *Feb.21,2017

(54) METHODS AND SYSTEMS FOR                                        (52) U.S. Cl.
     ARRHYTHMIA TRACKING AND SCORING                                     CPC ........ A61B 5/01055 (2013.01); A61B 510012
                                                                                             (2013.01); A61B 510245 (2013.01);
(71) Applicant: AI!veCor, Inc., San Francisco, CA (US)                                       (Continued)
                                                                    (58) l<'ield of Classification Search
(72) Inventors: Ravi Gopalakrishnan, San Francisco,                      USPC .................................................. 600/508-509
                CA (US); Lev KorzJnov, San                               See application file for complete search history.
                Francisco, CA (US); Fei Wang, San
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( * ) Notice:     Subject to any disclaimer, the term of this
                  patent is extended or adjusted under 35
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(21) Appl. No.: 14n30,122                                                                       (Continued)

(22) Filed:       Jun. 3, 2015                                      Primary Examiner- Nicole F Johnson
                                                                    (74) Attorney, Agent, or Firm-Wilson Sonsioi Goodrich
(65)                Prior Publication Data                          & Rosati
       US 2015/0265164 Al        Sep. 24, 2015                      (57)                       ABSTRACT
                                                                    A dashboard centered around arrhythmia or atrial fibrillation
              Related U.S. Application Data                         tracking is provided. The dashboard includes a hear! or
                                                                    cardiac health score that can be calculated in response to
(63) Continuation of application No. 14/569,513, filed on           data from the user such as their ECG and other personal
     Dec. 12, 2014.                                                 information and cardiac health influencing factors. The
                      (Continued)                                   dashboard also provides to the user recommendatiollli or
                                                                    goals, such as daily goals, for the user to meet and thereby
(51) Int. CI.                                                       improve their heart or cardiac health score. These goals and
     A61B 5102               (2006.01)                              recommendations may be set by the user or a medical
     A61B 5/04               (2006.01)                              professional and routinely updated as his or her heart or
                       (Continued)                                                          (Continued)




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   di~easc such as c~rdiac dis,1mm1 induding a1Thytl1r11ia and                         ciimputifil! devke snch 11s a Google Glass, 11 wrjs1-wom
· a!,ditl fihrillai:io u.                                                              compullng d1wice such as a Siim ~ung Galal<y Gear Smart
        CanlioV«$Cllfo1' di~onse$ are tho lei1,li11g cause of doath in 25 Watoh, <lt~.), a tahkit comput1ir (e.g. aoAppl,1 iPnd, an Apple
   1he world. lu 2008, 30% <J.fttll glob~l ,fo:1111 c1;m he 1•1ttdh11ted               iPod, ,1 (1t1ogle Nexus tablet, u S~msung G11!axy Tab, ~
   to cardiowrncuw.rd($efJS~H. lt: i~ al11) ooli1nated tlmt by 2030,                    Micr<J~()ft Surfaoe, etc,), a immtphollo (e.g. an Apple
   ovei: 23 million peoplo will die from c,mliovascular diseases                        iPhone, o C'mogle No~u• phone, a Smnsung Galaxy phcme,
   anmwlly. Catdiovasouhit dise11se1 are prevakint in the pcJpu-                       i1tc.)
   l11tio1is of high-income 11Ud low-inQcmte cotmt:rics ulik:i,.                  .J(l     A11ortab]o computing device nr fil1 acCCJl!sory theteo.f may
        Ai:rhythmiu i$ a cardiac <Jondi1·.i(m in which the ele~'lrknl                  be ~oufigw:ed to continuously mec1$1JXe one or more physi·
   activity of the h~nrt i~ ittcgular 11r i~ fHstlll' (tacl:lycat'dia) or              ()!(1g\Q~J sigmu,; of a 11s<:1r, Thtj heart rnte of the ttstJr may be
   •lower (hra(lyoimlia) tlum n!Jm!k1l. Although many arrhyth-                         DOU1inO\l11HlY ll1CH!UtiX1. The co.ntllJU0\1$l)I lllell$1Wllll()tlt Hl(l}'
 . mias m-e Mt Jifo•threalening, ~mne can cause c,ll'dfoc urreil                       h~ mude w.ith a wri~t or 11rn1 b,111d or a pld:ch ill c,1mm11ni-
   m1<.! even $1Jdcfon ciml:iac d¢F-1t!J. Atri,11 fibrilfoti\ln i6 th~ n1oit is cat:lo11 with thll portable compmiug dwice. Thti portable ·
   cornmQn ciordi~c ,1n:lzyttuniit. In atrial tibrilh1tkm, efoctric,1.I                to1up11ling clevice r1wy hove lo.tc!od oi11n (e.g. onto a nntt·
   ~amduct.i()ll lhro11gh the ve11tl'icle1 ,1.f h~i1rt is itregnh1r aud                 tr,msito1·y C()ll:lpUtt).r rnad,1ble medium of tlw computing
   di~OtJl,l1Iti:A."li. While Htlfol llhrillation may cauge no symp-                   devkc) ,md e1<:ioouli11g theroot1 (o.g, by Hprocossor rif tl1e
   tmua, .it .L~ Cl:!l:en umicfoted with p:1lpitations, slioruw~s Qf                   C(lmp11ling device) an appJi1:atkm for one Qt' mm¢ o:f receiv••
    bre,1th, "fo:i:rtting, cheit, p!t.in (tr ~,111gostive hG$rt .fai.lure, Atrkil 4,1 :iug tho continunt1.sly measured phy~iologicill ~1g1ml(s], at1a-
   fibrilfatlo1\ fa nlsn ,msooitlte<l wilh ,11rial dnt fom:u11i,11.1,                   lyi.lng the physiolog1cu1 sigm1IM, seivtlug tlw physiological
   which i~ a~$\ldt1tec:l with cfo1 migr~tfon and stroke.                              8igll!ll(s) tc1 u ronwte cmnputer for Ji:1rtho1 miEtlysis rmd
        Atrial h1irillation is typknlly diagnoB~d hy 1llking iu1 · storage, i1nd dlsph1ying l() the user 1.mulysis ,if the physl-
   elect.rocardiogr;un (ECG) Qf u H,1bjeo1, whid1 shows a clwr-                        ologkal signal(s). The hea1't t<tle m,1y be nwusuted by on</J Of ·
   i1c1eris!ic a!Jfol flbril!atkm waveform                                         45 m-1rc ek'<:--trodes pt·ovide(! on the C(>11lp11ti11g device or acee$-
        To treat ,1trii1l fibdllario11 1 a patfo11t may tak<1 tlledicalfons            s(11·y, a :motion se11.~or provi,fod 01, !he cmupuling device or
   ti.1 slow .lm1rt rntc oi· 1mxli(v the rhyth.111 <)fth~ h~art. Piitienta             ,wce8sQl'Y, or by in:uigi.ng anti lighting sources pmvide<l on
   may als() tillrn d11tic(1agulai:1J.s to prllv<mt atrial dot fonuatfon               (b.tJ coooputing devfoe or ~~c~~~oiy. ln respun6C lo the
· and stroke, Pttti~nti may ewn unde.fE,l Slltgical :iut~l'nll\lfon                    ~tlttlitmous 1t1~1m1reiuent nud 1•e,;;ord11tkm of t11ehe1m rnle of
   iucJudi11g ~ardiac ablatk)n to treac atrial flbriltatio11.                      50 the u~cr, pm:mn<!lers ~uch ,1s h"'1lrt rutc (HR.), h.,,art rate
· Often, a pntient with arrbytbrnia or atrial fihdlfotion fo                           wtiability (R-R ~·ndab.Uity ot HRV), at1d he11rt ml:e 11irbu·
 . m,111itored for exteridod pedods of time t,1 llll!ll11ge th~                        Jenee (HRT) n111y be det,mi1incd. These p11mmelclll and
   disease. l'<)r example, ,1 p,itiellt rn,1y be provided wi1.h a                       lurther pm·,m\eJeri may be imi!yft•d 1<1 (lt1tect and/or predict
· Ho.lt,\r rMuitor or other ambulatory eleclro,~i1diogr11phy                           one or nwre of all'ia] fi:brilhn.inn, tachyca1tli<1, brm!ycardfo,
· device to co11tim1ously mmrilor a p.itient'a hemt r-.ite au<l               ,.s       bigeminy, ll'ig,,'lniny, ()J' 11ihllr carc.ll~c 1:onditi,1.ns. A quanti-
   rhythm for tit least 24 hours.                                                       tative hear! health score u"1y ,ifoo he ge11erared. foim the
        CLU'ren( ambulatory electrocardiography devices ~uch a~                        determined pamnotel's, 011e (l!' m\lre (lf lb.ti heart h~al1h
   Holte.r monitors, ltowevex, are lypfoally bulky and difficult                       score, detecte<I hem-t conditiaas. ,w recc•lllmended 1rner
· for subjecm to ad111inister withau, the aid of ii mediC!ll                           acticm it~ns bused m1 the hea.rt heulth score lllllY be dis·
   pmfossionaL flor example, the uso Qf Holll.lr .m011ito.rs oo played l<l the u~er through a display of ll,e portable e<.1m-
   requires a patient to wear a bulky device on tlwir che~t and                        puti11g dsivice.
   prei)isely pla,)e a plmali!y of eliootrode leads Qll precise                            Tbc bfometric data 1tiay be upload~'li tlnt,1 i1 ren1(1le ~el'l'l;lr
   locAtfons on tbelr chest. These require1nents can. m:ipe<l!! the                    wh<lre (me (ll' mot"' cardfo1c ltJC::hnicim:w Qr c11rdiac ~pecfal.lsis
   Bctivities of the subjt'<:t, including tltei.r nati.m.u mtwt•ment,                  may mmlyze the hiometl'ic dal:a imd pnwide HCG iut<l.lpre-
   bathillg, and showering. Onco an ECG is generated, the ECG lis tatio11s1 diagi,oses, reconunendations such as lifestyle rec-
  is sent t() the patioi:1t's p.hysicia.n whti may .um]yze the ECG                     (munt;ndi1tio11s, and/or goafa s,ich 11s lifoalyle g\lals fot·
   and provide a diagnosis and otl1er recommendations. Cur-                            s\1bject. These interpretati<lll6, diagnoses, recormuendatio.ns,



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llndlor goals may t,.,, p11Jvid<'ed tv th~ ~u~joot through the             hei1rt eondilious. Oue or more of trniuing pop,1.lntion <latn or
cardiac dise,ise and/or d:.tythm management system on theil'              th.e tr:iJned machine learning algorithm mey be provided on
local computing device. The cmdfoc disease andlo:r rhythm                 a central conwuting device (e.g. be stored on a 11on,trirnsi"
n1ana1,ement system m.iy also i11du<le tools :for the su~ject to           tory comp1Jle.r rcndabfo medium of II server} which ls in
truck their biometric duta and tlw associated inter:pretatiolls,          communication with the local oompuring devlc.,~ of the
di!ignoses, recommendatioru, rn1d'or gonls from the cru:dlnc              uscrs rn:id the uppJicutiou execL1tcd thereon (e.g. through an
 tcchnidi1ns o.r specia.llsts,                                             lnt(lrn.et or an :inlm.uet conn,>ction.)
     An aspect of the presont disclosure indudos u dnshboard                  A 8et of instrnctim1s for man11ging curdlt1c health may be
cootc.rcd uroll.lld ~rrhythruia or atrial (ibrillntion tmc.kl.ug,         downloaded .from ·~.10 Internet These act of instmctions rney
'l'b.c. dashboard includes a heart score that can be ca.lcuhted 11) be confi.g=d to milomnticulJy .gcncmtc the cmtliac hcu!th
1n respcmsc to data from 1be user such as thddlCG and other               score. The cardiuc heulth score may be genernk'C[ using a
pcrsoru:il information 8uch as age, gender, height, weight,               machine loaming 3]g()rithrn. Tho machfoe learning r1lgo•
body fot, disoase risks, ~1c. 'l'.he mail! driver of this heart           rithm rnny gc~crate the cardiac hcult.h smrc of the user
scorn will often be the incidence o!' !he user's atriul fibril•           und/or the Ncommendauons and/or goab in rcsl)(.1!1SO 10
lation. Othc.r drivers and J11tluoncing factors i.ndud() tlw 15 blometdc data :from a plurality ofusc,rn. 'Ille set of fustmc,
3foromentioncd pGrsom~ inform.irtion. The heart score will                 tioM may bo conflgured to allow II medical professional to
be frequoutly rdat~d to output from a machine learning                    acooss the recc.ived biometric data. The c!ll'dioo hc'lllth score
~lgodthru that combines and weights many if not all of                    and/or the recomm.endatioos and/or goal~ may be generated
itrtluruciug liwtors.                                                     by tbc medical pro.fossiomil.
     'fhc dashboard will ofton display and track many ifuot all 20 'J:'ho s<Jt of instructlonH may bo stored on a non-transitory
oftli.e it1tl.ue11c.ing factors. Some of these lnflncndng factors         C()rttputcr rc11dab!c storage medium of one or more of a
may be ootc.wd dlre~'tly by 1he user or may be input by the               body-worn computer, a mblct computer, a 811ll.ll'tphone, or
1.l$OOfother.1uoblld1ealtlnnortitorltigo.rsensonk.-viccs. Tho             other t\1mputing device. These s01 of imtructiollS .uwy be
user may alsp use the dasliboard BS an atdal tibrillation or              capable of being executed by the computing device. When
,1rrhythmia managi;ooent tool \1l set g<lals to improve thcir 25 executed, the set oJ insll1:1cdons 11111y cause rho computing
heart score,                                                              device to peiform any of the methods described herein,
     The clashboMd m~y also be accessed by the user's phy•                inc ludlng ihe method for managing cardiac health described
siciun (e.g. the physician prcscrlhJng tho ~ystem to tho user,            above.
ruiother regulfil' physidan, or oth<ir physicfan) to allow the                Another 11spect of th.e present disclosure pnivid,1s a ;ys-
phys!dun to view the ECG !ltld bfometric dat11 of the user, .JO tcm iiJr managing card:ioc heulth. The system miw comprise
vfow the inJ.luencing factots of the user, at1d/or provjde                a sonsor for recording bi(llDetrico cl.am of a user ,uid a focal
fJdditlonal ECG intcrprcrntions, diagnoses, recommemfo•                   computing device receivit1g the biometl'ic data from the
tions, and/or goals.                                                      5CJlSOf. The local compnting device may be cmlllgllred u1
     Another aspect of the preient dli;clos1.1te p1.x1vldes n             display a cardiac heitlfh score nnd one or mote recorumen-
me!'bod for ru®11ging c1u·diac h.ealth. Biometric data c)f a JS dations or goals for the 111er to imprnve the cardiac health
nser may be teceive,1. A cardiac ltenlth score may be                     s~ore in response to the received biometric data.
genet'!.tt~'ll in r~'Sponse to t1re received biometric ch1tE1. One or         Tho •)'S!<illll may further comprise a rem<JI.I;) server recelv-
fll1)rc recommendatfotJ$ or goals for irnpmvlng the generated · Jug the biome11.fo data fl'om the l<;cal cotnp!ltl!!g device. One
~ardluc 1:teitllh score may be displayed tel the user. The                or more of the local computing devke or the remote $<.'!Ver
biometric data mny comprise ,1ne or more of au electroctl!'- 40 ruaycompri,e a m~chine leaming ,1lgoritluu whlc.hgeneta!e~
c'liograu1 (ECG), dietary inlhtlllation, stress level, ,1ctlvity          one or more of the cardiac h<'alth scor<J or lhe otJe or more
Jovel, gender, .height, weight, age, body fat percentage, blood           r<:.'l:•Jmmendations or goiils for the user. Too remote server
pressure, results from lm11g1ug scans, blood chemistry Vlll•              may be cunllgmcd for access by a medical profos.sfonal.
ues, or ge11Dtype data. The recommendations or goals m~y                  AlterMtively or in comb inatkni, one or more of tlw cat'di~c
be updated in response to the Wier meeting the displayed 4S health score or ulle or tnoru rcx:ommendatious or goals may
recomriwndations or goals. The user may he alerted ifone or               be generated by the medical pmfessiotwl and provided t(l the
more recoll:llllendatiollJi o.r goals have not bl.'en C<llllJlleled by    local comp11tiug device through the remote server.
the user, for eiwm11le if the usei.· ha$ not completed 011e or ·              111~ $(M,'iOJ' may comprise ,me 01· mo.oo of a hand-held
more rccommeudatlons or gtials for the day,                               electroca.rdiogm.1u (ECO) !ctL~or, a wrist-worn activity set1.·
     The an11lysis a.p11lied may be tlntmgh one or tum>e of the ;o sor, IJ blood J1Nssure monitor, ~ per1Umal weighing ieak, a
g~neratim1 of n heart h.e11l1h ~con, or the applicntio.n of ,m<:1         hody fat percenlllge sen~o1•, a pct!lmml 1h~i-1,101U~'ler, a pulse
or more m~chiae le~mirig a!gorithni~. Th.e m.nchfoe le,1mi11g             oxirneter se11so1:, (lt $11.Y 111ohile health monitor or se11sor.
algorithms may be tr11i11t>d US'illg population data oJ heart             Often, the ~eJtsor is coufigured to be iu wite!tJs~ comtmmi•
rate. The population darn may be collected from a plru·111ity             cati,m with tl10 Joe.al computing device. The loc~I computing
n:f tho heart rate m,mitoring e1u1bled portable computing .1.1 dcvico c,m1prises <)fill 01· more of II pers,11111! computer, a
d,;,vices or 11cco8SOJ'ie8 p!'(Wided to a plurality of use1$. Tho         Ja11top corup1.1te1; a palmtop 0om1mtor, a 1nb!et comrmter, a
trui11ing popufotion 11f uier,, nwy h,1vc haen previously                 ~martphnn.c, a body-worn computer, or tbe like, The bio-
.identilk~I as either havi11g atrit1l fibdll!!tion (lr not having         metric d11ta may C<J.111prise on@ or more of an el~cttomll'tlfo•
atrial llbtiHutio11 prior to the gonceati<H\ of di1t1.1 for etni.tlnu•    g1•am (HCG), dfotmy i11fom111ti1m, ~1tesi fove1, activity !~vet,
,1usly 11,easur<)(! h,;x1Jt rare, The data may bt) us~<l to train th~ .so gender, heigh~ weight, Ml~, body fat peroentagc, ,1:r blood
macl1iru;, !earni11g algorithm to 1-xtrnct one 01· mote feature.,         pressure.
fr()m any continum1s!y measured he,1It n1te dam and ldontHy                   Other physiological signals (lr p~ramcle1'8 s1.roh a6 physi-
attial (1brillatitlt1 or ,1th.it condltfons therefrom. After the          c,d iwtlvity, heart souttds, blood pressure, blood oxygm•
machine lcitn1ing algoril11m. bas been tl'alllcd, the machine             11ti<1n, blood glucos~, temperatme, activity, hrenth ,,01l1posi-
learuing alg(Jrithmrnay re.::.ogi1lr.e atrial fih!'lllittion from. the 65 tion, weight, hydration. level$, ,u. electl'o~n.c~'Phalograph
cvn1inuo116ly measured heurtn1te data of s new user who has               (REG), lltt e'l!liltt'(l!llYog.t;i,phj' (EMO), a mechiu1(lt1iyogoom
1101 yet beeu identified iti having 1.11rial fibrillation 01· CJlher . (MMG), >IU ele-:tro,i-mlogmm (BOG), etc. may al,io be



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 mmii"tored. The ·um mey also input use1°related health datf.1                   FIG. 1Z ·shows an exempfo.ry scrcenshot \lJ a tlrst ~spect
  such as age, height, weight, body mass index (BM!}, diet,                  of a goal. ~ml reoommend,1:t.ions ))!lge of the c.uxliac disease
. sleep level8, rest Jevcfo, or stms~ kvck One or mo1e of these              and rhythm JTIJJJ111gement system interface. or mobile app;
  physiological sJgnals and/or parameters may be combined .                      FKJ :12A Bhows an exemplary soreenshot of a second
  with the h.e11r1 rate data to detect atrfol fibdllation or other           aspect of a goals rn:td reronunendatioos page of the cardiac
  cood:ition~. The machine learning alg()rithm may he config-                dJ.~eaae ll!ld rhythm mamigement system interface or mobile
  ured to identify atrial flb.rlllatlo11 01· 01:her conditions !11           arp;
  respon.,e to heart nitoJ dilta in combinatim1 with one or moro                  f•'!G. 1:'l ,ihows an exemplary screenshot of H 11ier' i local
  of tho mher physiofogic~l signali an.cl/or p.m:mnetm.·s for                computing dovico notifying lhe user with o pop-up notice to ·
  ·Instance. Triggers or alerts ll'H!y be provided 1o the user in ! 0 mtiet their daily !'llco111.mt1.nd.ati0n~ mid go~ls; and
  respon~e tr, the .measurs:d physiologki,I signals and/or                       f/IG.14 shows an emhodimeot comprising a smart watch
  paratneteJ'S. Such triggers or alerts tnt'I)' notity the ui,~r to          which include;; at least one heart rate monitor ancl a'l ]cast
  take co.rrectiv., steps 10 improve 1hei1.· hei1lth or !MJl.itor other      one activity monitor.
  vit11I $ig11s or physiological par,unelcrn. The application
  Jm1ded ,into and e;v;eouted on the pom1ble compn1h1g ,wvke B                                    DETAILRD DESCRIPTION
  may provide u he.11th dMh hosrd integ11.1ti.ng t,nd dl$p1'iying
  hea,t rate h1formm:ion, heart heal'lh par11nw1e1·~ deterrr1i11e<l in           Devic~ systems, mid rnethod, for managing h<>all:h m\d
  1-es1mme lo the hellrt rate in.formation, other physiofogic~I              dis~"!'lse s,1ch as car<lfo~ disea!!1!s, including itrrhytllmia and
  parametei:s and trends thereof, an,lrecommended user m..1ion               atrim.1 fibrJllatlon, arti ·disclosed. In ])<11'tic11lar, a cardillc
  items <ll' steps to improvtJ heillth.                                  1() di~eao~ and/or rhythm 011.magijment sy~tem, according ttl
                                                                             aspc;;m of th,1 present d"isclosm·e, allows a user to conve-
               INC01U10RK1'10N BY REPHRllNCB                                 niently document their electrocardiograms (ECG) and otlter
                                                                             biometric dam and recolvo .reoommeodntion(s) imd/or
      All pl1bJlcations, patents, mu! patc1.1t applications n1<10-           goal(a) gene.rated by the system or by a phyBicinu in
  tio11cd in tl1l~ ,ipeciflcati,m 111.-e herein lnwrpornted by .l'<l'!~ >.s respome lo the do~umoated data.
  oreuce to tm, 8!11nc exlont ai if each Jmlivicltial publlc;,rtion,             The tcnu "atrial fibrllfation," de.noting a type of cardiac
  patont, or patent fi,Pphclltlon was ~p~>clflcQ.i.ly and individu"          arrhythmia, may also be abbreviated in either tb<l figures or
  ally in<lk:at1.1d lo be lnoorporu(od by .reference.                        desc,riptfon h,ire.in as "AFIB."
                                                                                  fl!G.1 shows a system 100 for carclfac disease and rliythm
          BRmF DESCRIPTION Of/ THE DRAWINGS                              .lo management. The sys!run 100 nwy b~ prescrib-.'<I for us~ by
                                                                             a user or su~je(.1 m1ch as being prescdbed by the user or
      The novel feah1res of'thc ~ubject matter disclosed h,ireJn             m.1hjeot's regular 01· other physician ()r doctor. The system
  me set forth with particularity in the :~1pendocl cfoims . .A              100 m11y COlllplise n focal computin,g de,,lce 101 ofthe user
  better under8tanding of the fomtures ru.'ld advantages of lhe              or st1l1ject. The looal com1m1fag devicl.'l .10:l may he loaded.
  pr,isent disclosure will be obtained by reforenc,1 to the ~s witl1 u 11ser intr.rfoce, daMboard, or otl1l.'lr ijUIHystem oftlw
  following detailed description tl:rnt sets forth ilh11trative              cru:diac disease and rhythm managemem system 100. !l<lr
  embl)(limti.uts, in which th" principles of the disclosure artc            example, tho local co.m_puting devictl 10:l lllilY be loaded
  utllJzed, and the accomp,mying drawings ofwhid:t:                          with a mobile sotiware appllci,tio11 ("mobile app") lO:la :for
      FJG. 1 d1ows a syst(•Jll for cardiac disease :and rhythm               Jnt,,rfaoing wi11t tfai system 100. The local computing dev:ice
  management;                                                            .~ may mrnpri~e a computing device worn 011 the body (e.g. a
      FlU. 2 sl10ws a How chmt of a .lllt.>fhod 200 :!or predicting          head-,wom co111p11tlng d,wice such as a (ioo11;le Glass, a
  and/or deteC'IJng atrial fibrillation .from R·R il\terva!. mea-            wri~t-woru C(!Ulputing dtwlco ~uch !IS a Samsrn1g Galaxy
  stu·ements;                                                                Gear Smart Watch, etc.), a tablet computer (e,g, ru1 Apple
      FIG. 3 shows u flow chart of a method for predicting                   ]Pad, an App.le iPocl, a Googfo Nex1rn tablet, a Samsung
  and/or chitcctl111~ atrial :fibrillation :from R·R interval me,9. 45 Galaxy Tah, a MJcroso:ll: Surface, etc.), a smartphoue (e.g. an
  surements and for p1'L'{licting and/or detecting atrial JlhrJl·            Apple iPhone, a Google Nexus phone, a Samsung Galaxy
  btion :from rnw head .rate sigru11s;                                       phone, etc.).
      f/10. 4 shows an embodiment of the system sud method                       '!11e lo,,al computiug devfoe t O.t may be coupled to om1 or
  of' tl1c ECG monitoring des~r.ibed 11erei11;                               more biometric sensors. For example, the local computing
      fiJG. 5 shows a tlow chart of a.n exempJm:y method to so device 101 maybe coupled to a handheld ECG monitor 10,l
  gm1emte o heart health scot'l:l in nccordanc,1 wJl'h many                  Th«) handhold ECG monitor 10:J may be ln ·the form of a
  embodime.nts:                                                              smartphone on~e a6 desc.rilied in oo,,owned U.S. patent
      PIO. 6 shows au tiKempJary method of generating a heart                arplicafam Ser. No. 12/796,188 (now U.S. Pat. No. 8,501),
  score~                                                                     882), S<lr. No8. l3/J07,738, 13M20,520 (uow HS. Pat No.
      FICJ. 7 shows a schematic diagr~m o:fthc executed appl:i• 55 8,301,232), Ser. Nos. 13/752,048, l3J964,49(J, l:3/969,446,
. calio.n descr1bed ber<'lin;                                                14/015,30::\, aud 14/076,076, the contents of whid1 art•
      F1G, 8 shows cxempfory scrcenshots of the e~ecnt,id                    incorporated herein by refr.rcnce.
  application;                                                                   In some embodimcuts, the bundbdd ECG monitor 103
      FK+, 9 shows m1 e.~empfory me!hod for cardiac disease                  may be a hamUtekl sensor coupled to !he local computing
  and diythm inaw,gcmcnt;                                                r,o dtWicc 101 wilh an intennediate pmt;;ctive m1se/ndaptcr as
      FIG. JO ,bows an 0Xen:1_plary rrwthoci for monitoring a                describ1..>d in U.S. Provisional Application No. 61/874,806,
  subject to detem1ine when to record an eiectrocardiogrrun                  filed S~p. 6, 2013, the contents oJ which are ioeorporated
  (HC(f);                                                                    herein by reforeoce. Thehlmdhcld ECG monitol' 103 may be
      HG. 1J. shows !Ill cxcmpl111y scr;;,'l'I!sl:.tot of a first aspect     used by the user to take ,m CCG memrnremcllt which lhe
  of a ooihboru:d i1pplication;                                          55 hfllldbeld ECG monitor 'l 03 =y seod to the local computing
      FIG\ 11A skiws !Ill cxrnuplary scroon:,hot of a scrond                 device by connt~:tl1111 :IO.fo. The conncctiim :IO:Ja may
  aspe~'i: of a claBhbonrd application;                                      comprise a wired or wircless cmmection (e.g. a Wifli con-



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                                  7                                                                          8
micti(ln, a Blut;1to(ltl! omm,1ctl(m, u NfC oonncction, an              co1mE.'l:1tiou 119a (11.g. a WiFi co.un~:ctio.11, .i et•lhllut' n,;11W(l.tk
 ultrao(l'IJf.ld signal trrurnmis~.ion o,mtwctfo.u, etc,), The mobile   connection, a DSL Internet conue,;;tion, a c116le Internet
 software 11pp:Jfoafkm lOfo may be oon!Jgnr,1d to i.ut,11fnoo           C'111.Jl,xifiot1, 11 l'ib,;r optk lntemel: CO.tuledio.n, $ Tl I11ten111t
 wilb the \lll<l or Juore biomctril! sensnrn hlCluding the h11nd-       co11no-ctili11, ,1 T3 IuWtltet connection, etc.), Pnrthet, a third
l1eld ECG mon.iwr 103.                                                  11Qt.Hllbj<c'-OI u~er nrny 11<,C<)~S the 1-emote ~e.1'V~¥ (1.1· clo11d-
     The klcnl computing device 101 may he coupled t(l 11               h11s,•d stirvice UJ with n tabk'! comput,ir or smartplume 121
 wrM-wo1'.11 biometric seiuMH' 105 through i1 wirod (lr wirelcs~        thro11gh ml internet ~()lll100lfoll 121a (e.g. ll WiFi ~Oll.ill:JC•
connection 105a (e.g. a WiF.i coonect\011, a BJuotooth coo-             a(.)n, a cellul,u· network c1,nnecl.ion, n DSL lntcmet conncc-
m:,iti<>n, a NFC qmu.i,itkm, an ul(ras(11.md signal triuiamis··         tiou, 11 cHble lurernet conneci:ion, a fiber optic J11tentel
si,m connection, etc.). The wtist-w,>n1 hlmn~tric seusur 105 1,J count1Clfot1, a Tl Iutern<:1( co.mwdiou, ,1 T3 I,1t<lmet ~~1ru1ec-
mny comp11s1) an activity monit<1.r such as rhose av~ilable             tkm, etc.). Further, a .fomth non-subject user may access the
:from Fitbit Inc. of Sm1 Francisco, CaliC ot i1 .:-llke Fuel.Band       remote server or dnud-basecl service .l:13 with a personal
available :lhim N:lke, Inc. of Ot<lg<m. The wrist-worn bio•             computer or ()ther computing device l2J thl.\mgh an Into.met
 metdc sensor 105 may also comprise an ECG sensoi· such as              cmmectiou l23a (l.),g, a WiPl ci.:\nnectkin, a cellular netw(\rk
that deS(U'Jb<-'<I !JlC()·OWUed U.S. Provisional Applioirtit1U No. 1$ connection, a DSL Intemet ,1mnei1tion, a ci-,llko Intarnet
 611872,555, th,: coutents ofwhich fo incorporated herein by            connl.'l:tion, a fiber opt)c .lmernet connectiou, a Tl lnl'ern~,t
reference.                                                              connecti(Ul, a T3 Internet conne1:1'l1m, et,:.). Tht\ first llOll·
     The loc11l computing dovk1e :I 01. 1n8y he collt1li.xi to other    subjcc'I user may comprise au adm.1nistrntor or nmuagor oJ
 biometric d,wices f.lH woll sucl1 as a p,CJJ.·scmal scalo or a bk1od   tho system HHI. The sc,Kmd .nnn-s1.1bj,1ct u~ei· may C(lmprise
pressure monitor 107. The bloo(!pressure monitor 107 may 20 a cardiac technician. The third non-snbjcd user may com•
cmmmmieal:e w.ith tlie focal dt'vice 10.1 through a wired o.r           prise a rcg11lar or presc.rlMng _phy,iciau of th(: user or
w:irokiss connection :I07a (e.g. n WiFi connection, a Blu-              subjeet. And, the :l.\:mrth nou-snbjex:t user may comp.rise a
tfooth c.:mn,xil'ion, Jl NFC COl11\eC(iotl, Ull lllltll~ound signal     cari:lii:tc sp,~·ialfa( who is not the \1~¢1' or ~n~j~x1t's regula!' or
 transmisAio11 connoo'tion, etc.).                                      prescribing iihysician. GcL1cr.iUy, many ff not all of the
     The kx:,1J comp1.1!ing device 101 may directly comruuni• 25 cmmnunication 'between vnrim1s devices, c:mnpute,R, serv"
cate ~1th a remoto server or cloud-baaed service 113 tl1rot1gh          ers, and clolld-based services will be secul'e and HIPA.A-
 the Inwrnet 11.L vla u wired or wireless c01m,1ction .lllll (e.g.      comp.llant.
,1 WiFi connection, 11 cellular netv,;ork connection, a DSL                Aspects oJ the present disclosure pmvide sy8tems and
Internet co1111ection, ,1 cab.le lntermi! co1mcction, a fiber optic     methods fur detiicting and/or predici:ing atrial fibri'llatiou or
Internet conucction, a Tl lntemct couneclicm, a T3 Internet 3IJ other arrhytltmirrn o:f a user by 01tpiying one or morc machine
cotmcctlon, etc.). Alternatlvoly or in ;,xlmbinat:ion, the foc,1]       lem11h,g"h11s1;.xl algoritl:u:ns, A portable computing d.evlce (or
computing dcv.ico JO.I may first couple with another Ioc,1!             an ac~essory usable wlth the port.ihle co.mputlng device)
compullng device 109 of th.i us,,r, such a~ a pemnml                    may prnvidc R•R .intervals and/or r11w hom1 rate 8ig11als as
computer of the user, which then comm1mica-ces with the                 input to an application loaded and executed 011 the portable
remote server or cloml•bMl>ti service :1:13 via a wire(i m .is 110111puting rkwice. The raw hear! rate signals .may be pro"
wireless conn,1etion l 09a (e.g, a Wifli connection, a cellular         vided using an electrocai-d:iogrnm (ECG) .in communication
network (1otmo<,'!1on, a OSL .urternet crnmectiou, a cable              with the portable computing device or accessory such as
lutemet co1111ection, a fiber optic lntemet co1111ection, a Tl          described in U.S. s~. No. 13/964,490 tiJedAng.12, 2013,.
internet connection, a TJ lnt(tr·net connection, etc.) The local        Ser, No.13/420,~2011led Max.14, 2013, Ser. No.13/108,7.'.18
computing device, 109 may compri~e software ,Jr l)t~r 4,J tiled lvfay .16, 201!, and Set No. 12/796,'183 filed Jm1. 8,
iut.er:li1ce for tl1Hll!lging biometric data ,'(11le;,-ted by the local 2010. Aloomatively or iu comb.ln11tion, the raw hoorl: -m!e
computing device Hl1 or the hiometric data d;ishboard                   signals may be provided ming an on,,board heart rate sernmr
lo11ded on the local computing device 101.                              of the portable computing devke or by using phot(1pk.>tbys•
    Other users may aoc<Js8 the palienr dam through the                 mography i:rr1plem6llted by an illl!lgi.ng soiu-c0 and n light
relllote e:erv,ir or cloud"bnsed sorvice 113. '111esc other 11sers 4:1 souice ofthe port11bfo comp11ti11g device. Altermtlivf'Jy or in
m~y include the user's reg1.1Jar physkia11, tile user's pre•            comh:ination, the raw heart rate siguals may be :from an
scribing physician who prescribed the sysrem 100 for use by             acc:,;ssmy device worn hy the user or attached to the user
the user, other cardiac tec:hniciauB, other Cil.rdiac specialists,      (e.g. a patch) and which is in coinmnnicat\on with the
and sys!<;U11 m.lminl5trat:)l'S and rllam1grn:s, For exampk1, a         portable computing device. Snch wearable at·ce~H(l!'y
:first non•sul\jed user may access the remote server or so devices may include Garmin's Vivofit Fitness Band, !1itbit,
clo11d-bi1sed service ltl witli a pnrsonal couipicter or otfair         Polar Heart Rate Monitors, N1cT\v Elcifanc,,'s B11liince Watch,
computing devke U.S tlll'ongb an Iutemet connection 115a                Basis Bl Hand, 'vfJO Alpha, Witltlngs Puls,\ UfoCORB
(e.g. a WiFi coun-.>clfon, a ce.llular network cormecdon, a             1fomt RHte Monito.r strap, and the like.
DSL Internet connection, a cable Internet cmmeclion, a fiber               R-R intervals nmy be extracted Jrom the eaw heart rate
optic fotemet connection, a Tl Iutemet comi,Jct:ion, a T3 55 signals. The R-R intervafo may be used to calculatchoortn1ttil
Internet cofillection, ctc:.), Alternatively or in combination,         variability (HRV) which may be analyzed in many ways
the first 11011-subje,:t user may acccs8 the t'emotc server or          such as using tim~'-domain methods, goometrk methods,
cloud-based service 113 with a focrn com puling device such             frequency-domain methods., uon-linear methods, long term
us a tabl..-t c'IJm_puter or smartp.h.onc ti. 7 thrcmgh un Jntern~t     comdation~, or the liJrn as known in the irrt. Altenwtively or
connection l17a. The tablet mmput<?r or gmmtphonc 117 oJ 60 .in comhinmion, the R-R intervals may be used for non-
the fll"lt non-subject 1!SL'I' may interllwe with the pernomil          traditional moosm-ements 8Uch as (i) cletenniuing the inttm:al
computer :U!i through a w]red or wiJ!;!)ess connection tl7b             betwe.en every other or every three R-waves to evaluate :for
(e.g. a WiH comrnction, a Bh,etoolh connection, ft NFC                  bigeminy <1r trigeminy or (ii) the generation of a _pe1fodic
coll!l~'Ction, an ultrasound. signal rransmis,ion connection,           autoregressive moviug; average (PARMA}.
etc.). Further, 11 second non,subjccl user may access the 65               The machine looming based algorithm(s) may allow soft,
re.mote scrwr or cloud-based ~crvfoc H3 wiili o parnoiml                ware application(s) to ide.tdify palt,,rns und/or fr.atures ofthe
computer o.r other computing device 1.19 through an fo.tcrmit           IUl interval ch1ta and/or the raw heartmte signals or data to



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                                     9                                                                          lO
    pred.ict and/or detect atrliil :fibrilfotion or other mhythmias.               'I11e systems and. metbods :for detecting an1.Vor predicting
    These ,,xtraeted and fobellcd features may be tbaturcs of                   ati:ial fibrillation or other conditions s11ch as ru:rhythmias
    HRV as analyzed in the time domiiin such as SDNN (the                       described herein nrny be implemented as sofavari., provjded
    stm1dt1rd. deviation ofNN intetvals calculated lWtir a 24 hour             as a set of instrnction~ on a n.ou.transitoiy computer rcocmble
    period), SDANN (the standard deviHtion ofthe average .NN 5 medium. A proccsBor of a computlng device (e.g. a tablet
    intervals cakmlaood. over short periods), RMSSD (thti square                computer, u smartphonc, a smart wntc.h, o sr.nar! b,md, a
    root offhe mean of the sum of'tbe squares oftlrn succe~sive                werui:ibfo computing device, or the like) nrny exc,;;nte lhis sct
    d-i:flbrcnces bctwc.,n uqjacent NNs), SDSD (the sl!m.dard                  of .iri~tmctions to n:.,c0Jvc the input data and <fotect and/or
    ds:.wiatlon of the successive ,lifferences between adjacem                  predict atrial fibrillation therefrom. lho soJtware may be
    KN~), NNSO (tho immb~r o:f JMir~ of $11<.:ce~,iiw J\"Ns that JO d()wnloadcd from an online application dis1cibuti<lr1platform
    d:U'f~r by lfl(i.re tluui 50 !U$), pNN50 (the pK1pmtiou ,)fNN50            such as the Apple iTuncs or App 8tare, Google Play,
                                                                               Amazon App Store, and the lik<:. A display of the computing
    divided by total number ofNNs ), NN20 (the number of pairs
                                                                               dcvke may notify the user whether atrial fihrillation or other
    ofmcn,ssive NNs tlrnt diJfor by more than 20 ms), pNN20                    arrhythtnins has been dcmek\l and/or J:f further me,1sttre•
    (the proportion of NN20 divided by the total number of 15 ments are requil"C'Cl (e.g. to perform a more accm·ate analy-
    J\"Ns), EBC (estimatud breath eycie), h'Nx (the mmiber of                  sis). The software m11y be loaded on itnd ext,'Cuted by the
    pair$ of ~1icceS$Wl:l NNN th!lt differ by more t:haJ.1 x ms),              portable computing device of the user such as with the
   pNNx (the pt<1p,.irtion of NNx dividt)d by tlw 01.11.nber ,if               proc!lssor o.f the computlng dt,-vke.
    NNs), or otlt~u: foatures known in the art. Alternatively or ln                The macWne foar11ing"b1mid t11gorithms or ()pcrations for
    combination, the ex1ractcd and labelled foattmJS may ,\om- 20 predi,:ting and/01· dete<-sting attlal Jlbrillation or other
   prise a nonlinear transform o:f R-R ratio or R-R flltio                     rnrhythmias may be provided as ~ service from a remote
    statistics wlth an itdaptive wdghtlng factor. Altemnllvely or              server whk:h may llucm~t or comttmnicato wlth a clknt
    in combination, the extracted lllld fobelk>d foat1:ll'es m11y be           progmru provided on the computhtg device Mthe user, e.g.
    tbatm-e~ of HRV as analyzed goometcienJJy such as the ·· ,.ts a mobile .ipp. The interaction or cmnmunicatlon may be
    sample density distribution oJ NN imerval durations, the
    sruupfo rfomity distl'lbution of diJforences between adjacetU
                                                                           ,s   through fill Application Progrru:n lnterfuce (AP[), 111.e ,'\Pl
                                                                               may provide acc.,ss to machine karnir.1g ope1~1fams :!br
   NN intervals, a Lorenz plot of NN or RR intervi1ls, degree                  mnking, clustering, cl!tssi'lying, and p.redktlng from the R-R
    of ukow o:f tho density dl.mlbut1on, kmtosis of the density                luterval nnd/or mw he11rt mto dati1, for exruuple.
    distribution, or other Jeatures known in the art. Alternatively                The machine le~mitig-based algotithms ()r ()perutio.rlS,
    or in combination., the extr11cted itnd liiheBed teat11r,1s may be JIJ pnwi<led thr,mgh a r,:m(itc server tmd/or on a local appli•
    fea11ire, of HRV ht the frequency domain surh os the power                 c,1tio1.1 011 a local computing device, may operate on, Je1.trn ·
    spe~"tr,ll density of dlJfere11t frequency b,111.ds indudlng n             frou.1, ,md make analytical ptedicfions from R-R in.terval
   high frequency b1tnd (HF, from 0.15 to 0.4 Hz), low fre•                    dJ1t.a or raw heim mte data, e.g. from i, populatkm. of users,
   quen-.~ ba11d (LP, fron:1 0,()4 to 0.15 Hi), and the very low               The R·R interval or raw heart rate data m~y he pruvided by
 · frequency hl111d (VLF, :frotn 0,0033 to 0.04 Hz), or other 35 the loc~J ,:;,.1mputing device itself <>t nn ,L~S(ldi!ted accessory, .
   :frequency domain:foamres as known in the 011. Alternatively                such as described in U,S, Ser. N<>. 13/964,490 filed Aug. 12,
   or in combinatlo.n, the extracted nnd labelled fean1res maybe · 2013, Sor. No. 13/420,520 filed Mi~·. l 4, 2013, Ser. N(), ..
   non,Jlnear foatuNs suoh 11s the ge(Jl.'lletrk shapes of a Po.it'.l-         13/108,738 filed May 16, 2011, and Sor, No. 12/796,1.88
   c11re pk.rt, the correlation dimension, the nonlinear predict•              filed Jun. 8, 2010, Tllll$, atl'i11l fibrillation end other armyth-
. ,ibllity, the poilrtwise eorrelmion dimcrt~io11, the approxl• 41J mias or other heart condition.,~ oru:1 be in a conve1tle11t,
 · mate entropy, !lfld other foatu.res as known in the art. Other              user-acces,sihle way,
   feattu·cs :fh1m the raw heart rate sigmils and dat1 may al$O be                 FIG. 2 ~hows 11 t1<1w chart of it method 200 for prt>i!ktlng
   analyzed, The~e foatures .include t(JK exampfo 11 generated                 and/(lt detecting atrial fibrillation from R-R Jntiim1l mea•
   1:rutm·egi·essiw (AR) modd, a ratio of coMecutiv<J RR inter·                ~urements, fo a st,1p 202, an. R·R i1ttet·val <)f a u~er i~
   vitls, a normalil!'.Gd ratio of ~onsecutive RR intervals, a 45 obrained. In a step 204, the obtalned R·R interval is anulyz¢d
   sla11dard &-viatio.n o:f every 2, 3, ()r 4 RR inte!'vals, or a              using one ni: mnr<> traditional heurt ral:e w1riabi!ity mea~l!re·
   recurrence plot of tho raw HR ~igoals, ainoug others.                       men.ts i:uch us, fo1• example, time domain. meMsunrn, fre·
         Tb<: featuro.s of the an,.1 lysis nn<l/or moasuromont may he · · qu.,ncy d.<>m,1h1 meaa1m,;, 1md n,in"linear he,1rt ,:ate variabil-
 . selected, extracted, ood labclle<l l<l predict atrial fibrillation · ity. 1tt a ~tep 20/i, tbc ohtalrwd R-R in1e1-v11l is mmlyz<o"I:! usiug
   or (>tiler nri:hythll1ias in rc,al time, o,g, by po1·foo.n.ing ()JJ.e or so ()Ue OI' .morll non-traditional heart rate variability tw:ia~t1rc-
   ttt•re m11d1ine loaming oper<1tkm, Such op,:mitioM ,11111 be                ruents auch as, fol' ctx,1rt1ple, RR (n.,-i) for Bigenuny fmd
   sd11¢ted :froni amm:1g a11 o_pomtiotl of nmklng the foatuce(s ),            Trigcminy detoction., and the gc.n1Ji-,tio11 of ,t p"'1fodic nutor<:1•
   cfoss]fyirig tb.e fouti.1J'IJ(1;), laheUi11g 1h11 featimi(s), prcdkting     gre5sive m.ovlng ~vorage (PARMA), !u a step 208, a f°t'll1tmi
   1he Jeatm·e(a), imd clnstori11g tho foatuN( $). Alteroatively or            selectiim orcur~. fo a ~tcp 210, 11 re,c1l tiine predktim1 or
   i.1.1 combh:wt:ion, the exuact~'<l fenru.i·es may be labelled and ss detei.ition of atrial fibtillution., au,V\lt in a ~1cp 212, tb.e h,Jtut
   saYed fot nffliMtrniltitJg ofa n',ac;hitte lcartti11g algoritl1111 or       rate variability mcasut'etn(mts may he labelled 11ml saved lbr
   ~et of machi11e teaming optirntions. For &11mple, th-0 opent·               1ififo1e tniitting ,1f 11 nuicllimJ letorn:dug 11lgod1hm or ~et of
   tions may be st.l!ected fa11n any of lhos<J above, A1w l\Ull\ber            uw;hin"1 le1U'l1ing op,'Kati,ins, and then imiy he ~l!b~eq1.1en(ly
   ofmMhi.ne lellrning algol'ithrus or methods ttmy be 1:rained                used t(l mrll:w a real time pret.Jicti()ll uudfor det·,x:tfo.n of ,ltrit1l
   to ide111ify altial Jibtillation or other conditions such as 60 librillalion.
   art'hythmias. Tlw~e may include the irne <>f de~isk)ll tree                     FIG. :1 shows a Jfow chtirt o,t' 11 metbod JOO .fill' prix!icting
   l<mmhig such as with a ra11d1J!U fot•est, 11ssodatl1u\ rule                 and/or detCGtlng atrial fibrill,iti,m f'i\)m 'R..f<. ilttern,l mea-
 · lea1:ni11.g, artit1da1 ne1Jrul network, inductive logic p.rogmni-           sure1111mt~ and fol' ptedicting and/or dete,.,tiug 11t!'.ial fi.bril-
   ming, support vector L11i'lchine$, clustering, B11ycsian 1wt·               h!tio1, from raw heart rnt1J aignal~. ln ,1 ~te11 302, rilW hem-I:
   W(ll:K6, .reinfo.r~n1e11t leai:ning, r~'Prea0nt11l:iou learning, o5 mlll 8ig111.1l~ are obl<tfoe<l from, for eliample, an F\CC:/ Qf a
   s:irnilarlty uud rnctric lenming_, sparse dictlot1a(Y 11,mroing, ,11·       u~er. Iu a step 304, R·R interval~ are ob1·,1ined frmn the ·
   the lil~e,                                                                  obtained mw hemth signals, ln 11 step 306, the obtaimxt R·R . ·



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                                l1                                                                                     12
h,t,1rva1 is ani1lyzcd ushig or1e ,lr more tr1iditlo11al heiirt rate            That ii, a partlcuJartrigger l'l'.le~sage may be pmvlded to the
vm'ial,.ility mcasurornonts such as, fo1· ,:x~mplo, time domain                 user lf two ot mo.re prn•dote1111h1t'd tht'll6llold(~) for the
r.neasnres, :fl"c-quency domain measures, and 11on°1iooar .b.er.1rt             phy~iofogi1:,11 pi1rmt1ete1·(1) ar,: met,
1·ate variahility. Inn step 30!1, the, obtained R·R interval is
a11alyze,:l using one or nKll'e uon4raditlona1 heart rote V'<lri•                  Table I below shows an exemplary table of pltysiologici,J
ability mea~uremonts such a~, for examp:le, RR (n•i) for                        param~'f:e.rs that may be mea&11red (lc'11 column), foatm·os of
bigem.'tn)' and tr.igeminy det,;),iion, and the gen,mrt:\011 of a               interest t(1 be mei111ur,id (1r lhroohold typ~'II to he mer (middle
periodic autoregroosive moving av,:rage (PARMA). In a step                      column), m1d exemplary trigger messages (right column).
                                                                                                    TAflLl:l 1


                                                                          H~xt Raw Vi1.1-JltbiHty (llR.V)1 Nou" Mtr12mu ECO; S(lt:t YiJ1H' Do0t-01·
                                                                          i1noc1· Trnn,roau,t\on ,,r Rll 11\!~rvai,
                                                                                                                    Abrt::irm;!I.! Jieru1 Som:r.;
                                                                                                                     Ml/.lfW\UXIF.CO;
                                                                                                                     ~eo )\1ur Ooclor
                                                                                                                     High/Low lll,>od Pro.,.IJJ·•;
                                                                                                                     Ta.ka ll.P Medioatbn: Hxerd,.,
                                                                                                                     S~c ':i'bur Dti<1tor
                                                                          (); Si;J.tll.mti()J•1 02 S1il1~.rMio1\     Hi~h Riek of Hy110V~lll:il,1tion:
                                                                          Vru·l.!1Mmy                                High HJr<l.: of Sk:l~p Db'n«lex suclt as
                                                                                                                     Apw.i1h;
                                                                                                                     ~cti Ybt1.t Do(;tor
                                            Blood Gluoa,o                                                            Hip)I Risk llf Hy1»glyeomfa;
                                                                                                                     $WIJ Ytitu· D()ol:(,r
                                                                                                                     Fcw<il') 'fake OTC F-twf~r ti(~dtc:11.tian;
                                                                                                                     SWtl Yl,)lU' Dtl(lt\.>l'
                                            l'lir,i,,i{Ac,tiv.icy         Gu.It, Chc~c (.\)11.ipre311!ous, ~p~e1d~   MNI.itoi' ~enk,r or lr,faut P()iflmr,J .'i,!'J, H'
                                            (;wct'Jleicm1'1'1!1r d:ita)   l)fa1•11o0                                 l'.!lt'llfo;/i.n±Af1t J11W t1~1M
                                            Hle1:t.f0Ci1rdii}!)111:m      'f!!.X-r 1',atu1·0, (E,g, QT, Ql¼~, PR     High Risk ,,f Co1t,it1 Cudho Dl"1,s<~;
                                            (ECG)                         hito1;1/1Js, ERV; et,i                     Sloop .!ipttea;
                                                                                                                     S•• Y0u, Doct,H'
                                            !he?rth Cont~'l.nt                                                       Hl&h .Ri,tk of Cwtai.u Ilontnl Di<c,..,
                                            (8 t()llt.M.l,~<.r dnW)                                                  DW~J~WI,
                                                                                                                     s~o 1'but




:no, fila1Ut~• frmn 1Jw ohlftined hei\rl: mt,i fea1ur,1s 11t-0 3          The lll11<Jhine li~1rning hi,~ed 11lg(1litbn11 or (lpe1•utlons as
 analyzed using one or more of wavelet fi:,1tures a11d shap~ ' described hercin may be used to dm-rm.iM th(; t1ppropril1t,:
 based :featmes from a Hilbert transform. ln a s·rep 312, a          trigger thresholds in response lo 1he raw physiological data
feature selection o,oms. J.n a .step 314, a rClll thue predfotio11   input nridior 1.1~~l'inp11l physiological p~r~m,iters (e.g, age,
 or dcte~'lion of 11trial tlbrillation, undlor in u step 316, the    hdght, wcight., gender, etc.). JI catures of the raw physiolog i,
h<'<1!1 rate vr,rdebYlity 111.<)asurli!ment~ m11y be tabeU~d and 40 cal clat,1 input may be selected, extracted, lahelloo, clustorcd,
 iaved for oJllioe tmit\iug ()fa tm1chi.n0 l~aming alg,.idthm or     and/or at111ly1.(id, 'fhes<1 pmce,i.,e<l fot11ums nwy then be
 iet of niachin,;, leamiug opcr<ltl\lns, m,d U1en may b,1 subse•     !llltllyzed using one or mo1·e tuiwhil'.K, learni11g <)p11r~ tio.n m11ih
queutly used to n1ake J reul ti1ue Jl""'Clktion and/m (le~tion       i.11 riu1king the foaturo(s), cl~s1ifying the fcall.1te(i), predict-
of atrial Jlbrillation.                                              ing the foatur,,(s), and cJrn;tering the feah.mi(s). The various
    Although the a6ow steps show methods :200 rwd :300 in 4 5 m.achi.rie lci1.rning algorithm, described h~'reln may be used
.~cco1-dauce wit1t mmzy emhodlme:nts, a pero<>ll of ordln1Jry        to Malyze the fentmes to (Wlt~t and predict houlth co!!d.i"
.11<:ill ill the art wm r,x,ogrtize many vat'iutk,11s based 011 tl1e titllls t,lld gemirnte 1-ecoJnmeudatiM~ ()r 11,ei: actl<ln items t(l
 teachlng described herein. Tile ~teps mny be completed in a         lmpxow ·(he health of tl!,1 usw, For in,~!an(,e, di.,, machilrn
diffei·ent order. Steps may be mlded o.r deleted. Some of the        loaming 11lgorithms may be tnlinod t(l identify atrial fibril·
 iteps may comprise sub-steps. Many of the steps may be .lo lation or olhcr conditions in response to the non-heart rate
1-cimated as ofte.n as beneficial to the user or 8Ubject.            physlological parameteJ'(11) 11uch as age, g~'tld,u-, body mass
    Or1e m more of the steps ofmdl10d '200 and 300 may be            index (BMI), activ.ity level, diet, and olhern in combination
perfonned wil'h clrcuJtry, for example, one or .more of a            witli tile raw heart mte data and HRV that can he extracted
pmcessor or a logic circuitry such as a progrmnmable array           therefrom.
Jog)c for a field progrmnnmble gate array. The cirtuitry may 5:1 The systems and methods for monitoring oni.\ or more
be programmed to provide oue or mm-e of the steps of                 physiologkal parameters and providmg a trigg,1r message to
methods 200 and 300, and the program may comprfae                    the uier if the one or mote physiological parmnetr.!r me<.'ls a
 pmJp~m, .lnstnictlolJJJ ~t1Jred on a nou-transilt)ry computer       pre-det0m1i11ed tlmllllmld(s) desciibed herein may be impJe-
readable medium ox memory m programm~l step~ of /he                  mcnt~'tl as Stlltware prov.id.i~l as a Mill of i11strueti0tm on a
lo,i;lc dn-,iitry such as the progmtt11tl.!lbJ~ array logic or the m 11on•tmr1sitmy computer readable medium,. A processor of a
field progratl.1JllabJe gate array, for example.                     computing device (e.g. a tablet comJmt,~, a smartphone, a
    A~pocts of the present disclo~nre provide systems mid            sniart watch, a smart band, a weamhle compntir;g device, 01·
methods for monitoring one or more physiological parm:n,.            the like) may ,1xecutc this set of instrnctious to receive rite
~ters arid providing 11 trigger !1!"11Sage to the u~er if the one    input data and dewct audlor predict atrial J.ibrilla·tion there•
or more phys.iologjcal parameter meets a pre-<l,3termined or r,5 fn.1m. The software may be downloaded from an onli11e
learned tl1reshold(s). '.two or m()re of the physfological           i1pplication dfatrilmtion platfom1 such as the Apple iTu11€s or
parameters may be combin~d to provide a trigger message.             App Store, Google Play, Amazon App Sime, @d the like.



                            Copy provided by USl'TO from the PlRS Image Database on 0J-Z9-202l




                                                                                                                                                                            AlivelTC 00007672

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                                  13                                                                       l4
    The software may bo loadixl on and exocuted by the portable             adhesives and/or conducting gels were used, Again., this
   computing devko of tho usor such as with tho proc0ssor of                .information oou be indudiug ln motadat11 for indexing and
    the computing device. The software may also provide both                 searching purposes,
  the trlggering appllcmkm descr1b11d herein aud tile her1rt rate               The ECG slgruil data can be c<1nl:inuously reconfod ove.r ·
   ffi()rtitoring and analysis for detecting atrlal fibdUation or           a p.redetermlned or variable !e11gth oftlmo. Continuous IlCG
   oth~x heuri: conditions describt-'<! be:i:el.t1,                         recording devices cun record for up to 1, 2, 3, 4, 5, 6, 1, 8,
        Jn an embodiment, 11 meth.od ru:id 8ystem for longitudinal          9, 10, 11, 12, 13, (Jr 14 clays, Alternatively or ndditionally, .
  monitm'ing of a patient's or any consumer's (alrer referred               the ECG dut1.1 can be recorded (lll demMc! hy !he pa1ie111 at
   to as "patient") health using v11rious DCG mDrtitoring                   various dioorete times, such as when the patient feel.~ chest
    dc'Vices ls described hereiu. 'Ute ECG monitoring d~'Vkes 10 pains ore,: periences other nn11~u11J l)t' ab11orm,tl fol!llugs. The
   geuemte ECG signal dnta whkb can bi, $loxed in a dat11bl1se              0.11 dem,ind ECO riecordllr can have a memory buffet that can
   for forther analysis. The ECG data, which oim be stoi:ed iu              record a pretk:te1mined ain<llll11 <lf ECG <Ma 011 a rolllng
   a database along with other patient inform.atkm, can be                   has ls, and when activated I,y 11w patletrt:tv .tllcord a potential
   m1<uyzed by ~ processing dcvico., such as a co1np11tcr or                event, a predetermined amount of ECO datt-t can bo saved
   se!'Ver, nslng vmfous 11lgodthms.                                     1, and/or transmit1ed. The predetem1i1100 amount of ECG data
        Various EC(} monitoring or recording devices, hereina1ler           cllU include a predctemiined amount of ECG data hc.fo1·e
   refotred to as ECG monitol'ing devke~, can be used t() te(,;ord          11c1ivatiM and a predett'frttim-;d 1;m01mt of ECO data atkr
    the ECG data. For example, the ECG monito1:ir:ig device c,rn            activatiou such tnat ,, window of ECG data i$ ci1pturerl d1iit
   'be a lrnndheld, portabfo, or wearabfo smarlphone based                  eucompasses the poten1ial event. The time petiod between
   dL'Vke, as \ks~rihed in U.S. Pal, No. 8,301,232, whkh. ls 20 ECG mc<)l'l.lings may he regular or irreg11lar. For exa.mple,
   ll1;.>rein incorporated by reference Jn its entl!'ety for all ·pur•       the time pel'.iod 11:uiy 11c once a d11y, orice a week, 011ee a
  poses, A sm11rtphm1e based device, or a device having                     fil()nfh, or at smne other pi:edetermi11ed in.terval. The FiCG
   wireless or cellullll' rnlreommnnication capabilities, cm.1              nx:ordings may be lllkell at the same or different time~ o:f
    tran~mit the RCG data J() a database or serv~>r c\ireody                clays, uuder ,1J1t1llar or di ffetent drcum~ttln.ces, ai de,cribcd
   ih.riJ,1gh 1he .internet These type$ ofHCG molll1oring device~ 25 herein, One nr more ba$di.ne ECGs ,1,m be recorded whifo
  as well a~ 0th.et RCG monitodng devlces .inolude JXH:tabfo                the 11atie11t ls free of 6ytuploms. The bi1.6eline EC',Gs cim be
   devices, wearable recording devices, event rt-'Cordors, and              periodicr.1l!y reQorded. 1.1nd 11redeterU1ined .itt1erval1 su.cVcJ1:
   Holter monitors. Clinie11l or hospital h1ised ECG t~\Qordu.1g            cin-demand. The same ECG rnco.rding device 01· different
   devices can a[$() he used and integrated .into the 1ystem..              ECG recording 1:levice.1 may be used to re.cord th~ variou~
  Such d,wices may be able 1o trllll~tJ:.,it stnred F,C(i data .% ECCr ,rf a porti,mhir 11ati<:i11.t. All thi6 iufornu1tlrm may Ile
   thro1igh a phone line or wirelessly tbmugh the lnte111et or              tagged to nr assocJat('/41 with the ECG d11tr, by, for exmnple,
   cellular network, or may lllWII to be sent to a dnt11 (;(lllooticm       fodudiug lt in the 111etadati1 for i11dexi11g !Ind s,11\l'CWng
   cente.r for duw co.U.iction and proces~siug, The ECG data cm1            purp06<lS,
  be 1:,1gg..,~l with 1he type <Jf ECG .m,mioc,d11g device used t<l             The B03 dat11 CUii be tini-0 stou,ped and cm1 be !lllt\Qlakd
  rooord the data. by, for example, including it in nMtKh1ta for :15 by th,1 patfont or he11llll cw:e 1n·CJvider to deBcrihe the dr           0




  in,lexing and searchiug purposes.                                         cuJnMances during whidt the ECG was rc'Ccut!ed, precedlug
        Tl1e ECG ll1<ll1Jt<:lting d,wices ca11 be slugle lead devices       th(), ECG t.'l::cotdi.ng, 1H1d/or fol!ow.ing thii ECG t~ordiug.
  or multiple lelld devices, wl~re each lead generally teml.i-              For example, the $ystem and device c~n have uu l1ser
  nat~q with an ele~trode, Soniw e1ubc1din1ents may ,well be                interface fo.r <krtfl enlL'Y !"h11t ,~klw6 the p11tic11t to enter in
   leadfoss al\d have eleLimd~$ tlmt 11re integrated with tbe 40 llotc~ re,ga:ttlfog tl1e oottdhfo.ns nnd. ciroumgt,moes summnd-
  b;xfy (lf h(lll$ing of the d,wfo,i, and thc:rofot'C hnve a p.r~\le"       ing the ECG l'()CCrding. This 11dditfo1111l data Cl!tl be a[S()
  t~rt11ined rd111:io11ship with each oth~r, su~h as a J:bml                iududed as metudata for iude11ing aud se11r0hit1g Plll'IJ<l~l'IS.
  ~padng apart :from eiwh othei·. Th,1 (11i,1uu11ior1 rmd po$itkm-          Fot· t))Q.1mpll;l, focmfon, fo(Ki, ,.kink, medication i,ncVor dtltg
  iug of the siugl<J Je,1d in 11 si11gk lead devlc<J <>r of ea~h hid        o,m~tmiption. exerdse, res!, sleep, fodi11g~ ofstros$, ,uudely,
  of the multiple .lead device 01· of the ekctoodilS (lf tt1,1 45 pain or otlter umrnual or abnsirmal fedings, Ql' imy oilwr
  foadlt1Ss device ea11 be trant1.tnhted with the ECG (fota. The            cit-cumitimce that (118Y 111:fect 1hsi putfoJrt's ECG iigool ciu1 all
  lead ,md/or eJectrode pfoce1net1t 11wy be predeterm.ined imd              be inputted into the device, smart ph(IM, C()mputet <n' other
  ijpedGed to tl1l'l patient in fo~t1-ull'tim1s :for I.Ming the devio,1.    ()(Hllpl1tiug devic~ to be lrarn:mlil.led to the serv,,r or databMe
  Fm exmuple, 1he patlent nrny be instr111lted t,; position the             along with 1l1e ECG d!\ta. The amwtaicd data CtUJ i\[S()
   leads 1111i.l/or efoetrod~ with rdereuces to <l(\e      ,,r    more so iudude the p1,tk•J1t'~ id,,urlty or u1tiqt1<l idelltiiler 11s wdl as
  111mtmuical latidmm.ks on !he p:11fo11t's t\lrS(l, Any devfotiou          vi11·.ious p11tient cbaracterislici iuofuding age, sex, rac~, eth-
  .frmu the p.r~'!lelcrmine(l lead and/or de-0trode plucemm I c1m           nidly, and rdtMmt m~,d.ical history, The umtotated dnt!l ea11
  be uoM,·d by 11tc patient or uier when min11nit1ing the ECG               also be tirne ijtamped o.r h1gged so t:bat th~ ECG dat,1 calt ·be
. data. The lead ,ind. dcctmdc pfocemeut may be imHged 1rning               tm1tched or co.rtdated wi!:u the i1ctivi(y or citc11msta1we of
  u digital can1cra, which 11rny bti intllgt~foo with u mw:rt 55 int<Jrost Thi~ al~o al!owij compadson ,if the ECG befot1: 1
  phoM, ~nd tr11.t1~tnittdd witb thtl ECG data and &lurnd :in the           alter mid d.urit1g the 11~1:ivity <lr d1<t.1.1111s1unoo ij() that the
  database. The l,111d and efo::trode phwemont 1m1)' b<l .W!ll'koo          llffect (JU the ECG C!lll b11 determimid.
  on the pat.ie11t' s ~kin for in111gir1g aud for a~slRtiug m1bse-              Die ECG data mid the associated met~dat·a cal\ be t1·ans-
  q11cnt pfocemetr! ofthc leads and elcott\1dca. The ek-.:trodes            tnirtcd fr(1m th~ ,levicc to a server 2nd miwliaBe for st,1.rngc
  cart be at~ched l1l the >!kin 11aing e<mv,:i1tional methocls r,o and analys'ia, The trari~mi~sion c1111 be r.ial-thtte, at regI~ar
  which m11y hiclude MlhesiW8 and conducting gels, or tlte                                 w,
                                                                            lnlerv11!~ ~twh hourly, dl.\ily, weekly and any h\tc.rval i.n
  efcctr<Jdes may simply be pr<J~s,;d into contact with the                 h.itwoon, (Jr can he mi demand, 11te metadata facilitate~ fhl:l
  pathmt' i ikii.1. 111e Je11d imd el<X)trock• plac~ment nwy be             setiroh:ing, org111\1Ziug, au,1lyi.ing and relTieving \1.rECG lMlL
. chang,1d atk>r taking uue r,Nordinp; or ti:fl:1>'1' tro<>.rdlng .for e    Cou1pm'ism1 and mmlysis llf a ain.gle ~1lie.t\t's ECG data ~an
  p~edetennined or vm·iable amolml of time. The ECG data i\5 be performed, and/or cotnpadson of ECG data betw<l-On
  tan be t11gged wilh lhe numbe.rs of le<1d$ and/<1r electr<Jdes            patients 011n be perfotmcd. Por example, the met11data can ·be
  and tbe lead andkir eJWll'<Jde pl,1cemoot, iucludiog wh~ther              U6ed t,1 idcutiiy 111\d ~elect !l sub8et of ECG data wbe(e an



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                                                             US 9;572,499 B2
                                   15                                                                         16
  MtiVity t11' <litcnmstance, ~tt<.ih 11s 1he tuking ofmedici\ti\,n.,          occurrence an,Vor the ECG data precixliiig and/or followifrg
  c1cc11ned within a pl'~«leterm:ined. Hmo1mt of time !,1 the, ECG              the abu,1mmlity, advem1 event or di8ea$e $l!tte c,~1 b.:
  data, nw C(l.tnpoueuts ,if fue ECG ~ignal d11ta, $llch a~ the P              associated log,lther and mmlyzod. The l<:,1.1gtlt of tirn<> pre-
  wirve, T W(IVe, and QRS complex 11t1d the lik~, the ampli•                   c~<ling or following the abnorrmtlily n111y bo predote.rtnined
    tu<le~ orthe ,\1mponenW, the rntfos between thecmnpmtents,                 and be up 111 l to 30 days, or JP'tlatcr than I to 12 mo11t.hs.
     the width of the comp(>.nents, and the dellly or time sllpata-             Am;1Jysis (lf the titnll befort, the abnormality, adverse event
     tiou between the comp1ments, ca!\ be extmcted, compal't:d,                or disease $late 1nay allow the sy~tem to idc.rrtiiy patt'°rns or
    am1ly2t~1, and sto,rl'<l, iis ECG :foat1,mis. Por exarupl,), the P         can-elations of various ECG footi1res thai precede the occur-
    wave and heart mle can be exlrncted and mialyZ(.'d to ideuti:fy            rence of the abnormality, adverse event or disease Hllltt',,
    atrial fibrlllatlon, where the absent-e of P waves mid/or ,u:i I() 1h()n.iby 1irovlding ~dvance detectio.u or warning o:f the
    irregular heru1 mtc may indicate atl:ial fihrillation. The                 ahr1ormi1Hty, adverse event or disease .tale. Analy8is of the
    extmcted ECG feat1mrn can alij() b,1 incl!Klild in the 1netad,1t1;1        time foHowing the 11b1m1:mality, 11dverse event or disease
    :for indexing and gcm"Ching.                                               state can provide iufonnation regarding the t,-llicacy of
         'll1e chmiges in the ECG signal over time in view of the               treatments iu.dfor provide the patient or phy,ici!m info.rru.a-
· · activiti~~ and cimunstances cm1 be ,1omparcd with changes 1s tlon Jogm·di.ng disease 1migrossion, such a~ whether th,1
    ov,1r thm1 and ,,il'CU.lllstan~es obsei'V<')(l within a dul,1b<1$~ o:f     J.mticnt's ,,,,11<:lition in lmprovlng, war~ening oe itnying the
    EC(t"'s. Ct)n1parlsons may include any comparison of data                  sam~. The diagnosi8 and detennJnatlon can also be used for
    derived :from any other ECG signal or any database of                      lndex.lng by, for example, including it .iu the 1.netltdata
    ECG's or any s11bi;et of ECG (fata, or with ruua deriv~d from              associ,ited with tlm corrcspomling ECG data.
    any dalnbas,, of DCG's. Cl1anges i.11 any :feature of the ECG 20               As desctihed herein, various parameters may be inc.luded
    s.igru1l OV!i)I" time may b~ used for a relative cc1mpadson with           in. the database :tloug wifu tl1e. ECG data. Thege .may iuclud<l
    similar changes in any ECG dlltabase or with data derived                   the patient's age, gender, weight, blood pressure, rnedica-
    from an ECG database. '.l11e ECG (h\ta from the baseline                   lions, bclllivh,rs, hab:its, ac.tivitks, food consumption, drlnk
    ECG and the ECG data from a pote11tial advetse event can                   cans\11upli011, dmgs, medical hi~t,lty and other factors that
     be compared to <letenninc the changes or deviatiom foJm 25 may inJ.lucnc,i a patient's ECG ~ignal. Th,i addltional param-
    baseline vah1es. 111 addition, both the bl1selim1 BCG and U-1e             eters may or may not he used i11 the comrarisou of !he
    ECG data reem1ied from th(1 patie11t can be compared to one                changes in ECG signal onir time and circ111nstm1t.es,
    or more prncle'le:mlined template ECGs which can represent                     The conclusionR, dclennlnatiom, and/or insights into the
    a normal healthy condition as wcl'I as variom diseased                     patient's health g,memted hy the ~ystem may be cl1111tn1mi•
    condit.imw, such a~ myocardfal infarction and nrrhythmi8s. 3tl cawd lo the patient djrectly or via [he patient's caregiver
         The comparisons and analysi~ descrlh,1d herein can he                 (doctor or otber he,1l!hc,1re ·profossional). Pot ~:,,,.,imple, llm
    U6ed to draw conclusions and i11sights into the patient's                  pafa,nt can he sent an email or te,ct message that is auto•
    health status, whid1 lnc'ludes potential heallh issues fhat the            matically gcncrnlt-'{f by the systotn. The ,imai'I ol' lex!: m,~s-
    patienl may be experie11ci11g al the time of nuiam.1rcme1nt or             sagc can he a notification which di.reel~ ihe patient ta log
    at fi.tturu limos. Ccr11clusio11s and detenninntion~ may be .l.5 onto a ,~cure site to retrieve the full condt.mkm, del:<lrmi•
    predictive of future healtl1 conditions or diagnostic of con•              nation ar insight, or the email or lex! message can indude
    (litiort.~ (hat tlui patient already has. The conclusions :md              tlie condusion, determination or insi:,r)1!. Alternatively o.r
    dete1·mi1llltions may also inclt\de insJghts into the .-:llective-         additionally, the email or I.ext message can be sent to the
    ncss or f1sks as80ciated with dr1.1gs or medications that the              patient's cim,giv~r, T'h<J notification may nlso he prnvkfod
    patient may be taking, haw taken or may be contemplating 40 via an application cm a smartphone, t,1blet, laptop, desktop or
    taking in the fotnre. ln addition, tl1c ,·omparisons and                   0H1er eompu1ing device.
    r.malysis can be used t.o determine behaviorn and ll('.tivities                As descli bed herdu, the system can ideatify behaviors,
    that may reduce or increase risk o:f an adverse event Based                habits, activiti.1s, fixlds, drinks, medications, drugs, and the
    on the compm·isons and analysis d,iscribed herein, the UCG                 like which are associated with the patient's abnormJl ECG
    data can he classifiedacoordi11g to a level of risk of being ru1 45 1·eadl11gs. In ml.dilion to info.rming fht, p,lticnt of t11,iHe
    adverne evtmt. Par example, the ECG da!8 can be classified                 assochltions., the system ean provide instructions or recom•
    as notlllilL low risk, moderotc risk, hij1)1 risk, ood/or abnor•           ru,:ndations to the pafamt to avoki Lh.l\SiJ helm viors, hahilll,
    lllfll. The nomml aud abnomml desigm1t]on may require                      activities, fooda, drinks, medications, clrugs, oo<l the like
    hea'l1h care pmfossional ewluation, diagnosis, iu1d/or con-                which oire associat~d with the patient's abnonuul ECG
    firmation.                                                             -50 readings. Similarly, the syb'te.m can identify beJiaviors, bab    0




        Di!lgnosis ~ud (li,tcmtinalfon of an ~bnormality, au                   its, activities, foorfa, drinks, medkalior,s, drngs, 11nd th<il likc
    adverse event, ot a disease 5tate by physicia11s and other                 which are associated with normal or improving ECG read-
    btml1h care pr11l'e~sinru1 ls can be transmitted to the serve.r's          ings, and C!IU mslmcl or recommend that ll11: patient perform
    and database to he tagged wilh and ai;sociated with the                    these behavior~, habits, and activ]ties auc!lor consume these
    cnrrespo.ndlng ECG Ufl~J. The dbgnnsls and detemtination 55 foods, drinks, rnedlcatiom, and dr11gs. The patfout may
    may be ba~ei:\ on analysis of'ECG data ornwy he determin.ed                avoid a foh1re healthcare issmi, as instructed or recom•
    using other tests or exarnir1atio11 proc,iduro~, Prnfossioml               m,mded by the systein, by n:wdit'ying thdr behnvior, habils
    diagnosis and determinations Cfill be extracted from the                   or by taking any couille of' acU()Il, ir1ch1cling but not 1:im:ited
    pathmt's efoctronic heallh records, can be ent,um lmo the                  lo t;iking a m1,:dkation, drug or ndhenng to a diet or t'llei-cise
    system by the putient, or e11n be ~ntered into the system by 61) program, which mny bo a prcdetcrmlmxl cour~e of 11ction
    I.he m.,~licul pro:J-li,~~iona1. The condus.ions and dete.mi.lrm•          recorr.1m1mdoo by the system independent of 8ny analy~is of
    tions of tho systom C£1n be comp11re<l with ach1al diagnosis               the l:lCG (fata, EIDd/or may als() result :from lll/Jlghts .l<1am~d
    mid detcrm.iMtions from medicnl professions to valldate                    through this ~ystem mid m0tbod as described herein. In
    and/or refine the machine learnillg aJgorrt.llllls used by the             addition, the insight$ of the sy~tem mny relate to general
    sysrem. The time o:l' occurrence and duration of the abn.or• r,5 litucs~ and o.r mental welJbeing.
    malitv. adverse event or cli~euse state can also be included in                The. ECG data and the associated metadati1 and o(her
    Uw ~iabase, such that the HCO datu co:rrc,ipo11dlng with the               related dall'l as described hereiu o~n b~ si~ired \1.1 u Qel\trul



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database, a cloud database, or a combination of the two. The          medical diagnosis, as shown in step 432. If the risk level
data can be indexed, searched, and/or sorted according to             does agree with the medical diagnosis, the routine can be
any of the features, parameters, or criteria described herein.        ended as shown in step 434.
The system can analy7.e the ECG data of a single patient, and            Although the above steps show a method 400 in accor-
it can also analyze the ECG data of a group of patients, 5 dance with many embodiments, a person of ordinary skill in
which can be selected according to any of the features,               the art will recognize many variations based on the teaching
parameters or criteria described herein. When analyzing data          described herein. The steps may be completed in a different
from a single patient, it may be desirable to reduce and/or           order. Steps may be added or deleted. Some of the steps may
correct for the intra-individual variability of the ECG data,         comprise sub-steps. Many of the steps may be repeated as
so that comparison of one set of ECG data taken at one 10 often as beneficial to the us<--r or subject.
particular time with another set of ECG data taken at another            One or more of the steps of a method 400 may be
time reveals differences resulting from changes in health             performed with circuitry, for example, one or more of a
status and not from changes in the type of ECG recording              processor or a logic circuitry such as a programmable array
device used, changes in lead and electrode placement, 15 logic for a field programmable gate array. The circuitry may
changes in the condition of the skin (i.e. dry, sweaty,               be programmed to provide one or more of the steps of a
conductive gel applied or not applied), and the like. As              method 400, and the program may comprise program
described above, consistent lead and electrode placement              instructions stored on a non-transitory computer readable
can help reduce variability in the ECG readings. Tue system           medi?ID- or memory or programmed steps. of the l~gic
can also retrieve the patient's ECG data that were taken 20 circuitry such as the programmable array logic or the field
under similar circumstances and can analyze this subset of            programmable gate array, for example.
ECG data                                                                 Aspects of the present dJsclosure provide systems and
             ·Il tr t
   u•G. 4 · 1usaesancmomeno
   n                            b dJ      t f thesyseman t       d    methods
                                                                           .     for generating a heart .health score
                                                                                                                    .in.response to
method 400 of ECG monitoring described herein. Jhe                    contmuously measured or :11orutored p~ys_10logical param•
                  .                                            .      eter(s). The score may be given a quanlltalJve value such as
system can be llllplemented on a server or computer havmg 25 b                ded fr At I" 0 t 100 .r                  I (              t
               fl         · th •          • d        .b d h .           e gra       om     o ' or o        ,or examp e e.g. a grea
a processor or executmg e mstructtons escn e erem,                    score may be an A or 100 a good score may be a B or 75
which can be s:ored in memory. I~ step 482 '. ECG da'.a can           a moderate score may be; C or 50, a poor score may be~
be recorded usmg any of the devices descnbed h~rem for                D or 25, and a failing score may be an F or 0.) If an
one or more patients. In step 404, the ECG data is trans-             annythmia is detected, the score may be below SO for
                                                                   30
mitted along with associated metadata to a server and                 example. Other scoring ranges such as A to z, 1 to S, 1 to
database that stores the ECG data. In step 406, a subset of           10, l to 1000, etc. may also be used. Arrhythmia may be
the ECG data can be selected based on criteria in the                 detecting using the machine learning based operations or
metadata, such as user identity, time, device used to record          algorithms described herein.
the ECG data, and the like. In step 408, the subset of ECG 35 FIG. 5 shows a flow chart of an exemplmy method 500 to
data can be analyzed using a machine learning algorithm,              generate a heart health score in accordance with many
which can assign a risk level to the ECG data in step 410.            embodiments.
The system can then determine whether the risk level is                  In a step 502, an arrhythmia is detected. If an arrhythmia
high, as shown in step 412. If the risk level is low, the user        is detected _(e.g. using the methods and/or algorithms_ dis-
can be notified that the ECG is normal or low risk, as shown 40 closed herem), then the heart health score generated will be
in step 414. If the risk Jevelis high, a high risk level alert can    below SO. Depending on the severity of the anny~a
be sent to the patient with the option of sending the ECG to          d~tei:ted, the heart scor~ may be calculated ~r assigned
the medical professional for interpretation, as shown in step         within the ranges according to the table below m Table 2.
416. The system then waits for the user's response to
determine whether the patient elects to send the ECG to the 45 _ _ _ _ _ _ _ _ _                 TABLE
                                                                                                    _ _2_ _ _ _ _ _ _ __
medical professional for interpretation, as shown in step             Arrhythmia                                     Heart Henlth score
418. If the patient docs not wish to send the ECG to the
medical professional for interpretation, the system can end           ATRIAL FlBRlLLATlON, HR below 100                    30-45
the routine at this point as shown in 420. If the patient does        ATRIAL FIBRILLATION, HR above 100                    15-30
                           '               •            ,           . Smus Tachycardrn                                     20-40
elect to send the ECG to the medical professional for so supraveutricular Tachycardia                                      20-40
interpretation, the request can be transmitted to the medJcal         Bradycardia                                          20-40
professional in step 422. The request to the medical profes-          Bigeminy, Trigcminy                                  30-50
sional can be sent to a workflow auction system as described          Short= of High Heart Rate (VTACH suspect)            10-30

in U.S. Provisional Application No. 61/800,879, filed Mar.
15, 2013, which is herein incorporated by reference in its 55            In a step 504 a Heart Rate Variability (IIRV) is calculated.
entirety for all purposes. Once the medical professional has          HRV can be an indicator of heart health. The value for HRV
interpreted the ECG, the system can receive and store the             value for a healthy heart is typically higher than HRV for an
ECG interpretation from the medical professional in the               unhealthy heart. Also, HRV typically declines with age and
database, as shown in step 424. The system can then notify            may be affected by other factors, like stress, lack of physical
the user of the professional ECG interpretation, which can 60 activity, etc. HRY may be measured and analyzed using the
be sent to or accessed by the user, as shown in step 426.             methods described above. HRV may be calculated in the
Additionally, the system can compare the assigned risk level          absence of arrhythmia, which may improve the accuracy of
with the medical diagnosis in step 428 and can determine              the HRV measurement. HRV may be determined and further
whether the risk level determined by the system agrees with           analyzed as described above.
the medJcal diagnosis in step 430. If the risk level does not 65         In a step 506, premature beats are counted and Heart Rate
agree with the medical diagnosis, the machine learning                Turbulence (HRT) is calculated. Premature beats in the
algorithm can be adjusted until the risk level matches the            sequence of R-R intervals may be detected. Also, R-R



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intervals typically tend to recover at a certain pace after a     (BMl), the personal medical history, the family medical
premature beat. Using these two parameters (prematurity           history, the exercise and activity level, the diet, the hydration
and pace of R-R recovery), HRT parameters may be calcu-           level, the amount of sleep, the cholesterol level, the alcohol
lated. There may be known deviations of HRT parameters            intake level, the caffeine intake level, the smoking status,
associated wi1h patients with risk of Congestive Heart 5 and the like of the user. For example, the heart health score
Failure (CHF} These deviations, however, may be used to           may be weighted by age and/or gender to provide the user
estimate an inverse measure. The number of premature beats        an accurate assessment of his or her heart health in response
per day (or per hour) may also be used as a measure ofheart       to the heart rate da!a. In a step 612, feature extraction ls used
health. A low number of premature beats may indicate better       to analyze the inputted physiological parameters.
heart health. In summary, the heart health score may be 10 In a step 614 feature ranking and/or feature selection
generated by combining at least heart rate variabilily (HRV),     occurs. 1n a step 618, a real time prediction or detection of
the number of premature beats, and heart rate turbulence          atrial fibrillation, and/or in a step 616, the heart rate vari-
(HRT). This combination (in the absence of arrhythmia) may        ability measurements may be labelled and saved for ofiline
provide an accurate estimate of how healthy the heart of the      training of a machine learning algorithm or set of machine
user is.                                                       15 learning operations, and then may be subsequently used to
   In a step 508, a heart health score is generated, and in a     make a real tirne prediction and/or detection of atrial fibril-
step 510, a hearth health score is generated based on an          lation. A plurality of heart health scores may be generated by
arrhythmia. To initially generate 1he score, a few hours (e.g.    a plurality of users to generate a set of population data. Th.is
2-5 hours) of measured R-R intervals may be required. A           population data may be used to train the machine learning
more accurate score may be generated after a week of 20 algorithms described herein such that the trained algorithm
continuous R-R interval measurements. Longer data sets            may be able to detect and predict atrial fibrillation or other
may be required to detect significant arrhythmias as they         health conditions from user data.
may 11sually be detected within the first 7-8 days of moni-          Although the above steps show a method 600 in accor-
toring.                                                           dance with many embodiments, a person of ordinary skill in
   Although the above steps show a method 500 in accor• 25 the art will recognize many variations based on lhe teaching
dance with many embodiments, a person of ordinary skill in        described herein. The steps may be completed in a different
the art will recognize many variations based on the teaching      order. Steps may be added or deleted. Some of the steps may
described herein. TI1e steps may be completed in a different      comprise sub-steps. Many of the steps may be repeated as
order. Steps may be added or deleted. Some of the steps may       often as beneficial to the user or subject.
comprise sub-steps, Many of the steps may be repeated as 30 One or more of the steps of a method 600 may be
often as beneficial to the user or subject.                       performed with circuitry, for example, one or more of a
   One or more of the st~-ps of a method 500 may be               processor or a logic circuitry such as a programmable array
performed with circuitry, for example, one or more of a           logic for a field programmable gate array. 1be circuitry may
processor or a logic circuitry such as a programmable array       be programmed to provide one or more of the steps of a
logic for a field programmable gate array. The circuitry may 35 method 600, l!lld the program may comprise program
be programmed to provide one or more of the steps of a            instructions stored on a non-transitory computer readable
method 500, and the program may comprise program                  medium or memory or programmed steps of the logic
instructions stored on a non-transitory computer readable         circuitry such as the programmable array logic or the field
medium or memory or programmed steps of the logic                 progr=able gate array, for example.
circuitry such as the programmable array logic or the field 40 The systems and methods for generating a heart health
programmable gate array, for example.                             score in response to continuously measured or monitored
   FIG. 6 shows a further method 600 of generating a heart        physiological parameter(s) may comprise a processor of a
score. In addition to the parameters which may be derived         computing device and software. A processor of a computing
from the heart rate data described above, the heart health        device (e.g. a tablet computer, a smartphone, a smarl watch,
score may also be generated in response to further physi- 45 a smart band, a wearable computing device, or the like) may
ological parameters as shown in PIG. 6.                           execute this set of instructions to receive the input data and
   In a step 602, a raw ECG waveform is obtained. In a step       detect and/or predict atrial fibrillation therefrom. The soft-
608, ECG parameters are extracted from the raw ECG                ware may be downloaded from an online application distri-
waveform data and arrhythmia prediction and/or detection          bution platform such as the Apple iTunes or App Store,
algorithms are run to analyze the obtained raw ECG wave- 50 Google Play, Amazon App Store, and the like. A display of
form data.                                                        the computing device may notify the user of the calculated
   In a step 604, physiological parameters may be measured        heart health score and/or if further measurements arc
using a sensor of the user's local computing device or an         required (e.g. to perfonn a more accurate analysis).
accessory thereof. Such measured physiological parameters            FIG. 7 shows a schematic diagram of the executed appli•
may include blood pressure, user activity and exercise level, 55 cation described herein. The heart health score may be
blood oxygenation levels, blood sugar levels, an electrocar-      provided on a software application such as a mobile app
diogram, skin hydmtion or the like of the user. These             downloaded from an application distribution platform and
physiological parameters may be measured over time such           executed on a local computing device of the user as
as over substantially the same time scale or length as the        described above. This executed application may instruct the
measurement of heart rate. In a step 610, an R-R interval is 60 user to take active steps in response to a poor or moderate
extracted and both traditional and non-traditional heart rate     heart health score. For example, the instructions to the user
measures are used to analyze the measured heart rate and          may be to make a corrective measure such as to modify his
physiological parameters.                                         or her diet, exercise pattern, sleep pattern, or the like.
   In a step 606, additional physiological parameters for         Alternatively or in combination, the instructions to the user
determining the heart health score may be input by the user. 65 may be to take a further step such as to take an electrocar-
These parameters may include the age, the gender, the             diogram (e.g. to verify the presence of an arrhythmia), enroll
weight, the heigh!, the body type, the body mass index            in an electrocardiogram over-read service, or schedule an



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appointmcn! with 11 p:hy~id,m or other medical spoci11li1,t. lf                 anc! other diito such as weight Md body fat percentage cmta
the heart hea]th ~corn is below a do.ired threshold for good                    from a "smart" scale in comrnmrication "iith the local
heal1 health, the executed applloo1ion may link the user t() a                  computing device 101.
,~cond ~'Xe~i1te 11pplic11tion with further 11ppli~atisin foatures,                   ln a step 912, a cardiac health Bcme is 11ene.rat!:d. Tbe
Altemativdy ()f ill. ;x11nbit18ti0,1, these fo1ther foat11i:e~ mny              cardia,) health score m.u be ge.ucxi1tod by considering and
be unkitked on tlw Hnit llX<:cuted 111,piic.ition if the heart                  weighing oue or more influencing factors im:lmling the
he~Jtll score is hd<lw 1.he threshold, In 111 kmGI ;muc cases,                  incidextce of atrial Jlbri1111tion w n!Thytbmia ai detected by
11 pres(;ription or vedficiition frolll ,\ medic;d profo~siou~l
                                                                                the ruuidheld ECG mo11ito.r, the heart rnte ()f the 1.11!et 01·
 may also be required to uulo(,k the forther applicalio.n                       subj~t, the activity of the u~i or s\lbject, hours ohlet.'p aod
fo~tmes.                                                                    !(I re,I <Jf the 11~\!r ,lr subje.:t, bl<.Ml pre$s1n·c of 1he 11se.r 1w
     PIG, 8 shows s~roonsbols of the executed application. Tl1.e                ~uhjeci:, clc. Often, tho incidemi~ of Atrial Dbrillntiou or
                                                                                an'hytl.uttia will he weighed the 1l10M. J"lte oardiac health
f\uther .foaturcs unlocked may 111.cluclc the abilily to rc1.1d                 score 1.,wy be generated hy u physidan Qt a madlit1<J teaming
electroca.rdiogmtu (T!CG) dl1tm from a smsor coupled to the                     a!g(1ritbm pmvided by the remote server or cloud-based
local coruputitlg device and display the electroc,.rrdiogram ,,5 servic"' tl:3, for "'xampfo. A. plurnlily of u.5ers ~.nd subject
(ECG} in 1•e;1Hime and/()r <letec1 and ule.tt for atrial fihril ..              may oorwurrently use th~ cardi,1c health 1md/or rbytltm
 b1tiim based on the electr<.•eardiogmm (ECG) in ro1!-1ime                      mi.magement system 100 and the machine lcrururw; 1:1lgorifum
(e.g. as descrihed in U.S. Epplici1ti,m Ser. No~. 121796,188,                   may, for example, consider population data nod trends to
13/108,738, 13/420,~40, !l-nd 13/964,490), As BhtlW11 in fl!G,                  genernte ru:i indivlduaJ nse.r or subject•~ cardiac health score.
8, these forther features may indude an clectmcirrdiogram 20 Jn 11 step 9.14, one or more recorornem:latioos or goal& is
(ECG) over,.rend service sm:h ns that. dcsc.rib,~ in lLS.                       senerated for the user or subj<Jet based on or in resp1.111se to
applica!ion Ser. No, 14/2:17,()32, 'J'be ftrnt ex.ec,t1led applica•             the gencrntl!l.l cardiac he,1Jth $Core, 'fhe,;e reconunenda-
timi may compriae a cmllltuner softwm-c applic,1tkm and the                     tion(s) an.cl/or goal(~) may be generated automatically bas,1d
se<:oml ext1cutod applicatio11 may comprise a mcdk:al pro•                      on m in respl>= to the biomctiic nnd pcroonal information
fc;ssional or regulated sothvare application or set oflellture,; 25 of the nser or subject. For example, the machine ie,1111itl£
of the fin;t execnt~d applicati<)n, As de,;ctibed herei11 arid                  algonthin m.iy gerternle these 1~eommet1datio11(s)lgmll(ij).
shown in FIG, 8, the eli:ecuted ~ppliGatian may provide a                       AlterMtively or in c(1mbinatfon, a phyijlci~u or 11th,1r 1ne(li-
d.iah board kl !.rack the h<J,llihe;.1l1h of the u~er mid shnw risk             ~,·11 $peeialiij( ,uay g,~ne1";1te the rtJCv11une11d,1tfon(s) amL'or
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dash board may be prnvided with f.ilrtlwt fo,11wt!s stich ai :1r; ric 1111r! pet'll0111ll inli:mnati(11t of the uier or m.1bjeot. The
that deoor.ibcd il1 U.S. Sei·. No. 61/915,lB (filed Doo, 12,                    physieia,i or other medkal pmfo~sional may HC<>e~s the
20l3).                                                                          J-wtleot dat,1 111ro11gh 1J,e liiietnet a~ de~ctihoxl ahove.
     FIO. 9 shows a roeth,)d 900 for cardiac disease and                              lna step 916, the p8tienl implements mauy ifnot all ofthe
 rhythm nwnagem~'llt, which may, for exmnple, be imple-                         recoruroeudation(s) imd/or goal(s) provided tu him or her.
J:tlllt1ted with the system 100 described hc1:ei1t. Iti n step 902, ·3; And iu 11 ~t(.'P 916, steps 908 to 916 may be repeated such
a 1mir or subject Li provided 11cc~ss 10 u cardinc cli$c~sc                     that the user or subject may jtt,•mtivcly Jmpnrvo their cllfdiac
and/or rhythm management system such as system 100. Step                        health Bcoro and thcir ovooJ!J ho11lth.
902 muy comprfoe presc.cibing tho use of tJ1e syst,Jm 100 for                         Although the ,1bovc steps show method 900 of man;iging
the \16c't" or subject. ln u s·tep 904, the user or subject is                  cardiac dfo,mse and/or rhythm in. accordance witb many
pwvided one or more biometric sensor~. Thooe biometric 40 embodiments, ,1 pcrnon of mtlh.mry skill ill the mt will
sensor(s) may couple to a cC1mputiug device of the user <l.r                    re,.ogn:i7.e many V<iifalions based on tl11~ teaching de,cribed
subjecl, <).g. a personal desktop oomp1.11er, a laptop CQ111puter,              herein. The steps may be completed in a differen1 order,
11 tablet cx,mp\1ter, ~ sruarq,hm1e, etc., and associated soft•                 Steps may be added or deletoo. Some of the stepa may
ware lo.id~d th~tnt                                                             c<lmprise sul'.1-B!ep~, M,my of the st~is nmy be reptatcd n~
     fr, a itep 906, the uHer ,,r suliject dow~l)oad; the cmd:iac 45 o.llon 11s be11etlcial to 1he 1mer or subject,
dise;ise and/or rbytlun management system softwm-e onto                               One or more ,1f t11il 6teps 1,I lhe melh()d 900 may be
thdr cumpul.u~g (fovfo0, For exampk, t:he Ry~t1Jm $,1t1w<1r~                    petfo.rme,l whh oircultry, for i"Xample, 011e or nwre o:f a
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dow1doi1ded from the Apple Apt) Store, Google Play, Amn-                        logic for a !lcld pmgruinn1ablc f!$W army. Tbe Glwultry .!1lf!Y
ion AJ1p6tore, Blu,kBercy Wmkl, Nokill S1ore. Wirufows so be ptogi.111ruJ1ed to provide one m· more of the ~top~ of th<1
Store, Wind()WS Phon,; Store, S1u11~U1tg Ap_p~ Store, and the                   l'.ll\.-th<1d 900, an,! tbe pwgmm m,w compri$e pt()g1at11
like. The downloaded sy,'tem softwa.rc, e.g. mobile arip                        instnMions stored on ~ non-transitory compmer readable
 lOla, may be conllgured to :interface with the biometric                       medium or memory or p.rogramn1cd steps of the logic
sensors provided to the user or subject i.u the step 1S4.                       circuitry rnch as the programmable army logic or lhe !fold
     !tt ix ,st~'P 9118, pcroonal in:fo.rruatio11 input to tlw curdkic 55 programmable gate array, for exm:nple.
disease mmmgentent sy~!ero is rcceivs1tl. For example, ilie                           ln some embodimems, the heart rate information (01' an
u.scr or subject m~y enter his or aer gender, hcight, weight,                   extracted portion of HR information) may be used to com-
diet, dfaense risk foctru~, etc. into the mobile app 101a.                      pare to a database ,11' similar in:lormalion !ru,t mill heen
Altematively m in combiootion, t:bis personal infonnation                       cor.refated with cardiac evenm. For exru:llple, he.:irt rate
may be input 011 behalf of die user or su'bject, for example, <iO inftmmrtion may be compared to a databa11e of HH. inlbl'•
by a physician of the us~r m ~ubject.                                           mation extrnoted for ECG rw:irdings ,1f palienls k11own tQ
     In a step 910, biometric data is received fr\llll the b.io-                be experiencing i:artlfac pr<1'b]M1$, Tims, p;itterns of l,~art
tnetl:ic ~1,n1orn pr<;>vided to the user OJ' ~u~je;:t, F[)r example,            riloo infon11ati1m t;1keu !him ii subject m,ty b~ ~ompt1!'1;1d. t,l
the sy~te111 :100 nnd the urnb:ile app :!Ola may receive ECG                    patooms oC cardiac lnfornrnlfon in u d11\abase. 1f the.re fo a
data and hemt rnte from hai1<ll1cld BIJ.llaor l03, aotivity data <i, n1iltcl1 (or ft nmtd1 withir\ a r,~1$0Mble ,1l111¼111esa ,1f fi1), the
from wrist-w,>r11 ae1lvity ~eri~ot 105, bl•o(l prm~l1f¢ iu1d                    pi1tient ti111y be itwtmcwd 10 i:ecord on BCG, e.g. using an
heu!'t r;it~ data from m,1bik bk,,id pi·essmse m,mltot 1.07<1.,                 amb11Jlltllry ECG (11011it(Jr Thi~ may then provido a morti




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 dotuJJcd view of1he ho,nt 'l'lci, method may be partkularly               pressure. Dau1 for these iulluencers mi1y be inp11t autoruu1i-
 usefu1, as it mny allow recoI<ling uru:IJortrmJSmfasion and/or            cruly by one or more 'biometric SClliJ0\'8 coupled t,, tbo !oc,i:I
 amilysfa or detailed electrical iu:formation about the heart at           computiug device I.OJ. an,Vor the mobile app .!Ola. AJter•
 or n~at the tlme (or shortly lhet'e-df\.er) when a clioically              uutlvely or ill combination, the datu for these :iuflucru:ors
 significimt cardiilc event is occmriug. Thus, tho cotttimmus              may be input ITlllm1ally by the user or subject by tapping on
 monitoring m11y allow a s11bject to be alerted immediately                the respective iullucncer display. For example, t,IJ)l)ing on
 upo!l an. indic.1ti,1n ,;ft.he .Pot~1tial p«1bl~rn (~.g. :m increaa~      the blot1d pressure display iiroo may cm1se a slider input
 in HRV guggestivc of a cardiac dysflmcifon). This may allow                1lOOc for blood prussiim to pop up, The user or su~ject may
 lhe coupling of contint1Qtl, HR ffi()llitmirlll with EC'G                 use the slider to i:ntcr and sav~ his or h~ blood premrnn1 for
 f(l<)Ol"tling and ~no.\y$i~ for dlst/411e ,1i,1g1m~iij and drnoase 10 the d,1y. Sinti!Br p()p-ups 01· user-selected inp1lts may be
 m11r1,1gement.                                                            pl'ovided for fue ol:hcy lnOucncQ!l!, Fo.r cxampfo, the 111e1· or
     PIG, :rn ilh1strate~ one v,1d11tion of a in~'thod for iuonl-          ~ubjijct llHIY ,1nt1o1· llli \lrher ,bily catfoino or ak(lh\1! intake,
 todng 11 iubject to detorm:ine when to rt.'Oord all elec11·<)c11r•        ,tl'\l!il ,1ud sloop fowlB, nutdti,1n l~wili, \ll'tt~tivit.y ,md Jitllc)i~
 diogrnm (EfG). lu FJG. rn, a ,ubjf,'t is weal'ing a <xmtio1,1..           level$ (e.g. Jowlb11d, mcdinm/i,,-,o, or higb/g1md hased 011
 011s ltel\rt t'ato monitor (cmlilgured 11~ a watch 1010, ,s the u.;ei•'s age, gendo1', heigl,t, wdg11t, etc. u•1 can b~ indi-
 hicludil!g dectrodes 1016), ~howil in step 1002. The he~rt                cat,;,! by llXl lnitttwtio11 page of the mobil~ app lOla). The
 rato m011111,r tranimit~ (wi:relessly 1&12) heart n1te i.11.fomia•        inll1:1encer dl!pfoys may ulso sbow the goal p11Jgtessim1 of
 non that is received by tho smartphone :101~. us shown in.                th~ 1rnor or i,1~joct.
 st~p 1004. l'he g1rnJ.rtpll(lrJ.li iud11dos a processor !Ill.It !111!Y        f/!GS. 12 and 12A show scroonsbols of a goals !l!ld
 a1L'llyze true he:11t 1·ntc irrlbrl111!1ion 1004, ancl when 1m 20 recoJJlln,ind1uions page 121)0 1,f the cardi1;c dise1Jse and
 irregularity fa di.Jterrnined, m11y indicate J 006 to !he s,ibj eel       rhythm nrnmgem~"llt ,Jslcm inrerfoce or mobile opr 10:ta. A
ihat rn1 ECG should be recorded. ln FIG, 10, nn amhulntory                 top portion 120011 of the goal~ and recommendntions pas~
 HC(hmn\tor 1014 is attacbe(l (as a c;;we hllving electrodes)              tlOO may ~ompris(, a listing of 7-day goals fo.r the user or
 1<> the pl10L\e 1018, ltw \l~r inay ,1pJ)ly th~ fl.CG monitor ai          iubject Th.<1 top portkm U00,1 may farther carnprfae every•
 lo tbek body (e.g. che.11, bctwi:<.1n anus, etc,) 1008 ro ,~cord 2.1 day g<mls for the ui\lJ: or oohjcc1 which ofte11 cannot he
 ECGs thal can then be saved andlqr tiansmitte<I for analysis.             l'emoved or changed. Tli~ us~r or S\l~j~ct can th(:(;k o:U·th~se
     FJGS.1'.l mid UAru1ow ,~.t·eon.llhot~ ofat1 atrial libdllati1m        goal~ or rec(i1nmendati\ll1s ~she ,lr she meets thi:m. The top
 daibhom\l 1100 ,if 11 u11er interfoce for the ,,m~lfoc 1:Useai~           pCJit.ioll 120011 mi1y !'rnok go,tl completion percentage over a
 aud/01 rhythm mm:iagemo1it syitem 1110, fll(L ll 1hows ,11'1p             7•d,iy period, ·111~ uwr <1.r suhjwt ~ari $et tl:\e ~ruue glli•ls for
portillll UOOa oftlWlltriB1 flbrillaliou rbshbru,rd 1100 while 11) the 1wxt day a11d/()l' !let 11ew go11ls,
 FIG, 10A shows 11 bottom pottion 1100h of ~1e atrial                          A bottol)I portion l'.,l!l06 of the goals an.d r¢eommend<1·
 tlbrlllat!on da.sl1bom\l 1100.                                            tiom page 12.00 niay corupi:l!e 11 ll$tlng of 1ww go1i1, whlch
     Th~ top pQrtiou llOOa of the atrial fibrJJlation ,fashboard           the usor 1)1' su~je('l lllily add The new goali mny be c/lt~go•
 1.100 as show11 ln [IJG, 111 may display the curren1 cll!'dJnc            riwd into gcnls or reconUlleJJdittlons for atrial flbrlliatk1n
 h11alth score of tho mer or subject, a .rcQClll best c11rcliac ll mmmgomcnt, stress maMgomunt, aud/or otlwt cu(egori~'l!.
health score of the user or subject, and a ca111pletion p<'r•              For o,x11111pJe, goals for 11b:ial llbrillatiou m~nag~nient may
 cmrtage of rccommcndmion(1) aud/<1r goal(s) for the user or               ludnde taking daily medications, reducing caffeine intake,
 subject. The u~er or subject may tap ,my one oftbe cardia,;               aud reducing nlooh\)l ln1tike. Anet go~fa tor stress JJlWlllge,
healtb s,"Ore di~r,lays or lhc re1K,mmendalion(s) rn1d/or                  mem may include meclltolii for 5 minutes dolly, lake bloat!
 goal(s) d.isplaya t<l aG¢C~S llij)I~ 1le1aikxl infotlt!$IL11lr~ganl- 40 pressure r~adirtg daily, aud gettiilg nt least 7 hmmi of sleep
i11g the cclculated health score(s) or teco01mendatio11(s)                 nightly. Using the g\lals and reconuuendatioru; page 1200,
 an,VClr goal(s), re11pectiv~ly. The 10J,l portio111100a may also          the irner or suhje.:t con set their g(l,,ls for the w,;:ck. On,: or
 s.h11w iin ECG of th,11.1,~r Of subject and ii button whlc.h may          more ,1f tlwse goa]s miiy be 11utomatic,11ly rec(\ll\llle.ndoo to
be tapp"'I t<l l'(':CQtd tlill BCCt of lh,1 ll~s'l' (rt oubj~ct f\ir th1.> the user m rnhject orbe.recommen,led by ii physician having
day, A~ diicuA,ed witll .refarc1'.t<:ll to FlG. l, tile HCG may b~ 41 acces1 1.<1 the da~hbo>1ril 1100. For ell:mnpJe, g<i,.1!1 1l11iy be
 t,'<.'lH'lkdwitltahal\dhel,ls0ns,;1i Ul3 i11~1lllltllU11katiilnwith       n:commei1dell b11~cd 11111!1~1 Wt'<:!k'$ progre~i, Tue om1ple-
 thc local ~omputlng d~vke 1011, Th~ top portion JOIJOa lllllY             tion of rocommonded goalo ~an re~ult ill the use,' or subject
alio ihow rhe number of atrial t\btillatiou ~pisodes and 1he               earniug more "poiuts," ln etfoct l?,Ulnil'ylng health and car-
11verage duwtimi of thesG atrfoJ Hbrillatioo episodes. Thls                dlac rhythm m1m..~g~mcnl for tbe user ()r :mbject Ahetllil•
number and duration may be gencrutctl automatically by 5o ti vely orin combillation, the go~ls ro<1y be set by a physki~n
softw11rc or logic of the malliie app 101" b«sed on or in                  having access to th~ ck1shboard 1Hf0.
respouse to the ECG measu.rnmcnls tuken by the c11~r or                        FIG. 1J shows u .~creensho! nf u user's local compuling
6ubject. Alternatively m in combmation, a physician llIBY                  device notHying the user with II prlp•U]l ,mtic,-c 1300 to meet
access the atrial fibrHlation dashboard 1100 of an indlvidmtl              lhdr daily recommendations and goals. By tapping ort the
user or ~u~ject, evaluate hi, or her HCGs, and Jll'llvide ihe 5l pop•up notice, 13110, the \lSQf or subject cm, bo taken to the
number of atrial fibri!Iation episode~ and tl1eir clmatim1 ttl             atrial fibrlllarion rfa,bboard where 1he u~r or 1u~Jtx:t cmi
th~ mobile app 10111 or oilier 1ofiwa1,1 loade<l OJl the local             npd:,1t~ or 1Jthc1wise ro;mage fu()ir 1:ardiac h~lllth.
,:;011ip1Hing device 1(ll of th~ um or su~~ct. Th~ ihort~st                    F!O, 14 ~howij ~n emhodioient c,m,prising a ~mart 1w.,tch
1111d longe~t 1.htr11t\Qll8 of the itb'ial .fibrillati1111 episodes may    1400 which includes ~t lea1to11~ heart rate 111011i1or l4il2 and
als(> be ihnwl\ by the top p(>rtion UOOa us well !I! lhe user oO at lea,t one activity monitor 1404. 011e 111· n11iro pr,.iccssors
or iu{1je,t'i d,1ily adhereoce t<J a m<Xticution regiJ11~,                 UN) ,<Hlpk~l to <)(le ,it t\l(l!~ n<,11-traohi!xlt)l lrwmo1fo~ oftl1c
     The l,qtt,:1rn P"rtion UOOb nf t~e atrial f1brillatiou d~ih..         8.11\U!'t w11t~b rllld omllgureil t() O(m111mnkate with lite hc;irt
ho,u·d 1100 as shown. in FlG. :IQAn111y display one or umre                mtlil monitor 1402 aod the activity monitor J404. The oue or
infhmweN which influence bow the cardiac health score is                   moro pw~e1so1's are further coupled to au output ,.kvice
generatecl. These inflL1encers may include, fot cxitrupfo, 65 1408. Pi"Gessorexec11t11blecoik is stomlou the OM1lrl)l(lte
caffeine iutakll, alcohlll intake, stress levels, sfoep levels,            memories 1111d wh<Jn exe~11ted by th<l one (Jr mo.re processors
weight, n[ltrition, tltnes& i1nct activity levels, 11nd blood              cause~ the oue or more proces101s to det,,nn.ine Jfhemtrate



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on(l wtivity mcasurom.:mts fepres.mt on advl,,1ry 001'1.dithm                     Sollwiire Oil tii:c im.iutphOtlO ()! tll!llrt. watch Catl aill<l
for rocoJ'dl.ng an ECG, ru:i.d generate and sond notifu:atfon                 combitie data ~nd ~lg11.al,1 fwm c1th~-r 9tlt1~om b1lilt into the
signals through the QU(put device 1408 when m1 iulvisory · sirnntphone o.r m1ai·t w.1tch such a~ ~ GPS.
conditimi for t'iii:ordlng an BCG ls dccecrmino<l.                                 While :preferred, eml)od:im1;Jnt. of the pre~ent disclo8ure
      Fot ex.runple, presently av.al!abfo smart w11td1es include              have b~m1 ib.own ai1d deflcxibed herein, it will be obvious f-0
rootlm1 sens(m such as i:,cdome1en;. J)edo meters cuu be                      tho$e skilled in the art that s,1ch embodiments art.1 prnvided
b11sod on an uccoloromerer or efoctromochanicul mechuni sm                    by wny of example only. Numerous va1fations, changes, and
such as n p,,i:,dulurn, 1.ua,~netfo l'l,'iild pmximity switl:11., und « · suhstiMions wilt now occur to those skilled ill the .irt
srir1ng susri.:mded Jev.,r arm wi(h metal-on•nl<-'l'f,1 c1mtacL               without departing from the subject matter described h,m,in.
Modem accelerometers are often small micro eleclm•me• 10 It should ·be m1derstood that varioiis oltematives to the
cbanical sy~tems and, am welt known by thos<1 ski!Jw. ln tho
                                                                              mnbodiJ.mmt;, of the subject ro~tler described hereln may be
lllt Hei,rt rate monitor~ ure readily iw~ifallll' w.ith ~mart
phones us well tis sx.nart w~td~~. One type, u,e~ ,11, optical                employsd iu px1tcticittg the su'bjll~t m.atter d~ictihed herein.
ae11s<lr lo detect tho l1u1-i1,u1tion of blood Jlow. To,, sigi.ial ciin       It is intended (liat lhe following cfoim~ define the scc,pe of
 be ump:tiJfod fi11th11r ll$ing, for t1x,1mpfo, a microcont!tlllcr 1<1 ti tho disck1sm·e ,md thll! methods t1nd struciur,1,1 withit1 th,l
,omit th<:11·a1.i 1Jf fl11ct1.111tion, which .is 11ct11ri1ly th~ h~tt rnte.   gOlJpe of theoc cfoi1iu and thcfr equivalent~ be covered
      AH advi~ory 0011(1ido11 for rccnrdi11g an ECO may occ11t·               thereby,
du" tr), for exi,u,ple, large continuing fluctuations in heart
r.rto. Au advisory condlthm for recording an ECG ~an alw                          Whf11 ls claim<"d ls:
occur when a rucas1m1d he11t1 mte incrca1e1 rnpidly without 20 l, A meth1·1d of deten11iti.ing ~ presentc of an w:i:llythmia
11 ~'On-esponding increase in activlty monitored by, lor                      llf ~ first user, ~uid r<1Qthod C<m1priwing
mmmpfo, mi 11ccelerometer. By campm:mg rnc.asured huart                           ,ic.t.,;fog a l\t)l11i talc of ~aid fil'sl 1rn,,r wi1h a heart rate
mte changes with measured activ1ty c.lwnge6, the pre8ently                            s,1rnor C()Uj'.i/ed to si1id fi,m 11gcr;
disdo~ed software or "app" minimizes false alarms are                             trnns111itti1:ig sai(l h"~1t r~t" of said fast ust,r to 11 mohifo
minimized. ECG device~ are described in U.S. S~>r, No. n                              ~"Ompi1ti11g device, wh,1r,1in ~~id ,mobile computing
 12/796,188, filed Ju •, 8, 20l0, t1ow U.S. Pat No. 8,509,882,                        device i1 "onfigured to ,ense ~n ,ilectrocal'(liogrmn;
hereby expreB~ly incorpornted he1,1in by reforenc,, in its                        determining, usfog said mobile computing device, a heart
entirety, 111e JJC(J ,kvke ean be pi-.,sie11l in 11 $1Jmrt witwh                      rate variability of said first user lmsed on said herut .rate
band or a sm11rt phone, fo one embodin1ent, the ECO devke
                                                                                      of ~ald J\rst user;
incl11dcs ,in el1Jcl.roil£: 110,ictnbly eunfig1irrXI to sens,; h,imi- 3<J
rufated sigoa:1ls 11pt111 ,;;,,rttact witl1 ll ttser'! skin, ,,ud to              scru;iug an ~ctivi1y level of ;mjd !lr,1 u,1cr wicil a motion
~011w1-i tl\<:) $eJIBl!d bentt-roli11ed slsm1I$ t1'1 en ECG ~loct1'.k                 sensor~
sig1iaL The ECO devke u·mismits an ulm1sonic frequency                           comparing, ush1g <¾lid u1oblle i:,1.irnp1.1tl!lg device, ~!!id
m1icl1,1J:ited ECG iignal to a -:1mip1,1ting device such as, :for                     he,m rate vadabillty o-f said first user tn said activity
~xi1rt1ple, a stm1rtphone, Softwm•,; nu111i11g on the ,·omputing ).5                  level nf ~old Jirst us~,r; m~I
device or sm1u1phoae digitizes and proc,1ssc~ the ,mdfo in                       akrting ij,1i\l foot ii,,cr t<, ~1)1.lSe an c1l1'll:lro~ar,!iogn1m of
roaJ.time, where too fl·equency modulated ECG .lgnal is                               aakl finH U$':ll', D$ing s,!id mobile ,:ompul:ing devfoe, it1
demodulated. The ECG c:in be further processed 1.ming                                 respo1mi wan im1gularity ln mid heart rnl:e Yariabiltty
~JgorithJ'.tls to calculate homt rule and id,mtHy arrhythmias.                        o:f said first nBe1·.
Th~ ECG, heart rntt\ amt rbylhm information can he dis, 40                        2, The method of claim 1, wherein Baid h~art rate scru,or
played on the comp1ilet or smartphone, st,1red fo<:ally ·for                  comprises (l11e or more of a p11tch, ~ -wl'istb:1nd, Md an
f,:il:er retrieval, imd/01· trnu.srnit1,'A;l u11"1:al-time to a w~h f;t;JVe1· armbaud,
via a 2G/3G/4G, V/iF,i or uther Internet conuection, in                          J, Tbe method <Jf claur, l, furtti,~· co111Jl.d~ing r.-,c~vlng
11ddition to the dispfay mid fociil pt,lcesijing ,if t.he ECO ,tat~,          hitJtm:t1fo d~t~ of ~,1i,i fast UHedrcro ~ biometl'lc dHtll sew,or
the l'1Hn:i1utcr m >11Mrtpho1ie ean tran$tllil, in ro:i'Hiu.111, lhe ,1,; oouphld to s1iid fio;t uso1-.
ECG, heart rate m1tl d1yf.hm ,kita vi!, a tc<mt·e well t\JllD<.lC-               4. Th.e method ol,urn 3, wherein said biom(;)l;dc ,1,itli
ti(>n fo.r viewing, stim1ge and further analysis via II web                   con1pri8~s (,ne or n:mre of a t,,mp~r11tur~ of .~id first \ISO)II", 11
browser ill11.>rface.                                                         blood pNssuro o:f said /kst us@r1 and inettfol d!ita of iaid fu&t
      ln another embodiment, the cu.uvcrter assembly uf tm                    USC!.
ECG device ls integrated with, lllld electrically cmureeted to 50 5, The 1nothod of claim 1, wheNJn said niobile computing
the electrode assemb'Jy and is conOg1mid to ,:xmvert the                      dovke compd~c$ ~ ~mat(tlhone.
clcctdo HCG signal gcocrll't,,d by olootrodc assembly to a                       6 'fhc method of dnlm 1, wherein siild mobUe computillj
frequency modulated ECG ultrasonic sigruiJ b.:wing a carrier                  device comririso.s a omartwatch.
frequency in the range of from about 18 kHz to ahont 24                          7. The method of claim 1, fo.rtber comprising determiJtlng
kHz. It is some1imcs desirnbk to utilize a carrier freguem;:y 55 a presence of said arrhythmia using a mad1iue learning
in the 20 kHz lo 24 kHz rnuge. 'fhll llltrusouic ranse crnate~                algorithm.
bod1 a low;,r noise -.lld a silent commm>icirtion betwecll th;;,                 11. Tb.~ m~thod of clahu 7, whorein ~id 1michi11.e leaming
as;quiijilion 1;k\ctro;tlcs mid the ~omput:ing devi~ sm;h ;is ttie            algodth.111 ~11lre~ lulart l'~t~ llnd heart rate v~d~bility d11t~
,iui.artphomi, .uolebook, sma.t1 wat~ll ~nd th~ hb.                           prcvio11sly ~sso~i~t~d with ~rdiyth,ui~s i11 ~~id in,,it 1lijCr no.ct
      A kit ca11 i1tclude downloadabJ,1 soJ\wntc such a~ an "app" oo dek'mlines sa.id pre~etice of said arrhythmia b,ised on said
for d.et1:1Jting an odvisory condition for r,,cm•11ing an HCG                 ~to rod heart and heat1 rnte vnri11b ility (fattl.
and an HCG ,wvice. Tiie ECG device et111 be pt·e,:ent ,10 a                      .9, The method of ~!aim. 7, wherein St1id 1ll.!lchi11e Jemning
w;itch band fo.r replacing a specific bao.d on ,1 smm1 watch.                 iilgorlrbm stores hoort rate ,md heart rnte vari~bi!ity (l.1\11
The !JCQ (fovict> can 11100 be p.iovided on it smart phone back               11ssocfared with m·rhythmia~ in~ second user and detr:irrnil'.l¢$
pfoto for rephlclng all exi~tlug removable ~m,irtph<JUC bi1ck. G~ said pNsence of s~id ru:d1yihLUii1 .in s,tld fast 11s,\r bit8Cd Oll
In auolhcr conllgurntiou, the ECG device is usable 0$ a                       said &'toted heart und hcmt rntu variability d.fJlli associated
smartphou~ protective case.                                                   with arrhythmias in said scwnd usor.



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                                27                                                                          28
    t O. The metho,i of cfaim l, whetein an irr0g1ilarity                 processor fl1rther oauses said procesoor to sense bio1Mtric
comprises ,m inm,,~1se in ~aid b.ll.1rl rate varbbiHtv o:f snid           dma of said flrat user lrom said biometric df.lm sensor.
!'u:,l user with11ut " u>rresp(>lllii!JiJ; increas~ in sr,id Hctlvity        14. The system claim 13, wh,win ssiii bi<Jm.i!trk data
level of 8uid .flrst user.                                                Gornpi:ls..~ 011:e tw 11101:., of u tempexa11m1 "f sffid first user, ,1
    11, A system for determiaing the pl'esem:e of an arrhylh· ; bhiod. pr,is611re of 6itid first U$er, artd W!lrtfal d-11a of ,ald fi,:st
mfo of a first user, comprising                                           IIS<ll'.
    a he,ut .ta1e soim:,r coupled to ~~kl firat 1rner;                       l5, The $ystc.\n M cl~im :11, wherei(I si,id l!l\lbile ,'.(ll\l•
    a mobile ,,omputing device cmnprising a process()r,                   µW:ing d,wicc <.X11nprise& a smru:tphonc.
       wl~erein said mobile computing devl,e fa coupled to                   l6. Tbe ll}'Stetn of c1aiu1 lJ, wherein said mohile com,
       said h,mtt ,ate ~e11..'ltJr, :ind wherein ~1id mobile ,:(11:tl• iv putill!J device comprlsos a smmtwutch.,
       p111ing device is ~011.ftgu!'l'Xi t!) senije ~u electr<lCBl'<fal•     17. The system of c!Bim U, wherein &,,id c<)mputer
       gmm of !,lid firat 11~~t·: and
   a nl(>tiou 8Cll$\.ll'
                                                                          program further causo.• said pr,x:ossllr to d~torrnine a pres•
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       ,, compmer poogr11,n inch1r.ti11.g lnstruct.iom; executabk ,5 18. The sysMn of claim 17, wherdn said macWno lO!ltll.·
       by said processor 1,i cause su.id priices8or 1,1 re<seiw a         ing algorithm stores heart rate 11ud heart rate v1triability data
       heart rate of sakl first user from ~aid h~att rote Sliinsor.       pr<"viously assoclnte<l with urrhythi:11ius in soid first 111,er ailrl
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       compim, 1md Hclivity level ofsuic1 first user to said heart        :ing algorithm stores h~£1rt _rate and heart rat" variability data
       rnte variability of ~rJ.id fa~t mer, ,ind 11km s~kt first u~er     associared with arrhythmias .in a mecond user aud d.etermines
       to record an elecb1:,.:;,1rdiogram using said mobile com,          said presence of said arrhytltn1ia in 1aid first usel" 1)lls,~I ul\
       putiug d,wk,e.                                                     ~aid storoo hemt nnd he.111 rnle varfobility ctat1.1 a~~,)date<l
   12.11\e systtmrnf claim ll, wherein said heart rate aensor l.5 with an:hyll1mia~ in said ~ei;,md 1.1ijer.
compri.seR on~ or more of a p!l'1ch, a wris\band, and an             20 .. The sy~tem of .cfoiI:? ll, wh-0,l)(n an irr:1g11h1tity
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO,                  : 9,572,499 B2                                                                                         Pagel of 1
APPLICATION NO.             : 14/730122
DATED                       : February 21, 2017
INVENTOR(S)                 : Ravi Gopalakrishnan et at

It is certified that error appears in the above-Identified patent and that said Letters Patent is hereby corrected as shown below:


         In the Claims

         Column 27, Claim 11, should read as follows:.·
         11. A system for detennining the presence of an arrhythmia ofa first user, comprising
         a heart rate sensor coupled to said first user;
         a mobile computing device comprising a processor,
                  wherein said mobile computing device is coupled to
                  said heart rate sensor, and wherein said mobile computing
                  device is configured to sense an electrocardiogram of said first user; and
         a motion sensor
         a non-transitory computer readable medium encoded with
                  a computer program including instructions executable
                  by said processor to cause said processor to receive a
                  heart rate of said first user from said heart rate sensor,
                  sense an activity level of said first user from said
                  motion sensor, determine a heart rate variability of said
                  first user, based on said heart rate of said first user,
                  compare said activity level of said first user to said heart
                  rate variability of said first user, and alert said first user
                  to record an electrocardiogram using said mobile computing
                  device.




                                                                                          Signed and Sealed this
                                                                                        Twentieth Day of June, 2017

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                                                                                                      Joseph Matai
                                                                                       Performing the Functions and Duties ofthe
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               United States Patent and Trademark Office

                                        February 25, 2021

nns IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM
THE RECORDS OF THIS OFFICE OF:




U.S. PATENT: 10,595,731
ISSUE DATE: March 24, 2020




                 By Authority of the
                 Under Secretary of Commerce for Intellectual Property
                 and Director of the United States Patent and Trademark Office



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                                        Certifying Officer




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               Case: 23-1509                             Document: 35                        Page: 460                          Filed: 07/14/2023




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. (12)   United States Patent                                              (IO) Patent No.:                   US 10,595,731. B2
         Gopalakrisbnan et al.                                             (45) Date of Patent:                 Mar. 24, 2020
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 (54) METI1ODS AND SYSTEMS l<'OR                                       (52) U.S. Cl,
          ARRIIYTIIMIA TRACKING AND SCORING                                 CPC .. ... ... A61R .i/02055 (2013.(ll ); A 6111 5/(1022
                                                                                         (2013.01); A6lll 5/0145 (2013.01); A61B
 (71) Applicfillt: AllveCor, fo~.                                                 5102405 (2013.01); A61B 5/02416 (2013.01);
                                                                                 A61JJ 5/046 (2013.01); A61H 5/681 (2013.01);
 (72) luvmtors: Ravi G11palakrlshna11, San Francisco,
                                                                                                          AMB 5/f,1198 (20!'.l.Ol);
                CA (US); Lev Korzlnov, San
                r'mudsco, CA (US); F~I Waug, S111i                                             (Contiuue<lj
                    Frandsco, CA (US); li:uan "fhomsou,                (58)    Field of CJ,m!fi"utlon Scard1
                    Los Gatos, CA (US); Nupur                                  U8PC .............................................. ,.. , 600150~~·509
                    Sr.lvastava, San Francisco, CA (US);                       See application file for compfo1te search history.
                    Ol'.m11· Dawood, San l'rn11cl~co, CA
                    (US); Iman AbnT.cld, San Francisco,                (56)                      Rde!"llnc~~ Cited
                    CA (US); David F~ .Albert, Oklahoma
                    Cicy, OK (LIS)                                                       U.S. PATENT DOCl~ITJNTS
                                                                              7,846.106 132       1212010 Andr~ws ot al.
 (73} Asslgm~: AUveCor, Inc., Mountain View, CA                               9,~39.3~3 B2        12120.17 AIIJe.rt
                    (US)                                                                             (Coutim1~'11)
 ( *) · Notice:     Subj~~i to any disclaimer, the term of this        Prima1y Examiner- Nkole F l;c1v1Jrt
                    pa1ent is cxtenckxl or adjusted undor 35           (74) Attorney, Agent, or Pinn······ Wmnhlc Bond Dickinson
                    U.S.C, l54(b) by Odays.                            (US) LLP; Dmiol E. Ovilllezian
 (21) Appl. No.: 16/588,201                                            (57)                    AHSTRACT
 (22) Filed:        Sep. 30, 2019                                      A dashboard centered around arrhythmia or atrial fibriJfation
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 (65)                    Prior P11blkatl11n D11t11 ·.                  cardiac health score that can be calculated in 1·esponso to
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        Oct. S, 2018, now Pat. No. 10,426,359, which fa a              recomm('11clatlons may be set by the uoor or a medicnl
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 (51) Int. Cl,                                                         dashboard .15 geooraHy displayed from an application p10•
           A6W S/1124             (2006.01)                            vidocl on a smurtphone or tablet compULer of the user .
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                                                                                             (2013.01); Gl6H 10/60 (2018.01); C/16H
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     19, 2014, provisional opp1icat1011 No. 6:1/970,551,                                                      C!l 6H 50130 (20HU)I)
     filed on Mar. 26, 2014, provlsioual applkotion >ro.
     61/969,019, filed o.n ~far. 21, 2014, provl,k1nal                    (56)                      Rcfc1·i:ncc:1i (:lled
     application No. 611953,616, filed on Mar. 14, 2014,
     pmvisiomtl application No. 611915, 115, tiled on Dec.                                  U.S. PATENT DOCUMENTS
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                                                                             2015/030SG84 1\1 10/2D 15 Grn s,
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    U.S. Patent         · Mar. 24, 2020 ·              Sheet 1 of 16 .                   cs 10,595,731 n2




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                                                        FIG. 1




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U.S. Patent            '\far. 24, 2020               Sheet 6 of 16                      US 10,595,731 B2




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U.S. Patent            Mar.24,2020                  Sheet 7 of l6                    US 10,595,731 B2




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U.S. Patent    .Mar. 24, 2020   Sheet 8 of 16       us 10,595,731 82




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  U.S. :Patent         . Mar. 24, 2020                ·Sheet 10 of 16                     US 10,595,7~1 B2




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      Case: 23-1509                       Document: 35                         Page: 472         Filed: 07/14/2023




U.S. Patent            Mar.24,2020                    Sheet ll of 16                      US 101595,731 H2




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U.S. Patent                               Mar, 24, 2020 .                                      Sheet 12 of 16




      iNFLUENCERS


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        CAFFEINE
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       Case: 23-1509                      Document: 35                         Page: 474       Filed: 07/14/2023




· U.S. Patent           Mar. 24; 2020                Sheet 13 of 16                    US 10,595,731 B2




                                               PATIENT GOALS


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                                     DAY: 1          2      3       4      5      6    7

                                        TODAY'S GOAL$:

                                     (i] RECORDED MY ECG
                                     [fil GET AT LEAST 7 HRS SLEEP
                                         · NlGHi'LY (rooommandoo)

                                     ~ WALKED .20 MINUTE$




                                                 FIG,12




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     Case: 23-1509                  Document: 35                       Page: 475   Filed: 07/14/2023




U.S. Patent ·      Mar. 24, 2020               Sheet: 14 of 16 ·




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                               ~ET AT LEAST 7 HRS StEEP
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U.S. Patent            Mar. 24, 2020               Sheet 15 of 16                     US 10,595,731 B2




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                             ilJ>.PLK'.A'.I'IONS                           location~ on their chest. The~@ requir<\lnents can impede the
                                                                           activltie, of the subj,>ct, including their natural movement,
        This application :is a contlnmrticm of'U,S, application Ser.       bnthing, and showe.rlng;. Once an EC(1 i~ gene,rati.xl, tht, ECG
   N(l, 16/1.5:3,446, filed C:kt. 5, 2018, now U,S, Pat. No.               ]8 ~ent to the patient's physician who mny analyze ilm ECG
   10,426,359, issued 0(,1:, 1, 2019, which is f.1 continuation of         iiml provid.i n dfagno~is and othl;'l' rncomn11;;111dntions. C11r-
   U.S. ,1p11lici1tion Ser. No, 15/393,077, filed D~c, 23, 2016, !U rently, this proce~s often must be P<'l'formed through hospital
   now U.S. Pat. No. W,159,415, issued D~c, 25, 2018, which                administrator.~ und heahh management organiwtious and
   ls a continuation of U.S. applimtion Se1. No, 1417:30,122,              n:muy patients do not receive foeclback in an expe,lieu:t
   filf/<I .Tun. 3, 2015, now U.S, Pat. No. 9,572,499, issued Feb,         manner,
   21. 2017, wl1ieh is o continuation of U.8 app!ie&tion Ser.
   No. 14l:i69,513 tiled Dec. 12, 2014, now U.S. Pat No. 1s                                           SUMMARY
   9 420,956, issued Aug. 23, 2016, which daim, the booefit of
. lJ.S, Provisional Applfo11ti011 No. 61/915, l 13, fflcd Dec, 12,             Diw::km.'11 hewiu are devices, sy~toms, and uwthods for
   201::l, which ap_plic11tion ls incor_poratud herein by reference,       man,1ging health and diaease such a~ cardlm1 ,H~t1ase.1,
  U.S. Provi~iouui A_pplic«tion No. 61/953,616 fikd Mm-. 14,                inc.luding arrhythmia and atrial fibrillation. In pllrlicuku~ a
   2014, U.S. Provisional Application No. 61/969,019, filed :io cardiac dis,1ase ~ucl/or i:bythm 1111.mngement system, accord•
   Mar. 21, 2014, U.S. ProvioionBI Appllcution No. 61/970,551              ing to aspocts of the present disclom1re, allows a user to
   filed Mar, 26, 2014 which application is .incorporated herein           conveniently document their deotrocard1ograms (ECG) and
   by reforcnex!, and tJ.S. Provisional Ap_plkation No, 62/014,            other biometric dr.ita and recdve recormn,mdcrtion(s) and/or
   516, filed Jun. 1£1, 2014, which opyilication fa io.corpornted · goal(s) gener11t~~1 by the syBtem or by a physician in
  h1;1rein by rcle1imee.                                             ,j    respoirne to the dm:umonted data. Tl:tti cardiac dis~ise and/or
                                                                           rhythm management system can be loaded onto a local
                             BACKGROUND                                    computing device of !he user, where biometric data can he
                                                                           convei1iently entered onto the system while the user may
        The prc~cnt · dfaclO!lurc relates to medical devices, ~ys-         conl1m1e to use the local computing dcvii:e for otheT pur-
. terns, and rue'!hods, 1n particular, the preset1t disclosure 30 poses. A focal comµuti11g device m1:1y comprise, for exampfo,
  .relates to methods and systems for mm1ag1ng heaHh and                   a computin.g devfr:t, worn on the body (e.g. a head"wom
  disease such as cardwc disease.~ including arrhytluuia and               computing device such a~ a Googfo. Glass, u wrist-worn
  atria1fibri llalion.                                                     computing devke such as II Samm.mg Galaxy Ck·ar Smart
       Gardloviiscular diseases are the !roding cause of death in          Wntch, etc.), n tablet computer (e.g. an Apple iPad, anArple
  the W()rld. In 2008, 30•¼, o!'tlll global death can b(, !lttrihut,1d 3.1 iPod, a Goog.lo :--Tex1.rn tablet, a Sru:nsung Galaxy Tab, a
  to cardfov1tscttl1rr dise11ses. It .is also esthrmted tha1 by 2030,      Microsoft Surface, etc,), a smruiphonc (e.g. an Apple
  over 23 million people will die from. cmdioviwculm· dfar.as,is           iI'honc, a G()ogfo Nexu~ phone, a Smnsung Galaxy _phone,
  a1m1llllly. Cardiovascular disease~ a.m pnwakmt in 1h~ popu•             <1to.)
  lations of high-income and low-lnco1i1e countries alike,                     1\. portable com_puting device or 1m accessory thereof llillY
        Arrhythmia 'is a cardfoc condition in which the electrical <1e be couiigured t,, contimiomly .meimrre one or more physi-
  activity of the heart is irregular or is foster (tachycardia) or         ological signals of 1:1 user. 'nie het1rt rate of fhe user mey be
  $lower (brady~ardia) tlmn mmnaL Al/hongh many arrhyth•                   oouti1mcusly ll'.l(m~me<l. The continmiuBly measme:n1ent may
  mias are 11ot life.threatening, some can cause cardiac arrest            be made with a wdsc or arm hand or n patch in comm.mil•
  !llld even sudd<'n ~ardiac d~crili. Atrw 1 llbrllhition is the most      ,;,ttiou wlth the portabJe computlni;i, device, 'lbc portable
  ()Q1Ltooon cardiac :rrrhythmfo. In atrial fibrillation, electrical ·45 crn:nputi:•g devfoe may have loaded onto (e.g, omo a non,
  condu1:tian thr@gh till;! vcntrfofos of he1u·t fa :irregu.1ar mid        lraru,itory computer reacktble medium of the computing
  disorganii,ed. While atrfal fibrillation mny cause no ~yrnp-             device) and executing thereon (e.g. by a processor of the
  toms, it is often associated with pnlpitations, shortntJss of            computing dcvke) an applici1tion for one or more ofl'<->cdv-
   booath, fah1tiug, d1est, pain or c·,:mgestive heart failure, Atrial     ing the continuously ill<'flsured physiological signal(s), ana•
. fibrillutfou is also associHtcd w:ith atrial (,:lot formatio.u, 50 lyiing the phy8iolog)cal sigual(s), sending the physfologicnl
  which is asoociatc(i w'tth dot migration and stroke.                     signal(s) to a remote computer for forther an~.lysis and
       Atrial fibrillation is tyri<:ally diitgno~cd by taking Em           8lomge, and di.~playinJI to the user imalysis of the physi-
  elect«lcm·diogram (ECG) of a su~ject, which shows a char"                ological signal(s). Tbe b.e;:irt ruw muy be m""lsured by (Jlle or
  acteristk atrial fibrillation waveform                                   more eleclrmles pl'Ovided on the computing device or 11cces•
       To treat atrial fibrl11ation, a patient may take medications 55 sory:, a motion sensl>T provided on I.he computing device or
  to slow heart nite or modify the rhythm of the heart. Pittients          aeeessocy, m· by imaging mid lighting sources provided Oil
  may also hike unticoagulnnts to prevent atrial clot formation            the computing ck,vlcc or accessory. In response to the
  :md ~U:,.,ke, Patients may even undergo imrgical inlervcnlion            continuous mcastm,mcnt 1md m:ordation of the heart rate of
  1ndudi.ng ()ardiac ablation to treat atrial fibrilfation..               the us"'1', parameter,; such 11s heart rnte (HR), heart rate
       O~en, a patient with arrhythmia or a!ifal fibrillation is 60 v11.1'iithility (R·R vmiability or HRV), and heart rate turht1•
  mon1t()ted for ei1t<imded periods of lime to m~nage the                  !enc-, (HRT) mny be determined. These parmnctcfS aud
  dls(laij<J, For cx,tr.nple, 11 pa'lioot may be Jlrovidcd with a . :thrther pHtamt.'1:crs may be mrnlyzcd to dot~'L1 and/or prc'l!ict
  Holier nmnitor or other ambulatory eicctrocardiog~11phy                  one or more of atrial iibrilfation, tachycardia, bradycardia,
  devwe t~) conthrnonsJy mouitor a patient's h\/1111 rnle and              bigemJny, trigominy, or other c11rdlac condit.ions. A qmmti•
  rhythm for at loost 24 hours.                                        r,5 tutive henr! hei1lth score may 11lso be generated 'fr,im the
       Current a111bufatory elcctrocrudiography dev.ice5 such as           determined params,icrs. One or more of the hmrt :health
  lfolter mouitors, howt>vcr, are typically bulky and difficult            smrc, cle1ccted heart conditions, or .recornmended nser



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  111.1km lt¢ms hn,c'<I 011 the l1eart blialth SC(lre nrny be dis-            atrial fibrillntfou prior to the generation elf data foi• ~61J1inu• ·
  ployed to the user through a display of the portable com. · ously measured heai1 rate. The data may be used to tt·11h1 the
  puting devic~.                                                            · machine JearJling algorithm to extract one or more foaturos
      Tho biometric data may he 11ploaded onto ij rnmote oorvor               thHu ouy continuously meas~red hea1t rate dat11 and identify
  where one or more carcLlac technicians or cardiac ,peciaforts               utrii~ 11bri1fatian or other conditions tlwrefrom. After the
  may a111.1lyze tho biomet1·ic data arid provide ECG interpro-               111uchitw le111ning algildtltt11 h11s boo11 trailwd, ths rn,1chl11e
  tations, cli!1gu<1Hes, rc'Cottm1endntions such ns lifestyle rec-            learniu.g algorithm m11y rccogJ1ize ~triid fibl'ilhrtioll l:hm.1 the
  om.1itct1<fations, imdlor g,:1al1 snch ns lifestyle go~J~ for               c,l11tinuously me11surcd hrutt rate data oh Jt(!W user who has
  subject. These i11te1w~1ations, d.iagnoses, r<JComm~ndat.ions,              uot yet been identified as having atrial fibrillation or other
  aud/or goills may he provider! 10 the subject thri:mgh the ·,.,1 hei.1tt Ctll'1di1:kms. One or more M1mh1ing pop11latJ1m datii M
  c1ll'diac disease 1111(.Vor rhytlim nmnttgfflllent systQm on theil'         tho train(:(! machin~ learning 11.lgorhhm may be provided on
. local computing device. Th~ cardiac digeaso rmd/or rhythm                   a cel)tl'al cmnpming device (e.g. be st()ted (Hl II n,111-trnni-i•
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  t:riwk their biometric daw and tho a!l811ci11ted .iuterpretntiona,          C1lmmunic11tion with the local computing dovices of th11
  dfagn,1,en, roconunendati,mi, and/or go11l$ from the cardiac ,5 t1sern and tlte a11plicati011 executetl tJJ;1,reo11 (e.g. through act
  toclmlcian.i or s11cci11lists.                                               Internet 01· an lntran¢t co1m1:<.,1ion.)
      An aspect of the pra.e1it distk,sute ittdnd.es a (fashll(i~rd               A set of illstructio11.S !11r HH!n11ging cardiac he~lth may be
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  The dashhom:d includes a hoon ScQre that can be 011k11lated                 be co11figllrc:l{l to automatkBllY g~nex1tte the c1.11:diac htaltil
  ln rc,p<:>m1e to data from the 11ne.l' such ao thc.ir BCG 1,md 11,her ~(I ~C<lre. Tho ~mlinc hMW1 $Core may b~ g~11eratc(l using a
  per$ol1~1 information. 11Uch m1 age, gc11.der., height, weigh1,             machino )i,uming 11lgotithtn, The machine Joom.lJlg 11lgo-
  body fat, di$e&$e l'i8ks, :to. Tb.e mai11 ddver of this biiimt              tlthm muy ge11emte the c,mJfo,1 heiiltb sc()re of the 11>1~1·
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  11tkU1foual ECG illl:erpretatfons, di11gm1~~a, ro\:oll'1memla•              computing devi'1~ rt'<lWVing tb11 bimmllric 1.Ma .fi\llll the
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  mr1re nJ1:\1mm~ndi1lfon~ 01· g,rnls for improviiig lh1i genew!~d            i.ng the biometrk, di11l1 from the lo~al CQlllj)Uling d.1lViC<J. Que
  c~tdfoc health score 111ay be diiplayed to the us~r. The                    or m.ore of the loi;.al C('lllPt.llillg devke or the tetn<rte nervsit
  bil1met1ic dat11 may oonipri se mie or mol'e of 1m elecll~lcm:•             n11.1y cotnpxiije II rmichine l~ami:llg al gorlt.hm which g,merotes
  diagram (ECG), dietscy infoxrnatio.n, ~treis fovcl, activicy i11 ,ine m· tnore of Ille carciinc he,1lth soorc or rbe on~ or !Mr~
  level, gender, height, weigh1, age, body fatp<!rcentag'i\, blood            recomm<111.d<1tio~s (l!' goal~ for the uaer. 1h,1 remote se.tv~.t
  preasure, results frC1m imaging scans, blood d1entlsuy val•                 may be con.figured for ac.ce9s by a 1ne<lical profo1sio1ial.
  u~s, or gen(1type data. The rccotm:nend11ti\ll.\S or g,1al! may             Alt,in:mtively, or in combinatio.n, one (\r more oftlw cardiac
  be 11pdatod ln Ll:lspottse to the um· 111eetii1g tire displayed             health score m· one or ill()re recomm~ndatimrn or goal» may
  recommendations or goals. The user may be alerted .if ()ll0 or 55 b11 gem:ra1ed by themooical pro:f~$Sional and prnvidcd to the
  more recommendatio11~ or goal~ b!lve 110! been G<1mplct~ by                 loca·J computing device through the remote serve1;
  the user, for ex,tmple .if tile user has noi ,ornplet~d (l11e or                Toil ,1,n1,1r may tomprii!e oiie or mo:re 11f a hand-held
  m1Jt'() wcommenda1fons 01· gmili for 1ho day.                               eloctr!lcnrdiagram (ECG) scr11(Jr, a wrist-worn activity sen-
      The aoolysls 11pplied mi1y b,i thl\mgh one or 111ore of lhe             sor, a blood p11lssur@ monitor, a penional waighiu.g mil~, H
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  algorithms may bo tritl!!Jl(I using p()pulitti()n rjata of l1eart           Olien, the sensor is configured to be 111 wireless coru1mmi•
  rate. The population d,1ta m11y be co.llected fX<1in a plunllity            cation with the local c{1mputiug devk1e. The locitl comp11ti1ig
  of the heart ra1e moultorlug enabled portable Cilmpllting                   device comp.rises on~ or moi·e af a perno11al comp11ter, a .
  devices or ru:cessnries ptovid&l 1.o a plurality ofusera. I'.he 65 laptop computer, a palmtop computer, a 1a11let computer, ~
  training population of users may have been p.reviously                      smarlphone, a body-worn computer, or the like, The bk1•
  identified as either having atrial fihl'illation or not having              metric dat11 may comprise one or more of an eklctrocardlo·



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~n (ECG), dietary in:fomu1tio1.1., ~tress kvcJ, activity l~vc~              FKl. 9 $hOW$ Im excmph1ry llllltbod for cnrdiac di~s)aSl)
gender, height, we.ight, 11,11;.i, body fat pe.rQe.nt,1g1\ or blood     mid rhytbru 1niuiagemeut;
pmssure.                                                                     t;IG. 10 shows an exemplary meth(ld for monitoring a
    (Jth/Jl' ph3'$JOfogic11J signals or parameters su~h as physi•       subject to determiu~ when. to record an electrocm~liogrm.n
Clll acrivily, heart sounds, blood p.rem1re, blood oxygen•              (HCG);
ntiOll, blo<1d gluc<l/le, temperntm-e, a~tivity, breath composi-            FJG, ll sbows an ex:~tn()lary scr~'•mshot nf 11 first asp~~'t
tion, weight, hydration levels,      au       cleotroencepbalogmph      of i1 ditshb(nml app.li0t1tfo11,
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(MMG), un dectrMculogriim (ROG), etc, may als" be                       11&pt>ct of a dashboard !lpplication;
monitored, The user may nJ,,o input nicr-.rolated heaJ-lh d11ta JO           L/Kl. 12 shows m1 exemplary scr,:,;;trnhot oh firnt nspec!
such a~ uge, height, weight, body m11,s index (BMl), diet,              ofr, go11ls and r(;l(;ommo!lllllion~ p1<ge oflhc ca:rcli!Jc disea~e
sleep lov<i!s, J'sJSt lev€ls, or stress levels, One or more oftliese    110.<1 rllytbru miH1.ngeme111 system lnterl',we or mobile app;
ph:ysiologknJ signnli ,tt1d/or par11meters 1m1y be ~ombitled                Fl G, 12A shows i11-1 ex,1111p Iary scroenshut ,if II sec() ud
with the heart rntc data to <letc,;1 atrial tibrillatk,n ot other       aspect of a goal~ and ree\)mln<mdatlons page ()f the cm·ilfac
e<inditions, 111e machine learning algorithm l11llY be conflg- 1,i
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ured to iifo11tifv atdal tlbdllation or othor coni.litkms in
rt'$p<JUAf) to hli¾1r1 r11te dnta in coml,inatkm with one or more       opp;
tlf the other pllysfological sig111.1I~ and/,w p1.1rn111otc1'11 fo1•
                                                                            flRJ. 13 shows tm ~xemplmy scrcenshot ofa user's local
hwl11nce, Trlggers 01 alerts may be provided to tlw uset in             computing device notiJyio.g the Us{tr with a p()p-up 110tlce to
roopo11,~ to the me$S11r~"il physiofogic1JI sigt1al$ nnd!tlr 20 meet theit daily rec,m1me11datiolls and gilals; Mtd
parnmel~rn. Such. triggers or alert~ may not-ify the oBor to                FlG, J.4 shllws an eroboiUme.ill c<>mprising a smnrt w,1teb
lake corr~clive o1<1ps to imprnv,i thoil' hoalth or monlM oth,ir        which indudes at least ont, heart mte ma.itiro1 and Bl lei1st
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awy prnvkle li heald1 dash bnard inmgrating ~nd 4i$pl3:yi.ng 25                            DEi'IA.'ILEJJ DESCRIPTION
heart rate i11formatk1u, hm1rt health paramct~w 1lote1mined in
roopon,~~ to th~ !mart mW irrfonnation, other physiofogkal                  Devices, systems, and m<'llmds for mrumging health and
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iten111 or step~ t<l impnwe h~a\lh,                                     atrial fibrillation, are disclosod. In partlcuh1r, a cardiac
                                                                     JO dlst1ase and/or rhythm mm111gemmt system, according to
               INCOH.PORATJON BY RHFJ::RHNCE                            aspects (lf 1he present disclosure, aJlows a user to canvo"
                                                                        nienfly dommont !11eir 111cctrncai1diogr,un.q (ECG) a1\d other
    A.II public11tions, patents, and palem applk111ions men•            biometric dat:ll and receive reoommendution(s) and/or
tion,>d in this specitic11tion ~re het"tfa foco.rporated by ref•        gout(s) gener2t,,"i by rho system or by a physician in
erence 10 the sam~ exrenl ,is if each indJvklmtl p11blfoation, 35 1i1siionse to the ,ioc11meuted dala.
patent, or pntont application was spl':d:ffoidly aml individu•              Tho tcr111 "atrial fibrillation," dtmotiJ1g a type of cardiao
olly indicatcxl t(, be inoorporat..-d by reforonco.                     arrhythmia, may also be abbreviated ln ei1hcr the figures or
                                                                        doscdption h0.rcJn as "AFJB."
         BRIEF DESCRIPTION OF THE DRAWINGS                                  FJG.1 shows a system 100 fox cmt'Uac disease and rhythm
                                                                     40 m1:m11gement. 'l1lo eystem IOU may k 111-esorlbc<l for \m: by
    The novel fea:tures of the SllQject matter disclosed herein         a user or subject such ~s befog prcsctibed by tbe user or
im.i ~et forth with p&rticularity in the appended claims. A             subj,1ct' s regular or other phy.,ician or doctor. The system
better under&tnndiug C)f tbe foatures and advantages of the             1.00 may comprise a local computing device 101 ofd1e mer
ptc~fJtt disclosure wHJ be obtained by refornnce to the                 or subject The locnl c1)rnpnling device 101 may he loaded
followlng detailed descrlptiou 1hat sets forth illu&u·aHve 45 witb a u~ei· .inte!'fooe, dashlx1a1rl, or otlier sub•£y$lem of the
enibodimeuts, in which the Jlrincipfos o:fthe disclosme are             cardiac disease and rhythm management system JOO, For
utilized, and the i1ccorrtpauyi.ng dJ·,1wings of which:                 eX!lmple, the local computing device 101 .may be J()aded
    PIG, 1 shows a 8ystem for cardiac disease and rhythm                with a mobile soilw9fe application ("mobile app") 10fo for
ll\,lllllg:eitlellt;                                                    iuterfadug with th.:i system 100. The local computing dev1,~e
    PlG, 2 sliows ~ !low chart of a method 200 for predicting 50 may comprise ~ computing diwice worn on t:bc body (e.g. a
and/or dtJtocting atrinl fibrllfo!iou from lt..R intervJl mea•          head"wom con1puling devi,ie such a& a Google Glass, a
~uremen:t&;                                                             wrtsl-worn computing device such as a 8aiumng (tllfoxy
    FIG, 3 shows a flow chart of a m~thod for prc>dict1ng               Gem Smart Watch, etc.,), a tablet computer (e.g. au Apple
11Ud/(1r <ktocting atrroJ fibrillation from R-R interval mea•           il'm~ an Apple iPod, 0 Google l\exus tablet, a Samsung
sw:eu1ents and for predfotiri& and/or cleti:.'<:tiag atrial fibril- 55 Galaxy Tab, a Micmsoft Surface, "le.), a smurtphoue (• .g. an
latfon from raw heart rate sigrmJs:                                     Apple iPhone, a Go(Jgle N,'Xus pholle, a Samsung Galm.')'
    F!G, 4 shows an embodiment of the system and method                 phone, etc.),
of ~e ECG monitoring described herein;                                      The focal computing device 101 may be coupled to one or
    HG. 5 shows a How chart of m1 el\l:lmplnry method to                0101'.IJ biometric sensors. For cxrunplc, the local computing
g-0n.erate a heru1 heullh score in 11cco.rmincc with many 60 dcv.lc0 l Ol may be cc.nrpfod to a hlmdhdd ECO mon1 tor ll)t
enlbodimwra;                                                            The handhold BCO monitor l 03 mav be in the form of a
    FIG, 6 shows an exemplary method of generating u heart              srmu:tphmc case us described in ~o-owned U.S. patent
scow;                                                                   application Ser, No. 12/796,188 (uow U.S. Pat. No. 8,509,
    PIG. 7 show$ a schematic diagram of the oxccutcd appJJ.             882), s~. Nos. 13/107,738, 13/420,520 (now U.S. Pat. No.
Catt,m described herein·                                             6l 8,301.,232), Ser. Nos, J3tl52,048, 13/964,490, 13/969,446,
    PIG. 8 shows exen:plnry scruenshoti of the executed                 14/015,303, and 14/076,076, the contents of which are
applfoatiou;                       ·                                    incorporated herein by rcform1cc.



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                                7                                                                       8
    Jn some embodirnents, the h<mdheld EC(r .111,mitor 10'.I           doud-l1:1s~d se1'Vice 113 wifh n klc,~ computing devJce such
lll!ty be u hamlh,ild sci1s1Jr ,ouplcd to tbc locul c,impuling         !lS a t11bfot compuM or Bma1·t11hrnw 117 tbr(111gb nu Int~rriet
device 101 with an iritenuediate prot11<:tive casel~d:1pte1· as        ,,1m1,1clfon ll?a, The lsbk1t co1npute( or snwrtph,me 117 of
dcscn'bed in U.S. Provhio11~l Application No, 6:1/874,806,             the fil'st non-subject ,1~er nwy intexfucc with the pe.rs1J11al
filed Sep. 6, 2013, the ooutent8 ofwhkh a~ incorporated s computer :115 through a wii~d nr wireleis c,mnecti(ln U7b
bei:o:in byroforence, Tho handhold ECG monit\1r103 may be              (Q,g, a Wi"Fi connection, a Hluelooth connecti(ln, a NFC
used by the u~er to take nn ECG ntea,tffeittent which the              conueclion, an ultrasound signid t,a!lsmission. ,'(lltll~Ctitln,
handheldECGmonitod03maysemlto1helocal,omputing                         etc,). f'urther, a second non-subject user may accesi the
device by connection 103a. Tlie c,mnecti,m :103a may                   remote ,erver or d01)d-bi1sed service U3 with a pet'S(mal
comprise a wired or wire!@&$ connectit11\ (e.g. a Wi-Fi .trl co111puterorothercomputingdevicell9throughanlntemct
connection, ~ Bluetooth co1wec:1ion, a NFC com1ectio11, an             coru1ectio11 ll9a (e,g. a Wi-Fi ~01111ection, n cdlularnetworl::
ultrasound signal !rammission couneclion, etc.), The 1nob.ile          connection, a DSL Internet connection., a cable Internet
softwam application lll:la may llti cmlfi11ured to interface           connection, a fiber optic Jnt,u-uet connc'Ction, a Tl !ntemct
with the one or more biometric sensors h1cluding the hand-             connection, a T3 Internet connection, e,c.). Further, a tbi1tl
held ECG monitor 103,                                               15 ll(ltH1lbj1~t 1rner may a,J,'l)is the remNe !let'l'Cr ()r clo1,1J•·
    Tito local conrputing device :tOl m~y be coupled to a              ba3ed service ll3 with a tablet c(lmpu!er OI' snmrtphoue Ul
wr.ist•wm11 hioms.tric seusor 105 through a wirtid orwireles3          through an Internet collJ1ijctiou 12fo ((e.g. a Wi,Fi cmmcc,
connootioll l05<1 (e.g. a Wi-Fi connection, a Bluetooth                tion, a cellular network com1ection, a DSL Internet c01111ec-
connooti11u, a NFC counectio111 an ula·asmmd iigual traia•             tiiln, a cable !ut,m1et cclnnection, a mi~r opt:i<; Int~met
mission co•11ectim4 etc.), The wrist-worn biometric 1em1or ,o ~onnec·cion, a Tl Internet connection, a 1'3 Internet cmmec"
105 may C()Jnprise an activity 11:l(ltritor such as those avail•       1ion, etc.), Purther, a fuurth uon-subjoct user may a,,cess the
Etble from FitbJt Inc. of San Frm1cisco, Calif: or a Nike              rnmote server or cloud-hased service 11:l with a peesonnl
Fue!Baud available from Nike, Inc. of Oregon. "I11e wrist"             cmnputeror oilier computing clevfoe 123 thrnugh au Internet
wom biometric sensor 105 may also compri~e an ECG                      ~onnecti(ln 12:la (e.g. a Wi-Fi cmmectiou, a cellularnetwork
iensor such as that descdbed in co•clwtled U.S. Provi~ionaI 25 counooti(ln, a DSL Iutem~t CQ1me<.1ti()U, a cab.le !ntemet
Application No. 61/872,555, the ca11t.e.nts of which is incor•         connection, a fiber optic !uterne1 connection, a Tl Internet
poratei:1 herein by reforeuce.                                         connec'tion, a T3 Interuet connection, etc.). The fast non,
    The local computing device :1111 may be conpk<l to other           s11bject user may comprise an administrator or manager of
bfometric dev.ices ai well melt as fl per,i\1nal scale or a blood      the 1yste111100. '.111e ~ecmd not1°wbject user UlJJY C(ltl\1)rfae
prem1rc monitor lO'i. "[11e blood pressure monitor 107 may ll\ a ~ardlac technician. The t,h(rd nou•st'.hject u~er mBy com•
cmumunicate with ci1e local device 101 through a wiu><l or             pme a .regular or prescnblll)l phys:1cmn ol lhe user or
wireloss comtc'Ction :lll7a (e.g. a Wi,Fi cmme,1!:i(lll, a Blu·        subject. And, the fourtl1 non,snbject user may comprise a
etooth ;o~mection, a ~PC (~ouuect:ion, at1 ttltrasound signal          cardiac specialist who i, nN the u1er or subject', regular or
l:ranstrusswn connectmn, s.tc. ),                                      prescribing; physician. Gwem!Jy, many if .not all of the
    '!he local comp11ting devlce 101 1m1y directly commtmi• 3l t(lmmunication betw,,en vari(lus devicijs, computers, serv,
cate with a retllole server or do11d-based service 113through          em, and cloud.based services will be secure and HIPAA-
th~ Internet :Ill via a wired orwfrcless con111:etion .Ula (e.g.       compliant.
a Wi-Pi cottnection, a ceJlulnr network oonnection, a DSL                  Aspe<:tB of the present clisdosm, provide systems aud
Iutemetcounect\on, a cable Inteme1 oonnection, a f:iber optic          methods for deteclin;1 l!lldlor prooicting atrial fibrillation or
lntet:'tlllt conuection, a Tl Internet connection, a T3 Jn1ernet 40 other arrhythmias of a user by applying one or nm.re rnachi11e
OOllU'1{.tiou, etc.). Altmnatively, or Jn C(llllbiuation, the local    leamlng•based algorithms. A p(lrtabfo computing device (or
oomputing device 10:t may first couple with another local              an accessory usable with the portable cotnputing device)
computing ,fovlce 109 of the user, s110h a~ a personal                 may provide R·R .intervals and/or raw he,11t race signals as
coinputer of the Ltser, which tb.cn comttnmimtcs with the              input to an application J(l(tde<l nud exccuied 011 the 11ortttble
remnte server or doud,bas~d S(!tvice 113 via a wired or ,5 computing device. 'I11e raw heart rnte slgna!s may be pro,.
wireless connecfon 109a (e.g. a WU1i connection, a cellular            vided using rui cloctrocarcliogram (ECG) in comn.rnnlcation
network 0011ne(stion, a DSL luternel mm1.oclion, a 01,bfo              with th~ pmti1ble C(ltnputi:ug devke or accessory such as
Internet collllootion, a fiber optic Internet connection, a '['J       clescrlboclin U.S. Ser. No. B/964,490 filed Aug . .12, 2013,
Internet com1ectio11, a T3 .lntemet connection, ett.) The local        Ser. No. 13/420,52() filed Mar. .14, 2013, Sei·. No 13/1 ()8;138
oomputing device 109 may compri~e software or other 50 :filed May 16, 2011, and Sm·. No. 12n9/i,188 fl:led Juu. 8,
interface for mim.aglng biometric d11ta collix,ied by the local        201(). Alternatively, or in oomb)natiot1, the rnw h~mt rute
oomputing device 101 or the biometric data dashboard                   signals may be provided using an on-homd h~m:t rate sensor
loaded on the local computing device 101.                              of the portable computing device or by using photoplcthys-
    Otltcr users may access the patient data thrm1gh the               mography implemented by an imaging source and a light
cenrnlf server orcloml-based service .1'13. These other users 55 source of the port/Jb!e computing device. i\lternalively, or in
1nay include the user's tc'glllar physician, the user's pre"           combination, the rmv he.1rt rate signals may be from an
sorihiug physician who rrescribed the system 100 fhnJSc by             accc,~ory de,~ce worn hy tho user at attached to the use.r
the us~r, other cmdiac techn.iciE1I1s, other cardiac specialists,      (e.g. a patch) and which is in collllllunication with the
mid system administrators 8Ud m,magcrs. Por eKamplc, a                 portable computing device. Such wcarab.lc acccss(lry
firat IIO!l•SUQj,x:t um.· may access the remote serv0r or 60 devices may include Garmin's Vivofit Fitness Band, Fitbit,
clciud-bas(l(( service 113 with a personal computer or other           Polar Heart Rate Monitms, Now Balance\ Balance Watch.,
cmnputiag device 115 through an Jntcrnet conrIBction 115a              Basis BI Bund, M[O Alpha, Withings PL1fae, LifoCORE
(e,g, a Wi-Pi connection, a cellular network oonn~tiot~ a              Heart Rate Monitor strap, and the like.
DSLinternet conn~ction, a c11ble .!11teniet connection., a fiber           R-R int,;,rvals may b~ extracted f.mm lhe raw ~ijrt rule
optic lnteJnet connection, fl Tl In1l.:mct collllcctirm, 11 T3 65 signals.Thel{-Rintcrvulsmaybou,lcdtocafoulatchear,ruto
Internet oonnectio.n, etc.). Altenmdvely, or in combination,           variability (HRV) which may b~ analyzed in many ways
the firet non•su~jcct user m.ay f!cccss the remote server or           such as using time-domain methods, geometric methods,



                           C()py pwvided by USPTO fr()!1l the !'IRS lmil!,'li Databaic OJI O1·29-2021




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                                 9                                                                     10
  frequ~/1.(,'Y,doniain methodi, nilli-lincar metbods, Jong 1erm       of ll\adii.n~ l~aming algoritluns or methods may be trained
  correlation6, or the like as known in the art. Alten1atively, or     to idenll:iy atria! fibrillation or l)ther comlitlans such as
   ill combinadon, tlKi R-R intervals may be 11,ied for .11011-        arrhythmias, These may include the use of decision tree
  tradi1i,11rnlmeasurllfileutssuchas(i)determiningtheint,nal           learning such as with a random forest, assodatfo11 .mle ·
  between every ot:ber or every three R-waves to ,waluate for          learning, rutificiiil lli:uml n.,twork, inductive logic program-
  bigeminy or trigeminy ()r (ii) the generatio11 llf a periodic        ming, snppotl v.x:k1r machim.,s, clustt'ltiug, &,yeiian llel·
  au1(Jl'<lJ!teS8ive movi11g average (PARMA),                          works, rein:til.rcemoot learlli.rlJ.!, repres(J!ltatio.n le11nri.ttg,
      The machine learning ba ~<l algorithm(s) may allow soil•
                                   8                                   similarity and metric Jcru-ning, sparne dktiom1ry learning, or
  wareappliciition(s) to klentifypattern. and/or fealtm:softhe          the like.
  R•:R interval data and/o.rthll ww heart rate s.ign~]s or data to rn Tho ~ystcms and mclhods for detecting and/nr pro:lkting
  ptedlct and/or detC(ll: lit.rial fibrillation or other arrhylllmias. atrii1l Jibrillatiou or other 0011ditlo11s such as 11rrhytlunias
  'Ulcse extracted and labelled foatures may he :features a f
  IDW !IS analyzed in tbe time domain such 88 SDNN (the                (hcl'ibed herein may be impfomc111cd as s1i!b11m-e p1uvidcd
  Stllllillird deviation of:NN inrervals calculated over 11 24 hour    as as.it of ilwtruction~ on a m11-transitocy computer readable
  pL'tio<lJ, SDANN ((he 8taudard deviation of the average NN 15 medium, A processor of a computing device (e.g. a tablet
  intervafacnlcula1.edovershortperiods),RMS8D(the1quare                computer, a smartphoue. a ,,mart watch, a =rt band, a
  root of !he moon of tho sum of the squares of the 6t1ooeasi11e       w1mrable computing devke, or the W,e) may execute l11is set
  drfferenccs between adjacent NNs), SDSD (the standard                of illstructions ro receive tb iuput daU! imd detect Qnd/01•
  dev!mlun of the successlve differences hetweeJI a~jacent             Jmidict 11tr.ial fihdl!Htion therefrom, The HOfiwiire 1m1y be
 NNs), NNSO (!he number of pairs of successive NNs that. w i!Qwnfoadedfwmanm11i1i~applki1li\1ndi,trib1itfonpJi1tfo1·11\
  dllf«bymorcthan50ms),pNN50(thapmportio11ofNN50                       such as th~ Apple iTu11~s or App Stor~, Google Play,
  dM(fud by total fillmberofNNs), NN2() (the numb~J· of pairs          Aruawn App Store, and the like. A display of the ~omputing
  of s=essivc NNs that dHfor by more than 20 ms), pNN20                devlce may notify the user whether atrfal fib1·i1Jation or other
  (the proportion of NN20 divided by the tofal number of               arrhythm.ias has boon delacltxl 11nd/or if :further measure•
 NNs), !JBC (estimated breath cycle), NNx (!Le number of 25 mcnls are required (e.g. to perform a more nc~male analy•·
 p~irn of successive NNs that diili,r by nmre than x ms),              sis). The software m,1y be loaded on a11d executed by the
 pNN)( (the pmportion oJ NNx divlded by the rrnmber of                 pmtablc (~omputing clevke of th~ user such as with the
 NNs), or other foatur,,s known in the art. Altcmatively, or in        pn,ces S(ll' of the computing device.
 combillation, the extracted and labeJled foall1res may com,               The machine lcamingsbascd algoritluns 01· opcrntions for
 prise a non!inm1r transfonn of R•R ratio OJ' IMZ rntio JO predkting and/or detoctlag nlriru fibrillation or other
 sta1isticswithanadaptivcwcightingfactm.Alternatively, or              arrhythmias may be provided ru, a service from a remote
 in combination., the extracted and fabcJled :features may be          server which lll!IY interact or comllllmicate with D client
 Jeatures of HRV as analyzed gmmetrlcally such as the                  program provkled on the computing ckwice ol'the user, e.g.
 sample ders~ity clistribution of NN inter\'111 durations, tb.e        as a mobile app. The interaction or communication may be
 sample de11Sity distrlbution of diJforences between 11djacerit 35 th1ough rn1 Appilcatio11 Program Interface (APT), The AP]
 NN lnteivals, a Lorer17. Jllot of NN or RR intervals, degree,         111J1y provide access to machine learning operatio11s fo1·
 of' skew of the density distributiou, kurtosis af the density         ranking, clustering, classifying, and pr...Jicting from the R·R
 dlstrlbution, or other foalm:es known in the a11.Altm1a!lveJy,        iJl1eIYal and/()r raw hoort rate data., for example.
 or in combination, the extracted and labelled features m11y be            The ma,,hine Jeaming-birned algorithms or opcra1ion.~,
 footnreR of'HRVin the frequency domain such 11s the power 40 provided through a r~1note server mtd/or on a local appli•
 spectral density of di:tre1e.nt frequency balllfa including a         cation on a local COillpnting <kvke, may operate (>n, fornn
 high mquei1cy ba11d (HF, :ikun 0.15 to 0.4 Hi), low :lhi•             from, and make :nmlytical prndkfams from R·R int.erval
 quency band (LP, from O.o4 to 0.15 Hz), and the very low              data or raw heart mtc data, e.g. from a population oJ'us~J's.
 f~que11cy band (VLF, from 0.0033 to 0.04 Hz), or other · The R-R interval or raw bC!lrtrate data nmy be provided by
 frequency domain features as known in the art. Alterrn- 45 the local computing device itself 01· fill associated accessory,
 tivoly, or in combination, the extracted and labelled. foaLurcs       such (IB described ill U.S. Ser. No. 131964,,49() filed Aug. 12,
 may be non,liu~ar features ~uch as the geometric shapes of            2013, Ser. No. 13/420,520 filed Mar. 14, 2013, Ser. No.
 a P~iucare plot, the correlation dimension, the nonlinear             13/108,738 !lied May 16, 2011., aud Ser, No. 121796, !88
 J)redicmbility, the p;1intwise correlation dirnemion, the             flied Jm1. 8, 2(HO. Thus, atriul fibrillation and other arrhylh•
 appt(>11lmateentropy,illlclotl1erfou~:1rcsusknownintb.cart, 50 mias or other heart conditions can be in a convenient,
 Oilier features :from the rnw hem1 rate signals and data may          11sc,·•acce,1sible way,
 also be mialy100. These foumres include for example a                     PJG.2 showsutlow c'1llrtofamctbod200forprcdktlug
 generated autoregressive (AR) model, a ratio ofconsecutivc            aml/or detecting atrial fibrillatiou from R-R iutcrvitl tnC!I•
 Rlll11tervals,a.nnrmali2edm1io ofconsecucive RJUntcrvals,             suremenls, 1n 11 step 202, tm R-R i.ntcrval of a user is
 a ~tanda!d deviation of every 2, 3, or 4 RH. i11tervals, or a s; obtmood. ln a step 204, tho obtai1wdR-R intom~ is analyzsd
 ~rencc plot ot'!he raw HR si(lpflh, among others.                     usi11g 011c or more trnditio11H! heflrt rate v11.rfobility measu.rc•
       Th~ ft:!lltures of the mIDlysi~ 11ru.1/or measuremerit may bLJ  mcnts such ai, for example, time dormrin mcaslU'es, fre•
 Seleoted, extracted, ::md .labelled to predict atrial fibriltation    quency domain measures, 1l!Jdnon-lmear heart rate variabil-
 or other arrhythmias in reBl time, e.g. by perforrru1ig 0110 or       ity. !11 a ster 206, the obtui1100 R-R interval is ,1nalyz<."<:l using
 more machine learning OJ>eration. Such ,,pcrations can k Gil one cir more mm-tra1litiom1l heart w1e variability measure•
 !elec:~~ lrom aniong 1t• operation ofrankin~ U1c footurc(s ),         mcnts such as, for example, RR (n-i) for Bige:miny aml
 :lamtymg the feature(J), lubclJiug !ho feature(s), predicting         Trigeminydetccliou, and the genemtion ofa p~-riodic autme•
  !he f~~re(s), and c.lustering the foaturc(s), Alternatively, or      gressive moving awrage (PARMA). In a step 208, u foat,1re
   ll -Oombmation, tbe extracted foatures may be lubollcd nnd          selection occtm. 111 a stqi 210, 11 ma! tim.i pr~cLictlon or
   :aved fot <1tHiue training of a macblne le11rni11g algorithm or G5 ,1¢t,-cti()ll of atrial fibrillation., and/or l.n u step 212, the heatt
   1
   ~ ()f lllll(hinc foaming operations, For c•Jmmpfo,, the opera-      rule varfo.bility measurements mny be labelled and saved for
· IOIIJI 11:Uly b~ selec'ted from any oftlmse above,Any munhc'l'       otlline U'lilirung of a machine learning algorithm or set crf



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                                ll                                                                                     12
machine learning operations, and then 11my be su1)sequeatly        methods 200 and 300, and the program may comprise
used to mak-1 a real time prediction and/(1r ckltect-ion of atrial p.l'ogrmn in,trnotion~ s,or~d Qll a mm-transitory ,:iomp\1ter
fibrillation.                                                      readnble medium or memory or prngr~m111('l(i ~li;ps of the
   FIG. 3 shows allow chart of a method JOO for predicting         klgk circtlitry sttch as the pr(lgrnmtnablc array logic or the
rn1dior detecting atrial fibrillatiou .from R"R interval m.ea-     .tleld programmable gate am1y, for example,
s11remeuts and for pr-1dicting and/tir detecting alricil fibril-       Aspects of !he present disdosure pwvide systems and
                                                                   methcJds for monitoring ()Ue or more physiological p1mIm-
lation :frmn rnw he.1rt rate sig11als. Jn ,1 ~tep 302, raw heart
                                                                   eters and provi(Ung a 1rigger message to the use!' lf the one
mte aignals are abtained from, for example, an ECG of a
                                                                   or more phy,lologkal p11.eameter meets a pn:"determ.lned cir
user. In a 8tep 3()4, R"R intervals are obtitlned from lh,,        leam~'li !hreshold(s), Two or mo,re of the physiological
obtuimxl .rnw hearth sJgnat~. ln a step 306, the obtained R-R 10 parm:neters may be coJ'libin11d to pmvJde a tl'iggor mes,;age,
interval is analyzed U$ing one or ntot-e traditl<Jni.tl heart rate That i,, a pru-ricular trigger m~i3Hge may be provided to the
variability tn""1811tc.t11entB such as, for eiwmple, time cfomain  user if two or more pro-tktvrmltlcd threshold(s) for the
measures, frequency douial,11 measure,, and non-linear h~,:irt     physJological pi1rnmeter(s) are met.
rate variability, In a step 308, the obtained R-R interval fo 15 Tnble l hefow shows mi exemplary table of physioll.)gkat
analyzed using one or more noiH.mditlonal heart rate vari•         paran1eten, tlmt may be measured (left column), foatures o-f
ability measLiruments such as, for example, RR (n-i) for           interest to b.e mcasnroo or thrt1shokl type& to be met (l.llid.dle
bigeminy mid trigeminy detection_, and the generation of~          col=), and exemplai-y trigger messages (light column).
                                                                                                TAALE l
                                                                      ·:vrca.surcrue.ut-e/Tluosho1d

                                            Hoorl: llt,lo             Hearl lla!o Voriability (llRV), Neu, MO/lau~ ECG: !loo YOl!r Dot1to1
                                                                      lioc1u· TraTisfo:r11ntirn of Il1l. lntei-val,
                                            Ht'ia-rt Sa1.1.nd         Smu'Ki 1·1-eat.u:r1:~                         AbtiQrmal Hli.'tl.1t SmuJd;
                                                                                                                    M£$il:jJ.JroECGi
                                                                                                                     See YoUl' D-oc.~>1'
                                                                                                                     Hlghi'Low Bloml ?1<oti11<0;
                                                                                                                     T./1.ko nr1 Mt:d~Jt.lr)n; E11.0I·dsi,,:1;
                                                                                                                     Soo Yow: Oocto.r
                                                                      02 S~\tUMia11J 02 8HL~11athM                   Hlgl1 lt1,k of llypow.utifation;
                                                                      Variability                                    Higlt ll'sk of Sloop ;)i,ord01· suoll ..
                                                                                                                     Apnm;
                                                                                                                     See Yom Doctor
                                            Blood Gluoo••                                                            Hi11h l\Js~ of f!ypogl~ocmi.,
                                                                                                                     S~e YO ur Doct:tw
                                                                                                                     r1evij1'; 1'11.,k,1,1 OTC "fe,ve.r Medic'1tionj
                                                                                                                     S~ YoLLr Doutnr
                                            Phy,io,tl Activi!y        Guit, CJ,1ro; CompJ\)FJ~ii)ns~ SJ1f.:li:ld 1   Moni~o.r s~~ufoJ• m· Iitfout 1'ot1tm~, e.g. if
                                            (aocolo1cmot<0 d,.t,.)    lli,tacico                                     ,o,1ior1i.:Jfant b,,, fallon
                                            El~(tr•cMdiogrMtJ         F..CG Featu1~s (F,.g, QT, QRS, PR              lllgh R,w, of C,111<1.I~ Cutli,cc D1;;'1->,;,,:
                                            (ECG)                     intorva.Li;-1 HR½ eto.                         Sleep 111rn-e.r1~
                                                                                                                     Sele Yom Doctor
                                            Broatli CoJ1lM!                                                          High lLsll 1JfG1,rti~11 Dentul Di«,'"°'
                                            (B1~•t'1,1·,J"<ot d•ta)                                                  Di;:ih~\te~i etc,;
                                                                                                                     $efl Y-OW' Doctol"




periodic antoregressivemovingaverage (PARMA). In a step                       The mnchine foorning based algorithms or opcratiom as
310, features from the abtr1incd heart rate foatures are 45 descrihod her,,,>ia mi1y b,1 used to determine the 1q1prop:drne
analyzed using one or more of wavelet froatures and sl:mpe                trigger tbJ:esh()Jds in response to the raw phyiiologkal data
b11sed ter1ture$ from n Hilbert ttt111sforn1, In tt step 112, a           input Hnd/or u~er-input physiologioi1J parameter~ (e.g. agt;l,
fo-oture ""'l<11.:tion occ,n'li, ht a step 314, J reJI time predictfon    height, weight, gender, e,c.J. Features of the rnw physiologi-
or  <letectfon r1f atrial fibrlllation, and/or Jn a step 316, the
                                                                       50
                                                                          cal data input rnay he seloct,x\, ,:xtrncted, labelled, clustered,
heart rate varfability measurenmutB may be labelled and                   and/or analyzed. 'I11ese pmcessecl feahlfe3 .may thell be
saved for offlinc !mining of,1 machio.c learning ~Jgorhhm or              analyzed using one or more .machine learnJng operation such
set of machine leorning <lpm11tions, and then mi,y b,i subse-             as xnnklug 1he fcau1te(s), class11Ying tho foat11re(s),, predk1-
quently used to nwke a te8l time pi:;,'l'lktion and/ox detectfou          ii,g the foature(s), and chioteJ:ing t.he foatuoo(s). The vadous
o:f atdnl Jlbtillalfon,                                                55 111acl1ine teaming algorithms d<.lScriberl herein may be used
   Allhol1gl1 the above steps show methods 200 <1nd :lOO in               l:o analyze tb.e features to cktect aud. pr,1dict health condi-
accordance with many embodiment6, a person of ordinary                    tions and genar~te recommendations or usar action items to
skill in the art wiJJ recognize many varlatio111 based on the             improve the health of the user. For instance, tho machine
te:lching described herein. The step, may be completed Ju a               le,1rning 1ilgorilhll'ls muy be tmhwd to ldent1fy atri11l fibrll-
different order. 8tc-ps may be <1dd~d or deleted. Some of the 60 fotion or oilier conditions in resp1}n,1e to the non-heart rate
steps may comprise sub,steps. Many of the steps may be                    ph:ysiologicitl paramoter(s) such 1is age, gender, body mass
repem,>d as often as b~ndJda! w the user or su~ject.                      index (BMT), a~'tivity level, diet, und others in combillation
   One or moro of tlic steps of method 200 and 300 may ho                 wlth !h~ raw heart mte data Wld !IRV tlwt can. be extracted
p<irform,oo with drcuitry, for example, one or more of a          therefhm1.
processor or a Io11k drcultey soch as 11 progran11noble ~rx;1y 6l Tile systeiu.~ 1.111d methods for monit,,1iug one or more
logic for a field pr<>grrunm11ble 11ate nrn1y. The clrcui"try may physiological parameters at1d providing n trigger message to
be progrnmmed 1,1 provide one OJ' more of the steps of            the user l"f the one or more physiological patamt'te.r meets a



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                                                        us 10,595,731 82
                                13                                                                       14
pro-det~sr111i1ied tlrrcsholcl(s) deooribe(i her,,in 11my be it11ple-    on the p,lticut's skin for imaging and for ruis1stlng subsi~-
 me.nted as so!hvi1re provided as II set of inB1:t1wtimis on a            qne1u pfo~ement of the leads i,nd ~lootrndei, T11e ekctrudes
mm-trallllilory !X)(ttputi.w read;tblc tn.idium. A proccs$or llf a       can be i1ttached to tho skin using e,mve11ti~11wl methods
 computing devke (e,g, ,1 111hle1 compt11:,11·, >:t Gmartpllone, a       whioh may include adheiives a11d ,onductlng gels, or 1'h0
smart watch, a ~mart btind, a wearable cmnputing d,wicc, or              <ilcclrode$ may simply be pressed into contact wlU1 the
 the likll) m~y cxcx;111e !hi~ ~et ofit1str1iclkms to receive the        pmienr~ skin. The l@ad am.I elccll'<Jde phl\:~m.,.ut 11my be
input ,b1t11 and (!elect andlor predict atrial iibriHatkm thcre••        changed 11lkr taking oue rec,irdlng or al\~ rec,miing for a
 ftom. The 1oftware m,1v he dow1il()11dt\d from 1111 on1ine              pred,iter111it1<.!<l. or varia'ble amount of time, Tb.e ECO data
 appllcation disttih11tlo11 platform soch as t'hci Appfo iTunes or       can bt1 tagged with the lllll'.llhtirs of leads i1nd/01· elect.rodes
App Store, Google Play, Amaz,m App Sttlre, and 1:he like. lo and the ltlad audio!' dee!l'()de placement, .it1ch1ding whetl1er
 The soilwaremay be loaded (H1 mid ,ixecuted by the portable              mlhes.lves mi.dit1r conducting g~l~ wer,, u~~,d. Again, this
 computing dcvfoe QJ the nN,1r suoh aij with the pr<K1ossor 11f          it1f(mt1atfon cm1 b~ im:h.1,llng in metadata for iniiexing and
 the computing device. ]11e software 1m1y also provide both              scawhing purposes.
 the lTiggeriti.g applicati()n described herein aml th,i heart rate         1110 ECG signal data (:!\n be continuously recorded over
 moniloriug and 0nalysis for detecting atrial fibrillation <Jr 1.; a predetcrml!!ed or variable length of!ime, Co11tin1wu~ ECG
 other hel)l't cond:i1i()ns doscti'b~'<l herein.                         record.i11g devioci can l'OC()td for up to .l, 2, 3, 4, 5, 6, 7, 8,
    In an embodiment, a method and system for longitudinal               9, 10, 11, l2, l3, nr 14 clays. Alt<.>.rnatively, or additionally,
 monitoring of a patient's or any co.nsumer's (after refen:ed            tl1e ECG data cau be recorded o.n demand hy the patient at
to as "patient'") health using viufous ECG mm1itoring                    various discrete times, such as when the _paticu.t feds chest
 devices i~ described llerdn. The ECG monitoring device! 20 pains or expelia1ccs other unusual or a·bnormal feelings. The
gmcrate ECG $ignal data wl1ic:h c,ui be stored in a database             on demand ECX.r rec01der can have a mommy bttffor that can
 for further analysis. The ECG data, which can be ~toted in              record a predetermined amount of ECG data 011 a rolliug
 a database ala11g wlth other patient information, can be                basis, and whe.n activated by the patient lo record a potential
a1mlyzoo by a proc,wio.g devk~, $l,1ch ~B a co.mput~r or                 ~vent, a predetc!'mlt,ed amolml of ECG d~ta cmi he saved
s.rrv,ir, i1~ing varim1s algo1:\thnm.                                 l5 and/or tranmnil:ted, 'l11e predetermim,'l.t amount (1fECG dat,1
    Vado111 ECG monitoring or 1-e<:o.tding d~'Vice~, hcJ'ei.ttaftel'     can include a predcteJ<roined amo\tut of ECG data before
refL'ffed to as ECG monitoring deviceB, can beu8edto r,~Cllrd            u,:tivatimt ,uid a predilt~rmined muount of ECG data after
the ECG d.lta. For e:xamphl, the ECG mouitoring device can               activation such that a window of ECG data is captured tbat
 be a handheld, portable, or wearable smm1phone hased                    encompasses the potential tiverti:. The time period betwoei1
 device, a, ,foscribed int; .S. Pat N<l. 8,301,232, wl1foh is 30 ECG recordings may b,1 regular or irregular. For example,
herein incorporated by reference in iis entirety for all pur-            the tirne period may be 011cc a day, once 11 week, 01m,1 11
pose.. A anmrtpllone ha~ed device, or a device having                    month, 01· at some other predetermined interval. The ECG
wircle3s or cellular telccomnnini~ation capabilities, can                recording~ may be taken at the same or dilforent times of
tra11&mit the ECG data to a database !)r servlll' directly               days, under similar or d:i fferent circmnst1rnces, as described
through tlie internet These types of ECG monitoring devices 35 herein. One or morn biiseline ECGs can be .recorded while
 as well ,Bother ECG monitnring devict1s include pormble                 the patient is free of symptoms. The baseline l:lCGs can be
devices, wean.hie recorcliug devices, ~veut record"1!'s, and             perk1dically recorded and predetennined intervals and/or
Holter morLilors. Clinical or hospital b,rnecl ECG recording             on-demand. The same ECG rec • rd:ing devfoe or cfrtferent
 devices cim also be used ami integrated into the 8Y8lem.                ECG recording devices may be used to record lhe vmious
Such dcvkts miiy he able to transmit stored ECG data ~o ECG <lf a pm"ticular pat.iont. All this information may be
through a phone line or wirele.ssly thmugh tlm int11met or               tagged to or 11ssociated with the ECG d:1ll1 hy, fur examµle,
cellular network, or may need to h~ sent to a data ,~11le-,tio11         including it in the metadata for illdexing and searching
center for data collection and pmce~sing. The ECG cfata c,w              purposes.
be tagged with the type of ECG mouitoring devlce used to                    The ECG ck1ta can be tim,1 stamped and can be a.unotated
rec(lrd 1he da:ta hy, for example, including it in metadata for 45 by the patieut or h<.!al th Cill<l providur to dewribe the dr•
 indexing 1.md sca1dtlng purpo~es.                                       cumstauces during which tlte llCG was re,orcled, preceding
    The ECG monitoring devices can be ~ingle lead devices                the ECG recording, and/cir foJiowing th,, ECG recording.
or nrnltiplc lead de.vices, where each lead generally termi•             For exmnple, the system and device ,,au have a user· interface
tlitres with an electrode. Some embodi111e111ll may even be              for data entl')I that idlow~ thti patient to ~nter ln .Hoteg
leadlcss and have electrodes that are integrated with the .iO ('egarding the cond:itions am1 circ1mmt11nces s11.ITOm1ding the
bQdy or housing of the device, and th,m,foro have a pr.>de        0
                                                                         ECG .rooo.rding. 'Th'w adc1lt1oua1 dall1 can he also iucluded as
te.nuincd 1·elatio11ship with each other, such ai a fix~d                metadata Jor .indexing and searching purposes. For exmuple,
sp,1ci11g apart from each t)ther The orientation and position-           loca1ion, food, drink, 1m.'1.!katlo11 and/or drug co11Iw:nption,
ing ofthc single foad in a single lead device or of each lead            exe1dse, rest, sleep, feelings of stress, anxiety, pain or other
nf the multiple Jead d~>vice cJr of' the electrodoo of !he 55 unu~tial or ,1buo1rru1I foclings, or any other circumstance that
leadless device can b~ transmitted with the ECG data. The                may aJfoc1 the padeut's ECG slv;1al can all be input[ed into
lead and/or electrode placement may be p.rodetenniued and                the device, smart phone, computer or other computing
ipecificd to the patieJ1t in mstnmliomJ for using the device.            device to b" rmnsmittoo to tho scrvor or databaso along with
Pur example, the pntient may be instrnctocl to position tl1e             the ECG data. The annotated data can also include the
leads and/or electrodes wlth references to one or more 60 patient's Jd~ntity or unique idc.otilfor as well as various
,walomical landtllil.tks on the patfont's toml, A.ny doviation           patient charncter.i$tks including age, sex, race, ethnicity, and
from the predetermined lead and/or electrode placement can               relevant medical his torv. The llJlllOtated ckita can also be time
be 11ot~ted hy the patioot or tIBer when trnnmi.itting th1l HCG          ,tampocl or tagged so that tho ECG dala can 'be m.atched or
dMa. The lead and electrode pfacement may be imaged using                oorrelated with the activ lty or drcumstuncc oJ interest. This
a digit:,! camera, which may be integmt,iil with n smart 65 also ullows co.mparisnn oftbo ECG before, ul1cr ,md during
phone, and transmitted with the RCG data and stored in the               the activityordrcUJnstance so that the effect on the ECG can
dntaba6e. The lead and eh;>ctrode plac,imcnt may be marked               be deterrninoo.



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                                     15                                                                           16
·        ·111a ECG dma ru.td th,: uBs<Jciatcd metadirtiJ tan be tr.ins•          diagi101l6 and determi11allo11s cr.m be extracted from the
     milted from the device to a s~rvar and database for itorage                 pmfont's <ik,ctronlc .l:ic1Jlth l'~cords, cao be entered iuto tho
     Jllld analysis, The trmwmlssim1 c,111 be rcaHirnc, at reguhu·               system     by tho p!ltiei:it., ur can be entered lnto the syslt<m by
     intlll"vali 1111ch /JS h\)1)1'ly_, didly, weekly ruid 1my interval ifl       the medical profossiomtl. The couclusions nud detcrn.una-
     bt11weeu, or can be ott dernand. The tnetudatn facilitates tne               tions of the gy3torn c~n be compared with ac11ml diagnosis
     searching, organizl11g, aruilyzing nndretrievfogof'ElCG tfot11.             ,1.nd d(1ti,rruinations from medical professions to val:idnte
     comp11rison and analysis .of a single pat:'1e11t' s ECG data cart           an,Vor refln~ the machine lem·tJttg algx,rithmR used liy the
     be performed, and/or cotnpiuison of ECG data between                        system. Tl1e ti1ne ,;f occ11rro11ce aJld dma1fon of the abnor-
     pati~nts cllll 1m µerfonn,~l. Fo.r c'!Xm11pfo, the tnctilciata can be        maltLy, f.ldVm'Se event or diooas,i state cm1 ~!so be iuch1ded in
    ·Olllld to identity ,rad sefoct a subset of ECG 1fota whol'c au 10 the dat11base, such that the ECG data cm·1·espondiug with the
     aotivity or cin;umutance, >inch u the taking of me.:licati11n,              OC(l!llTCl\CC mid/or th~ ECG dam prec~di11g and/or lo!k1wlng
     occurred witl:iin a pt·.:dek1nnined amount of time t,> lhc1 ECG              the ~hu(ll'lt.mtlly, ,idvcr~e 1:ven1 ~11· <li~e,1s0 ma1c c~,1 be
     dutu. The co111ponei1r:s of the tlCG 1igm1.I data, ij\lch 118 th0 P         11~8odatcd tog~drnr ,111J w1<1lyz,Kt Th~ length of t1nw pre•
     wave, T wave, and QR8 co.mplcx mid tl1e Ilk~, the runpli-                   C~'f.ling or following the 11bm111rnlity m,iy be predet.em1.i111,d
     tudes oftbe CilIJl!l(lllll!lls, t.he r,.11.io8 h01wee11 th<J compauemi, i., and bo up \() l !<) 30 di!yi, Ol gt'0,11N than. I. 10 12 111ontl1s.
     the width of tbe u,l111po11ti11.ts, and th~ delay or time sepi1ra-          An~Jysi$ of the tlme before thti abnormrility, advern~ evem
     tion betwe~u the comJ)l)11.e111~, ca.ti b.: -0xtrnct-0d, comp~red,          or disQa:;e 6\llt~ m1.1y 11llow tho syste.m to identify putt11rns or
     ru:wlyze<l, and ~tmt~l a~ HCG fontum. Por exru:np.l~, the P correlations ofvatkms ECG foatur~s that precedo tb~ r.Jc,"Ur•
     wave 1m<l heart rate C8ll be ~'Xtracted aud ,1ualyz~d to icli:ntify         nmce of tl1.0 ~h11.0rm2Jity, ~dvem, event or dfacasc st~tc,
     ~trial fihrill,ttiM., where the ,1b~~u,:e of P wiive8 an(l/or au 20 thereby providing advance detection or wamJng r)f the
     \r,wgular hcurt .rat~ muy indicate atrial tibrillation. Tne                 abnormality, advGrse e.veat or clise-c1se state, .Alll!lyiis of the
     m/:lloted BCG looltLrcs can also be included in th<' mctaclata               tin10 following the abno.rllll.1lity., adverse eveJlt m· disease
    for in,foiciug and searching.                                                state can provide informalio!l regarding th~ ,~llkacy of
         'li1e changes in the ECG sign,tl over time in view ()f t!t.1            IN,1tments 1md/or pmvide the 1rntienl or physicim1 il:1.fomta•
     act\v\ties and circumstances can ho co111pared with cha11ges 2.1 l:ion regar<llng disease p.rngre~3ion, ~11~h c1s whether the
     over time and cir,rn1.1swm,cs observed with.in a databas,1 of               pa1fonl', c.c,ndilion h1 improving, w,,rs~ning or staying tho
     ECG's. Comparisons may i11c/11<k1 any comparison of data                    same. The diagnosis and de1ermht~tion cnn nlso be used for
    derived .fi-ot\:l any ,lther ECG ~ig(IJ:1J ()!' imy dntabwre of              indti~h1g by, for Ol(llmple, i(ldllditlg it in th~ 111;:tf1d,11:a
     ECO'a or any 1ull1J<>t ofF,CG dat~, or with ,1ata del'.iv~d frorn           tiso(lci~ted wi'th tlw c,,.1wllp,mdi11g ECCJ Jfl1H,
     uny ditu1base llf H(Xr' s. Ch~uges in ru.ty feature of the ECG JQ A~ de,~>tihcd herein, various p,1n1meter1 may be hwlud!id
    signal over time 1:m1y h~ ui,id for a reh1tiv-0 comparism:i with             in tho dambaie alon.g with th~ HC:G d11t11. The,w may inclllde
     similar changes in any ECG databa1e ot with data de11110d                    tho pati<mt's 11ge, g~nder, wdght, b!,)od prossuic, iu<X!.ica•
     from an ECG d.,1taba1e. The ECO ,i!t1<1 from the basdi.ne                   tion1, behaviors, habits, actlvitit1s, food co11s11IDplioo, ci.dnk
     BCG and the ECG data f\-mn 11 potential aclv<.ll'se event call              wn~moptl\lll, Jrngs, medical history arJJl other foe-tors ihiil
     be compar.'CI lD dctcrmioo the chauges or devialion8 from Ji m[(y influence a patfout's ECG ~igrml. The ocklitiona[ pumm-
     h11seline valu~s. lo additiou, b(Jth the baseline HCG w:id the              ~ters may rn· muy not be used 111 the compurison of the
     HCG dal:ll roco.rdecl 'from the pati<IDI can be comprn·ed to one            dmng,is in ECG sip,rml over time t1nd circumstances.
    or more pred~termined template ECGs wltich can repn,sent                         The ,xmclusJons, determln11tion1, ,md/or insights into the
    a 110nual he,ilthy mt\ditiou as well as variom diseased.                     p~tient's health generated by th~ systelll nrny be conmn1ni•
    ~onditio1l.$, s11ch aa myocardii1t infarction ~nd ,1rrhytl:i.mias, 40 ,at,,d to th~ pa1fo.ut directly ,1r via the patient's cm~giv;:,
         The c1i111parls1i11s and an~lysii des,1rib~d herein ca• be              (dQctor or other hettlthcaro professional). For ijXample, the
    use<l to d:n1w coucl111io.tw and .illiigb.rn mto l:b-, p11tie11t's           patk11t can be sent ,m emnil Qr text mesiage that ls 1111<0°
    hwlth staius, which iucfode, pot,mli11l h"Blth isst100 thl1t th~             J1latically geMrat~d by 11;,1 system. Tho ein,1il (>I' text nv.is·
     patient may he exporiendug at th-0 time ,,!' meosutero1ml or                s~ge 1i:u.1 be a n"titic!lti,,11 which dir~ts tlw 1mtient to log
    al fhture times. Conc.lusilln,i and ,let,1rmin,1ti<lt1~ may be 45 01110 a sec1Jre sile 1<:, Mrieve tb~ foll. cond~sio,11 detenni-
    pl'edictiv~ of future h~alth condition, or diogrl(Jstic of con•              11atic11. or insight, or the email or text m~ssage Ollll include
    ditlooo that the pntimt alr,mdy hns. Ihe co1tdt1s~i111 an<l                  th~ ci)ncluslon.1 di:.'lenn.in1;tlo1l. or insight Alteuu,tlvely, or
    d~>tennirl(ltion.~ may v1so include illsigbts into the effective-            ad.ditJonully, the em11ii or ttxt message can be S'-'llt to the
    ness or risks a;sodB-red with drugs or medications that 1he                  patient's curegiver. The notilkatfoa may !ilso be provided
     pat!elll lllay be laking, bnve taken 01· 1JJ.1Jy be cout~mplating 50 vi£1 an applka1ir.mona smartplmne, tablet, lttptop, desktop or
    l.ll1111g Ju li1e l'lltnre. ln addi t.ion, the crnupmisons aud               otb.e.r computing ,tcvke.
    ruialysl.1 cmi be us~'C! l-0 dete11niae bchiivfors and actMties                  As d.escribed herein, the system can Jdcntify bd1aviors,
    lb.at m11y ood11ce Qr increase risk of a11 odvern0 eve11t. Based             habits, aotlvh.ieB, foods, drinks, medications, drugs, ,ind the
    011 lhli c11mparii,ms and analysis described herein, the f.l.CG              like which are associated wrth the patieJLt's abnormal J1,CG
    data can be clu,1~ifled,1crording to a .leve! oftisk of being an ,J rnading1. ln addition tD irrformi11g t.he patient of tb~se
    adverac event, Fi>r e~8mple, rJ1e ECG d.ai,J can be cfassifie<l              associM.ion.i, the sysl:em c1m providli illstructions 01· t,'C<llll•
    as norm.al, low risk, J11<Jd<1(atc risk, high risk, and/or abaor•            mcudations to the patient lo avoid these behaviors, ha1Jit3,
    Wlll. 'l'be ru.1rrm1l and abnormal de1ignatiou may req_11il'e                11ctivities, fuod;, drinks, medici1tioru,, dr11gs, un<! the like
    health c~re profossio1w\ evahmtinn, <lh1gno,i$, 11ndlor ,on~                 which rn·~ 11sstwii1t~d with lhe pa1iel!t's abi1i11111,1l ECG
    flrtnation.                                                              60 r~1di\1g~. Simikirly, the iyitom o,m i1fo111ify betmviori, .rn1b ..
         Diagnosis ruJd rMermirn1tion of un nbnormalitv. M                       its, activities, foodi, drinks, ttt,:xlicatintis. drugs, 1mtl 1he lik<l
    lldV~l'lle even1, or u disease ,tat~ by physicians and°otlier                which. Hre as1oci11ted with normal or impmving EC(J reud-
    bealth. ca~ profo&sionals cim b~ trrumnitted !1) the ~ervets                 itljjs, un<l ,im .lMtni;;t or recmumeru;l thut tbe pijtfout petfor111.
    and datQbHie to be taggod with and i1ssocbted with tb.e                      thiJso behaviors, hlibits, and nctlviti~., mtVol' 0011s1u:t1e these
     tomis!)Onding ECG dam. ''!'he diagnosl~ and determination 65 foods, clrinks, medioationi, Md drugs. The patient may
     ~y b~ bas!.>d 011Bnalysi& ofECG daw or may be determined                    avoid a fotuic heu!thCllrc issue, as instxuctod or rccom-
     ismg Olhe( teits l\r ~amination rrocedmcs. Professional                     meudcd by the system, by modifying tbcir behavior, habhs



                                 C,)py provided by USPTO froin the PIRS Image lJatabaae on 01,.29-2021




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                                                                 us 10,595,731 82
                                     17                                                                                    18
or by raking any Ci)urse of action, includJ_ng but 1M limited         the US<,'f of tlie profossio.nal ECG inwrpwratiou, whieh can
 to taking 8 medic11tio11,, dmg onidhering to a diet or exercise      he sent t<l or m:oe,sed hy tho 118<'1r, as Rliown in ~tcp 426,
 program, wbkh may be a pre,fot<lfllJ:iued crmrse (1f action          Addilfomdly, thesystemcm1comp,1re l'heassign~'<lriskl1;vel
,rccoallt'ICllded by the syst~'ID indepen,lellt of any analysis o:f   with the m<.ldkal clfagnosi 5 in step 428 irnd can dijrerrnin~

            t:~ ;:~:~s i:l~~c!~~~~~s11!;~:!t~ ::;~::1~r~: ;c~i:i~~~ ~:a~::~s ~:i:;:u~;~_hj;.~:i: :.r:~e;: l~~s~:~
the ECG data, ,mdlor may also result from
~:;~~i~~
faiicss and or mental wellbeing.
                                                  insi~rts leru:ned 5   h 1 ,_ ,              J

                                                                              a[.;rse with IJ111 nmlical diag11osis, the r.nachlue learning
     Tiie ECG data and the ass,Jcl~-red metlldata ,mJ other                   algoi:ithm cr:,n h,, atljusted u11til the risk !~vet 11w1:d11cs th<>
,roluted data tii <foscribcd hete.ill can be st()t,-d ,in a cenmil HI mcdic.-il diagno~fa, tis shown iu step 432, lf the rii,k kvel
dntabase, 11 cloud datal~ISI¢, or II cmnbination of the two, Th~              does agree with the medic~! diagnosis, the routine can be
data ,1an ~ ind.ixed, iearched, and/or sorted accordfog to                    ende,1 as shown in step 434.
any of th~ feature~, pa1·a1netees, or cl'ite.ria de.,-ctlb~~i net·eln.            Although the above steps show a mothod 400 in accor•
Tho iystem c,c1naMlyzothliJ flCG&:,1a ofa$inglc patient, and                  dan~e with many embodhnents, a pemln ofordillilcy skill ,01
it cim afao nnalyze the ECG &t:!1 of a group <lf patients, 15 the art will 1·ec,1gt1i1e many va1itltior1S h11sed 0J1 tlte te!lchlng
 which C<IU be selected fJccording to MY of thi, features,                    d1;JS<.'tibed herein. The sreps m,1y be c,)m!Jleted in a dllforeut
:irnrnruet,ini o.r criteri<1 de>'Crihed herein. When Analyzing dRta           order. Skps m11y be mdded or deleted. Some of Ute step~ may
 frum a single patill(1.t, ,it m,ty be dosimbJe to redrwc ,ind/or             comprise suh-st~>ps. Many of the steps may be i:epemoo a~
~,me~t for the illtra-inilivid11al vari1il1iU1y ()ftlw BC',G dnUt,, ofo,n as bcndicial to th,i usei: nr RUbject.
 so that C1lmp1_1fi$@ 1Jf (mo H(~ <lf ECG &11a taken fft oM ,10 One or more of the steps (}f a method 400 may he
 paiticular tim,0 witharwtherRet c,fECG data t1,1ken at ~11otlwr              perforrnQd with circuitry, fot exru11plc, Oil<' or m<1J'll of a
time rcveafo ,li:lfot·~'!lce,; i-esulllng frmn dianges in h,~ilth             processor or II logic circuitry such as a prngrimmabl~ array
 stlltus aod not fro111 chHng~s in tho type of ECG recotdillg                 logic for a Jlold prograin1m1blc gate array, Tile circuitry may
 dl)vioe UEll)d, cbnngo~ ,in Jei1d 1md el(X>1rooo p)ijc1:11.nem,               be programmed to pl'Ovlde one or more of the gwps of a
changes_ in the condifam ,.1f th~ i1k:in (i.e. ,li:y, sweiily, 2, mothod 400, and the prog1111n 111ay ~~JlllJ?ti~e progmm
c()11<h1ctivo g"l upplied or mt appliod), :inil th,o like, &                  instructions ~torcd oi1, a 11orHrru1$i«)ry computer readabfo
deuQrJb~d abQve, Glllt~i$l:enl lo~d and elllctrnde pkicemait                  medium or rncmmy or progwmmed step; of the logic
i:1111 help ro,h.ico v11di1biUty :ill tbe ECG reading$. The $y$tQm            circuitry such as !h~ prog1~1mnll1ble ai-ray logic or the field
~im uloc, rel.tieve t1111 patient's ECG ditt11 that were tttk¢n               Jl!'!lg!1lm.mablc gate array, for ~'XBJl1ple.
 wider ihlil.lal' c.i1·cmn$tanc-,s a11d cm111nalyz~ this subsc'l of' 10 Aspects of the pt(:l8¢flt dloolos1mi p.rovide sy~te1n, ,ind
 BCO data,                                                                    method~ for geuerating a lt~t1rt Wllth s~oro mtosvoiise to
     FIG._ 4 ilhW,rille$ m1 (:l1Ubtilimet1t of tbe syMem rind                 co11timmusly m~asured or ll1DlliMe<l 11J1ysiokigicnl 1i.:n<1m•
 m~thod 400 Qf ECG 1.1:1(1nitol'ing 1rescribeiJ hei·1:in, Th~                 et~i·(~). The scot~ m11y he giveu a qum1titativ~ v~.lue ~uch as
$ystem c,111 be implem1,J1l1:ed 011 a ,1etwr or Gomputel' hllvhig             be l,111,td~d frorn A Ii) For Or:o IOO fol' l;)Xarnp1e (e.g, a groat
11 pr1,o~ss«ir ,for ~xee11tillg the h1structi1.1ns <kiscrlbed her,1i11 , :1,, scorsl may be 1u1 A 01,· 100, ~ gt!<ld scor~ may bean or 75,
 whid1 011n bi; stort¾J in me1:nory, lt1 ~tcp 402, ECG ,Ma oan                $ 111<'1de1·a1e m)r@ m11y he , 1 C or 50, a poor IK:Ol:!! may be a
be l'eeorded. using ,my of the <.hlvicc~ d~:rorihed het,lill for              D <Jr 25, 1tnd a foiling ~Cl.)l'e niay be ,m F ,i1· (},) lf 1,111
i.llN \Jr more J1i1,li@(i;, ln ~tcp 404, the BCG data Li trniw-               arrhythmia is (kltcC1~d, the m.lro may be bek,w SO for
1uitt11d alung will! a~~odated mctad,ila t11 I\ ie.rver ,, 11t,1              exaniple, Other scoring i·migos such a$ A to Z, 1 10 :i, l to
dutaba~o tlm:t ~tore~ the ECG data, fo st\1,l 406, a ~ubset \Jf 4/J 10, 1 to 10()0, e1c, may ulso ho 1we<l, Atrhytlmiia may~
the ECO d::ltii c,1t1 be ,el~!.l.1d liaB~d 11ri ~Tit~,r\a ill the             ifotcct1ng 111lng the 1111,ichinc k,irumg 11~~00 <Jpijrati,mi ot
metadatii, Mtoh ,1, u~11r i1k~1thy, tirue, d,wke 1rned to rt:c()nl            alg?dtluns descrlb.'1:I h1ire1n,
the ECG data, anCI the tik~, ln ,1:ep 4118, th11 subijet of ECO                   l![(i, S ~how, n tl11w chatt of an exemplflry m1:,1h1,d SOO to
dat~ .::lll1 be i111aly~ed 1.1sing a m.achinc .learning algoritlmi,           generi1te ti h~,1r1 he,alth scow i.u atc1,1rdance wilh mimy
wlndt c,u1 assign a risk Jewl l\l the ECG dala in step 410. -45 onibodnne11t5•
The sy~lem ~uu tnen detennine whether the rhl: level is                       _ In ~ stop 502, an iurhythmia hi <lete,1ed, If au arrhythmia
high, 11s ih()wu ill st,ip 412, If !he risk .level lij ]\IW, the ,1ser        is dete~'led (~.g, 11siug the 11wthodi undi,ir ,1Jg()dthros dis-
can be u,it\fiecl that the ECG is noi·mnl 01· low risk, , 1B shown            clM,id herein), then !he lleart hea.11h ISi;(@ 1;eMrnted will b.i
 in 6tep 414, lfli\e dsk lev,,] Ji high, a bigh risk lev~,1 alelt i;att       bot,,w 5(). De1,cndiug <m the scved1y {Jf the 11rJ'hytl1mi<1
be sent t11 the patient with the option of ijending 1h1;1 RCG to 10 d~t~ted, the hiiart sco.re 1my be C$lcnlate<l (1r 11ssigMd
 the medfoal pr<ifcsaki1ial for h1terpret&t.ion, 111 sh()WU in step           w1tb111 tho 1·m1g1;~ accnrding to th~ tahlc below ill T3hlo 2,
416, Tbc syst~m tli,c)). wait, for the 1.1ser', respo1100 to
<fot~rttri11e whetber lhe patlmt el~i,ts to sw1d the ECG to th<'                                                  TABLE 2
medfonl ptt:1fosnional for h1terpreh-1tion, as ahown in step                           111_1~_...;._ _ _ _ _ _ _ _...;,;a;;;~~;;,;rt,;;;,H;.."';;;1tl;;.1';,;••:;x~;_
4l8, If m~ patitlnt does not wi~h to sell(1 the ECG 10 the 55 _A_nh_y_(ll_
n1edietll 11rofel!lio11al foi· intel'J)eetatiou, the syRtem can end           ATRIAL lill3RILLAT!ON, ER 11,fow 10,:1                     30-41
the tt)lltiuo at this p()int, a~ fill(!Wl\ in 420, lf tlrn p;1tfo1it d()i.lS  AI'RIAI, fl!Jlll[,1,A'(10N, r:R ,ho•~ 1(1(,J               15-10
                                                                                                                                         20-40
~!01,1 1;(1 send tho ECG to the mcd.iclll p,t:ofossional ,for                 ~~~~:~~!c::t1cby<>1nl;ll                                   21HO
mtei:prerot1011, tlte request ~an he tmrnm1tted to the medlc11!               B.rndw,,~11,                                               2U-40
P~Ofo$@i()nal in step 422. The request to the medical prntes- oo Bi~ci"L•y, T:igornir,y                                                  31!-51)
~mnal ,an 1,1;1 Si;l.llt to 11 workflow auclion 11ystem ns tloo,ribed         thoil  nm,    of High lfo,vt '!l,w, (V"fA~R ,u•p•ot)       \(),1(1

111 U,S, Provisiollill Applicatitm No. 61/800,879, filed Mar,
15,. 2013, whi,ih i~ ht1l'ein in,:o:rpmated by refore:uce ill its                 In a step 504 a Hcirrt Rate VariabiLity (HRV} is c,1lm1!.1tc".i.
~llhtcty for all purposes. Once the medic:tl professional has                 HRV can be au indicator of heart hcaltb. lhevulue for HRV
1ot~p~et~d the BCG, the system can reccive and store tltt) 65 v11ln.e for a healthy he!lrt is typically hi0ier than HRV for an
E,CG mte'P.retalion ,fr()lll the m~ical profossicmal in (he                   unl!<:althy heart. Also, HRV typicnlly doolinei; wi_th '"gc and
datuhaS<:, a, sh<lWU m step 424, 1 he system can thoo notify                  may he atlect:ed by other factors, like stress, lack of physical



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                                                                                                                                                                        Alive ITC_00006502
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r



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                                     19                                                                       20
      activity, etc. HRV may lm mea~l!'<Xl and an&lyzed using the            rneasurement of heart rate. fo a ~rep 610, an R-R lntel"val is ·
      me0t(id~ described ab,;m1. HRV nwv be ~11\1k1ted i11 th<:             ~ll.tl'l;lcil/iJ and ·b0th traditfoiml tmd. non-traditional heart rate
      ,1bsenee of al'l'hyl.hmia, whkh may iiilpmve the ~~~tJ.rn~y <rf       meaS11re~ ,11'<;) used tu analyze the measured hir,;1rt rate ,ind
      lhe HRV measurement HRV may he deterrnim:d and further                physiological parnm~.tern,
      ~ualyzcd as descd.bed above.                                              Ju 11 iltep 606, additimml phywiologirnl parami1ters for
          In a step 5()6, p1·emat,,tr~ heats m-c counted ,md Heart Ra1e     detenni11i11g the heart health score m,1y be i upl1t by the 1.mir,
      Turbulen,e (HRI) is calc\llated. Preu1atllre beats in !he             These pm11Jmete.rs may include the age, the gender, t11e
      seqi1ence of R-R intervals ui.ay be detec;ted. Abo, R-R               weigb1, the hdght, the body type, ·the body mass index
      interva Is 1ypicnlly tend to recover at a ce1tair1 p:1c~ after a      (BM!), the perso.ual medical history, the fani:ily m;,-:lical
      premature beat U~lng t\iese two parametCfs (pnum11urlty io histoiy, theexerci,eandactivity level, the diet, thehyd,ation
      imd pac,;J o.f R·R .teC\W,\ry), mer pari1111et.i1-s m~y be calcu-     levd, the mnount of sfoep, thii cholesterol l~vel, U1e alcohol ·
      lati;xL The\'e 1uay be .known ckviations of HRT parillllet.:rs        intake level, 1he cffll:cine intake leave!, the sm,lldng status,
      associated with patients with risk of Congestive Heart                and 1he like of the m~r. F'c)r 0xample, the heart health scm.:
      Failure (CHF). These deviations, however, may be used to              may be weighted by age amVor gender to provide the user
      cstiniaw an invcrsll mea~urc, The mllllb,ir of pNmatur<c beats 15 an t11:c11rate assessment of his o.r her heart health iii rejjp0.use
      per day (or per hour) :may a($O be U$ed as a n1e1mll"e of heart        to the heart rate data, fo n step 61. 2, f'-'llture extraction is used
      health. A low number of premature beats may indicate better            to ,nmlyi..: th~ Inputted physiological paramete.n;,
      heart health. 1u summary, the heart health score may be                   In a step 6:14 feature ranking and/or feature ~election
      g@~rnt.:!l by comhining at kast heart mt0 varif.lbility (HRV),        lX:Cltr8. hi a 8lep 618, a real forte predktion or detection of
      the numb"1" of premature beats, am! hea1t rate turbulence 10 atrial fibrillation, ancl/or in a step 616, the !mart rate vari-
      (HlH'). Tltis combination (it1 the absmcc of ,m'hythmia) may          ability measurements may be labelled and saved for oliline
      provide an accnrate cstim~te oflmw healthy the heart of'the           trairring of a machine learning algorithm or s,1t of machine
      user is.                                                              learning opentl.ions, and then may be sub~equllntly used. to
          fo 8 step 508, a heart health soore is generated, and in n        make a real time prediction andJordetection ohtrial fibril•
      sti1J) 5:tO, a hearth himlth scot'll is generated ba~ed cm an 2.1 lation. A plurality o:fheart h0altb scores may be generated by
      arrhythmia. 'lb initially generate tl1c score, a few hours (e,g,      a plurality ofu~ers to generate a set o:f population data. l11is
      2,5 hours) o:f measured R-R i11terw:11s mi1y be required. A           population data may be used to train the mach.ine learniug
      more a.ccum!e score may be generated rrfter H week of                 algorithms describ&l hei-ein ~·uch that the tmlned algorilhm
      continuous RA{ inre.rval m1i,m1r<.1ments. Lllllit<W data sets         may be able to detect and predict atrial fibrillation or other
      may be requlre<l to detect sigt1ifimmt arrhythmias as they 10 hea.lth ,;,ondltlons from user dma.
      1uay usually be det~cted within th~ first 7•8 d!iys of moni•              Although the above st,Jps show a method 600 in accor•
      toring.                                                               dm1c-i with .many ombodimeuts, 11 per~on of ordinary ~klll in
          Although the above ,h~s ~how a method 500 in accor-               thcJ art will re.;{)guize many varia1ions based ()U th,1 teacliing
    . dance with many em:bocliments, a person of ordlnary skill in          described herein. The steps may bi/J completed in ,t dHfore11t
      the >lrt will m:ognize many viiriatio.ns based on the tl'.'.aching 35 order. Steps may be ad.fad or d~leted. Some of the steps may
      described herein. "t11e steps may be completed in a different         comprise sub,st~>ps. Many of r.l:te step8 may be r,'tJCt1ted as
      mle.r. Steps may be added t)r de.lete<l. Some of tl1e steps may       often as beneficial to the uuir or 8nbjcct
      comprise sub.steps. Mruiy of the steps mrry be repemed as                 One or morn of ·the steps of a method lilJO may be
      o!\en as beneficial to the user (lt subjL>ct.                         performed with circuitry, for oxample, 011e or more of a
          Ont, or more of the steps of a method 500 may be 40 processor or a logic circuitry such as a prngrrunmabki array
      performed with circuitry, for example, one or mooo of ~               logic for a field progranu1mblo gate an-ay. The drcuilly may
      processor or a logic circuitry snch as :, progrrunmable army          be. prog:ra:mmecl lo J).mvlde one or more of the slt-'[)S of a
      logic for a field progrnmnrnb1e gate mruy. The "inmitry may           methocl 6(/0, and the program may comµrlse program
      be prngrrui:u:rwd to provide one or more oftlto stt>ps of u           i11st:rnctions atored on ii non-transitory computer roudi1blo
      method 500, and tl:te progrnm rm1y comrlioo pro~,ram 45 me(uuru or me.mory or progran1.med steps of the lo,r,ic
      ins true tions stored on a non-transitory computer readable           circuitry such as the progrrunmoble army logic clt the f.ield
      m11dium or memory or ptogrnmmed st,)JJS o:f the Jo(I).,               pm(~tam.mable gote nn-ay, for example.
      clrruitry such as the programmable array logic or the Jfold               'lhe systems aud methods for ge11eratr11g: a hCllrt healrh
      programmable gate ~r.niy, for example.                                score :in response to c0ntinuously memrurecl ·Or monitored
          HG. 6 shows a further method 600 of gern.1mting a hear! 58 physiological pnrnmeter(s) m,1y com_pdso I! procesgor of a
      score. ln acldltion to the pmmnetcn which mBY be de:dv,~d             computing device 1.md Bof\ware. A processor of ii con~rmti11g
      from the heart rnle data described above, the heart health            device (e.g. a t11bfot computer, o smru:tph.onc, a sn:wrt watch,
      score m•y also be generated in response to forlher physi-             a smart bnnd, a wearable computing deviCsJ, or the like J=Y
      ological plilr®te,ers as shown in FIG. 6.                             execute this set o:f i.nstn1ction~ to rei:-eivo the fopnt data aud
          ln a step 602, a raw ECG waveform is obti1ined. In a step 55 det~'Ct and/or predict atrfol fibrlllation therefrom. The soft.
      608, ECG p11rnmeters are extracted from the rnw ECG                   ware may be downloaded from an on.line application dMri•
      waveform du1u ruid arrhythmia prediction am:Vor detect.ion            bution platform such as !he Apple n\mes or App Store,
      algodthm.s a1·e 11111 to arutlyw tho obtained raw HCO wave,           Google Play, Amawn App Store, and the like. A di,pl• y of
      form data.                                                            the computing device may notify tbc user of the calculoted
          [n a step 604, physiological p1rrmneters m11y be mC1c1rnred oo hc~rt htiaJth s,;:orc and/or if further meas1rrements arc
      using a sensor of the user's local computing device or an             required (e.g. to perform a more ac~'l.1rute analysis).
      11ccessory the.rcot Such measured physi()logical parameters               FIG. 7 shows a schematic dfagram ofth~ exc~1.rtcd irppli·
      may include blood pressure, user activity and cxcrdse level,          cation dc!!cribed herein. The heart health score nmy be
      blood oxygcnatio11 levels, blood st1g11.r kv!lls, an 0lectmc1U-       provick(I on a software application such as a mobile app
      clfograrn, skin hydration or the like of the user. These ss down.load~'<.l from mi application distribution platform ood
      physiological pm11mctcrs may be moosured over time such               executed on a focal computing devkc of the uicr as
      as oveI substantially the sll.llle time sc,tlc or length as the       described above, This cx~-cuted application may in~truct the



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user to take active steps in response to a poor or moderate       may be input on behalf of the user or subject, for example,
heart health s~-ore. For example, the instructions to the user    by a physician of the user or subject.
may be to make a corrective measure such as to modify his            In a step 910, biometric data is received from the bio•
or her diet, exercise pattern, sleep pattern, or the like.        metric sensors provided to the user or subject. For example,
Alternatively, or in combination, the instructions to the user    the sy5tem lOO and the mobile app 101a may receive ECG
                                                                  data and heart rate from handheld sensor 103, activity data
may be to take a further step such as to take an electrocar•      from wrist-worn activity sensor 10:5, blood pressure and
'.1iogram(e.g. tov~rifythcpresenceof~arrhythmia),enroll           heart rate data from mobile blood pressure monitor 107a,
m an electrocardiogram over-read service, or schedule an          and other data such as weight and body fat percentage data
appointment with a physician or other medical specialist. If      from a "smart" scale in communication with the local
                                                               10
the heart health score is below a desired threshold for good      computing device 101.
heart health, the executed application may link the user to a        In a step 912, a cardiac health score is genemted. The
second execute application with further application features.     car?ia~ health score can .be gen~rated by co:13ide~ng and
Altematively, or in combination, these further features may       ~ei_ghing one ~r mor~ i1:11uencmg facto;s mcludmg the
be unlocked on the first executed application if the heart        mc1dence of atrial fibnll~tion or arrhythmia as detected by
               •                                                5
                                                               1 the handheld ECG momtor, the heart r.ite of the user or
health score 1s below the threshold. In at least some cases,         b' t th .: 't fth                  b' t h       f I       d
          · ·         rifi, fi            ed.        v··          su1ec, eacuv1yo euserorsn~ec, oursoseepan
a prescnp!Jon or v_e cation rom a m ica1 pro essio?a1             rest of the user or subject, blood pressure of the user or
may also be reqmred to unlock the further application             subject, etc. Often, the incidence of atrial fibrillation or
features.                                                         arrhythmia will be weighed the most. The cardiac health
    FIG. 8 shows screenshots of the executed application. The 20 score may be generated by a physician ora machine learning
furiher features unlocked may include the ability to read         algorithm provided by the remote server or cloud-based
electrocardiogram (ECG) data from a sensor coupled to the         service 113, for example. A plurality of users and subject
local computing device and display the electrocardiogram          may concurrently use the cardiac health and/or rhythrn
(ECG) in real-time and/or detect and alert for atrial fibril-     management system 100 and the machlne learning algorithm
lation based on the electrocardiogram (ECG) in real-time 25 may, for example, consider population data and trends to
(e.g. as described in U.S. application Ser. Nos. 12/796, 188,     generate an individual user or subject's cardiac health score.
13/108,738, 13/420,540, and 13/964,490). As shown in FIG.            In a step 914, one or more recommendations or goals is
8, these further features may include an electrocardiogram        generated for the user or subject based on or in response to
(ECG) over-read service such as that described in U.S.            the      generated     cardiac     health    score.     These
application Ser. No. 14/217,032. The first executed applica- 30 recommendation(s) and/or goal(s) may be generated auto-
tion may comprise a consumer software application and the         matically based on or in response to the biometric and
second executed application may comprise a medical pro·           personal information of the user or subject. For example, the
fessional or regulated software application or set of features    machine learning algorithm may generate these recommen-
of the first executed application. As described herein and        dation(s)lgoal(s). Alternatively, or in combination, a physi-
shown in FIG. 8, the executed application may provide a 35 cian or other medical specialist may generate the recom-
dash board to track the hearthealth ofthe user and show risk      mendation(s) and/or goal(s), for example, based on or in
factorswhichmaybemonitorcdandtrackedbytheuser. The                response to the biometric and personal information of the
dash board may be provided with further features such as          user or subject. The physician or other medical professional
that described in U.S. Ser. No. 61/915,113 (filed Dec. 12,        may access the patient data through the Internet as described
2013).                                                         40 above.
    FIG. 9 shows a method 900 for cardiac disease and                In a step 916, the patient implements many ifnot all of the
rhythm management, which may, for example, be imple-              recommendation(s) and/or goal(s) provided to him or her.
mented with the system 100 described herein. In a step 902,       And in a step 916, steps 908 to 916 may be repeated such
a user or subject is provided access to a cariliac disease        that the user or subject may iteratively improve their cardiac
and/or .rhythm management system such as system 100. Step 45 health score and their overall health.
902 may comprise prescribing the use of the system 100 for           Although the above steps show method 900 of managing
the nser or wbject. In a step 904, the user or subject is         cardiac disease and/or mythm in accordance with many
provided one or more biometric sensors. These biometric           embodiments, a person of ordinary skill in the art will
sensor(s) may couple to a computing device of the user or         recognize many variations based on the teaching described
subject, e.g. a personal desktop computer, a laptop computer, 50 herein. The steps may be completed in a ilifferent order.
a tablet computer, a smartphone, etc., and associated soft-       Steps may be added or deleted. Some of the steps may
ware loaded thereon.                                              comprise sub-steps. Many of the steps may be repeated as
    In a step 906, the user or subject downloads the cardiac      often as beneficial to 1he user or subject.
disease and/or rhythm management system software onto                One or more of the steps of the method 900 may be
their computing device. For example, the system software ss performed with circuitry, for example, one or more of a
may comprise a mobile software application C'mobile app")         processor or a logic circuitry such as a programmable array
downloaded from the Apple App Store, Google Play, Arna-           logic for a field programmable gate array. The circuitry may
zon Appstore, BlackBerry World, Nokia Store, Windows              be programmed to provide one or more of the steps of the
Store, Windows Phone Store, Samsung Apps Store, and the           method 900, and the program may comprise program
like. The downloaded system software, e.g. mobile app 60 instructions stored on a non-transilory computer readable
101a, may be configured to interface with the biometric           medium or memory or progrnmmed steps of the logic
sensors provided to the user or subject in the step 154.          circuitry such as the programmable array logic or the field
   In a step 908, personal information input to the cardiac       programmable gate array, for example.
disease management system is received. For example, the              In some embodiments, the heart rate information (or an
user or subject may enter his or her gender, height, weight, 65 extracted portion of HR information) may be used 10 com-
diet, disease risk factors, etc. into the mobile app 101a.        pare to a database of similar information that has been
Alternatively, or in combination, this personal information       correlated with cardiac events. For example, heart rate



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                                23                                                                       24
information may be conipared 1:11 ·a databasii of HR infot•                also be show.11 by til'l top poitirm l100,i ·as well as il1e user
mation extr.icted for ECG 1'!lCordings of patients lrnown to               or aubj~~i'i daily adhe~l\ce to ~ mt>dication n..,giu1e,
be experiencing c:mt-iac pro bl ems. Th11s, pattemn of heart                   The bo1tom portion 1100b of the atrial fibrillation dash·
rate in:fomiation taken fh1m ,l Slll\je~t may be ~(1111parnd to           boani 1100 iJll show11 it1 FIG. 10A may display ooo or more
patterns of cardiac infonnatinn in a database, If there ls a               influencers which influence bow the cardiac healch score is
match (or a match within a reasornible closeness of fit), the             generated. These influencers m:iy JncJude, for eimtnpfo,
patieut may be lmtn11:tcd to record lltl ECG, e.g. 1rning an               caffeine intake, akohol intake, stress levels, sle<:p levels,
ambulatory ECG monitor. Thi~ may tl!en provlde a more                     weight, nutrition, fitness aml 1.1,:tivi(y ]eve.ls, and blood
det!liled view of the ooart. This me!h,id m:1y be pw:ticularly            pressure. Data for these influencers mny be input automati·
useful, aw it may allow recori:ling and/m tralll!miasfon and/or 10 cally by one o.r moni biom~tric seru;orn coupled to the local
an~lysis of de(11il~£l eleclric.11 informa1ion about the ltealt at         computing device 10:1 and/or the mobile app 101a. Alter·
or nt111r the time (or shortly thereafter) whtin ,1 clinically             ui1tively, (),r iu com b.inatlon, the d11ta for the~~ influt\llc~rs
&igoiflcant cnrdi~c event is occurring. Thus, the continuous              Jilli)' be inpnt manmtlly hy the user or rnb;iect by tapping on
monitoring may ,tltow a wnbj,ict t,1 be alerted imme(fa1tely               th<il ~•~p<.0ctiv,1 inlllienc,ir display. llor ~irnmple, tapping on
upon an indication of the potential probfom (e.g. an increase 11 the blood pressure dillplay area may cause a slider input
in HRV 6ugge~tive of a cardiac dysfunction). This may allow                HO(k for blood pr~s~ure lo pop up. The user or subject may
the conpling of contit1uou~ HR mm1itoring with ECG                        use the Hlider to enter md save his or her blood pres~nre for
recording and ~nalysfo for disease dhignosiB and dise~1se                 1l1e <lay, Similar pclp•up~ or usereselected inputs may be
manngemeut.                                                               provided for the otller in1lueucers, Por exfllllpk,, the ns,1r or
    FJG. 10 illust.rnres om, varialfon of a metl10d for moni .. 20 subje,:1 may (',nti:,r bis or .her daily ca:f!ein1J or alooho.l Intake,
taring a subject to decemtine when ·to record an ek~ctrocnr-              ilr~s8 and sleep fovels, mrtdtion levels, or activity and fitne1s
diogmtn (ECG). In FlG. JO, ll sul:\ject iB wearing a ~-ontinu      0
                                                                          1evfl1s (e.g. low/bad, me,li1unlso,so, or hlgb/sood 'based on
ous be:irt mte monitor (c.oufigmed as a watch 1010,                        the llser's age, gender, height, weight, etc. as can be indi•
including electrodes 10.16), shown iJ.1 step 1002. The heait              cated hy an .instmcfa111 page o:f tho mobile app 101a). The
rnto mo1tltor l:tll1ts1rul£ (wirelessly 1012) heart rate informa• 25 lnfluonc,:.~• displnys m11y also show th(l goal progmss.ion of
timt 1lmt is rt'lleived by 01~ lilllartphmte 1018, os show11 .in           the useJ or subject.
step 1004. Tho snmrtpltone includes a proct\~sor that may                      FIGS. 'l2 and 12A show scr,:,enshots of 11 gonls mu.I
,malyze tit,;, hen.rt rat,i i1,forroatiou 1004, and when an               rer!ommendittion.s page .1200 of the cardiac disease and
irregul~rity is ,forermim,•d, may in.r1kate 1006 lo lite st1bject         rltythm llUIMgc.mmt system interface or mobile app !Ola. A
tbi1t a11 ECG should be ro,mrded. (n FIG. 10, an mnlrnlatory JO top pOltirm 1.200a of the goals m.1d recommendations page
ECG monitor 1014 is ,rtmd1ed (as a case having electrodes)                HOO may cmnpriac a I.fating of 7-day goals for the user or
to the phone 1018. The user may apply the ECG monitor as                  imbject. The top portion 1200a may forthar comprise every-
to thelr body (0.g, clwst, ktweffll a1ms, etc.) 1008 to mcord             day goals for the n1,1r or ~ubject which ol'te11 cmrnot be
BCOs that can then be 1aved and/ortr1111sm.ilted for analysi$,            removed or changed The user or subjed can check o:tftbesc
    F1GS.11 tind11As.how screenshots ofar.1 atrial llbriUation .15 goufa or recon1JncmlHtio11s :is he or she meets thmn, The top
dashboard 1100 of u us~r iin.~d'ace for the cnrdfoc diser.1se             portion 1200a may track goal completion percentage over a
ond/or rhythm manngement syst~m 100. PIG. l.l shows o top                 'l-day period, The user or subject cnn s111 the same gools for
portion l:IOOa of the a1.rial fibrillation dmiliboard 1100 wl\ile         the n,1Xt day oru:l/or 6el new gm1ls.
FIG ..IOA ~hows a bottom. portion UOOb of the at:t·lal                         A bottom portion 1200b of tho goi1ls tmd n:x:omrnonifo.
fibriL!!ltion ooshboErd :11.00.                                        40 tions p1;1ge 1200 may comprhe a listing ofllew goals whkih
    The top portion ll OOa of the m11al fibrillation da8hbonrd            the user o.r 1mhject may il<ld. '.tlto 1ww gi:mls muy bo c1it0~10•
1100 us shown in FIU. HI may displ.!1y the current cardh<:                riz,ld into gmils or roc,ommendntJoo.s for atrial fibrillation
health score of the user or subieot, n recent best cardiac                matlllgmnont, stress management, and/or other catogorics.
health score of th-, user or :,'UbJ~ct, and a con.1.plctlon per,          For example, guals for alrial fibrillation lllilill1gcrrient n:my
ccntage ofrcx:omm~1idat.ion(s) amVor goal(s) for cheuseroi· 45 include taldng dully medications, reducing catfoinc intahl,
subject. The user or subject ntlil)' tap any one of the cmdfac            imd redudng akahol intake. And, goals for str.1ss m11m1go-
health scorn cilspl!iys or lbe reconunendntion(s) a.nci/or                mont may include mcditute for 5 minutes daily, take blood
goal(s) displays to uct"<is~ more detllifod ini\mnniion regard-           press1m1 rending dully, and getting at least 7 hours of sk:cp
mg tbe cuk11Jated he~lth ,core(s) or .recomme11d11tloo(s) niglttly. Using the goals and recommc:ndatlo.ns page 1200,
and/or g,oaJ(s), respectively. Tho top porlkm 1100a may n:lso so the user or suqjcc( CM set their goul, for the wcdc. 011c or
show an ECG of the w10.r ar subject and a button which may                more o:f the.10 goals may be fJUl(1111abcally rocomme.nd~>d to
be tapped to rc-'Cord the ECG o:f the user m: subject for the             tht1 user or s11bject orb" reco=cnded by a physidan havi11g
day. As discussed with wforoncc to FIG. l, the ECG mny be                 access lo tho dash.board 1100. For example, fl(Jals may be
re(:ord<::d \Vlth a lmn<lhdd smisor 103 in t'Olllllll.llllC!ltion with    recommended bas~d on 'lost week's progress. '!he oomple-
the local computing device :I 00. The top portion 1000.i may 55 tiou of rocommendc-d g<J11ls can .result in. the user or subjt.'Ct
also show the nurubcx ()f 11trinl Jlbrllh1tion epis()des tmd the          et1nii:ng more "poluts," in d.f,1ct gamllyiug health allCI. c~-
average dum1io11 of those atrial fibrillation episodes. "11.tis           dfac rhythm mf.l11agement for the user or subject Altertta•
number and d1.1.m1ion lllllY be generated automaticalJy by                lively, or in comb.inadon, the gonfa ru11y be s~'l by ll physldlln.
sol'twure or logic of the mohilc app 101a based on or in                  having access to the dashboard .1100,
response to th;; ECG measurements lllk;;u hy the user or ID FIG. 13 shows a sc-reenHhol of II user's local computi11g
s1ibject. Altemalively, or in combinatian, a phyRician may                <levke ll.otlfying the use.r with a pop-up notice 1300 to meet
access the atrial flbr:illation dashboard 1100 ofan individual            thdr daily rocolll!nendations and goals. By t11pping on the
user or sul\ject, evaluate hi$ o.r her ECGs, and p1·ovide Li1c            pop-up notice, 1300, tli.i user or subject cim be taken to the
number of atrfal fibrillation ~isodes Md rheir duratio.r1 to              atrial tlbrillation tfa:1hboo.rtl. where the user ,Jr ,rnbj~ct c,m
the mobile app .I01a or other S()ftwa1·e loaded 011 ,he locBI c,s update ()f otherwise munage thdr cardiac health,
computing dwice 101 of the user or s1i~j~ct. The shoitest                     F[G, 14 sbtJws ~JI embodim<1nt comprising a snrnrt watch
and l\l11gest 1\urations of (he atrM ft'brillt\tion episodes may          l400 which i11clndes at leust Ol!C he.m rat!;) monitor 1402 and




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at least one activity monitor 1404. One or more processors             Akit can include downloadable software such as an "app"
are coupled to one or more non-transitory memories of the           for detecting an advisory condition for recording an ECG
smart watch and configured to communicate with the heart            and an ECG device. The ECG device can be present on a
rate monitor 1402 and the activity monitor 1404. 'Ihc one or        watch band for replacing a specific band on a smart watch.
more processors are further coupled to an output device 5 The ECG device can also be provided on a smart phone back
1408. Processor executable code is stored on the one or more        plate for replacing an existing removable smartphone back.
memories and when executed by the one or more processors            In another configuration, the ECG device is usable as a
causes the one or more processors to detennine if heart rate        smartphone protective case.
and activity measurements represent an advisory condition              Software on the smartphone or smart watch can also
for recording an ECG, and generate and send notification 10 combine data and signals from other sensors built into the
signals through the output device 1408 when rui advisory            smartphone or smart watch such as a GPS.
condition for recording an ECG is detennined.                          While preferred embodiments of the present disclosure
   For example, presently available smart watches include           have been shown and described herein, it will be obvious to
motion sensors such as pedometers. Pedometers can be                those skilled in the art that such embodiments are provided
based on an accelerometer or electromechanical mechanism 15 by way of example only. Numerous variations, changes, and
such as a pendulum, magnetic reed proximity switch, and a           substitutions will now occur to those skilled in !he art
spring suspended lever arm with metal-on-metal contact.             without departing from the subject matter described herein.
Modern accelerometers are often small micro electro-me-             lt should be understood that various alternatives to the
chanical systems and are well known by those skilled in the         embodiments of the subject matter described herein may be
art. Heart rate monitors are readily available with smart 20 employed in practicing the subject matter described herein.
phones as well as smart watches. One type uses an optical           lt is intended that the following claims defme the scope of
sensor to detect the fluctuation of blood flow. The signal can      the disclosure and that methods and structures within the
be amplified furtherusing, for example, a microcontroller to        scope of these claims and their equivalents be covered
count the rate of fluctuation, which is actually the heart rate.    thereby.
   An advisory condition for recording an ECG may occur 25
due to, for example, large continuing fluctuations in heart            What is claimed is:
rate. An advisory condition for recording an ECG can also              1. A smart watch to detect the presence of an arrhythmia
occur when a measured heart rate increases rapidly without          of a user, comprising:
a corresponding increase in activity monitored by, for                 a processing device;
example, an accelerometer. By comparing measured heart 30 a photoplethysmography ("PPG") sensor operatively
rate changes with measured activity changes, 1he presently                coupled to the processing device;
disclosed software or "app" minimizes false alanns are                 an ECG sensor, comprising two or more ECG electrodes,
minimized. ECG devices are described in U.S. Ser. No.                     lhe ECG sensor operatively coupled to the processing
12/796,188, filed Jun. 8, 2010, now U.S. Pat. No. 8,509,882,              device;
hereby expressly incorporated herein by reference in its 35 a display operatively coupled to the processing device;
entirety. The ECG device can be present in a smart watch                  and
band or a smart phone. Jn one embodiment, the ECG device               a memory, operatively coupled to the processing device,
includes an electrode assembly configured to sense heart-                 1he memory having instructions stored thereon that,
related signals upon contact with a user's skin, and to                   when executed by the processing device, cause the
convert the sensed heart-related signals to an ECG electric 40            processing device to:
signal. The ECG device trdllsmits an ultrasonic frequency                 receive PPG data from the PPG sensor;
modulated ECG signal to a computing device such as, for                   detect, based on the PPG data, the presence of an
example, a smartphone. Software running on 1he computing                     arrhythmia;
device or smartphone digitizes and processes the audio in                 receive ECG data from the ECG sensor; and
real-time, where the frequency modulated ECG signal is 45                 confirm the presence of the arrhythmia based on the
demodulated. The ECG can be further processed using                          ECG data.
algorithms to calculate heart rate and identify arrhythmias.           2. The smart watch of claim 1, further comprising a
The ECG, heart rate, and rhythm information can be dis-             motion sensor operatively coupled to 1he processing device,
played on the computer or smartphone, stored locally for            wherein to detect the presence of the arrhythmia, the pro-
later retrieval, and/or transmitted in real-time to a web server 50 cessing device is configured to:
via a 2G/3G/4G, Wi-Fi or other Internet connection. In                 receive motion sensor data from the motion sensor; and
addition to the display and local processing of 1he ECG data,          dctennine, from motion sensor data, that the user is at rest.
the computer or smartphone can transmit, in real-time, the             3. The smart watch of claim 2, wherein to detect the
ECG, heart rate and rhy1hm data via a secure web connec-            presence of the arrhythmia, the processing device is config-
tion for viewing, storage and further analysis via a web 55 ured to inputthe PPG data into a machine learning algorithm
browser interface.                                                  trained to detect arrhythmias.
   In another embodiment, the converter assembly of an                 4. The smart watch of claim 2, wherein to detect the
ECG device is integrated with, and electrically connected to        presence of the arrhythmia, the processing device is config-
the electrode assembly and is configured to convert the             ured to;
electric ECG signal generated by electrode assembly to a 60 determine heartrate variability ("HRV'') data from the
frequency modulated ECG ultrasonic signal haviug a carrier                PPG data; and
frequency in the range of from about 18 kHz to about 24                detect, based on the HRV data, the presence of the
kHz. It is sometimes desirable to utilize a carrier frequency             arrhythmia.
in the 20 kHz to 24 kHz range. The ultrasonic range creates            5. The smart watch of claim 4, wherein to detect the
both a lower noise and a silent communication between the 65 presence of the arrhythmia, the processing device is config-
acquisition electronics and the computing device such as the        ured to input the HRV data into a machine learniug algo-
smartphone, notebook, smart watch and the like.                     rithm trained to detect arrhythmias.



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                                                        us 10,595,731112
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                           of
     6, The imart w,1toh clailu 5, wherein to detect t.he                      19. Tiie method of ,:lain:t 18, wherein dotect:ing tile pre~;
1,r~~~'tlCij (lflhe m·t·hyfhmia, the prnc,1ssi11g device is fmih,,r       e11cc of IJ1e ,1rrhytlu11ia com.prises inptUling lhe PPG dat11
c\lnfigured to input the 1110ti011 .1~mor data with thij HRV              itl)<> a machine lean:tlng algorithm trnined to d<lwc1 anllyth•
data into the machine learning algoritlun tmiued to detect                m111s.
arrhythmirm.                                                                   20. '!'he method of cluim 18, wherein detL-cting the pres•
     7; The ~mmT wale~ of cfolm 1, wheri.'in the pro~essing               encc of the orrhythntlu comprises:
 device is !urthor cont1gured to:                                              determining hoortratc variability ("HRV") dats from the
     extract one o.r I!l()l'l! foatures frmn the PPG data; und                    PPG data; aud
     detect, based 011 the 011.e or nwru foaltu·es, the pres~t1oo of           detecting, based 011 the HRV data, the pres~nce of the
        the urrhytbJ:11.ia.                                           !O         ~nhythmia,
     8. The s1ru1rt wntch of clliim 7, wher~~tl the one 01 mot-e              21.. lhe Jll(l!hod of claim 20, wherein dctci;1i11g the pres•
foature, comispm1d to an HRV sign~! ,IJlitly:r..eil in B time             euce of tho nrrhythmi11 comprises inputting the !IRV data
domain,                                     ·       ·                     urlll a muclu.ne learning ulgorithrn twined to detect urrb)1h•
     9, The sn:mrt wotch of dalm 7, wherein the one 1.11• more            mias.
features comprise a nonlinoor transfo1:rn of R-R mtio or R-R 1s 22, The method of claim 21, wheidn d,w1ctlng the pres-
mtio i,iatfarks with m1 adaptive weig;ltting foctor,                     once of tho ,,~rhythmin comprises inputting tbe motfo11
     JO. The sm1ut watch of d,dm 7, wherein the o.ne oi: mo~             sensor d11tu with the IIRV data i.nto the llllld1lne l~arnlog
:feat11res ,u·~ features of rut HRV sigllal ,1nitlyzed geometd-          algorithm trn.ined I<.> d,;,tcct mrhyt!ullios.
cully,                                                                         23. 111e uwtl:wd of claim 17, !\trther comp.rising genetat-
     11. The smart wmd1 of doim 7, wlwr~lt1 the one or more 211 ing a notilication of the d.ctocl!ld iu·rhytbmia.                  ·
foatui·es ure fontLtre~ of an HRV ~igirnl anruyw<I ln tho                     24.Thcmethoctofclaim l7,J\trthe1·c,)mprlslt1.grecclvillg
t'.requeMy domain,                                                        tho ECG d,1ta from tlic ECG sensor iurespons~ to receiving
     l~. ·~11e. smart wntcl1 of ch1im l, wherein the proct),ising        an indication (YJ' a user actlon.
devwe ts Jmiher mnJlgured to geoef'Jt~ 11 notilkatfon of the                  25. A 1rnn-trnllsitory computet'-readable storage rucdh1m
detected arrhythm.ia.                                                2, J11ciudit1g instmctiorJB that, when ex~cutcd by a processing
    13. 'l11e sm111t watch of d1dt.t1 l, frnihcI c,lmprislng a d,wke, cause the pro~esslng device 10:
biomen:k dat11 sensor, wherein the p.roc0ssing ctiivice is                    receive PPG data .froui a PPG sensor of the smarlWBtch;
thrther ~onJlgured to:                                                        detect by the pJ'ocessing device, basud on th~ PPG data,
    receive b1omet.ric data of the user ff(llll lhe biom.ettic data              the pwsence of un atibythm.ia;
        sew;or; u11d                                                 10 re-0eive 8CG data from 1m ECG ~c.'tlsor ofthe smitrtwarx:h:
    detect, bi1sed o:u the bio111etrio dl.lta, the ptesence o:f th~              and
        ar!'l1ytlunia,                                                        con:tfrm die pr,isencc of the ar-rhyth1nia b11sed lln the ECG
    14. The smart watch of cla.im 13, whorei11 the hiom,:,tdo                    dau1.
dma compl'i~t'S m leuHt ,1n;i of: a te11iperatm·e, 11 h](lod                  26. 'J11c 1100-trausJtory COlllJlUlcr-rcadahle stD1'!I/!<'
pressure., Of ~t, inertial ,k1tr.1 oftb,i n!er.                      :1, m~dimn of clamt 25. wher(•i11 th,: pmcessing device j~
    15. Tbr sm(trl watch of claim 1,, the prooesshi.g device             1\mher corulgurcd to:
fnrther co.rmgLu·ed to display 1it1 ECG rhythm mrip frnm llw                  exrract on~ or mol'e roatL1ws :from the PPG data: and
ECG d~tu.                                                                     detect, based on the one or more footul<ls, the presem:e of
    lli, Th~ snwrt watch of clili.m I, tho pmoessing (fovic,1                    tb.e arrhytbmfol,
fo.ttbel' tn reoeive the HCG dirta .frmu tb.-, ECG seui,lr i.n 40 2'. Tb~ 11.m1·tr~nsitozy comp11tcr-1·eadi:1bl¢ stn.1·ag>:J
response t<) 1:eceivh1g an Judic11tlm1 of a user iictiou.                medium ol clam1 26, wherein the one or mm-e features
    1.7, Am.etllod 10 d~tecrt the prese1we of a. 11 m·diythm:ia <lf correspond ~l !Ill. HRV Bigttal um1lyz,id in a time domnin,
~ user on a smart watch, comprising:                                          2~. The 11.1m-u:a11sitOJ.y computor-m.dable ito1·agc
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        watch; and                                                       1twdiutn of cfoim 26, wherein. !'he 011e or more .fe11t1.1res al'e
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U.S. PATENT: 10,638,941
ISSUE DATE: May 05, 2020




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     Albert et al.                                                              (45J Date of Patent:                       *May 5, 2020

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(72) Invento!'s: D11vld E, All,lll't, Okfohoma City, OK                       CI'C ............ MJ8 5/()205 (W13 01 ); A6llJ 51681
                 (US); Omar Dawood, San Franois~o,                                         (2013.0l)i A61IJ 517267 (2(Hl(HJ; A61JJ
                 CA (US); lfavl Gopalakrlshnmt, Sau                                  5/02405 (2013.0l); M.lli 5/0J438 (2013.0l);
                   F1·~n~1a.:o, CA (US)                                                         A6W 51046 (2013.01); A6l!J 5!0464
                                                                                         (2013,01); A6J.~ 5104085 (2013,01); A61B
(73) Assignee: AliveCol', Inc., M01.u11ail! View, CA                                 SI/L/8 (2013.01); A6/IJ 2562/0219 (20.13.01)
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     Jul, 21, 2017, now P~t. No. 10,537,250, whi~h ls a                  (74) Attorney, Agent, or Firm-~ Wornbfo !loncl Dic.ldnson
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     13, 1015.                                                           Described herein ~re systems, devices, and methods for
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(51) Int. Cl,                                                            methods described herein niay fie l!iled to conveniently sense
     <'1.618 S/02               (2006.01)                                1h~ presence of nn intennitte.ll! an:hythmia in nn individual.
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     tl.61.B J/011              (20()(',i)lJ                             farther configured to sense an efoc1rocardiogram.
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claims the bet1.e t o:f U.S. Provisional Applbtion No.                         comprising: sensing 11n a~'tlviiy fovol vnluc of an individuul
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                               SUMMARY                                          second sensor comprises a phorose11sor. ln ioow embodi-
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sens1Jd cnntinmma.ly such ,1s, fo1· exw.11pk\ b,"irt rut" at1d                 $e;x,nd s1111~,1t c,i1npris11!l 11 photll~et1li<lr, In ,mine embodl•
activity lewl, nm:! an11!yzcd \O p.r.xlict m· del:e.rmit1e the on menlll, siiid <Us~ordance ii determined to be present when
presence of an ,u·rhythrnia, One (1r mor~ oonvenl<\111:ly 01111 ..             $lllil activity level valt1-0 J$ normal ,md Gatd heart rate va.luo
tlnuously ~o~sed p1m1meter valuoo ~uch as, for exampki,                        is elev11ted. In 1om,1 embodim~nt~, silid c<lmputcr pmgroiu
heart rate nnd aotivi!y Jevd may b~ ,1nalyr~ !1l det,,.rn,hte                  lt1cl11J-0n ill$U1Wl!Oll$ llltlt 01.1\rne said J)l'()-0<)$~01" I:() det~tl)lil\tl
?te futtire onset of or tbe pr<.1Scn,,c of im Ul'~hytbmk1 by                   u b~11r1: r,ne v11riahility value. ln llllme m1ibQdirnei1ts, said
idontifying discordi111ce between these two pal'ameter val- 65 ,Jis"mxfau~r, is determit1c'd to be prese.nt wh,,u Sijid a,1tivi1y
ues. F1Jr eirntuple, di1cord1m(:e between two seual'<l vnlues                   levd w1lue fo normal, aaid 1t~arl rat<1 V>Jlu,, is tj]<lvated, ruJd
may indk~te the future onset of or the presence \lf an                         s11id heart rate variability value is inctoe1$cd. In same



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                                  3                                                                          4
 ctnbodimenls, said computer progmm :inclmks instructions                    greater than 100 beat! per millllt¢. Variance ofhcart rate over
 that cau~e s,tld procei;sor to indi~ate a presence of atrial                a period of time may be rofon-ed to as Heart Rate Vmfability
 fibrillatlo11. ]n some embodiments, said discordnnce is deter•              (HIN).
 minlld Lo he present when saicl activity level value ls JlO!'mal,               Heart fonction is also measured in 1,irms of regula1:ity of
 iaid heart rate vah1e is elevnrod, and said heart rate vari •               rhythm. A normal heart rhythm comprises o:f a ;ystole
 ahility value is elevated. In soroe emhodimen.ts, ol\id ~om,                (ejcctiou phase) aml diastole (lilling phase). During the
 puter pmgr11m .inclt11le6 inst1'1Wlio1w that cm1ic said prl)(:cswr          pha~es of sy;t()le imd dia1tole, tbe v,mlricks of the heart act
 to u1dic,1te u pr~setice oJ a iupruventricuhir tl\Cliycardia, lu            in cc111cert in a .1"egt!li1r .mam1er that fa repeated with eve.ty
 sllme embodimeiits, said ,oniptlter progrnm includes                        single heartbeat. Wh,m tb~re ii an abnom1nlity of rhythtn,
 instructions that cause said processor t.o set ()De or more Jll the co11ditiou is lypic111ly refolwd to as au ,u1hythmia,
 threshold v,ilue.~ based on said ,ictivity level value, and said            Hxa01pl~s of ar1:hylhoii,1s i11clud~ atritil fib.tilfatioJJ, WPW
htlfil't rate vii1ue.                                                       syndrome, prolrmged QT ij)'IMlrmne, tind prmml1Jre w11-
                                                                             tricular contr,.1c1io11s.
     In 8ome embodiments, said one or mriro threshold values                     Mmiy atrhytlmtlas occur intertn.itwmly aud refatively
 is detenni.tied using a machine learning algorithm.                     15 itrfrequelllly.    Thus, in order t<'.f morutor ,uid capture 1111
     Described herein h a method for e1u:diac monitoring,                    it1termi1tel!t ard1yrbmin, coutinucrns monitoring is typically
 co1nprising: ~enSil!il mi llctivity level value of 8/\ individu,tl         required. ECGs cim bo measured continuously in ,be 1m1bu•
 with ,1 first Stt111lr of ,1 wem~tble dev.ke wom liy S8id                  fotory patient 1wi11g holtor moni1(lring, but this typo of
 individual; sensing ,1 lwirt. rate valu~ of ,11.id individu!ll with        monitoring is curnb~rs1Jme for the patient aud ts thus not
 a second sensor of said wearable device; determi,u11g if ,1 JO widely used. A device or system configured to wl<c 0n
 dfocordan,.., ii prcse.nt bmw~.n two or m/Jr~ of said a1~tivity            intcmitteut ECG is much more (:otmm:icnl for users. Such
 level value and 1aid heart rate value by using 1111 ac('ivlty              d,wfoes or systems comprise11 mobile oomputin~ device that
 level threslmJd and a heart rate threshold with a 11rooc,sor of            includes oue 11r more electmd,1s that sense an ECG when
 sl\id wearable device; and adjusting said activity level                   colltacted by a skin $\ll'foce of the patieut. Such d~vic:es ate
 threshold and saicl b.ourt rate level thresbold usillg a llWl!hir1~ 25 light aml portable and don't iiee11ssari.ly require th~ um to
 learning algorithm ext;JCnted by said p.moossor,                           be in continuous physical contact with 011c or more elec•
                                                                            !rode~ as lliey would witn a bolter type ltlllllit\lt', llltennitt.'nt
          BRJHF DESCRIPT10N OF THE DRAWINGS                                 arrhy11:in1i11s O!lu he ri;:,:()tded with thea~ devices and systems
                                                                            w/\e11 ii 1rncr is given ,w iu<lkation twit a11 iutenui(!lc:nt
     'Ute novel features uf the individual matter descrilied :io arrhyth111ia ii oGcatdug, HRV .iensi11g i~ uied in co,ubiua•
llOCl!itl are set forth with par!im.tfad(y in tbe appended claims.          tion with those devices()! syste111$ to imlitate to ,1 trner when
 Al1Nte1· 1mdi:it'llliludiug of tl1e fouturc, and advm1ti1ges <If the       to CQ111!1,t 11ne or more ofoctroik-s in <Jrd~t t() son~ij im ECG.
pt'eiif/11 ill(lividulll 11wt1:er de!llldh~d h~rein will b<J ,1btnio.~d         FJG. l shows a heart rate trdcUJg 100 witli a c,mesponti-
by refore.nce to th~ following detuiled de,'<!ription thijt 1,et~           ing elec,tmcatdiogr,im (ECG) ttaciitg 104 both sensed ftoro
 fo1th illu.itraiive ij!lJ bodiments, i11 which th~ 11rinci11lei of tl1~ J5 the same individual ov,:r the same period. A, is shown In the
 illclivldw1I mattct descdb0d herein aro nt:ilir~<l, arul the               ECG tracing '104, th~ mdivklual experlcnccd u perio,1 of
 acoompa11yin.g cb'nwiugs elf which:                                        i11tcrmlttent r1ti-iul flbritl!tlion 106 during -U1e lllnc that tho
     FIG. I shows IJ lwmt .rate tracing wltti ,1 correspolldhlg             ECG was sensed. As ls Bloo shown in tlu, heart rate tnidng
elcctroclll'Cliogrwn (ECG) trnd11g bo1h sensed from tlw same                100, the heart rate of the im:tivid,rul rapidly increa;~d 102
 imlivldmi.l 1JV<$ t/1c same pc1iod.                                     40 during ihe pe,1iod of itttcrmittenl atrial fibrillation. As such,
     FJG, 2 shows o graphic showing both heart rate U!l[.I                  the l:!RV of the individual increased during the period of
rhythm fmalysis over a period of' time in an individmil who                 i11tem,ittellt atrial tlbril.l11tion as tl:w hc,irt rate of the iu<li•
exverienced di fferont mrhythmias.                                          vidu~l i11c1'<'aied from a ms ting heart rate to an increased
     F!G. 3 shows a close up ofa heartrnte trndng sc'tlsed over             heart 111te 1oz, HRV chmiges are tb~dore as;ociated with
a pe.fod of par,1xysmal atrial fibrilh1t.ion.                            45 tlttfal ffbrillati<lll, wll\lrcill i11cremred HRV ii fml)ld duriug
     Fl<r, 4 sltow, avuilijble tcd1nologitts for 1'.outinuou&ly             pei'i,)d~ vf int.~nniltent ,1trial fibrillal:iuu.
s~t1Si11g a ll~a,t rate or an 11<,1tlvity level.                                FJO. 2 show$ .t graphic slwwiug b()ih hec1rt c11te 202 ~Jlcl
     FIG. 5 shows ,t Jlhotoseu~<Jr c011Hni.1l\ly used to mcaij\Jre          thytlun ,lllaly&ii lOO over ,1 period (lf time in m1 indiYid1.1111
h~nrt rates imeg1,1ted wirh n &tMrtwatch,                                   wh1) experiencecl di!formit mhytl1mi11s. As 1hnw11, the moo-
     FK/, 6 ~xeiuplifi~s 11 ~omp1.11<1t syste1111hut fa ])!\lgmmtned so sm:td h<lllrl rate 2~2 len.d<J(l to incl'~ase 11hnve 100 hellt5 per
<lt oth0rwise ~outig1.1r~d t,1 ij•i!,tt 011e Ql 1110.rt phy~iologic         min11te d11rit1g the periods oJ' se11$Q1.\ atrial llbrillati()n 200.
puramet:~tS of a11 individual.                                              Thus, devatedhemt rntc above rnsting ru:artnl!c occllrre<l in
     FIG. 7 shows a 1chematk of m1 algorithm for1U1mrdance                  this individual during the period ,if 11rrhj11l!tnfa.
monitoring.                                                                     !IJG. 3 shows u cluseup uf uheartrutc tmcillg scnscdovei
                                                                         s, a pociotl of purnxy:mml ,ttrial llbril!ation. As showll, th.ore
                    DETAILED DESCRIPTION                                    was a substantial step U1cret11~ from a 1101111al heart o:f
                                                                            between 60..l(~) beat, per minute 10 above 100 be.its per
    Cardiac Monitoring                                                      minute 302 dnring the ·period of attial fibrillation.
    Ocscribe;I herein are systems, dwices, and methods for                      FIG, 4 sbllWB available tedmologies 40() for continuously
u~e in CITTtditlC 1noli11()til111; Cardluc mmtitmi1ig ryp.it:lllly 1;o sen1ing a boart rai:e or an ru;tivity lev~l. Shown are smart•
~11tnp1i~e1; ml1uil1Jring oftbe heart ftut~tion (>f m.1 i11div.idU11l       w,1tche.1 made avail~ble by lllill\Ufocture~ such as, for
for changes it1, !or example, heart mte LIi' h,\m1 rhythm,                  example, Apple. A wear~r of one of the shown smartwatch
     Heart rate may vary beiws'<"ln, for ~xample, llradycurdia              ~u.bnol,1gks 400 may C<lllVtniently a11d GontiuuMoly w~ar
which typically i~dt.,>fmed us iiheurtmte oflc,is ib!llt 60b~1ts            orw or more ~~M11ru lhat arc either c,mpled 10 or integrated
per minute, mm:nal retrting heart rate whkh typically is ol with tlte watch thronglwlll th~ dr1y, thus, eJfoc1ively continu-
detilled as ,1 heart rnte of betwe~n 60-lOO b,>ats pe.11niuu1<>,            ously mon.itotit1g one o.r more pitrMuetet' v11lu0, via th0 ()Ile
and tachycardia which typically ls dilfined 11; u heart rate of             or more sensom thirt are either coupk<I t(1 or l11t~grnl<Xl with



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                                   5                                                                              6
the .mrutwatch. Tims, '.Jue of 1he, 11111a~-t~tc:'h !~>¢\111olog~es            operatively cnupletl to a computcrnctwork ("nctwork'')'6O3
40() are an exi1mpfo ot a IYJJ~ ot dovic0 m the forru ot a                     with the aid of th~ comm1mk,1tkm Jnt;;rfoce 602. ThtJ
wearable tl111t conveniently provides continuous 111onitodng                   110\wofk li03 can be the lntemot, an l11tet·1.!Ct and/or extranet,
()f 011., or more param~tern of u user, Non-limiting <JXitmplei                o.r mi intranet 111!.d/or oxttanot lhat i,i il1 c0t:mounicatio11 with
of wcar2blo devictl~ tlt~t tuay have oite OK m\11"e se11sors                   the lnM11et. The 11etwork 603 in sorno c~sos i~ a tefocom-
 either coupled to them or iliteg!llt~d wil'h thom in~Jl!(!I)                  mmlicati()u 1U1<lk1r dam ue,work. The ul'!\w,1r.k 603 ciu1
watches (e.g. smartw:1tches), eyeglasses, wristhands, nock-                    include one or mol'C c1J111p11ter servers, wbkh crin criible
lacoo and clotlting. Tl~~ o.n~ tJr more ~'.,111ti1mtJ1Bly ae1m~d               distdbt1t,lll c(mip11tins, sud1 118 doud computing. The net-
prn-a~eten; oftbe lJijer ,1f su<.:h ij l.~x;llr,ology as, fol' exampki,        work 603, in ,,ome cases wi'lh the aid llfthe computer symem
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a dovice or ~y.tem ·to s,msrj atl ECG. 1'(11· tJXiunple, a uier                enable ,Jevkcs rxrnpfod to tl1e c,m1p11tor synte111. 601. to
wearing a sm,irtwatch h,1ving a .hem'I 11:1te senaor ia alerted by             bchnve as ~ ~lietlt ot' 11 server,
me smanwatch to reGQl'd mi IlCG when ,he HRV of U1c 1rn\ll'                        Tl:w CPU 605 can 11xec1.1tc a St.'qiwnce of machin~-read-
:increases.                                                                    i:lblo uis1n1cdoni, whkh <:a11 be eiulxJi!ied in " pn:,gri1m or
    FlG. 5 shows a ph,ltclscn~o1· 500 c,,mmouly uaed to IS $tJitw,11-e. Th0 in,;t\1Jc;tio11s may b~ st-,rtJd ii1 a ll!~tn<JJ"Y
measure heart rates i.ntcgralt!Cl with a Sll~\rtw(llci1 502,                   .1\lciitkm, su~h as the memoey 610. Tite irts1ructim1s can he
    Activity level is co.miMoo with m:i;hytkmib ln mijny                       directed to the CPU 605, \\,hidt Qt\tl subsequ~utly p1t12:i-a111
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wherein increasixl 11ctivity I~e1 is 11is0ciatL'<.i with on~cl' of             ,1fthe present discl{)sure. Exampfoll of ,111eratlons _performed
arrhythmia. In 0th.er imllvidm1I~ an ilwreaicd aQtivlly level 20 hy thi,, CPU (il)5 ,,iro. J.rwlmle fetcb, deood,i, execute, 11ud.
that is derected by one or more uctlvi(y SttJ$Ol'$ i.u the                     writebaLJk.
presenco of iocreased HRV ia likely llOtmal and :is t101                           Th,1 CPU 605 cuu be part o.f a cir•.mlt, ~uch 11$ m\ integrated
associated with 1mhytbrni11. Thu~, as desctib~d hereiu, tlw                    oirc\lit. Owi Qr moN, otbeHom1xm~11ts (lf tlw sys tent 601 can
addition of conti1111ons hr~ll't rare ln(lnitol'ing akmg with                  be in~ll11k'd in tbe dr1:11it In ~ome 0a~~s, the cir,;uit is !Ill
cCl!ltinuous activity level monimdr1g nmy achieve the sm11e 2s applfoatfon specific int,1grated decuit (ASTC).
results, in terms of arrhytl:uufa nmnito.rillg, as C(lt11:u11wus                   The st-m1g¢ uuit m; can stote Hles., such as drlvern,
electrocardiogr,u11 U1(11limring. Using (ltle or mooo set1J1<1rs                lihmties and sawd prugr,uii~. '.l11e slomge 1111it 615 Galt s1<1re
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ously sensed.                                                                  puter system 601, st.ich Q~ looat<:i<:l()n a r11111ote sei·v~,r that ii
     Devic~s and Systenis                                                      in comn1u11icatiot1 with tho c11mputer syiteui 601 tmo11gb. !:Ill
    FlG. 6 \llio:inplifiea n computer system 601 that is pro-                  lutranet or the Internet,
grammed or otherwi,,e coufigi.u·ed to sense on.e or .more                          The computer system 601 ~im co1:111111mic,1t~ with (ll10 or
physitJ!ogic parameters of mt imlividu~l. N(m-limiting :is more t(.IIUllte rnmpuler aystcm~ th\tlltgh the nelw\lrk 603,
ex:ample~ of physiologic parameters indude hcill'l rate,                       For i!llltam:e, the CO!lljl\lNI" iYWlll\ 601 tall C\))ll!llUllic:at~
blood preiimre, romperntun.i, oxygen saturntio.n, IJCG, HRV,                   with a re111.ote ~omputer izysiem of a 11se1· (e.g., mobile
aod activity lcwl. Th,i computer system 601 comprise$ au                       dev.ioe, 8erve1; etc.). Bxw.nplc~ ofreUl\lle conipiiter sy6t,;,i.11s
ele<:lt<inic device of a user 635, ,,r cmnprfaes a computer                    include. personal computem (e.g., portable PC), s.late or
$yitem thut i~ rmnotely J()cated with rcspe~t to the 1ll-0cll',mfo 40 tabfot PC's (e.g., ApJiJe® iPud, Samsung® Gillaxy T11b),
devke 635. Electronic ,tevicos iuitablo for u~e witil the                      telephtltl~B, Siuart Jlhones (e.g., App!,1® .iPhone, Andro1d-
syitem 601 iui:lude mobile cl,~tmuk devices s11cl1 ;1s smart•                  e.11abkd device, BI~ckben·yQJ:>), or personal digital asBist1mw.
ph(,ne,i, ~martwatches, tablets, :md faptapi. The electronic                   The user can access tl\e computer system 601 via the
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sense a J,ihyaiol1>gk p,1rametlll', Numero11, sensors are known 45 Methods as described be,00i11 can be impl~iuented hy way
for mcasmi1w; 11~':lrt rate. Non•IJiniting el\amp!es of sl'litabl€             of machine (e.g., computer pmcess()r) lilKC~utabl~ code
sensor, iMh1ds1 light ba1ed sensors such as, tbr example,                      stored on an el~.l)tro.nk $lilrnge location of th"' co1JJ:p11ter
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sors. Sensors for 1.neasudng rhyt1im include ele.,trodes for                   electronic ato1-age unit 6:lS. The maGl1111e eKec11tnbfo or
n1ei1H111iug el,1ctro~ardiogmm1 (ECG) amt Hgl1t bas~-d ~on- ,o nmdiln~ .remlllbki code can be pnwided in !ii~ fonn of
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unit (CPU, ill~Q "proccsso.t'' and ''computer procem1.r''                      the storage1mit 615 and sto.l'ed on the memory 610 for .ready
herein) liOS, wblch can be a single core or multi ,xu·e                        ,1ccess by the proceisor 605. [n so.me situatiorn, the elec-
pr()Oel$<lr, or a phmtlity of proccs1orn for pam!ld process• 55 trnnic storage unit 61.5 can be precll!ded, and machi11e-
mg, The cmup1.1ter ~yst,1m 601 also includes memory Qr                         cxec11table iustnictk\llS are stored ou ll!Glll(llJ' 61 O.
mem,iry foo,it:ioo Ci10 (e.g., random-access memory, read.-                        The code can he pro-compiled and configured for use with
only memory, fla~h memory), dectninic storage unit 615                         a macbiu<l have a processor adapted to exect1te the code, or
(e.g., bard disk), comm1mication interface 602 (e.g., .actwol'k                can be compiled during rnutime. Th~ code can b~ supplied
adapter) forcommunioatl.ng with cme or more other systems, 60 in a prngrammi.ng language that cilll be selected to euable the
and p,1ripheral dtwiot:-~ 625, such as cache, otl1or memo.ry.                  code to execute in a pre•cotnpiled <ll' as•c •mpiled fashion.
data storage ai1.d/1>n1lectronlc display adapt11rs. 111e mc-m01·y                  A$pe<:ts of the sy~t,1ms and methods provided hor~~u, iuch
610, Rt1ir11ge unit 615, h1terface 602 and peripheral devices                  as the co111p,1ter system 601, can be embodied in program-
625 are in ct;mnmnkation witli the CPU 605 dmmgh a                             ming. Various aspects of the tech11ofogy nrny be thought of
commMication mis (solid liulls), such 11s i, motherboard. The 65 as "products" or "mtioles of n1am1ibcture" typically· in the
sK1r&g~ unit 615 cau be a data storage unit (o.r data 1'\\~osi •               form of machine (\lr pn,c\lssor) ex~'<lutahl~ c\ldc and/or
tory) for ~klring data. The computer system 60.l ,1an be                       a=ciated data tb.at ·is e,1n:ied on or embodied in a typo of



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                                                 US 10,638,941 B2
                             7                                                                8
machine readable medium. Machine-executable code can be              A device as described herein is in some embodiments
stored on an electronic storage unit, such memory (e.g.,          configured to sense two or more physiologic parameters. For
read-only memory, random-access memory, flash memory)             example, a device configured to measure the heart rate of an
or a hard disk. "Storage" type media can include any or all       individual as described herein is also in some embodiments
of the tangible memory of the computers, processors or the 5 configured to sense the electrocardiogram of said individual.
like, or associated modules thereof, such as various semi-        In these embodiments, a device as described herein includes
conductor memories, tape drives, disk drives and the like,        one or more electrodes configured to sense an electrocar-
whichmay provide non-transitory storage at anytime for the        diograrn of an individual. In some embodiments, a device as
software programming. All or portions of the software may         described herein comprises two electrodes. In some embodi-
                                                               10 ments, a device as described herein comprises three elec•
at times be communicated through the Internet or various
                                                                  trodes. In some embodiments, a device as described herein
other telecommunication networks. Such communications,
                                                                  comprises four electrodes. In some embodiments, a device
                                        th
for example, may enable loading of e software from one            as described herein comprises five electrodes. In some
computer or processor into anotlier, fo~ example, from a          embodiments, a device as described herein comprises six
management server or host computer mto the computer 15 electrodes. In some embodiments a device as described
platform of an application server. Thus, ~other typ~ of           herein comprises seven electrodes. '1n some embodiments, a
media that may bear the software elements mcludes opt1cal,        device as described herein comprises eight electrodes. In
electrical and electromagnetic waves, such as used across         some embodiments, a device as described herein comprises
physical interfaces between local devices, through wired and      nine electrodes, In some embodiments, a device as described
optical landJine networks and over various air-links. The 20 herein comprises ten electrodes. Electrodes of the device
physical elements that carry such waves, such as wired or         described herein are configured to sense an electrocardio-
wireless links, optical links or the like, also may be consid"    gram of an individual and transmit the sensed electrocar-
ered as media bearing the software. As used herein, unless        dlogram data to a processor integrated with the device or
restricted to non-transitory, tangible "storage" media, terms     part of the system described herein. In some embodiments,
such as computer or machine "readable medium" refer to 25 the processor is configured to display the electrocardiogram
any medium that participates in providing instructions to a       on a display ofthe device described herein. In some embodi-
processor for execution.                                          ments, the device is configured to sense and/or display a
   Hence, a machine readable medium, such as computer·            single lead electrocardiogrdlll. In some embodiments, the
executable code, may take many fonns, including but not           single lead comprises any of Lead I, Lead II, Lead aVR,
limited to, a tangible storage medium, a carrier wave 30 LeadaVL,LeadaVF,LeadV1,LeadV2,LeadV3,LeadV4,
medium or physical transmission medium. Non-volatile              Lead V5, and Lead V6. In some embodiments, the device is
storage media include, for example, optical or magnetic           configured to sense and/or display two lead~ comprising any
disks, such as any of the storage devices in any computcr(s)      two of Lead I, Lead H, Lead aVR, Lead aVL, Lead aVF,
or the like, such as may be used to implement the databases,      Lead Vl, Lead V2, Lead V3, Lead V4, Lead V5, and Lead
etc. shown in the drawings. Volatile storage media include 35 V6. In some embodiments, the device is configured to sense
dynamic memory, such as main memory of such a computer            and/or display two leads comprising any three of Lead I,
platform. Tangible transmission media include coaxial             Lead Il, Lead aVR, Lead aVL, Lead aVF, Lead Vl, Lead
cables; copper wire and fiber optics, including the wires that    V2, Lead V3, Lead V4, Lead V5, and Lead V6, In some
comprise a bus within a computer system, Carrier-wave             embodiments, the device is configured to sense and/or
transmission media may take the form of electric or elec- 40 display three leads comprising any three of Lead I, Lead II,
tromagnetic signals, or acoustic or light waves such as those     Lead aVR, Lead aVL, Lead aVF, Lead VI, Lead V2, Lead
generated during radio frequency (Rl1) and infrared (IR) data     V3, Lead V4, Lead V5, and Lead V6. In some embodiments,
communications. Common forms of computer-readable                 the device is configured to sense and/or display four leads
media therefore include for example: a floppy disk, a flexible    comprising any four of Lead I, Lead II, Lead aVR, Lead
disk, hard disk, magnetic tape, any other magnetic medium, 45 aVL, LeadaVF, LeadVl, LeadV2, LeadV3, LeadV4, Lead
a CD-ROM, DVD or DVD-ROM, any other optical                       V5, and Lead V6, In some embodimenls, the device is
medium, punch cards paper tape, any other physical storage        configured to sense and/or display five leads comprising any
medium with patterns of holes, a RAM, a ROM, a PROM               five of Lead I, Lead H, Lead aVR, Lead aVL, Lead aVF,
and EPROM, a FLASH-EPROM, any other memory chip or                Lead Vl, Lead V2, Lead V3, Lead V4, Lead VS, and Lead
cartridge, a carrier wave transporting data or instructions, so V6. In some embodiments, the device or system is config-
cables or links transporting such a carrier wave, or any other    ured to sense and/or display six leads comprising any six of
medium from which a computer may read programming                 Lead 1, Lead JI, Lead aVR, Lead aVL, Lead aVF, Lead VI,
code and/or data. Many of these fo= ofcomputer readable           Lead V2, Lead V3, Lead V4, Lead VS, and Lead V6. In
media may be involved in carrying one or more sequences           some embodiments, the device is configured to sense and/or
of Olle or more instructions to a processor for execution ss display seven leads comprising any seven of Lead I, Lead !1,
   The computer system 601 can include or be in commu-            Lead aVR, Lead aVL, Lead aVF, Lead VI, Lead V2, Lead
nication with an electronic display 535 that comprises a user     V3, Lead V4, Lead V5, and Lead V6. In some embodiments,
interface ((JI) 640 for providing, for example, distributions     the device is configured to sense and/or display eight leads
of magnetic fields, distributions of electrical currents, dis-    comprising any eight of Lead I, Lead 11, Lead aVR, Lead
tributions of local myocardial activities, etc. Examples of 60 aVL, Lead aVF, Lead VI, Lead V2, Lead V3, Lead V4, Lead
Ul's include, without limitation, a graphical user interface      VS, and Lead V6. In some embodiments, the device is
(GUl) and web-based user interface.                               configured to sense and/or display nine leads comprising any
   Methods and systems of the present disclosure can be           nine of Lead I, Lead II, Lead aVR, Lead aVL, Lead aVF,
implemented by way of one or more algorithms. An algo-            Lead Vl, Lead V2, Lead V3, Lead V4, Lead V5, and Lead
rithm can be implemented by way of software upon exccu- 65 V6. In some embodimenlll, the device is configured to sense
tion by the central processing unit 605. The algorithm, for       and/or display ten leads comprising any ten of Lead I, Lead
example, is used to analyze a sensed physiologic parameter.       TI, Lead aVR, Lead aVL, Lead aVF, Lead VI, Lead V2,



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                                                          US 10,638,941 B2
                                 9                                                                            10
  Lead V3, Lead V4, Lead VS, and Lead V6. In some                         blood pressure, lemperal11re, pulse Ol!ygen, and heart rnro
  embodiments, the device i, cm1flgured to sense and/or                   variability. Analysis inc.ludcs in some emb()diments the
  display el,mu1 leads compri~ing ~ny eleven of Lead I, Lead              comparison of a tirsl sensed physiologic parameter to a
  II, Lead aVR, Lead aVL, Lead aVF, Lead Vl, Lead V2,                     st>cond. serumd physiologk and determining if a discordanc~
  Lead V3, Lead V4, Lead VS, and Lead V6. In some 5 exists between the first and second sensed parameter vaines.
  cmbodiru.oots, the device is coofigumi to sense tmdlor                      In som,i embodiment~, a devlc.1 as described here.in .is
  display twelve leads comprising any twelve nfLead I, Lead               configured to mo11itor for arrhythmia ln an individual,
  Tl, Le11d aVR, Lead aVL, Lead iiVF, Lead V1, Le~1d V2,                  whertiin monitclring may comprise th~ id~'I!lific,1Lion of otwet
  Lead V3, Le-sci V4, Lead V5, and Lead V6. In some                       of an arrhythmia. Jn some embodiments, card.be moniooring
  embodim.onts, the device includes sollware configured to 1o carried cmt by the devices d,iscribed lmrein comprise~, for
  cuuse a prnces~or of said devfo~ to aimlyz,, the selll:led              example, manitoring for the presenee or omet of arrhythmfa
  elcctroci1rdiogrmn. An analysis of a oonsed electrocardio•              in au individual who has 11ot previously been identified to
  g:irun performed by the process(l.r oJ'the device identifies the        have au anhythmia. Ju some embodiment~, cardiac moni•
  presence of an abno.rroal heait 1,ondi tion, For exmuple, an            toling carried out 'by the devices deicribcd her.,,ln ,,omplises
  analysis performed by a p:rt1cessm of a devke, in some H the identiflcation of onset of ,1 known t1r suspected intermit-
  embodiments, identifies arrhythmias by, for example, analy•             tent arrhytlm:tia, In ,ome e:mbodirnents, the devices
  sis of the PQRST wriveform aoJl/or comparing multiple                   described herein are configrrred to pre&ct an onset of an
  PQRST waveforms within an electrocardiogram. In some                    arrbytlnnia in Ju inclividuaL The onset of au m:rhythmia is,
  embodiments, the processor carrieo out :in analysis of an               for e·xampfo, predicted due to a sudden and signifkanl shill
  dcctroc~rdiogram by comparing one or more PQRST wave• 20 in the value of a setl~ed phys.iologic parametor such as heart
  forms of an individual against a one or more PQRST                      rate. A predictio11 of arrhythmia fa more accurate wheu two
  waveforms of other individuals from a database containing               or mcm: physlofogk paranwters me coru;ummtly Bm'><'d aud
  dcctrocordiograms of other individuals. ln oome embodi•                 analy2e,d with res:pect to one another. For exrunple, sensing
  mcnt-i of the d1,,"Vices described herein, mi individual is             of heart rate changes with wspect to a s~Jlsed activity level
  aforlcd to sen~c an cl~trocardiogmm by, fbr example, ·,s pxovJdes contextual 111formation for lhe sensed hew:t rnto.
  engagin,i; one or more electrodes when -rhe device iemes one                A subset of arrhytluuias are somctimeB termed tad1yur-
  or more physiologic pruruncter1. For l"lwmple, in some                  rhyihmias, Tachyarrhythmfas typically comprise a !achy•
  embodiments, a devjce as dtrncribed herein is configured to             cardic he-art rate whk,h may comprise a heart mte above '.I 00
  sense a blood pressure ofan indtviduru, :ind .in some o:fthese          lx.,1ts per mhrnte, 1ucbynrrhythmlas may comprise, for
  cmbodi=ts, the dl"Vke is configured to seiise a second JO example, certain type1 of atrfal fibrillation and sl1pmven-
  phy.5iologic p:mm:wtcr of the individual such as for example            trk'\1.lar tachycardia. ltl 5()me embodiment5., lhe devices '"~
  11hc~rlrnlc./l.llaccdcruledheartrn(c ofun iud.ivJdmd sensed             described herein axe conJigurcd to identify ·the presence or
  by tho di.,"Vkc in addition to, for ~xamplc, a low blood                onset of a t11chynrrhythmia, such 0$, for oxarnple, ntruil
  pressure ofthc individual concurrc!lltly sensed by the cfovlcc,         ttbrilkition or supravoutdcular tachycardia. ln ,Mne embocU-
  triggers too procosS(lJ.' of tho device to indicate to the 15 monts., the dt.-vices as dosGribed h.crdn
  Jnclividual to engage wi1h the electrodes of the device in
                                                                                                                        =     eontlgurod to
                                                                          identi"ly the pie~ooce or onset of a t11chynrrbythmfa. ln some
  order lo smse l'lll electrocurdiogrnm.                                  ombocLiments, the devices as de5cribod hen.11n arc configured
     "!he combiootion of a si;.'ll6!;.'tl accelern:led hcfll't rnte and   ro predict the om~'t of n tachyarrhythmia.
  low blo(id pt"'8suro typically .l11.dlcate 1111 abnormality, how•           [n some embodiments, the d<:lv.iccs as doscr:ib,~I heroin arc
  ever, oilier physiologic conditions :tn!ly also p.roduce au 40 configured to provide continuous cardiac mouJtoring. In
  elevated heart rate accompm:licd by low blood prr:Bsurc                 some cmbodiu:ieats, the devico,i 8S d,,scribcd heroin ,ire
  including, fur cxampfo, dcltydration, Thus, in S\l.tllO cmborJJ,        cmlflgmod lo provide contil:J.uou5 cardlac mouit:oru1g :!or a
  ments, accurncy is enhanced when _phy8iologic pi,mrnelers               period of up to ono ye,1r. In some embodiments, the devices
  such as, for example, heart rmte, blood p~sure, oxygen                  ES described herdn are conJigured tQ prcvide continuous
  saturation, !II!d tempernture arc C{Jlllptrroo to btt-~~line V!llues 45 cardiac monitoring for u period of 11p to 12 months. In some
  of the individual orto a data :from a dmabasc co.11m111.ing the         embodiments, the dt"liccs doocribcd hweiu arc configured to
  physiological pt1rnmotcrs of other indivlduuls. Some elite              p.rovide cominuons cartlfoc monitDring for a podod of up to
  athletes, for example, hi1ve physiologk pirrruneter valu,1s             6 mouths, In somo embodimcnls, the devices described
  that would be ab110.uuaJ in another individual &Lich as, ·for           ht:irein arc con.figured to provide continuous c11rdiac moni•
  example, very low heart rares or in~reased heart rate vari• 50 toring for a period ofup to 3 months. In some embodirmmts,
  abHity (e.g. during~ period of exercise).                               the devices doscribecl herein 111:e ootitlgured to pmvide
      A devke as described herein ls in some embodiments                  continuous cardfoc monitoring ·for a ptiriod of up to 1 moo th.
  configured to scrue 11 photopWetysmogram ofan individual.               fu so.me cmbodimen.w, the devloos doscribt>d lloooin ,ire
  A photnpletysm[Jgmm, for eimmple, provides cnrdiac l--yclc · configured 10 provide contiuuom cardiac mouitorillg for a
  inforn.mtion and mlly, for example, be analyzi~J by a p.ro• S5 period of up to 2 weeks. :In some embodim.emi, the devices
  cessor of a d-Ovic~ described herein to determine a presence            describ~d. hel'l:,'lll are conilgu-red to provide contin.uous Cllt•
  of a premature ventdcular contraotio11.                                 cli11c monitoring for a period of up to I wt~.lk. In some
     ln some euiboilimc.'t\11, a (fovke us describeJ hereJn is            embodim.mts. the devices described herein ,rrc C!m!lgured to
  configured to sense a pulse oxygenation of an lndividual. A             provide continu,:.ms c!!rdlac monitoring for a period of up to
  <ievice as described. h~rein is cont'lgu.red to sense a plll$e 60 72 h•Jurs. In some erubclcliments, the devica'I described
  oxygenation of 1111 indlvldual in some emboolmcrrts,                    herein ,m: configured 10 provide mntlll.lill!lS cardiac moni-
     Analysis                                                             toring for n p..iriud ofop ~l 48 hours. In somcl ~mbodiments,
     lu some 001bodlmi'tlts, a device as descri!i.,>d heroin is           the devices described liet·ciu ate c'r:l1rrlgt1red to provide
  con/ig11.red to sense and/or ooalyie a number of additional             continuous cardiac ruonitoriug for i1 period ol'up to 24 hours.
  physiologlc parameters. Non-limiting examples of par~m- 6l It1 some emb<ldirrw11ts, -the devices described hcrnln arc
· eter values sensed ~11d/or Lllialyze<l by the devices and               conl\gured to provide continuous c~rdiac ID<lnitoriug for a
  &ystems descrinro hereh1. include heart .mte, activity level,           11cl'iod ofup t() 12 l1oms. ln some cmlwdinw11ts, the devices



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 described hereill arc t1()11figuml to pmvide oanti1mous cur-            the seu&li,g of n pr,mm:vtte.r valu~. In sou1e e111bodJni~llt,, a
 dlllc ll1.l)nitoring for a ]l<'\dOd of up to 8 bours. !u 60!ll¢         pmcess<•r is 0011,figared ti) rinaly?t a patamot~r value. l.11
 ernb.odiroents, the dev.ioes dosorib,'1:1 her,iiu are ~01illB11red. to  a(mte elllbodimeuts, n procesior is ~(mllgured to compare a
 pt()vide continuous c,rrdlnc moui(oringfor a petfod ()f up)<)           firnt pnmmiiter v,ilue with a l<'llmld pmmeter val,1~. fo ~(ll1te
 4 h()urs. In some embmhmenl·~, the device~ deio.nb,ld hei:e1n           tjmbmlim~nt~, u Drst and a sec,1nd p1mm1eti:1r value Ill he
 ar~ oo.niigured to provide om1tim1ous mmlii1s1 mclJli!()rlng fol'       cont1,im1d arc slmultuueou~ly or 11s9entially ~l111uha11c,1usly
 a period of up to 2 month~.                                             $\111St:ld.
     lu some e1nbodiments, the devfoes deicdb<'d herein are                  ln G<Jllle enibodh11011tH, 11 d,wice or $}'Sle111 us \fosm'ib~'i.1
 c()nf]gm.:d 10 imwido int,irmitt,mt ;,,mlfow !11Qnit'<ldng. h1          herein forlh,rr ,x1.111pli$~$ softwa1·,i in th,i fonn t).f i, pr,1grmi1
 some embodiments, intcrmitl.att cardiac monitllriug is h1i- HI (lr ~ppfa11rlin11. ln ~<imo emblJd:imeuts, the program m· appli-
 tinted in rospDnse to one or more oo.nsed p,1r,imeter vah1e$.           catki11 1miy br1 c(mligured to cimse a prn,,es~or to ~any out
 No11,limiting examplos of the one ()t· mor<: i;ensed pimunet~r          ,rne o,· 1110N fo1icti<Jns, ln 8<1llle etnb<J<llm~i'ltii, th,1 progrmn
 value that may cause initi11tkm ofinte:rro:lttent c~r<.liac moi1i-      Qr appJlc:1ticl11 1rniy be con[\g1m1d t,1 cmm1 11 proce~ior to
 toring may cowp.1ise, for example, a heart rate tJf a.n i111ii•         l\lC<live pro:mnet~,1· v~h1es from Qne or more sens,m,, 1n ~Ott\~
 vichrnl, a blood p.ressure <)fan individ1;mJ, an activity level 1111 ll 111ttb\xllmentn, the prugrmn •lr applicatio11 miiy b~ c<mfigured
 individual, :1 temperal'll!'e of an iudividm!, a p,llso ,1lci1,wtry     to catiio ~ procesmr to ~ctiVl1tc (].ll\l or more s11n~orn ,ir lo
 of an individual, or any otbw: sensed biom~u:k parameter of             iuitiare the 8,Rtsing of a pa,rmneter valu~. 1n some ~ibodi-
 an ir1d:ividml. Ju sow,1 embmliments, a11 Pfoctrocardi<Jg1·ai11         me11ts, the pr(1grmn clr ~pp!ication may b0 Gonfig1,1red to
 of an indivk!ual may lie s.:us~d in re.sp(>l!ije 1:(1 011~ or more      C~lliC <I pro,:0$6()'1' to ;lJltlly~,) 11 J?fU'<\ID\!ICr Vlllll,l, In some
 sensed para.mel~rs. For ,1xample, ~11 olectrocardiogmm 11111y io ombodiments, the prngran1 or applici,1tkm may be co11ll.guteJl
 be caused to be seused in respouse l,l a h,¾11·1 rattl viilue.          t:o C!l11se 11 pro,;es~Qr Jo ~r)mpim: a firllt paramet,lr value with
     Jn some embodltueJ1ts, 011c or mo.re omnirmous smsor,               a s~cond parameter value. In so.me embodiments, a first 111u!
 may sense one or more param,:t,tll that ,mu,1,1 the inifa1tim1          nse-xmd pt1111meler ,,aim: to he cmn1111r1td at'<l ii.nm1ta11el111Sly
 of intermitkmt cardiac monitoring by one 01· more sensor,.              0r ossentialJy ~Jn.i11ltaue<nrnly sensed.
 In ~ome anbocliments, a heart mte <Jf an individua.l i~ s,msed "5 In some et11bodim,~111, the devlces described herein Ill\\
 contiull(msly. Itl some embo<lb11euts, ~11 activity level Qf an         configured. to cmzy out rui aoii.lysis, w.he.rdn the analys.is is
 imlividual is sensed ctm1inuously. Ju so.mo embodiments, a              perfonued by~ p1\'1cessnt. 111 S(•ll\O embl)dim,mts, an am.i.lysis
 heart rate variability oh11 ind.ividu~I is se1i.1ed contim11itmly.      of one or mo.re pan1m~ter values \:arrioo au:t hy the devices
 In some eJUbodiru,nils, an d~tmciu·dJ()gram of an indi•                 d,15cJ'ib~'Cl h,11-em comprises a compadion of a s~mm! p,1r~111..
 victual is sensed intermitlently. ln iome embLJdimeJ\lB, an 30 eter va.!ue t<J 11 thredmld or rauge. For example, an 11011lysis
 intermittently sensod electrocardiogrnm is ,1m1Bed to be                may (1omp.riie del<iltmlniug wh1iher f.l Hem1ed heart rate value
 sensed in .response to a continuously measmtxi .heart rnte of           foll8 withit1 one or more rnuges, For exarop.le, in some
 au ind.ividu~l. Ju some embodiments, an i11te1mitk111tly                cmb,xlim;,nts, 11 sensed heart rnte may be det,1m1h1,'i! t() b~
 sensed cllectrocnrdiogram is caused lo be stu1sed itt response          within a liea1t rate mnge comprloing urai:ige b~tweeu 60·100
 to an a~ilvity level oJ a11 indivi,hial. I11 sllm~ e.i11bo<Ume11t5, Jo beirts per milmtc. F()l" example, io som~ en,bodiments, a
 mi intermittently sensed electrocardiogram is caused to be              seused heart rate may be d0temri11ed lo be in 8 hemt r,lte
 s~nsed. in :re1pmrne to both a coutimmus1y 111e~1s11red heart           r,mge comprising 11 rimge of V11lues lesi than 60 beats per
 rnte uud u con1inuously mea1!1.mxl uctivit.y level. [n same             mitmte. For e)(.11up]e1 in some einhorlim~nts, a sensed heart
 embmiim.Jnls, an b1terroitteutly sens~d ekictroc.111tliogra111 i~       rat~ mny h~ detonuins1:1 to he within H he11rt rare mnge
 cuus,,_J f(J he s(mied in resr1onse to 11 cont'lmiously iensed 40 comprising 1:1 rnnge oJ valu~s above 1()() b,mts for 1,ninute.
 beart rate, a con~unausly iemoo activity level, and a ,:1m•                 Ill some embodimoots, an amilysis of on~ or more paratn·
 tint!Ous]y sensed hmu·t rate variability.                               eter values carried out by the devices de8'rt'ibed lttJNlin
    ln some emhodiments, a device or system as desc:rib<,d               cornpiises a comparison of a :first. sensed parameter to a
 herein comprises oue or more sensors configured :for con•               second sensecl parmnet0.r. For example, in some emhodi• .
 tinu(rns cru~liac morritodng. In some 0n1bodinieuts, a device 45 1uents, a heart rate v,1lue is compared to a sensed. activity
 tu system as described li\!rein comprises one or more ~ensorn           level of an individual.
 conllg11red for lntermitten! cardiac monitoring. In some                    In some embodiments, 11 first sensed valt1e fa Mmparcd ro
                                        2,
 embodiments, a device or sys1"'lu de~cribed h.~-rein com-               a second setrne,1 va!m1, imd it is detennine whether a
 prises \ltle Qr more h.eart rate senoors, which may, for                dis{:ordance exists b.etweeu the two values. For example, ia ·
 example, comrrise 11 phot\1sensor. In some 1m1hodim1mts, a $0 solllt) embodhnents, an elevated lw~1rt r.ite vahie would be
 device or system as described herein oomprises one or more              expected ta he pr.mm! during a period of ekwa!ed activity,
 uc.,tMty level seusors, which may, for example, comprise au             thus an efovat,rl heart r,11e :mil an elev11tcd activity fovel tl~1t
 ll<::<;:elerometer or a gyroacope. fo some e.mbodiro1mta, a             are si111ul tan~ousiy sensed wonJd not be found to be iu •
 devke o.r system 11s desc11bed h~-ein oomprises one or more             discmdauce with tlne Mother.
 el~-ctrocardiogrmn S<lllOOJ'S, which may, .for example, com, 5S A discordm1ce may be identified when a first semed
 pnie Olle or 11101·0 electJodes. Nou"limiting exan1ples of'             p,ml!lleter v2Jue would not be expected to cofoclde with a
 otl:ier aetll!Orn suitablo 'for use with lhe cf<wices, ,ystell16, and   second s<1nsed pa:rameter 11ah.1e. flor exalI!ple, ,m de~'ated
 metbodi described h.11'ein fu1ther comp1iae blood prnssi.ire            b1mrt moo value would not be expected to be prese.a.t with ,1 ·
 Siltm1rs, tempera(,u:e senwn;, llIIO pulse aximetry sensors.            normal or resting activity levcl and thus the two values are
    l1l some mubodim.ents, a device o.r syitexn as desct·ibed 60 in di~cordm1ce with one another, For exru:uple, .ln som,i
 h<lteiu comprises a processor. 1n some embodiments, a                   embodiments, when a 11eart .rate sensor senses a heart rato
 pr.ice.is is coupled with one or more sensors tl1Ht a.re cun•           ~bove 1.00 b1mt,1 par mirmte imd ~ ,imult~nc'Ously seused
 figuro:l ta sense conti.nuo11ily illld one 01· more sensors that        activity level is deterrniaed to be a resting a-tivity level, an
 nre cotu.ignred. lo ~mse intermittently. In som~ embodi-                aualy,is of !he two s~nsed values deterxnines thiit they m'.!.l in
 menl!l, a processor is configured to receive paramete.r vnlues 63 dls,,ordunce with one another.
 from (llle ()!' more s0usoni. Iu some embollitnenls, a pmces,               In some {'JUbocliruents, an analysis ca1ried out by the
 sor i~ conl'lgured to activnte one or more semors or to initlale        devic,,s and systems described herein comprises the deter-



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mlnati011 of aii im:xe~se in a heart r.1~ vari~hilily. Iu some              &el!sed elecl.rocardi(1gram~ c,1ufinn U1~ prese11(;e of au
embodiment$, an analysis carl'iect llHt by the devk~i 1md anhyt11mia, th,1 prese11c¢ o:f wb.ich w~s indicat.id by, for
systems described hci:cfo ~omprises CO))lparing a heart race                cxa1npk, a diRCOJ:<:ianC() beiwect1 other parameter values, the
wrfahjjity wlth one or more sensed parameter values. For                    maclilirn algmitbm cimses the device or system described
exwnple, in some embodiments, a he,irt rate vrn:iability is 5 herein to Je11m from that data. Similarly, wben, for example,
compared 1D cl1nc1m1;ntly or emmtially ctJ m."lme11tly s~nse<l              Benscd ~lectnlcar<liogxami do not coofom the pr.i~ellce of an
heart rate amt activity level vah1e1.                                       ani1ytlunia, the pr~s<.m,e of which was iudicatl;l(f by, for
    In oomo embodiments, au atllllysis cmried o\lt by the                   example, a discmlant;t) between other parameter values, tbe
devices and systems dcS<;rJbed herein comprises \be prcdic•                 nmr.hine algorithm cm.tses the device or systcm deHcribed
tion ofor the identification o:fthc initiation of an arrhythmia 10 herein to learn from that data as well. That is, in some
 using roi identified disco1tlJ!nce as desc1illcd herein, In som11          embouim~nts, th,1 m11~hlue le~muig alg,1ri1luu corrddt~s th,1
ffilibodlmenlll, a discordance compdsiug a sinmltiuellusly m·               seirncd el,~strocardiogmm with the discmda~e he!ween
cssmlially simul~neonsly iensed elevated !wart rate aucl                    parameter values 1hr1t caused it (i.e. the el,-ctroc,crdiogrm11)
re,1Ling or mrmal activity tev~J is d~tentuued to iudkate tlie              to be sens~<l., lh~ pres~nce or absence of a11 arrhytbmia lln
imminent iuiti11tlou <lf an arrhythmia ,1r the prtJ!l~nc~ of im 15 the electrocanllc1gram eitl1er respe<:tiv~ly reinforces the cor.
mrhytbmia. In particular, because the lteart rate is elevated,              relation of ao arrhythmia with the discordance that 1:aused
the mrhythmia with this type of <lioco.rdance 1ypfoally com•                the ,1lect1,1,ar(.tiogram to 1,e sensed or co11tradk1tB the pres,
prisoo ll tachya1rhytll1llia.                                               em1c of a correlation afan arrhyt!uuia with the discordance.
    In some emhodilmmts, a simuh1111~omly sensed increase                   for example, when a henrt rate of 110 is seMe<l and
in b(:)Jl1t mte vadahility, an elevated heart rate, and a resting 211 simultillloonsly a resting activity is sensed, an efoctrocardlo•
or norn1al activity rate is determined to indicate th.e foture              gram is caused to lie se1m."1, ,md whc~l tJ1ij sens,>d electro•
onset or preiience of arrial flbril!atio.11. l:n some embodimentA,          cru:diogrrun does not imlicate apresrore of fill arrhythmia the
a s0ru,~<l incr~ased l1eatt mte variabilily, nonnal resting heat1'          m;1chine foaming algmithm cmrnes the device or sys tmn ai
rate, and resting or mrrnal activity raro may also he deter•                described herein 1o lea!1l that :fur that lndividnal a heart mte
miued to indicate tl1e fot11re ons,1t oJ lll" 111~ preset1c~ 11.f atrk1l 2l of LIO at :rest doe~ not 11e,;tIBsi1rily indicate a presence of an
tlbrillati011. In some embodiments, a shmiltaneously sensed                 arrhytlimia. In some embodiments, the machine learning
decrease in b.tJart rate variability, au elevated heiirr rate, and          algorithm continues t<> ci111se the storing of para111eter valw
arestingornortllBI activity rate is d.etermitlt'd to in(licate the          data, such as, for example, berut rate, activity level, artd
futtll'\1 onsel or ptesence oi' snpraveurricufar tm:l1ycardi1t. ln          hea11 n11e vadability, mid com1mre th~ pru-ametor values to
some embodiments, wlien an arrhythmia ls determined. to be 30 the associated electrocardiogram data over time. Tlnrn, in
imminent or presellt, au elc,:trocardiogram .is niconfo<l, In               som,i emlx1dimcnts, with multiple pammet~.r values sensed.
some embo&monts, an individual is instrncted or signaled                    over time and i;ompare1! to associated .,foclroc:m!iogrrun
by a cllrdiac monito.ring dc11:ic:c or system described hercin to           data, a cardiac monitoring ck1v ice or system improves it;
engage one or more electroiles in order to se.1JSe in electro-              ability lo pmlict or ide.nti.fy the onset of flTinytlunia based 011
cardiogram. ln some embodiments, one or moic electrodes 35 a dlscordaucc between pariun,1ter vitlues for a spedllc indi-
may be posiuoned on n ,mrfoce of a cardiac monitoring                       victual. In some embodiments, a machine learning algorithm
devk-e S(J that the iudividt111l may, for example, comfo1tably              m11y obviate tbe need to sense au ele,trocardiogram when a
engage a f:in;t electrode with a skin snrface of a fa~t                     partkuhu cfiscordfil!ce is presenl between parum~ter vafoes
e1rtremitywhllesimultan0ouslyeugagiugasecondelcct1-odc                      of a 1pc>cific iudiviU1JaJ, becmue of an eXD'<JJ.uely high
with a skin 1urflice Df a second extremity. In same embodi- 4C likelihood of a pre,,eucc or absence of on rn:rhyibmlu based
meJ1ts, one or more dectrndes may ba aflixed to ar1 in:di•                  on the pawmcter values as determined by the machine
vk!ual's hooy 11J1d are autaumticnlly engng,;d to sense an                  lemcing algorithm.
eledrocardiogrnm by 1., cmdiac monit1Jtlng di)vfoc or syswm.                   Arty of the devices, systems, and mdb.ods for cru'diac
when an arrhythmia is determined to be imminent or present                  monitoring described Jiereiu may comprise one or more of a
in the individual. For example, a !irnt electrode may be 45 smmtphon~, a laptop or desktop computer, a s.001utwatch, or
poiitioned on smartwi1tch worn by the individual on a first                 a !Hbfot computer.
extremity aml a second electrode muy be poiitio.n~ on u                        Discordimce Mo.uilori11g
wri&tletworn by the individual 011 a wcoud exfrrunity. ln this                 FIG. 7 shows a schenwtic of an algorithm for d.iscorclance
example, th~ Jirst electrode 011 the smartwatd:i and tl1e                   rnonitoriug . .In. a s1ep 700, n .b.t,11rt rnle and an activity liiwl
s,>cond ele-.irode on the wristfot aro both in conurmuication 50 are s=ed by, for cxUlllplc, a dcvicc or system. as described
witl1 ano controlled by the cm-diac mollitoriog device.                     hcreln. Ill some cmbodimcn1s, au adivity level is sensed
   1n ~ome ,1ml1odiments, the devices described herci • ru:e                with u gyroscope or aJt "ccelero1nctcr thut ls. Heart rote is
configured to curry out machine lenrning. fn some cmbodi•                   sensed wiih o lig~it based or other co=only used herut mle
meu!il, ihe d~Yices, systems, and methocfo described herein                 sen,iors. The device tbat measures the heart rate und the
comprJse machine lcm:tiillg nlgoritb1111 wJ1icl1 aualyr.e s; ad:iv.ity leve.l may be the same device or more tl1an one
pmmucler values Sf.llsed from llll lndivid11Ul over period of               dt'Vico. For cxrunple, a snmr(wutcb 1)r other wearable device
time. In some lll:ttbodirneuts, the devioos, systems, and                   mt1y be co1ttigurcd to include ~ heart rntc seiisor as well as
t1:1ethods described herein compri~e mi,c.hinc !cm:ning ulgo,               an ~ctivity fovel sc.rumr.
r11:hm1 whicl:i analyze parameter value,i soused from a phi•                   1:t; as shown in a step 70.2, nu !Jl(.'reElse-0.hcru.t rnte is se11stxl
ulity of in<lividua!s. ln some mibodinmnts, a machine 60 togolher with a normal or resting activi1y level, the two
l~aruiI1g algorithm cn1isoo the devices, sysfllln~, and methods             values are d~tocmlned to be iu <iisoardancc by tlte device or
d~scribed herein t,1 more accurately identify or prookl the                 S)'lilem processor. That is, the olevated heart rate docs 110
presence of an arrhythm\n ill a given individual. l'or                      match tbe semoo stublc a,iivity level. Dc1<..Tmlllatl1m oftlie
eJCamplc, in some embodiments, sensed efoctrocrn:diogrwn                    presence of the discordimco ls <lone by 11 processor of eith~>r
data may be comparnd back to paramotcrvnl\1cs such as, for 65 the device or system its de,cribed l1ercin. The. identified
t~1.mpte, s,;ii.sm:I heart rntcs nnd activity levels that triggered         disGordimc~ may indfo1rtc the presence 01' an arrhythmia. As
the seooing of said electrocitrdiogroms. When, for oxi1mplo,                such, an ECG is causedfo be sensed in u step 712A. The step



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                                                                      us 10,638,941 82
                                         15                                                                                        16
   712A, may, for exampl~, co111p.rfae iridical:iug to the uior         botw~'lln the seirn~'i.l heart rate and activity level. In u(mle
   through t11e device or syslem that semed the heatt rate aud          cmh,1dimcnb, a processor detmnines that the value of a
   activi1y level to cmrla11t one ()f more ehictrodes of au llCG        s,,11~ed phys.inlogic pammeter is either 11bow or bdow a
   sensing device 11nd thns sei1s,~ the ECG. The ECG sensing            threshold value or ril!lgc of values. Ill som,1 cmbodlmcut:l,
   device m,1ybo the device ()f pal1 ofthe system used to simse         LJ1c threshold vnluo or range of values are (foemcd to be
   !he heart rate and activity level or may be a sepamte d~vice.        llll.t'm,tl o.r re8ring vitluei ln the population, In sol\le ,,mbQdJ-
   For example, a user wearing a itnartwatcl1 wltl1 heart rate          ment~, the thresholds are specific to the biometric dota of the
   and aclivity fovel mrn1Jtoriug n.~cives an audible andfor            11sei: so that the user i~, for ex~111pfo, age-mntched or gender
   visual imlic<1till11 .from th,, m111rtwatch tll sense an LlC:Ci      mulched tc> tht1 nppropriatc thre~hold from the genera I popu-
   whei1 a disco!'dar1co is presont between a sensed heart rate 10 lation. For c,xample, an a,iivity level i~ <l~1ermined to be
   v,due and a sense(! activity level vallle. ln some enibodl                       0


                                                                        increased ln 11 70 year old user but would nol be incieased
   mmt$, the snmrtwatch comprises one or more electrod,•s and
   auger contacts on~ electmdc with the left side of their body          in 11 7 year <>Id user. Thus, 11 discxirdJ111cc i$ determined by
   and one electrode wJtl1 the right side of their body when an         qnalifyiug if a ,ooied physiu1ogiG p;mIm~t~1· is ~lev.ited,
   indication is received to do so from the smmtwatch because 15 dccroirned, or nonnal (or re,ting) and l:h,1!1 cQ111pad11g tlli1i
   a discordance is pres~nt thus semting an ECG. In snme                qualified value to 11 qualified value of another sMs~,1 physi"
   embod.ime11ts, a smartphone comprises one (If more ek-c•             olog:ic para1.ncter, Th1tt is, for example, a v,Jue that ls
   trodes and a user ,:outacts c1m1 ,1lectm,fo with the left side of    qualifkd 11s either i11ce,'llsod1 decreased, or normal (or rest-
   their body ruid one electrode wi1h the right side ofthcir body       ing) 1$ compa:r~J t1> a valu,i d.wt i,; also qt~11ified as i11crcas~d,
   when an indication 1s received to tki so from the smartwalch 20 de<:tOO-'JCd, <1J' normi1I (or re~tl11g).
   hecm1se a discordance is present 1:hns sensing an ECG.                    fa som~ cmbodim.,,nt~, the(·e fa the added step (oat shown
       lf, as shown in step 704, an incmwed heart rate is sctlsed       it1 FIG. 7) of tlrn devices and systmns di~scribcd h.erdn
   together with an increased heart rate varJability, imd a             11m1iing mac.bi11e lcnmiag 11lgoritl11n8 so that dm threshold
   noruinl or ttisting activity leV(ll is sonsed. The increas,:d        vrilue, and rnnge, used lo d~1c'l'tnine wb~ther 11 sensc'<l
   hoart rate and HRV ,~re in discordance with the normal or ll 11hysfologic pimimeter is inctMsed, i:kwe11Hod, Mrmitl (or
   resting a<Jtivity level, and a prese,nce of n dlscordanc0 is         rijstillg) nm 11djus1ed w morn MQlll1Jtely iit thll user. That i1,
   determined by the device or system proc~ssor. Once th"               for e)(arnple, a u1er who was determined, through ECG, to
   cltscordancc is d~tcrnL\ned. an ECG .is caused to be sensed .in      have an arrhythmia at n hen1t rate of 8() wil.l have their heart
. a step 712B as, for e,'!amplc, described herein with respect          rate threihl)ld .lowered so that a heart of85 (wblch is n.omrnl
   to sl<'.P 712A. A, shown, in step 716, this pmticular discor• 30 in some) would b,: d~'lermlrmd to bo art iucr<amsc<l rate. The
   dance may be 1ndicative of the presence of atrial ftbrilfation       trrnchine leamitJg algorithm m9re accurately so!ls the thresh·
   and lt should be confirmed with the, ECG 7JZB.
                                                                                    over time so th,1t d1sc(mh111ce~ ore mMe accurately
       If; as shown 1n step 706, an increased heart rate is sensed olds detet·mincd eciuW rig iu mo!'e a1:w1'!lte (aud ~ffic.ie11t) re<:()I'(! ..
   log,1ther with a demlc:ased heart rntc, vadablHty and a nomu1l
   or resting activity level is sensed. 1be lncreasticl hiiart rate, 3l ing ()fECGs in 1'(16pome to thtl oot~rmlnation af the pt\.,"l!ll1~e
· de.)1-eascd hea11 rate vi1riabfHty, im.d u,mttal <ii' rnstirig Hctiv, of the discordance.
   ity level are in cliscorrumce with each other, and a prcscmce             'l)1ble J bdow pres~11ts s,inie of the .in:lbm1at:km fotrnd fo
   of a dis01.)1:dallJ.Jo ls dcte.truincd by 1he device or sysli:lm     FIG. 7 in table form,
   processor. Once the dJscordm1ce h determined, ill\ ECU is
   caused to be sensed in a st:,':J) 7:t2C as, for example, 40 _ _ _ _ _ _ _ _TABLE                              _ _ _1_ _ _ _ _ _ __
· described herein with respected (o step 7:t2A. As shown, in           HR Dliln           Activity Level Jetll                HRV Ditta Actinn
   a step 71.8, ~up1·avt'lltrkular tr.1chycardta may be present and
   it should bo confirmed with the ECG of 712C.                         llR               Activi1:y foV1).I llisbfo                             "Jil.kt an HCO, r,r1AAlblc
                                                                        l.M.lf;',\l$GI!                                                         «n:hytl:mia
       ff, 11s sbown in a st,)p 708, an lrwrei,S(Jd heart mte is sonsed l!R               .Activity l•vel ,tablo               j.jl()/          'FOl.k< '" ECO, vo,.il)le
   together wl1h an increased activity .level, th,: device or •ll iM1'0/llnlS                                                  ll;crti'lMef.              fi.b1·i:!ll:. :lon
                                                                                                                                                                 1


   system pmcessor detormiue, thm no dfaco:rdanco is prese!lt,          HR                Actlvlty fovllJ !Ucble               HRV                       "" UCO, po,,.IM•
   and a11 !JCG is not recorded as the lti.dividiml is prnhably         h~Qt('Al8\)l'l                                         cl~OJ'tl.tlil!CB Sllpt'J.V(Mtl'foUJm•
                                                                                                                                                 ti1,clty.::.:ud1a.m
   exercising 714.                                                                                                                              vtnt!'Lcnl-11,r t..w1lyca1dh.
       It; as shown Jn a step 710, n regufor htiart rare fa seru,ed     HR                 Act:iviey k·,ve! htCl'tl.li[~[;\f\'                   t)on 1: tmi:e !ll\ .r.½o,
                                                                                                                                                        1

   (e.g. 60,100 beats per minute) and fll'.I .i.ttcreDsed henrl rote 50 l.rcCX{lllSCS                                                           probn.blo mt.rnl.sc
                                                                                                                                                                 1



   variab11Jty is sensed together wi1h a normal or resting              HR                .ActTvir,y love1 8t>1.bfo            HRV              Ttke ITTl .9/4X:i-, Ill'lOO-iMe
                                                                        !lable                                                 it1cxe.l\11t)s 11trifU t'lbril la.1fo11
   actMty fovcl, Th;, normal henrt mte, ln<.,reaood heurl rnlo
   variability, and llOmiid or ra~ting activity level ure .ln. dls•
   cordanccwHh enGh other, and a pres0n~e of a di1cordmtce is                While preformd embo(limt-•triJl of the present individual
   dlilter:111ined by tit~ device or system procc~sor. Once the 55 mutter described bcrdn have bc>en shown and described
   discord:mr:c b determined, an ECG is caused to be ,iensed in         herein, it will be obvlous to those skllk~J in the 11.rt that such
   a step 712D as, for example, described hcreln with respect           embocliments nre provided by way of example only. NIIOlcr•
   lo step 712A. As showu,, in a step 720, atrial fibrillation may      ous varintions, chimgcs, and substitmions wiU now occur to
   be present and it should be confirmed with the ECG af712b.           those skiHcd ill the w:t without departing!roin the illlliviilunl
       lo some ,imbodlme!lls, a dctermi11ation of the prosencc of oo matter described herein. lt should be lmdmtood thm varl()US
 · a dis(Xlrdm1c(l is based on a comparison of two or more              alternutivos to tho embodiments of the individllal nwtter
   ioused phyiiologio purame\()t'S wiUt cuoh other. Tbi1t is, for       doscribc'<l heroin described heroin may be employed iu
   example, an elevated heart mle of 110 is mmpt!rc><l to a             practicing the individual nwttcr described herein. It is
. resting a~-tlvity lcrvd ~s sonsoo by ~n acccforomctor which           int,mdod that the following dB.irrrn dofaw th~ scope of tho
   me~s,1reB that the lndlvidu1il is traveJillg at Omiles/hr. ·1be 65 inctivid1111l matter described herein r.md that methods and
   l IO hern1 rate is 11fov!lted whereas the uctlvity level of O stmcturcs within the scope of' lhe~e claims and their eguiva-
   mile&'br is a resting level, which lnd:icutes a dlscor(l,f!J1Ce      fonts be covered thereby.



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                                                     US I 0,638,941 B2
                              17                                                                   18
   What is claimed is;                                                    activity level value is resting, wherein the PPG sensor
   1. A method of cardiac monitoring, comprising:                         is coupled to the processor;
   sensing an activity level of a user with a first sensor on a         an electi:ncar~iogrnm ("ECG") sensor configured to sense
      smartwatch wom by the user;                                         electncal signals of a heart, wherein the ECG sensor
   when the activity level is resting, sensing a heart rate               comprises a first electrode a!ld a second electrode and
                                                                          wherein the ECG sensor is coupled to the proc;ssor
      parameter of the user with a second sensor on the                   and                                                    '
      smartwatch;
   determining, by a processing device, that a discordance is            a non-tr,msitory computer readable storage medium
      present between the activity level value and the heart                encoded with a computer program including instruc-
                                                                  1 ·       !ions executable by the processor to cause the processor
                                                                   0
        rate parnmetcr;                                                     to:
    based on the presence of the discordance, indicating to the             determine lf a discordance is present between the
        user, using the smartwatch, a possibility of an arrhyth-               activity level value of the user and the heart rate
        mia being present; and                                                 parameter of the user;
    receiving electric signals of the user from an electrocar-              based on the presence of the discordance, indicate to
                                                                  15
        diagram sensor ("ECG") on the smartwatch to confinn                    the user a possibility of an arrhythmia being present;
        a presence of the arrhythmia, wherein the ECG sensor                   and
        comprises a first electrode and a second electrode,                receive electric signals of the user from the ECG sensor
    2. The method accoriling to clai!ll l, wherein the heart rate              to confinn the presence of the arrhythmia.
parameter comprises an indication of a heart rate variability,           13 •.The smartwatch or wristlct according to claim 12,
                                                                  20
 and wherein the arrhythmia is atrial fibrillation.                  wherem the heart rate parameter comprises an indication of
    3. The method according to claim 1, wherein the heart rate       a heart rate variability, and wherein the arrhythmia is atrial
parameter comprises an indication of a heart rate variability        fibrillation.
and a heart rate value, and wherein the arrhythmia is atrial            14. The smartwatch or wristlet according to claim 12
fibrillation.                                                        wherein the heart rate parameter comprises an indication of
                                                                  25
    4. The method according to claim 1, wherein the heart rate       a heart rate variability and a heart rate value, and wherein the
parameter comprises an indication a heart rate value, and            arrhythmia is atrial fibrillation.
wherein the arrhythmia is atrial fibrillation.                          15. The smartwatcb or wristlet according to claim 12
    5, The method according to claim 1, wherein indicating to        wherein the heart rate parameter comprises an indication of
the user further comprises: instrncting the user to record an        a heart rate value, and wherein the an:hythmia is atrial
                                                                  30
ECG using the smartwatch.                                            fibrillation .
   .6. ,The method according to claim 1, wherein the arrhyth-           16. 'The smartwatch or wristlet according to claim 12
!Ula IS selected from a group consisting of atrial fibrillation      wherein indicating to the user further comprises: instructing
supraventricular tachycardia, and ventricular tachycardia. '         the user to record an ECG using the ECG sensor.
    7. 1he method according to claim 1, wherein the heartrate           17. The smartwatch or wristlet according to claim 12
                                                                  35
parameter is a PPG signal.                                           wherein the arrhythmia is selected from a group consisting
    8. The method according to clain1 7, wherein the heart rate      o~ atrial fibrillation, supraentricular tachycardia, and ven-
parameter is a heartrate variability ("HRV") value, wherein          tncular tachycardia.
tlle HRV value is derived from the PPG signal.                          18. The smartwatch according to claim 12, wherein the
    9, The method according to claim 7, wherein the heart rate       heart rate parameter is a PPG signal.
                                                                  40
paraincter is a heartrate, wherein the heartrate is derived             19. The smartwatch according to claim 18, wherein the
from the PPG signal.                                                 heart rate parameter is a heartrate variability ("HRV") value,
    1~. Th~ method according to claim 1 further comprising:          where~~ the HRV value is der!ved from. the PPG signal.
    displaymg an ECG rhythm strip from the electric signals             20. lhe smartwatch according to claim 18, wherein th.c
        on the smartwatch.                                           heart rate parameter is a heartrate, wherein the heartrate is
                                                                  45
    11. The method according to claim 1, wherein the first           derived from the PPG signal.
electrode is located on the smartwatch in a location where              21. Ibe smartwatch according to claim 12, tl1e processor
the first electrode contacts a first side of the user's body         further to: display an ECG rhythm strip from the electric
while the user wears tl1c smartwatch, and the second elec•           signals.
trode is located on the smartwatch in a location where the              22, The smartwatch according to claim 12, wherein the
user must actively contact the second electrode witli a so PPG sensor is located on a back of the smartwatch.
second side of the user's body opposite from the first side.            23. The smartwatch according to claim 12, wherein the
   12. A smartwatch, comprising:                                     first electrode is located on the smartwatch where the first
   a processor;                                                      electrode contacts a first side of the user's body while the
   a first sensor confignred to sense an activity level value of . user wears the smartwatch, and the second electrode is
                                                                  55
       a user, wherein the first sensor is coupled to the            located on the smartwatch where the nser must actively
       processor;                                                    contact the second electrode with a second side of the user's
   a photoplethysmogram ("PPG") sensor configured to                 body opposite from the first side.
       sense a heart rate parameter of the user when tlle                                     * * * * *




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                         CERTIFICATE OF COMPLIANCE

         Counsel for Appellant AliveCor, Inc. certifies that this brief complies with the

type-volume limitation of Fed. Cir. R. 32(b)(1) because this brief contains 13,859

words, based on the “Word Count” feature of Word for Microsoft 365 MSO,

excluding the parts of the brief exempted by Fed. R. App. 32(f) and Fed. Cir. R.

32(b).

         This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

and the type style requirements of Fed. R. App. P. 32(a)(6) because this brief has

been prepared in a proportionally spaced 14-point typeface using Microsoft Word

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Dated: July 14, 2023                            /s/ Sean S. Pak
                                                Sean S. Pak
